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             NOT YET SCHEDULED FOR ORAL ARGUMENT
                              Appeal No. 17-7035
                     (Consolidated with Appeal No. 17-7039)


                  United States Court of Appeals
                   FOR THE DISTRICT OF COLUMBIA CIRCUIT


      American Society for Testing and Materials; National Fire Protection
       Association, Inc.; and American Society of Heating, Refrigerating,
                      and Air Conditioning Engineers, Inc.,
                                                 Appellees,
                                       v.
                            Public.Resource.Org, Inc.,
                                                 Appellant.


     Appeal from the United States District Court for the District of Columbia
                            Hon. Tanya S. Chutkan
                               1:13-cv-1215-TSC
                               1:14-cv-0857-TSC

             PUBLIC APPENDIX – MATERIAL UNDER SEAL
                    IN SEPARATE SUPPLEMENT
                       VOLUME 1 (JA1-JA770)


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              V. PUBLIC.RESOURCE.ORG, INC.



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                          CERTIFICATE OF SERVICE
       I, hereby certify that on January 31, 2018, I electronically filed the foregoing

 Appendix with the Clerk of the United States Court of Appeals for the District of

 Columbia Circuit by using the appellate CM/ECF system. I certify that all

 participants in the case are registered CM/ECF users and that service will be

 accomplished by the appellate CM/ECF system.



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                                                                         APPEAL,CLOSED,TYPE-E

                                   U.S. District Court
                        District of Columbia (Washington, DC)
                   CIVIL DOCKET FOR CASE #: 1:13-cv-01215-TSC


AMERICAN SOCIETY FOR TESTING AND                          Date Filed: 08/06/2013
MATERIALS et al v. PUBLIC.RESOURCE.ORG, INC.              Date Terminated: 07/10/2017
Assigned to: Judge Tanya S. Chutkan                       Jury Demand: Defendant
Case: 1:14-cv-00857-TSC                                   Nature of Suit: 820 Copyright
Case in other court: 17-07035                             Jurisdiction: Federal Question
Cause: 17:501 Copyright Infringement
Plaintiff
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                                              JA1
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https://ecf.dcd.uscourts.gov/cgi-bin/DktRpt.pl?464824745682104-L_1_0-1
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                                                          TERMINATED: 06/30/2016
                                                          PRO HAC VICE

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                                                          ATTORNEY TO BE NOTICED

                                                          Jeffrey Stuart Bucholtz
                                                          KING & SPALDING, LLP
                                                          1700 Pennsylavania Avenue, NW
                                                          Washington, DC 20006-4706
                                                          (202) 626-2907
                                                          Fax: (202) 626-3737
                                                          Email: jbucholtz@kslaw.com


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                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Katherine E. Merk
                                                          KING & SPALDING, LLP
                                                          101 Second Street
                                                          Suite 2300
                                                          San Francisco, CA 94105
                                                          (415) 318-1200
                                                          Email: kmerk@kslaw.com
                                                          LEAD ATTORNEY
                                                          PRO HAC VICE
                                                          ATTORNEY TO BE NOTICED

                                                          Joseph R. Wetzel
                                                          KING & SPALDING, LLP
                                                          101 2nd Street
                                                          Suite 2300
                                                          San Francisco, CA 94105
                                                          (415) 318-1200
                                                          Fax: (415) 318-1300
                                                          Email: jwetzel@kslaw.com
                                                          PRO HAC VICE
                                                          ATTORNEY TO BE NOTICED

                                                          Kenneth L. Steinthal
                                                          KING & SPALDING, LLP
                                                          101 2nd Street
                                                          Suite 2300
                                                          San Francisco, CA 94105
                                                          (415) 318-1200
                                                          Fax: (415) 318-1300
                                                          Email: ksteinthal@kslaw.com
                                                          PRO HAC VICE
                                                          ATTORNEY TO BE NOTICED

                                                          Michael Andrew Zee
                                                          U.S. DEPARTMENT OF JUSTICE
                                                          Civil Division
                                                          450 Golden Gate Avenue
                                                          Room 7-5395
                                                          San Francisco, CA 94102
                                                          (415) 436-6646
                                                          Fax: (415) 436-6632
                                                          Email: m.andrew.zee@usdoj.gov
                                                          TERMINATED: 12/19/2014
                                                          PRO HAC VICE

                                                          Simeon Meir Schopf


                                              JA4
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                                                          TD AMERITRADE
                                                          6740 Columbia Gateway Drive
                                                          #200
                                                          Columbia, MD 21046
                                                          (202) 626-2384
                                                          Fax: (202) 626-3737
                                                          Email: sschopf@kslaw.com
                                                          TERMINATED: 01/29/2016

                                                          Michael Franck Clayton
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED


V.
Defendant
PUBLIC.RESOURCE.ORG, INC.                   represented by Andrew Phillip Bridges
                                                           FENWICK & WEST, LLP
                                                           555 California Street
                                                           Suite 1200
                                                           San Francisco, CA 94104
                                                           (415) 875-2389
                                                           Email: abridges@fenwick.com
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                          Mitchell L. Stoltz
                                                          ELECTRONIC FRONTIER
                                                          FOUNDATION
                                                          815 Eddy Street
                                                          San Francisco, CA 94109
                                                          (415) 436-9333
                                                          Fax: (415) 436-9993
                                                          Email: mitch@eff.org
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Sebastian E. Kaplan
                                                          FENWICK & WEST LLP
                                                          555 California Street
                                                          12th Floor
                                                          San Francisco, CA 94104
                                                          (415) 875-2300
                                                          LEAD ATTORNEY
                                                          PRO HAC VICE
                                                          ATTORNEY TO BE NOTICED

                                                          Corynne McSherry
                                                          ELECTRONIC FRONTIER

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                                                          FOUNDATION
                                                          815 Eddy Street
                                                          San Francisco, CA 94109
                                                          (415) 436-9333
                                                          Fax: (415) 436-9993
                                                          Email: corynne@eff.org
                                                          PRO HAC VICE
                                                          ATTORNEY TO BE NOTICED

                                                          David Elliot Halperin
                                                          1530 P Street, NW
                                                          Washington, DC 20005
                                                          (202) 905-3434
                                                          Email: davidhalperindc@gmail.com
                                                          ATTORNEY TO BE NOTICED

                                                          Kathleen Lu
                                                          FENWICK & WEST LLP
                                                          555 California Street
                                                          12th Floor
                                                          San Francisco, CA 94104
                                                          Email: klu@fenwick.com
                                                          TERMINATED: 10/14/2016
                                                          PRO HAC VICE
                                                          ATTORNEY TO BE NOTICED

                                                          Matthew B. Becker
                                                          FENWICK & WEST LLP
                                                          801 California Street
                                                          Mountain View, CA 94041
                                                          (650) 335-7930
                                                          Email: mbecker@fenwick.com
                                                          PRO HAC VICE
                                                          ATTORNEY TO BE NOTICED

Amicus
AMERICAN NATIONAL                           represented by Bonnie Y. Hochman Rothell
STANDARDS INSTITUTE, INC.                                  MORRIS, MANNING & MARTIN,
                                                           LLP
                                                           1401 Eye Street, N.W.
                                                           Suite 600
                                                           Washington, DC 20005
                                                           (202) 408-5153
                                                           Fax: (202) 408-5146
                                                           Email: bhrothell@mmmlaw.com
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                          Gerald W. Griffin


                                              JA6
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                                                          CARTER, LEDYARD & MILBURN
                                                          LLP
                                                          2 Wall Street
                                                          New York, NY 10005
                                                          (212) 732-3200
                                                          Fax: (212) 732-3232
                                                          PRO HAC VICE
                                                          ATTORNEY TO BE NOTICED

Amicus
AMERICAN INSURANCE                          represented by Meegan F. Hollywood
ASSOCIATION                                                ROBINS KAPLAN LLP
American Insurance Association                             399 Park Ave
                                                           Suite 3600
                                                           New York, NY 10022
                                                           212-980-7409
                                                           Fax: 212-980-7499
                                                           Email:
                                                           MHollywood@RobinsKaplan.com
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

Amicus
SINA BAHRAM                                 represented by Jeffrey T. Pearlman
                                                           MILLS LEGAL CLINIC AT
                                                           STANFORD LAW SCHOOL
                                                           559 Nathan Abbott Way.
                                                           Stanford, CA 94305
                                                           (650) 497-9443
                                                           Fax: (650) 723-4426
                                                           Email: jef@law.stanford.edu
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

Amicus
INTERNATIONAL CODE                          represented by Anthony A. Onorato
COUNCIL, INC.                                              FISHER BROYLES, LLP
                                                           445 Park Avenue
                                                           9th Floor
                                                           New York, NY 10022
                                                           (202) 459-3599
                                                           Fax: (516) 706-9809
                                                           Email: tony.onorato@fisherbroyles.com
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                          Alan S. Wernick
                                                          WERNICK & ASSOCIATES, LTD.
                                                          828 Sutton Drive

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                                                          Suite 100
                                                          Northbrook, IL 60062
                                                          (847) 786-1005
                                                          Fax: (847) 412-9965
                                                          Email: alan@wernick.com
                                                          PRO HAC VICE
                                                          ATTORNEY TO BE NOTICED

Amicus
PUBLIC KNOWLEDGE                            represented by Charles Duan
                                                           PUBLIC KNOWLEDGE
                                                           1818 N Street, NW
                                                           Suite 410
                                                           Washington, DC 20036
                                                           (202) 861-0020 x 119
                                                           Email: cduan@publicknowledge.org
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

Amicus
KNOWLEGE ECOLOGY                            represented by Charles Duan
INTERNATIONAL                                              (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

Amicus
AMERICAN LIBRARY                            represented by Charles Duan
ASSOCIATION                                                (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

Amicus
LAW SCHOLARS                                represented by Catherine R. Gellis
                                                           P.O. Box 2477
                                                           Sausalito, CA 94966
                                                           (202) 642-2849
                                                           Email: cathy@cgcounsel.com
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

Amicus
REPORTERS COMMITTEE FOR                     represented by Bruce D. Brown
FREEDOM OF THE PRESS                                       REPORTERS COMMITTEE FOR
                                                           FREEDOM OF THE PRESS
                                                           1156 15th St. NW
                                                           Suite 1250
                                                           Washington, DC 20005
                                                           (202) 795-9301


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                                                             Fax: (202) 795-9310
                                                             Email: bbrown@rcfp.org
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

Counter Claimant
PUBLIC.RESOURCE.ORG, INC.                   represented by Andrew Phillip Bridges
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                             Mitchell L. Stoltz
                                                             (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                             Corynne McSherry
                                                             (See above for address)
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED

                                                             David Elliot Halperin
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

                                                             Matthew B. Becker
                                                             (See above for address)
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED


V.
Counter Defendant
AMERICAN SOCIETY FOR                        represented by Jordana Sara Rubel
TESTING AND MATERIALS                                      (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                             J. Kevin Fee
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

                                                             Michael Franck Clayton
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

Counter Defendant
                                            represented by


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AMERICAN SOCIETY OF                                       Jeffrey Stuart Bucholtz
HEATING, REFRIGERATING,                                   (See above for address)
AND AIR-CONDITIONING                                      LEAD ATTORNEY
ENGINEERS, INC.                                           ATTORNEY TO BE NOTICED

                                                          Joseph R. Wetzel
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Kenneth L. Steinthal
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Simeon Meir Schopf
                                                          (See above for address)
                                                          TERMINATED: 01/29/2016

                                                          Michael Franck Clayton
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

Counter Defendant
NATIONAL FIRE PROTECTION                    represented by Rose Leda Ehler
ASSOCIATION, INC.                                          (See above for address)
                                                           LEAD ATTORNEY
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

                                                          Anjan Choudhury
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Jonathan H. Blavin
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Kelly Klaus
                                                          (See above for address)
                                                          PRO HAC VICE
                                                          ATTORNEY TO BE NOTICED

                                                          Michael J. Mongan
                                                          (See above for address)
                                                          TERMINATED: 07/18/2014

                                                          Nathan M. Rehn
                                                          (See above for address)
                                                          TERMINATED: 06/30/2016
                                                          PRO HAC VICE


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                                                                 Michael Franck Clayton
                                                                 (See above for addr ess)
                                                                 ATTORNEY TO BE NOTICED


 Date Filed        #    Docket Text
 08/06/2013         l   COMPLAINT against PUBLIC.RESOURCE.ORG, INC. ( Filing fee$ 400
                        receipt number 0090-3425373) filed by AMERICAN SOCIETY FOR
                        TESTING AND MATERIALS, AMERICAN SOCIETY OF HEATING,
                        REFRIGERATING, AND AIR-CONDITIONING ENGINEERS, INC .,
                        NATIONAL FIRE PROTECTION ASSOCIATION, INC .. (Attachments:# !
                        Exhibit Exhibit A, # l Exhibit Exhibit B, # ]. Exhibit Exhibit C , # ,1 Exhibit
                        Exhibit D, # .2. Exhibit Exhibit E, # .§ Exhibit Exhibit F, # 1 Exhibit Exhibit G,
                        # .§. Exhibit Exhibit H, # 2 Exhibit Exhibit I, # .!Q A0121 Fon n , # 11 Civil
                        Cover Sheet Civil Cover Sheet, # 12 Summons Summons)(Clayton, M ichael)
                        (Entered: 08/06/2013)
 08/06/2013         l   Corporate Disclosm e Statement by AMERICAN SOCIETY FOR TESTING
                        AND MATERIALS. (Clayton, Michael) (Entered: 08/06/2013)
 08/06/2013         l   LCvR 7 .1 CERTIFICATE OF DISCLOSURE ofC01porate Affiliations and
                        Finan cial Interests by NATIONAL FIRE PROTECTION ASSOCIATION,
                        INC. (Choudhmy, Anjan) (Entered: 08/06/2013)

 08/06/2013         .1 NOTICE of Appear ance by Jeffrey S. Bucholtz on behalf of AMERICAN
                        SOCIETY OF HEATING, REFRIGERATING, AND AIR-CONDITIONING
                        ENGINEERS, INC. (Bucholtz, Jeffrey) (Entered: 08/06/2013)
 08/06/2013         1 Co1porate Disclosm e Statement by AMERICAN SOCIETY OF HEATING,
                        REFRIGERATING, AND AIR-CONDITIONING ENGINEERS, INC ..
                        (Bucholtz, Jeffrey) (Entered: 08/06/2013)

 08/06/2013         Q NOTICE of Appearance by Anjan Choudhmy on behalf of NATIONAL FIRE
                      PROTECTION ASSOCIATION, INC. (Choudhmy, Anjan) (Entered:
                      08/06/2013)

 08/06/2013             Case Assigned to Judge Eilllllet G. Sullivan. (sth, ) (Entered: 08/07/2013)

 08/07/2013             SUMMONS Not Issued as to PUBLIC.RESOURCE.ORG, INC. (sth , )
                        (Entered: 08/07/2013)
 08/07/2013         1 REQUEST FOR SUMMONS TO ISSUE by AMERICAN SOCIETY FOR
                        TE STING AND MATERIALS, AMERICAN SOCIETY OF HEATING,
                        REFRIGERATING, AND AIR-CONDITIONING ENGINEERS, INC .,
                        NATIONAL FIRE PROTECTION ASSOCIATION, INC. filed by
                        AMERICAN SOCIETY FOR TE STING AND MATERIALS, AMERICAN
                        SOCIETY OF HEATING, REFRIGERATING, AND AIR-CONDITIONING
                        ENGINEERS, INC., NATIONAL FIRE PROTECTION ASSOCIATION,
                        INC .. (Clayton, Michael) (Entered: 08/07/2013)

 08/07/2013         ~



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                        Electi·onic Summons (1) Issued as to PUBLIC.RESOURCE.ORG, INC ..
                        (Attachments:# l Summons)(sth, ) (Entered: 08/07/2013)
 08/08/2013         9 RETURN OF SERVICE/AFFIDAVIT of Summons an d Complaint Executed.
                      PUBLIC.RESOURCE.ORG, INC. served on 8/7/2013, answer due 8/28/2013
                      (Clayton, Michael) (Entered: 08/08/2013)
 08/12/2013        lQ MOTION for Leave to Appear Pro Hae Vice :Attorney Name- Joseph R.
                        Wetzel, :Fin n- King & Spalding LLP, :Address- 101 Second Sti·eet, Suite
                        2300, San Francisco, CA 94105. Phone No. - ( 415) 318-1200. Fax No. - (4 15)
                        318-1300 by AMERICAN SOCIETY OF HEATING, REFRIGERATING,
                        AND AIR-CONDITIONING ENGINEERS, INC. (Attachments: # l
                        Declaration, # l, Text of Proposed Order)(Bucholtz, Jeffrey) (Entered:
                        08/12/2013)
 08/12/2013        ll MOTION for Leave to Appear Pro Hae Vice :Attorney Name- Kenneth L.
                        Steinth al, :Fi1m - King & Spalding LLP, :Address- 101 Second Sti·eet, Suite
                        2300, San Francisco, CA 94105. Phone No. - (415) 318-1200. Fax No. - (415)
                        318-1300 by AMERICAN SOCIETY OF HEATING, REFRIGERATING,
                        AND AIR-CONDITIONING ENGINEERS, INC. (Attachments: # !
                        Declaration, # l, Text of Proposed Order)(Bucholtz, Jeffrey) (Entered:
                        08/12/2013)
 08/ 13/2013            MINUTE ORDER granting lQ and ll Motions for Admission Pro Hae Vice.
                        Joseph R. Wetzel and Kenneth L. Steinthal are hereby admitted pro hac vice in
                        this matter. Signed by Judge Emmet G. Sullivan on August 13, 2013. (lcegs4)
                        (Entered: 08/ 13/2013)
 08/20/2013        ll NOTICE of Appearance by Mitchell L. Stoltz on behalf of
                        PUBLIC.RESOURCE.ORG, INC. (Stoltz, Mitchell) (Main Document 12
                        replaced on 8/21/2013) (if, ). (Entered: 08/20/2013)
 08/20/2013        .Ll STIPULATION and [Proposed} Order on Defendant's Time to Respond to
                        Complaint by PUBLIC.RESOURCE.ORG, INC.. (Stoltz, Mitchell) (Entered:
                        08/20/2013)
 08/21/2013        14 NOTICE of Appearance by David Elliot Halperin on behalf of
                      PUBLIC.RESOURCE .ORG, INC. (Halperin, David) (Main Document 14
                      replaced on 8/22/2013) (if, ). (Entered: 08/21/2013)
 08/21/2013             MINUTE ORDER. The Comi will consti11e .Ll Stipulation and Proposed Order
                        on Defendant's Time to Respond to Complaint as a motion for extension of
                        time to respond to the complaint and will GRANT the motion. Defendant shall
                        respond to the complaint by no later than September 27, 2013. Signed by Judge
                        Emmet G . Sullivan on August 21 , 2013. (lcegs2) (Entered: 08/21/2013)
 08/21/2013             Set/Reset Deadlines: Defendant shall respond to the complaint due by
                        9/27/2013 (tcb) (Entered: 08/21/2013)
 08/28/2013        .Ll. MOTION for Leave to Appear Pro Hae Vice :Attorney Name- Michael J.
                        Mongan, :Fin n- Munger, Tolles & Olson LLP, :Address- 560 Mission Su-eet,
                        27th Floor, San Francisco, CA 94105. Phone No. - (415) 512- 4051. Fax No. -
                        (415) 512-4077 by NATIONAL FIRE PROTECTION ASSOCIATION, INC.


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                         (Attachments:# l Declaration of Michael J. Mongan, # I Text of Proposed
                         Order)(Choudhmy , Anjan) (Entered: 08/28/2013)
 08/28/2013        16 MOTION for Leave to Appear Pro Hae Vice :Attorney Name- Jonathan H.
                      Blavin, :Fin n- Munger, Tolles & Olson LLP, :Address- 560 Mission Su-eet,
                      27th Floor, San Francisco, CA 94105. Phone No. - 415-512-4011. Fax No. -
                      415-512-4077 by NATIONAL FIRE PROTECTION ASSOCIATION, INC.
                      (Attachments:# l Declaration of Jonathan H. Blavin, # I Text of Proposed
                      Order)(Choudhmy , Anjan) (Entered: 08/28/2013)
 08/28/2013        17 MOTION for Leave to Appear Pro Hae Vice :Attorney Name- Kelly M. Klaus,
                      :Fin n- Munger, Tolles & Olson LLP, :Address- 560 Mission Su-eet, 27th Floor,
                      San Francisco, CA 94105. Phone No. - 415-512-4017. Fax No. - 415-512-4077
                      by NATIONAL FIRE PROTECTION ASSOCIATION, INC. (Attachments:#
                      l Declaration of Kelly M, Klaus,# I Text of Proposed Order)(Choudhmy,
                      Anjan) (Entered: 08/28/2013)
 08/29/2013              MINUTE ORDER granting .11 motion to appear pro hac vice. Michael J.
                         Mongan is hereby admitted pro hac vice in this action. Signed by Judge Emmet
                         G. Sullivan on August 29, 2013. (lcegsl) (Entered: 08/29/2013)
 08/29/2013              MINUTE ORDER granting 16 motion to appear pro hac vice. Jonathan H.
                         Blavin is hereby admitted pro hac vice in this action. Signed by Judge Emmet
                         G. Sullivan on August 29, 2013. (lcegsl) (Entered: 08/29/2013)
 08/29/2013              MINUTE ORDER granting .!1. motion to appear pro hac vice. Kelly M. Klause
                         is hereby admitted pro hac vice in this action. Signed by Judge Emmet G.
                         Sullivan on August 29, 2013. (lcegsl ) (Entered: 08/29/2013)
 09/16/2013        ll.   MOTION for Leave to Appear Pro Hae Vice :Attorney Name- Co1y nne
                         McSheny , :Fin n- Elech'onic Frontier Foundation, :Address- 815 Eddy Sti·eet,
                         San Francisco, CA 94109. Phone No. - 4 15-436-9333. Fax No. - 415-436-9993
                         by PUBLIC.RESOURCE.ORG, INC. (Attachments: # ! Declaration of
                         Co1ynne McSheny, # I Text of Proposed Order)(Stoltz, Mitchell) (Entered:
                         09/16/2013)
 09/23/2013              MINUTE ORDER granting ll Co1y nne McSheny's motion for leave to appear
                         pro hac vice in this matter. Signed by Judge Emmet G. Sullivan on September
                         23, 2013. (lcegs4) (Entered: 09/23/2013)
 09/24/2013        1.2 MOTION for Leave to Appear Pro Hae Vice :Attorney Name- Kathleen Lu,
                         :Fin n- Fenwick & West LLP, :Address- 555 California St. , 12th Floor, San
                         Francisco, CA 94104. Phone No. - 4 15.875.2300. Fax No. - 415.281.1350 by
                         PUBLIC.RESOURCE.ORG, INC. (Attachments:# l Affidavit of Kathleen Lu,
                         # I Text of Proposed Order)(Stoltz, Mitchell) (Entered: 09/24/2013)
 09/24/2013        20 NOTICE of Appearance by Andrew Phillip Bridges on behalf of
                      PUBLIC.RESOURCE.ORG, INC. (Bridges, Andrew) (Entered: 09/24/2013)
 09/27/2013        .ll Public.Resource.Org, Inc. 's ANSWER to Complaint with Jmy Demand/or
                         Injunctive Relief, COUNTERCLAIM/or Declaratory Relief against All
                         Plaintiffs by PUBLIC.RESOURCE.ORG, INC .. (Attachments: # l Exhibit A,#




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                        J Exhibit B, # .1 Exhibit C, # i Exhibit D, # .2. Exhibit E)(Bridges, Andrew)
                        (Entered: 09/27/2013)
 09/27/2013        22 Corp orate Disclosm e Statement by PUBLIC.RESOURCE.ORG, INC. .
                      (Bridges, Andrew) (Entered: 09/27/2013)
 09/30/2013             MINUTE ORDER granting 19 motion to admit Kathleen Lu pro hac vice in
                        this matter. Signed by Judge Emmet G. Sullivan on September 30, 2013.
                        (lcegs4) (Entered: 09/30/2013)
 10/15/2013        23   STIPULATION re .ll Answer to Complaint, COUNTERCLAIM,, and
                        [Prop osed} Order by AMERICAN SOCIETY FOR TESTING AND
                        MATERIALS. (Fee, J.) (Entered: 10/15/2013)
 10/16/2013        24 NOTICE of Appearance by J. Kevin Fee on behalf of AMERICAN SOCIETY
                      FOR TESTING AND MATERIALS (Fee, J.) (Entered: 10/16/2013)
 10/17/2013             MINUTE ORDER. The Comi has received 23 the paiiies' Stipulation, which
                        requests that the Comi extend the deadline for plaintiffs to respond to
                        defendant's counterclaim and set a briefing schedule for any oppositions and
                        replies to any motions that may be filed in response to defendant's
                        counterclaim. It is hereby ORDERED that plaintiffs' responses to defendant's
                        counterclaim shall be filed by no later than November 20, 2013. If any plaintiff
                        files a motion in response to defendant's counterclaim, defendant's opposition
                        to that motion shall be filed by no later than December 18, 2013, an d plaintiffs
                        shall file any reply in fmi her support of the motion by no later than Januaiy 15,
                        2014. Signed by Judge Emmet G. Sullivan on October 17, 2013. (lcegs2)
                        (Entered: 10/17/2013)
 10/18/2013             Set/Reset Deadlines: Plaintiffs Response to Defendant's Counterclaim due by
                        11/20/2013. Defendant's Opposition to Plaintiff's Motion due by 12/18/2013.
                        Plaintiff's Reply in Support of Motion due by 1/15/2014. (mac) (Entered:
                        10/18/2013)
 11/20/2013        25 ANSWER to .ll Answer to Complaint, COUNTERCLAIM ,, by AMERICAN
                      SOCIETY FOR TESTING AND MATERIALS, AMERICAN SOCIETY OF
                      HEATING, REFRIGERATING, AND AIR-CONDITIONING ENGINEERS,
                      INC., NATIONAL FIRE PROTECTION ASSOCIATION, INC.. Related
                      document: 21 Answer to Complaint, COUNTERCLAIM,, filed by
                      PUBLIC.RESOURCE.ORG, INC .. (Clayton, Michael) (Entered: 11/20/2013)
 11/20/2013        26   Counter Defendant The American Society of Heating, Refrigerating, and Air-
                        Conditioning Engineers, Inc. 's ANSWER to 21 Answer to Complaint,
                        COUNTERCLAIM,, ofPublic.Resource. Org, Inc. for Declarat01y Judgment
                        by AMERICAN SOCIETY OF HEATING, REFRIGERATING, AND AIR-
                        CONDITIONING ENGINEERS, INC .. Related document: .ll Answer to
                        Complaint, COUNTERCLAIM,, filed by PUBLIC.RESOURCE.ORG, INC ..
                        (Steinthal, Kenneth) (Entered: 11/20/2013)
 11/20/2013        27 ANSWER to 21 Answer to Complaint, COUNTERCLAIM,, by NATIONAL
                      FIRE PROTECTION ASSOCIATION, INC .. Related document: .ll Answer to
                      Complaint, COUNTERCLAIM,, filed by PUBLIC.RESOURCE.ORG, INC ..
                      (Choudhmy , Anjan) (Entered: 11/20/2013)


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 11/22/2013        28 ORDER FOR MEET AND CONFER REPORT. Attorney Meet and Confer
                      Conference due by 12/16/2013. Meet & Confer Statement due by 12/30/2013.
                      Signed by Judge Emmet G. Sullivan on 11/22/2013. (mac) (Entered:
                      11/22/2013)
 12/30/2013        29 MEET AND CONFER STATEMENT. (Fee, J.) (Entered: 12/30/2013)
 12/31/2013        30 SCHEDULING ORDER. The pa1ties are directed to read this Order in its
                      entirety upon receipt. The Comt will hold a status hearing in this case on April
                      30, 2015 at 11 :00 a.m. in Comt room 24A. Signed by Judge Emmet G. Sullivan
                      on December 31, 2013. (lcegs2) (Entered: 12/31/2013)
 01/06/2014             Set/Reset Deadlines/Hearings: Initial Disclosm e due by 1/17/2014. Amended
                        Pleadings due by 3/14/2014. Fact Discove1y due by 10/3/2014. Expe1t
                        Disclosm es ( Rule 26a2) due by 12/2/2014. Opening Expert Disclosmes ( Rule
                        26a2) due by 1/16/2015. Replies to Rebuttal Disclosmes due by 3/2/2015.
                        Reply Expert Disclosmes due by 3/16/2015. Expert Discove1y due by
                        4/16/2015. Status Repo1t due by 11/3/2014. Status Conference set for
                        4/30/2015 11 :00 AM in Comtroom 24A before Judge Emmet G . Sullivan . Joint
                        Recommendation due by 4/23/2015. (mac) (Entered: 01/06/2014)
 06/11/2014             Case reassigned to Judge Tanya S. Chutkan. Judge Emmet G. Sullivan no
                        longer assigned to the case. (ztnr,) (Entered: 06/11/2014)
 07/07/2014        .ll MOTION for Order ofProtection by AMERICAN SOCIETY FOR TESTING
                        AND MATERIALS, AMERICAN SOCIETY OF HEATING,
                        REFRIGERATING, AND AIR-CONDITIONING ENGINEERS, INC .,
                        NATIONAL FIRE PROTECTION ASSOCIATION, INC. (Attachments:# !
                        Exhibit A - Proposed Order, # J, Exhibit B - Declaration of Jordan a Rubel, # .1
                        Exhibit B - Declaration Exh. 1, # .1 Exhibit B - Declaration Exh. 2, # 2. Exhibit
                        B - Declaration Exh. 3, # 2 Exhibit B - Declaration Exh. 4, # 1 Exhibit B -
                        Declaration Exh. 5, # .§. Exhibit B - Declaration Exh. 6, # 2 Exhibit B -
                        Declaration Exh. 7, # 10 Exhibit B - Declaration Exh. 8, # !! Exhibit B -
                        Declaration Exh. 9, # 11 Exhibit B - Declaration Exh. 10, # ll Exhibit B -
                        Declaration Exh. 11, # 14 Exhibit B - Declaration Exh. 12, # 12 Exhibit B -
                        Declaration Exh. 13, # 12 Exhibit B - Declaration Exh. 14, # .11 Exhibit B -
                        Declaration Exh. 15, # 1.§. Exhibit B - Declaration Exh. 16, # 19 Exhibit B -
                        Declaration Exh. 17, # 20 Exhibit B - Declaration Exh. 18, # 21 Exhibit B -
                        Declaration Exh. 19, # 22 Exhibit B - Declaration Exh. 20, # 23 Exhibit B -
                        Declaration Exh. 21, # 24 Exhibit B - Declaration Exh. 22, # 25 Exhibit B -
                        Declaration Exh. 23, # 26 Exhibit B - Declaration Exh. 24, # 27 Exhibit C)
                        (Fee, J.) (Entered: 07/07/2014)
 07/18/2014        32 NOTICE OF WITHDRAWAL OF APPEARANCE as to NATIONAL FIRE
                      PROTECTION ASSOCIATION, INC .. Attorney Michael J. Mongan
                      tenninated. (Choudhmy, Anjan) (Entered: 07/18/2014)
 07/24/2014        33   RESPONSE re .ll MOTION for Order ofProtection filed by
                        PUBLIC.RESOURCE .ORG, INC .. (Attachments:# ! Text of Proposed Order
                        (Exhibit A), # J. Declaration of Andrew P. Bridges (Exhibit B), # .1 Exhibit
                        B-1, # .1 Exhibit B-2, # 2. Exhibit B-3, # §. Declaration of Carl Malamud
                        (Exhibit C))(Bridges, Andrew) (Entered: 07/24/2014)


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 08/08/2014        34 MOTION to Su-ike .ll Answer to Complaint, COUNTERCLAIM ,, Jury
                      Demand Only and Request for Oral Argument by AMERICAN SOCIETY
                      FOR TESTING AND MATERIALS, AMERICAN SOCIETY OF HEATING,
                      REFRIGERATING, AND AIR-CONDITIONING ENGINEERS, INC .,
                      NATIONAL FIRE PROTECTION ASSOCIATION, INC. (Fee, J.). Added
                      MOTION for Oral Argument on 8/11/2014 (td, ). (Entered : 08/08/2014)
 08/ 13/2014       35   Consent MOTION to File Reply Brief out of Time re 33 Response to motion,
                        by AMERICAN SOCIETY FOR TESTING AND MATERIALS,
                        AMERICAN SOCIETY OF HEATING, REFRIGERATING, AND AIR-
                        CONDITIONING ENGINEERS, INC., NATIONAL FIRE PROTECTION
                        A SSOCIATION, INC. (Attachments: # l Exhibit Plaintiffs' Reply in Suppo1i
                        of Motion for Protective Order, # J Text of Proposed Order)(Fee, J.) (Entered:
                        08/13/2014)
 08/14/2014             MINUTE ORDER: Granting Plaintiffs' 35 Consent Motion to File Reply Brief
                        out of time. Plaintiffs shall refile the brief as a separate document. Signed by
                        Judge Tanya S. Chutkan on 8/14/1 4. (djs) (Entered: 08/14/2014)
 08/15/2014        36 REPLY to opposition to motion re 11 MOTION for Order ofProtection filed
                      by AMERICAN SOCIETY FOR TESTING AND MATERIALS,
                      AMERICAN SOCIETY OF HEATING, REFRIGERATING, AND AIR-
                      CONDITIONING ENGINEERS, INC., NATIONAL FIRE PROTECTION
                      A SSOCIATION, INC .. (Fee, J.) (Entered: 08/15/2014)
 08/15/2014        37 Consent MOTION for Extension of Time to Complete Discove1y and Case
                      Schedule by PUBLIC.RESOURCE.ORG, INC. (Attachments: # l Text of
                      Proposed Order Granting Defendant's Consent Motion to Extend Discove1y
                      an d Case Schedule) (Bridges, Andrew) (Entered: 08/15/2014)
 08/20/2014             MINUTE ORDER: A Hearing is hereby set for 9/16/14, 2014 at 1:30 p.m. in
                        Comi room 2 on Plaintiff s 11 Motion for a Protective Order and the parties' 37
                        Consent Motion for Extension of Time to Complete Discove1y and Case
                        Schedule. If the paii ies or their counsel ai·e unable to attend in person, they
                        may attend by phone. Any persons attending via telephone shall JOINTLY
                        telephone chambers at 202-354-3390 sho1i ly before the heai·ing begins. All
                        persons on the joint telephone call must call from a landline, rather than a cell
                        phone. Motion Heai·ing set for 9/16/2014 01 :30 PM in Courti·oom 2 before
                        Judge Tanya S. Chutkan . Signed by Judge Tanya S. Chutkan on 8/20/14. (DJS)
                        Motion Heai·ing set for 9/16/2014 01: 30 PM in Comi room 2 before Judge
                        Tanya S. Chutkan . Pre-motion Conference set for 9/16/2014 01 :30 PM in
                        Comi room 2 before Judge Tanya S. Chutkan.. Signed by Judge Tanya S.
                        Chutkan on 8/20/14. (DJS,) (Entered: 08/20/2014)
 08/25/2014        38 Memorandum in opposition to re 34 MOTION to Sti·ike .ll Answer to
                      Complaint, COUNTERCLAIM,, Jwy Demand Only and Request for Oral
                      Argument filed by PUBLIC.RESOURCE.ORG, INC .. (Attachments: # l Text
                      of Proposed Order)(Stoltz, Mitchell) (Entered: 08/25/2014)
 09/05/2014        39 REPLY to opposition to motion re 34 MOTION to Sti·ike .ll Answer to
                      Complaint, COUNTERCLAIM,, Jwy Demand Only and Request for Oral
                      Argument filed by AMERICAN SOCIETY FOR TESTING AND


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                        MATERIALS, AMERICAN SOCIETY OF HEATING, REFRIGERATING,
                        AND AIR-CONDITIONING ENGINEERS, INC., NATIONAL FIRE
                        PROTECTION ASSOCIATION, INC .. (Clayton, Michael) (Entered:
                        09/05/2014)
 09/1 0/2014       40 MOTION for Leave to Appear Pro Hae Vice :Attorney Name- Nahtan M.
                      Rehn, :Fiim- Munger, Tolles & Olson LLP, :Address- 560 Mission Sti·eet, 27th
                      Floor, San Francisco, CA 94105. Phone No. - (41 5) 512-4000. Fax No. - (41 5)
                      512-4077 Filing fee$ 100, receipt number 0090-3835256. Fee Status: Fee
                      Paid. by NATIONAL FIRE PROTECTION ASSOCIATION, INC.
                      (Attachments:# ! Declaration of Nathan Rehn ISO, # J Text of Proposed
                      Order)(Choudhmy , Anjan) (Entered: 09/10/201 4)
 09/15/2014        41   MOTION to Compel Discovery by PUBLIC.RESOURCE.ORG, INC.
                        (Attachments:# ! Text of Proposed Order Granting Defendant's Motion to
                        Compel Discove1y (Exhibit A), # J Declaration of Kathleen Lu in Support of
                        Defendant's Motion to Compel (Exhibit B), # .1 Exhibit 1 to Deel of Kathleen
                        Lu, # 1 Exhibit 2 to Deel of Kathleen Lu, # .2. Exhibit 3 to Deel of Kathleen Lu,
                        # .§ Exhibit 4 to Deel of Kathleen Lu, # 1 Exhibit 5 to Deel of Kathleen Lu, # ~
                        Exhibit 6 to Deel of Kathleen Lu, # 2 Exhibit 7 to Deel of Kathleen Lu, # .!Q
                        Exhibit 8 to Deel of Kathleen Lu, # !! Exhibit 9 to Deel of Kathleen Lu, # 12
                        Exhibit 10 to Deel of Kathleen Lu, # .ll Exhibit 11 to Deel of Kathleen Lu, #
                        14 Exhibit 12 to Deel of Kathleen Lu, # U Exhibit 13 to Deel of Kathleen Lu,
                        # 16 Exhibit 14 to Deel of Kathleen Lu, # .!1 Exhibit 15 to Deel of Kathleen
                        Lu)(Bridges, Andrew) (Entered: 09/15/2014)
 09/16/2014             Minute Entiy for proceedings held before Judge Tanya S. Chutkan : Motion
                        Hearing held on 9/16/2014 re .11 MOTION for Order ofProtection filed by
                        NATIONAL FIRE PROTECTION ASSOCIATION, INC., AMERICAN
                        SOCIETY FOR TESTING AND MATERIALS, AMERICAN SOCIETY OF
                        HEATING, REFRIGERATING, AND AIR-CONDITIONING ENGINEERS,
                        INC. Protective order conditions revised for reasons stated on the record.
                        Revised protective order to be submitted to the comt for approval. Case to be
                        refened to a Magisti·ate Judge for discove1y disputes. Order to follow. (Comt
                        Reporter:William Zaremba.) (tj ) (Entered: 09/16/2014)
 09/17/2014             MINUTE ORDER: Granting 37 Consent Motion to Extend Discove1y and
                        Case Schedule. Set/Reset Deadlines/Hearings: Fact Discove1y due by
                        12/5/2014. Status Repo1t due by 1/5/201 5. Expe1t Disclosures due by 2/2/201 5.
                        Opposition Expe1t Disclosures due by 3/16/2015. Rebuttal Expe1t Disclosures
                        due by 5/4/201 5. Reply Expert Disclosures due by 5/18/201 5. Expert
                        Discove1y due by 6/16/2015. Status Repo1t and Joint Recommendation due by
                        6/23/201 5. Status Conference set for 6/30/2015 at 10:30 AM in Comt room 2
                        before Judge Tanya S. Chutkan. Signed by Judge Tanya S. Chutkan on
                        09/17/2014. (lctsc2) (Entered: 09/17/2014)
 09/17/2014             MINUTE ORDER: Granting in pait and denying in pait 11 Plaintiffs' Motion
                        for Order of Protection for the reasons stated on the record at the heai·ing held
                        September 16, 2014. The pa1ties shall file a revised protective order consistent
                        with the Comt's rnlings by September 22, 2014. The pa1ties are also insti11cted



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                        to e-mail Chambers the proposed protective order in Word fo1mat.. Signed by
                        Judge Tanya S. Chutkan on 09/17/2014. (lctsc2) (Entered : 09/17/2014)
 09/17/2014             MINUTE ORDER: Granting 40 Motion for Leave to Appear Pro Hae Vice.
                        Attorney NATHAN M . REHN is hereby admitted pro hac vice to appear in this
                        matter on behalf of plaintiff N ational F ire Protection Association, Inc. Signed
                        by Judge Tanya S. Chutkan on 9/17/1 4. (DJS) (Entered: 09/17/2014)
 09/17/2014        42 Consent MOTION for Leave to Appear Pro Hae Vice :Attorney Name-
                      Michael Andrew Zee, :Fin n- King & Spalding LLP, :Address- 101 Second
                      Sti·eet, Suite 2300, San Francisco, CA 94105. Phone No. - (41 5) 318-1222. Fax
                      No. - (41 5) 318-1300 Filing fee $ 100, receipt number 0090-3842463. Fee
                      Status: Fee Paid. by AMERICAN SOCIETY OF HEATING,
                      REFRIGERATING, AND AIR-CONDITIONING ENGINEERS, INC .
                      (Attachments:# l Declaration, # l, Text of Proposed Order)(Bucholtz, Jeffrey)
                      (Entered: 09/17/2014)
 09/18/2014             MINUTE ORDER: Granting 42 Motion for Leave to Appear Pro Hae Vice.
                        Attorney Michael Andrew Zee is hereby admitted pro hac vice to appear in this
                        matter on behalf of plaintiff American Society of Heating, Refrigerating, an d
                        Air-Conditioning Engineers, Inc. Signed by Judge Tanya S. Chutkan on
                        9/18/14. (DJS) (Entered: 09/18/2014)
 09/22/2014        43   STIPULATION re Order on Motion for Order, Proposed Protective Order by
                        AMERICAN SOCIETY FOR TESTING AND MATERIALS, AMERICAN
                        SOCIETY OF HEATING, REFRIGERATING, AND AIR-CONDITIONING
                        ENGINEERS, INC., NATIONAL FIRE PROTECTION A SSOCIATION,
                        INC .. (Fee, J.) (Entered: 09/22/2014)
 09/23/2014        44   STIPULATION AND ORDER: Entering the stipulated 43 Protective Order
                        submitted by the parties. Signed by Judge Tanya S. Chutkan on 09/23/2014.
                        (lctsc2) (Entered: 09/23/2014)
 09/23/2014             ORDER OF REFERRAL: The Comt has dete1mined that this action should be
                        refened to a magisti·ate judge for all issues related to discovery, including the
                        Defendant's pending Motion to Compel (ECF N o. 41). The pait ies ai·e
                        reminded, pursuant to LCvR 73 .1, that this action may be refened for all
                        purposes, including u-ial, upon the filing of an executed notice of consent by all
                        pa1ties. Consent of the Disti·ict Comt Judge is not necessa1y . Accordingly, it is
                        hereby ORDERED that this action is refened to a magisti·ate judge for
                        discove1y only, beginning immediately; the magistrate judge will be ran domly
                        assigned by the Clerk's Office; an d it is FURTHER ORDERED that any future
                        filings related to discove1y in this action shall have the initials of Judge Tanya
                        Chutkan and the magisti·ate judge following the case number in the caption.
                        Signed by Judge Tanya S. Chutkan on 09/23/2014. (lctsc2) (Entered:
                        09/23/2014)
 09/23/2014        45   CA SE Randomly REFERRED to Magisti·ate Judge Deborah A. Robinson for
                        all discove1y . (kb) (Entered: 09/25/2014)
 09/26/2014




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                        Set/Reset Hearings: Motion Hearing on il Defendant's Motion to Compel set
                        for 10/13/2014 at 03:00 PM in Courtrnom 4 before Magisti·ate Judge Deborah
                        A. Robinson. (lcdar2) (Entered: 09/26/2014)
 09/29/2014             MINUTE ORDER: It is hereby ORDERED that the motion hearing is
                        rescheduled for 3:00 PM on Tuesday 10/14/2014. The hearing was mistakenly
                        scheduled on a holiday. Set/Reset Hearings: Motion Hearing set for 10/14/2014
                        at 03 :00 PM in Courtroom 4 before Magisu-ate Judge Deborah A. Robinson.
                        Signed by Magisti·ate Judge Deborah A. Robinson on September 29, 2014.
                        (SRH) (Entered: 09/29/2014)
 10/02/2014        46 Memorandum in opposition to re 41 MOTION to Compel Discovery P laintiff
                      National Fire Protection Association, Inc. 's Opposition to Motion to Comp el
                      Discovery filed by NATIONAL FIRE PROTECTION ASSOCIATION, INC..
                      (Attachments: # l Declaration of Christian Dubay In Suppo1i of, # I
                      Declaration Dennis Beny In Suppo1i of) (Klaus, Kelly) (Entered: 10/02/2014)
 10/02/2014        47 Memorandum in opposition to re 41 MOTION to Compel Discovery filed by
                      AMERICAN SOCIETY FOR TESTING AND MATERIALS. (Attachments:#
                      ! Exhibit Ex. A Declaration of Jordana Rubel in Support of Plaintiff s
                      Opposition to Defendant's Motion to Compel Discove1y , # I Exhibit Ex. B
                      Declaration of No1ma Jane Hair in Support of Plaintiffs Opposition to
                      Defendant's Motion to Compel Discove1y)(Fee, J.) (Entered: 10/02/2014)
 10/02/2014        48 Memorandum in opposition to re 41 MOTION to Compel Discovery filed by
                      AMERICAN SOCIETY OF HEATING, REFRIGERATING, AND AIR-
                      CONDITIONING ENGINEERS, INC .. (Attachments: # ! Declaration ofM .
                      Andrew Zee, # 6 Exhibit 1, # .1 Exhibit 2, # .i Declaration of Claire Ramspeck)
                      (Steinthal, Kenneth) (Entered: 10/02/2014)
 10/09/2014        49 Unopposed MOTION for Leave to Appear TELEPHONICALLY AT
                      OCTOBER 14, 2014 HEARING by AMERICAN SOCIETY OF HEATING,
                      REFRIGERATING, AND AIR-CONDITIONING ENGINEERS, INC.
                      (Attachments:# l Text of Proposed Order)(Steinthal, Kenneth) (Entered:
                      10/09/2014)
 10/1 0/2014            MINUTE ORDER granting 49 Plaintiff-Counterdefendant American Society
                        of Heating, Refrigerating, and Air-Conditioning Engineers, Inc.'s Unopposed
                        Motion for Leave to Appear by Telephone. Signed by Magisti·ate Judge
                        Deborah A. Robinson on October 10, 2014. (SRH) (Entered: 10/10/2014)
 10/1 0/2014       50 MOTION for Leave to Appear Pro Hae Vice :Attorney Name- Matthew B.
                      Becker, :Fin n- Fenwick & West LLP, :Address- 801 California Sti·eet,
                      Mountain View, California 94041. Phone No. - (650) 335-7930. Fax No. -
                      (650) 938-5200 Filing fee $ 100, receipt number 0090-3869285. Fee Status:
                      Fee Paid. by PUBLIC.RESOURCE.ORG, INC. (Attachments: # ! Declaration,
                      # l Text of Proposed Order)(Stoltz, Mitchell) (Entered: 10/10/2014)
 10/11/2014             MINUTE ORDER: Granting 50 Motion for Leave to Appear Pro Hae Vice.
                        Attorney Matthew B. Becker is hereby admitted pro hac vice to appear in this
                        matter on behalf of defendant Public.Resomce.Org, Inc. Signed by Judge
                        Tanya S. Chutkan on 10/11/1 4. (DJS) (Entered: 10/11/2014)



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 10/ 13/2014       .ll   REPLY to opposition to motion re 41 MOTION to Compel Discovery filed by
                         PUBLIC.RESOURCE.ORG, INC .. (Attachments: # l Declaration of Andrew
                         P. Bridges in Suppo1t of Defendant's Reply re Motion to Compel Discove1y , #
                         l, Exhibit 1 to Declaration of Andrew Bridges, # .1 Eirnta 2 to Declaration of
                         Andrew Bridges)(Bridges, Andrew) (Entered: 10/ 13/2014)
 10/14/2014        52 NOTICE of Appearance by Jordan a Sara Rubel on behalf of AMERICAN
                      SOCIETY FOR TESTING AND MATERIALS, (ztnr,) (Entered: 10/14/2014)
 10/14/2014              MINUTE ORDER: The hearing on Defendant Public.Resource.Org, Inc.'s
                         Motion to Compel Discove1y (Document No. 41), which was scheduled for
                         3:00 p.m. on this date, is, after consultation with counsel for the pait ies,
                         continued to 3:00 p.m . on Wednesday, October 15, 2014. The comt apologizes
                         to counsel an d the pa1ties for the inconvenience this continuance has caused.
                         Counsel ai·e encouraged to use the intervening period to meet and confer in an
                         effort to naiTow the discove1y disputes which ai·e the subject of the motion.
                         Set/Reset Heai·ings: Motion Hearing set for 10/15/2014 at 03:00 PM in
                         Comt room 4 before Magisti·ate Judge Deborah A. Robinson. Signed by
                         Magisu-ate Judge Deborah A. Robinson on October 14, 2014. (SRH) (Entered:
                         10/14/2014)
 10/15/2014              Minute Entiy for proceedings held before Magistrate Judge Deborah A.
                         Robinson: Motion Hearing held on 10/15/2014 re il MOTION to Compel
                         Discovery filed by PUBLIC.RESOURCE.ORG, INC. The comt heard
                         preliminaiy ai·guments of counsel regai·ding the status of the Motion. The comt
                         directed counsel and the paities to continue to meet and confer in an effo1t to
                         resolve disputes. The comt scheduled a Further Motion Hearing set for
                         10/28/2014 03:00 PM in Comtroom 4 before Magisu-ate Judge Deborah A.
                         Robinson. (Comt Repo1ter Bowles Repo1ting Services)(FTR Time Frame:
                         3: 17:30 - 3:47:06, Crum 4). (zcmm,) (Entered: 10/15/2014)
 10/24/2014        53 Unopposed MOTION for Leave to Appeai· Telephonicaly at October 28, 2014
                      Hearing by AMERICAN SOCIETY OF HEATING, REFRIGERATING,
                      AND AIR-CONDITIONING ENGINEERS, INC., NATIONAL FIRE
                      PROTECTION ASSOCIATION, INC. (Attachments:# ! Text of Proposed
                      Order)(Steinth al, Kenneth) (Entered: 10/24/2014)
 10/27/2014              MINUTE ORDER: It is hereby ORDERED that counsel for Plaintiffs-
                         Counterdefendants American Society of Heating, Refrigerating, and Air-
                         Conditioning Engineers, Inc. and the National Fire Protection Association,
                         Inc.'s Unopposed Motion to Allow Telephonic Appearance at the October 28,
                         2014 (Document No. 53) is GRANTED. Signed by Magisti·ate Judge Deborah
                         A. Robinson on October 27, 2014. (SRH) (Entered: 10/27/2014)
 10/28/2014              Minute Entiy for proceedings held before Magistrate Judge Deborah A.
                         Robinson: Status Conference held on 10/28/2014. Case called for Motion
                         Heai·ing but not held. By no later than 11/04/2014, counsel shall file a proposed
                         order indicating with reference to 41 Motion to Compel the matters that have
                         been resolved. Counsel shall include a provision that with respect to those
                         issues the motion maybe denied as moot. Pait ies are directed to continue to
                         confer. A Fmt her Status Conference is set for 12/1/2014 11 :00 AM in
                         Comt room 4 before Magisti·ate Judge Deborah A. Robinson. (Comt Repo1ter


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                        Bowles Repo1ting Services.)(FTR Time Frame : 3:30:53 - 3:58:59, C11Im 4)
                        (zcmm,) (Entered: 10/28/2014)
 10/28/2014             Set/Reset Hearings: Status Conference is scheduled for Monday, December 1,
                        2014 at 11 :00 AM in Comti·oom 4 before Magisu-ate Judge Deborah A.
                        Robinson. (SRH) (Entered: 12/01/2014)
 11/04/2014        54 STATUS REPORT Joint Status Report and [Prop osed} Order On Defendant's
                      M otion to Compel Discovery by PUBLIC.RESOURCE.ORG, INC .. (Bridges,
                      Andrew) (Entered: 11/04/2014)
 11/17/2014        55 TRANSCRIPT OF PROCEEDINGS before Judge Tanya S. Chutkan held on
                      September 16, 2014; Page Numbers: 1-24; Date oflssuance: November 17,
                      2014. Comt Repo1ter/Transcriber: William Zaremba; Telephone number 202-
                      354-3249; Court Repo1t er Email Address:
                      William_Zaremba@dcd.uscourts.gov.<P></P>For the first 90 days after this
                      filing date, the ti·anscript may be viewed at the comthouse at a public te1minal
                      or purchased from the comt repo1ter referenced above. After 90 days, the
                      h'anscript may be accessed via PACER. Other ti·anscript fo1mats, (multi-page,
                      condensed, PDF or ASCII) may be purchased from the court
                      reporter.<P>NOTICE RE REDACTION OF TRANSCRIPTS: The parties
                      have twenty-one days to file with the court and the court repo1t er any request to
                      redact personal identifiers from this ti·anscript. If no such requests are filed, the
                      h'anscript will be made available to the public via PACER without redaction
                      after 90 days. The policy, which includes the five personal identifiers
                      specifically covered, is located on our website at
                      www.dcd.uscomts.gov.<P></P> Redaction Request due 12/8/2014. Redacted
                      Transcript Deadline set for 12/18/201 4. Release of Transcript Resti·iction set
                      for 2/15/201 5.(Zaremba, William) (Entered: 11/17/2014)
 11/21/2014             MINUTE ORDER: Setting Hearing on 34 MOTION to Sti·ike Defendant's Jmy
                        Demand. Motion Hearing set for 12/4/2014 11 :30 AM in Comti·oom 2 before
                        Judge Tanya S. Chutkan . Signed by Judge Tanya S. Chutkan on 11/21/2014.
                        (lctsc2) (Entered: 11/21/2014)
 11/24/2014        56 Consent MOTION for Extension of Time to Extend Time for Discove1y and
                      Case Schedule by PUBLIC.RESOURCE.ORG, INC. (Attachments: # l Text of
                      Proposed Order)(McSheny , Co1ynne) (Entered: 11/24/2014)
 11/24/2014        57 ORDER regarding 41 Defendant's Motion to Compel Discove1y . See Order for
                      details. Signed by Magisti·ate Judge Deborah A. Robinson on November 24,
                      2014. (SRH) (Entered: 11/24/2014)
 11/25/2014        58 ORDER granting 56 Consent Motion for Extension of Deadlines. Fact
                      discove1y to close by 1/30/2015; Joint status repo1t by 3/2/201 5; Close of
                      expe1t discove1y by7/1 4/2015; Joint status repo1t by 7/21/201 5; Status
                      conference 7/28/2015 (See order for additional deadlines) Signed by Judge
                      Tanya S. Chutkan on 11/25/14. (DJS, ) (Entered: 11/25/2014)
 11/25/2014             Set/Reset Deadlines/Hearings: Close of Fact Discove1y due by 1/30/201 5. Joint
                        Status Repo1t due by 3/2/201 5. Plaintiff Rule 26(a)(2) due by 3/2/2015.
                        Defendant Rule 26(a)(2) due by 4/ 13/201 5. Rebuttal disclosures due by



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                         6/1/2015. Reply Disclosures due by 6/15/2015. Close of Expe1t Discove1y due
                         by 7/14/2015. Joint Status Repo1t due by 7/21/201 5. Status Conference set for
                         7/28/2015 at 10:00 AM in Comtroom 2 before Judge Tanya S. Chutkan . (sm)
                         (Entered: 11/25/2014)
 12/01/2014              Minute Entiy for proceedings held before Magistrate Judge Deborah A.
                         Robinson: Status Conference held on 12/ 1/2014. Fmt her Status Conference set
                         for 1/15/201 5 10:00 AM in Comtroom 4 before Magisu-ate Judge Deborah A.
                         Robinson. Status Repo1t due by 1/12/201 5. (Comt Repo1ter Bowles Repo1t ing
                         Services)(FTR Time Frame: 11:13:50 - 1:03:35, Crum 4). (zcmm,) (Entered:
                         12/01/2014)
 12/01/2014        59 TRANSCRIPT OF PROCEEDINGS before Magisu-ate Judge Deborah A.
                      Robinson held on 10/28/2014; Page Numbers: 1-22. Comt
                      Reporter/Transcriber Bowles Reporting Service, Telephone number (860) 464-
                      1083, Comt Repo1ter Email Address : brs-ct@sbcglobal.net.

                         For the first 90 days after this filing date, the ti·anscript may be viewed at the
                         comthouse at a public tenninal or purchased from the comt repo1ter referenced
                         above. After 90 days, the ti·anscript may be accessed via PACER. Other
                         h'anscript fon nats, (multi-page, condensed, CD or ASCII) may be purchased
                         from the court repo1t er.

                         NOTICE RE REDACTION OF TRANSCRIPTS: The patties have twenty-
                         one days to file with the comt and the comt repo1ter any request to redact
                         personal identifiers from this ti·anscript. If no such requests are filed, the
                         h'anscript will be made available to the public via PACER without redaction
                         after 90 days. The policy, which includes the five personal identifiers
                         specifically covered, is located on our website at ww.dcd.uscomts.gov.

                         Redaction Request due 12/22/2014. Redacted Transcript Deadline set for
                         1/1/201 5. Release of Transcript Resti·iction set for 3/ 1/2015.(znmw, ) (Entered:
                         12/01/2014)
 12/01/2014        60 ORDER denying remaining issues with respect to Defendant's Motion to
                      Compel Discove1y (Document No. 41). See Order for details. Set/Reset
                      Deadlines/Heai·ings: Counsel for the pa1ties to the dispute shall file a status
                      report by no later than 1/12/2015; Heai·ing with respect to the remaining
                      discove1y disputes is scheduled for 1/15/201 5 at 10:00 AM in Courti·oom 4
                      before Magisti·ate Judge Deborah A. Robinson. Signed by Magisti·ate Judge
                      Deborah A. Robinson on December 1, 2014. (SRH) Modified on 12/31/2014
                      (zcmm, ). (Entered: 12/01/2014)
 12/04/2014              Minute Entiy for proceedings held before Judge Tanya S. Chutkan : Motion
                         Hearing held on 12/4/2014 re 34 MOTION to Sti·ike Defendant's Jmy Deman d
                         filed by AMERICAN EDUCATIONAL RESEARCH ASSOCIATION, INC.,
                         AMERICAN PSYCHOLOGICAL ASSOCIATION, INC. and NATIONAL
                         COUNCIL ON MEASUREMENT IN EDUCATION, INC. Oral ai·gument
                         heai·d, and motion taken under advisement.(Court Repo1t er: Janice Dickman.)
                         (tj) (Entered: 12/04/2014)
 12/18/2014        fil

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                        TRANSCRIPT OF PROCEEDINGS before Judge Tanya S. Chutkan held on
                        12-4-14; Page Numbers: 45. Date oflssuan ce: December 18, 201 4. Comi
                        Repo1ier/Transcriber Jan Dickman, Telephone number (202)354-3267, Comi
                        Reporter Email Address : JaniceDickmanDCD@gmail.com. <P></P>For the
                        first 90 days after this filing date, th e ti·anscript may be viewed at the
                        comihouse at a public tenninal or purchased from the comi repo1ier referenced
                        above. After 90 days, the ti·anscript may be accessed via PACER. Other
                        h'anscript fon nats, (multi-page, condensed, CD or ASCII) may be purchased
                        from the court repo1i er.<P>NOTICE RE REDACTION OF
                        TRANSCRIPTS: The paiiies have twenty-one days to file with th e comi and
                        the comi repo1ier any request to redact personal identifiers from this ti·anscript.
                        If no such requests ai·e filed, the ti·anscript will be made available to the public
                        via PACER without redaction after 90 days. The policy, which includes the
                        five personal identifiers specifically covered, is located on our website at
                        ww.dcd.uscomis.gov.<P></P> Redaction Request due 1/8/201 5. Redacted
                        Transcript Deadline set for 1/18/201 5. Release of Transcript Resti·iction set for
                        3/18/201 5.(Dickman, Janice) (Entered: 12/18/2014)
 12/1 9/2014       62 NOTICE OF WITHDRAWAL OF APPEARANCE as to AMERICAN
                      SOCIETY OF HEATING, REFRIGERATING, AND AIR-CONDITIONING
                      ENGINEERS, INC .. Attorney Michael Andrew Zee tenninated. (Zee, Michael)
                      (Entered: 12/1 9/2014)
 12/24/2014        63   ENTERED IN ERROR. .... Consent MOTION for Extension of Time to Oppose
                        P laintiffs' Motion to Compel by PUBLIC.RESOURCE.ORG, INC.
                        (Attachments:# ! Text of Proposed Order)(Bridges, Andrew) Modified on
                        12/24/201 4 (rdj). (Entered: 12/24/2014)
 12/24/2014             NOTICE OF CORRECTED DOCKET ENTRY: re 63 Consent MOTION for
                        Extension of Time to Oppose Plaintiffs' Motion to Compel was entered in eITor
                        at th e request of counsels. (rdj) (Entered: 12/24/2014)
 12/24/2014        64 First MOTION to Compel Public Resource.Org, Inc. by NATIONAL FIRE
                      PROTECTION ASSOCIATION, INC. (Rehn, Nathan) (Entered: 12/24/201 4)
 12/24/2014        65   Proposed Order re 64 Plaintiffs' Motion to Compel by NATIONAL FIRE
                        PROTECTION ASSOCIATION, INC. (Rehn, Nathan) Modified on
                        12/28/201 4 Gf, ). (Entered: 12/24/2014)
 12/24/2014        66 Declaration re 64 First MOTION to Compel Public.Resource.Org. ! by
                      NATIONAL FIRE PROTECTION ASSOCIATION, INC. (Rehn, Nathan)
                      Modified on 12/28/2014 Gf, ). (Entered: 12/24/2014)
 01/12/2015        67 Memorandum in opposition to re 64 First MOTION to Compel Public
                      Resource.Org, Inc. Discove1y filed by PUBLIC.RESOURCE.ORG, INC ..
                      (Attachments:# ! Declaration of Kathleen Lu In Suppo1i of Defendant-
                      Counterclaimant Public.Resource.Org, Inc.'s Opposition to Plaintiff-
                      Counterdefendant American Society for Testing and Materials d/b/a ASTM
                      International Motion to Compel Discove1y, # J Declaration of John Doe In
                      Suppo1i of Defendant-Counterclaimant Public.Resource.Org, Inc.'s Response
                      to Plaintiffs' Motion to Compel Discove1y , # J. Declaration of Carl Malamud In
                      Suppo1i of Defendant-Counterclaimant Public.Resource.Org, Inc.'s Response


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                        to Plaintiffs' Motion to Compel Discove1y)(Bridges, Andrew) (Entered:
                        01/12/2015)
 01/12/2015        68 STATUS REPORT ON OUTSTANDING ISSUES RAISED IN P UBLIC
                      RESOURCE'S MOTION TO COMPEL DISCOVERY (Related Dkt. # 60 ) by
                      PUBLIC.RESOURCE.ORG, INC .. (Bridges, Andrew) (Entered: 01/12/201 5)
 01/1 4/2015            MINUTE ORDER: At a hearing conducted by this comi on December 1, 201 4,
                        this comi, inter aha, directed the pa1iies to the discove1y disputes which were
                        pending at that time to continue to meet an d confer in an effort to finalize the
                        resolution of those disputes; to file a status report by no later than Janua1y 12,
                        201 5; and to appear for a status hearing on Januaiy 15, 2015. See Order
                        (Document No. 60). This comi, in an effo1i to prepare for the Januaiy 15
                        heai·ing has determined that (1) in the interim, Plaintiffs filed a Motion to
                        Compel Discove1y (Document No. 64), and that the motion is not yet ripe, and
                        (2) the paii ies have not yet completed their effo1i s to resolve the discove1y
                        disputes which were pending as of December 1, 2014 (see Document No. 68).
                        For these reasons, it is ORDERED that the hearing now scheduled for Janua1y
                        15 is continued to 10:00 a.m. on Wednesday, Febrnaiy 4, 201 5. It is
                        FURTHER ORDERED that counsel shall continue to meet and confer
                        regai·ding the discove1y disputes which ai·e the subject of both the pending
                        motion an d the status repo1i , an d shall j ointly file a status repo1i by no later
                        than Januaiy 20, 201 5. Set/Reset Deadlines/Hearings: Counsel for the paii ies to
                        the discove1y disputes shall jointly file a status repo1i by no later than Januaiy
                        20, 201 5. A Status Conference is scheduled for 10:00 a.m . on Febrnaiy 4, 201 5
                        in Courti·oom 4 before Magisti·ate Judge Deborah A. Robinson. Signed by
                        Magisu-ate Judge Deborah A. Robinson on Januaiy 14, 201 5. (SRH) (Entered:
                        01/14/201 5)
 01/20/2015        69 STATUS REPORT Joint Status Report and [Prop osed} Order On Defendant
                      and P laintiffs' Motions to Compel Discovery by NATIONAL FIRE
                      PROTECTION ASSOCIATION, INC .. (Rehn, Nathan) (Entered: 01/20/201 5)
 01/22/2015        70 REPLY to opposition to motion re 64 First MOTION to Compel Public
                      Resource.Org, Inc. filed by NATIONAL FIRE PROTECTION
                      ASSOCIATION, INC .. (Rehn, Nathan) (Entered: 01/22/2015)
 01/29/2015        71   MOTION for Extension of Time to Complete Discove1y Defendant-
                        Counterclaimant Public.Resource.Org, Inc. '.s- Motion/or Extension of
                        Discovery Period, Corresponding Modification of Scheduling Order, and
                        Leave to Take More Than JO Depositions by PUBLIC.RESOURCE.ORG,
                        INC. (Attachments: # l Declai·ation Declai·ation of Kathleen Lu in Suppo1i of
                        Defendant-Counterclaimant Public.Resource.Org, Inc.'s Motion for Extension
                        of Discove1y Period, Conesponding Modification of Scheduling Order, an d
                        Leave to Take More Than 10 Depositions, # l Text of Proposed Order
                        [Proposed] Order Granting Defendant's Motion for Extension of Discove1y
                        Period, Conesponding Modification of Scheduling Order, and Leave to Take
                        More Than 10 Depositions)(Bridges, Andrew) (Entered: 01/29/2015)
 02/02/2015        72 MEMORANDUM AND OPINION. Signed by Judge Tanya S. Chutkan on
                      2/2/201 5. (lctsc2) (Entered: 02/02/201 5)



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 02/02/2015        73   ORDER granting 34 Motion to Su-ike. The jmy demand in Defendant's .ll
                        counterclaim and Answer is sh'icken. Signed by Judge Tanya S. Chutkan on
                        2/2/201 5. (lctsc2) (Entered: 02/02/201 5)
 02/03/2015        74 MOTION to Amend/Co1Tect l Complaint,, Exhibit B by NATIONAL FIRE
                      PROTECTION ASSOCIATION, INC. (Attachments: # ! Exhibit Amended
                      Exhibit B to Complaint,# I Text of Proposed Order [Proposed] Order Granting
                      Motion to Amend)(Rehn, Nathan) (Entered: 02/03/2015)
 02/04/2015        75 NOTICE of Appearance by Simeon Meir Schopf on behalf of AMERICAN
                      SOCIETY OF HEATING, REFRIGERATING, AND AIR-CONDITIONING
                      ENGINEERS, INC. (Schopf, Simeon) (Entered: 02/04/2015)
 02/04/2015             MINUTE ORDER. Proceedings held before Magisti·ate Judge Deborah A.
                        Robinson: Fmi her Status Conference held on 2/4/201 5. With respect to 64
                        Plaintiffs' Motion to Compel Discove1y , the defendant may redact identifying
                        infon nation from the documents (see page 3 in document number 69 ); and,
                        that such redactions are without prejudice to raising the issue at a time there is
                        a more specific factual showing of need. In all other respects, the Motion is
                        DENIED AS MOOT. Status Conference set for 3/25/201 5 10:00 AM in
                        Comi room 4 before Magisti·ate Judge Deborah A. Robinson. (Comi Repo1ier
                        Bowles Reporting Services)(FTR Time Frame : 10:09:09 - 10:42:39, Crum 4)
                        (zcmm,) (Entered: 02/04/201 5)
 02/17/2015        76 Memorandum in opposition to re 71 MOTION for Extension of Time to
                      Complete Discove1y Defendant-Counterclaimant Public.Resource. Org, Inc.'s
                      M otion f or Extension of Discovery P eriod, Corresponding Modification of
                      Scheduling Order, and Leave to Take M ore Than 10 Depositions filed by
                      NATIONAL FIRE PROTECTION ASSOCIATION, INC .. (Rehn, Nathan)
                      (Entered: 02/17/2015)
 02/20/2015        77 STIPULATION re 44 Stipulation an d Order JOINT STIPULA TION TO
                      AMEND PROTECTIVE ORDER by PUBLIC.RESOURCE.ORG, INC ..
                      (Bridges, Andrew) (Entered: 02/20/201 5)
 02/20/2015        78 WITHDRAWAL OF MOTION PURSUANT TO 80 ..... MOTION for
                      Protective Order by PUBLIC.RESOURCE.ORG, INC. (Attachments: # l
                      Declaration of Andrew P. Bridges In Support of Public.Resource.Org, Inc.'s
                      Motion for Protective Order, # J Exhibit A - Plaintiffs' Second Requests for
                      Production of Documents, Things and Electi·onically Stored Info1mation, # .1
                      Text of Proposed Order Granting Defendant's Motion for Protective Order
                      [Dkt. 78])(Bridges, Andrew) Modified on 3/2/201 5 (td, ). (Entered:
                      02/20/201 5)
 02/20/2015        79 Memorandum in opposition to re 74 MOTION to Amend/Co1Tect l
                      Complaint,, Exhibit B filed by PUBLIC.RESOURCE.ORG, INC ..
                      (Attachments: # ! Declaration of Andrew P. Bridges In Suppo1i of
                      Public.Resource.Org, Inc.'s Opposition to National Fire Protection Association,
                      Inc.'s Motion to Amend Complaint, # J Exhibit A to Bridges Declaration In
                      Suppo1i of Opposition to Motion to Amend Complaint,# .1 Text of Proposed
                      Order Denying National Fire Protection Association, Inc.'s Motion to Amend
                      Complaint (Dkt. No. 74))(Bridges, Andrew) (Entered: 02/20/201 5)


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 02/26/2015        80 WITHDRAWAL of Motion by PUBLIC.RESOURCE.ORG, INC. re 78
                      MOTION for Protective Order filed by PUBLIC.RESOURCE.ORG, INC. .
                      (Bridges, Andrew) (Entered: 02/26/201 5)
 02/27/2015        fil SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL
                        filed by PUBLIC.RESOURCE .ORG, INC. (This document is SEALED an d
                        only available to authorized persons.) (Attachments: # l Text of Proposed
                        Order Granting Defendant's Motion to File Documents Under Seal, # J
                        CONFIDENTIAL Version of Public.Resource.Org, Inc.s Reply In Suppo1i Of
                        Motion For Extension OfDiscove1y Period, Con esponding Modification Of
                        Scheduling Order, And Leave To Take More Than Ten Depositions,# .1
                        CONFIDENTIAL Version of Reply Declaration of Andrew P. Bridges In
                        Suppo1i ofDefendant-Counterclaimant Public.Resource.Org, Inc.s Reply In
                        Suppo1i Of Motion For Extension OfDiscove1y Period, Co1Tesponding
                        Modification Of Scheduling Order, And Leave To Take More Than Ten
                        Depositions, # 1 Confidential Exhibit D to the Bridges Reply Declaration In
                        Suppo1i , # .2, Confidential Exhibit E to the Bridges Reply Declaration In
                        Suppo1i , # .§ Confidential Exhibit F to the Bridges Reply Declaration In
                        Suppo1i)(Bridges, Andrew) (Entered: 02/27/2015)
 02/27/2015        82 REPLY to opposition to motion re 71 MOTION for Extension of Time to
                      Complete Discove1y Defendant-Counterclaimant Public.Resource. Org, Inc. 's
                      M otion f or Extension of Discovery P eriod, Corresponding Modification of
                      Scheduling Order, and Leave to Take M ore Than 10 Depositions [P UBLIC
                      REDACTED VERSION} filed by PUBLIC.RESOURCE.ORG, INC..
                      (Attachments:# ! PUBLIC REDACTED VERSION of Reply Declaration of
                      Andrew P. Bridges In Suppo1i ofDefendant-Counterclaimant
                      Public.Resource.Org, Inc.s Reply In Suppo1i of Motion for Extension of
                      Discove1y Period, Conesponding Modification of Scheduling Order, an d
                      Leave to Take More Than 10 Depositions, # l. Exhibit A to Bridges Reply
                      Declaration In Suppo1i , # J. Exhibit B to Bridges Reply Declaration In Support,
                      # ,1 Exhibit C to Bridges Reply Declaration In Suppo1i, # .2, Exhibit D to
                      Bridges Reply Declaration In Suppo1i , # .§ Exhibit E to Bridges Reply
                      Declaration In Suppo1i , # 1 Exhibit F to Bridges Reply Declaration In Suppo1i)
                      (Bridges, Andrew) (Entered: 02/27/201 5)
 02/28/2015        83   CERTIFICATE OF SERVICE by PUBLIC.RESOURCE.ORG, INC. re fil
                        SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL
                        filed by PUBLIC.RESOURCE.ORG, INC. (This document is SEALED an d
                        only available to authorized persons.) . (Bridges, Andrew) (Entered:
                        02/28/201 5)
 03/02/2015        84 REPLY to opposition to motion re 74 MOTION to Amend/Conect l
                      Complaint,, Exhibit B filed by NATIONAL FIRE PROTECTION
                      ASSOCIATION, INC .. (Rehn, Nathan) (Entered: 03/02/2015)
 03/02/2015        85   STATUS REPORT Joint Status Report In Response to Scheduling Order (Dkt.
                        58) by PUBLIC.RESOURCE.ORG, INC .. (Bridges, Andrew) (Entered:
                        03/02/201 5)
 03/03/2015             DISREGARD THIS NOTICE ....NOTICE OF ERROR re 85 Status Repo1i;
                        emailed to abridges@fenwick.com, cc'd 31 associated attorneys -- The PDF


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                        file you docketed contained en ors: 1. FYI: On future filings, the document
                        must be signed by counsel who is electi·onically filing the doc. (td,) Modified
                        on 3/3/2015 (td, ). (Entered: 03/03/2015)
 03/06/2015        86 Emergency MOTION for Order and Request for Expedited Briefing Schedule
                      by AMERICAN SOCIETY FOR TESTING AND MATERIALS
                      (Attachments: # l Exhibit Exhibit A, # 1 Exhibit Exhibit B, # 1 Exhibit Exhibit
                      C, # .1 Exhibit Exhibit D, # .2. Exhibit Exhibit E, # .§ Exhibit Exhibit F, # 1
                      Exhibit Exhibit G)(Fee, J.) (Entered: 03/06/2015)
 03/09/2015             Set/Reset Hearings: Status Conference, including consideration of 1l
                        scheduled for 3/19/2015 at 02:00 PM in Courtrnom 4 before Magish'ate Judge
                        Deborah A. Robinson. All counsel shall meet and confer in advance of said
                        hearing in an effo1i to reach a consensus regarding the expeditious completion
                        of discove1y. (lcdar2) (Entered: 03/09/2015)
 03/09/2015             MINUTE ORDER: It is hereby ORDERED that fil. Sealed Motion for Leave to
                        File Document Under Seal is hereby GRANTED. Signed by Magisti·ate Judge
                        Deborah A. Robinson on March 9, 2015. (lcdar2) (Entered: 03/09/2015)
 03/09/2015        87 SEALED REPLY TO OPPOSITION filed by PUBLIC.RESOURCE.ORG,
                      INC. re 1l MOTION for Extension of Time to Complete Discove1y Defendant-
                      Counterclaimant Public.Resource.Org, Inc. '.s- Motion/or Extension of
                      Discovery Period, Corresponding Modification ofScheduling Order, and
                      Leave to Take More Than JO Depositions (Attachments:# ! Exhibit D, # I
                      Exhibit E, # 1 Exhibit F)(ztd,) (Entered: 03/10/2015)
 03/17/2015        88 MOTION for Leave to Appear Pro Hae Vice :Attorney Name- Jason Blake
                      Cunningham, :Fin n- King & Spalding LLP, :Address- 101 Second Sti·eet, Suite
                      2300, San Francisco, CA 94105. Phone No. - (415) 318-1200. Fax No. - (415)
                      318-1300 Filing fee $ 100, receipt number 0090-4024895. Fee Status: Fee
                      Paid. by AMERICAN SOCIETY OF HEATING, REFRIGERATING, AND
                      AIR-CONDITIONING ENGINEERS, INC. (Attachments: # l Declaration, # I
                      Text of Proposed Order)(Bucholtz, Jeffrey) (Entered: 03/17/2015)
 03/17/2015        89 MOTION for Leave to Appear Pro Hae Vice :Attorney Name- Antonio E.
                      Lewis, :Fiim- King & Spalding LLP, :Address- 100 N T1yon Sti·eet, Suite
                      3900, Charlotte, NC 28202. Phone No. - (704) 503-2600. Fax No. - (704) 503-
                      2622 Filing fee$ 100, receipt number 0090-4024904. Fee Status: Fee Paid. by
                      AMERICAN SOCIETY OF HEATING, REFRIGERATING, AND AIR-
                      CONDITIONING ENGINEERS, INC. (Attachments:# ! Declaration,# I Text
                      of Proposed Order)(Bucholtz, Jeffrey) (Entered: 03/17/2015)
 03/18/2015             MINUTE ORDER: Granting 88 Motion for Leave to Appear Pro Hae Vice.
                        Attorney Jason Blake Cunningham is hereby admitted pro hac vice to appear in
                        this matter on behalf of defendant AMERICAN SOCIETY OF HEATING,
                        REFRIGERATING, AND AIR-CONDITIONING ENGINEERS, INC.Signed
                        by Judge Tanya S. Chutkan on 3/18/15. (DJS) Modified on 3/18/2015 (sm).
                        (Entered: 03/18/2015)
 03/19/2015




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                        Minute Entiy for proceedings held before Magisti·ate Judge Deborah A.
                        Robinson: Status Conference held on 3/19/2015. (Comt Repo1ter: Lisa
                        Moreira) (zcmm, ) (Entered: 03/20/2015)
 03/23/2015             MINUTE ORDER: Proceedings held before Magisti·ate Judge Deborah A.
                        Robinson: Status hearing and hearing with respect to Defendants Motion for
                        Extension of Time to Complete Discove1y , Document No. 11. , conducted on
                        March 19, 2015. Defendants Motion for Extension of Time to Complete
                        Discove1y DENIED for the reasons set fo1t h in the record, except that
                        Defendant may complete Rule 30(b)(6) depositions in accordance with the
                        agreement of the patt ies by no later than April 2, 2015. Pa1ties waive oral
                        argument with respect to Plaintiffs Emergency Motion for Protective Order
                        Document No. 86, which will be decided by the Comt after said motion has
                        been fully briefed. (lcdai·l) (Entered: 03/23/201 5)
 03/23/2015             MINUTE ORDER granting 89 Motion for Leave to Appeai· Pro Hae Vice.
                        Signed by Magisti·ate Judge Deborah A. Robinson on 03/23/2015. (lcdarl,)
                        (Entered: 03/23/2015)
 03/23/2015        90 SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL
                      filed by PUBLIC.RESOURCE.ORG, INC. (This document is SEALED an d
                      only available to authorized persons.) (Attachments:# l Text of Proposed
                      Order Granting Defendant's Motion to File Documents Under Seal, # l, Sealed
                      Declaration of Andrew P. Bridges In Suppo1t of Public.Resource.Org, Inc.'s
                      Opposition to Plaintiffs' Emergency Motion for Protective Order and Request
                      for Expedited Briefing Schedule, # l Sealed Exhibit 11 to Bridges Declai·ation,
                      # .1 Sealed Exhibit 12 to Bridges Declaration, # -2_ Sealed Exhibit 13 to Bridges
                      Declaration, # .§. Sealed Exhibit 14 to Bridges Declaration,# 1 Sealed Exhibit
                      15 to Bridges Declai·ation, # ~ Sealed Exhibit 16 to Bridges Declaration)
                      (Bridges, Andrew) (Entered: 03/23/201 5)
 03/23/2015        91   Memorandum in opposition to re 86 Emergency MOTION for Order and
                        Request for Expedited Briefing Schedule filed by PUBLIC.RESOURCE.ORG,
                        INC .. (Attachments:# l [Public] Declaration of Andrew P. Bridges In Suppo1t
                        of Public.Resource.Org, Inc.'s Opposition to Plaintiffs' Emergency Motion for
                        Protective Order and Request for Expedited Briefing Schedule, # l, Exhibit 1 to
                        Bridges Declai·ation, # J. Exhibit 2 to Bridges Declai·ation, # 1 Exhibit 3 to
                        Bridges Declaration, # .2, Exhibit 4 to Bridges Declai·ation, # .§. Exhibit 5 to
                        Bridges Declaration, # 1 Exhibit 6 to Bridges Declai·ation, # ~ Exhibit 7 to
                        Bridges Declai·ation, # .2 Exhibit 8 to Bridges Declai·ation, # 10 Exhibit 9 to
                        Bridges Declai·ation, # !! Exhibit 10 to Bridges Declai·ation, # 11. Exhibit 11 to
                        Bridges Declai·ation, # ll Exhibit 12 to Bridges Declai·ation, # 14 Exhibit 13 to
                        Bridges Declaration, # .11 Exhibit 14 to Bridges Declai·ation, # 12. Exhibit 15 to
                        Bridges Declaration, # 11 Exhibit 16 to Bridges Declai·ation, # ll Text of
                        Proposed Order Denying Plaintiffs' Emergency Motion for Protective Order
                        an d Request for Expedited Briefing Schedule)(Bridges, Andrew) (Entered:
                        03/23/201 5)
 03/24/2015        92 CERTIFICATE OF SERVICE by PUBLIC.RESOURCE.ORG, INC. re 90
                      SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL
                      filed by PUBLIC.RESOURCE.ORG, INC. (This document is SEALED an d


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                        only available to authorized persons.) . (Bridges, Andrew) (Entered:
                        03/24/2015)
 03/24/2015             MINUTE ORDER: It is hereby ORDERED that Sealed Motion for Leave to
                        File Document Under Seal, Document No. 90 , is hereby GRANTED. Signed
                        by Magisu-ate Judge Deborah A. Robinson on 03/24/201 5. (lcdarl ,) (Entered:
                        03/24/201 5)
 03/24/2015        93   SEALED DOCUMENT filed by PUBLIC.RESOURCE.ORG, INC .. re 91
                        Memorandum in Opposition,,,, filed by PUBLIC.RESOURCE.ORG, INC..
                        (This document is SEALED and only available to authorized persons.)(ztd,)
                        (Entered: 03/24/2015)
 03/26/2015        94 TRANSCRIPT OF PROCEEDINGS before Magisu-ate Judge Deborah A.
                      Robinson held on March 19, 201 5; Page Numbers: 1-60. Date of
                      Issuance:March 26, 201 5. Comi Repo1ier/Transcriber Lisa A. Moreira, RDR,
                      CRR, Telephone number 202-354-3187, Court Reporter Email Address :
                      Lisa_ Moreira@dcd.uscomis.gov.

                        For the first 90 days after this filing date, the ti·anscript may be viewed at the
                        courthouse at a public ten ninal or purchased from the comi repo1ier referenced
                        above. After 90 days, the ti·anscript may be accessed via PACER. Other
                        h'anscript fon nats, (multi-page, condensed, CD or ASCII) may be purchased
                        from the comi repo1i er.

                        NOTICE RE REDACTION OF TRANSCRIPTS: The paiiies have twenty-
                        one days to file with the comi and the comi reporter any request to redact
                        personal identifiers from this ti·anscript. If no such requests are filed, the
                        h'anscript will be made available to the public via PACER without redaction
                        after 90 days. The policy, which includes the five personal identifiers
                        specifically covered, is located on our website at www.dcd.uscomi s.gov.

                        Redaction Request due 4/16/2015. Redacted Transcript Deadline set for
                        4/26/201 5. Release of Transcript Resti·iction set for 6/24/2015.(Moreira, Lisa)
                        (Entered: 03/26/2015)
 04/01/2015        95   ORDER granting NFPA's 74 Motion to Amend the Complaint. See Order for
                        details. Signed by Judge Tanya S. Chutkan on 4/1/201 5. (lctsc2) (Entered:
                        04/01/201 5)
 04/01/2015        96 SUPPLEMENT (Exhibit B) to re ! Complaint,, filed by NATIONAL FIRE
                      PROTECTION ASSOCIATION, INC .. (td, ) (Entered: 04/02/201 5)
 04/02/2015        97 SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL
                      filed by AMERICAN SOCIETY FOR TESTING AND MATERIALS (This
                      document is SEALED and only available to authorized persons.) (Attachments:
                      # ! Text of Proposed Order Granting Plaintiffs' Motion to File Documents
                      Under Seal, # l Exhibit Sealed Exhibit 2 to Rubel Declaration, # 1 Exhibit
                      Sealed Exhibit 6 to Rubel Declaration)(Fee, J.) (Entered: 04/02/201 5)
 04/02/2015        98 REPLY to Opposition re 86 MOTION for Protective Order filed by
                      AMERICAN SOCIETY FOR TESTING AND MATERIALS. (Attachments:#



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                        l Declaration of Jordana S. Rubel, # J, Exhibit 1, # .1 Exhibit 2 [UNDER
                        SEAL], # ,1 Exhibit 3, # .2. Exhibit 4, # 2 Exhibit 5, # 1 Exhibit 6 [UNDER
                        SEAL])(Fee, J.) Modified event title on 4/3/201 5 (znmw, ). (Entered:
                        04/02/201 5)
 04/21/2015             MINUTE ORDER: Sealed Motion for Leave to File Document Under Seal 97
                        is hereby GRANTED. Signed by Magisti·ate Judge Deborah A. Robinson on
                        4/21/201 5.(lcdarl , ) (Entered: 04/21/2015)
 04/21/2015        99 SEALED DOCUMENT filed by AMERICAN SOCIETY FOR TESTING
                      AND MATERIALS. re Order on Sealed Motion for Leave to File Document
                      Under Seal. (This document is SEALED and only available to authorized
                      persons.)(ztd,) (Entered: 04/22/201 5)
 04/23/2015       100 STRICKEN PURSUANT TO MINUTE ORDER FILED ON
                      06/10/201 5..... MOTION for Order to Set Expert Schedule by AMERICAN
                      SOCIETY FOR TESTING AND MATERIALS (Attachments: # l Exhibit
                      Proposed Order Granting Plaintiffs' Motion to Set Expe11 Schedule)(Fee, J.)
                      Modified on 6/11/2015 (if). (Entered: 04/23/201 5)
 05/11/2015       101   Memorandum in opposition to re 100 MOTION for Order to Set Expert
                        Schedule filed by PUBLIC.RESOURCE.ORG, INC .. (Bridges, Andrew)
                        (Entered : 05/11/2015)
 05/21/2015       102 REPLY to opposition to motion re 100 MOTION for Order to Set Expert
                      Schedule filed by NATIONAL FIRE PROTECTION A SSOCIATION, INC ..
                      (Attachments:# l Exhibit Exhibit A)(Rehn, N athan) (Entered: 05/21/201 5)
 06/1 0/2015            MINUTE ORDER: Plaintiffs' Motion to Set Expe11 Schedule (Document N o.
                        100 ) is pending for detennination by this comi . Entirely absent from the
                        motion, an d from the opposition to the motion an d the reply to the opposition,
                        is any indication that the parties discharged their duty to confer in an effo1i to
                        agree upon a schedule, and if not, at least to nan ow the areas of disagreement.
                        See LCvR 7(m). This comi has previously cautioned counsel that eve1y
                        disagreement regarding the conduct of discove1y ought not spawn a new wave
                        of litigation; this concern is pa1iicularly hue where, as here, the disagreement
                        concerns the schedule for completion of discove1y . It is, therefore, ORDERED
                        that the motion is STRICKEN FROM THE RECORD. It is FURTHER
                        ORDERED that counsel for the pa1iies shall meet and confer regarding the
                        schedule for completion of discove1y , and, by no later than June 24, 2015, file
                        as attachments to a notice of filing their proposed orders. Signed by Magish'ate
                        Judge Deborah A. Robinson on 6/10/201 5. (lcdarl , ) (Entered: 06/ 10/2015)
 06/16/2015             Set/Reset Deadlines : The paii ies' Notice of Filing with attached proposed
                        orders regai·ding the schedule for completion of discove1y to be filed by
                        6/24/15. (kk) (Entered: 06/16/201 5)
 06/22/2015       103   ORDER denying Plaintiffs' Motion for Protective Order an d Request for
                        Expedited Briefing Schedule (Document N o. 86 ). Signed by Magish'ate Judge
                        Deborah A. Robinson on 6/22/201 5. (lcdai·l , ) (Entered: 06/22/201 5)
 06/24/2015       104 NOTICE of Proposed Order to Set Schedule for Expert Discovery by
                      NATIONAL FIRE PROTECTION ASSOCIATION, INC. (Attachments: # !


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                        Text of Proposed Order [Proposed] Order Setting Schedule for Expe1t
                        Discove1y, # I Exhibit Exhibit A to Notice of Filing, # l Exhibit Exhibit B to
                        Notice of Filing)(Rehn, Nathan) (Entered: 06/24/2015)
 06/24/2015       105 NOTICE of Proposed Order Regarding the Schedule for Completion of
                      Discovery by PUBLIC.RESOURCE.ORG, INC. re Set/Reset Deadlines
                      (Attachments:# l Text of Proposed Order Regarding the Schedule for
                      Completion of Discove1y)(Bridges, Andrew) (Entered: 06/24/201 5)
 06/25/2015             NOTICE OF ERROR re 104 Notice of Proposed Order; emailed to
                        thane.rehn@mto.com, cc'd 35 associated attorneys -- The PDF file you
                        docketed contained en ors: 1. FYI: On future filings, if you are filing the
                        document your name must be on the signature line(s) . (td, ) (Entered:
                        06/25/201 5)
 06/29/2015             Set/Reset Deadlines : Rule 30(b)(6) depositions to be completed by 7/7/15.
                        (kk) (Entered: 06/29/2015)
 07/01/2015       106 STIPULATION Joint Stipulation and Prop osed Order Regarding Scheduling
                      of Certain Depositions by PUBLIC.RESOURCE.ORG, INC .. (Becker,
                      Matthew) (Entered: 07/01/201 5)
 07/09/2015             MINUTE ORDER: Upon consideration of the Joint Stipulation and Proposed
                        Order Regarding Scheduling of Ce1tain Depositions (Document No. 106 ) it is
                        hereby ORDERED that the deadline for the deposition of ASTM's 30(b)(6)
                        c01porate representative is extended to July 24, 201 5. It is fuither ORDERED
                        that the deposition of Public Resource's expert witness shall take place on or by
                        July 31, 201 5. It is further ORDERED that a status hearing is scheduled for
                        2:00 p.m. on Wednesday 8/12/15. Signed by Magisti·ate Judge Deborah A.
                        Robinson on 7/9/201 5. (lcdarl , ) (Entered: 07/09/201 5)
 07/09/2015             Set/Reset Hearings: Status Conference is hereby set for 8/12/201 5 at 02:00 PM
                        in Courti·oom 4 before Magisti·ate Judge Deborah A. Robinson. (lcdarl ,)
                        (Entered: 07/09/2015)
 07/09/2015             MINUTE ORDER: The status conference previously set for 7/28/15 before
                        Judge CHUTKAN is hereby vacated. Signed by Judge Tanya S. Chutkan on
                        7/9/15. (DJS) (Entered: 07/09/2015)
 07/21/2015       107 MOTION for Leave to Appear Pro Hae Vice :Attorney Name- Katherine E.
                      Merk, :Finn- King & Spalding LLP, :Address- 101 Second Sti·eet, Ste. 2300,
                      San Francisco, CA 94105. Phone No. - 41 5-318-1200. Fax No. - 41 5-318-1300
                      Filing fee $ 100, receipt number 0090-4 182854. Fee Status: Fee Paid. by
                      AMERICAN SOCIETY OF HEATING, REFRIGERATING, AND AIR-
                      CONDITIONING ENGINEERS, INC. (Attachments: # ! Exhibit 1, # 1 Text of
                      Proposed Order)(Bucholtz, Jeffrey) (Entered: 07/21/201 5)
 07/23/2015             MINUTE ORDER: Granting 107 Motion for Leave to Appear Pro Hae Vice.
                        Attorney Katherine E. Merk is hereby admitted pro hac vice to appear in this
                        matter on behalf of Plaintiff AMERICAN SOCIETY OF HEATING,
                        REFRIGERATING, AND AIR-CONDITIONING ENGINEERS, INC.Signed
                        by Judge Tanya S. Chutkan on 7/22/15. (DJS) (Entered: 07/23/201 5)



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 07/29/2015             MINUTE ORDER : It is hereby ORDERED that not later than August 5, 2015
                        all counsel of record shall verify that the docket in this action contains the
                        attorney's em ail address. In the absence of an em ail address, the attom ey(s)
                        shall obtain an ECF password or file a notice infonning the court that that they
                        do not wish to obtain a password. Should counsel decline to obtain an ECF
                        password, they shall forfeit their right to: (1) file electi·onically in this action;
                        an d (2) receive copies of comi orders via U.S. mail. Signed by Judge Tanya S.
                        Chutkan on 7/29/15. (DJS) (Entered: 07/29/2015)
 07/29/2015             Set/Reset Deadlines: Notice due by 8/5/2015. (zsm) (Entered: 07/29/2015)
 08/05/2015       108 NOTICE Verification ofEmail Addresses for Counsel ofRecord Pursuant to
                      July 29, 2015 Minute Order by NATIONAL FIRE PROTECTION
                      ASSOCIATION, INC. (Rehn, Nathan) (Entered: 08/05/2015)
 08/05/2015       109 NOTICE Verification ofEmail Addresses for Counsel ofRecord Pursuant to
                      July 29, 2015 Minute Order by AMERICAN SOCIETY OF HEATING,
                      REFRIGERATING, AND AIR-CONDITIONING ENGINEERS, INC .
                      (Cunningham, Jason) (Entered: 08/05/2015)
 08/05/2015       110 NOTICE AND VERIFICATION OF MATTHEW BECKER REGARDING
                      EMAIL ADDRESSES FOR COUNSEL OF RECORD PURSUANT TO
                      COURT'S MINUTE ORDER OF JULY 29, 2015 by
                      PUBLIC.RESOURCE.ORG, INC. re Set/Reset Deadlines, Order,, (Becker,
                      Matthew) (Entered: 08/05/2015)
 08/12/2015             Minute Entiy for proceedings held before Magistrate Judge Deborah A.
                        Robinson : Status Hearing conducted on 8/12/2015. Court Repo1i er FTR Gold -
                        Ctim . 4. FTR Time Fram e: [2:20:37-3:15:13]. (1m) (Entered: 08/12/2015)

 08/12/2015       111   ORDER on Status Hearing conducted on August 12, 2015. Signed by
                        Magish'ate Judge Deborah A. Robinson on 8/12/2015 . (lcdar l , ) Modified on
                        8/12/2015 (lcdarl , ). (Entered: 08/12/2015)
 08/12/2015             Set/Reset Deadlines: Fact discove1y has closed. Expe1i discove1y shall close on
                        10/16/2015. (lcdarl , ) (Entered: 08/12/2015)
 08/12/2015             Set/Reset Deadlines: Defendant/ Counterclaimant motion in limine due by
                        8/19/2015. Defendant/Counterclaimant rebuttal expe1i report due by 9/11/2015.
                        Plaintiff/Counterdefendants replies due by 10/2/2015. (mr) (Entered:
                        08/13/2015)
 09/29/2015             Set/Reset Hearings: Post-Discove1y Status Conference is hereby set for
                        10/20/2015 at 04:00 PM in Courti·oom 4 before Magisti·ate Judge Deborah A.
                        Robinson . (lcdar l , ) (Entered: 09/29/2015)
 10/14/2015       112 Consent MOTION for Order Request for Telephonic Status Conference by
                      PUBLIC.RESOURCE.ORG, INC. (Becker, Matthew) (Entered: 10/14/2015)
 10/15/2015             MINUTE ORDER : Consent m otion for a telephonic status conference,
                        Document No. 112 , is hereby GRANTED. Signed by Magish'ate Judge
                        Deborah A. Robinson on 10/15/2015. (lcdarl , ) (Entered: 10/15/2015)

 10/20/2015


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                        Minute Entiy for proceedings held before Magisti·ate Judge Deborah A.
                        Robinson: Post-Discove1y Status Conference conducted on 10/20/2015. All
                        Counsel confom that discove1y - both fact and expe1t - has been completed.
                        Comt Repo1ter FTR Gold- Ctim. 4. (FTR Time Frame: 4:02:59-4: 10:33).
                        Plaintiffs' Counsel: Jordana Rubel, Kevin Fee, Nathan Rehn, Kelly Klaus, an d
                        Blake Cunningham; Defendant's Counsel: Matthew Becker. (1m) (Entered:
                        10/20/201 5)
 10/27/2015       113 NOTICE of Request for Hearing by AMERICAN SOCIETY FOR TESTING
                      AND MATERIALS, AMERICAN SOCIETY OF HEATING,
                      REFRIGERATING, AND AIR-CONDITIONING ENGINEERS, INC .,
                      NATIONAL FIRE PROTECTION ASSOCIATION, INC. (Rubel, Jordana)
                      (Entered: 10/27/2015)
 10/27/2015             MINUTE ORDER. A status conference will be held in both this case and
                        American Educational Research Association, Inc. v. Public.Resomce.Org, Inc.,
                        Civil Action No. 1:14-cv-00857-TSC on Wednesday, November 4, 201 5 at
                        10: 15am. The comt intends to set schedules for briefing summa1y judgment
                        motions in both cases at the status conference. The patt ies to this case ai·e
                        hereby directed to jointly file their proposed schedules for summaiy judgment
                        briefing, accompanied by proposed orders, by Friday, October 30, 2015.
                        Signed by Judge Tanya S. Chutkan on 10/27/15. (lctsc2) (Entered: 10/27/201 5)
 10/28/2015             Set/Reset Deadlines/Hearings: Proposed Briefing Schedule due by 10/30/2015.
                        Status Conference set for 11/4/201 5 at 10:15 AM in Courti·oom 2 before Judge
                        Tanya S. Chutkan . (zsm) (Entered: 10/28/201 5)
 10/30/2015       114 PROPOSED BRIEFING SCHEDULE re Order,, and Joint Report ofthe
                      Parties, submitted by PUBLIC.RESOURCE.ORG, INC .. (Attachments:# l
                      Exhibit A - Plaintiffs' Proposed Order, # J Exhibit B - Defendant's Proposed
                      Order)(Becker, Matthew) (Entered: 10/30/201 5)
 11/04/2015             Minute Entiy for proceedings held before Judge Tanya S. Chutkan : Status
                        Conference held on 11/4/201 5. Order to issue. Motion Hearing set for
                        3/22/201 6 at 9:30 AM in Comtroom 2 before Judge Tanya S. Chutkan . (Comt
                        Reporter B1y an Wayne.) (zsm) (Entered: 11/04/2015)
 11/04/2015             MINUTE ORDER setting briefing schedule: Plaintiffs' Motion for Summaiy
                        Judgment due by November 19, 201 5; Defendant's Opposition to Plaintiffs'
                        Motion for Summaiy Judgment and COMBINED Cross-Motion for Summaiy
                        Judgment due by December 21, 2015; Plaintiffs' Reply in Suppo1t of their
                        Motion for Summaiy Judgment and COMBINED Opposition to Defendant's
                        Cross-Motion for Summaiy Judgment due by Januaiy 21, 201 6; Defendant's
                        Reply in Suppo1t of its Cross-Motion for Summaiy Judgment due by Febrnaiy
                        4, 201 6; Amicus briefs due by Januaiy 11 , 201 6. Signed by Judge Tanya S.
                        Chutkan on 11/4/15. (lctsc2) (Entered: 11/04/201 5)
 11/04/2015             ENTERED IN ERROR. ....MINUTE ORDER setting briefing schedule :
                        Plaintiffs' Motion for Summaiy Judgment due by December 2 1, 201 5;
                        Defendant's Opposition to Plaintiffs' Motion for Summaiy Judgment and
                        COMBINED Cross-Motion for Summa1y Judgment due by Januaiy 2 1, 201 6;
                        Plaintiffs' Reply in Support of their Motion for Summaiy Judgment and


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                        COMBINED Opposition to Defendant's Cross-Motion for Summaiy Judgment
                        due by Febmaiy 18, 2016; Defendant's Reply in Suppo1i of its Cross-Motion
                        for Summaiy Judgment due by Mai·ch 3, 2016; Amicus briefs due by Febmaiy
                        11, 2016. Signed by Judge Tanya S. Chutkan on 11/4/15. (lctsc2) Modified on
                        11/4/2015 (zsm). (Entered: 11/04/2015)
 11/04/2015             Set/Reset Deadlines: Summa1y Judgment motions due by 11/19/2015.
                        Response to Motion for Summa1y Judgment due by 12/21/2015. Reply to
                        Motion for Summaiy Judgment due by 1/21/2016.Replies due by 2/4/2016.
                        Brief due by 1/11/2016. (zsm) (Entered: 11/04/2015)
 11/05/2015       115   ENTERED IN ERROR.....MINUTE ORDER : Due to an unexpected
                        scheduling conflict, the motion hearing previously set for 3/22/2016 is hereby
                        VACATED. A new date will be set at a later time. Signed by Judge Tanya S.
                        Chutkan on 11/5/15. (DJS) Modified on 11/5/2015 (zsm). (Entered:
                        11/05/2015)
 11/05/2015             MINUTE ORDER : Due to an unexpected scheduling conflict, the motion
                        heai·ing previously set for 3/22/2016 is hereby VACATED. A new date will be
                        set at a later time. Signed by Judge Tanya S. Chutkan on 11/5/15. (DJS)
                        (Entered: 11/05/2015)
 11/14/2015       116 TRANSCRIPT OF 11/04/15 STATUS HEARING before Judge Tanya S.
                      Chutkan, held on November 4, 2015. Page Numbers: 1-21. Date oflssuance:
                      11/14/15. Comi Repo1ier: B1yan A. Wayne; telephone number: 202-354-3186,
                      Transcripts may be ordered by submitting the Transcript Order Fo1m.

                        For th e first 90 days after this filing date, the ti·anscript may be viewed at the
                        comihouse at a public tenninal or purchased from the comi repo1ier referenced
                        above. After 90 days, the ti·anscript may be accessed via PACER. Other
                        h'anscript fon nats, (multi-page, condensed, CD or ASCII) may be purchased
                        from the court repo1i er.

                        NOTICE RE REDACTION OF TRANSCRIPTS: The paiiies have twenty-
                        one days to file with the comi and the comi repo1ier any request to redact
                        personal identifiers from this ti·anscript. If no such requests ar e filed, the
                        h'anscript will be made available to the public via PACER without redaction
                        after 90 days. The policy, which includes the five personal identifiers
                        specifically covered, is located on our website at www.dcd.uscomi s.gov.

                        Redaction Request due 12/5/2015. Redacted Transcript Deadline set for
                        12/15/2015. Release of Transcript Resti·iction set for 2/12/2016.(Wayne,
                        B1yan) (Entered: 11/14/2015)
 11/19/2015       117 MOTION for Leave to File Documents Under Seal by AMERICAN SOCIETY
                      FOR TESTING AND MATERIALS, AMERICAN SOCIETY OF HEATING,
                      REFRIGERATING, AND AIR-CONDITIONING ENGINEERS, INC .,
                      NATIONAL FIRE PROTECTION ASSOCIATION, INC. (Attachments:# !
                      Text of Proposed Order, # 6. Exhibit Proposed Sealed Exhibit 1 to Rubel
                      Declai·ation, # J. Exhibit Proposed Sealed Exhibit 3 to Rubel Declai·ation)(Fee,
                      J.) (Entered: 11/19/2015)



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 11/1 9/2015      118 MOTION for Summaiy Judgment and Permanent Injunction by AMERICAN
                      SOCIETY FOR TESTING AND MATERIALS, AMERICAN SOCIETY OF
                      HEATING, REFRIGERATING, AND AIR-CONDITIONING ENGINEERS,
                      INC., NATIONAL FIRE PROTECTION ASSOCIATION, INC. (Attachments:
                      # ! Memorandum in Suppo1i , # J Statement of Facts, # 1 Declai·ation of Dennis
                      Beny and Exhibits, # .i Declai·ation of Steven Cramer and Exhibits, # .2,
                      Declaration of James Golinveaux, # .§ Declaration of Randy Jennings and
                      Exhibit, # 1 Declaration of Thomas O'Brien, Jr. and Exhibits, # .§. Declaration
                      of James Pauley and Exhibits, # 2 Declaration of Kevin Reine1ison, # .!Q
                      Declai·ation of Stephanie Reiniche and Exhibits, # !! Declai·ation of James
                      Thomas, # 12 Declai·ation of Jordana Rubel and Exhibits - Paii 1, # ll
                      Declaration of Jordana Rubel and Exhibits - Paii 2, # 14 Declaration of Jordana
                      Rubel and Exhibits - Paii 3, # ll Declai·ation of Jordana Rubel and Exhibits -
                      Paii 4, # 12 Declai·ation of Jordana Rubel and Exhibits - Paii 5, # .11 Text of
                      Proposed Order and Injunction)(Fee, J.). Added MOTION for Pe1manent
                      Injunction on 11/20/201 5 (znmw) . (Entered: 11/19/201 5)
 11/20/2015             MINUTE ORDER: Granting 117 Motion for Leave to File Documents Under
                        Seal. Plaintiffs may file the following documents under seal: 1) Exhibit 1 to the
                        Declai·ation of Jordana S. Rubel (which contains the Expert Repo1i of John C.
                        Jarosz); and (2) Exhibit 3 to the Declaration of Jordana S. Rubel, which
                        includes excerpts from the Febrna1y 27, 2015 deposition of Carl Malamud.
                        Signed by Judge Tanya S. Chutkan on 11/20/15. (DJS) (Entered: 11/20/201 5)
 11/20/2015       119 SEALED DOCUMENT filed by AMERICAN SOCIETY FOR TESTING
                      AND MATERIALS, AMERICAN SOCIETY OF HEATING,
                      REFRIGERATING, AND AIR-CONDITIONING ENGINEERS, INC.,
                      NATIONAL FIRE PROTECTION ASSOCIATION, INC .. re Order on Motion
                      for Leave to File,. (This document is SEALED and only available to authorized
                      persons.)(ztd) (Entered: 11/23/201 5)
 12/21/2015       120 SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL
                      filed by PUBLIC.RESOURCE.ORG, INC. (This document is SEALED and
                      only available to authorized persons.) (Attachments: # ! Text of Proposed
                      Order, # l, Exhibit [Proposed] Sealed Memorandum of Points and Authorities
                      In Suppo1i of Defendants' Motion for Sumrna1y Judgment and Opposition, # 1
                      Exhibit [Proposed] Sealed Statement of Material Facts,# .i Exhibit [Proposed]
                      Sealed Declaration of Matthew Becker In Suppo1i, # .2, Exhibit [Proposed]
                      Sealed Index of Consolidated Exhbits, # .§ Exhibit 4, # 1 Exhibit 11, # ~
                      Exhibit 21, # 2 Exhibit 22, # .!Q Exhibit 53, # .!! Exhibit 74, # 11 Exhibit 75, #
                      ll Exhibit 76, # 14 Exhibit 80, # ll Exhibit 82, # 16 Exhibit 83, # .11 Exhibit
                      84, # ll. Exhibit 85, # .!2 Exhibit 86, # 20 Exhibit 87, # .ll Exhibit 88, # 22
                      Exhibit 89, # 23 Exhibit 90, # 24 Exhibit 91 , # 25 Exhibit 92, # 26 Exhibit 93,
                      # 27 Exhibit 94, # 28 Exhibit 114, # 29 Exhibit 129, # 30 Exhibit 140, # ll
                      Exhibit 141, # 32 Exhibit 142, # 33 Exhibit 146, # 34 Exhibit 150, # 35 Exhibit
                      153)(Bridges, Andrew) (Entered: 12/21/2015)
 12/21/2015       121 MOTION for Summaiy Judgment by PUBLIC.RESOURCE.ORG, INC.
                      (Attachments:# ! Memorandum in Suppo1i , # J Statement of Facts, # 1
                      Statement of Disputed Facts, # .i Objections, # .2, Declai·ation of Carl Malamud,
                      # §. Declai·ation of Matthew Becker, # 1 Request for Judicial Notice, # ~ Index


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                        of Consolidated Exhibits,# 2 Text of Proposed Order)(Bridges, Andrew)
                        (Entered: 12/21/2015)
 12/22/2015       122 LARGE ADDITIONAL ATTACHMENT(S)filed by
                       PUBLIC.RESOURCE .ORG, INC. 12 1 MOTION for Summaiy Judgment filed
                      by PUBLIC.RESOURCE .ORG, INC .. (Attachments: # ! Exhibit 1-10 Public,#
                      J Exhibit 11-20 Public, # ]. Exhibit 21-40 Public, # ,1 Exhibit 41-60 Public, # .2.
                       Exhibit 61-80 Public, # .§ Exhibit 81-100 Public, # 1 Exhibit 101-120 Public, #
                      .§. Exhibit 121-140 Public, # 2 Exhibit 141-157 Public)(Bridges, Andrew)
                       (Entered: 12/22/2015)
 12/22/2015       123 SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL
                      filed by PUBLIC.RESOURCE.ORG, INC. (This document is SEALED and
                      only available to authorized persons.) (Attachments: # ! Memorandum in
                      Suppo1i of Motion to Sti·ike Jai·osz Repo1i , # J Exhibit 4 in Support of
                      Kathleen Lu's Declai·ation, # J. Exhibit 6 in support of Kathleen Lu's
                      Declaration, # ,1 Exhibit 8 in suppo1i of Kathleen Lu's Declaration, # .2.
                      Ce1iificate of Service)(Lu, Kathleen) (Entered: 12/22/201 5)
 12/22/2015       124 MOTION to Su-ike 118 MOTION for Summaiy Judgment and Permanent
                      Injunction MOTION for Pen nanent Injunction by PUBLIC.RESOURCE .ORG,
                      INC. (Attachments: # ! Memorandum in Suppo1i [Redacted] , # 1 Declai·ation
                      of Kathleen Lu, # ]. Exhibit 1 to Lu Declai·ation, # ,1 Exhibit 2 to Lu
                      Declaration, # .2. Exhibit 3 to Lu Declaration, # .§ Exhibit 4 [Redacted] to Lu
                      Declai·ation, # 1 Exhibit 5 to Lu Declai·ation, # .§. Exhibit 6 [Redacted] to Lu
                      Declai·ation, # 2 Exhibit 7 to Lu Declai·ation, # .!Q Exhibit 8 [Redacted] to Lu
                      Declaration, # .!l Text of Proposed Order)(Bridges, Andrew) (Entered:
                      12/22/201 5)
 12/22/2015       125 CERTIFICATE OF SERVICE by PUBLIC.RESOURCE .ORG, INC. re 120
                      SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL
                      filed by PUBLIC.RESOURCE .ORG, INC. (This document is SEALED and
                      only available to authorized persons.) . (Bridges, Andrew) (Entered:
                      12/22/201 5)
 12/22/2015       126 CERTIFICATE OF SERVICE by PUBLIC.RESOURCE .ORG, INC. re 123
                      SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL
                      filed by PUBLIC.RESOURCE .ORG, INC. (This document is SEALED and
                      only available to authorized persons.) Motion to Strike Jarosz Report. (Lu,
                      Kathleen) (Entered: 12/22/201 5)
 12/28/2015       127 MOTION for Leave to Appeai· Pro Hae Vice :Attorney Name- Gerald W.
                      Griffin, :Fiim- Caiter Ledyai·d & Milburn LLP, :Address- 2 Wall Su-eet, New
                      York, NY 10005. Phone No. - (212) 732-3200. Fax No. - (212) 732-3232 Fee
                      Status: Paid, $100.00, Receipt No. 0090-4361814. by American National
                      Standai·ds Institute, Inc. (Attachments: # ! Declaration of Gerald W. Griffin, #
                      J Text of Proposed Order)(Hochman Rothell, Bonnie) Modified on 12/28/201 5
                      to add payment infon nation. (ztnr) (Entered: 12/28/201 5)
 12/28/2015       128 Unopposed MOTION for Leave to File Amicus Curiae Brie/by American
                      National Standards Institute, Inc. (Attachments: # ! Text of Proposed Order)
                      (Hochman Rothell, Bonnie) (Entered: 12/28/201 5)


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 12/28/2015       129 STIPULATION Regarding Time To Resp ond To Motion To Strike by
                      AMERICAN SOCIETY OF HEATING, REFRIGERATING, AND AIR-
                      CONDITIONING ENGINEERS, INC .. (Attachments: # ! [Proposed] Order)
                      (Cunningham, Jason) (Entered: 12/28/201 5)
 12/29/2015             MINUTE ORDER: Having considered the Stipulation filed by the parties 129 ,
                        it is hereby ordered that Plaintiffs shall respond to Defendant's motion sti·ike
                        124 by Janua1y 21, 2016. Defendant's reply brief is due by Febmaiy 4, 201 6.
                        Going fo1w ai·d, the paii ies must file a motion seeking court approval to extend
                        deadlines. Signed by Judge Tanya S. Chutkan on 12/29/15. (DJS) (Entered:
                        12/29/201 5)
 12/29/2015             MINUTE ORDER: Granting 128 Motion for the following entities to file a
                        combined amicus brief on behalf of Plaintiffs: The American National
                        Stan dai·ds Institute, Inc. ("ANSI"), American Society of Safety Engineers
                        ("ASSE"), The Institute of Elech'ical and Electi·onics Engineers, Incorporated
                        ("IEEE"), International Association of Plumbing & Mechanical Officials
                        ("IAPMO"), National Electi·ical Manufacturers Association ("NEMA"), No1ih
                        American Energy Stan dai·ds Boai·d ("NAESB"), and Unde1w riters Laboratories
                        Inc. ("UL"). Signed by Judge Tanya S. Chutkan on 12/29/15. (DJS) (Entered:
                        12/29/201 5)
 12/29/2015             Set/Reset Deadlines: Responses due by 1/21/2016 Replies due by 2/4/201 6.
                        (zsm) (Entered: 12/29/201 5)
 12/31/2015       130 MOTION for Leave to File Amicus Curiae Brie/by AMERICAN
                      INSURANCE ASSOCIATION (Atta.c hments: # l Text of Proposed Order)
                      (Hollywood, Meegan) Modified on 1/7/201 6 (zrdj). (Entered: 12/31/201 5)
 01/08/2016       131   NOTICE of Appearance by Jeffrey T. Pearlman on behalf of Sina Bahram
                        (Peai·lman, Jeffrey) (Entered: 01/08/201 6)
 01/08/2016       132 Unopposed MOTION for Leave to File AMICUS CURIAE BRIEF IN
                      SUPPORT OF DEFENDANT by Sina Bahram (Pearlman, Jeffrey). (Entered:
                      01/08/201 6)
 01/08/2016       133 Unopposed MOTION for Leave to File AMICUS CURIAE BRIEF IN
                      SUPPORT OF DEFENDANT by Sina Bahram (Atta.c hments: # l Text of
                      Proposed Order [PROPOSED] ORDER GRANTING UNOPPOSED MOTION
                      OF SINA BAHRAM FOR LEAVE TO FILE AMICUS CURIAE BRIEF IN
                      SUPPORT OF DEFENDANT)(Pearlman, Jeffrey) (Entered: 01/08/2016)
 01/08/2016       134 NOTICE of Appeai·ance by Anthony A. Onorato on behalf of International
                      Code Council, Inc. (Onorato, Anthony) (Entered: 01/08/2016)
 01/08/2016       135 Unopposed MOTION for Leave to Appeai· Pro Hae Vice :Attorney Name-
                      Alan S. Wernick, :Fiim- FisherBroyles LLP, :Address- 203 No1i h LaSalle
                      Sti·eet, Suite 2100, Chicago, IL 60601. Phone No. - (847) 786-1005. Fax No. -
                      (847) 4 12-9965 Filing fee $ 100, receipt number 0090-4372570. Fee Status:
                      Fee Paid. by International Code Council, Inc. (Onorato, Anthony) (Entered:
                      01/08/201 6)
 01/08/2016       136


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                        Unopposed MOTION for Leave to File Amicus Curiae Briefin Support of
                        Plaintiffs' Motion for Summary Judgment by International Code Council, Inc.
                        (Attachments:# ! Text of Proposed Order)(Onorato, Anthony) (Entered:
                        01/08/2016)
 01/08/2016       137 AFFIDAVIT re 135 Unopposed MOTION for Leave to Appear Pro Hae
                      Vice :Attorney Name- Alan S. Wernick, :Fi1m- FisherBroyles LLP, :Address-
                      203 North LaSalle Sti·eet, Suite 2100, Chicago, IL 60601. Phone No. - (847)
                      786-1005. Fax No. - (847) 412-9965 Filing Declaration ofAlan S. Wernick in
                      Support ofMotion for Admission Pro Hae Vice and Proposed Order by
                      International Code Council, Inc .. (Attachments:# ! Text of Proposed Order)
                      (Onorato, Anthony) (Entered: 01/08/2016)
 01/09/2016             MINUTE ORDER: Granting 135 Motion for Leave to Appear Pro Hae Vice.
                        Attorney Alan S. Wernick is hereby admitted pro hac vice to appear in this
                        matter on behalf of amicus International Code Council, Inc. Signed by Judge
                        Tanya S. Chutkan on 1/9/16. (DJS) Modified on 1/9/2016 (DJS). (Entered:
                        01/09/2016)
 01/09/2016             MINUTE ORDER: Granting 127 Motion for Leave to Appear Pro Hae Vice.
                        Attorney Gerald W. Griffin is hereby admitted pro hac vice to appear in this
                        matter on behalf of amici The American National Stan dards Institute, Inc.
                        ("ANSI"), American Society of Safety Engineers ("ASSE"), The Institute of
                        Electi·ical an d Electi·onics Engineers, Incorporated ("IEEE"), International
                        Association of Plumbing & Mechanical Officials ("IAPMO"), National
                        Electi·ical Manufacturers Association ("NEMA"), North American Energy
                        Stan dards Board ("NAESB"), and Unde1w riters Laboratories Inc.
                        ("UL") .Signed by Judge Tanya S. Chutkan on 1/9/16. (DJS) (Entered:
                        01/09/2016)
 01/10/2016             MINUTE ORDER: Granting 130 Motion for American Insuran ce Association
                        (AIA) to file an amicus brief on behalf of Plaintiffs. Signed by Judge Tanya S.
                        Chutkan on 1/10/16. (DJS) (Entered: 01/10/2016)
 01/10/2016             MINUTE ORDER: Granting 133 Motion for Sina Bahram to file an amicus
                        brief on behalf of Defendant. Signed by Judge Tanya S. Chutkan on 1/10/16.
                        (DJS) (Entered: 01/10/2016)
 01/10/2016             MINUTE ORDER: Granting 136 Motion of International Code Council, Inc. to
                        file an ainicus brief on behalf of Plaintiffs. Signed by Judge Tanya S. Chutkan
                        on 1/10/16. (DJS) (Entered: 01/10/2016)
 01/11/2016       138 NOTICE of Appearance by Charles Duan on behalf of PUBLIC
                      KNOWLEDGE, KNOWLEGE ECOLOGY INTERNATIONAL, AMERICAN
                      LIBRARY ASSOCIATION (Duan, Charles) (Entered: 01/11/2016)
 01/11/2016       139 Alnicus brief by AMERICAN INSURANCE ASSOCIATION in suppo1i of
                      Plaintiffs' Motion for SUllllllaiy Judgment. (Hollywood, Meegan) Modified on
                      1/12/2016 (DJS). (Entered: 01/11/2016)
 01/11/2016       140 MOTION for Leave to File Amicus Curiae Brie/by AMERICAN LIBRARY
                      ASSOCIATION, KNOWLEGE ECOLOGY INTERNATIONAL, PUBLIC
                      KNOWLEDGE (Attachments: # l Exhibit Alnicus Curiae Brief, # J Text of


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                        Proposed Order Proposed Order, # .1 Exhibit Cmporate Disclosure Statement)
                        (Duan, Charles) (Entered: 01/11/2016)
 01/11/2016       141 Unopposed MOTION for Leave to File Amicus Brie/by Law Scholars
                      (Attachments:# l Exhibit Amicus Brief,# I Text of Proposed Order Proposed
                      order)(Gellis, Catherine) (Entered: 01/11/2016)
 01/11/2016             ORDER granting 140 Motion for Leave to File Brief of Amici Curae. Signed
                        by Judge Tanya S. Chutkan on 1/11/16. (lctsc2) (Entered: 01/11/2016)
 01/11/2016             ORDER granting 141 Motion for Leave to File Brief of Amici Curae. Signed
                        by Judge Tanya S. Chutkan on 1/11/16. (lctsc2) (Entered: 01/11/2016)
 01/11/2016       142 Amicus Brief by AMERICAN NATIONAL STANDARDS INSTITUTE, INC.
                      (Hochman Rothell, Bonnie) Modified on 1/12/2016 (DJS). (Entered:
                      01/11/2016)
 01/11/2016       143 NOTICE of Appearance by Brnce D. Brown on behalf of The Reporters
                      Committee for Freedom of the Press (Brown, Brnce) (Main Document 143
                      replaced on 1/12/2016) (ztd). (Entered: 01/11/2016)
 01/11/2016       144 Consent MOTION for Leave to File Amicus Curiae Brie/by The Reporters
                      Committee for Freedom of the Press (Attachments:# l Proposed Amicus
                      Curiae Brief, # i Text of Proposed Order)(Brown, Brnce) (Entered:
                      01/11/2016)
 01/11/2016       145 Amicus Brief by INTERNATIONAL CODE COUNCIL, INC. (Onorato,
                      Anthony) Modified on 1/12/2016 (DJS). (Entered: 01/11/2016)
 01/11/2016       146 Amicus Brief by SINA BAHRAM. (Pearlman, Jeffrey) Modified on 1/12/2016
                      (DJS). (Entered: 01/11/2016)
 01/11/2016       147 AMICUS BRIEF by AMERICAN LIBRARY ASSOCIATION, KNOWLEGE
                      ECOLOGY INTERNATIONAL, PUBLIC KNOWLEDGE. (znmw) (Entered:
                      01/12/2016)
 01/11/2016       148 LCvR 7.1 CERTIFICATE OF DISCLOSURE ofC01porate Affiliations and
                      Financial Interests by AMERICAN LIBRARY ASSOCIATION,
                      KNOWLEGE ECOLOGY INTERNATIONAL, PUBLIC KNOWLEDGE.
                      (znmw) (Entered: 01/12/2016)
 01/11/2016       149 AMICUS BRIEF by LAW SCHOLARS. (znmw) (Entered: 01/12/2016)
 01/11/2016       150 ENTERED IN ERROR. .... Co1porate Disclosure Statement by AMERICAN
                      LIBRARY ASSOCIATION, KNOWLEGE ECOLOGY INTERNATIONAL,
                      PUBLIC KNOWLEDGE. (td) Modified on 1/12/2016 (td) . (Entered:
                      01/12/2016)
 01/12/2016             ORDER granting 144 Motion for Leave to File Brief of Amicus Curiae. Signed
                        by Judge Tanya S. Chutkan on 1/12/16. (lctsc2) (Entered: 01/12/2016)
 01/12/2016             NOTICE OF CORRECTED DOCKET ENTRY: re 150 Co1porate Disclosure
                        Statement was entered in enor and is a duplicate of docket entiy no. 148 . (td)
                        (Entered: 01/12/2016)



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 01/12/2016       151   AMICUS BRIEF by REPORTERS COMMITTEE FOR FREEDOM OF THE
                        PRESS. (td) (Entered: 01/12/201 6)
 01/ 13/2016      152 Consent MOTION for Leave to Appear Pro Hae Vice :Attorney Name-
                      Sebas tian E. Kaplan, :Fin n- Fenwick & West LLP, :Address- 555 California
                      Sti·eet, 12th FL, San Fran cisco, CA 94104. Phone N o. - (415) 875-2300. Fax
                      No. - (41 5) 281-1350 Filing fee $ 100, receipt number 0090-4377635. Fee
                      Status: Fee Paid. by PUBLIC.RESOURCE.ORG, INC. (Attachments: # l
                      Declaration of Sebas tian Kaplan, # l. Text of Proposed Order)(Stoltz, Mitchell)
                      (Entered: 01/ 13/2016)
 01/21/2016       153 VACATED PURSUANT TO MINUTE ORDER FILED 2/3/16 ..... ORDER:
                      Holding in abeyance Defendant's motion to file documents under seal 120 .
                      Defendant's filing due 2/5/16. (See order for details) . Signed by Judge Tanya S.
                      Chutkan on 1/21/16. (DJS) Modified on 2/3/201 6 (td). (Entered: 01/21/2016)
 01/21/2016       154 SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL
                      filed by NATIONAL FIRE PROTECTION ASSOCIATION, INC. (This
                      document is SEALED and only available to authorized persons.) (Attachments:
                      # ! Text of Proposed Order Proposed Order Granting Motion to Seal,# I
                      Exhibit Exhibit A to Declaration of Christian Dubay, # l Exhibit Exhibit 1 to
                      Declaration of Steve Comstock)(Klaus, Kelly) (Entered: 01/21/2016)
 01/21/2016       155   REPLY to opposition to motion re 118 MOTION for Summa1y Judgment filed
                        by AMERICAN SOCIETY FOR TESTING AND MATERIALS,
                        AMERICAN SOCIETY OF HEATING, REFRIGERATING, AND AIR-
                        CONDITIONING ENGINEERS, INC., NATIONAL FIRE PROTECTION
                        A SSOCIATION, INC .. (Attachments: # l Supplemental Statement of
                        Undisputed Facts, # l Disputes with Defendant's Statement of Facts,
                        Evidentiaiy Objections an d Opposition to Request for Judicial N otice,# .1
                        Response to Defendant's Statement of Facts, # i Response to Defendant's
                        Evidentiaiy Objections, # .2. Declai·ation of Steven Comstock , # .§. Declai·ation
                        of Christian Dubay, # 1 Supplemental Declaration of Thomas O'Brien, # ~
                        Supplemental Declaration of Jordana Rubel, # 2. Supplemental Declaration of
                        James Thomas)(Fee, J.) Modified on 1/22/2016 to co1Tect linkage (td).
                        (Entered: 01/21/2016)
 01/21/2016       156 Memorandum in opposition to re 124 MOTION to Sti·ike 118 M OTION for
                      Summaiy Judgment and Permanent Injunction MOTION for Pe1man ent
                      Injunction filed by AMERICAN SOCIETY FOR TESTING AND
                      MATERIALS, AMERICAN SOCIETY OF HEATING, REFRIGERATING,
                      AND AIR-CONDITIONING ENGINEERS, INC., NATIONAL FIRE
                      PROTECTION ASSOCIATION, INC .. (Fee, J.) (Entered: 01/21/201 6)
 01/21/2016       157 Memorandum in opposition to re 121 MOTION for Summaiy Judgment filed
                      by AMERICAN SOCIETY FOR TESTING AND MATERIALS,
                      AMERICAN SOCIETY OF HEATING, REFRIGERATING, AND AIR-
                      CONDITIONING ENGINEERS, INC., NATIONAL FIRE PROTECTION
                      A SSOCIATION, INC .. (See docket entiy no. {155} (td) (Entered: 01/22/2016)
 01/22/2016             Set/Reset Deadlines: Defendant's Supplemental Filing due by 2/5/201 6. (tth)
                        (Entered: 01/22/2016)


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 01/25/2016       158 MOTION to Withdraw as Attorney Simeon M Schop/by AMERICAN
                      SOCIETY OF HEATING, REFRIGERATING, AND AIR-CONDITIONING
                      ENGINEERS, INC. (Attachments:# l Text of Proposed Order Proposed
                      Order)(Cunningham, Jason) (Entered: 01/25/2016)
 01/27/2016       159 MOTION for Leave to Appear Pro Hae Vice :Attorney Name- Rose Leda
                      Ehler, :Fin n- MUNGER, TOLLES & OLSON LLP, :Address- 560 Mission St.,
                      27th Floor, San Francisco, CA 94105-2907. Phone No. - (415) 512-4000. Fax
                      No. - (415) 644-6971 Filing fee$ 100, receipt number 0090-4391071. Fee
                      Status: Fee Paid. by NATIONAL FIRE PROTECTION ASSOCIATION, INC.
                      (Attachments:# ! Declaration of Rose Leda Ehler in suppoit ofMotionto
                      Admit Pro Hae Vice,# I Text of Proposed Order of Admission Pro Hae Vice)
                      (Choudhmy , Anjan) (Entered: 01/27/2016)
 01/28/2016             MINUTE ORDER : Granting 159 Motion for Leave to Appear Pro Hae Vice.
                        Attorney Rose Leda Ehler is hereby admitted pro hac vice to appear in this
                        matter on behalf of Plaintiff National Fire Protection Association, Inc. Signed
                        by Judge Tanya S. Chutkan on 1/28/16. (DJS) (Entered : 01/28/2016)
 01/29/2016             MINUTE ORDER granting 158 Motion to With draw as Attorney. Attorney
                        Simeon Meir Schopf tenninated. Signed by Judge Tanya S. Chutkan on
                        1/29/16. (zsm) (Entered: 01/29/2016)
 02/03/2016             MINUTE ORDER : The Comt's 1/21/16 Order 153 is hereby VACATED.
                        Signed by Judge Tanya S. Chutkan on 2/3/16. (DJS) (Entered: 02/03/2016)
 02/04/2016             MINUTE ORDER granting 120 Sealed Motion for Leave to File Document
                        Under Seal; granting 123 Sealed Motion for Leave to File Document Under
                        Seal; granting 154 Sealed Motion for Leave to File Document Under Seal.
                        Signed by Judge Tanya S. Chutkan on 2/4/16. (zsm) (Entered: 02/04/2016)
 02/04/2016       160 SEALED DOCUMENT (Main document Pait 1 of 4) filed by
                      PUBLIC.RESOURCE .ORG, INC .. re Order on Sealed Motion for Leave to
                      File Document Under Seal,,,,,. (This document is SEALED an d only available
                      to authorized persons.) (Attachments:# ! Pait 2 of 4, # I Pait 3 of 4, # 1 Pali 4
                      of 4)(ztd) (Entered: 02/04/2016)
 02/04/2016       161   SEALED DOCUMENT filed by PUBLIC.RESOURCE .ORG, INC .. re 160
                        Sealed Document, filed by PUBLIC.RESOURCE .ORG, INC .. (This document
                        is SEALED an d only available to authorized persons.)(ztd) (Entered:
                        02/04/2016)
 02/04/2016       162 SEALED DOCUMENT (Pait 1 of 27) filed by NATIONAL FIRE
                      PROTECTION ASSOCIATION, INC .. re Order on Sealed Motion for Leave
                      to File Document Under Seal,,,,,. (This document is SEALED and only
                      available to authorized persons.) (Attachments: # l Pait 2 of 27, # I Pait 3 of
                      27, # J Pait 4 of 27, # 1 Pait 5 of 27, # 2 Pait 6 of 27, # .§ Pait 7 of 27, # 1 Part
                      8 of 27, # ~ Pait 9 of 27, # 2 Part 10 of 27, # 10 Pait 11 of 27, # .!! Pait 12 of
                      27, # 12 Pait 13 of 27, # .Ll. Part 14 of 27, # 14 Pait 15 of 27, # 12 Pait 16 of
                      27, # 16 Pait 17 of 27, # .!1. Pait 18 of 27, # .12 Pait 19 of 27, # 19 Pait 20 of
                      27, # 20 Pait 21 of 27, # .ll Pait 22 of 27, # 22 Pait 23 of 27, # 23 Pait 24 of




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                        27, # 24 Paii 25 of 27, # 25 Pa1i 26 of 27, # 26 Paii 27 of 27)(ztd) (Entered:
                        02/04/201 6)
 02/04/2016       163   SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL
                        filed by PUBLIC.RESOURCE.ORG, INC. (This document is SEALED an d
                        only available to authorized persons.) (Attachments: # l [Sealed] Matthew
                        Becker Declaration, # l, [Sealed] Supplemental Statement of Undisputed
                        Material Facts, # J [Sealed] Supplemental Statement of Disputed Material
                        Facts,# .i [Sealed] Consolidated List of Exhibits,# 2, [Sealed] Exhibit 7, # .§.
                        [Sealed] Exhibit 10, # 1 [Sealed] Exhibit 11, # .§. Text of Proposed Order,# 2
                        Ce1iificate of Service) (Bridges, Andrew) (Entered: 02/05/2016)

 02/05/2016       164 REPLY in suppo1i of motion re 163 SEALED MOTION FOR LEA VE TO
                      FILE DOCUMENT UNDER SEAL filed by PUBLIC .RESOURCE.ORG,
                      INC. (This document is SEALED and only available to authorized persons.),
                      120 SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL
                      filed by PUBLIC.RESOURCE.ORG, INC. (This document is SEALED an d
                      only available to authorized persons.) filed by PUBLIC.RESOURCE.ORG,
                      INC .. (Attachments: # l [Redacted] Declaration of Matthew Becker,# J
                      [Redacted] Consolidated List of Exhibits, # l [Redacted] Response to
                      Supplemental Statement of Facts,# 1 [Redacted] Response to Statement of
                      Disputed Facts, # .2, Supplemental Objections to Evidence, # .§. Response to
                      Evidentiaiy Objections, # 1 Supplemental Request for Judicial Notice, # ~
                      Supplemental Declai·ation of Cai·l Malamud, # .2 Exhibit 1, # 10 Exhibit 2, # .!l
                      Exhibit 3, # 11 Exhibit 4, # .!l Exhibit 5, # ,ll Exhibit 6, # 11 Exhibit
                      [Redacted] 7, # 16 Exhibit 8, # 11 Exhibit 9, # ~ Exhibit [Redacted] 10, # 19
                      Exhibit [Redacted] 11, # 20 Exhibit 12, # ll Exhibit 13, # 22 Exhibit 14, # 23
                      Exhibit 15, # 24 Exhibit 16, # 25 Exhibit 17)(Bridges, Andrew) Modified text
                      on 2/5/201 6 (ztd) . (Entered: 02/05/201 6)
 02/05/2016       165   SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL
                        filed by PUBLIC.RESOURCE.ORG, INC. (This document is SEALED an d
                        only available to authorized persons.) (Attachments: # l [Sealed] Reply In
                        Suppo1i of Motion to Sti·ike the Expe1i Repo1i of John Jarosz,# I Text of
                        Proposed Order, # l Ce1i ificate of Se1v ice)(Bridges, Andrew) (Entered:
                        02/05/201 6)
 02/05/2016       166 REPLY in suppo1i to motion re 165 SEALED MOTION FOR LEAVE TO
                      FILE DOCUMENT UNDER SEAL filed by PUBLIC .RESOURCE.ORG,
                      INC. (This document is SEALED and only available to authorized persons.),
                      123 SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL
                      filed by PUBLIC.RESOURCE.ORG, INC. (This document is SEALED an d
                      only available to authorized persons.) filed by PUBLIC.RESOURCE.ORG,
                      INC .. (Bridges, Andrew) Modified text on 2/5/201 6 (ztd). (Entered:
                      02/05/201 6)
 02/05/2016             MINUTE ORDER granting 163 Sealed Motion for Leave to File Document
                        Under Seal; granting 165 Sealed Motion for Leave to File Document Under
                        Seal. Signed by Judge Tanya S. Chutkan on 2/5/16. (zsm) (Entered:
                        02/05/201 6)
 02/05/2016       167


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                        SEALED DOCUMENT filed by PUBLIC.RESOURCE.ORG, INC .. re Order
                        on Sealed Motion for Leave to File Document Under Seal,. (This document is
                        SEALED an d only available to authorized persons.)(ztd) (Entered: 02/05/201 6)
 02/05/2016       168 SEALED REPLY TO OPPOSITION filed by PUBLIC.RESOURCE.ORG,
                      INC. re 124 MOTION to Su-ike 118 MOTION for Summaiy Judgment and
                      Permanent Injunction MOTION for Pen nanent Injunction (ztd) (Entered:
                      02/05/201 6)
 02/08/2016             MINUTE ORDER: Granting 152 Motion for Leave to Appeai· Pro Hae Vice.
                        Attorney Sebastian E. Kaplan is hereby admitted pro hac vice to appeai· in this
                        matter on behalf of Defendant. Signed by Judge Tanya S. Chutkan on 2/8/16.
                        (DJS) (Entered: 02/08/201 6)
 02/08/2016       169 MOTION to Take Judicial Notice by NATIONAL FIRE PROTECTION
                      ASSOCIATION, INC. (Attachments: # l Exhibit 1 to Plaintiffs' Request For
                      Judicial Notice)(Ehler, Rose) (Entered: 02/08/201 6)
 03/14/2016             SEALED MINUTE ORDER granting 97 SEALED MOTION FOR LEAVE
                        TO FILE DOCUMENT UNDER SEAL(This document is SEALED and only
                        available to authorized persons.)Signed by Judge Tanya S. Chutkan on 3/14/16.
                        (zsm) (Entered: 03/14/201 6)
 03/14/2016       170 SEALED DOCUMENT (Exhibits) filed by AMERICAN SOCIETY FOR
                      TESTING AND MATERIALS. re Sealed Order. (This document is SEALED
                      an d only available to authorized persons.)(ztd) (Entered: 03/14/201 6)
 06/03/2016             MINUTE ORDER. Motion Heai·ing on all pending motions set for 9/12/201 6
                        at 9:30 AM in Courtroom 2 before Judge Tanya S. Chutkan. Signed by Judge
                        Tanya S. Chutkan on 6/3/16. (lctsc2) (Entered: 06/03/2016)
 06/03/2016             Set/Reset Heai·ings: Motion Heai·ing set for 9/12/2016 at 9: 30 AM in
                        Comi room 2 before Judge Tanya S. Chutkan. (zsm) (Entered: 06/03/2016)
 06/30/2016       171   NOTICE of Withdrawal of Counsel ofNathan M Rehn by NATIONAL FIRE
                        PROTECTION ASSOCIATION, INC. (Rehn, Nathan) (Entered: 06/30/201 6)
 09/09/2016             MINUTE ORDER: The motions hearing previously scheduled for 9: 30 a.m. on
                        9/12/201 6 has been rescheduled to begin at 9:00 a.m. in Comi room 2. Signed
                        by Judge Tanya S. Chutkan on 9/9/201 6. (lctsc2) (Entered: 09/09/2016)
 09/09/2016             Set/Reset Heai·ings: Motion Heai·ing set for 9/12/2016 at 9:00 AM in
                        Comi room 2 before Judge Tanya S. Chutkan. (zsm) (Entered: 09/09/201 6)
 09/12/2016             Minute Entiy for proceedings held before Judge Tanya S. Chutkan : Motion
                        Heai·ing held on 9/12/201 6 re 118 MOTION for Summa1y Judgment an d
                        Pennanent Injunction MOTION for Pe1manent Injunction filed by
                        NATIONAL FIRE PROTECTION ASSOCIATION, INC., AMERICAN
                        SOCIETY FOR TESTING AND MATERIALS, AMERICAN SOCIETY OF
                        HEATING, REFRIGERATING, AND AIR-CONDITIONING ENGINEERS,
                        INC., 121 MOTION for Summaiy Judgment filed by
                        PUBLIC.RESOURCE.ORG, INC. Motions taken under advisement. (Comi
                        Repo1ier B1y an Wayne.) (zsm) (Entered: 09/12/2016)



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 09/21/2016       172 ORDER denying 124 Motion to Sti·ike Expe1t Repo1t . Signed by Judge Tanya
                      S. Chutkan on 9/21/201 6. (lctsc2) (Entered: 09/21/2016)
 09/21/2016             MINUTE ORDER granting 169 Plaintiffs' Motion to Take Judicial Notice.
                        Signed by Judge Tanya S. Chutkan on 9/21/2016. (lctsc2) (Entered:
                        09/21/201 6)
 10/ 13/2016      173 TRANSCRIPT OF 9/12/16 MOTIONS HEARING, before Judge Tanya S.
                      Chutkan, held on September 12, 201 6. Page Numbers: 1-142. Date oflssuance:
                      10/13/16. Comt Reporter: B1y an A. Wayne. Transcripts may be ordered by
                      submitting the Transcript Order Fonn

                        For the first 90 days after this filing date, the ti·anscript may be viewed at the
                        comthouse at a public tenninal or purchased from the comt repo1ter referenced
                        above. After 90 days, t he ti·anscript may be accessed via PACER. Other
                        h'anscript fon nats, (multi-page, condensed, CD or ASCII) may be purchased
                        from the court repo1t er.

                        NOTICE RE REDACTION OF TRANSCRIPTS: The patties have twenty-
                        one days to file with the comt and the comt repo1ter any request to redact
                        personal identifiers from this ti·anscript. If no such requests are filed, the
                        h'anscript will be made available to the public via PACER without redaction
                        after 90 days. The policy, which includes the five personal identifiers
                        specifically covered, is located on our website at www.dcd.uscomt s.gov.

                        Redaction Request due 11/3/2016. Redacted Transcript Deadline set for
                        11/13/201 6. Release of Transcript Resti·iction set for 1/11/2017.(Wayne,
                        B1y an) (Entered: 10/13/201 6)
 10/1 4/2016      174 NOTICE OF WITHDRAWAL OF APPEARANCE as to
                      PUBLIC.RESOURCE.ORG, INC .. Attorney Kathleen Lu tenninated. (Lu,
                      Kathleen) (Entered: 10/14/201 6)
 02/02/2017       175 MEMORANDUM AND OPINION re 118 Plaintiffs' motion for smnmaty
                      judgment and 121 Defendant's cross-motion for smnmaty judgment. Signed by
                      Judge Tanya S. Chutkan on 2/2/201 7. (lctsc2) (Entered: 02/02/201 7)
 02/02/2017       176 ORDER granting 118 Plaintiffs' motion for smnmaty judgment and denying
                      121 Defendant's cross-motion for smnmaty judgment. See Order for more
                      details. Signed by Judge Tanya S. Chutkan on 2/2/201 7. (lctsc2) (Entered:
                      02/02/201 7)
 02/02/2017             MINUTE ORDER: Patt ies at·e ORDERED to submit a JOINT status repo1t by
                        2/17/201 7 (1) updating the comt as to Defendant's complian ce with 17 6 the
                        court's order to remove the nine standat·ds from its website an d to cease all
                        unauthorized use of Plaintiffs' ti·ademat·ks, an d (2) providing a jointly proposed
                        schedule for this case going fo1w ard to resolve Plaintiffs' claims as to the
                        remaining standards. Signed by Judge Tanya S. Chutkan on 2/2/2017. (lctsc2)
                        (Entered: 02/02/2017)
 02/03/2017             Set/Reset Deadlines: Joint Status Repo1t due by 2/17/201 7. (tb) (Entered:
                        02/03/201 7)



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 02/15/2017       177 NOTICE OF APPEAL TO DC CIRCUIT COURT as to 175 Memorandum &
                      Opinion, 176 Order on Motion for Summa1y Judgment, Order on Motion for
                      Pennanent Injunction, by PUBLIC.RESOURCE.ORG, INC.. Filing fee$ 505,
                      receipt number 0090-4843999. Fee Status: Fee Paid. Patties have been notified.
                      (Bridges, Andrew) (Entered: 02/15/2017)
 02/16/2017       178 Transmission of the Notice of Appeal, Order Appealed, and Docket Sheet to
                      US Comt of Appeals. The Comt of Appeals fee was paid this date 2/15/17 re
                      177 Notice of Appeal to DC Circuit Comt, . (td) (Entered: 02/16/2017)
 02/17/2017       179 Joint STATUS REPORT by AMERICAN SOCIETY FOR TESTING AND
                      MATERIALS. (Rubel, Jordana) (Entered: 02/17/201 7)
 02/28/2017                 USCA Case Number 17-7035 for 177 Notice of Appeal to DC Circuit Comt ,
                            filed by PUBLIC.RESOURCE.ORG, INC .. (td) (Entered: 02/28/201 7)
 03/01/2017       180 NOTICE RE PRELIMINARY AND NON-BINDING STATEMENT OF ISSUES
                      BY APPELLANTIDEFENDANT-COUNTERCLAIMANT
                      P UBLIC.RESOURCE. ORG, INC. by PUBLIC.RESOURCE.ORG, INC.
                      (Bridges, Andrew) (Entered: 03/01/201 7)
 03/01/2017       181       NOTICE OF TRANSCRIPT ORDER BY DEFENDANT-
                            COUNTERCLAIMANT P UBLIC.RESOURCE. ORG, INC. by
                            PUBLIC.RESOURCE.ORG, INC. (Bridges, Andrew) (Entered: 03/01/201 7)
 04/03/2017       182 ORDER amending 176 Order. Signed by Judge Tanya S. Chutkan on 4/3/2017.
                      (lctsc2) (Entered: 04/03/2017)
 04/06/2017       183 Amended NOTICE OF APPEAL re appeal 177 by
                      PUBLIC.RESOURCE.ORG, INC .. (Bridges, Andrew) (Entered: 04/06/201 7)
 04/07/2017       184 Supplemental Record on Appeal ti·ansrnitted to US Comt of Appeals re 183
                      Amended Notice of Appeal ;USCA Case Number 17-7035. Gf) (Entered:
                      04/07/201 7)
 07/06/2017                 MINUTE ORDER: In light of the patt ies' pending appeal before the Circuit
                            Comt, the Clerk of the Comt is hereby directed to Adminish'atively Close this
                            case. Upon resolution of the appeal (# 17-7035) the patt ies may file a motion to
                            retmn this case to the comt's active docket. Any such motion shall contain a
                            proposed order for moving fo1w at·d with this case. Signed by Judge Tanya S.
                            Chutkan on 7/6/17. (DJS) (Entered: 07/06/201 7)



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                  EXHIBIT A




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                                                               ASTM COPYRIGHT REGISTRATIONS


     Designation       Edition                                                Title                                               Registration Certificate Number




                                                                                                                                                                    USCA Case #17-7039
ASTM A36           1977ae          Standard Specification for Structural Steel                                                  TX 464‐573
ASTM A36/A36M      1997ae1         Standard Specification for Carbon Structural Steel                                           TX 4‐873‐764
ASTM A82           1979            Standard Specification for Cold‐Drawn Steel Wire for Concrete Reinforcement                  TX 464‐573

ASTM A106/A106 M   2004b           Standard Specification for Seamless Carbon Steel Pipe for High‐Temperature Service           TX 7‐685‐938

ASTM A184          1979            Standard Specification for Fabricated Deformed Steel Bar Mats for Concrete Reinforcement     TX 464‐573
ASTM A185          1979            Standard Specification for Welded Steel Wire Fabric for Concrete Reinforcement               TX 464‐573
ASTM A203/A 203M   1997            Standard Specification for Pressure Vessel Plates, Alloy Steel, Nickel                       TX 4‐654‐921
ASTM A242          1979            Standard Specification for High‐Strength Low‐Alloy Structural Steel                          TX 464‐573
                                   Standard Specification for Pressure Vessel Plates, Carbon Steel, Low‐ and Intermediate‐
ASTM A285          1978            Tensile Strength                                                                             TX 464‐573




                                                                                                                                                                    Document #1715850
                                   Standard Specification for
                                   Carbon Steel Externally Threaded Standard
ASTM A307          1978e           Fasteners                                                                                    TX 464‐573
ASTM A325          1979            Standard Specification for High‐Strength Bolts for Structural Steel Joints                   TX 464‐573

ASTM A333/A 333M   1994            Standard Specification for Seamless and Welded Steel Pipe for Low‐Temperature Service        TX 4‐083‐251
                                   Standard Specification for Carbon and Ferritic Alloy Steel Forged and Bored Pipe for High‐
ASTM A369/A 369M   1992            Temperature Service                                                                          TX 4‐083‐251
ASTM A370          1977e 2         Standard Methods and Definitions for Mechanical Testing of Steel Products                    TX 434‐207

ASTM A441          1979            Standard Specification for High‐Strength Low‐Alloy Structural Manganese Vanadium Steel       TX 464‐573
ASTM A449          1978a           Standard Specification for Quenched and Tempered Steel Bolts and Studs                       TX 464‐573
ASTM A475          1978(1984)e 1   Standard Specification for Zinc‐Coated Steel Wire Strand                                     TX 464‐574




                                                                                                                                                                    Filed: 01/31/2018
                                   Standard Specification for Quenched and Tempered Alloy Steel Bolts for Structural Steel
ASTM A490          1979            Joints                                                                                       TX 464‐573
ASTM A496          1978            Standard Specification for Deformed Steel Wire for Concrete Reinforcement                    TX 464‐573

ASTM A497          1979            Standard Specification for Welded Deformed Steel Wire Fabric for Concrete Reinforcement      TX 464‐573
                                   Standard Specification for Cold‐Formed Welded and Seamless Carbon Steel Structural
ASTM A500          1978            Tubing in Rounds and Shapes                                                                  TX 464‐573

ASTM A501          1976            Standard Specification for Hot‐Formed Welded and Seamless Carbon Steel Structural Tubing TX 464‐573
ASTM A502          1976            Standard Specification for Steel Structural Rivets                                       TX 464‐573




                                                                                                                                                                    Page 76 of 581
                                   Standard Specification for High‐Yield Strength, Quenched and Tempered Alloy Steel Plate,
ASTM A514          1977            Suitable for Welding                                                                     TX 464‐573
                                   Standard Specification for Pressure Vessel Plates, Carbon Steel, for Moderate and Lower‐
ASTM A516/A 516M   1990(1996)e1    Temperature Service                                                                      TX 4‐654‐921
                                   Standard Specification for
                                   Forged or Rolled 8 and 9 % Nickel Alloy Steel Flanges,
ASTM A522/A 522M   1995b           Fittings, Valves, and Parts for Low‐Temperature Service                                  TX 4‐179‐992



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     Designation       Edition                                                 Title                                                Registration Certificate Number




                                                                                                                                                                      USCA Case #17-7039
                                   Standard Specification for
                                   Supplementary Requirements for Seamless and
                                   Electric‐Resistance‐Welded Carbon Steel
                                   Tubular Products for High‐Temperature
                                   Service Conforming to ISO Recommendations
ASTM A520          1972(1985)      For Boiler Construction                                                                       TX 1‐798‐078
                                   Standard Specification for Structural Steel with 42,000PSI (290 Mpa) Minimum Yield Point
ASTM A529          1975            (1/2 in. (12.7 mm) Maximum Thickness                                                          TX 464‐573
                                   Standard Specification for Electric‐Resistance‐Welded Coiled Steel Tubing for Gas and Fuel
ASTM A539          1990a           Oil Lines                                                                                     TX 3‐043‐643

ASTM A570          1979            Standard Specification for Hot‐Rolled Carbon Steel Sheet and Strip, Structural Quality        TX 464‐573




                                                                                                                                                                      Document #1715850
                                   Standard Specification for High‐Strength Low‐Alloy Columbium‐Vanadium Steels of
ASTM A572          1979            Structural Quality                                                                            TX 464‐573
                                   Standard Specification for High‐Strength Low‐Alloy Structural Steel with 50, 000 psi
ASTM A588          1979a           Minimum Yield Point to 4 in. Thick                                                            TX 464‐573
ASTM A611          1972(1979)      Standard Specification for Steel, Cold‐rolled Sheet, Carbon, Structural                       TX 464‐573

ASTM A615          1979            Standard Specification for Deformed and Plain Billet‐Steel Bars for Concrete Reinforcement    TX 464‐573

ASTM A616          1979            Standard Specification for Rail‐Steel Deformed and Plain Bars for Concrete Reinforcement      TX 464‐573

ASTM A617          1979            Standard Specification for Axle‐Steel Deformed and Plain Bars for Concrete Reinforcement TX 464‐573
                                   Standard Specification for Hot‐Formed Welded and Seamless High‐Strength Low‐Alloy
ASTM A618          1974            Structural Tubing                                                                               TX 464‐573




                                                                                                                                                                      Filed: 01/31/2018
ASTM A633          1979a           Standard Specification for Normalized High‐Strength Low Alloy Structural Steel                  TX 464‐573
                                   Standard Specification for Free‐Cutting Brass Rod, Bar and Shapes for Use in Screw
ASTM B16           1992            Machines                                                                                        TX 3‐614‐178
ASTM B21           1983b           Standard Specification for Naval Brass Rod, Bar, and Shapes                                     TX 1‐228‐879
ASTM B21           1996            Standard Specification for Naval Brass Rod, Bar, and Shapes                                     TX 4‐497‐885
ASTM B42           1996            Standard Specification for Seamless Copper Pipe, Standard Sizes                                 TX 4‐497‐885
ASTM B68           1995            Standard Specification for Seamless Copper Tube, Bright Annealed                                TX 4‐243‐005
ASTM B75           1997            Standard Specification for Seamless Copper Tube                                                 TX 4‐737‐834
ASTM B85           1984            Standard Specification for Aluminum‐Alloy Die Castings                                          TX 1‐689‐871
ASTM B88           1996            Standard Specification for Seamless Copper Water Tube                                           TX 4‐497‐885




                                                                                                                                                                      Page 77 of 581
                                   Standard Specification for Copper‐Silicon Alloy Plate, Sheet, Strip, and Rolled Bar for General
ASTM B96           1993            Purposes and Pressure Vessels                                                                   TX 3‐883‐920
                                   Standard Specification for Copper and Copper‐Alloy Seamless Condenser Tubes and Ferrule
ASTM B111          1995            Stock                                                                                           TX 4‐243‐005
                                   Standard Specification for Copper‐Nickel‐Tin Alloy, Copper‐Nickel‐Zinc Alloy (Nickel Silver),
ASTM B122/B 122M   1995            and Copper‐Nickel Alloy Plate, Sheet, Strip and Rolled Bar                                      TX 4‐243‐005
ASTM B124          1996            Standard Specification for Copper and Copper‐Alloy Forging Rod, Bar, and Shapes                 TX 4‐497‐885



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                                                                                                                                                                   USCA Case #17-7039
ASTM B152          1997a           Standard Specification for Copper Sheet, Strip, Plate, and Rolled Bar                        TX 4‐737‐834
ASTM B193          1987            Standard Test Method for Resistivity of Electrical Conductor Materials                       TX 2‐348‐166
ASTM B209          1996            Standard Specification for Aluminum and Aluminum Alloy Sheet and Plate                       TX 4‐475‐108
ASTM B224          1980e 1         Standard Classification of Coppers                                                           TX 1‐228‐879
                                   Standard Specification for Seamless Copper Tube for Air Conditioning and Refrigeration Field
ASTM B280          1997            Service                                                                                      TX 4‐497‐885
ASTM B283          1996            Standard Specification for Copper and Copper‐Alloy Die Forgings (Hot‐Pressed)                TX 4‐497‐885
ASTM B315          1993            Standard Specification for Seamless Copper Alloy Pipe and Tube                               TX 4‐243‐005
                                   Standard Methods of Tension Testing Wrought and Cast Aluminum and Magnesium‐Alloy
ASTM B557          1984            Products                                                                                     TX 1‐689‐871
ASTM B580          1979            Standard Specification for Anodized Oxide Coatings on Aluminum                               TX 534‐160
                                   Standard Specification for Copper, Copper Alloy, and Copper‐Clad Stainless Steel Sheet and




                                                                                                                                                                   Document #1715850
ASTM B694          1986            Strip for Electrical Cable Shielding                                                         TX 2‐110‐040
                                   Standard Test Method for Determination of Susceptibility to Stress Corrosion Cracking in
ASTM B858          1995            Copper Alloys Using an Ammonia Vapor Test                                                    TX 4‐243‐005
ASTM C5            1979(1997)      Standard Specification for Quicklime for Structural Purposes                                 TX 4‐787‐636
ASTM C150          1999a           Standard Specification for Portland Cement                                                   TX 7‐685‐927
                                   Standard Test Method for Steady‐State Heat Flux Measurements and Thermal Transmission
ASTM C177          1997            Properties by Means of the Guarded Hot‐Plate Apparatus                                       TX 4‐811‐646
                                   Standard Test Method for Steady‐State Thermal Performance of Building Assemblies by
ASTM C236          1989(1993)e 1   Means of a Guarded Hot Box                                                                   TX 3‐972‐350
ASTM C330          1999            Standard Specification for Lightweight Aggregates for Structural Concrete                    TX 5‐008‐019

ASTM C509          1984            Standard Specification for Cellular Elastomeric Preformed Gasket and Sealing Material      TX 2‐210‐202
ASTM C516          1980(1996)e 1   Standard Specification for Vermiculite Loose Fill Thermal Insulation                       TX 4‐571‐119




                                                                                                                                                                   Filed: 01/31/2018
                                   Standard Test Method for Steady‐State Heat Flux Measurements and Thermal Transmission
ASTM C518          1991            Properties by Means of the Heat Flow Meter Apparatus                                       TX 3‐278‐409
ASTM C549          1981(1995)e 1   Standard Specification for Perlite Loose Fill Insulation                                   TX 4‐584‐449
ASTM C564          1970(1982)      Standard Specification for Rubber Gaskets for Cast Iron Soil Pipe and Fittings             TX 696‐452

ASTM C720          1989(1994)e 1   Standard Specification for Spray Applied Fibrous Insulation for Elevated Temperature       TX 4‐391‐188

ASTM D86           2007            Standard Test Method for Distillation of Petroleum Products at Atmospheric Pressure        TX 7‐685‐941
ASTM D129          1995            Standard Test Method for Sulfur in Petroleum Products (General Bomb Method)                TX 4‐862‐934
ASTM D257          1991            Standard Test Method for DC Resistance of Conductance of Insulating Materials              TX 3‐506‐922




                                                                                                                                                                   Page 78 of 581
                                   Standard Test Method for API Gravity of Crude Petroleum and Petroleum Products
ASTM D287          1992(1995)      (Hydrometer Method)                                                                        TX 4‐623‐459
ASTM D323          1958(1968)      Standard Test Method for Vapor Pressure of Petroleum Products (Reid Method)
ASTM D388          1998a           Standard Classification of Coals by Rank                                                   TX 4‐951‐524
ASTM D396          1998            Standard Specification for Fuel Oils                                                       TX 4‐862‐934
ASTM D413          1982(1993)e 1   Standard Test Method for Rubber Property‐‐Adhesion to Flexible Substrate                   TX 4‐320‐184
ASTM D512          1989(1999)      Standard Test Methods for Chloride Ion In Water                                            TX 5‐785‐473



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     Designation       Edition                                                 Title                                                 Registration Certificate Number




                                                                                                                                                                       USCA Case #17-7039
                                   Standard Test Methods for Aniline Point and Mixed Aniline Point of Petroleum Products and
ASTM D611          1982(1998)      Hydrocarbon Solvents                                                                      TX 4‐862‐934
                                   Standard Test Method for Rust‐Preventing Characteristics of Inhibited Mineral Oil in the
ASTM D665          1998e 1         Presence of Water                                                                         TX 4‐862‐934

ASTM D814          1995            Standard Test Method for Rubber Property‐‐Vapor Transmission of Volatile Liquids                TX 4‐320‐184
ASTM D975          1998b           Standard Specification for Diesel Fuel Oils                                                     TX 4‐862‐934
ASTM D975          2007            Standard Specification for Diesel Fuel Oils                                                     TX 7‐685‐915
ASTM D976          1991(1995)e 1   Standard Test Methods for Calculated Cetane Index of Distillate Fuels                           TX 4‐623‐459
ASTM D1072         1990(1994)e 1   Standard Test Method for Total Sulfur in Fuel Gases                                             TX 4‐768‐933
ASTM D1193         1977(1983)      Standard Specification for Reagent Water                                                        TX 1‐374‐250
                                   Standard Test Method for Density and Relative Density (Specific Gravity) of Liquids by




                                                                                                                                                                       Document #1715850
ASTM D1217         1993(1998)      Bingham Pycnometer                                                                              TX 4‐862‐934
ASTM D1246         1995(1999)      Standard Test Method for Bromide Ion in Water                                                   TX 5‐345‐022
ASTM D1253         1986(1996)      Standard Test Method for Residual Chlorine in Water                                             TX 5‐345‐022
ASTM D1266         1998            Standard Test Method for Sulfur in Petroleum Products (Lamp Method)                             TX 4‐862‐934

                                   Standard Test Method for Density, Relative Density (Specific Gravity), or API Gravity of Crude
ASTM D1298         1999            Petroleum and Liquid Petroleum Products by Hydrometer Method                                   TX 5‐071‐596
ASTM D1335         1967(1972)      Standard Method of Test for Tuft Bind of Pile Floor Coverings                                  TX 626‐132
                                   Standard Test Method for Equilibrium Moisture of Coal at 96 to 97 Percent Relative
ASTM D1412         1993(1997)      Humidity and 30 Degrees Celsius                                                                TX 4‐768‐933
ASTM D1415         1988(1994)      Standard Practice for Rubber Property‐ International Hardness                                  TX 4‐320‐184
                                   Standard Test Method for Density and Relative Density (Specific Gravity) of Viscous
ASTM D1480         1993(1997)      Materials by Bingham Pycnometer                                                                TX 4‐623‐459




                                                                                                                                                                       Filed: 01/31/2018
                                   Standard Test Method for Density and Relative Density (Specific Gravity) of Viscous
ASTM D1481         1993(1997)      Materials by Lipkin Bicapillary Pycnometer                                                     TX 4‐623‐459
ASTM D1518         1985(1998)e1    Standard Test Method for Thermal Transmittance of Textile Materials                            TX 2‐469‐775
ASTM D1535         1989            Standard Test Method for Specifying Color by the Munsell System                                TX 4‐898‐491

ASTM D1552         1995            Standard Test Method for Sulfur in Petroleum Products (High‐Temperature Method)                 TX 4‐623‐459
ASTM D1687         1992(1996)      Standard Test Methods for Chromium in Water                                                     TX 5‐345‐022
ASTM D1688         1995            Standard Test Methods for Copper in Water                                                       TX 5‐345‐022

ASTM D1785         1986            Standard Specification for Poly (Vinyl Chloride)(PVC) Plastic Pipe, Schedules 40, 80, and 120   TX 2‐284‐674




                                                                                                                                                                       Page 79 of 581
ASTM D1835         1997            Standard Specification for Liquefied Petroleum (LP) Gases                                       TX 4‐623‐459
ASTM D1890         1996            Standard Test Method for Beta Particle Radioactivity of Water                                   TX 5‐369‐432
ASTM D1943         1996            Standard Test Method for Alpha Particle Radioactivity of Water                                  TX 5‐369‐432
ASTM D1945         1996            Standard Test Method for Analysis of Natural Gas By Gas Chromatography                          TX 4‐768‐933
ASTM D1946         1990(1994)e 1   Standard Practice for Analysis of Reformed Gas by Gas Chromatography                            TX 4‐768‐933
ASTM D2013         1986(1994)      Standard Method of Preparing Coal Samples for Analysis                                          TX 4‐768‐933




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                                                               ASTM COPYRIGHT REGISTRATIONS


     Designation       Edition                                                Title                                              Registration Certificate Number




                                                                                                                                                                   USCA Case #17-7039
                                    Standard Test Method for Gross Calorific Value of Coal and Coke by the Adiabatic Bomb
ASTM D2015         1996             Calorimeter                                                                               TX 4‐768‐933
ASTM D2036         1998             Standard Test Method for Cyanides in Water                                                TX 5‐369‐432
                                    Standard Test Method for Analysis of Liquefied Petroleum (LP) Gases and Propane
ASTM D2163         1991(1996)       Concentrates by Gas Chromatography                                                        TX 4‐623‐459
                                    Standard Test Method for Laboratory Determination of Water (Moisture) Content of Soil
ASTM D2216         1998             and Rock by Mass                                                                          TX 5‐929‐602
ASTM D2234         1998             Standard Practice for Collection of a Gross Sample of Coal                                TX 4‐951‐524

ASTM D2247         1968(1973)       Standard Method for Testing Coated Metal Specimans at 100 Percent Relative Humidity        TX 648‐346
ASTM D2460         1997             Standard Test Method for Alpha‐Particle‐Emitting Isotopes of Radium in Water               TX 5‐369‐432
                                    Standard Test Method for Estimation of Molecular Weight (Relative Molecular Mass) of




                                                                                                                                                                   Document #1715850
ASTM D2502         1992(1996)       Petroleum Oils from Viscosity Measurements                                                 TX 4‐623‐459
                                    Standard Test Method for Relative Molecular Mass (Molecular Weight) of Hydrocarbons by
ASTM D2503         1992(1997)       Thermoelectric Measurement of Vapor Pressure                                               TX 4‐623‐459
                                    Standard Test Method for Ethylene, Other Hydrocarbons, and Carbon Dioxide in High‐Purity
ASTM D2505         1988(1998)       Ethylene by Gas Chromatography                                                             TX 4‐862‐934
                                    Standard Test Method for Analysis of Demethanized Hydrocarbon Liquid Mixtures
ASTM D2597         1994(1999)       Containing Nitrogen and Carbon Dioxide by Gas Chromatography                               TX 5‐071‐596
                                    Standard Test Method for Sulfur in Petroleum Products by Wavelength Dispersive X‐ray
ASTM D2622         1998             Fluorescence Spectrometry                                                                  TX 5‐071‐596
ASTM D2724         1987(1995)       Standard Test Methods for Bonded, Fused, and Laminated Apparel Fabrics                     TX 5‐435‐937
                                    Standard Practice for Determination of Precision and Bias of Applicable Test Methods of
ASTM D2777         1998             Committee D‐19 on Water                                                                    TX 5‐345‐022
                                    Standard Test Method for Vapor Pressure‐Temperature Relationship and Initial




                                                                                                                                                                   Filed: 01/31/2018
ASTM D2879         1997             Decomposition Temperature of Liquids by Isoteniscope                                       TX 5‐345‐022
                                    Standard Recommended Practice for Measuring Volatile Organic Matter in Water by
ASTM D2908         1974             Aqueous‐Injection Gas Chromatography                                                       TX 534‐158
                                    Standard Practice for Evaluation of Air, Assay Media by the Monodisperse DOP (Dioctyl
ASTM D2986         1995a(1999)      Phthalate) Smoke Test                                                                      TX 5‐202‐199
                                    Standard Test Method for Trace Quantities of Sulfur in Light Liquid Petroleum Hydrocarbons
ASTM D3120         1996             by Oxidative Microcoulometry                                                               TX 4‐623‐459
ASTM D3173         1987(1996)       Standard Test Method for Moisture in the Analysis Sample of Coal and Coke                  TX 4‐951‐524
ASTM D3176         1989(1997)       Standard Practice for Ultimate Analysis of Coal and Coke                                   TX 4‐951‐524
ASTM D3177         1989(1997)       Standard Test Methods for Total Sulfur in the Analysis Sample of Coal and Coke             TX 4‐951‐524




                                                                                                                                                                   Page 80 of 581
ASTM D3178         1989(1997)       Standard Test Methods for Carbon and Hydrogen in the Analysis Sample of Coal and Coke     TX 4‐951‐524

ASTM D3236         1988(1999)       Standard Test Method for Apparent Viscosity of Hot Metal Adhesives and Coating Materials TX 5‐071‐596
ASTM D3246         1996             Standard Test Method for Sulfur in Petroleum Gas by Oxidative Microcoulometry            TX 5‐071‐596
                                    Standard Test Method for Gross Calorific Value of Coal and Coke by the Isoperibol Bomb
ASTM D3286         1996             Calorimeter                                                                              TX 4‐951‐524



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     Designation       Edition                                                Title                                               Registration Certificate Number




                                                                                                                                                                    USCA Case #17-7039
ASTM D3371         1995            Standard Test Method for Nitriles in Aqueous Solution by Gas‐Liquid Chromatography            TX 4‐257‐410
ASTM D3454         1997            Standard Test Method for Radium‐226 in Water                                                  TX 5‐369‐432
                                   Standard Practice for Calculating Heat Value, Compressibility Factor, and Relative Density of
ASTM D3588         1998            Gaseous Fuels                                                                                 TX 4‐951‐524
ASTM D3697         1992(1996)      Standard Test Method for Antimony in Water                                                    TX 4‐257‐533
ASTM D4057         1995e 1         Standard Practice for Manual Sampling of Petroleum and Petroleum Products                     TX 4‐622‐434
                                   Standard Test Method for Analysis of Hydrogen Sulfide in Gaseous Fuels (Lead Acetate
ASTM D4084         1994            Reaction Rate Method)                                                                         TX 4‐768‐933
ASTM D4177         1995            Standard Practice for Automatic Sampling of Petroleum and Petroleum Products                  TX 4‐622‐434
                                   Standard Test Methods for Sulfur in the Analysis Sample of Coal and Coke Using High
ASTM D4239         1997e 1         Temperature Tube Furnace Combustion Methods                                                   TX 4‐951‐524




                                                                                                                                                                    Document #1715850
ASTM D4268         1993            Standard Test Method for Testing Fiber Ropes                                                  TX 5‐435‐937
                                   Standard Test Method for Sulfur in Petroleum and Petroleum Products by Energy‐Dispersive
ASTM D4294         1998            X‐Ray Fluorescence Spectrometry                                                               TX 4‐898‐490
ASTM D4329         1999            Standard Practice for Fluorescent UV Exposure of Plastics                                     TX 5‐996‐821
                                   Standard Test Method for Determination of Aromatics in Finished Gasoline by Gas
ASTM D4420         1994            Chromatography                                                                                TX 4‐622‐434
                                   Standard Test Method for Heat of Combustion of Liquid Hydrocarbon Fuels by Bomb
ASTM D4809         1995            Calorimeter (Precision Method)                                                                TX 4‐622‐434
                                   Standard Test Method for Heating Value of Gases in Natural Gas Range by Stoichiometric
ASTM D4891         1989(1994)E 1   Combustion                                                                                    TX 4‐951‐524

ASTM D4986         1998            Standard Test Method for Horizontal Burning Characteristics of Cellular Polymeric Materials TX 5‐570‐786




                                                                                                                                                                    Filed: 01/31/2018
ASTM D5257         1997            Standard Test Method for Dissolved Hexavalent Chromium in Water by Ion Chromatography TX 5‐345‐022
                                   Standard Methods for Instrumental Determination of Carbon, Hydrogen, and Nitrogen in
ASTM D5373         1993(1997)      Laboratory Samples of Coal and Coke                                                     TX 4‐951‐524
ASTM D5489         1996a           Standard Guide for Care Symbols for Care Instructions Textile Products                  TX 4‐394‐571
                                   Standard Test Method for Elements in Water by Inductively Coupled Plasma‐ Mass
ASTM D5673         1996            Spectrometry                                                                            TX 5‐369‐432
ASTM D5865         1998a           Standard Test Method for Gross Calorific Value of Coal and Coke                         TX 4‐951‐524
                                   Standard Practice for Opacity Monitor Manufacturers to Certify Conformance with Design
ASTM D6216         1998            and Performance Specifications                                                          TX 5‐202‐199
                                   Standard Test Method for Determination of Sulfur Compounds in Natural Gas and Gaseous




                                                                                                                                                                    Page 81 of 581
ASTM D6228         1998            Fuels by Gas Chromatography and Flame Photometric Detection                             TX 4‐951‐524
                                   Standard Test Method for Determination of Gaseous Organic Compounds by Direct Interface
ASTM D6420         1999            Gas Chromatography‐Mass Spectrometry                                                    TX 5‐202‐199
ASTM D6503         1999            Standard Test Method for Enterococci in Water Using Enterolert                          TX 5‐369‐432
ASTM E11           1995            Standard Specification for Wire Cloth and Sieves for Testing Purposes                   TX 5‐135‐299
ASTM E23           1982            Standard Test Methods for Notched Bar Impact Testing of Metallic Materials              TX 1‐187‐015




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                                                                                                                                                                     USCA Case #17-7039
                                   Standard Practice for Using Significant Digits in Test Data to Determine Conformance with
ASTM E29           1993a           Specifications                                                                                TX 4‐143‐803
                                   Standard Practice for Using Significant Digits in Test Data to Determine Conformance with
ASTM E29           1990            Specifications                                                                                TX 3‐460‐670

ASTM E72           1980            Standard Methods of Conducting Strength Tests of Panels for Building Construction             TX 3‐972‐350
ASTM E96           1995            Standard Test Methods for Water Vapor Transmission of Materials                               TX 4‐391‐188
ASTM E145          1994e 1         Standard Specification for Gravity‐Convection and Forced‐ Ventilation Ovens                   TX 4‐952‐491
                                   Standard Methods of Testing Materials for Use as Vapor Barriers Under Concrete Slabs and
ASTM E154          1968(1979)e 1   as Ground Cover in Crawl Spaces                                                               TX 2‐210‐197
ASTM E168          1988            Standard Practices for General Techniques of Infrared Quantitative Analysis                   TX 3‐211‐547




                                                                                                                                                                     Document #1715850
ASTM E169          1987            Standard Practices for General Techniques of Ultraviolet‐Visible Quantitative Analysis        TX 3‐211‐547
                                   Standard Practice for Conducting Surveillance Tests for Light‐Water Cooled Nuclear Power
ASTM E185          1982            Reactor Vessels                                                                               TX 1‐210‐036
ASTM E260          1996            Standard Practice for Packed Column Gas Chromatography                                        TX 5‐202‐197

                                   Standard Test Method for Determining Rate of Air Leakage Through Exterior Windows,
ASTM E283          1991(1999)      Curtain Walls, and Doors Under Specified Pressure Differences Across the Specimen             TX 5‐202‐198
                                   Standard Methods of Test for Total Normal Emittance of Surfaces Using Inspection‐Meter
ASTM E408          1971            Techniques                                                                                    TX 565‐130
                                   Standard Methods of Test for Solar Energy Transmittance and Reflectance (Terrestrial) of
ASTM E424          1971            Sheet Materials                                                                               TX 565‐130

ASTM E606          1980            Standard Recommended Practice for Constant‐Amplitude Low‐Cycle Fatigue Testing                TX 1‐187‐015




                                                                                                                                                                     Filed: 01/31/2018
ASTM E681          1985            Standard Test Method for Concentration Limits of Flammability of Chemicals                    TX 2‐794‐050
                                   Standard Method of Measuring Relative Resistance of Wall, Floor, and Roof Construction to
ASTM E695          1979(1997)e 1   Impact Loading                                                                                TX 5‐641‐809
                                   Standard Test Method for Gross Calorific Value of Refuse‐Derived Fuel by the Bomb
ASTM E711          1987(1992)      Calorimeter                                                                                   TX 3‐689‐742

ASTM E773          1997            Standard Test Method for Accelerated Weathering of Sealed Insulating Glass Units              TX 5‐202‐198
                                   Standard Specifications for the Classification of the Durability of Sealed Insulating Glass
ASTM E774          1997            Units                                                                                         TX 5‐202‐198




                                                                                                                                                                     Page 82 of 581
ASTM E775          1987(1992)      Standard Test Methods for Total Sulfur in the Analysis Sample of Refuse‐Derived Fuel          TX 3‐689‐742
ASTM E776          1987(1992)      Standard Test Method for Forms of Chlorine in Refuse‐Derived Fuel                             TX 3‐689‐742
                                   Standard Test Methods for Analyses of Metals in Refuse‐Derived Fuel by Atomic Absorption
ASTM E885          1988            Spectroscopy                                                                                  TX 3‐689‐742
                                   Standard Test Method for Determining Longitudinal Peak Braking Coefficient of Paved
ASTM E1337         1990(1996)      Surfaces Using a Standard Reference Test Tire                                                 TX 5‐369‐425




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                                                                                                                                                                     USCA Case #17-7039
                                    Standard Test Method for Determining Biodegradability of Organic Chemicals in Semi‐
ASTM E1625         1994             Continuous Activated Sludge (SCAS)                                                           TX 4‐780‐430
ASTM E1719         1997             Standard Test Method for Vapor Pressure of Liquids by Ebulliometry                           TX 4‐755‐309
                                    Standard Consumer Safety Specification for
ASTM F462          1979(1999)       Slip‐Resistant Bathing Facilities                                                            TX 5‐641‐808
ASTM F478          1992(1999)       Standard Specification for In‐Service Care of Insulating Line Hose and Covers                TX 5‐139‐661
ASTM F631          1980(1985)       Standard Method for Testing Full Scale Advancing Spill Removal Devices                       TX 4‐780‐430

ASTM F631          1993             Standard Guide for Collecting Skimmer Performance Data in Controlled Environments            TX 4‐780‐430
ASTM F682          1982a(1988)      Standard Specification for Wrought Carbon Steel Sleeve‐Type Pipe Couplings                   TX 3‐278‐410
ASTM F715          1981(1986)       Standard Methods of Testing Spill Control Barrier Membrane Materials                         TX 3‐689‐742
ASTM F715          1995             Standard Test Methods for Coated Fabrics Used for Oil Spill Control and Storage              TX 4‐780‐430




                                                                                                                                                                     Document #1715850
ASTM F722          1982(1988)       Standard Specification for Welded Joints for Shipboard Piping Systems                        TX 3‐278‐410

ASTM F808          1983(1988)e 1    Standard Guide for Collecting Skimmer Performance Data in Uncontrolled Environments          TX 3‐689‐742
ASTM F1003         1986(1992)       Standard Specification for Searchlights on Motor Lifeboats                                   TX 4‐862‐629

ASTM F1006         1986(1997)       Standard Specification for Entrainment Separators for Use in Marine Piping Applications      TX 4‐862‐629
                                    Standard Specification for Pipe‐Line Expansion Joints of the Packed Slip Type for Marine
ASTM F1007         1986(1996)e 1    Application                                                                                  TX 4‐862‐629
ASTM F1014         1992             Standard Specification for Flashlights on Vessels                                            TX 4‐862‐629
ASTM F1020         1986(1996)e 1    Standard Specification for Line‐Blind Valves for Marine Applications                         TX 4‐862‐629
                                    Standard Specification for Circular Metallic Bellows Type Expansion Joints for Piping
ASTM F1120         1987(1998)       Applications                                                                                 TX 4‐862‐629




                                                                                                                                                                     Filed: 01/31/2018
ASTM F1121         1987(1998)       Standard Specification for International Shore Connections for Marine Fire Applications      TX 4‐862‐629
ASTM F1122         1987(1998)       Standard Specification for Quick Disconnect Couplings                                        TX 4‐862‐629
ASTM F1123         1987(1998)       Standard Specification for Non‐Metallic Expansion Joints                                     TX 4‐862‐629
ASTM F1139         1988(1998)       Standard Specification for Steam Traps and Drains                                            TX 4‐862‐629
ASTM F1155         1998             Standard Practice for Selection and Application of Piping System Materials                   TX 4‐862‐629

ASTM F1172         1988(1998)       Standard Specification for Fuel Oil Meters of the Volumetric Positive Displacement Type      TX 4‐862‐629
                                    Standard Specification for Thermosetting Resin Fiberglass Pipe and Fittings to be Used for
ASTM F1173         1995             Marine Applications                                                                          TX 4‐862‐629
ASTM F1196         1994             Standard Specification for Sliding Watertight Door Assemblies                                TX 4‐862‐629




                                                                                                                                                                     Page 83 of 581
ASTM F1197         1989(1994)e 1    Standard Specificatiion for Sliding Watertight Door Control Systems                          TX 4‐862‐629
                                    Standard Specification for Cast (All Temperatures and Pressures) and Welded Pipe Line
ASTM F1199         1988(1998)       Strainers (150 psig and 150 Degrees F Maximum)                                               TX 4‐862‐629
                                    Standard Specification for Fabricated (Welded) Pipe Line Strainers (Above 150 psig and
ASTM F1200         1988(1998)       150°F)                                                                                       TX 4‐862‐629
                                    Standard Specification for Fluid Conditioner Fittings in Piping Applications Above Zero
ASTM F1201         1988(1998)       Degrees F                                                                                    TX 4‐862‐629



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     Designation         Edition                                                Title                                               Registration Certificate Number




                                                                                                                                                                      USCA Case #17-7039
                                     Standard Specification for Impact Attenuation of Surfacing Materials Within the Use Zone of
ASTM F1271           1990(1995)e 1   Playground Equipment                                                                        TX 4‐862‐629
ASTM F1273           1991(1996)e 1   Standard Specification for Tank Vent Flame Arresters                                        TX 4‐862‐629

                                     Standard Guide for Conducting a Stability Test (Lightweight Survey and Inclining Experiment)
ASTM F1321           1992            to Determine Light Ship Displacement and Centers of Gravity of a Vessel                       TX 4‐862‐629
ASTM F1323           1998            Standard Specification for Shipboard Incinerators                                             TX 4‐862‐629
                                     Standard Test Method for Air Cleaning Performance of a High‐Efficiency Particulate Air‐Filter
ASTM F1471           1993            System                                                                                        TX 3‐936‐504
ASTM F1546/F 1546M   1996            Standard Specification for Fire Hose Nozzles                                                  TX 4‐862‐629
                                     Standard Specification for the Performance of Fittings for Use with Gasketed Mechanical
ASTM F1548           1994            Couplings Used in Piping Applications                                                         TX 4‐862‐629




                                                                                                                                                                      Document #1715850
                                     Standard Specification for Determination of Accessibility of Surface Systems Under and
ASTM F1951           1999            Around Playground Equipment                                                                   TX 5‐641‐808

ASTM G21             1990            Standard Practice for Determining Resistance of Synthetic Polymeric Materials to Fungi     TX 4‐143‐803
                                     Standard Practice for Exposing Nonmetallic Materials in Accelerated Test Devices that Use
ASTM G151            1997            Laboratory Light Sources                                                                   TX 4‐755‐309
                                     Standard Practice for Operating Fluorescent Light Apparatus for UV Exposure of Nonmetallic
ASTM G154            2000a           Materials                                                                                  TX 4‐952‐491
ASTM F747            1997            Standard Terminology Relating to Amusement Rides and Devices                               TX 5‐641‐808
                                     Standard Practice for Quality, Manufacture, and Construction of Amusement Rides and
ASTM F1193           2006            Devices                                                                                    TX 7‐685‐943
                                     Standard Specification for Physical Information to be Transferred With Used Amusement
ASTM F1950           1999            Rides and Devices                                                                          TX 5‐641‐808




                                                                                                                                                                      Filed: 01/31/2018
ASTM F1957           1999            Standard Test Method for Composite Foam Hardness Durometer Hardness                        TX 5‐641‐808




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                  EXHIBIT B




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                                  NATIONAL FIRE PROTECTION ASSOCIATION, INC. COPYRIGHT REGISTRATIONS

    Designation      Edition                                             Title                                              Registration Certificate Number




                                                                                                                                                              USCA Case #17-7039
NFPA 1            2003         Uniform Fire Code                                                                           TX 5‐970‐602
NFPA 1            2006         Uniform Fire Code                                                                           TX 6‐261‐668
NFPA 11           2005         Standard for Low Medium and High Expansion Foam                                             TX 6‐160‐768
NFPA 12           2005         Standard on Carbon Dioxide Extinguishing Systems                                            TX 6‐232‐876
NFPA 10           2002         Standard for Portable Fire Extinguishers (Title of work on certificate of registration is   TX 5‐752‐623
                               “National Fire Codes Vol. 1‐12 and Master Index”)
NFPA 13           2002         Installation of Sprinkler Systems (Title of work on certificate of registration is          TX 5‐752‐623
                               “National Fire Codes Vol. 1‐12 and Master Index”)
NFPA 25           2002         Inspection, Testing and Maintenance of Water‐Based Fire Protection Systems (Title of        TX 5‐752‐623
                               work on certificate of registration is “National Fire Codes Vol. 1‐12 and Master
                               Index”)
NFPA 30           2003         Flammable and Combustible Liquids Code                                                      TX 5‐905‐038




                                                                                                                                                              Document #1715850
NFPA 54           2006         National Fuel Gas Code                                                                      TX 6‐261‐666
NFPA 58           2001         Liquified Petroleum Gas Code (Title of work on certificate of registration is “National     TX 5‐401‐672
                               Fire Codes Vol 3”)
NFPA 58           2004         Liquefied Petroleum Gas Code                                                                TX 5‐956‐112
NFPA 59           2004         Utility LP Gas Plant Code                                                                   TX 5‐953‐205
NFPA 70           1999         National Electrical Code                                                                    TX 4‐092‐419
NFPA 70           2005         National Electrical Code                                                                    TX 6‐108‐410
NFPA 70           2008         National Electrical Code                                                                    TX 6‐966‐113
NFPA 70           2011         National Electrical Code                                                                    TX 7‐297‐325
NFPA 72           2002         National Fire Alarm Code                                                                    TX 5‐841‐133
NFPA 99           2005         Health Care Facilities Code                                                                 TX 6‐153‐939
NFPA 101          2000         Life Safety Code                                                                            TX 5‐371‐918
NFPA 101          2003         Life Safety Code                                                                            TX 5‐841‐134




                                                                                                                                                              Filed: 01/31/2018
NFPA 101          2006         Life Safety Code                                                                            TX 6‐294‐334
NFPA 704          2007         Standard System for the Identification of the Hazards of Materials for Emergency            TX 6‐445‐855
                               Response




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                  EXHIBIT C




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             AMERICAN SOCIETY OF HEATING, REFRIGERATION, REFRIGERATING AND AIR-CONDITIONING ENGINEERS, INC. COPYRIGHT REGISTRATIONS

     Designation         Edition                                         Title                                        Registration Certificate Number
ANSI/ASHRAE/IES 90.1     2010      ANSI/ASHRAE/IESNA Standard 90 1-2010, Energy Standard for Buildings Except for   TX 7-299-602
                                   Low-Rise Residential Buildings (I-P Edition)
ANSI/ASHRAE/IESNA 90.1   2007      ANSI/ASHRAE/IESNA Standard 90 1-2007, Energy Standard for Buildings Except for   TX 6-842-936
                                   Low-Rise Residential Buildings (I-P Edition)
ANSI/ASHRAE/IESNA 90.1   2004      ANSI/ASHRAE/IESNA Standard 90 1-2004, Energy Standard for Buildings Except for   TX 6-091-449
                                   Low-Rise Residential Buildings (I-P Edition)
ASHRAE Handbook          1993      1993 ASHRAE Handbook: Fundamentals (I-P Edition)                                 TX 3-832-628




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                  EXHIBIT G




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                             By Authority Of
               THE UNITED STATES OF AMERICA
                     Legally Binding Document
      By the Authority Vested By Part 5 of the United States Code § 5p(a) and
      Part I of the Code of Regulations § 51 the attached document has been duly
      INCORPORATED BY REFERENCE and shall be considered legally
      binding upon all citizens and residents of the United States of America.
      HEED WIS NOTICE: Criminal penalties may apply for noncompliance.




      Document Name: ASTM D4239: Standard Test Methods for Sulfur in the
                            Analysis Sample of Coal and Coke Using High Tempera
      CFR Section(s):       Tube Fmnace Combustion Methods
                            40 CFR 60, Appendix A-7

      Standards Body: American Society for Testing and Materials




                                             O{ficial lncorporator:
                                             THE EXECUTIVE DIRECTOR
                                             OFFICE OF THE FEDERAL REGISTER
                                             WASHINGTON, D.C.
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 ~~l~ Designation: D 4239 - 97E 1

                   Standard Test Methods for
                   Sulfur in the Analysis Sample of Coal and 'Coke Usin~
                   HighTemperature Tube Furnace Combustion Methods
                   This standard is issued under the fixed designation D 4239; the number immediately following the designation indicates the year of
                   original adoption or, in the case of revision, the year of iast revision. A number in parentheses indicates the year of last reapproval. A
                   superscript epsilon (E) indicates an editorial change since the last revision or reapproval.

                   e 1 NoTe--Section 18.4 has been editorially corrected in June 1999.



 1. Scope                                                                                     D 4208 Test Method for Total Chlorine in Coal by . the
    I. I These test methods cover three alternative procedures                                 Oxygen Bomb Combustion/Ion Selective Electrode
 using high-temperature tube fu rnace combustion methods for                                   Method2
 the rapid dete1mination of sulfur in samples of coal and coke,                               D 4621 Guide for Accountability and Quality Control in the
    1.2 These test methods appear in the following order:                                      Coal Analysis Laboratory2
                                                                      Sections
                                                                                              D 5142 Test Methods for the Proximate Analysis of the
                                                                                               Analysis Sample of Colli and Coke by Instrumental
 Method A-High-Temperature Combustion Method with Acid                                         Procedures2
  Base Titration Detection Procedures     ·                              6·9
 Method ~igh-Temperature Combustion Method with lodi-
  metric Titration Detection Procedures                                 10·13
                                                                                          3. Summary of Test Methods
 Method 0-High-Temperature Combustion Method with Infra-                                     3. I Method A-High-Temperature Combustion Method wjth
  red Absorption Detection Procedures                                  14-16
                                                                                         Acid-Base ntration Detection Procedures-A weighed samplt:
   1.2. l When automated equipment is used to perform any of                              is burned in a tube furnace at a minimum operating temperature
the three methods of this test method, the procedures can be                             of 1350°C in a stream of oxygen. During combustion, all sulfur
classifieq as instrum~ntal methods. There are several manufac-                           contained in the sample is oxidized to gasequs oxides of sulfur
turers that offer to the coai industry equipment with instrumen-                         (sulfur dioxide, S02 , and sulfur trioxide, S03 ) and the chlorine:;
tal analysis capabilities f9r the detennination of the sulfur                            in the sample is released as Clz. These products .are then
content of coal and coke samples.                                                        absorbed into a solution of hydrogen peroxide (H2 0z) where
   1.3 This standard does not putport to address all of the                              they dissolve forming dilute solutions.of sulfuric (H 2 S0 4) and
safety concerns, if any, associated with its use. It is the                              hydrochloric (HCI) acids. .The quantities of both acids pro7
responsibility of the user of this standard to establish appro-                          duced are directly dependent upon the amounts of sulfur and
priate safety and heal.th practices and determine the applica-                           chlorine present in the original coal sample. Once the amounts
bility of regulatory
            '                                         . and 15.2:.,
                      limita"rions prior to use. See 7.8                                 of each acid present have been determined, the percentage of
                                                                                         sulfur containeq in the coal may be calculated.
2: Referenced Documents                                                                      3.1.1 This method is written to include commercially avail-
   2. I ASTM Standards.:                                                                 al;>le su)fur analyzers .tl~at must be calibrated with appropriate
    D 346 Practice for Collection and Preparatjon of Coke                                standard refere nce materials (SRMs) to establish recovery
     Samples for Laboratory Analysis2                                                    factors or a calibration curve based on the range of sulfur in the
    D 1193 Specification for Reagent Water3                                              coal or coke samples being analyzed.
    D 2013 Method of Preparing Coal Samples for Analysis2                                                      .   .                         .
                                                                                           NoTE 1...:...Elements ordinarily present in coal do not interfere in Method
 · ·n 236 1 Test Method for Chlorine in Coa!2                                            A (3.1 ), with the exception of chlorine; results muse be 'corrected for
    D 3173 Test Method for Moisture in the Analysjs Sample of                            chlorine· content of the samples (9.1).
     Coal and Coke2
                                                                                            3.2 Method B-High-Temp.erature Combustion Method with
    D 3176 Practice for Ultimate Analysis of Coal and Coke2
                                                                                         lodimetric Detection Procedures-A weighed sample is
    D 3180 Practice for Calculating Coal and Coke Analyses
                                                                                         burned in a tube furnace at a minimum operating temperature
     from As-Determined to Different Bases2
                                                                                         of 1350°C in a su·eaJJl of oxygen to ensure the oxidation of
                                                                                         sulfur. The combustion products are absorJ:>ed in an aq ueous
   ' This test method is under the jurisdiction of ASTM Committee D-5 on coal and        solution that contains iodine. When sulfur dioxide is scrubbed
Coke and is the direct responsibility of Subcommittee 005.21 on Methods of
Analysis,                                                                                or  the diluent, the trace iodine originally present in p,e solution
   Current edition approved June 10, 1997. Published May ·1998. Originally               is reduced to iodide, thus causing an increase in resistance. The
published as D 4239 - 83. Last previous edition D 4239 - 94.                             detection system of the insliument consists of a polarized dual
  2
     A,uwal Book ofASTM Standards, Vol 05.05.
  3
     A111111a/ Book of ASTM Standards,' Vol J 1.0I .
                                                                                         platinum electrode. Any change in resistance of the solution in




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the vessel is detected. Iodine titrant is then added proportion-                    NoTE 3-lt may be difficu It to meet the precision statemems of Section
ally to the reaction vessel until the trace excess of iodine is                   18 when high mineral content coals are ground to pass 60 mesh. When the
replenished and the solution resistance is reduced to its initial                 precision of analysis required cannot be obtained, it is recommended that
                                                                                  the coals be ground to pass through a Np. JOO (150-µm) sieve. The
level. The volume of titrant expended is used to calculate the
                                                                                  reduced particle size should result in a more homogeneous sample.
sulfur concentration of the sample . The method is empirical;
therefore, the apparatus must be calibrated . by the use of                          5.2 A separate portion of the analysis sample should be
standard reference material (SRM).                                                analyzed for moisture contenrin accordance with Test Method
   3.2.1 This method is designed to be used with commercially                     D 3 173, so that calculation to other than the as-determined
available sulfur analyzers, equipped to perform the preceding                     basis can be made.
operation automatically, and must be calibrated with an appro-                       5.3 Procedures for converting as-determined sulfur values
priate sample (5.4) based on the range of sulfur in each coal or                  obtained from the analysis sample to other bases are described
coke sample analyzed.                                                             in Practices D 3 176 and D 3180.
                                                                                     5.4 Standard Reference Material (SRM) such as SRM Nos.
  NorE 2-Nonautomatic systems may be used with the titration proce-               2682 through 2685-Sulfur in Coa/4 which consist of four
dures and calculations performed manually by qualified laboratory tech-
                                                                                  different coals that have been individually crushed and ground
nicians. The resulting loss in accuracy or speed, or both, would then
negate the advantages of using the fully automated instrumental approach.         to pass a 60-mesh sieve, and bottled in 50-g units, or other
                                                                                  commercially available reference coals with a certified sulfur
   3.3 Method C-High-Temperature Combustion Method with                           content.
Infrared Absorption Detection Procedures-The sample is
burned in a tube furnace at a minimum operating temperature                                 METHOD A-HIGH-TEMPERATURE
of I 350°C lit a stream of oxygen to oxidize the sulfur. Moistu re                       COMBUSTION METHOD WITH ACID-BASE
and particulates are removed from the gas by traps filled with                            TITRATION DETECTION PROCEDURES5
anhydrous magnesium perchlorate. The gas stream is passed
                                                                                  6. Apparatus
through a cell in which sulfur dioxide is measured by an
infrared (IR) absorption detector. Sulfur dioxide absorbs IR                         6.1 Tube Furnace-Capable of heating 150- to 175-mm
ehetgy at a precise wavelength within the IR spectrum. Energy                     area (hot zone) of the combustion tube (6.2) to at least 1350°C.
is absorbed as the gas passes th rough the cell body in wh ich the                It is usually heated electrically using resistance rods, a resis-
IR energy is being transmitted: thus, at the detector, less energy                tance wire, or molybdenum disilicide elements. Specific di-
is received. All other IR energy is eliminated from reaching the                  mensions may vary with manufacturer 's design.
detector by a precise wavelength filter. Thus, the absorption of                    NOTE ~Induction furnace techniques' may be used provided it can be
IR e nergy can be attributed only to sulfur dioxide whose                         shown that they meet the precision requirements of Section 18.
concentration is proportional to the change in energy at the
                                                                                     6.2 Combu,f(ion T~e-Approximately 28-mm internal di-
detector. One cell is used as both a reference and a measure-
                                                                                  ameter with a '3-mm wall thickness and 750 mm in length made
ment chamber. Total sulfur as sulfur dioxide is detected on a
                                                                                  of porce,lai n, zircon, or mullite. It must be gastight at working
continuous basis. This method is empirical; therefore, the
                                                                                  temperature. The combustion may .be carri~d out in a tapered-
apparatus must be calibrated by the use of SRMs.
                                                                                  end tube that is closely connected to the gas absorber by high
   3.3.1 This method is for use with commercially available
                                                                                  temperature tubing with gastight joints. Acceptable configura-
sulfur analyzers equipped to carry out the preceding operations
                                                                                  tions include connecting the tapered-end tube directly to the
automatically and must be calibrated using standard reference
                                                                                  elbow of the fritted gas bubbler or to a 10/3Q.. standard
material (coal) of known sulfur content based on the range of
                                                                                  taper-groundj oint that is attached to a hea,t resistant gl~s right
sulfur in each coal or coke sample analyzed.
                                                                                  angle bend. The temperature at the tllpered end of the tube
4. Significance and Use                                                           should be maintained high enough to prevent condensation in
   4. 1 Determination of sulfur is, by definition, part of the                    the tube itself.                                ·
ultimate analysis of coal. ·                                                         6.2. 1· Alternatively, a high-temperature straight refractory
   4.2 Results of the sulfur analysis are 1,1sed to serve a number                tube may be used, if available. It requires a.silica adaptor '(6°. l l)
of inter~sts: evaluation of coal preparation, evaluation of                       with a flared end that fits inside the combustion tube and serves
potential sulfur emissions from coal combustion or conversion                     as an exit for the gases.
processes, ,and evaluation of the coal quality in relation to                        6.3 Flowmeter, for measuring an oxygen flow rate up to 2.0
contract s~clfications, as well as other scientific purposes.                     L/min.
   4.3 The instrumental analysis proviqes a reliable , rapid                         6.4 Sample Combustion Boats, must be made of iron-free
mepiod for determining the concentration of sulfur in a lot of                    material and of a convenient size suitable for the dimensions of
coil or coke and are especially appli~able when results must be
ob~ ined rapidly for the successful completion of industrial,                        4
                                                                                       Available from the Office of Standard Reference Materials, Room 13314.
ben~ficiation; trade, or other evaluations.                                       Chemistry Bldg., National Bureau of Standarc/s, Washington, DC 20234.
                                                                                     s Based on the method of Moit, R. A.• and Wilkinson, H. C., "Determination of
5. Sample                                                                         Sulfur in Coal and Coke by the Sheffield Higl) ten\perature Method," Fuel, Fuel B,
  5.1 The sample shall be the material pulverized to pass No.                     Vol. 35. 1956. p. 6. This method is designed for the rapid detennination of sulfur in
                                                                                  coal and coke. It is not applicable to coals or coal density fractions that have been
60 (250-µm) sieve and mixed thoroughly in accordance with                         subjected to treatment with chlorinated hydrocarbons because of the potentially high
Method D 201 3 or Practice D 346.                                                 acidity of the combustion gases.


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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

 AMERICAN SOCIETY FOR TESTING
 AND MATERIALS d/b/a/ ASTM
 INTERNATIONAL,
 100 Barr Harbor Drive,
 West Conshohocken, PA 19428;

 NATIONAL FIRE PROTECTION
 ASSOCIATION, INC.,
                                                   Civil Action No. _________
 1 Batterymarch Park,
 Quincy, MA 02169; and                             COMPLAINT FOR INJUNCTIVE RELIEF
 AMERICAN SOCIETY OF HEATING,
 REFRIGERATING, AND AIR-
 CONDITIONING ENGINEERS, INC.
 1791 Tullie Circle, N.E.,
 Atlanta, GA 30329

                        Plaintiffs,

 v.

 PUBLIC.RESOURCE.ORG, INC.,
 1005 Gravenstein Hwy. North,
 Sebastopol, CA 95472


                        Defendant.



                                           COMPLAINT

        This is an action by three not-for-profit standards developing organizations: American

 Society for Testing and Materials d/b/a ASTM International; National Fire Protection

 Association, Inc.; and American Society of Heating, Refrigerating, and Air-Conditioning

 Engineers, Inc. (collectively “Plaintiffs”). This action seeks injunctive relief for copyright

 infringement, contributory copyright infringement and trademark infringement against

 Public.Resource.Org, Inc. (“Public Resource” or “Defendant”), an organization that seeks to




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 destroy clearly established copyright protection for Plaintiffs’ standards that various

 governments have incorporated by reference into regulations. Plaintiffs, by their attorneys,

 allege as follows:

                                         INTRODUCTION
        1.      Standards are technical works that encourage consistent practices among private

 actors. The goals of standards include advancing public safety, ensuring compatibility across

 products and services, facilitating training and spurring innovation. In the United States,

 standards are typically developed by private organizations with expertise in the subject matter

 the standard addresses. The resulting standards are original works containing creative content

 which are protected from infringement under the Copyright Act. Government entities frequently

 incorporate these private standards by reference in statutes, regulations, or ordinances.

        2.      This established system of private standards development in the United States

 yields great public benefits. In the modern era, standards are necessary for a well-functioning

 economy and a safe society. The development of standards by private organizations allows for

 private actors to bear the significant costs of creating standards, through processes and

 procedures that incorporate a diverse array of viewpoints and interests and draw on the

 knowledge of numerous experts. Moreover, this system imposes virtually no costs on

 governments or taxpayers, while enabling government entities at every level to incorporate

 private standards into their regulations or statutes as they see fit—subject to the creators of the

 standards retaining the copyrights in the standards. Plaintiffs underwrite—either entirely or in

 substantial part—the costs they incur in creating the standards through the revenues derived from

 the sales or licensing of their copyright-protected standards. At the same time, as detailed herein,

 each Plaintiff has developed policies for providing interested members of the public access to

 standards known to have been incorporated by reference into statutes and regulations.


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        3.      The Defendant in this action, Public.Resource.Org, Inc. (“Public Resource”), has

 engaged in conduct that violates U.S. copyright and trademark law and threatens to undermine

 the many significant benefits of private standards development. Public Resource has copied en

 masse Plaintiffs’ copyrighted standards in their entirety, posted them to its public website, and

 encouraged the public to disregard Plaintiffs’ copyrights and to copy, distribute, and create

 derivative works of those standards at will. Public Resource’s bulk copying of Plaintiffs’

 standards is not supported by, and in fact violates, the Copyright Act. And Public Resource’s

 actions threaten the substantial public benefits, including safety, efficiency and cost savings, that

 result from Plaintiffs’ ownership and exploitation of their copyrights in the standards they create.

                                           THE PARTIES
        4.      Plaintiff American Society for Testing and Materials d/b/a ASTM International

 (“ASTM”) is a Pennsylvania not-for-profit corporation with its principal place of business at 100

 Barr Harbor Drive, West Conshohocken, Pennsylvania. ASTM maintains an office in

 Washington, DC, located at 1850 M Street, NW, Washington DC 20036. ASTM’s Washington

 office staff includes ASTM’s Vice President of Global Policy and Industry Affairs and ASTM’s

 Manager of Government and Industry Affairs. The DC staff focuses on communicating with the

 federal government and industry to increase awareness about ASTM’s standards and to

 encourage participation in ASTM’s standard development activities.

        5.      Plaintiff National Fire Protection Association, Inc. (“NFPA”) is a Massachusetts

 not-for-profit corporation with its principal place of business located at One Batterymarch Park,

 Quincy, MA 02169. NFPA maintains an office in Washington, DC, located at 1401 K Street,

 NW, Suite 500, Washington, DC 20005. NFPA’s Washington office staff includes its Director

 of Government Affairs. The staff’s primary responsibilities include monitoring federal activities




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 and facilitating outreach to the federal government concerning NFPA standards as well as other

 fire, electrical, building, and life safety issues related to NFPA’s safety mission.

        6.       Plaintiff American Society of Heating, Refrigerating and Air-Conditioning

 Engineers, Inc. (“ASHRAE”) is a New York not-for-profit corporation with its principal place of

 business located at 1791 Tullie Circle, N.E., Atlanta, GA 30329. ASHRAE maintains an office

 in Washington, DC, located at 1828 L St., NW, Washington, DC 20036, which was established

 approximately 33 years ago. ASHRAE’s Washington office staff includes ASHRAE’s Director

 of Government Affairs, a Senior Manager of Federal Government Affairs, a Manager of State

 and Local Government Affairs, and an office manager. That DC staff is engaged in building

 relationships for ASHRAE with numerous government representatives, including members of

 Congress and their staffs, and with many international organization representatives. They also

 facilitate the dissemination of technical information and assistance on matters affecting the

 public, the engineering profession and the ASHRAE professional community; they collect,

 digest and disseminate to ASHRAE members and staff relevant information regarding current or

 anticipated government actions; and they pursue technology transfer and government funding

 opportunities independently or jointly with other organizations.

        7.       Defendant Public Resource is a California corporation with its principal place of

 business at 1005 Gravenstein Highway North, Sebastopol, CA 95472.

                    NATURE OF ACTION, JURISDICTION, AND VENUE

        8.       This is an action for infringement and contributory infringement of federally

 registered copyrights in violation of 17 U.S.C. § 501, infringement of trademarks in violation of

 Sections 32 and 43 of the Lanham Act, 15 U.S.C. §§ 1114 and 1125, and common law trademark

 infringement.



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        9.      This Court has jurisdiction over this action pursuant to 15 U.S.C. § 1121 and

 pursuant to 28 U.S.C. §§ 1331, 1338(a) and 1400, because this is a civil action arising under an

 Act of Congress relating to copyrights and trademarks. This court has supplemental jurisdiction

 over the common law trademark infringement claim asserted herein pursuant to 28 U.S.C. § 1367

 because this claim is so related to the federal claims that they form part of the same case or

 controversy and derive from a common nucleus of operative facts.

                10.     Venue is proper in this court pursuant to 28 U.S.C. §§ 1391 and 1400:

 because the claims alleged in the Complaint arose, in substantial part, in the District of

 Columbia; because the Defendant may be found in this District; and because this Court has

 personal jurisdiction over Defendant. Among other things, Defendant has directed its infringing

 activities to this District and, on information and belief, has materially contributed to the

 infringing activities of third parties in this District. Defendant has designed its website to attract

 visitors from the District of Columbia who are encouraged to copy, to distribute to others in this

 District and/or to create derivative works based on Plaintiffs’ standards incorporated by reference

 into the law of the District of Columbia. Visitors also are solicited to submit financial donations

 on Defendant’s website through the Defendant’s PayPal account. Moreover, Defendant sells

 various items on the Internet, including Public.Resource.Org stamps and stickers, amongst other

 items. See http://www.zazzle.com/carlmalamud/.

                11.     Defendant also has participated in conferences, round tables, and meetings

 in the District of Columbia. See, e.g., http://news.cnet.com/8301-13512_3-10354324-23.html;

 http://web.resourceshelf.com/go/resourceblog/58874; and

 http://www.gov2expo.com/gov2expo2010/public/schedule/speaker/1824. Defendant also

 recently posted copyrighted material owned by a third party online and engaged in public




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     relations activities connected thereto that were directed toward the District of Columbia. See

     http://frrole.com/o/this-is-really-good-to-hear-washington--carlmalamud-washington-dc;

     http://www.washingtontimes.com/news/2013/mar/31/ignorance-of-dcs-copyrighted-laws-can-be-

     costly/; and http://frrole.com/o/this-is-really-good-to-hear-washington--carlmalamud-

     washington-dc.

                                                  FACTS

I.          THE UNITED STATES STANDARDS DEVELOPMENT SYSTEM

            12.     The term “standards” comprises a wide variety of technical works ranging from

     codes to compilations of rules, test methods, interoperability standards, product specifications,

     installation standards, guidelines, and recommended practices. Standards can range in length

     from a few pages, such as ASTM E2877-12e1: Standard Guide for Digital Contact

     Thermometers, promulgated by ASTM International, to hundreds of pages, such as NFPA 70,

     National Electrical Code (“National Electrical Code” or “NEC”), promulgated by the NFPA.

            13.     Standards sometimes may be developed by government entities. Indeed, in most

     other countries, standards are typically developed or overseen by the government, and are paid

     for or heavily subsidized by government funds.

            14.     In the United States, however, standards are typically developed by private

     organizations with technical expertise in the relevant area. In fact, the National Technology

     Transfer and Advancement Act of 1995 requires federal agencies to use privately developed

     standards wherever possible. § 12, Pub. L. No. 104-113, 110 Stat. 775, 782-83 (1996) (codified

     as part of 15 U.S.C. § 272 (2006)). Privately developed standards are used by the private sector

     for voluntary self-regulation and as a source of best practices. Some privately developed




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 standards also are incorporated by reference by government entities in statutes, regulations, and

 ordinances.

        15.     The United States standards development system has evolved over more than a

 century as a decentralized system of private organizations. These organizations develop

 standards in different ways, and for myriad purposes. Although this system of private

 organizations receives virtually no government funding, it yields substantial public benefits. It

 provides the public sector with up-to-date, technically advanced, widely accepted standards—

 which may be used and adopted by reference, at no cost, by government entities at the local,

 state, and federal level—subject to the standards organizations retaining the copyright in the

 standards.

        A. The Evolution of the United States Standards Development System

        16.     Private-sector standards confer tremendous benefits on society. The need for

 voluntary, uniform standards to deal with an increasingly technical society emerged during the

 Industrial Revolution. As technology advanced at a breathtaking pace, and American industry

 grew exponentially, the absence of widely accepted standards created grave threats to public

 health and safety.

        17.     For example, at the turn of the twentieth century, the size of the threads on fire

 hydrants and hoses varied across the major cities of the Atlantic seaboard. When a large fire

 burned out of control in Baltimore in 1904, fire brigades from Washington, D.C., New York,

 Philadelphia, and elsewhere arrived to lend assistance. But because the threads on their hoses

 did not match the Baltimore fire hydrants, they stood by helplessly as the conflagration

 consumed 70 blocks of downtown Baltimore.




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        18.     Similarly, a fire at the crowded Triangle Shirtwaist Company in New York City

 cost 146 garment workers their lives in 1911. Locked exit doors, the lack of a fire alarm,

 unreliable fire escapes, and the absence of proper methods for extinguishing the fire all

 contributed to the devastation.

        19.     As another example, there were no fewer than 20 different gauges of track in the

 early days of the railroad industry, making it difficult and costly to connect railroads and travel

 over long distances.

        20.     In response to these types of problems, private organizations were founded to

 develop standards that would apply nationwide within a particular industry or field. For

 example, ASTM Standard A1 provided uniform specifications for carbon steel tee rails that made

 it possible for manufacturers from different parts of the country to cooperate in building the

 national railroads.

        21.     Over time, the number of organizations dedicated to the development of

 standards—and the breadth of their activities—expanded along with the evolution of existing

 technologies and the emergence of new ones. Today, there are more than 600 organizations

 within the United States that develop voluntary standards. These organizations have

 promulgated approximately 93,000 active standards.

        22.     There are many different types of private-sector standards, including standards

 governing materials testing, systems design and installation, product testing and certification, and

 professional qualifications. Private-sector standards are developed on a wide array of subjects,

 such as indoor air quality, building and electrical safety, welding procedures, and the design of

 manufacturing equipment.




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         23.     Standards preserve public safety, protect consumers, ensure compatibility and

 uniformity across products and services, facilitate training and education, and spur innovation.

 Standards usually are highly technical and specialized, and are written for audiences that have

 particular expertise in the relevant fields.

         B. The Standards Development Process

         24.     Private-sector standards are developed in a variety of ways. Some are developed

 by ad hoc business groups or consortia that convene to create standards for a specific business

 purpose and do not provide for public review or broad participation. The most widely used and

 accepted standards, however, are what are known as “voluntary consensus standards.”

 Voluntary consensus standards are developed through published procedures that ensure broad

 participation of the affected interests, provide for public comment, and ensure due process

 through a mechanism for appeal.

         25.     Not-for-profit organizations usually develop voluntary consensus standards.

 Some of these organizations are trade associations that fund their standards activities through

 membership or participation fees. Others, particularly those that develop standards related to

 health, safety and the environment, sustain their standards development activities, in significant

 part, with revenues derived from the sales or licensing of their copyright-protected standards to

 the people and companies who use those standards in the course of their professional work.

         26.     There are several different types of U.S.-based standards developing

 organizations that develop voluntary consensus standards (hereafter, “SDOs”). They include

 trade associations, professional societies, third-party organizations that test and certify products,

 and general membership organizations created to pursue public interest goals. Some SDOs

 produce a single standard, while others produce hundreds. For some SDOs, standards




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 development is an ancillary activity; for others, it is their main activity and the principal means

 by which they serve their missions.

        27.     While SDOs function independently, many cooperate through the American

 National Standards Institute (“ANSI”). ANSI is a not-for-profit organization that coordinates

 voluntary consensus standards development in the United States. ANSI is a federation that

 draws its members from SDOs and other professional, technical, trade, labor, academic, industry,

 and consumer organizations, as well as government agencies. Among its principal functions,

 ANSI accredits SDOs whose procedures meet ANSI requirements governing openness,

 consensus and due process.

        28.     All Plaintiffs in this case are ANSI-accredited SDOs that also are not-for-profit

 organizations, organized under their respective state laws, and recognized as tax exempt for

 federal purposes under Section 501(c)(3) of the Internal Revenue Code.

        29.     Drafting effective standards requires wide-ranging creative input from a variety of

 concerned constituencies and sources of expertise. Plaintiffs rely on committees to create and

 revise their standards. As required by ANSI, these committees contain balanced membership,

 including experts within the particular field addressed by the standard, consumers, government

 representatives, industry representatives, and other interested stakeholders.

        30.     Plaintiffs also comply with the other ANSI essential requirements governing the

 process for developing voluntary consensus standards. Those requirements include: open

 proceedings; proceedings that are not dominated by any single interest; coordination and

 harmonization with existing standards; public notice of standards of activity; consideration of

 views and objections; consensus voting methods; opportunity for appeals; and written




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 procedures. The federal government has recognized that these procedural protections are the

 hallmarks of a “voluntary consensus standards body.”

        31.     Plaintiffs regularly publish standards that they create through such processes, in

 both print and electronic form. Plaintiffs’ standards reflect the complex expression of a

 multitude of ideas, and contain original and highly creative content.

        32.     Because technology and best practices continue to evolve, Plaintiffs’ work is

 ongoing. Plaintiffs publish revised versions of their standards on a regular basis, as required by

 ANSI, as well as ever-changing technology and marketplace demands. New versions may add

 content that responds to changes in the industry, or may expand and improve the standards to

 make them more effective.

        C. The Benefits of Plaintiffs’ Standards

        33.     Plaintiffs’ standards confer significant public benefits. Plaintiffs’ standards

 promote public health and safety, in fields as diverse as consumer products, indoor air quality,

 building and electrical safety, welding procedures, construction materials, alarm systems, fire

 test methods, and the design of manufacturing equipment. By identifying and embracing best

 practices, Plaintiffs’ standards help protect the public from dangerous practices and products. In

 addition to protecting the public, Plaintiffs’ standards benefit consumers by helping to ensure the

 quality and consistency of goods and services. For example, ASTM F977 Consumer Safety

 Specification for Infant Walkers addresses the quality and safety of a category of products used

 by young children.

        34.     Plaintiffs’ standards also help drive technological innovation. A recent report by

 the National Science and Technology Council concluded that

        [s]tandards can play an important role in enabling technological innovation by defining
        and establishing common foundations upon which product differentiation, innovative



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        technology development and other value-added services may be developed. Standards
        are also essential for enabling seamless interoperability between and across products and
        systems. In the United States private-sector-led standards development that is informed
        by market needs has played a foundational role in facilitating competition, innovation and
        global trade.

 See Federal Engagement in Standards Activities to Address National Priorities 3 (Oct. 2011),

 available at http://www.whitehouse.gov/sites/default/files/microsites/ostp/federal_engagement_

 in_standards_activities_october12-final.pdf.

        35.     Plaintiffs’ standards also make markets more efficient. Without building-related

 standards, such as model building codes, Plaintiff NFPA’s Life Safety Code, or Plaintiff

 ASHRAE’s Ventilation for Acceptable Indoor Air Quality standard, contractors, trades people

 and manufacturers of building materials would be confronted with an extraordinarily complex

 marketplace, where the practices governing their businesses vary widely from one town to the

 next. Building standards provide for consistency across jurisdictions, enabling the efficient

 exchange of building materials and services. Similarly, standards allow for the interoperability

 of products. For example, the nationwide use of Plaintiff NFPA’s National Electrical Code, in

 conjunction with other product standards, helps to ensure that wherever consumers go in the

 United States, their electric appliances can be plugged in and will operate safely and effectively.

        36.     Many of Plaintiffs’ standards apply to and are referenced by professionals and

 specialists—including manufacturers, installers, trades people, engineers, architects, and

 technical experts—rather than members of the general public. Hence, while Plaintiffs’ standards

 ultimately benefit members of the public, the vast majority of their standards are directed to

 manufacturers, professionals, and other specialists and are highly technical in nature.




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        D. Government Incorporation of Private-Sector Standards

        37.     In addition to their many private uses, a portion of these voluntary consensus

 standards also have been incorporated by reference into the laws of government entities, at little

 to no cost to taxpayers (beyond the minimal travel costs attendant to the participation of

 government representatives on SDO consensus bodies). For well over a hundred years,

 government entities have used privately developed standards to provide health, safety, and other

 technical regulations for the benefit of the public, simply by incorporating the standards by

 reference into statutes, regulations, and ordinances. When governments incorporate by reference

 the standards of Plaintiffs and other SDOs, it amplifies the public benefits of these standards,

 yielding tremendous efficiency gains and substantial savings for taxpayers.

        38.     In the early part of the twentieth century, many state and local governments

 adopted model codes on such common subjects as construction, fire safety, and electrical work.

 For example, NFPA’s National Electrical Code was first published in 1897. By the 1930s,

 approximately 2,000 communities throughout the United States adopted the NEC, and many

 cities and states that previously followed unique electrical codes had revised them to conform to

 the national model.

        39.     Federal policy strongly encourages the development of standards by private

 organizations and the incorporation of those standards by federal departments and agencies. In

 1982, the federal Office of Management and Budget promulgated OMB Circular No. A-119

 (“the OMB Circular”). In its current iteration, the OMB Circular “directs agencies to use

 voluntary consensus standards in lieu of government-unique standards except where inconsistent

 with law or otherwise impractical.” The policy articulated in the OMB Circular is “intended to




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 reduce to a minimum the reliance by agencies on government-unique standards,” in order “to

 achieve the following goals:”

        a. Eliminate the cost to the Government of developing its own standards and decrease the
        cost of goods procured and the burden of complying on agency regulation.

        b. Provide incentives and opportunities to establish standards that serve national needs.

        c. Encourage long-term growth for U.S. enterprises and promote efficiency and
        economic competition through harmonization of standards.

        d. Further the policy of reliance upon the private sector to supply Government needs for
        goods and services.

 The OMB Circular is available at

 https://www.google.com/#bav=on.2,or.r_qf.&fp=335c82eb2f3786ba&q=omb+circular+no+a+11

 9.

        40.     In 1995, Congress enacted the National Technology Transfer and Advancement

 Act (the “NTTAA”). The NTTAA codifies the federal government’s policy of adopting

 privately developed standards. With certain exceptions, the NTTAA provides that “all Federal

 agencies and departments shall use technical standards that are developed or adopted by

 voluntary consensus standards bodies, using such technical standards as a means to carry our

 policy objectives or activities determined by the agencies and departments.” The NTTAA is

 available at http://www.gpo.gov/fdsys/pkg/PLAW-104publ113/pdf/PLAW-104publ113.pdf.

        41.     Today, literally thousands of private-sector standards are incorporated by

 reference in the Code of Federal Regulations. Thousands of standards are also adopted by state

 and local governments. Hundreds of Plaintiffs’ standards have been incorporated by reference

 by various government entities.

        42.     Governments at all levels adopt standards developed by SDOs because they yield

 substantial benefits and efficiencies. Incorporating existing standards by reference allows



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 government agencies to develop a comprehensive regulatory scheme quickly and with limited

 costs. By comparison, government agencies and bodies at all levels would incur enormous

 expenses if they were to engage in the lengthy and complicated process of developing their own

 unique standards. The cost of coordinating, updating, testing and the many other activities

 required to keep standards up to date and to comply with the demanding and rigorous procedural

 requirements that Plaintiffs and other SDOs follow would be enormous, and in many cases cost-

 prohibitive, for government agencies and bodies at many levels.

        43.     Moreover, because standards created by SDOs reflect the collective experience,

 knowledge, and judgment of industry representatives, practitioners, academics, and other

 experts, incorporation by reference enables the government to capitalize on expertise from the

 private sector that often does not exist within government bureaucracy—particularly with respect

 to ever-evolving industries and technologies. As the National Science and Technology Council

 noted in its recent report, the “U.S. government has long recognized that the private-sector,

 driven by innovators and market need, is ordinarily in the best position to drive standardization

 in a technology area.” Federal Engagement in Standards Activities to Address National

 Priorities 3 (Oct. 2011), available at

 http://www.whitehouse.gov/sites/default/files/microsites/ostp/federal_engagement_in_standards_

 activities_october12-final.pdf. For this reason, the Administrative Conference of the United

 States concluded that incorporation by reference “furthers important, substantive regulatory

 policies, enabling agencies to draw on the expertise and resources of private-sector standard

 developers to serve the public interest.” Administrative Conference of the United States,

 Recommendation 2011-5, at 1, available at




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 http://www.acus.gov/sites/default/files/Recommendation-2011-5-Incorporation-by-

 Reference.pdf.

        44.       For example, the Federal Energy Regulatory Commission (“FERC”) has

 incorporated by reference standards created by the North American Energy Standards Board

 (“NAESB”), because of its view that the NAESB “process is [a] far more efficient and cost

 effective method of developing technical standards for the industries involved than the use of a

 notice and comment rulemaking process involving numerous technical conferences in

 Washington that all believe they have to attend.” Standards for Business Practices and

 Communication Protocols for Public Utilities, 74 Fed. Reg. 63,288, 63,302 (Dec. 3, 2009).

        45.       Incorporating existing standards also decreases the burden of regulation on

 industry. Plaintiffs’ standards align with existing industry best practices, with which many

 regulated parties already comply. Incorporation by reference, therefore, reduces gaps between

 government regulation and industry practice, and makes it easier and less expensive for industry

 to comply with regulations.

        E. Costs of Developing Private-Sector Standards

        46.       The development of high quality, up-to date, voluntary consensus standards is

 costly. In addition to the value of the time and expertise contributed by the many volunteers who

 participate in the standards-development process, Plaintiffs expend substantial resources to

 provide the administrative, technical, and other support necessary to produce standards.

 Plaintiffs must pay for salary and benefits for administrative and expert staff, office space,

 meeting facilities, outreach and education efforts, information technology, and the cost of

 publication of their standards, among other things.




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              47.    The robust and open process followed by Plaintiffs, which includes multiple

      levels of review, opportunity for notice and comment, and representation from a diverse array of

      interests, is particularly costly to administer and coordinate. For example, NFPA has spent

      significant sums to build a computerized interface that allows for the online development and

      revision of standards. It also has increased the participation of underrepresented groups on its

      technical committees, such as by creating an Enforcer Funding Program to raise the percentage

      of government enforcement officials on the committees, during a time of public-sector budget

      cuts.

II.           PLAINTIFFS’ STANDARDS

              A.     Plaintiff ASTM’s Standards

              48.    For more than 100 years, ASTM has provided a global forum for the development

      and publication of voluntary consensus standards for materials, products, systems, and services

      that are utilized by ninety industry sectors in the United States and in most geographic regions of

      the world. ASTM is the developer and publisher of over 12,000 voluntary consensus standards

      in a wide range of fields, including, but not limited to, consumer products, iron and steel

      products, rubber, paints, plastics, textiles, medical services and devices, electronics, construction,

      aviation, energy, water, and petroleum products.

              49.    Over 30,000 individuals representing 135 countries, including manufacturers,

      retailers, consumers, representatives from government agencies, academics, and researchers,

      serve on ASTM’s 143 Technical Committees. Each Technical Committee is further divided into

      more focused technical areas called subcommittees.

              50.    The voting membership of each ASTM Technical Committee is constituted to

      include a balance of relevant interests. For example, producers or sellers of materials, products,




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 systems or services covered within the scope of a given committee or subcommittee cannot

 exceed more than 50 percent of the voting membership of that committee or subcommittee. All

 standards actions, including new standards as well as revisions, withdrawals and reapprovals of

 existing standards, must be approved by at least 66.7 percent of the voting subcommittee

 members and 90% of the voting main committee members, with not less than 60 percent of the

 voting members returning ballots.

        51.     ASTM standards development activities are governed by a detailed set of written

 procedures that are accredited by ANSI as satisfying the essential requirements of a voluntary

 consensus standards development process. The process through which ASTM develops its

 standards includes multiple levels of review, and numerous opportunities for public review and

 comment. All ASTM standards are reviewed on a 5 year schedule and reapproved, revised or

 withdrawn in revision cycles that typically take 8-12 months to complete. Each revision cycle

 proceeds according to a published schedule that includes final dates for all major events in the

 process, including opportunities for input and comment, Technical Committee meetings, appeals,

 and final publication of the standard.

        52.     ASTM strives to enable broad stakeholder representation in the process and does

 everything possible to minimize barriers to entry. Individual participating ASTM members pay

 $75 annually for membership, which entitles them to full participation rights in the development

 of standards and free access to standards relevant to their interest. ASTM often waives the

 membership fee for interested consumers or participants from developing countries.

        53.     Each year ASTM incurs substantial costs for its standards development

 infrastructure and delivery platforms, including resources for collaboration, Technical

 Committee meetings, balloting, editorial, production, distribution, promotion and protection of




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 ASTM Standards. ASTM also incurs significant costs related to achieving and maintaining

 accreditation by ANSI and for engaging in policy-related activities within the global standards

 community.

        54.     Sales of ASTM’s standards account for approximately 75% of ASTM’s total

 revenue.

        55.     Many ASTM standards have been incorporated by reference by government

 entities in statutes, regulations, and ordinances.

        56.     For example, the U.S. Department of Agriculture (USDA) BioPreferred Program,

 which is designed to increase the promotion and use of biobased products, incorporates by

 reference ASTM D6866 -- Standard Test Methods for Determining the Biobased Content of

 Solid, Liquid, and Gaseous Samples Using Radiocarbon Analysis – to calculate the biobased

 content included in a given material. Over 9,000 products from nearly 90 product categories have

 qualified for this USDA program. According to USDA, the increased purchase of biobased

 products will be expected to reduce petroleum consumption, increase the use of renewable

 resources, better manage the carbon cycle, and may contribute to reducing adverse

 environmental and health impacts.

        57.     Over 1,200 ASTM standards, out of more than 12,000 total ASTM standards, are

 referenced in the Code of Federal Regulations. ASTM has not voluntarily transferred or licensed

 any of its rights in these standards to any governmental agencies whose regulations incorporate

 ASTM’s standards. Nor has ASTM been compensated by the federal government for any of its

 safety standards.

        58.     ASTM owns or controls the copyrights and/or the relevant exclusive rights in the

 works at issue in this case (“ASTM Standards”) under the United States copyright laws. ASTM




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 has obtained Certificates of Copyright Registration from the Register of Copyrights for the

 ASTM Standards. Attached hereto as Exhibit A is a list of the ASTM Standards that Defendant

 infringed by the acts complained of herein. Exhibit A also identifies by number the Certificates

 of Copyright Registration issued to ASTM.

        59.     The ASTM standards are original works of authorship. The content of the ASTM

 Standards is original to ASTM and includes a high degree of creativity.

        60.     ASTM expressed the concepts underlying its standards through particular words

 and drawings that it selected from myriad options through which it could have expressed those

 concepts.

        61.     ASTM owns the exclusive trademark rights in the following registered trademarks

 that refer to ASTM (the “ASTM Marks”):

                a.     U.S. Trademark Registration No. 2,679,320, which covers the ASTM

                       word mark.

                b.     U.S. Trademark Registration No. 2,685,857, which covers the ASTM

                       INTERNATIONAL word mark.

                c.     U.S. Trademark Registration No. 2,651,796, which covers the following

                       logo:




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                d.     U.S. Trademark Registration No. 4,079,772, which covers the following

                       logo:




        62.     ASTM also owns common law rights in the ASTM Marks.

        63.     Through ASTM’s exclusive, continuous and widespread use of the ASTM Marks,

 the ASTM Marks have acquired a substantial amount of goodwill, and consumers have come to

 rely on the ASTM Marks to identify ASTM’s high quality goods and services. ASTM has spent

 significant funds and resources marketing and promoting its goods and services in connection

 with the ASTM Marks, and considers them to be important, valuable assets. ASTM vigorously

 and continuously enforces its ASTM Marks against infringers and counterfeiters.

        B.      Plaintiff NFPA’s Standards

        64.     Founded in 1896, the NFPA is a not-for-profit organization incorporated as a

 public charity under the laws of the Commonwealth of Massachusetts and recognized as a

 Section 501(c)(3) organization under the Internal Revenue Code. The NFPA’s mission is to

 reduce the dangers of fire and other hazards by providing and advocating for consensus

 standards, research, training, and education. The development of voluntary consensus standards

 is NFPA’s principal activity and the primary means through which it furthers its safety mission.

        65.     NFPA develops and disseminates over 300 standards in the areas of fire,

 electrical, and building safety. These standards are designed to minimize damage to property



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 and to protect people from death and injury. NFPA standards range from large, multi-chapter

 installation standards such the National Electrical Code, to standard test methods of only a few

 pages, such as NFPA 259, Standard Test Method for Potential Heat of Building Materials.

 There are many different types of NFPA standards, covering a broad range of subjects. By way

 of example, NFPA has promulgated standards regarding fire protective clothing, fire service

 professional qualifications, firefighting equipment, firefighter training, incident management,

 and firefighter deployment. NFPA standards also cover the installation of electrical systems,

 fuel gas piping, and other building systems and components, and offer guidance on emergency

 and disaster planning, explosion prevention, and fire investigation. There are NFPA standards

 that apply to homes and hospitals, airports and coal mines, tunnels and historic structures, grain

 silos and nuclear power plants.

        66.     NFPA’s flagship work is the National Electrical Code, which is the world’s most

 widely used and accepted standard for electrical installations. The NEC was created in 1897 out

 of a desire to establish uniform standards regarding the installation of electrical systems. Since

 1959, the NEC has been revised every three years. Other widely used NFPA standards include

 the NFPA 13, Standard for the Installation of Sprinkler Systems, which establishes standards for

 the installation of fire sprinklers, and NFPA 101, Life Safety Code, which establishes standards

 for the protection of human life from fire, smoke, and toxic fumes in buildings and other

 structures.

        67.     NFPA’s standards contain a variety of materials, including prescriptive rules, as

 well as explanatory material, such as informational notes and annexes, illustrations, charts, and

 diagrams.




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         68.      NFPA standards are advisory and are made available for a wide variety of private

 and public uses. The private sector relies heavily on NFPA standards. Private actors use NFPA

 standards for purposes including industry and professional best practices, insurance

 underwriting, professional training and certification, worker protection, and product testing and

 certification.

         69.      NFPA standards are also widely incorporated by reference by government entities

 in statutes, regulations, and ordinances. Some NFPA standards, such as the NEC, are adopted by

 one or more levels of government in every state in the country. For example, the municipal

 regulations of the District of Columbia incorporate the NEC by reference. See 12 D.C. Mun.

 Regs. tit. 12, § 101.A(101.1). And virtually every NFPA standard is incorporated by reference

 by one or more of the thousands of local and state governments within the United States. The

 federal government also relies on NFPA standards; the Code of Federal Regulations references

 NFPA standards approximately 380 times.

         70.      NFPA standards development activities are governed by a detailed set of written

 procedures that are accredited by ANSI as satisfying the essential requirements of a voluntary

 consensus standards development process. The consensus bodies primarily responsible for the

 drafting and updating of NFPA standards are known as “Technical Committees” (or, in the case

 of the NEC, as “Panels”). Each Technical Committee is assigned a scope of activities that may

 include a number of standards or just one portion of a single standard.

         71.      NFPA’s Technical Committees are comprised of volunteers from business,

 industry, public interest groups, government, and academia, as well as other subject matter

 experts and stakeholders. An NFPA Technical Committee may include electricians, other

 tradesman, government officials, and experts with advanced degrees in electrical engineering or




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 many other fields. Although NFPA is a membership organization, individuals may serve on a

 Technical Committee without themselves being NFPA members.

        72.     Each NFPA Technical Committee is constituted to include a balance of relevant

 interests, with no one interest occupying more than one-third of the Committee. All new

 standard provisions, and any revision to an existing standard, must be approved by at least two-

 thirds of the Committee.

        73.     The NFPA process includes multiple levels of review, and numerous

 opportunities for public review and comment. All NFPA standards are revised and updated

 every three to five years, in revision cycles that typically take two years to complete. Each

 revision cycle proceeds according to a published schedule that includes final dates for all major

 events in the process, including opportunities for input and comment, technical committee

 meetings, appeals, and final issuance of the standard.

        74.     In addition to its standards development activities, NFPA works to protect lives

 and property through educational programs such as Fire Prevention Week in October—a national

 campaign for which NFPA has been the official sponsor since 1922—and by overseeing the

 operation of advocacy campaigns dedicated to increasing fire safety and awareness, including:

 the Fire Sprinkler Initiative, Bringing Safety Home, the Coalition for FireSafe Cigarettes, and the

 Alliance to Stop Consumer Fireworks. NFPA also publishes dozens of texts, guides, and other

 safety information and materials, and offers training on the content and use of its standards for

 professionals, government regulators, fire service members, and other first responders. And

 NFPA is the premier resource for fire data analysis and research (through its fire analysis

 department and the NFPA-affiliated Fire Protection Research Foundation). Many of NFPA’s

 publications and activities are costly, but generate little or no revenue.




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        75.     NFPA’s day-to-day operations depend upon a reliable stream of revenue to cover

 the numerous expenses NFPA incurs in its activities. These expenses include, but are not limited

 to, employing a full-time staff of technical experts who serve as liaisons to committees in the

 standards development process, employing publication staff and administrative personnel,

 publishing standards, funding the NFPA-affiliated research foundation and educational outreach

 efforts, and arranging and paying for meeting sites. NFPA’s revenues are approximately $70

 million on an annual basis and approximately 70% of NFPA’s annual revenue is derived from

 the sale of its copyrighted publications, with the remaining revenue derived from membership

 fees, professional development, and other sources.

        76.     The standards created by NFPA are original works of authorship. The content of

 NFPA’s standards is original to NFPA and includes a high degree of creativity.

        77.     The concepts underlying NFPA’s standards are expressed through particular

 words and drawings that have been selected from myriad options through which these concepts

 could be expressed.

        78.     NFPA owns or controls the copyrights and/or the relevant exclusive rights in the

 works at issue in this case (“NFPA Standards”) under the United States copyright laws. NFPA

 has obtained Certificates of Copyright Registration from the Register of Copyrights for its works.

 Attached hereto as Exhibit B is a list of certain of NFPA copyrighted works that Defendant has

 infringed by the acts complained of herein. Exhibit B also identifies by number the Certificates

 of Copyright Registration issued to NFPA.

        79.     NFPA owns or controls the exclusive trademark rights in the registered marks that

 refer to the NFPA organization and NFPA standards (the “NFPA Marks”), including:




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              a. U.S. federal registration no. 2,834,633, which covers the following logo:




              b. U.S. federal registration no. 1,148,903, which covers the following logo:




              c. U.S. federal registration no. 1,094,460, which covers the NATIONAL

 ELECTRICAL CODE word mark.

              d. U.S. federal registration no. 3,165,010, which covers the NATIONAL FIRE

 PROTECTION ASSOCIATION word mark.

              e. U.S. federal registration no. 1,165,496, which covers the NEC word mark.

              f. U.S. federal registration no. 3,354,321, which covers the NFPA 70 word mark.

              g. U.S. federal registration no. 3,141,884, which covers the NFPA word mark.

         h. U.S. federal registration no. 1,924,881, which covers the NATIONAL FIRE

               ALARM CODE word mark.

         i.     U.S. federal registration no. 1,951,710, which covers the NFPA 72 word mark.

         j. U.S. federal registration no. 1,107,267 which covers the LIFE SAFETY CODE

               word mark.



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        80.     NFPA also owns common law rights in the NFPA Marks.

        81.     NFPA’s use of the NFPA Marks, in publications, marketing materials,

 conferences and events, on its website, and in other contexts, has been substantially continuous

 and exclusive. NFPA has attained strong name recognition in the NFPA Marks, which have

 come to be associated with NFPA and which identify NFPA as the source of the NFPA’s

 products offered in connection with the NFPA Marks. NFPA has developed substantial goodwill

 in the NFPA Marks. NFPA has spent significant sums marketing and promoting its products in

 connection with the NFPA Marks, and considers them to be important, valuable assets. NFPA

 has vigorously and continuously enforced its NFPA Marks against infringers and counterfeiters.

        C.      Plaintiff ASHRAE’s Standards

        82.     Founded in 1894, ASHRAE is a not-for-profit organization incorporated as a

 public charity under the laws of the State of New York. ASHRAE’s mission is to advance the

 arts and sciences associated with heating, ventilating, air-conditioning and refrigerating to serve

 humanity and promote a sustainable world. It does so through research, standards writing,

 publishing and continuing education. The development of voluntary consensus standards is

 ASHRAE’s principal activity, and the primary means through which it furthers its safety

 mission.

        83.     ASHRAE develops and disseminates many standards in the areas of heating,

 ventilating, air-conditioning and refrigerating (“HVAC&R”). ASHRAE develops standards for

 both its members and others professionally concerned with HVAC&R processes and the design

 and maintenance of indoor environments.

        84.      ASHRAE writes standards for the purposes of establishing consensus for

 methods of HVAC&R-related testing for use in commerce, and establishing HVAC&R-related




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 performance criteria to facilitate guidance within the HVAC&R industry. ASHRAE publishes

 the following three types of voluntary consensus standards: Method of Measurement or Test,

 Standard Design and Standard Practice. ASHRAE does not write rating standards unless a

 suitable rating standard would not otherwise be available.

        85.     Consensus standards are developed and published to define minimum values or

 acceptable performance, whereas other documents, such as design guides, may be developed and

 published to encourage enhanced performance.

        86.     ASHRAE guidelines are developed through the participation of its national and

 international members, associated societies, and public review.

        87.     By way of example, Standard 90.1-2010, Energy Standard for New Buildings

 Except Low Rise Residential Buildings, was first promulgated in 1989. The 90.1 Standard was

 developed by a subcommittee whose mission was to balance the interest of all the members of

 the subcommittee as it relates to the insulation of all buildings, including metal buildings. The

 membership of the 90.1 subcommittee includes various manufacturers, architects, builders, and

 members of federal and state agencies.

        88.     In connection with the development and maintenance of the 90.1 Standard,

 ASHRAE provides for an ongoing review and revision of its Energy Standard through its

 Continuing Maintenance Procedures. These procedures include a Public Review Process and an

 Emergency Interim Standards Action. Although in practice ASHRAE issues revisions more

 frequently, ASHRAE typically publishes regular revisions to the 90.1 standard every 18 months.

        89.     In addition to its standards development activities, ASHRAE offers courses in a

 variety of formats, including eLearning, professional development seminars (in locations around

 North America or online), short courses (seminars offered during ASHRAE meetings) and self-




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 directed learning courses (home study courses), all through the ASHRAE Learning Institute.

 ASHRAE also produces hundreds of publications, including the ASHRAE Handbook (the

 “bible” of the HVAC&R industry), books on specialized topics within the field, technology

 applications and various CDs and DVDs. ASHRAE also publishes the peer-reviewed bimonthly

 HVAC&R Research—which is among the most prestigious archival research reporting resources

 in the field of environmental control for the HVAC&R industry. Further, ASHRAE’s research

 program, established in 1912, currently supports more than 70 active research projects with a

 combined value of more than $12 million. Research focus includes: energy and resource

 efficiency, indoor environmental quality, alternative technologies, and materials and equipment.

 Through scholarships, grants and awards, ASHRAE supports engineering education for

 undergraduate students and research projects for graduate engineering students and new post-

 doctoral scholars.

        90.     ASHRAE’s day-to-day operations depend upon a reliable stream of revenue to

 cover the numerous expenses ASHRAE incurs in its activities, which amount to approximately

 $21 million annually. Approximately 20-25% of ASHRAE’s annual revenue is derived from the

 sale of its copyrighted publications, with the remaining revenue derived from membership fees,

 advertising income, and other sources.

        91.     The standards created by ASHRAE are original works of authorship. The content

 of ASHRAE’s standards is original to ASHRAE and includes a high degree of creativity.

        92.     ASHRAE expressed the concepts underlying ASHRAE’s standards through

 particular words and drawings that it selected from myriad options through which it could have

 expressed those concepts.




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          93.   ASHRAE owns or controls the copyrights and/or the relevant exclusive rights in

 the works at issue in this case under the United States copyright laws (the “ASHRAE

 Standards”). ASHRAE has obtained Certificates of Copyright Registration from the Register of

 Copyrights for the ASHRAE Standards. Attached hereto as Exhibit C is a list of ASHRAE

 Standards that Defendant has infringed by the acts complained of herein; the same Exhibit

 identifies by number the Certificates of Copyright Registration issued to ASHRAE for those

 works.

          94.   ASHRAE owns or controls the exclusive trademark rights in the following

 registered marks that refer to the ASHRAE organization and ASHRAE Standards (the

 “ASHRAE Marks”):

                (a) U.S. federal registration no. 1,503,000 covering the following logo:




                (b) U.S. federal registration no. 4,262,297 covering the following logo:




          95.   ASHRAE also owns common law rights in the ASHRAE Marks.

          96.   ASHRAE’s use of the ASHRAE Marks in publications, marketing materials,

 conferences and events, on its website, and in other contexts, has been substantially continuous


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   and exclusive. ASHRAE has attained strong name recognition in the ASHRAE Marks, which

   have come to be associated with ASHRAE and which identify ASHRAE as the source of the

   ASHRAE’s products offered in connection with the ASHRAE Marks.

          97.     ASHRAE has developed substantial goodwill in the ASHRAE Marks. ASHRAE

   has spent significant sums marketing and promoting its products in connection with the

   ASHRAE Marks, and considers them to be important, valuable assets. ASHRAE has vigorously

   and continuously enforced its ASHRAE Marks against infringers and counterfeiters.

III.      AVAILABILITY OF PLAINTIFFS’ STANDARDS

          98.     Plaintiffs make their standards available through multiple distribution channels,

   including Internet, catalog, telephone, and retail sales. Plaintiffs’ standards are generally offered

   in a number of different formats, including a variety of electronic formats, individual pamphlets,

   complete bound sets, and loose-leaf subscription services.

          99.     ASTM strives to be flexible and reasonable when working with federal agencies

   and the regulated public to provide the public with reasonable access to its standards. ASTM

   charges a modest fee to persons who want copies of the ASTM standards. The most expensive

   ASTM standard costs $71 and most ASTM standards cost between $25 and $35.

          100.    NFPA sells its standards at a reasonable cost to the professionals and tradespeople

   who use the standards. For example, the hard copy edition of the NEC, an 800-page work, is

   offered for purchase for $75. NFPA publishes its standards in a variety of hard copy and digital

   formats. Those wishing to own a personal copy can purchase and download an electronic copy

   instantly, for example, or can purchase a subscription service that updates all NFPA standards

   and allows downloading, printing, and other functionalities.




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        101.    ASHRAE Standards and Guidelines are available for purchase to everyone as

 downloadable Digital Publications (PDFs), hard copy, or CD-ROMs. For example, a hard copy

 of the complete ASHRAE Standard 90.1-2010 – Energy Standard for Buildings Except Low-

 Rise Residential Buildings – is typically sold for $125. The ASHRAE online bookstore is

 updated each time a new publication from ASHRAE is available.

        102.    It is also common for SDOs to provide access to their standards (or portions

 thereof) for free. The specific details surrounding access to standards vary depending on the

 SDO at issue, the nature of the standard, and the audience that consumes it.

        103.    ASTM has created a reading room on its website, available at

 http://www.astm.org/READINGLIBRARY/index.html, through which the public can access all

 ASTM standards that have been incorporated by reference into federal regulations at no cost on a

 read-only basis. That is, members of the public may access the standards online and view them

 at no cost, but are not able to copy or modify them. Additionally, when a federal agency

 proposes to incorporate by reference an ASTM standard in rulemaking, ASTM works with the

 relevant agency to provide the public with read-only access to the standard at no cost during the

 public comment period.

        104.    As part of its commitment to enhancing public safety, NFPA began making the

 full text of NFPA standards available for free viewing on its website, in read-only form, more

 than a decade ago. NFPA currently provides such access for all of its standards, including many

 older editions that are still referenced in laws. See

 http://www.nfpa.org/aboutthecodes/list_of_codes_and_standards.asp. This access allows any

 member of the public, including citizens of jurisdictions that have incorporated NFPA standards

 by reference, to review NFPA standards without cost. NFPA also encourages jurisdictions that




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 incorporate its standards by reference to link their websites to its free, online version of the

 standards.

        105.    ASHRAE strongly supports public access to its standards. It currently provides

 free-to-the-public online read-only access, in non-downloadable format, to 28 standards,

 including every single standard referenced in laws or codes. This includes all the ASHRAE

 Standards listed on Exhibit C. This access is provided through a service called RealRead®.

 ASHRAE incurs significant costs in order to provide such access.

        106.    Government entities have adopted policies for providing public access to the

 standards they incorporate by reference. For example, the Code of Federal Regulations states

 that any materials incorporated by reference at the federal level must be “reasonably available to

 and usable by the class of persons affected by the publication.” 1 C.F.R. § 51.7(a)(4). In

 particular, the Office of the Federal Register and the relevant agency each must maintain a hard

 copy of any material incorporated by reference that is available for public inspection. See 1

 C.F.R. §§ 5.2, 51.9(b)(4). At the state and local levels, copies of standards incorporated by

 reference typically must be made available for inspection in government offices or designated

 depository libraries.

        107.    The Code of Federal Regulations does not provide a precise definition of the term

 “reasonably available.” Neither the Office of the Federal Register nor any other governmental

 body has ever interpreted “reasonably available” to mean that the material must be available to

 the public without cost (let alone for free with the further ability to copy, distribute and modify).

        108.    Government entities have expressly recognized the considerable benefits of the

 developer of standards retaining copyright protection for standards that are incorporated by

 reference. For example, the National Science and Technology Council has taken the position




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 that “the text of standards and associated documents should be available to all interested parties

 on a reasonable basis, which may include monetary compensation where appropriate.” Federal

 Engagement in Standards Activities to Address National Priorities 11 (Oct. 2011), available at

 http://www.whitehouse.gov/sites/default/files/microsites/ostp/federal_engagement_in_standards_

 activities_october12-final.pdf (emphasis added).

         109.    OMB Circular 119-A also takes the position that incorporation by reference of a

 standard does not destroy the copyright in that standard. It states that “[i]f a voluntary standard

 is used and published in an agency document, your agency must observe and protect the rights of

 the copyright holder and any other similar obligations.” See

 http://www.whitehouse.gov/omb/circulars_a119.

         110.    A number of offices within the Executive branch are currently engaged in the

 process of evaluating the procedures for incorporating material by reference, in a manner that

 allows for reasonable access by the public and also respects the rights of copyright owners to

 protect their intellectual property.

         111.    Although Public Resource participated in this process by submitting extensive

 comments and letters to these offices, both before and during this process it engaged in conduct

 that infringed on Plaintiffs’ copyrights. In or around March 2012, for example, Public Resource

 launched a campaign designed to make an end-run around the Executive branch evaluation

 process by flagrantly copying and distributing certain standards that had been incorporated by

 reference into federal or state regulations.




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IV.          DEFENDANT’S UNLAWFUL CONDUCT

             A. Copyright Infringement

             112.    Public Resource has purchased paper copies of 73 standards created and owned

      by SDOs, including standards created and owned by ASTM and NFPA, that have been

      incorporated by reference in federal regulations.

             113.    Upon information and belief, although well aware that the SDOs owned

      copyrights in the standards, Public Resource made 25 print copies of each of these standards,

      placed them in boxes covered with American flag packing tape, and sent the packages to a

      number of recipients, including the 10 SDOs that wrote the standards, the White House, United

      States Senators and Congressmen, the National Archives, the Federal Trade Commission, the

      Administrative Conference of the United States, the Copyright Office, several professors, and

      members of the media. Each package also included a packing slip informing the recipient of the

      cost Public Resource expended to obtain the standards and requesting some manner of action.

             114.    Public Resource’s statements to the media made it clear that it intended to begin

      posting these 73 standards on the internet in HTML format. Attached as Exhibit D is an article

      by Public Resource’s president discussing Public Resource’s intentions.

             115.    In or about December 2012, without Plaintiffs’ consent, Public Resource began

      posting copies of those 73 standards and other standards that were created and owned by

      Plaintiffs that are allegedly incorporated by reference in federal and state regulations (“Plaintiffs’

      Standards”) on its website, which is located at

      https://law.resource.org/pub/us/cfr/manifest.us.html.

             116.    Public Resource also took steps to induce, promote, cause, and materially

      contribute to the further copying and dissemination of Plaintiffs’ Standards by members of the




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 public. Public Resource posted Plaintiffs’ Standards on its website in pdf format, which allows

 others not only to view but also to make further unauthorized copies of Plaintiffs’ Standards and

 to distribute them to others. Upon information and belief, Public Resource also has uploaded

 standards owned by Plaintiffs without authorization to the www.archive.org website. The

 electronic nature of these documents, and their availability on the Internet, magnifies the ease

 and speed with which they may be reproduced and disseminated to others.

        117.    Moreover, Public Resource “rekeyed” some of Plaintiffs’ Standards and posted

 them on its website in html format. Its stated purpose for doing this was to make it possible for

 members of the public to copy and manipulate the standards, thereby encouraging the creation of

 works that are derivative of Plaintiffs’ copyrighted standards. Public Resource also redrew

 graphics within some of Plaintiffs’ Standards in the open Scalable Vector Graphics (SVG)

 format, which enables the images to be searched, indexed, scripted, and compressed. Further,

 Public Resource reset mathematical formulas into the Math Markup Language application that

 integrates mathematical formulae into web pages and other documents to make it easier for

 members of the public to manipulate the standards. And Public Resource added metadata to the

 document “headers,” which made Plaintiffs’ Standards more accessible and discoverable by

 Internet search engines, thereby increasing the number of people who might access the standards

 and disseminate them further. See Exhibit E, a printout from Public Resource’s website.

        118.    Public Resource designed its website to attract visitors from states throughout the

 Nation, including by organizing Plaintiffs’ Standards by jurisdiction so that visitors may

 download and copy the Standards adopted by their jurisdiction. For example, the Public

 Resource website has a page dedicated to “Public Safety Codes Incorporated By Law,” with a

 separate section linking to copies of standards incorporated by reference by the District of




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 Columbia, including the National Electrical Code. Attached as Exhibit F hereto is a copy of the

 section of Public Resource’s website that provides copies of standards incorporated by reference

 by each state and the District of Columbia.

        119.    According to Public Resource’s website, standards have the force of law when

 they are incorporated by reference and:

        [t]he law belongs to the people, and cannot become the private property of some
        governmental or non-governmental organization, no matter how seemingly well-deserved
        are the rents one could extract from winning a monopoly concession on a parcel of the
        law. While standards bodies need money to carry out their valuable work, and while it is
        clear that these standards bodies create high-quality documents that are essential to our
        public safety, one cannot cordon off the public domain simply because of an institutional
        desire for funds.

 Thus, Public Resource’s website states that Public Resources has copied and posted standards

 created and owned by many SDOs, including Plaintiffs’ Standards, “as it is the right of all

 humans to know and speak the laws that govern them.” See Exhibit E.

        120.    Public Resource has represented that all of the standards it has copied and

 displayed on its website have been incorporated by reference into federal and state law.

 However, some Standards that Public Resource claims were incorporated by reference into

 federal law have not in fact been incorporated into the Code of Federal Regulations.

        121.    Plaintiffs’ Standards, which are original works of authorship that Plaintiffs

 developed at great cost and effort, unquestionably were afforded copyright protection the

 moment Plaintiffs fixed them in tangible forms of expression.

        122.    If Public Resource were to prevail in its argument that Plaintiffs’ Standards lost

 their copyright protection whenever incorporated by reference in any federal or state regulation,

 this would raise serious questions of government liability under the Takings Clause of the Fifth




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 Amendment to the United States Constitution, made applicable to state and local governments

 through the Fourteenth Amendment.

         B. Trademark Infringement

        123.    In copying and rekeying Plaintiffs’ Standards, Public Resource has also used in

 commerce a reproduction or copy of Plaintiffs’ registered trademarks in connection with the sale,

 offer for sale, distribution or advertising of goods or services.

        124.    Public Resource has used reproductions or copies of ASTM’s Marks in

 connection with the distribution of ASTM’s Standards. Attached as Exhibit G is an excerpt from

 an ASTM standard that Public Resource has posted on its website that contains a reproduction or

 copy of several of ASTM’s Marks.

        125.    Public Resource has used reproductions or copies of NFPA’s Marks in connection

 with the distribution of NFPA’s Standards. For example, attached as Exhibit H is an excerpt

 from an NFPA standard that Public Resource has posted on its website that contains a

 reproduction or copy of several of NFPA’s Marks.

        126.    Public Resource has used reproductions or copies of ASHRAE’s Marks in

 connection with the distribution of ASHRAE’s Standards. Attached as Exhibit I is an excerpt

 from an ASHRAE standard that Public Resource has posted on its website that contains a

 reproduction or copy of several of ASHRAE’s Marks.

        127.    Plaintiffs have not authorized Public Resource to use their trademarks, and use of

 Plaintiffs’ trademarks by Public Resource is likely to lead consumers to believe mistakenly that

 the standards displayed on Public Resource’s website are authentic, unaltered standards of each

 respective Plaintiff that meet Plaintiffs’ quality control standards, and/or that Plaintiffs have

 endorsed, approved, or are otherwise affiliated with Public Resource and/or its activities.




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        128.    Public Resource has implied and/or suggested to the public that Plaintiffs sponsor

 or endorse Public Resource’s posting of the standards by including a cover page before certain

 standards that states the name of the standards body that created the standard and contains an

 image of a seal of approval. The first page of Exhibit G provides an example of the cover page

 that Public Resource has added to certain of Plaintiffs’ Standards.

        129.    Many of Plaintiffs’ Standards that Public Resource has displayed and distributed

 on its website are not the current versions of the standards that have been published by the

 relevant Plaintiff. The copies that Public Resource has displayed and distributed on its website

 do not contain any notation that indicates that these standards are out-of-date. Absent a warning

 that a standard is not the most recent version, consumers are likely to be misled into believing

 that the versions of Plaintiffs’ Standards that are displayed on its website constitute current

 industry standards and/or are currently endorsed by the organization that created the standard.

        130.    Public Resource has retyped the text of some of Plaintiffs’ Standards and redrawn

 many of the graphics so that it could convert Plaintiffs’ Standards into different formats. Upon

 information and belief, in retyping and redrawing the information, Public Resource did not

 undertake the same quality control procedures that Plaintiffs use before they publish their

 standards to ensure that the published standards reflect the actual standards that the technical

 committees approved.

        131.    When posting unauthorized copies of Plaintiffs’ Standards on its website, Public

 Resource has included the relevant Plaintiff’s registered logo on each standard in addition to that

 Plaintiff’s name, which is more than is necessary to identify the SDO that authored the standard.

        132.    Public Resource’s actions have damaged and will continue to harm Plaintiffs,

 consumers, and the public in general.




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        133.    Public Resource’s continued unauthorized use of Plaintiffs’ trademarks is

 depriving Plaintiffs of the ability to control the use of their trademarks, which has caused and

 will continue to cause Plaintiffs to lose control over their brand identities, their goodwill and

 their reputations.

        134.    Mistakes Public Resource made in retyping or redrawing content from Plaintiffs’

 Standards could cause harm to consumers and/or the public in general, which would in turn

 cause harm to the reputation of the SDO that created that standard.

V.      DEFENDANT’S DESIRED OUTCOME WOULD DESTROY THE VIABILITY
        OF A SYSTEM THAT IS OPERATING EFFECTIVELY.

        135.    If Public Resource were to succeed in convincing the Court that the copyright

 covering a standard was destroyed when the government incorporates the standard by reference

 into regulations, the SDOs would lose their exclusive rights to copy and distribute their standards

 and create derivative works therefrom, and would be unable to charge fees to members of the

 industry or other interested persons who want copies of the standards.

        136.    Plaintiffs are not-for-profit entities. Plaintiffs underwrite the substantial costs of

 developing standards, in whole or in significant part, by relying on revenues made possible from

 the sales and licensing of their copyrighted standards to the audiences that consume them,

 primarily in the course of professional activities. Revenue from the sale or licensing of

 Plaintiffs’ copyrighted works yields a substantial part—and often the majority—of Plaintiffs

 ASTM’s, NFPA’s and ASHRAE’s operating revenues, with revenues from membership dues,

 contributions, and other sources usually trailing far behind.

        137.    Depriving Plaintiffs and other SDOs of this important, independent source of

 revenue would substantially diminish the quality of future standards, including those in the

 health and safety areas which are most suitable for use by government entities. To the extent that



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 Plaintiffs were able to continue their standards development activities without copyright

 revenues, they could be forced to rely on funding from interested parties, or to charge fees to

 participate in the process of developing the standards, which would inhibit the participation of

 small businesses, consumers, academics, and other important stakeholders in the standards

 development process.

        138.    If SDOs could no longer rely on the revenue derived from sales and licensing of

 their copyrighted standards to fund future standards work, they may also decrease the number of

 standards they develop, which would require the government to develop certain standards

 independently. However, the government lacks, among other things, the funds, the experience,

 and the technical expertise that would be needed to create standards that are comparable to those

 the SDOs develop.

        139.    As explained above, the development of standards is a complex and resource-

 intensive process that requires, among other things, a professional staff, the housing and

 administration of the process, planning and execution of committee meetings, and technology

 infrastructure that facilitates the collaboration and participation of a diverse membership. If the

 federal government were to develop standards independently, it could cost tax payers hundreds

 of millions of dollars, which would be diverted away from other mission-critical programs (or

 require higher taxes).

        140.    The government does not have experience and technical expertise that is

 comparable to those possessed by the SDOs and their members. The government also does not

 have the flexibility to update and revise standards at any time as do the SDOs, which would

 make it difficult for the government to react quickly to advances in technology and respond to

 other industry changes.




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        141.    Public Resource’s efforts to vitiate Plaintiffs’ copyright protection in their

 standards threatens to destroy the open, cooperative system that has functioned effectively for

 over a century. This system has allowed the government and the public to benefit from the

 adoption of high quality standards, which Plaintiffs make available to interested members of the

 public, while allowing SDOs to pay for their operating costs by charging reasonable fees to

 members of the public interested in downloading or obtaining hard copies of their standards.

                                        COUNT I
                                 COPYRIGHT INFRINGEMENT

        142.    Plaintiffs reallege and incorporate herein by reference Paragraphs 1 through 141

 of the Complaint as if fully set forth herein.

        143.    As alleged above, ASTM owns registered copyrights for the standards listed in

 Exhibit A.

        144.    As alleged above, NFPA owns registered copyrights for the standards listed in

 Exhibit B.

        145.    As alleged above, ASHRAE own registered copyrights for the standards listed in

 Exhibit C.

        146.    Plaintiffs’ Standards contain material that is wholly copyrightable subject matter

 under the laws of the United States.

        147.    The content of each of Plaintiffs’ Standards is original to the respective Plaintiff

 and includes a high degree of creativity. Each Plaintiff selected the words and drawings that it

 used to express the concepts underlying its standards from myriad options through which it could

 have expressed these concepts.

        148.    Notwithstanding Plaintiffs’ ownership of the original content in Plaintiffs’

 Standards, Public Resource purchased copies of Plaintiffs’ Standards and then made copies of



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 Plaintiffs’ Standards and displayed copies of the Plaintiffs’ Standards on its website without

 Plaintiffs’ consent. Public Resource also rekeyed some of Plaintiffs’ Standards and displayed

 copies of these standards on its website.

         149.      Public Resource had access to each of Plaintiffs’ Standards, which it has

 displayed in a form identical, or nearly identical, to that in which they appear in Plaintiffs’

 publications of these standards.

         150.      By copying the standards listed in Exhibits A, B, and C and displaying them

 online, Public Resource has infringed Plaintiffs’ copyright in each of Plaintiffs’ Standards,

 specifically the exclusive right of Plaintiffs to reproduce, distribute, display, and make derivative

 works of their copyrighted works under 17 U.S.C. §§ 106 (1), (2), (3) and (5). The infringement

 of each of Plaintiffs’ Standards constitutes a separate act of copyright infringement.

         151.      Public Resource’s conduct in copying, displaying, distributing, and creating

 derivative works of Plaintiffs’ Standards has been knowing, willful and/or intentional.

         152.      Public Resource has not added new expression, meaning, or insight to Plaintiff’s

 Standards. It has simply made unauthorized copies of Plaintiffs’ Standards and posted them

 online, sometimes in different electronic file formats.

         153.      Public Resource has copied, displayed, and distributed Plaintiffs’ Standards in

 their entirety.

         154.      Public Resource claims to be a non-profit corporation, but it stands to profit from

 the display and distribution of Plaintiffs’ Standards by driving traffic to its website, where it

 solicits donations, and by increasing its own profile in the media.

         155.      Public Resource’s display and distribution of Plaintiffs’ Standards on its website

 destroys the potential market for, and value of, Plaintiffs’ Standards. Members of the public will




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 not be willing to pay for Plaintiffs’ publications of their standards if unauthorized copies are

 available for free on Public Resource’s website. Moreover, by using Plaintiffs’ standards to

 drive traffic to its website, Public Resource diverts traffic away from Plaintiffs’ websites,

 depriving them not only of revenues related to web traffic but also of valuable opportunities to

 inform and educate visitors concerning important safety and other mission-related issues.

        156.    Public Resource’s copyright infringement has caused and will continue to cause

 irreparable harm to Plaintiffs for which there is no adequate remedy at law and Plaintiffs are

 entitled to and seek injunctive relief as a result thereof pursuant to 17 U.S.C. § 502.

                                    COUNT II
                      CONTRIBUTORY COPYRIGHT INFRINGEMENT

        157.    Plaintiffs reallege and incorporate herein by reference Paragraphs 1 through 156

 of the Complaint as if fully set forth herein.

        158.    Public Resources’ stated purpose of rekeying certain of Plaintiffs’ Standards and

 displaying them on its website in html format without Plaintiffs’ consent was to allow for

 members of the public to manipulate Plaintiffs’ Standards, including resizing of drawings as well

 as cutting and pasting formulas.

        159.    Public Resource knowingly displayed and distributed unlawful copies of

 Plaintiffs’ Standards with the intent to induce, enable, facilitate and/or materially contribute to

 others making unauthorized copies and derivative works of Plaintiffs’ Standards, and continues

 to do so.

        160.    On information and belief, given the express purpose of Defendant’s posting of

 Plaintiffs’ standards, it is likely that members of the public have accessed the copies of Plaintiffs’

 Standards that Public Resource displayed on its website and made copies of and/or derivative

 works based on Plaintiffs’ Standards.



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        161.    Public Resource’s contributory copyright infringement has caused and will

 continue to cause irreparable harm to Plaintiffs for which there is no adequate remedy at law.

                              COUNT III
      INFRINGEMENT OF REGISTERED TRADEMARKS UNDER 15 U.S.C. § 1114

        162.    Plaintiffs reallege and incorporate herein by reference Paragraphs 1 through 161

 of the Complaint as if fully set forth herein.

        163.    As alleged above, ASTM owns all rights, title and interest in the U.S. trademark

 registrations for the ASTM Marks.

        164.    As alleged above, NFPA owns all rights, title and interest in the U.S. trademark

 registrations for the NFPA Marks.

        165.    As alleged above, ASHRAE owns all rights, title and interest in the U.S.

 trademark registrations for the ASHRAE Marks.

        166.    In copying and displaying Plaintiffs’ Standards, Public Resource has used in

 commerce a reproduction or copy of Plaintiffs’ registered trademarks in connection with the sale,

 offer for sale, distribution or advertising of goods or services without Plaintiffs’ authorization or

 consent.

        167.    Public Resource’s use in commerce of trademarks that are confusingly similar,

 and indeed identical, to Plaintiffs’ registered trademarks is likely to cause confusion, to cause

 mistake and/or to deceive consumers as to the source, sponsorship, or origin of the standards

 Public Resource has posted on its websites.

        168.    The aforesaid acts of Public Resource constitute trademark infringement in

 violation of Section 32 of the Lanham Act, 15 U.S.C. §§ 1114.

        169.    The aforesaid acts of Public Resource have been and continue to be intentional,

 willful and in bad faith.



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          170.   Plaintiffs have been and are likely to be damaged by Public Resource’s infringing

 and unlawful acts.

          171.   The acts of Public Resource have caused and, unless enjoined by this Court, are

 likely to continue to cause Plaintiffs to suffer irreparable harm to their business, reputation and

 goodwill.

          172.   Plaintiffs have no adequate remedy at law and are entitled to and seek injunctive

 relief as a result thereof pursuant to 15 U.S.C. § 1116.

                             COUNT IV
  UNFAIR COMPETITION AND FALSE DESIGNATION OF ORIGIN UNDER 15 U.S.C.
                             § 1125(A)(1)

          173.   Plaintiffs reallege and incorporate herein by reference Paragraphs 1 through 172

 of the Complaint as if fully set forth herein.

          174.   As alleged above, ASTM owns all rights, title and interest in the ASTM Marks.

          175.   As alleged above, NFPA owns all rights, title and interest in the NFPA Marks.

          176.   As alleged above, ASHRAE owns all rights, title and interest in the ASHRAE

 Marks.

          177.   Each of the ASTM Marks, NFPA Marks, and ASHRAE Marks is distinctive

 and/or has acquired secondary meaning.

          178.   Plaintiffs have used their marks in commerce continuously and extensively in the

 United States for many years. As a result, the public associates each of Plaintiffs’ marks with the

 relevant Plaintiff and Plaintiffs have built up valuable goodwill in their respective trademarks.

          179.   Public Resource has used and continues to use Plaintiffs’ marks on its copies of

 and/or rekeyed versions of Plaintiffs’ Standards, without license or authorization from Plaintiffs.




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          180.   Public Resource’s use of the ASTM Marks, NFPA Marks, and ASHRAE Marks is

 likely to cause confusion, to cause mistake and/or to deceive consumers as to the affiliation,

 connection, or association of Public Resource with Plaintiffs and/or as to the origin, sponsorship

 or approval of the standards posted on Public Resource’s website.

          181.   The aforesaid acts of Public Resource have been and continue to be intentional,

 willful and in bad faith.

          182.   Plaintiffs have been and are likely to be damaged by Public Resource’s infringing

 and unlawful acts.

          183.   The acts of Public Resource have caused and, unless enjoined by this Court, are

 likely to continue to cause Plaintiffs to suffer irreparable harm to their business, reputation and

 goodwill.

          184.   Plaintiffs have no adequate remedy at law and are entitled to and seek injunctive

 relief as a result thereof.

                                   COUNT V
                  TRADEMARK INFRINGEMENT UNDER COMMON LAW

          185.   Plaintiffs reallege and incorporate herein by reference Paragraphs 1 through 184

 of the Complaint as if fully set forth herein.


          186.   As described above, ASTM owns all rights, title and interest in and to the ASTM

 Marks.

          187.   As described above, NFPA owns all rights, title and interest in and to the NFPA

 Marks.

          188.   As described above, ASHRAE owns all rights, title and interest in and to the

 ASHRAE Marks.




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         189.    The ASTM Marks, NFPA Marks, and ASHRAE Marks are distinctive and

 Plaintiffs have built up valuable goodwill in their respective trademarks.

         190.    Public Resource’s use of the ASTM Marks, NFPA Marks, and ASHRAE Marks

 infringes Plaintiffs’ rights therein and is likely to cause confusion, to cause mistake and/or to

 deceive consumers as to the source, sponsorship and origin of the standards posted on Public

 Resource’s website.

         191.    The aforesaid acts of Public Resource constitute trademark infringement in

 violation of common law.

         192.    The aforesaid acts of Public Resource have been and continue to be intentional,

 willful and in bad faith.

         193.    Plaintiffs have been and are likely to be damaged by Public Resource’s infringing

 and unlawful acts.

         194.    The acts of Public Resource have caused and, unless enjoined by this Court, are

 likely to continue to cause Plaintiffs to suffer irreparable harm to their business, reputation and

 goodwill.

         195.    Plaintiffs have no adequate remedy at law and are entitled to and seek injunctive

 relief as a result thereof.

                                      PRAYER FOR RELIEF

         Wherefore, Plaintiffs pray for judgment against Defendant as follows:

         (1)     That Defendant, its officers, agents, servants, employees and attorneys, and all

 those in active concert with it or in participation with it, be permanently enjoined from all further

 unauthorized reproduction of any standards published by Plaintiffs, preparation of derivative




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 works based upon any standards published by Plaintiffs, and distribution of copies of any

 standards published by Plaintiffs by any means or method.

        (2)      That Defendant, its officers, agents, servants, employees and attorneys, and all

 those in active concert with it or in participation with it, be permanently enjoined from the

 unauthorized use of the ASTM Marks, NFPA Marks, and/or ASHRAE Marks, as well as any

 colorable imitations thereof or confusingly similar marks.

        (3)      That the Defendant be directed to file with the Court and serve upon Plaintiffs,

 within 30 days after entry of final judgment, a report in writing and under oath setting forth in

 detail the manner and form by which Defendant has complied with the provisions set forth in

 Paragraphs 1 and 2 of this Prayer for Relief.

        (4)      That Plaintiffs be entitled to recover their reasonable attorneys’ fees, costs of suit

 and interest.

        (5)      That Plaintiffs be awarded any and all such other and further relief as this Court

 shall deem just and proper.




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 Dated: August 6, 2013         Respectfully submitted,

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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

 AMERICAN SOCIETY FOR TESTING
 AND MATERIALS d/b/a/ ASTM
 INTERNATIONAL;

 NATIONAL FIRE PROTECTION
 ASSOCIATION, INC.; and

 AMERICAN SOCIETY OF HEATING,
                                          Case No. 1:13-cv-01215-TSC
 REFRIGERATING, AND AIR
 CONDITIONING ENGINEERS,

                  Plaintiffs/
                  Counter-Defendants,

 v.

 PUBLIC.RESOURCE.ORG, INC.,

                  Defendant/
                  Counter-Plaintiff.

           PLAINTIFF NATIONAL FIRE PROTECTION ASSOCIATION, INC.’S
             OPPOSITION TO MOTION TO COMPEL DISCOVERY




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 I.      INTRODUCTION

         Defendant Public.Resource.Org, Inc. (“Public Resource”) has rushed into court with a

 motion to compel that is premature and in clear violation of this Court’s rules. For that reason

 alone, the motion should be denied. The parties have been negotiating over the scope and burden

 of each other’s discovery requests, a process that was ongoing when Public Resource filed the

 present motion without any prior notice to Plaintiff National Fire Protection Association, Inc.

 (“NFPA”). The Court’s rules sensibly forbid this ambush strategy, to avoid burdening the Court

 and the parties with motion practice until it is clear that common ground cannot be reached. In

 an additional violation of the Court’s rules, Public Resource failed to submit a statement that the

 required discussion with NFPA occurred prior to the filing of this motion—a statement it could

 not make, since such discussion never occurred.

         Even if this Court were inclined to disregard Public Resource’s failure to comply with the

 Court’s rules, its motion should be denied on the merits. Public Resource’s discovery requests

 are overbroad and seek to impose onerous discovery burdens on NFPA without any reasonable

 expectation that they will lead to the discovery of relevant or admissible evidence. The burden

 outweighs any potential benefit.1

 II.     BACKGROUND

         Plaintiffs are three not-for-profit organizations that develop private-sector standards to

 advance public safety, ensure compatibility across products and services, facilitate training, and

 spur innovation. Dkt. 1 ¶ 1. For example, NFPA develops the National Electrical Code, which

 helps ensure that electrical systems are installed safely and in a consistent manner. The

 standards developed by Plaintiffs are original works protected from infringement under the


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  NFPA understands that co-Plaintiffs will also be filing response briefs in opposition to Public Resource’s motion to
 compel, and NFPA respectfully joins in those oppositions.


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 Copyright Act. Government entities frequently incorporate these private standards by reference

 in statutes, regulations, or ordinances. Id. The process of developing standards is costly, and

 Plaintiffs rely on revenues from the sales and licensing of their copyrighted standards to help

 underwrite those costs. Id. ¶ 136. Plaintiffs brought this copyright and trademark action to stop

 Defendant Public Resource from copying Plaintiffs’ copyrighted standards, posting the standards

 in their entirety on its public website, and encouraging the public to disregard Plaintiffs’

 copyrights and copy, distribute, and create derivative works of the standards. Id. ¶ 3.

        The parties have been engaged in discovery for the last several months. The parties had

 extensive telephonic meet-and-confers, on April 21 and May 7, 2014. On May 23, NFPA

 responded to several of Public Resource’s concerns regarding NFPA’s discovery responses and

 proposed reasonable accommodations with respect to many of them. Notwithstanding Public

 Resource’s sudden rush into Court now, for several months Public Resource sat silent. Having

 received no response from Public Resource, on August 22 NFPA sent a further letter to Public

 Resource noting that NFPA could not complete its document collection and production efforts

 until Public Resource responded to its May 23 letter; NFPA requested a response from Public

 Resource within two weeks, or by September 5. Declaration of Kathleen Lu (Dkt. 41-2) (“Lu

 Decl.”), Ex. 12. On September 5, Public Resource sent a letter in response, which responded to

 NFPA’s proposals by accepting some portions of them and making counter-proposals on others.

 Lu Decl. Ex. 14. Neither this letter nor any previous communication from Public Resource

 makes any mention of any potential motion. Id. Less than two weeks later on September 15—

 while NFPA was preparing its response to Public Resource’s letter, including potential areas of

 further compromise—Public Resource filed this motion to compel.




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        Before filing this opposition, Plaintiffs emailed Public Resource to notify it of its failure

 to comply with the Local Rules, asking Public Resource to withdraw its motion and offering to

 meet and confer on the issues raised by the motion. Declaration of M. Andrew Zee Ex. 2.

 Public Resource declined to withdraw its motion, instead insisting that Plaintiffs either agree not

 to oppose the motion or identify the issues which they believed the parties could narrow. Id. In

 response, Plaintiffs again explained that they believed the parties could reach resolution on the

 issues raised by the motion, and asking Public Resource to withdraw its motion and meet and

 confer on these issues, as required by the Local Rules. Id. Public Resource declined this further

 invitation. Id.

 III.   ARGUMENT

        A.         Public Resource Failed to Comply with the Local Rules, Which Are Designed
                   to Encourage Parties to Attempt to Resolve Their Discovery Disputes Before
                   Burdening the Court.

        The Local Rules require that, “[b]efore filing any nondispositive motion in a civil action,

 counsel shall discuss the anticipated motion with opposing counsel in a good-faith effort to

 determine whether there is any opposition to the relief sought and, if there is, to narrow the areas

 of disagreement.” Local Rule 7(m). The same rule additionally requires a party to “include in

 its motion a statement that the required discussion occurred, and a statement as to whether the

 motion is opposed.” Id.

        Public Resource has complied with neither of these requirements. As noted, the parties

 have met and conferred and exchanged several discovery letters over the last several months.

 NFPA consistently expressed its desire to “reach[] amicable resolutions on the range of

 discovery issues that will allow the parties to litigate this action,” and made a number of

 compromise proposals to that end. Lu Decl. Ex. 12, at 8. The latest discovery communication

 from Public Resource to NFPA was a letter on September 5, 2014, sent two weeks after NFPA

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 provided its own proposals, in which Public Resource accepted some portions of them and made

 counter-proposals on others. Lu Decl. Ex. 14. Less than two weeks later, while NFPA was in

 the process of formulating its responses and further areas of compromise, Public Resource filed

 this motion. Neither its September 5 letter nor any previous communication from Public

 Resource makes any mention of any potential motion. Id.

        Such action is plainly insufficient to comply with the Local Rule. “Because the Rule

 seeks to promote actual resolution of nondispositive disputes, its focus is on substance, not form,

 and thus ‘[t]he obligation to confer may not be satisfied by perfunctory action, but requires a

 good faith effort to resolve the nondispositive disputes that occur in the course of litigation.’”

 U.S. ex rel. K & R Ltd. P'ship v. Massachusetts Hous. Fin. Agency, 456 F. Supp. 2d 46, 52

 (D.D.C. 2006) (quoting United States ex rel. Pogue v. Diabetes Treatment Centers of America,

 235 F.R.D. 521, 529 (D.D.C. 2006)). Dismissal of this motion will permit the parties to continue

 to discuss their differences over the discovery issues in the case and to appropriately narrow the

 range of disagreement, should any such disagreement ultimately need to be presented to the

 Court. See, e.g., Ellipso, Inc. v. Mann, 460 F. Supp. 2d 99, 102 (D.D.C. 2006) (“The purpose of

 the Local Rule is to promote the resolution of as many litigation disputes as possible without

 court intervention, or at least to force the parties to narrow the issues that must be brought to the

 court. … If a party files a nondispositive motion without certifying its compliance with Rule

 7(m), the motion will be denied.”).

        B.      In the Alternative, Public Resource’s Motion Should be Denied on the Merits

                1.      Collecting Licensing Agreements Beyond what NFPA Has Already
                        Agreed to Produce Would be Unduly Burdensome

        Public Resource’s first request is that NFPA produce “[a]ll documents constituting,

 comprising, or concerning licenses with respect to any Work-At-Issue.” Mot. 4. Public


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 Resource misrepresents the position that NFPA has taken regarding this request. NFPA has

 agreed to conduct a reasonable search and produce the current version of any license agreements

 relating to the standards at issue contained in NFPA’s contracts database, as well as any

 responsive documents in NFPA’s SharePoint database of copyright permission letters. Lu Decl.

 Ex. 12, at 3. As explained in the declaration of Dennis Berry that accompanies this opposition, it

 would be unduly burdensome for NFPA to collect any additional documents beyond the

 permissions and licenses contained in its primary databases. Declaration of Dennis J. Berry

 (“Berry Decl.”) ¶¶ 4, 7. Older versions of licenses and copyright permissions are not centrally

 stored or filed, and in many cases are not stored electronically at all; retrieving these documents

 would impose a significant burden. Id.

        Nor would such an effort serve any purpose in this case. There is no reason why Public

 Resource would need NFPA to take extraordinary measures to identify and produce outdated

 licenses and years-old copyright permissions. In its motion, Public Resource contends that

 license agreements are relevant to the question of how much revenue NFPA receives from

 licensing its standards, and to the question of whether NFPA is engaged in any licensing that

 violates public policy. Mot. 5. These issues relate to NFPA’s current licensing practices, not to

 long-expired licensing practices. The current versions of license agreements and recent

 copyright permissions are the only documents that are relevant to the issues identified by Public

 Resource in its motion. Public Resource has never responded to NFPA’s proposal on this issue,

 nor has Public Resource explained why the production actually offered by NFPA would be

 insufficient. To the extent that Public Resource seeks additional discovery beyond the

 reasonable approach outlined by NFPA, its motion should be denied. See Fed. R. Civ. P.

 26(b)(2) (“[T]he court must limit the … extent of discovery otherwise allowed by these rules …



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 if it determines that … the burden or expense of the proposed discovery outweighs it likely

 benefit.”). At a minimum, the Court should permit the parties to continue to meet and confer on

 this issue to determine whether a reasonable compromise can be reached.

                2.     Collecting Each Individual Assignment of Rights Agreement Would
                       be Unduly Burdensome and Serve No Purpose in this Litigation

        Public Resource seeks agreements between NFPA and persons who participated in the

 standards process. As NFPA has consistently explained to Public Resource, NFPA requires all

 persons who participate in the standards process to fill out NFPA’s standard form assigning all

 rights in the final work to NFPA. Lu Decl. Ex. 12, at 10. As explained in the Declaration of

 Christian Dubay that accompanies this opposition, NFPA does not accept comments or

 contributions without receiving an assignment of rights from the contributor. Declaration of

 Christian Dubay (“Dubay Decl.”) ¶ 3. The assignment of rights is invariably executed via the

 standard form agreement that NFPA has agreed to produce, with extremely isolated exceptions.

 Id. ¶ 4. And NFPA’s Reports on Proposals (or “ROPs), and Reports on Comments (or “ROCs”),

 which NFPA already has produced, identify the names of all individuals who submit comments

 and proposals after executing the standard-form assignment of rights. Lu Decl. Ex. 12, at 10.

        Public Resource’s motion is not entirely clear, but it appears to contemplate the

 production of every single executed assignment form. Such production would be extremely

 burdensome and would serve no purpose in this litigation. Because NFPA collects assignments

 of rights on standard forms, and does not accept contributions without accompanying

 assignments of rights, production of the standard form is sufficient to enable Public Resource to

 assert any claims or defenses based on the effectiveness of this assignment. It is unreasonable

 for Public Resource to insist that NFPA must produce the actual copies of the thousands of

 individual forms, many of which are not stored electronically but are held in a physical location.


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 Dubay Decl. ¶¶ 5-6. These documents would be extremely burdensome to collect, review, and

 produce—and such production would serve no purpose because the documents are all identical.2

         Moreover, Public Resource offers only speculation to justify this request, suggesting

 without any basis that it seeks to investigate “any defects that may be present in an individual

 assignment.” Mot. 7. This is a fishing expedition of the sort that courts routinely deny. See,

 e.g., Harris v. Koenig, 271 F.R.D. 356, 369 (D.D.C. 2010) (denying motion to compel where

 parties sought “a large amount of information based on the theoretical foundation that there is a

 possibility that they might find a conflict of interest”). This request is especially unreasonable

 because Public Resource does not claim that any purported author has objected to NFPA’s

 assertion of copyright in the works at issue (nor, of course, does Public Resource itself claim to

 be the author of the works at issue). Under these circumstances, Public Resource lacks any

 good-faith basis to assert lack of copyright ownership as a third-party defense on behalf of others

 who have not objected to NFPA’s copyrights. Cf. Law Enforcement Training & Research

 Assocs. v. City & Cnty. of San Francisco, 90-15482, 1991 WL 172416, at *1 (9th Cir. Sept. 4,

 1991) (noting that courts should give extra scrutiny to a copyright defendant’s claim that the

 plaintiff lacks copyright ownership when this claim is invoked “solely as a third party defense

 and the asserted copyright holder has knowingly acquiesced to the plaintiff's commercial use of

 the work”). Public Resource’s motion should be denied.




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  If the Court were to decide that Public Resource is entitled to inspect each and every assignment of rights, NFPA
 would propose that it make the physical records available for Public Resource’s inspection, rather than using the
 parties’ resources to produce copies of these materials. See White v. U.S. Catholic Conference, CIV.A.97-
 1253TAF/JMF, 1998 WL 429842, at *4 (D.D.C. May 22, 1998) (“Fed. R. Civ .P. 34 requires only that the
 documents be made available for inspection and copying.”).

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                3.      NFPA Has Agreed to Produce Appropriate Information About its
                        Finances

        Public Resource requests documents “sufficient to identify all Contributions in support of

 the Standards Process of each Work-At-Issue.” Mot. 7. Again, Public Resource misrepresents

 NFPA’s position on this topic, inaccurately asserting that NFPA “has agreed to produce only

 ‘Reports on Proposals,’ or ‘ROPs’, and ‘Reports on Comments’, or ‘ROCs’, neither of which

 provide any information relating to financial contributions.” Mot. 9. In the very letter that

 Public Resource cites for this assertion, NFPA actually said that it “will produce its annual, year-

 end financial reports for the past five years.” Lu Decl. Ex. 6, at 12. These financial statements

 are more than adequate to provide the information sought by Public Resource through this

 discovery request, such as the fact that NFPA depends heavily on licensing revenue from its

 copyrighted works at issue in this case.

        As NFPA further noted in its Objections to Public Resource’s Request for Production, the

 language of Public Resource’s request is vague and overly broad. Id. The definition of

 Contributions could be interpreted to cover every expenditure made in connection with the

 process of developing 22 lengthy copyrighted works. There is no need for such exhaustive

 review of the day-to-day financial operations of NFPA—the financial statements will provide

 Public Resource with ample information regarding the sources of NFPA’s overall revenues and

 expenses, and Public Resource will be free to request additional, more specific information

 should it identify particular areas where it believes more information is necessary. The motion

 should be denied with respect to this request.

                4.      The Court Should Permit NFPA to Exclude Documents Relating to
                        this Litigation From Production

        Public Resource seeks documents “relating to this litigation or the possibility of taking

 legal action against Public Resource or its principal Carl Malamud.” Mot. 9. NFPA has agreed

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 to conduct a reasonable search for documents referring to Public Resource or to Mr. Malamud,

 but has proposed excluding documents related to this lawsuit or the possibility of bringing this

 lawsuit from its production. Given that such documents are overwhelmingly privileged, courts

 routinely permit parties to exclude from production entire categories of documents that were

 prepared during litigation or in anticipation of litigation. See, e.g., Arista Records LLC v. Lime

 Grp. LLC, 06 CV 5936 KMW, 2011 WL 813481, at *5 (S.D.N.Y. Feb. 28, 2011) (imposing

 limits on party’s request to require opposing party to review documents referring to that party

 because “such a review is likely to involve communications that occurred during the pendency of

 this lawsuit and center on the subject of this lawsuit”); S.E.C. v. Thrasher, 92 CIV. 6987 (JFK),

 1996 WL 125661, at *1 (S.D.N.Y. Mar. 20, 1996) (denying party’s request for “production of all

 communications between defense counsel concerning the lawsuit”); In re Imperial Corp. of Am.,

 174 F.R.D. 475, 476, 479 (S.D. Cal. 1997) (permitting party “to assert privilege and work-

 product protections on a categorical basis,” which included party’s request to categorically

 exclude any documents that were “prepared to assist in anticipated or pending litigation”).

 Public Resource also is misguided in its assertion that a document-by-document privilege log is

 always required. Courts regularly affirm the assertion of privilege based on a description of

 categories of documents rather than a document-by-document list, when creation of a more

 detailed privilege log would have little benefit and would be “overly burdensome.” Imperial,

 supra, 174 F.R.D. at 479; S.E.C. v. LovesLines Overseas Mgmt., Ltd., Misc. No., 04-

 302RWRAK, 2007 WL 581909, n. 5 (D.D.C. Feb. 21, 2007).

        At a minimum, Public Resource’s motion on this point is premature. The documents

 Public Resource submits in support of its motion reveal that the parties are still in the process of

 negotiating over custodians of documents to be searched, search terms to be applied, and date



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 ranges for production of documents. See, e.g., Lu Decl. Exs. 12, 14. Once these issues have

 been resolved, NFPA will be in a better position to assess the burden of logging each and every

 document that refers to this litigation.

                5.      Information Regarding Legal Authorities that Incorporate NFPA’s
                        Standards is Just As Available to Public Resource as to NFPA

        Public Resource next argues that NFPA should be required to produce documents

 “sufficient to identify every Legal Authority that incorporates each Work-at-Issue, either

 expressly or by reference.” Mot. 11. This request is improper because it pertains entirely to

 information that is in the public domain, and that is equally available to Public Resource as it is

 to NFPA. Nonetheless, NFPA has agreed to produce the current version of its internal database

 that tracks instances of incorporation by reference. Lu Decl. Ex. 12, at 10. NFPA generally

 monitors incorporation of its standards by means of this database, but cannot guarantee that it has

 necessarily been made aware of every last jurisdiction to have incorporated part or all of an

 NFPA standard. Id. To the extent that Public Resource is demanding that NFPA conduct

 additional inquiries to determine whether there are instances of incorporation by reference not

 captured by its database, this amounts to a request that NFPA conduct legal research on Public

 Resource’s behalf. NFPA should not be responsible for searching for publicly available

 information about the laws of states and municipalities across the country. Collecting this

 information would be just as burdensome for NFPA as for Public Resource.

                6.      NFPA’s ROPs and ROCs Fully Address Public Resource’s Requests

        Finally, Public Resource argues that NFPA’s ROPs and ROCs are not sufficiently

 responsive to several of Public Resource’s document requests. This argument appears to be

 based on Public Resource’s misunderstanding of the contents of the ROPs and ROCs. Public

 Resource incorrectly asserts that these documents are “simply summaries” of the comments and


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 input that go into the development of NFPA standards. Mot. 13. That is incorrect. The ROPs

 and ROCs function as comprehensive records of the standards development process. Dubay

 Decl. ¶ 9. These documents compile and reproduce every proposal and every comment that is

 received when the standards are being developed. Id. ¶ 10. These documents also identify the

 individuals or entities that submitted each comment or proposal. (In some cases, multiple

 entities submit the same proposal, generally as part of a letter-writing campaign. In instances

 like this, the ROP reproduces the proposal along with a list of the submitters.) Id. ¶11. The

 ROPs and ROCs further identify the members of each committee that worked on the proposals,

 and detail the votes of the committees on each proposal. These are voluminous and

 comprehensive documents. For example, for the 2011 version of NFPA’s largest standard, the

 National Electrical Code (“NEC”), the ROP is 1209 pages and the ROC is 689 pages.3

         Public Resource does not identify any actual deficiencies in the responsiveness of

 NFPA’s production, nor does it identify any information that it seeks that is not found in these

 documents. Public Resource simply demands further documents without reason. Moreover, it

 would be highly burdensome for NFPA to collect, review, and produce further documents

 beyond the ROPs and ROCs. Because the ROPs and ROCs are intended to serve and do serve as

 the complete record of proceedings for NFPA standards development, NFPA does not actively

 maintain additional records in a manner that is easily accessible. For all standards revisions prior

 to 2010, the underlying committee materials are not stored electronically, but are kept physically.

 Dubay Decl. ¶ 14. Collecting these documents would involve physically gathering, reviewing

 and copying tens of thousands of pages of materials. Id. ¶ 15. Gathering all these documents

 would serve no purpose when the ROPs and ROCs provide the comments and proposals, the


 3
  These documents are publicly available at http://www nfpa.org/assets/files/AboutTheCodes/70/70-A2010-ROP.pdf
 and http://www nfpa.org/assets/files/AboutTheCodes/70/70-A2010-ROC.pdf .

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 identities of the submitters, and the committee comments and votes on each comment and

 proposal.

        For standards development since 2010, NFPA does have electronically stored versions of

 the underlying documents. Id. But reviewing and producing these thousands of pages of

 documents would still take a significant amount of resources and time and would serve no

 purpose in this litigation, given that the actual record of proceedings captured in the ROPs and

 ROCs provides all the information sufficient to inform Public Resource about the categories of

 information it seeks. See Lu Decl. Ex. 6 (Public Resource Request No. 4 seeks “Documents

 sufficient to identify all Contributions in support of the Standards Process of each Work-at-

 Issue”; Requests Nos. 12, 13, and 15 seek documents concerning Contributions and offers of

 Contributions to the Standards Process for each Work-at Issue).

 IV.    CONCLUSION

        The Court should deny Public Resource’s motion.




                                                 12

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 Dated: October 2, 2014       Respectfully submitted,


                              /s/ Kelly Klaus

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                                 CERTIFICATE OF SERVICE


        I hereby certify that a true and correct copy of the foregoing Opposition to Public

 Resource’s Motion to Compel was served this 2nd day of October, 2014 via CM/ECF upon the

 following:

 Counsel for Public.Resource.Org, Inc.:

 Andrew Bridges

 Kathleen Lu

 David Halperin

 Mitchell L. Stoltz

 Corynne McSherry

 Joseph Gratz

 Mark Lemley

 Counsel for American Society for Testing and Materials d/b/a ASTM International:

 Michael F. Clayton

 J. Kevin Fee

 Jordana S. Rubel

 Counsel for American Society of Heating, Refrigerating, and Air Conditioning Engineers:

 Jeffrey Bucholtz

 Kenneth Steinthal

 Joseph Wetzel

 Andrew Zee


                                              _/s/ Thane Rehn______
                                                 Thane Rehn




                                              JA137
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                                 · UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLUMBIA

 AMERICAN SOCIETY FOR TESTING
 AND MATERIALS d/b/a/ ASTM
 fNTERNATIONAL;

 NATIONAL FIRE PROTECTION
 ASSOCIATION, INC.; and

 AMERICAN SOCIETY OF HEATfNG,
                                                     Case No. l :13-cv-01215-EGS
 REFRJGERATING, AND AIR
 CONDITIONING ENGINEERS,

                          Plaintiffs/
                          Counter-Defendants,

 v.
 PUBLIC.RESOURCE.ORO, INC.,

                          D efendant/
                          Counter-Plaintiff.

                     DECLARATION OF CHRISTIAN DUBAY ·
      IN SUPPORT OF PLAINTIFF NATIONAL FIRE PROTECTION ASSOCIATION

          I , Christian Dubay, declare as follows:

              1.   I am Vice President, Codes and Standards, and Chief Engineer for Plaintiff

 National Fire Protection Association (''NFPA"). My duties include managing and administering

 the NFP A standards. development process. I have held this position since 2007. The following

 facts are based upon my own personal knowledge, and if called upon to do so, I could and would

 testify competently hereto.

          2.       I understand that Public Resource has requested production of the assigrunents of

 rights from persons who participated in the standards development processes for the standards at

 issue in this case. I also understand that Public Resource has asked the Court to compel

 production of these documents .



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                                                 JA116
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··--- - - - - ····-s·.-- ·- The ·NFPA does not accept comments or proposals in the standards development

       process without receiving an assigmnent of rights from the contributor. In addition, the NFPA

       requires persons who sit on committees in the standards development process to execute an

       assignment of rights. ·

                   4.   The NFPA generally requires all assigmnents ofrigbts to be executed on its

       standard form agreement. In all my time at NFPA, I am aware of only one instan.c e in which a

       contributor to a NFPA standard did not use the standard form to assign his rights to the NFPA;

       however, this individual was required to assign all rights to NFPA.

                   5.   Prior to 2010, the signed assignment forms were submitted physically by

       contributors. These documents are physically stored by the NFPA, as part of the paper and

       microfilm records from the standards development process from each standard. These records

       are voluminous and as a result ~orne are stored offsite. For example, the records for one round of

       the National Electrical Code standards development process typically fill over 30 file boxes.

       Vv'hen all the standards at issue in the case are considered, the total amount of paper records

       would number in the hundreds of boxes and run to tens of thousands of pages.

                   6.   Producing the physical copies of the executed assigrunent of rights forms would

       be an onerous and burdensome undertaking. This would require physically retrieving the paper

      and microfilm records, and reviewing these to identify the assignments of rights forms. This

      would take more than a thousand hours of staff time.

               7.       For standards development since 2010, the records are stored electronically.

      These records are similarly voluminous to the pre-20 l O records, and reviewing them to identify

      assignments of rights forms would require a similar amount of effort and staff time.




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·--···· - - --- ···8·:··· · ·-- I-understand that Public Resource has also asked for documents sufficient to

        identify the contributions in support of the standards at issue in this case, as well as documents

        concerning contributions and offers of contributions to the standards process for the standards at

       . issue in this case.

                   9.    The NFPA Reports on Proposals ("ROPs") and Reports on Comments ("ROCs")

        provide sufficient information to answer these requests. These reports function as

        comprehensive records of the standards development process, including the identities of all

        contributors to the process.

                   10.   The ROPs and ROCs compile and reproduce every proposal and every comment

        that is received or developed when the standards are being revised or developed. These

        documents also identify the individuals or entities that made each proposal or comment.

                   11.   When multiple entities submit the identical proposal or comment, such as through

        a letter-writing campaign, the ROP or ROC prints that proposal or comment along with the

        identities of those who submitted it.

                   12.   The ROPs and ROCs also iden~ify the members of each committee involved in

       the standards development process and the votes of the committee on each.proposal and

       comment.

                13.      While there are additional documents used in the standards development process,

       such as agendas, minutes, sign in sheets, and materials distributed at the meetings, the

       information in these documents is generally duplica6ve of the information that is ultimately

       compiled in the ROPs ·and ROCs.

                   14.   For standards developments that took place prior to 2010, documents beyond the

       ROPs and ROCs are physically stored, in a site separate from the NFPA headquarters, in either



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···- - --paper·or··micrnfilm-copies;-Fcwthe-standards development processes since 20 I 0, the documents ··-···'"· ·

       are stored electronically. These documents are extremely voluminous, as described above in

       paragraph 5.

                   15.   Producing these records would be an extremely onerous task. Transporting the

       physical document~ to a site where they can be reviewed, reviewing them and copying them for

       production would take a significant amount of cost and staff time. In addition, reviewing the

       electronic records from the post-2010 time period would be extremely burdensome and time-

       con~uming, given the volume of the documents.




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... .... ·--   -·--- - - -
                             I declare under penalty of perjury under the laws of the United States that the foregoing is

                 true and correct.

                 Executed on September3V, 2014




                24652454.2                                           5

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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

 AMERICAN SOCIETY FOR TESTING
 AND MATERIALS d/b/a/ ASTM
 INTERNATIONAL;

 NATIONAL FIRE PROTECTION
 ASSOCIATION, INC.; and

 AMERICAN SOCIETY OF HEATING,
                                          Case No. 1:13-cv-01215-TSC
 REFRIGERATING, AND AIR
 CONDITIONING ENGINEERS,

                  Plaintiffs/
                  Counter-Defendants,

 v.

 PUBLIC.RESOURCE.ORG, INC.,

                  Defendant/
                  Counter-Plaintiff.

      PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR MOTION FOR
           SUMMARY JUDGMENT AND FOR A PERMANENT INJUNCTION




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        Defendant’s theory is flatly wrong, both on the facts and as a matter of basic copyright

 law. There is no legitimate factual dispute that Plaintiffs own 100% of the Works as the

 organizational authors who oversee the development of the Works, see Veeck v. Southern Bldg.

 Code Cong. Int’l, Inc., 293 F.3d 791, 794 (5th Cir. 2003) (en banc), and because all contributors

 are either employees of Plaintiffs or are required to assign the copyright in their contributions to

 Plaintiffs. Prior to filing this lawsuit, Defendant itself had no quarrel with that proposition. It

 readily and publicly admitted that Plaintiffs authored the Works. SUMF ¶¶ 205-06. What is

 more, neither Plaintiffs nor Defendant is aware of a single person or entity — anywhere — other

 than Plaintiffs that has ever claimed to have any ownership interest in any of the Works. SUMF

 ¶¶ 26, 122, 145, 170.

        For purposes of this case and this motion, however, Plaintiffs do not have to own the

 copyright in 100% of the Works. Although Plaintiffs do in fact own 100%, as a matter of law

 each Plaintiff need only have a co-ownership of the copyright in order to sue Defendant for

 infringement. Davis v. Blige, 505 F.3d 90, 98 (2d Cir. 2007). In other words, to rebut the

 presumption of ownership the certificates create, Defendant cannot simply show that 1%, 50% or

 even 75 % of the copyright in a Work is owned by someone other than the Plaintiff listed in the

 certificate. Defendant has to show that 100% of the copyright is owned by other parties.

        Defendant cannot come close to meeting that burden. The undisputed evidence shows

 that each work is a “joint work,” i.e., “a work prepared by two or more authors with the intention

 that their contributions be merged into inseparable or interdependent parts of a unitary whole.”

 17 U.S.C. § 101. “The essence of joint authorship is a joint laboring in furtherance of a

 preconcerted common design.” 1 Melville B. Nimmer & David Nimmer, Nimmer on Copyright

 § 6.03 (Matthew Beneder & Co. 2015). The authors to a single work can be joint authors even if




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 their contributions are unequal. Id. at § 6.07; Maxwood Music Ltd. v. Malakian, 713 F. Supp. 2d

 327, 344 (S.D.N.Y. 2010). At a minimum, the Works are quintessential joint works, having been

 drafted, edited, and revised all for the common purpose of creating an integrated, unified

 standard. SUMF ¶¶ 30, 33, 34, 36, 109, 114, 117, 135-37.

        Each of the co-authors of a joint work owns the copyright in the complete work and, in

 the absence of any assignment of those rights, can exercise any of the rights of ownership,

 including bringing a suit for infringement of the copyright by a third party and assigning its

 copyright to another person. Davis, 505 F.3d at 98 (likening co-ownership of copyright to

 tenancy in common); Brownmark Films, LLC v. Comedy Partners, 800 F. Supp. 2d 991, 997

 (E.D. Wis. 2011) (assignee not required to have been assigned copyright by all co-owners of a

 copyright to have standing to sue for infringement). As noted, the undisputed evidence

 demonstrates that Plaintiffs own not just 1% but all or substantially all of the copyright in each of

 their respective Works. Some of the thousands of contributors of copyrighted expression to each

 Plaintiff’s Works worked for that Plaintiff and made his/her contributions in the course and

 scope of his/her employment responsibilities, i.e., that person’s contribution was a “work made

 for hire.” See 17 U.S.C. § 201(b); Roeslin v. District of Columbia, 921 F. Supp. 793, 797 (D.D.C.

 1995); SUMF ¶¶ 34-35, 117, 137-39, 141. Additionally it is the policy of each Plaintiff to obtain

 written copyright assignments from each contributor to the Works, see 17 U.S.C. § 201(d)(2),

 and Plaintiffs in fact obtained these assignments from the contributors. SUMF ¶¶ 18-25; 112-15,

 143-44. And, as a third-party challenger without any claim to ownership of the copyrights at

 issue, Defendant does not have standing to attack the validity of assignments from contributors

 to Plaintiffs. See, e.g., Billy-Bob Teeth v. Novelty, Inc., 329 F.3d 586, 592-93 (7th Cir. 2003)

 (alleged infringer did not have standing to challenge the assignment of a copyright when the




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        With respect to the HTML materials Defendant published, Defendant instructed HTC

 Global to “double-key” the standards, which means that two operators independently type the

 text and then compare the two versions, instead of using a more accurate, but more expensive,

 “triple-key” methodology in which three independent operators would have typed the text.

 SUMF ¶190. By taking the cheaper route, Defendant knew that there could be up to 49 errors on

 a typical two and a half page document. SUMF ¶ 191.4 Additionally, the rekeying was done by

 non-native English speakers in India with no technical expertise. SUMF ¶ 194. Similarly,

 Defendant hired Mr. Malamud’s wife’s company, Point.B Studio, which used unpaid children

 from a “mentoring program” whose target audience was 7-14 years old to convert formulas to

 MathML and drawings to SVG format for use on materials posted on Defendant’s website.

 SUMF ¶¶ 199-200.

        Not surprisingly, like the PDF versions, the HTML versions of Plaintiffs’ standards that

 were posted on Defendant’s website contain errors. SUMF ¶ 215. Mr. Malamud has no

 explanation for these mistakes and admits that they are not acceptable. SUMF ¶ 216. Plaintiffs’

 standards are technical documents that include important figures, detailed drawings, and precise

 measurements. These standards relate to complex scientific and technical processes and

 procedures that promote public health and safety and ensure the quality and consistency of goods

 and services. Even minor mistakes in the reproduction of Plaintiffs’ standards could lead to the

 production of inconsistent or dangerous goods or services. Defendant’s HTML version of the

 2011 NEC, for example, contains a number of errors that distort the meaning of safety features of

 4
   HTC Global testified that what it described as “double-keying” would actually involve
 extracting text obtained using optical character recognition (“OCR”), unless the image quality of
 the original document was poor, in which case two operators entered the text. SUMF ¶ 192.
 Even Defendant’s expert admits that using OCR to capture the text from PDF versions of
 Plaintiffs’ standards would result in errors, particularly because they are technical documents
 that contain diagrams and tables. Id.


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 the standard. SUMF ¶ 219. Malamud claims that if he were notified of any mistakes, he would

 do a rigorous quality assurance check and correct any mistakes. SUMF ¶ 217. But even after

 being notified of specific errors at his deposition, Defendant did not correct these mistakes and

 continued to maintain versions of standards with “unacceptable mistakes” that bear Plaintiffs’

 trademarks on his website and on the Internet Archive until the Court recently suggested that

 Defendant should take down Plaintiffs’ standards pending the resolution of this motion. SUMF ¶

 218. In any event, it is not Plaintiffs’ responsibility to perform quality control for Defendant’s

 infringing website.

                         b.     The Materials Defendant Posted Did Not Undergo Plaintiffs’
                                Quality Control.

          One function of a trademark is to indicate to consumers that the product has been

 delivered according to all quality control guidelines of the trademark owner. Shell Oil Co. v.

 Commercial Petroleum, Inc., 928 F.2d 104, 107 (4th Cir. 1991). “Distribution of a product that

 does not meet the trademark holder’s quality control standards may result in the devaluation of

 the mark by tarnishing its image. If so, the non-conforming product is deemed for Lanham Act

 purposes not to be the genuine product of the holder, and its distribution constitutes trademark

 infringement.” Perkins Sch. for the Blind v. Maxi-Aids Inc., 274 F. Supp. 2d 319, 323 (E.D.N.Y.

 2003).

          Defendant’s actions threaten the quality assurance function of Plaintiffs’ trademarks. The

 materials Defendant posted on its website and the Internet Archive did not undergo Plaintiffs’

 quality control measures. See SUMF ¶¶ 188-201. Plaintiffs’ longstanding use of the marks in

 connection with their high quality standards has resulted in the public’s association of Plaintiffs’

 marks with a certain quality. SUMF ¶¶ 81, 127, 151. Malamud admitted that he did not know

 what quality control procedures Plaintiffs use when publishing their standards. SUMF ¶ 220.



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 Without this knowledge, Defendant could not have complied with these quality control

 procedures before publishing Plaintiffs’ standards on its website. Indeed, as discussed above, the

 materials posted by Defendant contain a variety of errors that are inconsistent with Plaintiffs’

 quality control standards. See Adolph Coors Co. v. A. Genderson & Sons, Inc., 486 F. Supp.

 131, 136 (D. Colo. 1980) (holding that defendant’s distribution of beer in manner that did not

 comply with trademark owner’s quality control standards constituted trademark infringement).5

        In summary, Defendant used exact copies of Plaintiffs’ marks on what it purports to be

 exact replicas of Plaintiffs’ standards and intended for the public to believe that the materials it

 posted on its website were authentic versions of standards that were developed and published by

 Plaintiffs. Defendant’s use of Plaintiffs’ marks and logos in connection with materials that are

 not genuine versions of Plaintiffs’ standards that have not undergone Plaintiffs’ quality control

 procedures, and in fact contain mistakes, constitutes trademark infringement and false

 designation of origin. See Hewlett-Packard Co. v. Repeat-O-Type Stencil Mfg. Corp., 34

 U.S.P.Q.2d 1450, 1454 (N.D. Cal. 1995) (granting summary judgment for trademark

 infringement against defendant who placed modified products back into original packaging

 containing plaintiff’s logos).

        C.      Defendant’s Activities Satisfy the “Use in Commerce” Requirement.

        In addition to the requirements enumerated above, the Lanham Act includes a

 jurisdictional requirement that there be a “use in commerce” for the conduct to be considered

 infringing. 15 U.S.C. § 1114(1) and 1125(a)(1). The “use in commerce” requirement “reflects
 5
   Even if the standards Defendant posted were exactly the same authentic standards of the
 Plaintiffs, Plaintiffs’ inability to exercise quality control over the standards Defendant posted
 using Plaintiffs’ trademarks means that the materials were not genuine products. “The actual
 quality of the goods is irrelevant; it is the control of quality that a trademark holder is entitled to
 maintain.” El Greco Leather Products Co. v. Shoe World, Inc., 806 F.2d 392, 395 (2d Cir. 1986)
 (holding that shoes imported by defendant that were made by same factory as genuine shoes
 were not “genuine” because they had not undergone quality inspection by plaintiff).


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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

 AMERICAN SOCIETY FOR TESTING
 AND MATERIALS d/b/a/ ASTM
 INTERNATIONAL;

 NATIONAL FIRE PROTECTION
 ASSOCIATION, INC.; and

 AMERICAN SOCIETY OF HEATING,
                                                   Case No. 1:13-cv-01215-TSC
 REFRIGERATING, AND AIR
 CONDITIONING ENGINEERS,

                         Plaintiffs/
                         Counter-Defendants,

 v.

 PUBLIC.RESOURCE.ORG, INC.,

                         Defendant/
                         Counter-Plaintiff.

                     DECLARATION OF DENNIS J. BERRY
         IN SUPPORT OF PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

         I, Dennis J. Berry, declare as follows:

         1.      I am Secretary of the Corporation and Director of Licensing for the National Fire

 Protection Association (“NFPA”). My duties include negotiating and overseeing NFPA’s

 licenses for its codes and standards. The following facts are based upon my own personal

 knowledge, and if called upon to do so, I could and would testify competently hereto.

         2.      NFPA owns a United States copyright registration for the 2011 edition of the

 National Electrical Code. Attached hereto as Exhibit A is a true and correct copy of the

 registration certificate for this work.




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         3.      NFPA owns a United States copyright registration for the 2014 edition of the

 National Electrical Code. Attached hereto as Exhibit B is a true and correct copy of the

 registration certificate for this work.

         4.      NFPA owns a United States trademark registration for the trademark National

 Fire Protection Association. Attached hereto as Exhibit C is a true and correct copy of this

 trademark registration.

         5.      NFPA owns a United States trademark registration for the trademark NFPA.

 Attached hereto as Exhibit D is a true and correct copy of this trademark registration.

         6.      NFPA owns a United States trademark registration for the NFPA logo:




  Attached hereto as Exhibit E is a true and correct copy of this trademark registration.

         7.      NFPA owns a United States trademark registration for the trademarks National

 Electrical Code and NEC. Attached hereto as Exhibits F and G are true and correct copies of

 these trademark registrations.

         8.      NFPA owns a United States trademark registration for the trademark NFPA 70.

 Attached hereto as Exhibit H is a true and correct copy of this trademark registration.




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        9.      NFPA owns a United States trademark registration for the NEC logo:




 Attached hereto as Exhibit I is a true and correct copy of this trademark registration.

        10.     NFPA routinely grants permission to researchers, educators, and others to use

 portions of NFPA standards for educational and other non-commercial purposes at no cost.

        11.     Attached hereto as Exhibit J is a true and correct copy of a January 22, 2015 email

 to me from a merchant who attempted to sell a PDF copy of the 2014 NEC on eBay without

 authorization from NFPA. The reseller asserted that the standard “is public domain and is

 readily downloadable,” and attached a link to an electronic copy of the standard posted by

 Public.Resource.Org as support for that assertion. This email is a business record of NFPA,

 recorded at the time of its receipt, created as a regular practice of NFPA to be kept and relied on

 by NFPA staff in the ordinary course of business.

        12.     Attached hereto as Exhibit K is a true and correct copy of an October 13, 2015

 email to me from a merchant who attempted to use a PDF copy of the 2014 NEC as an

 inducement to purchase another product on the internet without authorization from NFPA. The

 merchant asserted that the standard is “provided for use by the public, for free,” and attached a

 link to an electronic copy of the standard posted by Public.Resource.Org as support for that

 assertion. This email is a business record of NFPA, recorded at the time of its receipt, created as

 a regular practice of NFPA to be kept and relied on by NFPA staff in the ordinary course of

 business.



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       13.     I understand that Defendant in this case, Public.Resource.Org, recently removed

NFPA's standards from its website. NFPA has not received any complaints from any persons

claiming that they were unable to access NFPA standards since that time.



       I declare under penalty of pe1jury under the laws of the United States that the foregoing is
                                                             '   , !(
true and correct and that this declaration was executed this I!?' day of November 2015 at

Quincy, Massachusetts.


                                                     DE~J. ~




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       EXHIBIT A



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       EXHIBIT B



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                                                                                                         July 25, 2014




       Title-----------------------------
                             Tille of Work: National .Electrical Code, 2014 Edition
       Completion/ Publication
                     Year of Compfoti011: 2013
                  Date of 1st Puhlic:ition: November I , 2013                    Nation of 1st Publica.tion: United States

       Author
                      •            Author: NI-'PA
                          Author Created: text, photographs, compilation, editing. artwo,:k

                    Work milde for hire: Yes
                                Citizen of: United States

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      . Limitation of.copyright claim - - - - - - - - - - - - - - - - - - -
           Previous regislrntion and year: 7-297-325                2011

       Certification
                                     Name: Nancy M. Zagrodny
                                      Dale: July 14, 2014




                                                                                                                             Page I of I

                                                                   JA151
                                                                                                                  NFPA-PR0038493
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         EXHIBIT J



                                   JA152
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      USCA Case #17-7039    Document #1715850     Filed: 01/31/2018  Page 181 of 581
  From:            Vacay Promo Team <vacaypromoteam@gmail.com>
  Sent:            Thursday, January 22, 2015 11: 3 7 AM
  To:              Berry, Dennis <dberry@NFPA.org>
  Subject:         Re: Ebay Violation??


  Hello Dennis,

  Please visit https://archive.org/details/nfpa.nec.2014 for details stating this is public domain and is readily
  downloadable not just through this site but many others .

  Awaiting your response,

  On Thu, Jan 22, 2015 at 2:22 PM, Berry, Dennis <dberry@nfpa.org> wrote:

    Dear Sir or madam,




    You asked me to contact you, but did not tell me who you are. Nevertheless, I am happy to respond and would like to
    discuss t his with you further. Please feel free to call be at the number indicat ed below.




    The 2014 National Electrical CodeD is copyrighted by the NFPA, the title it self is a t rademark of the NFPA. The Code is
    sold in paper and licensed in pdf format. Each pdf license includes stated restrictions that do not allow copying for
    further distribution. As with all NFPA standards it is available on the internet a read-only free access format. Contrary
    to your understanding as set out below while available in free access from t he NFPA web site, it is not downloadable.




    Furt hermore, the NFPA has not dealt with or entered this document int o creative commons. In a search of their web
    site just now, we could not find the Code there. If you could be more specific about where this is located, I would
    appreciate your direction .




    As you can see from the above we do cannot accept your assertion that t he document has entered t he public domain
    and have taken st eps to prevent that .




    I hope this provides further information and response; agai n, I would be happy to discuss.




    Very truly yours,




    Dennis Berry




                                                           JA153
CONFIDENTIAL                                                                                         NFPA-PR0038552
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   Dennis J. Berry
   Secretary of the Corporation &
   Director of Licensi ng

   NFPA

   One Batterymarch Park

   Quincy, MA 02169

   dberry@nfpa.org

   617-984-7255

   617-984-7222 (f)




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   information, and unauthorized disclosure or use is prohibited. If you receive this e-mail in error, please notify the
   sender and delete t his e-mail from your system.




   From: Vacay Promo Team [mailto:vaca'ipromoteam@gmail.com]
   Sent: Thursday, January 22, 2015 11:42 AM
   To: Berry, Dennis
   Subject: Ebay Violat ion??




   Hello,



   I recently listed the NFPA 20 14 PDF on eBay for sale and it was removed after a report of intellectual
   property rights being violated.



   This item is public domain and not a violation of any eBay rules. The licensure for this item can be foun d on



                                                          JA154
CONFIDENTIAL                                                                                         NFPA-PR0038553
           Case 1:13-cv-01215-TSC Document 118-3 Filed 11/19/15 Page 28 of 30
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   http ://creativecommons.org/publ icdomain/zero/ l .O/




   Standards Organization Source: NFPA National Electrical Code (Free Access Available Form Original Publisher)




   Once Free access is granted and available for download it is public domain and there is no violation
   of any law to distribute the information.



   Please contact me as soon as possible with information as to how to move forward.




                                                      JA155
CONFIDENTIAL                                                                                 NFPA-PR0038554
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       EXHIBIT K



                                   JA156
           Case 1:13-cv-01215-TSC Document 118-3 Filed 11/19/15 Page 30 of 30
     USCA Case #17-7039      Document #1715850        Filed: 01/31/2018 Page 185 of 581
From:       Scott Schwartz <scotts@dale-electric.com>
Sent:       Tuesday, October 13, 2015 3:09 PM
To:         Berry, Dennis <dberry@NFPA.org>
Subject:    RE: Use of Electronic NEC


Dennis,
Please see the below links.
https://law.resource.org/pub/tableOl.html
b!!P.2:L~.resource.,9J1~leubill/cod'EL.safety.ht.ml
https:L/law.resource.org/pub/us/code/ibr/nfpa.nec.2014.pdf
This bottom link is a copy of the 2014 NEC that if provided for use by the public, for free.
If you look around the web site, you can find most of your publications online.
Scott Schwartz


From: Berry, Dennis [mailto:dberry@NFPA.org]
Sent: Tuesday, October 13, 2015 4:55 PM
To: ScottS@Dale-electric.com
Subject: Use of Electronic NEC

Dear Mr. Schwartz,

Please find enclosed a letter regarding a promotional piece which I have recently seen regarding the National Electrical
Wholesale Providers. Would you please respond as soon as possible.

Very t ruly you rs,

Dennis Berry

Dennis J. Berry
Secretary of the Corporation &
Director of Licensing
NFPA
One Batterymarch Park
Quincy, MA 02169
dberry~nf12a.org
617-984-7255
617-984-7222 (f)



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information, and unauthorized disclosure or use is prohibited. If you receive this e-mail in error, please notify t he
sender and delete this e-mail from your system.




                                                          JA157
                                                                                                             NFPA-PR0097907
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                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA

  AMERICAN SOCIETY FOR TESTING
  AND MATERIALS d/b/a/ ASTM
  INTERNATIONAL;

  NATIONAL FIRE PROTECTION
  ASSOCIATION, INC.; and

  AMERICAN SOCIETY OF HEATING,
                                                      Case No. l: 13-cv-01215-TSC
  REFRIGERATING, AND AIR
  CONDITIONING ENGINEERS,

                           P Jaintiffs/
                           Counter-Defendants,

  V.


  PUBL1C.RES0URCE.0RG, INC.,

                           Defendant/
                           Counter-Plaintiff.

                                DECLARATION OF STEVEN CRAMER

  Pursuant to 28 U.S.C. § 1746, I, Steven Cramer, declare the fo llowing statements to be true

  under the penalties of perjury:

            1.      I am over the age of 18 years and am fully competent to testify to the matters

  stated in this Declaration.

            2.      Tb.is declaration is based on my personal knowledge. If called to do so, I would

  and could testify to the matters stated herein.

            3.      I am the Vice-Provost for Teaching and Learning and Professor of Civil and

  Environmental Engineering at the University of Wisconsin-Madison. My research focuses on

  the mechanical behavior of wood and wood-based materials, the design and analysis of wood

  structures, and the performance of concrete construction materials.




 DB 1/ 85254535.2

                                                 JA158
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            4.      I am a member of ASTM International ("ASTM"). I have been a member of

  ASTM since 1986.

            5.      From 2006-2009, I was the Chairman of ASTM' s Committee D07, which is the

  committee that develops standards related to wood. This committee has jurisdiction over 116

  ASTM standards.

            6.      I tmderstood since J joined ASTM that ASTM would own the copyright in any

  standards or materials I helped to develop.

            7.      I consider my contributions to the ASTM standard development process to be

  contributions to my profession and to the related industries. ASTM provides the framework that

  allows me to make this contribution.

            8.      ASTM plays a stewardship role in convening a diverse group of members,

  providing the infrastructure that makes it possible for members to contribute ideas, and

  ultimately creating a usable product that members will use and from which the entire industry

  will benefit.

            9.      The process of developing, publishing and distributing standards is expensive and

  someone has to pay for those costs.

            t 0.    I understood since 1 became a member of ASTM that ASTM sell copies of al l

  ASTM standards and uses the revenue from its sales to support the standards development

  process.

            11.     I understood since I became a member of ASTM that if I wanted a copy of an

  ASTM standard, including a standard that I helped to develop, I or my institution would be

  required to purchase it from ASTM.




 DB 1/ 85254535.2                                   2

                                                 JA159
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            12.     I have renewed my membership with ASTM using ASTM's online registration

  system since at least 2007. As part of that process, 1 indicated my agreement to the fo llowing

  statement: "I agree, by my patticipation in ASTM and enjoyment of the benefits of my annual

  membership, to have transferred and assigned any and all interest I possess or may possess,

  including copyright, in the development or creation of ASTM standards or ASTM IP to ASTM."

  A screen shot of the membership renewal form is attached as Exhibit 1. I understand this to

  mean that I have assigned any and all copyrights in standards I helped to develop from 1986 to

  the present to ASTM.

            13.     I renewed my membership in ASTM for 2016. As part of the renewal process, I

  agreed once again to a statement indicating that I had "transferred and assigned any and all

  interest I possess or may possess, including copyright, in the development or creation of ASTM

  standards or ASTM IP to ASTM." Attached as Exhibit 2 is a screen shot of this statement in my

  membership renewal .

            14.     I am not aware of any ASTM member who claims to own the copyright in any

  ASTM standard.

            15.     The context of ASTM's operations, including the membership forms, membership

  renewal fo rms, Intellectual Property policy, and the copyright notices on each of the ASTM

  standards makes it very clear to all members that ASTM owns the copyrights in all ASTM

  standards.

            16.     As the Chairman of Committee 007, I did not consider how much revenue sales

  of a potential standard would bring to ASTM when deciding whether to approve a work item to

  develop a new standard. I considered whether there was a need for the proposed standard and




 DB J/ 85254535.2                                  3

                                               JA160
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  whether there would be sufficient interest from a balanced group necessary to develop the

  standard.

            17.     A task group puts together the first draft of a new standard. I have participated in

  several task groups that have drafted proposed standards that were then revised and voted upon

  by ASTM subcommittees and committees. In my experience, developing a standard is an

  iterative process. The task group works collaboratively, with many people sharing ideas,

  suggesting wording and providing comments that contribute to the draft standard.

            18.     I have also pa1ticipated in developing standards through the balloting process in

  subcommittees and committees. Members of the subcommittee and committee that submit

  ballots on a proposed standard also suggest wording and provide comments on the draft. The

  suggestions and comments are often incorporated into the draft.

            19.     The ASTM standards I have participated in developing were developed based on

  public demands, industry needs, and public safety concerns and advancements in technology.

  They address a technical issue or problem identified by a group of people in the relevant sector

  that can be addressed with a standard-based solution.

            20.     The ASTM standards I have paiticipated in developing were not developed for the

  purpose of being incorporated into government regulations.

            21.     ASTM committees composed of technical experts make decisions about the

  appropriate content of the standards, including the relevant measurements, values, descriptions,

  and other specifications, as well as the language with which to express these standards.

            22.     Other standard development organizations, including the American Wood

  Council and the American National Standards Institute, develop standards that relate to wood.




 DB l/ 85254535.2                                     4

                                                  JA161
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  The content, language and purpose of these SDO's standards differs from the content of the

  ASTM standards.

           23.     Since joining ASTM, I was aware that all contributions I made to the process of

  developing a standard would be merged with the contributions of others and would result in a

  single standard.

           24.     The task group, section, subcommittee and committee structure through which

  ASTM standards are developed makes it apparent to all participants that their contributions will

  be merged with the contributions of others and will result in a single standard.

           25.     ASTM staff members added certain language required by the Form and Style

  guide to each of the standards I helped to develop.

           26.     ASTM staff editors also proofread and edited each one of the standards I helped

  to develop prior to their publication.




  Dated: November 1.§, 2015
                                                                  Steven Cramer




 DBI/ 85254535.2                                   5

                                                JA162
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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

  AMERICAN SOCIETY FOR TESTING
  AND MATERIALS d/b/a/ ASTM
  INTERNATCONAL;

  NATIONAL FIRE PROTECTION
  ASSOClATION, JNC.; and

  AMERICAN SOCffiTY OF HEATING,
                                                     Case No. I : JJ-cv-01215-TSC
  REFRIGERATING, AND AIR
  CONDITlONJNG ENGINEERS,

                         Plaintiffs/
                         Counter-Defendants,

  V.

  PUBLJC.RESOURCE.ORG, INC.,

                         Defendant/
                         Counter-Plaintiff.

                           DECLARATION OF JAMES GOLINVEAUX

         I, James Golinveaux, declare as follows:

          I.     I am a Senior FeUow of water suppression products at Tyco Fire Protection

  Products. The fo llowing facts are based npon my own personal knowledge and, if called upon to

  do so, Tcould and would testify competently hereto.

         2.      Tyco Fire Protection Products .is a lead ing manufacturer of water-based fire

  suppression system components and anciJJary building construction products. Tyco

  manufactures a wide variety of sprinklers, system valves and devices, piping and electrical

  products, and specialty systems for effective fire protection in commercial, industrial,

  institutional, and residential buildings.

          3.      I have more than 30 years of experience in the fire protection industry, and my

  particular fie Id of expertise is in the development of fire sprinklers for use in bui Idings. I hold 21




                                                JA163
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  United States and 29 foreign patents in automatic sprinkler technology, and I currently have 38

  pending applications for United States and foreign patents. In 2014 l received the Henry S.

  Parmalee award, the American Fire Sprinkler Association 's highest honor. in recognition of my

  work in the research and design of fire sprinklers to improve fire safety. As part of my

  professional activities, 1 travel around the world to deliver lectures and training on fire safety

  issues to a wi,de variety of audiences.

          4.     1 am fami liar with the work of the National Fire Protection Association

  ("NFPA"), and I have been personally involved in NFPA •s standards development process for

  many years. For example, I have been a member of the NFPA 13 Technical Committee for ~ore

  than 20 years . NFPA 13 is the Standard for the Installation of Sprinkler Systems . l have also

  been a Technical Committee member for several otberNFPA standards, iocludingNFPA 101,

  the Life Safety Code. In addition, lam currently a member ofNFPA's Standards Council.

          5.      Fi re safety professionals and the fire protection industry benefit greatly from the

  standards developed by NFPA through its voluntary c.onsensus process. lt is critical to have one

  central association that can attract contributors from a variety of perspectives, coordinate and

  host Technical Committee meetings, and ultimately develop and publish standards that reflect

  the broadest possible consensus about fire safety techniques and that can be used widely

  throughout the country.

          6.      NFPA 's voluntary consensus process results in the creation of uniform industry-

  wide standards. Professionals across the industry rely on the existence of these standards, and

  this industry-wide uniformity could not be achieved without NFPA or a similar organization with

  the resources to devote to standards development.




                                                     2

                                                 JA164                                                   /
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          7.      It is especially important to have an independent associatjon that brings together

  the expertise of many different stakeholders and creates an open and structured standards

  development process designed to accommodate input from many sources and achieve consensus.

 The voluntary consensus process is costly, but in my experience it results in the highest quality

  standards in the area of fire safety.

          8.      In my experience participating in NFPA's standards development process, I have

  observed the significant costs that NFPA i11curs to develop its standards. I understand that this

  process is primarily funded by revenue obtained from the sale ofNFPA publications.

          9.      NFPA also provides resources on which fire safety professionals rely in

  interpreting and implementing NFPA standards. These include expert technical staff who

  provide interpretations of the standards, training and education programs, and a research arm.

  These resources significantly enbance the value and utility ofNFPA standards. I understand that
  these resources are primarily funded by revenue obtained from the sale ofNFPA publications.

          10.     fn my experience in the fire sprinkler industry, NFPA 13 and other standards used

  in the industry are accessible to the professionals who use them, including manufacturers,

  architects, engineers, and! contractors. NFPA distributes standards through a variety of channels

  and in a variety of formats. Professionals who work with fire sprinklers are fam iliar with NFPA

  standards and able to obtain them with little difficulty and at reasonable cost.

          11.     Before I became a member of any NFPA Technical Committees, I submitted a

  committee application in which I agreed that all copyrights and other rights in the Committee's

  work were owned by NFPA. I also agreed that, to the extent I had any rights in my work in

  connection with the Committee, either individually or in connection with others, I expressly

  assigned all such rights to NFPA.



                                                    3

                                                JA165
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          12.    In my work on NFPA Technical Committees, it has always been my express

  intention that my contributions to the standards wou Id be fu Uy owned by NFPA, and that NFPA

  would own the copyright in the completed standards on which I worked.

          13.    In my experience working oa NFPA Technical Committees, all Committee

  members have known that NFPA publishes the final standards, owns the copyright in those

  standards, and affixes copyright notices to the standards. fn my experience, the Technical

  Committee members understand and agree that a ll copyrights and other rights in the work of the

  Technical Committee is owned by NFPA.

         I declare under penalty of perjury under the laws of the United States that the foregoing is

  true and correct.




  Executed in    Q 0 , >- 1 c,. '(   , MA on November ll.., 2015




                                                   4

                                               JA166
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                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA

 AMERICAN SOCIETY FOR TESTING
 AND MATERIALS d/b/a/ ASTM
 INTERNATIONAL;

   NATIONAL FIRE PROTECTION
 . ASSOCIATION, INC.; and

 AMERICAN SOCIETY OF HEATING,
                                                    Case No. 1:13-cv-01215-TSC
 REFRIGERATING, AND AIR
 CONDITIONING ENGINEERS,

                         Plaintiffs/
                         Counter-Defendants,

 V,


 PUBLIC.RESOURCE.ORO, INC.,

                         Defendant/
                         Counter-Plaintiff.

                                DECLARATION OF RANDY JENNINGS

  Pursuant to 28 U.S.C. § 1746, I, Randy Jennings, declare the following statements to be true

 under the penalties of perjury:

          1.     I am over the age of 18 years and am fully competent to testify to the matters

  stated in this Declaration.

          2.     This declaration is based on my personal knowledge. If called to do so, I would

  and could testify to the matters stated herein.

          3.     I am the Director of Program Operations for the Tennessee Department of

  Agriculture. In that role, among other responsibilities, I represent the State of Tennessee on

  ASTM International Committees 002, D03, DIS; the National Conference on Weights and

  Measures and other relevant standards development organizations. I also direct and assist

  regulatory administrators in assessing and improving their programs; monitor the efficiency and




                                                JA167
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 effectiveness of staff performance; review all enforcement actions that are submitted to the

 division attorney; and provide direction on enforcement options after discussing with the

 attorney and consulting with program administrators.

         4.      I am a member of ASTM International ("ASTM"). I have been a member of

 ASTM since 1990.

         5.      I am currently the Chairman of ASTM's Committee D02, which is the committee

 that develops standards related to petroleum products, liquid fuels and lubricants.

         6.      I have been an active member of several D02 subcommittees, including DO I .AO

 on Gasoline and Oxygenated Fuels, D02.EO on Burner, Diesel, Non-Aviation Gas·Turbine and

 Marine Fuels, D02.HO on Liquefied Petroleum Gas, D02.02 on Hydrocarbon Measurement for

 Custody Transfer and D02.08 on Volatility for many years.

         7.    · I understood since I joined ASTM that ASTM would own the copyright in any

 standards or materials I helped to develop.

         8.      I understood since I became a member of ASTM that ASTM sell copies of all

 ASTM standards and uses the revenue from its sales to support the standards development

 process:

         9.      I understood since I became a member of ASTM that if I wanted a copy of any

 ASTM standard, I would be required to purchase it from ASTM, including standards that I

 helped to develop.

         10.     I have renewed my membership with ASTM using ASTM's on1ine registration

  system since at least 2007. As part of that process, I indicated my agreement to the following

  statement: "I agree, by my participation in ASTM and enjoyment of the benefits of my annual

  membership, to have transferred and assigned any and all interest I possess o·r may possess,



                                                  2


                                               JA168
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 including copyright, in the development or creation of ASTM standards or ASTM IP to ASTM."

 A screen shot of the membership renewal form is attached as Exhibit 1. I understand this to

 mean that I have assigned any and all copyrights in standards I helped .to develop from 1990 to

 the present to ASTM.

         11.    I am not aware of any ASTM member who claims to own the copyright in any

 ASTM standard.

         12.    The context of ASTM's operations, including the membership forms, membership

 renewal forms, Intellectual Property policy, and the copyright notices on each of the ASTM

 stanclards makes it very clear to all members that ASTM owns the copyrights in all ASTM

 standards.

         13.    A task group puts together the first draft ofa new standard. I have participated in

 several task groups that have drafted proposed standards that were then revised and voted upon

  by ASTM subcommittees and committees. In my experience, the task group works

 collaboratively, with many people, sometimes dozens of people, sharing ideas, suggesting

  wording and providin$ comments that contribute to the draft standard.

         14.    I have also participated in developing standards through the balloting process in

  subcommittees and committees. Members of the subcommittee and committee that submit

  ballots on a proposed standard also suggest wording and provide comments on the draft. The

  suggestions and comments are often incorpo~ated into the draft.

         15.    I participated in the development of ASTM 0975-07.

         16.    The ASTM standards I have participated in developing were developed based on

  public demands, industry needs, and public safety concerns and advancements in technology.




                                                  3


                                             JA169
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 They address a technical issue or problem identified by a group of people in the relevant sector

 that can be addressed with a standard-based solution.

         17.    Technical committees make decisions about the appropriate content of the

 standards, including the relevant measurements, values, descriptions, and other specifications, as

 well as the language with which to express these standards.

         18.     Since joining ASTM, I .was aware that all contributions I made to the process of

 developing a standard would be merged with the contributions of others and would result in a .

 single standard.

         19.    The task group, subcommittee and committee structure through which ASTM

 standards are developed makes it apparent to all participants that their contributions will be

 merged with the contributions of others and will result in a single standard.

         20.     For each of the standards I helped to develop, ASTM staff members reviewed the

 draft standards and suggested editorial changes and added other information required by the

 Form and Style guide.

         21.    The Tennessee Code requires kerosene and motor oils to meet the standards set

 out in the most recent volume 5 of the ASTM Annual Book of Standards. See Tennessee Code §

 47-18-1304.

         22.     One of the benefits of states being able to incorporate by reference the ASTM

 ·standards is that it provides different states with a common set of requirements. If each state had

 to create its own set of standards, there woul.d be a patchwork of requirements, which would

 make it very difficult for companies to convey products that could be used in multiple states.

         23.     ASTM is able to convene experts with knowledge of different fuels and their

 components to develop its fuel standards.



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        24.     The state of Tennessee does not have the resources or expertise to develop the

 broad array of standards that ASTM develops and maintains related to fuels. If Tennessee was

 unable to inco.rporate by reference the ASTM standards, it would not be able to effectively

 develop standards for fuel products.




 Dated: November /8, 2015                                ~----
                                                         ,
                                                                Randy Jennings




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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

 AMERICAN SOCIETY FOR TESTING
 AND MATERIALS d/b/a/ ASTM
 INTERNATIONAL;

 NATIONAL FIRE PROTECTION
 ASSOCIATION, INC.; and

 AMERICAN SOCIETY OF HEATING,
                                                   Case No. 1:13-cv-01215-TSC
 REFRIGERATING, AND AIR
 CONDITIONING ENGINEERS,

                        Plaintiffs/
                        Counter-Defendants,

 V.

 PUBLIC.RESOURCE.ORG, INC.,

                        Defendant/
                        Counter-Plaintiff.

                        DECLARATION OF THOMAS B. O'BRIEN, JR.

 Pursuant to 28 U.S.C. § 1746, I, Thomas B. O'Brien, Jr., declare the following statements to be

 true under the penalties of perjury:

         1.     I am over the age of 18 years and am fully competent to testify to the matters

 stated in this Declaration.

        2.       This declaration is based on my personal knowledge. If called to do so, I would

 and could testify to the matters stated herein.

        3.       I am Vice President and General Counsel at ASTM International ("ASTM''). I

 have worked at ASTM since 2003.

        4.       My responsibilities include developing legal policies and procedures and

 addressing all legal matters for ASTM, including ASTM' s copyright registrations, trademark

 registrations, and enforcement efforts related to ASTM's intellectual property.




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         5.      ASTM has a copyright registration for ASTM D86-07 (Standard Test Methods for

 Distillation of Petroleum Products at Atmospheric Pressure) that identifies ASTM as the owner.

 Attached as Exhibit 1 is a true and correct copy of the certificate of registration for this standard.

         6.      ASTM has a copyright registration for ASTM D975-07 (Standard Specification

 for Diesel Fuel Oils) that identifies ASTM as the owner. Attached as Exhibit 2 is a true and

 correct copy of the certificate of registration for this standard.

         7.      ASTM publishes an Annual Book of ASTM Standards every year that is

 composed of a number of volumes and includes the current version of each of its standards.

         8.      Between 1980 and 2011, ASTM obtained copyright registrations for each volume

 of its Book of Standards.

         9.      ASTM D396-98 and ASTM Dl217-93(98) were published in Volume 5.01 of the

 1999 Annual Book of ASTM Standards. Attached as Exhibit 3 are true and correct copies of

 pages from the index of the 1999 Annual Book of ASTM Standards showing the volume in

 which these standards appeared.

         10.     ASTM has a copyright registration for Volume 5.01 of the 1999 Annual Book of

 ASTM Standards that identifies ASTM as the owner. The date of first publication for this work

 was February 22, 1999 and the effective date of registration is March 10, 1999.       Attached as

 Exhibit 4 is a true and correct copy of the certificate of registration for the standards included in

 this volume.

         11.     The published version of each of ASTM' s standards includes a copyright notice

 alerting the public (including the individuals who participated in the creation of the standards) to

 the fact that the copyright is owned by ASTM.




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          12.   ASTM knows of no individual or other person who claims to own any copyright

 interest in any ASTM standard.

          13.   ASTM routinely grants permission to researchers, academics and others to

 reproduce its standards at no cost for non-commercial purposes.

          14.   ASTM has not licensed Defendant's use of ASTM' s standards.

          15.   ASTM developed a guide entitled "Form and Style for ASTM Standards," which

 is a guide to promote umformity of form and style in ASTM standards ("ASTM Form and Style

 Guide"). This guide describes certain conventions that must be followed when drafting an

 ASTM standard. Attached as Exhibit 5 is a true and correct copy of the ASTM Fonn and Style

 Guide.

          16.   The ASTM Form and Style Guide describes certain components and provides the

 text for certain language that must be included in every ASTM standard.

          17.   As part of the process of developing a draft standard, ASTM staff members add

 language and components that are required by the ASTM Form and Style Guide to the draft

 prepared by the task group.

          18.   For example, Standard D86-07 contains numerous components that were authored

 by ASTM employees. Attached as Exhibit 6 is a true and correct copy of ASTM D86-07.

          19.   The title of the standard (Standard Test Method for Distillation of Petroleum

 Products at Atmospheric Pressure) appears at the top of the first page of ASTM D86-07.

 Directly below the title, there is an explanation of what the designation number for the standard

 means. This language was drafted by an ASTM employee.

          20.   Footnote l is a standard footnote that is authored by an ASTM employee, which

 provides information about which committee and subcommittee have jurisdiction over the



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 standard. ASTM Form and Style Guide Section A26.2 lays out the requirements for the content

 of this footnote.

         21.     Footnote 2 explains how to obtain access to ASTM standards referenced in the

 document. This language was drafted by an ASTM employee.

         22.     Section 1.5 of ASTM D86-07 states: "This standard does not purport to address

 all of the safety concerns, if any, associated with its use. It is the responsibiJity of the user ofthis

 standard to establish appropriate safety and health practices and determine the applicability of

 regulatory limitations prior to use." This language comes directly from the Section F2.l of the

 ASTM Form and Style Guide and was written by an ASTM employee.

         23.     On the last page of ASTM D86-07, there is a summary of the differences between

 this version of the standard and the previous version, which was compiled by ASTM employees.

         24.         At the very bottom of the last page of D86-07, there are three italicized

 paragraphs. The text of the first two paragraphs comes directly from ASTM's Form and Style

 Guide, which was written by ASTM employees. See Form and Style Guide Sections F3.2 and

 F2.3.

         25.     The third italicized paragraph at the end of D86-07 is a statement of ASTM' s

 ownership of the copyright and information about how to purchase copies, which was also

 authored by an ASTM employee.

         26.     As another example, ASTM standard D975-07 contains numerous sections that

 were authored by ASTM employees. Attached as Exhibit 7 is a true and correct copy of ASTM

 D975-07.




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        27.     Underneath the title of the standard (Standard Specification for Diesel Fuel Oils),

 there is an explanation of what the designation number for the standard means. This language

 was drafted by an ASTM employee.

        28.     Footnote 1 of ASTM D975-07 provides information about the committee and

 subcommittee that have jurisdiction over this standard. This language is required by Section

 828.2 of the ASTM Form and Style Guide and was drafted by an ASTM employee.

        29.     Section 1.3 of ASTM D975-07 states "The values stated in SI units are to be

 regarded as the standard. The values given in parentheses are for information only." This

 language was taken verbatim from Section H3 .1.1. l of the ASTM Form and Style Guide.

        30.     Like ASTM D86-07, the last page of ASTM D975-07 provides a summary of

 changes made to the previous version of this standard and includes three italicized paragraphs,

 all of which were drafted by ASTM employees.

        31.     ASTM D3 96-98 also contains content that was drafted by ASTM employees.

 Attached as Exhibit 8 is a true and correct copy of ASTM D396-98.

        32.     Underneath the title of the standard (Standard Specification for Fuel Oils), there is

 an explanation of what the designation number for the standard means. This language was

 drafted by an ASTM employee.

        33.     Footnote 1 of ASTM D396-98 provides information about the committee and

 subcommittee that have j urisdiction over this standard. This language is required by Section

 B28.2 of the ASTM Form and Style Guide and was drafted by an ASTM employee.

        34.     On the last page of ASTM D396-98 there are two italicized paragraphs that were

 drafted by ASTM employees.




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         35.     ASTM D1217-93(98) contains content that was drafted by ASTM employees.

 Attached as Exhibit 9 is a true and correct copy of ASTM D1217-93(98).

         36.     Underneath the title of the standard (Standard Test Method for Density and

 Relative Density (Specific Gravity) of Liquids by Bingham Pycnometer), there is an explanation

 of what the designation number for the standard means. This language was drafted by an ASTM

 employee.

         37.     Footnote 1 of ASTM D1217-93(98) provides information about the committee

 and subcommittee that have jurisdiction over this standard. This language is required by Section

 B28.2 of the ASTM Form and Style Guide and was drafted by an ASTM employee.

         3 8.    Section 1.5 of ASTM D 1217-93(98) states: "This standard does not purport to

 address all of the safety concerns, if any, associated with its use. It is the responsibility of the

 user of this standard to establish appropriate safety and health practices and determine the

 applicability of regulatoiy limitations prior to use." This language comes directly from the

 Section F2. l of the ASTM Form and Style Guide and was written by an ASTM employee.

         3 9.    On the last page of ASTM D 1217-93(98) there are two italicized paragraphs that

 were drafted by ASTM employees.

         40.     There are a number of ways in which ASTM members assign their copyrights in

 the standards they help to develop to ASTM.

         41.     Since 2005, new members and members renewing their memberships online to

 ASTM agree to the following language: "I agree, by my participation in ASTM and enjoyment

 of the benefits of my annual membership, to have transferred and assigned any and all interest I

 possess or may possess, including copyright, in the development or creation of ASTM standards

 or ASTM IP to ASTM." Attached as Exhibit 10 is a true and correct copy of the online new



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 membership form and attached as Exhibit 11 is a true and correct copy of the online membership

 renewal form.

        42.      Some members of ASTM renew their memberships using paper forms that

 contain substantially the same language as the language in the online forms. Attached as Exhibit

 12 is a true and correct copy of a paper membership renewal form.

        43.      Michael Collier was the technical contact for the revision of ASTM D86 that was

 completed in 2007.

        44.      Michael Collier renewed his ASTM membership every year between 2007-2014

 using the online membership renewal fonn.

        45.      John Chandler was the technical contact for the revision of ASTM D975 that was

 completed in 2007 and for the revision of ASTM D398 that was completed in 1998.

        46.      John Chandler renewed his ASTM membership every year between every year

 between 2007-2014 using the onJine membership renewal form.

        47.      Jimmy King was the technical contact for the 1998 reapproval of ASTM D1217.

        48.      Jimmy Kfag renewed his ASTM membership in 2007.

        49.      When an individual registers a "work item," which starts the process of

 developing a new standard or amending an existing standard, that individual must agree to the

 following language: "I hereby grant and assign to ASTM International all and full intellectual

 property rights, including copyright, in the proposed draft standard/text and any contributions I

 make to ASTM International in connection with this proposal" and "By submitting this form, I

 acknowledge that all copyrights to this docwnent, as a draft and an approved ASTM standard,

 are the sole and exclusive property of ASTM, in accordance with the Intellectual Property




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 policies of the Society." Attached as Exhibit 13 is a true and correct copy of the online form an

 individual must complete to register a work item.

        50.     ASTM engages in quality control procedures to ensure the quality and integrity of

 the content of the standards.

        51.     ASTM staff editors edit the language of the standard to ensure that it conforms to

 the requirements in the Form and Style Guide.

        52.     ASTM staff also submits the final version to the technical committee for reviews

 to make sure it matches the content approved through the balloting process.

        53.     ASTM staff proofreads the XML versions of standards before posting them on the

 internet to ensure that the conversion of the text and diagrams into XML format has not altered

 the content of the standard.

        54.     ASTM has not received any complaints about lack of accessibility of its standards

 other than from Defendant.

        55.     ASTM owns a U.S. federal trademark registration for the trademark ASTM (U.S.

 Trademark Reg. No. 2,679,320) in connection with books featuring information on

 standardization of specifications and the methods of testing for various materials and products;

 promoting public awareness of the need for standards; educational services; and providing a

 website on global computer networks featuring infonnation in the field of specifications and

 methods of testing for various materials and products. ASTM has used this trademark since

 1962. ASTM filed a Section 15 declaration in support of the incontestability of this registration.

 Attached as Exhibit 14 are true and correct copies of the Certificate of Registration and the

 Section 15 declaration.




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        56.     ASTM owns U.S. federal trademark registrations for the trademarks ASTM

 INTERNATIONAL (U.S. Trademark Reg. No. 2,685,857) and the following logo:




 (U.S. Reg. No. 2,651,796) in connection with similar goods and services. ASTM has used these

 trademarks since 2001. ASTM filed Section 15 declarations in support of the incontestability of

 these registrations. Attached as Exhibit 15 are true and correct copies of the Certificates of

 Registration and the Section 15 declarations.

        57.     ASTM also owns a registration for the following logo:




 (U.S. Reg. Nos. 4,079,772) in connection with publications relating to testing methods,

 specifications and standards in engineering, industrial and allied fields. ASTM has used this

 trademark since 1965. The application for this registration was filed on May 10, 2011. The

 Examining Attorney who reviewed the application approved it for registration without requesting

 proof of secondary meaning. Attached as Exhibit 16 is a true and correct copy of the Certificate

 of Registration.




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        58.     ASTM expends considerable resources marketing and promoting its goods and

 services in connection with these trademarks every year. For example, ASTM spent over $3

 million marketing and promoting the sales of copies of its standards that feature its trademarks in

 catalogs, brochures, and in mail and email correspondence between 2010-2012, which were the

 three years immediately prior to Defendant's infringement.

        59.     ASTM's longstanding use of its trademarks in connection with its high quality

 standards has resulted in the public's association of ASTM's marks with a certain quality.

        60.     ASTM provides the public with free, read-onJy access to all ASTM standards that

 ASTM is aware have been incorporated by reference into federal regulations.

        61.     ASTM provides the public with free, read-only access to all ASTM standards that

 are the subject of Plaintiffs' Motion for Summary Judgment. Attached as Exhibit 17 are true and

 correct copies of screen shots demonstrating the availability of ASTM standards on ASTM's

 online Reading Room.

        62.     ASTM identifies standards that have been incorporated by reference into federal

 regulations from the database created by the National Institute of Standards and Technology.

        63.     ASTM publicizes the free read-only access provided on its website.

        64.     During the notice and comment period regarding proposed federal regulations,

 upon request by the relevant federal agency, ASTM provides free, read-only access to standards

 that are incorporated by reference in proposed regulations.

        65.     ASTM has not received any complaints about lack of accessibility of its standards

 other than from Defendant.

        66.     Defendant submitted comments reflecting his beliefs in connection with proposed

 rulemak:ing regarding the procedures of the Office of the Federal Register and the National



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 Archives and Records Administration, proposed amendments to the Office of Management and

 Budget's Circular A-119, and a study by the Administrative Conference of the United States.

        67.     During the course of this litigation, Defendant has continued to post versions of

 additional standards owned by ASTM that use ASTM's trademarks on its website, including as

 recently as October 2015.

        68.     Defendant has posted html versions of certain ASTM standards since Plaintiffs

 filed their Complaint that do not use the ASTM logo marks. Attached as Exhibit 18 is a true and

 correct copy of a version of ASTM F977 that Defendant posted on its website in October 2015

 that does not use an ASTM logo.

        69.     On or about November 10, 2015, Defendant removed its versions of the standards

 at issue in this case from its website and from the Internet Archive at the suggestion of the Court.

        70.     Since the standards were taken down from Defendant's website and the Internet

 Archive, ASTM has not received any complaints from persons regarding any alleged inability to

 access ASTM's standards that have been incorporated by reference.



 Dated: November    !1, 2015




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                   EXHIBIT 1




                                   JA183
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Certificate ot Registration
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                       been n·:ade 3 p~rt of the c:opy:dght <)ffice rei:ords,                            Registration Number
                                                                                                       TX 7-685-941
                                                                                                           Effective date of
                                                                                                            registration:
                                                                                                             Mar ch 5, 2013




   Title----------------------------
                             Title of Work: AST M D86-07 Standards Test Methods for D istillation of Petroleum Products at
                                            Annospheric Pressure

   Completion/Publication - - - - - - - - - - - - - - - - - - - -
                  Year of Completion: 2007
               Date of 1st Publication: March I , 2007                                Nation of 1st Publication: United States

   Author
                   •                Author: ASTM International
                        Authol' Created : Entire Text

                  Work made for hire: Yes
                             Domiciled in: United St ates

   Copyright claimant
                  Copyright Claimant: ASTM International
                                                  JOO Barr Harbor Drive, West Conshohocken, PA, 19428, United States

   Limitation of copyright claim
     Material excluded from th.is claim: text
        Previous registration and year: TX 6-563-072                    2007
                                                  TX 6-342-584          2006
       New material included in claim: text, editing

   Rights and Permissions
                  Organization Name: ASTM International
                                      Name: Kathleen Hooper
                                      Email: khooper@astm.org                                                        Telephone:    610-832-9634
                                   Address: I 00 Barr H arbor Drive
                                                  West Conshohocken, PA 19428 United States

   Certification
                                                                                                                                     Page I of 2




                                                                         JA184                                                    ASTM000165
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                 Name: Kathleen Hooper
                                            Filed: 01/31/2018  Page 213 of 581
                  Date: March l , 2013




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                                         JA185                      ASTM000166
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                   EXHIBIT 2




                                   JA186
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                                i                                                                                          TX 7-685-915
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                                                                                                                               Effective date of
                                                                                                                                 registration:
                                                                                                                                 March 5, 2013




    Title ·-·- - - - - - - - - - - - - - - - - - - - - - - - - - - -
                                                   Title of Work: ASTM D975-07 Standards Specificaiton for Diesel Fuel Oils

    Completion/Publication - - - - - - - - - - - - - - - - - - - -
                                         Year of Completion:           2007
                                     Date of 1st Publication:          April I, 2007                      Nation of 1st Publication: United States

    Author
                                          •               Author:      ASTM International

                                               Author Created:         Entire Text

                                         Work made for hire:           Yes
                                                   Domiciled in:       United States

    Copyright claimant
                                         Copyright Claimant:           ASTM International
                                                                       100 Barr Harbor Drive, West Conshohocken, PA, 19428, United States

    Limitation of copyright claim
            Material excluded from this claim:                          text

                  Previous registration and year: TX 6-563-072                              2007
                                                                       TX 6-342- 584         2006
                New material included in claim:                        text, editing

     Rights and Permissions
                                         Organization Name: ASTM International
                                                            Name:      Kathleen Hooper
                                                            Email: khooper@astm.org                                                      Telephone:    610-832-9634
                                                         Address:      100 Barr Harbor Drive

                                                                       West Conshohocken, PA 19428 United States

     Certification

                                                                                                                                                         Page l of 2




                                                                                             JA187                                                    ASTM000159
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                                                        Kathleen Hooper     Filed: 01/31/2018  Page 216 of 581
                                                  Date: March 1, 2013




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                   EXHIBIT 3




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     •          Alphanumeric List




                                            ASTM Standards




                   Standards:
                        Specifications       .:..-- ..,. ,.... .. . . . , .. • .; . . ...... > ... ,..,. ..,    2911
                        Test Methods       . ...~,.,..         4   · " ' ' · ·· · ·      ·~~
                                                                                                                7403
                        Terminology        ........ ·~. . . .. . .. , .. . .. ...~,., , , . td'!                 186
                             Total ......~..... ~ ....... . .. <·~"-'                 ~.. .. . ,,., • . <))I   10,500



   Each ASTM standard has a unique serial designation. It is comprised of a capital letter indicating
general classification (A, ferrous metals; B, nonferrous metals; C, cementitious, cermanic, concrete, and
masonry materials; D, miscellaneous materials; E, miscellaneous subjects; F, materials for specific
applications; G, corrosion, deterioration, and degradation of materials; ES, emergency standards; P,
proposals; PS, provisional standards), a serial number (one to four digits), a dash, and the year of issue.
   In each serial designation, the number following the dash indicates the year of original adoption as
standard or, in the case of revision, the year of last revision. Thus, standards adopted or revised during the
year 1999 have as their final number, 99. A letter following this number indicates more than one revision
during that year, that is 99a indicates the second revision in 1999, 99b the third revision, etc. Standards
that have been reapproved without change are indicated by the year of last reapproval in parentheses as
part of the designation number, for example, (1999). A superscript epsilon indicates an editorial change
since the last revision or reapproval; 1:1 for the first change, e2 for the second, etc.
   If a standard is written in acceptable metric units and has a companion standard written in inch-pound
units (or other units), the metric standard is identified by a letter M after the serial number; this standard
contains "hard metric" units.
   If a standard is written in inch-pound units (or other units) and acceptable metric units, the document is
identified by a dual alphanumeric designation.
   When reference is made to a standard, the complete designation should be given. Best practice is to
state the designation and title.
   The boldface number(s) following the title refer to the volume(s) of the Annual Book of ASTM Standards
in which the standard appears.
   This list includes only those standards which appear in the 1999 edition of each volume of the Annual
Book of ASTM Standards. New and revised standards that were approved after the closing date for the
volume are available as separate reprints and will be listed in next year's edition.
   Each ASTM standard is available as a separate reprint from ASTM. Price and order information are
available from ASTM Customer Service, 100 Barr Harbor Drive, West Const,ohocken, PA 19428-2959,
610-832-9585.




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                                                                                      JA190
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D 308           USCA Case #17-7039    Document #1715850     Filed: 01/31/2018  Page 219Dof 581
                                                                                         413


o 308 Discontinued 1940; Method of Test for Oil Content of Petroleum Waxes;       D 361 Discontinued 1868; Specification for Indus/rial 90 Benzene
     Replaced by D 72 I                                                           D 362 Discontinued 1991; Specification for Industrial Grade ToluMe
o 309 Discontinued 1943: Specification for Crushed Stone, Crushed Slag, and       D 363-90(1995) Specification for Tricresyl Phosphate, 06.04
     G,ave/ tor Bituminous Concrete Base arid Surface Courses of Pavemenrs;       D 364 Dlsconl/nued 1982; Specification for Industrial Grade Xylem,
     Replaced by D 692                                                            O 365-84(1996)'1 Test Methods for Soluble Nitrocellulose Base Soluuons,
o 310 Discontinued 1988; Tesr Merhod for Size of Anrhracite; Replaced by                 06.02
     04749                                                                        D 366 Discontinued 1938; Specification for Concrete for Pavements
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                   EXHIBIT 5




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         Form and Style
              for
        ASTM Standards


                                January 2015




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                           FORM AND STYLE
                         FOR ASTM STANDARDS



Form of ASTM Test Methods
Form of ASTM Speciﬁcations
Form of Other Types of ASTM Standards
Use of the Modiﬁed Decimal Numbering System
Terminology in ASTM Standards
Caveats and Other Legal Aspects in Standards—Special Instructions
Standards Style Manual
Use of SI Units in ASTM Standards
Annex A




                              ASTM INTERNATIONAL
       100 Barr Harbor Drive, PO Box C700, West Conshohocken, PA 19428-2959




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                                             PREFACE
     ASTM International (hereafter referred to as ASTM International or ASTM), founded in 1898, is a
scientiﬁc and technical organization formed for “the development of standards on characteristics and
performance of materials, products, systems, and services; and the promotion of related knowledge.” It
is the world’s largest source of voluntary consensus standards.
     The purpose of this manual is to promote uniformity of form and style in ASTM standards. Such
uniformity is desirable because it helps the user to ﬁnd what is needed more easily and to understand
what is read more quickly. Such uniformity in a manuscript is necessary if it is to be published by ASTM
International. Deviations from ASTM style may mean wasted time on the part of authors, reviewers,
editors, and eventually the reader of the standard. This means costly time and resources are lost by
everyone involved.
     Section 10.7 of the Regulations Governing ASTM Technical Committees requires that the current
edition of this manual be followed in the writing of standards. When conditions preclude compliance
with this manual, a committee may request an exemption from the Committee on Standards (COS).
     Responsibility for the Form and Style for ASTM Standards is vested in the Board of Directors.
Revisions to this manual may be recommended by the Board of Directors, by the Committee on
Standards, or by a technical committee or its Executive Subcommittee. The Committee on Standards acts
upon recommendations for changes and reviews all requests from technical committees for exceptions to
the Form and Style for ASTM Standards. Recommended changes to this manual in technical substance
and format shall be referred to the Committee on Standards, which, at a regular meeting, shall rule on the
merits of the recommendation. A circular letter ballot will be issued to the technical committees and the
responses will be addressed by COS. The COS recommendation shall be sent to the Board of Directors.
Changes adopted by the Board of Directors shall be announced to the members and shall become
effective on the date determined by the Board of Directors.
     Suggestions for editorial revision of this manual should be addressed to the Staff Coordinator—Form
and Style Manual, ASTM International, 100 Barr Harbor Drive, PO Box C700, West Conshohocken, PA
19428-2959.




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                                        INTRODUCTION
    This manual is the basic textbook for anyone writing an ASTM standard. A study of Parts A, B, C, or
E will show the proper form for the principal types of standards including a detailed explanation of how
to write each section, from the title to the appendixes. Within Parts A, B, C, and E, the ﬁrst section lists
the preferred sequence of headings and indicates whether these sections are mandatory. The headings
identiﬁed as “mandatory” are required. Other headings shall be included when the subject matter is
pertinent to the document under development, in which case, all instructions and guidance for that
particular section shall be followed. For example, if the standard does not contain reference to any
standard documents within the text, it is not required to include a section on Referenced Documents. If,
however, speciﬁc hazards are cited throughout the text, then the section on Hazards shall be followed.
Included at appropriate places are examples and standard wording. Also included are examples of
correctly written complete manuscripts of various types of standards. Where standards are referenced
throughout the text of this manual, visit the ASTM website, www.astm.org, and refer to the standard’s
Document Summary page.
    For easy reference purposes, each paragraph in an ASTM standard shall be numbered. The modiﬁed
decimal numbering system adopted is explained in Part D. Part E gives instructions for preparing
standard deﬁnitions and a format for specialized terminology standards. Special instruction concerning
patents, use of trademarks, open-end agreements, ﬁre standards, and other legal issues are given in Part
F.
    Part G is a detailed Style Manual that includes among other things information on abbreviations,
spellings, literature references, and preparation of illustrations.
    ASTM policy is that SI units be included in all standards. Part H is included to aid the standards
writer to incorporate these units correctly. It is the technical committee’s decision whether SI or other
units are the preferred unit of measurement used in the committee’s document. When SI and non-SI units
of measurement are contained in a document, the order in which they appear is determined by that
committee.
    For additional information about ASTM procedures, or available publications such as the
Regulations Governing ASTM Technical Committees and Officer Handbook, contact ASTM Technical
Committee Operations, 100 Barr Harbor Drive, PO Box C700, West Conshohocken, PA 19428-2959
(Telephone: 610-832-9673).




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                                          DEFINITION
     The following deﬁnitions apply to the use of the content of this manual and clarify which sections or
formats, or both, are mandatory when presenting ASTM documents:
     1. “Shall” is used to indicate that a provision is mandatory.
     2. “Should” is used to indicate that a provision is not mandatory but is recommended as good
practice.
     3. “May” is used to indicate that a provision is optional.
     4. “Will” is used to express futurity, but never to indicate any degree of requirement.
     Deﬁnitions for standard, classiﬁcation, guide, practice, speciﬁcation, terminology, and test method
are quoted below from the current Regulations Governing ASTM Technical Committees:
     standard, n— as used in ASTM International, a document that has been developed and established
within the consensus principles of the Society and that meets the approval requirements of ASTM
procedures and regulations.
     DISCUSSION—The term “standard” serves in ASTM International as a nominative adjective in the
title of documents, such as test methods or speciﬁcations, to connote speciﬁed consensus and approval.
The various types of standard documents are based on the needs and usages as prescribed by the
technical committees of the Society.
     classiﬁcation, n— a systematic arrangement or division of materials, products, systems, or services
into groups based on similar characteristics such as origin, composition, properties, or use.
     guide, n— a compendium of information or series of options that does not recommend a speciﬁc
course of action.
     DISCUSSION—A guide increases the awareness of information and approaches in a given subject
area.
     practice, n— a deﬁnitive set of instructions for performing one or more speciﬁc operations that does
not produce a test result.
     DISCUSSION—Examples of practices include, but are not limited to: application, assessment,
cleaning, collection, decontamination, inspection, installation, preparation, sampling, screening, and
training.
     speciﬁcation, n— an explicit set of requirements to be satisﬁed by a material, product, system, or
service.
     DISCUSSION—Examples of speciﬁcations include, but are not limited to, requirements for;
physical, mechanical, or chemical properties, and safety, quality, or performance criteria. A speciﬁcation
identiﬁes the test methods for determining whether each of the requirements is satisﬁed.
     terminology standard, n— a document comprising deﬁnitions of terms; explanations of symbols,
abbreviations, or acronyms.
     test method, n— a deﬁnitive procedure that produces a test result.
     DISCUSSION—Examples of test methods include, but are not limited to: identiﬁcation, measure-
ment, and evaluation of one or more qualities, characteristics, or properties. A precision and bias
statement shall be reported at the end of a test method. (Refer to Section A21 on Precision and Bias.)
     approval date, n— the date assigned by ASTM International through the Committee on Standards,
which indicates that a new standard, revision or reapproval has successfully completed the balloting and
appeals process in accordance with the Regulations Governing ASTM Technical Committees.
     publication date, n— the month/year that an approved standard is made publicly available in either
electronic or hardcopy form.




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                                                PART A

                           FORM OF ASTM TEST METHODS

                                          INTRODUCTION

     An ASTM test method, as deﬁned on p. vii, typically includes a concise description of an orderly
procedure for determining a property or constituent of a material, an assembly of materials, or a product.
The directions for performing the test should include all of the essential details as to apparatus, test
specimen, procedure, and calculations needed to achieve satisfactory precision and bias.
     An ASTM test method should represent a consensus as to the best currently available test procedure
for the use intended. It should be supported by experience and adequate data obtained from cooperative
tests.
     In order to be the “best currently available,” test methods need periodic review to determine whether
revisions are desirable as the result of technological advances in manufacturing, testing, and use
requirements.
     ASTM test methods are frequently intended for use in the buying and selling of materials according
to speciﬁcations and therefore should provide such precision that when the test is properly performed by
a competent operator the results will be found satisfactory for judging the compliance of the material
with the speciﬁcation. These test methods cover the determination of fundamental properties of materials
such as density, absolute viscosity, softening point, and ﬂash point. They may include a variety of
different laboratory procedures such as chemical and spectrochemical analyses, mechanical and
electrical tests, weathering tests, visual examination, ﬁre tests, performance characteristics, sampling,
nondestructive tests, and radiation exposure tests. In some standards, optional test methods are included.
     Statements addressing precision and bias are required in ASTM test methods. This gives the user of
the test method an idea of the nature of the sample to be prepared and analyzed and information
regarding the nature of the data obtained by using the method. The requirement of precision and bias
statements does not mean that numerical statements are required. It means that the spread of resulting
data and its relationship to an accepted reference material or source (if available) shall be addressed.
Some test methods have no numerical expression of precision or bias (for example, pass/fail tests, spot
tests.) In these cases, precision and bias shall be addressed and the reasons for not including relevant data
explained. Test methods are sometimes prepared for use in research rather than in the buying and selling
of materials. Other test methods cover process control, screening, and ﬁeld tests. Although these latter
test methods may not always be as precise as referee test methods, they are sufficiently precise for the
intended use and usually require less time. Field tests allow testing at the site, thus eliminating
transportation of specimens to and from the laboratory.
     Special instructions with respect to the legal aspects are included in Part F and shall be followed in
writing any standard. These include such matters as contractual items, caveat statements, patents, and ﬁre
standards. Assistance on the development of ﬁre standards is available from Committee E05. The
policies contained in Part F are approved by and are under the jurisdiction of the ASTM Board of
Directors.
     When a standard is being developed, the costs associated with its development and subsequent use
generally should be considered. The prime objective should be the optimum use of resources to achieve
satisfactory deﬁnition of the product or service. However, it should be noted that when the standard
relates to the safety of persons, cost considerations are likely to become much less important than when
attributes of materials or products are involved. Some standards, such as deﬁnitions, impose no cost on
the user; others that include numerous and extensive requirements can entail signiﬁcant expense to users
of the standard. The requirements to be included should, therefore, be those that are technically relevant
and yield beneﬁts commensurate with the cost of their determination.

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    Cost effectiveness statements or rationale may be included within a standard if appropriate, usually
in an appendix.

A1. Subject Headings of Text                                        test methods, repetition of appropriate headings
    A1.1 The following is the sequence for the                      may be desirable.
text of ASTM test methods. Headings are those                           A1.3 Subject headings in boldface type shall
most generally used but may not be all-inclusive.                   precede each section to orient the reader. Text
It may be necessary to include other headings for                   divisions shall be subdivided in accordance with
specialized subjects. The headings identiﬁed as                     the Use of the Modiﬁed Decimal Numbering
“mandatory” are required. Other headings shall                      System guide in Part D of this publication.
be included when the subject matter is pertinent                        A1.4 For convenience in application and
to the document under development, in which                         when economy in printing may result, test meth-
case, all instructions and guidance for that par-                   ods may include a series of procedures for deter-
ticular section shall be followed. For example, if                  mining the same or different properties of a given
the standard does not contain reference to any                      material. In such test methods, include at the
standard documents within the text, it is not                       beginning of the standard individual sections
required to include a section on Referenced                         describing those features that are common to all
Documents. If, however, speciﬁc hazards are                         of the separate test methods. Identify different
cited throughout the text, then the section on                      methods within the standard by capital letters,
Hazards shall be followed.                                          starting with A; i.e., Test Method A, Test Method
                                                                    B, etc.
       Title (mandatory)                                                A1.5 Examples of test methods for single
†      Designation (mandatory)                                      determination:
†      Introduction
       Scope (mandatory)
†      Referenced Documents                                           B331 Test Method for Compressibility of Metal Powders in
†      Terminology                                                  Uniaxial Compaction
       Summary of Test Method                                         C693 Test Method for Density of Glass by Buoyancy
       Signiﬁcance and Use (mandatory)
       Interferences                                                    A1.6 Examples of test methods covering a
       Apparatus
       Reagents and Materials
                                                                    series of test methods:
       Hazards (mandatory when applicable)
       Sampling, Test Specimens, and Test Units                        D1179 Test Methods for Fluoride Ion in Water
       Preparation of Apparatus                                        D2137 Test Methods for Rubber Property—Brittleness
       Calibration and Standardization                              Point of Flexible Polymers and Coated Fabrics
       Conditioning                                                    F38 Test Methods for Creep Relaxation of a Gasket Mate-
       Procedure (mandatory)
                                                                    rial
       Calculation or Interpretation of Results
       Report
       Precision and Bias (mandatory)                                    A1.7 In deciding whether to describe similar
       Measurement Uncertainty                                      test methods as portions of a single standard or as
†      Keywords (mandatory)
†      Annexes and Appendixes
                                                                    separate test methods, the following criterion
†      References                                                   may be found useful: When the descriptions of
       Summary of Changes                                           the apparatus and procedure are similar and a
† The headings marked with a dagger (†) should appear only          signiﬁcant economy in printing can be accom-
once in test methods that contain two or more test methods.         plished by combining, and if, because of clearly
                                                                    understood distinctions in applicability, no confu-
     A1.2 Not all of these headings may be                          sion can rise as to which test method should be
required for a particular standard. Additional                      used, then it is desirable to treat the test methods
headings that are included to cover specialized                     as parts of a single standard. If confusion could
subjects should appear in the most appropriate                      arise, the test methods should be published sepa-
place, depending on their relation to the sections                  rately. If one test method is preferred as a referee
listed in A1.1. When a standard includes several                    method, it should be so designated, in which case

                                                              A-2
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the other test methods should be designated as                          A3.1.2 A sequential number following the
optional or nonreferee. When test methods are                      letter designation (for example, Speciﬁcation
published separately, a worthwhile saving can be                   C150).
accomplished by making cross-references from                            A3.2 Year Date: (for example, Speciﬁcation
one test method to another for the apparatus and                   C150-01).
detailed description of the procedure.                                  A3.2.1 After the designation, a hyphen is
                                                                   followed by the last two numbers of the year of
                                                                   acceptance or of last revision. If the standard is
A2. Title (Mandatory)                                              revised again during the same year, this is indi-
     A2.1 The title should be concise but com-                     cated by adding an “a” for the second revision,
plete enough to identify the nature of the test, the               “b” for the third revision, etc.
material to which is it applicable, and to distin-                      A3.2.2 The parenthetical phrase “(Reap-
guish it from other similar titles. Titles of analo-               proved 20___)” to designate the year of last
gous standards should be identical, except for the                 preapproval of a standard, if applicable.
distinctive feature(s) of each standard. Titles are                     A3.2.3 For editorial changes that do not
used frequently in lists, tables of contents,                      change the year designation, a note is inserted
indexes, tabulating card systems, etc., and there-                 before the text to indicate the location and date of
fore should be brief but inclusive. Select words                   the change and a superscript epsilon (ε) is added
that easily lend themselves to indexing. The                       after the year designation. The epsilon designa-
essential features of a title are the particular                   tions and corresponding notes are numbered
property or constituent being determined, the                      chronologically and are deleted upon occasion of
material to which the test method is applicable,                   the next revision or reapproval.
and when pertinent, the technique or instrumen-                         A3.3 The designation numbers of standards
tation. If the test method is designated to deter-                 that have been discontinued are not reassigned.
mine a number of constituents or properties, use a                      A3.4 SI Standards (see Part H and Section
general title, omitting the names of speciﬁc con-                  G24.)
stituents or properties. When a standard includes
a number of individual test methods for different
constituents or properties, the title need indicate                A4. Introduction
only the general nature of the tests and the                           A4.1 A separate section covering general
material to which it is applicable.                                introductory or informational material is not gen-
                                                                   erally used in ASTM test methods. Occasionally,
                                                                   a test method is of such a nature that it requires an
A3. Designation and Year Date                                      explanatory statement for proper understanding
    A3.1      Designation (mandatory)— The                         by the user. In such instances an introduction
ASTM designation, assigned by Headquarters on                      should be included immediately after the title of
submittal for approval, consists of the following                  the test method but without a section number.
sequential parts:                                                      A4.2 Examples of test methods that include
    A3.1.1 A letter designation denoting in gen-                   introductions are as follows:
eral the classiﬁcation according to material, prod-
                                                                     D143 Test Methods for Small Clear Specimens of Timber
uct, system or service.                                              D905 Test Method for Strength Properties of Adhesive
                                                                   Bonds in Shear by Compression Loading
   A—Ferrous metals and products
   B—Nonferrous metals and products
   C—Cementitious, ceramic, concrete, and masonry materi-
                                                                   A5. Scope (Mandatory)
als                                                                    A5.1 Include in this section information
   D—Miscellaneous materials and products                          relating to the purpose of the test method. State if
   E—Miscellaneous subjects                                        the method is quantitative or qualitative, and any
   F—End-use materials and products
   G—Corrosion, deterioration, weathering, durability, and         known limitations. Concisely state the property
degradation of materials and products                              or constituent that is being determined and the

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materials that can be analyzed. State the range of                     used language should be deﬁned within a stan-
concentrations/values determined.                                      dard or the terminology standard should be refer-
    A5.2 Include, where applicable, the analyti-                       enced. (See Part E on Terminology.)
cal technique, for example, gas chromatography,                            A7.1.2 To avoid redundant deﬁnitions,
and whether the test is performed in the labora-                       check the committee terminology standard, ter-
tory, ﬁeld, or on-line.                                                minology sections within committee technical
    A5.3 Include in this section the system of                         standards, and the ASTM Online Dictionary of
units to be used in referee decisions.                                 Engineering Science and Technology.
    A5.4 Include in this section any caveats                               A7.2 Terminology Within a Standard— This
required by ASTM policy such as the caveats on                         section may include paragraphs on deﬁnitions,
safety hazards (see F2.1) and ﬁre hazards (see                         deﬁnitions of terms speciﬁc to a standard, sym-
F2.2).                                                                 bols, abbreviations, acronyms, discussions, or a
    A5.5 For standards developed for reference                         combination thereof.
in model (building) codes, include the following                           A7.2.1 Deﬁnitions— Write a deﬁnition in
statement:                                                             the dictionary-deﬁnition form and assign a sec-
                                                                       tion number, term, part of speech, deﬁnition, and,
   The text of this standard references notes and footnotes            when applicable, a delimiting phrase. Italicize the
which provide explanatory material. These notes and foot-
notes (excluding those in tables and ﬁgures) shall not be con-         term, part of speech, and delimiting phrase. Do
sidered as requirements of the standard.                               not capitalize the term or any other components
                                                                       of the deﬁnition except for proper nouns, acro-
A6. Referenced Documents                                               nyms, or any other words capitalized in normal
    A6.1 List in alphanumeric sequence the                             usage (see Section E4). List the terms in alpha-
designation and complete title of the following                        betical order. Example follows:
documents referenced within the standard; ASTM
standards and adjuncts; and standards and codes                          3. Terminology—(Always use as the main heading.)
of other organizations. For references to all other                      3.1 Deﬁnitions:
documents, including ASTM STPs, use the for-                             3.1.1 color blindness, n—total or partial inability to differ-
                                                                       entiate certain hues.
mat indicated in Section G21.                                            3.1.2 transmittance, n—of light, that fraction of the inci-
    A6.2 Provide footnotes to this section to                          dent light of a given wavelength which is not reﬂected or
indicate the sources of these documents. When                          absorbed, but passes through a substance.
ASTM standards are referenced later in the text,
use only the type of standard (that is, speciﬁca-                          A7.2.2 Discussions— When more detail of
tion, test method, practice, classiﬁcation, guide,                     the concept being deﬁned is desirable, supple-
terminology, etc.) and the designation letter and                      mentary information should be added as a sepa-
number (for example, Test Method D1310).                               rate numbered paragraph labeled “Discussion”
    A6.3 Do not include the year date when                             immediately following the deﬁnition. Use the
designating referenced documents unless there is                       term “Discussion” instead of “Note” (see E5.8).
a technical reason for requiring a particular revi-                    Example follows:
sion.
    A6.4 When listing referenced adjuncts, pro-                           3.1.2.1 Discussion—Extraneous leakage is the sum of all
                                                                       leakage other than that intended to be
vide a brief description in this section, and a                        measured by the test.
footnote of the availability. (For more speciﬁc                                                                               E283
information on adjuncts, refer to Section A28).
                                                                           A7.2.3 Deﬁnition(s) of Term(s) Speciﬁc to
A7. Terminology                                                        This Standard— This is a term that is speciﬁc to
    A7.1 Every standard should include a sec-                          the standard in which it is used and that has no
tion on terminology.                                                   application out of that context. Write a deﬁnition
    A7.1.1 All signiﬁcant terms that may have a                        of term speciﬁc to a standard in the dictionary-
meaning more specialized than the commonly                             deﬁnition form and include a section number,

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term, part of speech, deﬁnition, and, when appli-                        A9. Signiﬁcance and Use (Mandatory)
cable, a delimiting phrase. Italicize the term, part                         A9.1 Include in this section information that
of speech, and delimiting phrase. Do not capital-                        explains the relevance and meaning of the test.
ize the term or any other components of the                              State the practical uses for the test and how it is
deﬁnition except for proper nouns, acronyms, or                          typically employed. Avoid repetition of informa-
other words capitalized in normal usage (see                             tion included in the Scope (see Section A5).
Section E4). List the terms in alphabetical order.                       Include statements to provide the user with com-
Example follows:                                                         prehensive understanding of the following:
                                                                             A9.1.1 The meaning of the test as related to
   3.1 Deﬁnition of Terms Speciﬁc to This Standard:                      the manufacture and end use of the material,
   3.1.1 batch sampling, n—sampling over some time period
in such a way as to produce a single test sample for analysis.
                                                                             A9.1.2 The suitability of the test for speciﬁ-
                                                        D4175            cation acceptance, design purposes, service
                                                                         evaluation, regulatory statutes, manufacturing
    A7.2.4 Symbols— In a standard with numer-                            control, development and research, and
ous equations containing identical quantity sym-                             A9.1.3 The fundamental assumptions inher-
bols, symbols may be listed alphabetically and                           ent in the test method that may affect the useful-
unnumbered in this section instead of under each                         ness of the results.
equation; also italicize the symbol and do not                               A9.2 Include any discretion needed in the
capitalize the deﬁnition. (See also Section E6.)                         interpretation of the results of the test.
Example follows:                                                             A9.3 Include, where applicable, compari-
                                                                         sons of the test to other similar procedures.
  3.1 Symbols:
  A = cross-sectional area of specimen
  B = normal induction                                                   A10. Interferences
                                                                              A10.1 If the successful application of the
    A7.2.5    Referencing Terminology Stan-                              test method requires the inclusion of explanatory
dard— If the terminology applicable to the stan-                         statements on interference effects, include such
dard is included in a terminology standard, cite                         information here; otherwise, omit this section.
the applicable terminology standard. Example                             List brieﬂy the constituents or properties that are
follows:                                                                 likely to cause interference and the amounts that
                                                                         are known to interfere. In some cases this infor-
   3.1 Deﬁnitions:                                                       mation is obtainable only by observation during
   3.1.1 For deﬁnitions of terms used in this test method, refer
to Terminology D1129.
                                                                         the performance of the test. If the presence of an
                                                                         interfering factor affects the precision or bias of
                                                                         the test results and compensations are made in the
A8. Summary of Test Method                                               calculations (Section A19), this should be
     A8.1 Include here a brief outline of the test                       explained in this section and noted in the appro-
method, describing in the passive voice its essen-                       priate section. In some cases, interferences may
tial features without the details that are a neces-                      be a major factor in judging test results and
sary part of the complete statement of procedure.                        explanations of their effects may become lengthy.
If desired, a brief statement of the principle of the                    Lengthy explanations may be placed in an annex
test method may be given; this is particularly                           to the standard.
desirable in the case of chemical methods and
should appear as the ﬁrst paragraph. In chemical                         A11. Apparatus
methods state the type of procedure, such as                                 A11.1 In this section, include a brief
colorimetric, electrometric, and volumetric, and                         description of the essential features of the appa-
describe the source of color, major chemical                             ratus and equipment required for the test, and,
reaction including pertinent chemical equations,                         where they clarify or supplement the text, sche-
etc.                                                                     matic drawings or photographs. Cover in separate

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text divisions the important features and require-                     made to them in the other standard, mentioning
ments for the apparatus. Do not list common                            under “Apparatus” only such modiﬁcations as
laboratory apparatus, such as ﬂasks and beakers,                       may apply in each particular case.
but include any especially modiﬁed forms or
unusual sizes of common apparatus that are                                 A11.5 When the same apparatus is used in
required or that may require special preparation.                      several standards, the detailed speciﬁcations
     A11.2 Trademarks shall not be used unless a                       should be covered by a separate ASTM standard.
speciﬁc manufacturer’s product is required for a                       Examples of such standards are:
well-deﬁned reason (see Section F3 for regula-
                                                                         E1 Speciﬁcation for ASTM Thermometers
tions regarding patents in ASTM standards). In                           E133 Speciﬁcation for Distillation Equipment
such cases an explanatory footnote shall be
included giving supplementary information
regarding such apparatus or material. The foot-                            A11.6 It is the responsibility of the sponsor-
note shall state that this apparatus or material                       ing committee to assure itself that suitable appa-
“has been found satisfactory for this purpose.”                        ratus is available (see Section F4).
When special types of glassware are required,                              A11.6.1 If the apparatus is special or not
such as heat-resistant and chemical-resistant,                         readily available, detailed rules for referencing
state the signiﬁcant characteristic desired rather                     sources of supply shall be followed (see Section
than a trademark. For example, use “borosilicate                       F4).
glass” rather than “Pyrex” or “Kimax.” Specify                             A11.6.2 If the apparatus has to be built,
ﬁlter paper by describing the signiﬁcant charac-                       blueprints, plans, etc., should be cited in a foot-
teristic such as porosity, rate of ﬁltering, and ash                   note in this section as available through ASTM
content, or by reference to ASTM Speciﬁcation                          International Headquarters as adjunct material to
E832, for Laboratory Filter Papers                                     the standard.
  NOTE A1—Policies have been adopted by the Board of
Directors that are applicable to standards involving patented
apparatus, materials, and processes. These policies are                A12. Reagents and Materials
described in the Regulations Governing ASTM Technical
Committees. Before submitting to subcommittee or main                      A12.1 When more than one procedure is
committee ballot any draft test method that requires a speciﬁc
manufacturer’s product, consult the Staff Manager of your
                                                                       included in one standard, list the reagents and
committee as to necessary conformance with the Regulations             materials required for each procedure as a sepa-
Governing ASTM Technical Committees.                                   rate section under each subdivision.
    A11.3 Detailed manufacturing requirements                              A12.2 It is recommended that, where appli-
for apparatus, unless quite brief, should prefer-                      cable, the following be included as secondary
ably be placed in an annex to the test method (see                     sections “.1” and “.2” of this section:
A24.3), retaining in the text only a brief outline
with schematic drawings or illustrations where                            6.1 Purity of Reagents—Reagent grade chemicals shall be
necessary. The purpose of this outline is to                           used in all tests. Unless otherwise indicated, it is intended that
                                                                       all reagents conform to the speciﬁcations of the Committee
provide information regarding the essential fea-                       on Analytical Reagents of the American Chemical Society
tures of the apparatus, to enable the user to                          where such speciﬁcations are available.1 Other grades may be
assemble the equipment and understand its use in                       used, provided it is ﬁrst ascertained that the reagent is of suf-
                                                                       ﬁciently high purity to permit its use without lessening the
the test method.                                                       accuracy of the determination.
    A11.4 When essentially the same apparatus                             6.2 Purity of Water—Unless otherwise indicated, references
is used for more than one standard and the                             to water shall be understood to mean reagent water as deﬁned
                                                                       by Type ___ of Speciﬁcation D1193.
description of the apparatus requirements is
lengthy, it is recommended that the complete
                                                                          NOTE A2—The identifying number (for example 6.1 and
speciﬁcations for the apparatus be included in an                      6.2 as above) used in recommended texts are for illustrative
annex to one standard and merely a reference be                        purposes.

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  1
    Reagent Chemicals, American Chemical Society Speciﬁ-                footnote such as “This reagent is used for stan-
cations, American Chemical Society, Washington, DC. For
suggestions on the testing of reagents not listed by the Ameri-
                                                                        dardization purposes only.”
can Chemical Society, see Analar Standards for Laboratory                   A12.5 Specify the reagent concentration in
Chemicals, BDH Ltd., Poole, Dorset, U.K., and the United                applicable terms, as follows:
States Pharmacopeia and National Formulary, U.S. Pharma-
copeial Convention, Inc. (USPC), Rockville, MD.
                                                                           Concentrated acids and bases ... density, unless mass per-
                                                                        cent is more generally used or required
    A12.2.1 If a different grade of water is                               Dilute acids and bases ... volume ratio, X + Y (X volumes
required, add a second sentence as follows:                             of reagent added to Y volumes of water)
                                                                           Nonstandardized solutions ... grams of reagent as weighed
“Water conforming to the following speciﬁca-                            out per litre of solution
tions is required” (list the speciﬁc properties,                           Standardized solutions ... normality, expressed decimally;
kinds of ion freedom, etc.)                                             or the equivalent of 1 mL of solution in terms of grams of a
                                                                        given element expressed as “1 mL + xxx g of ...”
    A12.2.2 In standards covering two or more
chemical methods these statements on purity
                                                                            A12.6 Wherever possible, use the same
should be made in a separate section entitled
                                                                        concentrations of reagents and methods of stan-
“Purity of Reagents.”
                                                                        dardization as used in other similar ASTM test
    A12.3 List the reagents alphabetically in                           methods.
separate divisions. Give the name of the reagent                            A12.7 Examples of reagent descriptions are
ﬁrst, followed by any descriptive terms (see                            as follows:
A12.7). State the desired concentration if signiﬁ-                          A12.7.1          Ammonium        Carbonate
cant; then follow with instructions for preparation                     (NH4)2CO3).
and standardization (if required), using the                                A12.7.2 Sodium Chloride Solution (100
imperative mood and concise descriptions. Spell                         g/L)—Dissolve 100 g of sodium chloride (NaCl)
out the full name of the reagent, and immediately                       in water and dilute to 1 L.
after the ﬁrst mention of the name include within                           A12.7.3 Potassium Hydroxide, Methanol
parentheses the exact chemical formula of the                           Solution (33 g/L)—Dissolve 33 g of potassium
reagent showing any water of crystallization, etc.                      hydroxide (KOH) in methanol and dilute to 1 L
Exception to this may be made in the case of                            with methanol.
organic, organometallic, or complex inorganic                               A12.7.4 Barium Chloride Solution (100 g
compounds by omitting the chemical formula.                             BaCl2/L)—Dissolve 117.3 g of barium chloride
Subsequent references to compounds shall be by                          dihydrate (BaCl2 · 2H2O) in water and dilute to 1
formula only where they can be clearly speciﬁed                         L.
by this means, as in the case of most inorganic
compounds. As exceptions, always spell out the
word “water” and the names of substances in                             A13. Hazards
their elementary state; for example, use lead, not                          A13.1 Safety Hazards— Paragraph F2.1
Pb; oxygen, not O2. If the reagent is to be used as                     speciﬁes the generic safety hazards caveat and the
purchased, and not diluted, dissolved, or puriﬁed,                      types of standards in which it shall be used. Other
state the chemical formula as given by the manu-                        statements on safety are subject to the following
facturer.                                                               policies.
    A12.4 Do not use trademarks unless a spe-                               A13.1.1 Warning Statement— A warning
ciﬁc manufacturer’s product is required for a                           statement identiﬁes a speciﬁc hazard and pro-
well-deﬁned reason. (See Section F4.) In this                           vides information for avoiding or minimizing a
case, use a superior reference number to refer to a                     particular hazard. When there are hazards to
footnote giving the required information, incor-                        personnel, such as explosion, ﬁre toxicity, or
porating the phrase “has been found satisfactory                        radiation, or technical hazards, such as damage to
for this purpose.” Where particular reagents are                        equipment, a warning statement shall be placed at
required only for standardization or calibration,                       the appropriate point in the text beginning with
identify them by reference to an appropriate                            “Warning” in boldface type followed by a

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description of the hazard, or a reference to a                  A14.5 Where an existing sampling method
description of the hazard within the body of the           (other than ASTM) is cited in a test method,
standard (refer to A13.1.2).                               guidelines should be given as to the use of the
     A13.1.2 Remedial Statements— A remedial               sampling scheme and precautions if needed. If
statement provides recommendations for treating            explanatory documents regarding sampling are
a situation resulting from an unsuccessfully con-          available, these should be cited in this section.
trolled hazard associated with the use of a stan-               A14.6 A test unit is a unit or portion of a
dard. Such remedial statements shall not be                material that is sufficient to obtain a test result(s)
included in standards, but reference may be made           for the property or properties to be measured. A
in a note to authoritative sources where reliable          test specimen is a test unit or portion of a test unit
information about remedial measures can be                 upon which a single or multiple observation is to
obtained such as the appropriate Material Safety           be made. A test result refers to the value obtained
Data Sheet (MSDS) where applicable.                        for a given property from one test unit. A test unit
                                                           may be a subunit of a primary (ﬁrst stage)
                                                           sampling unit or it may be a subunit of a
A14. Sampling, Test Specimens, and Test                    composite of primary sampling units or of incre-
Units                                                      ments from these primary sampling units. A test
     A14.1 Under this heading give necessary               result may be a single observation or a combina-
special directions, in the imperative mood, for            tion of a number of observations when two or
physically obtaining sample test units. If a test          more test specimens are measured for each test
result is deﬁned as a combination of the observa-          unit. (For additional information see Section
tions made on different test specimens, particu-           G23.)
larly describe how these specimens are to be                    A14.7 The size of the test unit for chemical
selected. Give necessary special directions for            analysis usually is given in the “Procedure”
storage of specimens, for preservation of speci-           section, but if signiﬁcant in connection with
mens, and for special preparation of specimens             pretreatment or preparation, it should be included
for the test.                                              here. When a test specimen is speciﬁed by mass,
     A14.2 Statistical aspects of sampling for a           indicate the degree of precision desired.
speciﬁc purpose, for example, in determining                    A14.8 Include detailed requirements as to
conformance of the mean properties of a lot to             the size and number of test specimens to be used
speciﬁcations, should be referenced or discussed           for both physical and chemical tests. Where a test
in an appendix. These statistical aspects might            specimen or test unit of a particular shape is
include stratiﬁcation, selection of primary and            required, the essential dimensions shall be speci-
secondary sampling units, the number of such               ﬁed, including tolerance. A drawing showing the
units to be selected, in the case of bulk material         details of the specimen or test unit may be
the number of increments combined to form a                included.
composite sample, the number of composites to
be formed, the method of subsampling a compos-
ite, and the number of tests made on a subsample.          A15. Preparation of Apparatus
     A14.3 If the method of sampling is                        A15.1 Use this section only when detailed
described in an existing ASTM test method or               instructions are required for the initial assembly,
ASTM speciﬁcation, refer to that test method or            conditioning, or preparation of the apparatus (see
speciﬁcation by designation.                               also A24.3.6).
     A14.4 If the method of sampling is detailed
in a readily available publication other than an           A16. Calibration and Standardization
existing ASTM standard, refer to the publication               A16.1 Apparatus— Give detailed instruc-
in a footnote, arranging the information in accor-         tions, in the imperative mood, for calibration and
dance with the suggestions presented in the Stan-          adjustment of the apparatus necessary for the use
dards Style Manual, Part G, of this publication.           of the test method.

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    A16.2 Reference Standards and Blanks—                      A18.2 In chemical methods, specify the size
Give detailed instructions for the standardization         of test specimen and indicate the degree of
and use of reference standards and blanks used in          precision desired in the weighing. Consider the
the test method. Describe any standard samples             specimen size and its accuracy of weighing in
used to assure uniformity of the test technique,           connection with the ultimate use of the method. If
and standard specimens or photographic stan-               the formula for a reagent has been given previ-
dards.                                                     ously in accordance with the instructions given in
    A16.3 Calibration Curves and Tables—                   A12.3, refer to the reagent by chemical formula
Give detailed instructions for the preparation and         only or name, whichever is less confusing. Oth-
use of calibration curves or tables, in accordance         erwise, spell out the name of the reagent. The
with the suggestions presented in the Standards            procedure shall provide for any operations neces-
Style Manual, Part G, of this publication. Include         sary to obtain any correction data that may be
in the instructions for curve or table preparation         needed.
items such as calibration, solutions, reference
standards, blanks, color development, photom-
                                                           A19. Calculation or Interpretation of
etry, and construction.
                                                           Results
                                                                A19.1 Calculation— State the directions in
A17. Conditioning                                          the imperative mood for calculating the results of
    A17.1 Specify, in the imperative mood, the             test including any equations and any required
conditioning atmosphere to be used and the time            signiﬁcant ﬁgures (see also Section G16 and
of exposure to the atmosphere, as well as the              ASTM Practice E29 for Using Signiﬁcant Digits
atmosphere required during the test, where neces-          in Test Data to Determine Conformance with
sary. State whether the conditioning requirements          Speciﬁcations.) Spell out names in the text but
apply to laboratory samples as well as individual          use letter symbols in the equations to designate
specimens. Indicate any requirements for precon-           individual values. Use numerical values for any
ditioning. Where applicable, refer to ASTM Ter-            constants. Describe the letter symbol immedi-
minology E41, Terms Relating to Conditioning,              ately under the equation (unless a section on
and to ASTM Practice E171/E171M, for Condi-                symbols is included; see A7.2.4). Avoid the use of
tioning and Testing Flexible Barrier Packaging.            combined factors in chemical methods. Indicate
                                                           the reference point on which the calculations are
                                                           based, such as on the sample as received and dry
A18. Procedure (Mandatory)                                 basis, and the units in which the results are
    A18.1 Include in proper sequence detailed              reported. If necessary for clarity, a typical calcu-
directions for performing the test. Describe the           lation should be included in an explanatory note.
procedure in the imperative mood, present tense;                A19.1.1 An example of a typical equation is:
for example: “Heat the test specimen ...” rather
than “The test specimen shall be heated ...” State                    Aluminum, % =
                                                                                      (A 3B) 30.0587
                                                                                                              3100
                                                                                                   C
the number of samples to be taken, and also state
the number of specimens to be tested from each               where:
sample. Describe in detail the successive steps of           A = grams of aluminum oxyquinolate found in the aliquot
the procedure, grouping related operations into            used,
                                                             B = grams of aluminum oxyquinolate found in the blank,
logical divisions. Subheadings may be used if              and
they will help the organization of the material.             C = grams of sample represented in the aliquot used.
Make the text of the procedure concise, to the
point, and easily understandable. When alterna-                A19.2 Interpretation of Results— Use this
tive procedures are given, state their relative            heading in place of “Calculation” when the
status; that is, which is the preferred or referee         results of the test are expressed in descriptive
procedure.                                                 form, relative terms, or abstract values. List and

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deﬁne the descriptive terms or classiﬁcations                          allows potential users of the test method to assess
used. The results of a test may be interpreted or                      in general terms its usefulness in proposed appli-
expressed in terms of a rating scale. There is                         cations. A statement on precision is not intended
fairly wide agreement on ﬁve-step scales for                           to contain values that can be duplicated in every
many values or rankings of merit, with 5-good,                         user’s laboratory. Instead the statement provides
3-middle, 1-bad. In general, a higher score for                        guidelines as to the kind of variability that can be
more of a desirable property is the more satisfac-                     expected between test results when the test
tory arrangement. This eliminates confusion aris-                      method is used in one or more reasonably com-
ing from No. 1 in rank for the most of a quantity,                     petent laboratories.
without regard to the relative desirability.                                A21.2.2 Precision shall be estimated in
     A19.2.1 Examples of test methods that                             accordance with the interlaboratory test program
include rating systems are:                                            prescribed in Practice E691, Conducting an Inter-
                                                                       laboratory Study to Determine the Precision of a
  D130 Test Method for Detection of Copper Corrosion from              Test Method, or by an interlaboratory test pro-
Petroleum Products by the Copper Strip Tarnish Test
  D3511/D3511M Test Method for Pilling Resistance and                  gram that yields equivalent information, for
Other Related Surface Changes of Textile Fabrics: Brush Pill-          example, a standard practice developed by an
ing Tester Method                                                      ASTM technical committee. The data and details
                                                                       of the interlaboratory study to determine preci-
A20. Report                                                            sion shall be ﬁled as a research report at ASTM
     A20.1 State in this section the detailed                          International Headquarters. The precision state-
information required in reporting the results of                       ment shall include reference to the research report
the test. When two or more procedures are                              in a Note.
described in a test method, the report shall                                A21.2.3 Every test method shall contain: (1)
indicate which procedure was used. When the test                       a statement regarding the precision of test results
method permits variation in operating or other                         obtained in the same laboratory under speciﬁcally
conditions, incorporate in the report a statement                      deﬁned conditions of within-laboratory variabil-
as to the particular conditions used in the test. As                   ity (repeatability conditions); and (2) a statement
an aid in the calculation and uniform recording of                     regarding the precision of test results obtained in
test results a standard report form or work sheet                      different laboratories (reproducibility conditions).
may be used, and if desirable a facsimile of the
                                                                            A21.2.4      The repeatability conditions
form may be included in the test method. Intro-
                                                                       deﬁned in Terminology E456 shall be used;
duce the section as follows: “Report the follow-
                                                                       namely, within-laboratory conditions under
ing information:”
                                                                       which test results are obtained with the same test
                                                                       method in the same laboratory by the same
A21. Precision and Bias (Mandatory)                                    operator with the same equipment in the shortest
    A21.1 Deﬁnitions and Additional Informa-                           practicable period of time using test specimens
tion:                                                                  taken at random from a single quantity of homog-
    A21.1.1 For precise deﬁnitions of statistical                      enous material. If some other within-laboratory
terms, refer to ASTM Terminology E456, Relat-                          variability is also determined (such as for longer
ing to Quality and Statistics.                                         times or different operators within a laboratory),
    A21.1.2 For more information on calcula-                           the particular conditions shall be reported in
tion methods relating to the use of statistical                        detail, and the precision designated “intermediate
procedures, refer to ASTM Practices E177 and                           precision” (see Terminology E456). If the com-
E691.                                                                  mittee formerly called this repeatability, add
    A21.2 Statement of Precision (Mandatory):                          “(formerly called repeatability).”
    A21.2.1 Precision is the closeness of agree-                            A21.2.5 The statement regarding between-
ment between test results obtained under pre-                          laboratory variability shall pertain to test results
scribed conditions. A statement on precision                           obtained with the same method on random test

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units from the same lot of homogeneous material                               A21.4.2 If precision or bias, or both, varies
in different laboratories with different operators                        with the test level, the variation shall be described
using different equipment (reproducibility condi-                         in the statement.
tions).                                                                       A21.4.3 When revising or reapproving a test
    A21.2.6 The precision statement shall                                 method, ensure that the information reported in
include the repeatability standard deviation and                          the Precision and Bias section and the supporting
reproducibility standard deviation; and shall                             data are still valid. If there has been a change to
include the 95 % repeatability limit and the 95 %                         the test method that could affect precision, a new
reproducibility limit for the largest expected dif-                       interlaboratory study should be conducted.
ferences between two test results. The latter are
numerically equal to 2.8 times the respective                                 A21.5 Exceptions:
standard deviation for data that are known to be                              A21.5.1 If the responsible committee
normally distributed, and approximately so for                            decides that an interlaboratory study for a new
most other data encountered in ASTM committee                             test method should be delayed, a temporary
work. Use a statement such as the following:                              statement shall be included which addresses only
                                                                          repeatability based on the results from a single
   Precision 1—The repeatability standard deviation has been
determined to be (insert repeatability value) and the 95 %
                                                                          operator. A repeatability limit is not included.
repeatability limit is (insert value). The reproducibility stan-          This temporary precision statement is permitted
dard deviation has been determined to be (insert reproducibil-            for ﬁve years, use a statement such as the
ity value) and the 95 % reproducibility limit (insert value).             following:
  1
   Supporting data have been ﬁled at ASTM International
Headquarters and may be obtained by requesting Research                      Precision 1—The repeatability standard deviation from a
Report RR: (insert report number). Contact ASTM Customer                  single operator has been determined to be (insert repeatability
Service at service@astm.org.                                              value or values for different average property values).
                                                                          1
                                                                            An interlaboratory study of this test method is being con-
    A21.3 Statement on Bias (Mandatory):                                  ducted and a complete precision statement is expected to be
    A21.3.1 Bias is a systematic error that                               available on or before (insert year).
contributes to the difference between the mean of
a large number of test results and an accepted                                A21.5.2 If it is not feasible to determine the
reference value. A discussion on bias may be                              reproducibility, as directed in A21.2, within ﬁve
found in statistical documents, such as Practices                         years of the ﬁrst approval of the standard, use a
E177 and C670.                                                            statement such as the following:
    A21.3.2 The bias statement shall describe
the bias and methods employed to provide cor-                                Precision 1—The repeatability standard deviation from a
rected test results. If the bias is not known but the                     single operator has been determined to be (insert the average
                                                                          test values and corresponding repeatability values).
direction or bounds on the bias, or both, can be
estimated, these shall be reported in the bias                            1
                                                                            The reproducibility of this test method is not provided at this
statement.                                                                time because (insert here the reason or reasons). The repro-
                                                                          ducibility of this test method is being determined and is
     A21.4 General Considerations:                                        expected to be available on or before (insert year).
     A21.4.1 The precision and bias section of
the test method shall include a brief descriptive                             A21.5.3 When a test method speciﬁes that
summary of the interlaboratory study that will                            the procedure in another ASTM test method is to
permit the user of the test method to judge the                           be used without modiﬁcation, no statements of
reliability of the data. This summary should                              precision and bias are necessary if those in the
include number of laboratories, number of prop-                           other test method are applicable. When a test
erty levels tested, range of the measured average                         method speciﬁes that the procedure in another
property levels, and number of replicate tests.                           ASTM test method is to be used with only
The summary may be included in a Note.                                    insigniﬁcant modiﬁcation(s), use a statement

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such as the following to assure the reader that                           A22. Measurement Uncertainty
precision and bias are not affected by the modiﬁ-                             A22.1 Measurement uncertainty is an esti-
cation(s):                                                                mate of the magnitude of systematic and random
                                                                          measurement errors that may be reported along
   Precision and Bias—The precision and bias of this test                 with the measurement result. An uncertainty
method for measuring (insert here the name of the property)
are essentially as speciﬁed in Test Method (insert here the
                                                                          statement relates to a particular result obtained in
designation of the other test method).                                    a laboratory carrying out the test method, as
                                                                          opposed to precision and bias statements which
When a test method speciﬁes that the procedure                            are mandatory parts of the method itself and
in another ASTM test method is to be used with                            normally derived from an interlaboratory study
signiﬁcant revisions, provide statements on preci-                        conducted during development of the test
sion and bias as directed in A21.2 and A21.3.                             method.
                                                                              A22.2 It is neither appropriate for, nor the
     A21.5.4 When a test method speciﬁes that a                           responsibility of, the test method to provide
test result is a nonnumerical report of success or                        explicit values that a user would quote as their
failure or other categorization or classiﬁcation                          estimate of uncertainty. Uncertainty values must
based on criteria speciﬁed in the procedure, use a                        be based on data generated by a laboratory
statement on precision and bias such as the                               reporting results using the test method.
following:                                                                    A22.3 In this section include guidance for
                                                                          developing estimates of uncertainty to be
   Precision and Bias—No information is presented about                   reported with test results. Suggestions should be
either the precision or bias of Test Method X0000 for measur-
ing (insert here the name of the property) since the test result          considered for studies to perform, listings of the
is nonquantitative.                                                       potential major contributing factors to uncer-
                                                                          tainty, descriptions of how the variation due to
     A21.5.5 If it is not possible to provide a                           each factor might be evaluated, and examples of
statement on precision (repeatability or reproduc-                        how they might be combined. Information of this
ibility) as directed in A21.2, use a statement such                       type is particularly useful to users of the test
as the following:                                                         method seeking laboratory accreditation. Infor-
                                                                          mation on measurement uncertainty may be
   Precision—It is not possible to specify the precision of the
                                                                          placed in an appendix if it is for information only.
procedure in Test Method X0000 for measuring (insert here                     A22.4 For additional guidance refer to
the name of the property) because (insert here the reason or
reasons).
                                                                          Guide E1488.

Citing impracticability is not warranted if the
reason is that an interlaboratory study has                               A23. Keywords (Mandatory)
revealed that the precision is poor or that the                               A23.1 In this section, identify the words,
standard was written before precision statements                          terms, or phrases, that best represent the technical
were required.                                                            information presented in the standard. Select the
                                                                          keywords from the title and body of the document
    A21.5.6 If bias cannot be determined, a                               and include general, vernacular, and trade terms.
statement to this effect shall be included, such as                       These keywords will be used in the preparation of
the following:                                                            the ASTM Subject Index.
                                                                              A23.2 Select three or more keywords that
   Bias—No information can be presented on the bias of the                describe the names of tests, procedures, special
procedure in Test Method X0000 for measuring (insert here                 materials, or the speciﬁc application(s) that will
the name of the property) because (insert here the reason;
such as “no material having an accepted reference value is                facilitate the identiﬁcation and retrieval of the
available”).                                                              standard.

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    A23.3 All selected keywords shall be stand-              A25. References
alone terms; the type of standard, incomplete                    A25.1 Include only references to publica-
phrases, unattached adjectives, etc., shall not be           tions supporting or providing needed supplemen-
used.                                                        tary information. Historical and acknowledgment
                                                             references are not desirable. If there are ﬁve or
                                                             more references, list them in an unnumbered
A24. Annexes and Appendixes                                  section at the end of the standard in the order in
                                                             which they appear in the text. If there are fewer
    A24.1 Additional information may be                      than ﬁve literature references, use footnotes (see
included in one or more annexes and appendixes               Section G21).
to the test method.
     A24.2 The words “Mandatory Information”                 A26. Footnotes
shall be included directly under the title of                    A26.1 General— Footnotes referenced in
annexes and the words “Nonmandatory Informa-                 the text are intended only for reference and shall
tion” shall be included directly under the title of          never include any information or instructions
appendixes.                                                  necessary for the proper application of the
     A24.3 Annexes— Include in annexes any                   method. Table footnotes are a part of the table.
detailed information such as that on apparatus or            Use consecutive superior numerals for reference
materials that is a mandatory part of the test               to footnotes except in connection with tables, in
method but too lengthy for inclusion in the main             which case use italic capital letters.
text. Annexes shall precede appendixes.                          A26.2 Committee Jurisdiction and His-
Examples of such information are as follows:                 tory— Footnote 1 shall include in the ﬁrst para-
     A24.3.1 Glossary of terms used in the                   graph the committee having jurisdiction and,
method,                                                      where the committee so requests, the subcommit-
     A24.3.2 List of symbols,                                tee. The second paragraph shall include history
     A24.3.3 Detailed description of apparatus,              information as follows: (1) approval date of latest
     A24.3.4 Instructions for calibrating and                revision, (2) month and year of publication, (3)
standardizing apparatus,                                     designation and year of original issue, (4) desig-
     A24.3.5 Directions for cleaning apparatus,              nation and year of previous issue, and (5) infor-
and                                                          mation as to any other standards that may have
     A24.3.6 Operating instructions and adjust-              been replaced by the standard, year of redesigna-
ments of speciﬁc makes of apparatus.                         tion, etc.
     A24.4 Appendixes— An appendix to an                         A26.3 Literature References— Use foot-
ASTM standard is informative only and is not a               notes for references if there are fewer than ﬁve.
mandatory part of the standard. Information on               For ﬁve or more see Section A25, observing the
the following general subjects has been included             limitations noted therein. Also see Section G21.
in such appendixes:                                              A26.4 Sources of Apparatus— Where appa-
     A24.4.1 Notes on signiﬁcance and interpre-              ratus may be special or not readily available from
tation of the test method, usually to amplify the            more than one source, the source may be refer-
statement in the text,                                       enced. (However, see Section F4 for detailed
     A24.4.2 Development of equations used in                rules.)
the calculations,                                                A26.5 Research Reports— Reference in a
     A24.4.3 Charts or supplementary informa-                footnote the availability of Research Reports (see
tion for computations,                                       Section A29).
     A24.4.4 Suggested data forms for recording
test results, and                                            A27. Notes
     A24.4.5 Commentary on rationale used in                    A27.1 Notes in the text shall not include
the development of the test method.                          mandatory requirements. Notes are intended to

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set explanatory material apart from the text itself,             and not numbered, is generally placed at the end
either for emphasis or for offering informative                  of the standard. Refer questions regarding the
suggestions, which are not properly part of the                  applicability of this section to the Staff Manager
standard. Clariﬁcation of the description of                     of your committee.
required apparatus or procedure and modiﬁca-                         A27.5 General Statement of ASTM Policy—
tions required or permitted in certain cases belong              This note, quoted in F2.3 and not numbered, is
in the text itself. If inclusion of the contents                 generally placed at the end of the standards after
yields a different result, then that information is              the note on Patent Disclaimer of Liability.
considered mandatory for the performance of the
standard and shall be located in the text. Notes
may be preferable for detailed description of                    A28. Adjuncts
auxiliary procedures (for example, correction of                      A28.1 Occasionally, it is not practicable to
barometric pressure in a test method not primarily               publish as an integral part of the standard,
concerned with pressure). Table notes are a part                 because of its nature, material that may be
of the table and are mandatory provisions.                       required for use of the standard. Such material is
                                                                 published as an adjunct.
     A27.2 Notes appearing in a given standard
                                                                      A28.2 Include a description of the adjunct in
shall be numbered in sequence separately in the
                                                                 the text of the standard. If appropriate, include a
main text, separately in sequence in the annex,
                                                                 ﬁgure (illustration) of the adjunct.
and separately in sequence in the appendix and
                                                                      A28.3 When adjunct material is indicated, it
should appear at the end of the paragraph to
                                                                 shall be made available at the time of publication
which they pertain. If it is desired to refer to a text
                                                                 of the standard.
note in connection with a speciﬁc word or phrase
                                                                      A28.4 Include all referenced adjuncts in the
in the text, that word or phrase should be fol-
                                                                 Referenced Documents section (see Section A6).
lowed by a reference to the note, “(NOTE 1),”
                                                                      A28.5 Examples of adjuncts are as follows:
etc.
                                                                      A28.5.1 Comparison standards such as the
     A27.3 Notes in the text are preferred for the               copper strip corrosion standards for Test Method
following:                                                       D130 (lithograph aluminum strips),
     A27.3.1 To refer to editorial changes made                       A28.5.2 Charts such as the viscosity-
in the text,                                                     temperature charts for liquid petroleum for D341,
     A27.3.2 To refer to similar or companion                         A28.5.3 Reference radiographs such as
ASTM standards,                                                  E155 or reference photographs, such as E125,
     A27.3.3 Limitations of the application of the                    A28.5.4 Technical data such as the twelve
test when not covered in the text.                               volumes of D1250, Petroleum Measurement
     A27.3.4 Description, if included under                      Tables, and
“Scope,” of experimental means for recognizing                        A28.5.5 Drawings such as detailed drawings
cases where the method is not applicable to the                  for the construction of the smoke chamber in Test
material under test.                                             Method D2843.
     A27.3.5 Description of additional (not alter-
native) apparatus, materials, procedures, or calcu-
lations that are not actually required; or descrip-              A29. Research Reports (Mandatory for
tion of merely recommended forms of                              Precision and Bias Statements Producing
construction of required apparatus.                              Numerical Results)
     A27.3.6 Explanation, if desired, of the rea-                    A29.1 Where numerical data have been
sons for a certain requirement or direction. If                  generated to establish the precision and bias of a
brief, include in the text rather than as a note.                test method, a research report is required. The
     A27.4 Patent Disclaimer of Liability— See                   research report shall include a list of participating
Section 15 of the Regulations Governing ASTM                     laboratories, description of samples, a copy of the
Technical Committees. This note, quoted in F3.2                  laboratory instructions, the equipment/apparatus

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used, the data, a statistical summary and a copy of                section at the end of the standard and begin with
the Precision and Bias Statement, where appli-                     the following introductory paragraph:
cable. A guide for the research report is available
at www.astm.org or from ASTM International                            Committee XXX has identiﬁed the location of selected
Headquarters. The research report shall be placed                  changes to this standard since the last issue (insert designa-
on ﬁle at ASTM. A number is assigned by ASTM                       tion and year date ) that may impact the use of this standard.
and a copy may be obtained upon request. A
footnote shall be placed in the standard stating
                                                                       A31.2 An asterisk will appear after the
that a copy of the research report may be obtained
                                                                   Scope (Scope*) with the following wording at the
from ASTM, giving the “RR” designation num-
                                                                   bottom of the ﬁrst page:
ber.
                                                                   *A Summary of Changes section appears at
A30. Rationale                                                     the end of this standard.
     A30.1 The inclusion of a rationale (com-
mentary) section in ASTM standards is encour-
aged to ensure that brief and concise documenta-                       A31.3 Next list, by section or subsection,
tion is available to the user of the standard and to               changes made since the last issue that may impact
provide traceability and clariﬁcation of past                      the use of the standard. For standards that have
actions. This documentation may include: (1) a                     undergone multiple revisions in a short period of
brief history of the development of a new stan-                    time, keep the Summary of Changes in the
dard or revision to an existing standard including                 standard for 18 months. This will ensure that all
when and why the effort was initiated, (2) reasons                 changes from one publication of the Annual Book
and justiﬁcation for requirements, (3) documen-                    of ASTM Standards to the next are recorded.
tation of factors considered, and (4) listing of                   Brief descriptions of the changes and reasons for
technical sources and literature.                                  the changes may be included. If desired, a more
     A30.2 If included, this information shall                     extensive description of reasons for the changes
appear in an appendix of the standard.                             should be placed in the appendix.
     A30.3 Examples of standards that include
section on rationale:                                                   A31.4 An example of the list of changes is:

  E84 Test Method for Surface Burning Characteristics of           (1) Deleted Section 5 and renumbered subse-
Building Materials                                                     quent sections.
  F746 Test Method for Pitting or Crevice Corrosion of
Metallic Surgical Implant Materials                                (2) Updated precision statement in Section 10 to
                                                                       reﬂect the results of a recent interlaboratory
A31. Summary of Changes                                                study.
   A31.1 If the committee chooses to provide a                     (3) Revised hardness requirements in Table 2.
Summary of Changes, place this unnumbered                          (4) Revised Section 14 on Product Marking.




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                                                      PART B

                             FORM OF ASTM SPECIFICATIONS

                                                INTRODUCTION

     The broad scope of ASTM International, which covers materials, products, systems, and services,
and the need to provide for a variety of approaches to the writing of ASTM speciﬁcations, prevent the
development of a single document or a series of documents that list all subjects to be covered in all
ASTM speciﬁcations. This document, however, is intended to provide considerable guidance to the
committees in their speciﬁcation-writing activities.
     Special instructions with respect to the legal aspects shall be followed in writing any standard. These
include such matters as contractual items, caveat statements, patents, and ﬁre standards. Assistance on
development of ﬁre standards is available from Committee E05. See Part F for details.
     When a standard is being developed, the costs associated with its development and subsequent use
generally should be considered. The prime objective should be the optimum use of resources to achieve
satisfactory deﬁnition of the product or service. However, it should be noted that when the standard
relates to the safety of persons, cost considerations are likely to become much less important than when
attributes of materials or products are involved. Some standards, such as deﬁnitions, impose no cost on
the user; others that include numerous and extensive requirements can entail signiﬁcant expense to users
of the standard. The requirements to be included should, therefore, be those that are technically relevant
and yield beneﬁts commensurate with the cost of their determination.
     Cost effective statements or rationale may be included within a standard if appropriate, usually in an
appendix.
     Standards or sections of standards relating to the safe use or performance of consumer products (see
NOTE B1) may be sent to Committee F15 on Consumer Products for review and comment at some
appropriate stage prior to letter ballot of the originating main committee. This review is offered by
Committee F15 to provide for the maximum of consumer input. Draft standards submitted to Committee
F15 will receive rapid and constructive critique.
NOTE B1—Consumer products are those designed primarily for use by the consumer in and around the home, school, or recre-
ational areas.


B1. Functions                                                        B1.1.2 Standardization— Standardization is
                                                                 an inevitable byproduct of most speciﬁcations. In
    B1.1 Speciﬁcations (see deﬁnition on p. vii)                 some cases it may be the primary function.
may have three functions and, although many                      Standardization involves a deliberate and possi-
speciﬁcations serve all three, it is well that those             bly arbitrary choice of a limited number from the
drafting speciﬁcations keep these functions in                   multiplicity of qualities, sizes, compositions, etc.,
mind so that the primary purposes are not con-                   that may be available.
fused.                                                               B1.1.3 Providing Technical Data— All
    B1.1.1 Purchasing— Speciﬁcations facili-                     speciﬁcations contain technical information, but
tate dealings between the purchaser and the                      in some cases the designer requires more infor-
supplier. Sufficient requirements should be                      mation than that provided for purchase or stan-
included to ensure that all batches, lots, or deliv-             dardization. Committees may add information of
eries from any seller that conform to the speciﬁ-                this type to speciﬁcations either as requirements
cation will be satisfactory to the purchaser.                    or as appendixes.
Unnecessary requirements are likely to increase                      B1.2 Open-End Agreements— There shall
costs and should be avoided.                                     be no statements in speciﬁcations that allow

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agreement between purchaser and supplier that                     Supplementary Requirements
                                                                  Quality Assurance
do not meet the minimum requirements of the                       Annexes and Appendixes
speciﬁcation by such means as omitting tests that                 References
are a part of the speciﬁcation, substituting or                   Summary of Changes

modifying a test method, or by changing the                † Test methods included shall contain the mandatory headings
speciﬁcation limits to be less restrictive.                shown in Section A1, except for title and designation.

                                                               B2.2 Subject headings in boldface type shall
                                                           precede each section to orient the reader. Substi-
B2. Subject Headings of Text                               tute text divisions and number in accordance with
    B2.1 The following is the sequence for the             the Use of the Modiﬁed Decimal Numbering
text of ASTM speciﬁcations. Headings are those             System guide in Part D of this publication.
most generally used, but may not be all-inclusive.
It may be necessary to include other headings for          B3. Title (Mandatory)
specialized subjects. The headings identiﬁed as                B3.1 The title should be as concise as
“mandatory” are required. Other headings shall             possible, but complete enough to identify the
be included when the subject matter is pertinent           material, product, system, or service covered by
to the document under development, in which                the speciﬁcation. Titles are used in lists, table of
case, all instructions and guidance for that par-          contents, and indexes, and it is most important
ticular section shall be followed. For example, if         that they be brief but inclusive. Use the singular
the standard does not contain reference to any             form: “speciﬁcation.”
standard documents within the text, it is not
required to include a section on Referenced                B4. Designation and Year Date
Documents. If, however, speciﬁc hazards are                     B4.1 Designation (mandatory)—The ASTM
cited throughout the text, then the section on             designation, assigned by Headquarters on submit-
Hazards shall be followed. Not all of these                tal for approval, consists of the following sequen-
headings may be required for a particular stan-            tial parts:
dard. Additional headings, which are included to                B4.1.1 A letter designation denoting in gen-
cover specialized subjects, should appear in the           eral the classiﬁcation according to material, prod-
most appropriate place and sequence depending              uct, system, or service:
on their relation to the sections below.
                                                              A—Ferrous metals and products
     Title (mandatory)                                        B—Nonferrous metals and products
     Designation (mandatory)                                  C—Cementitious, ceramic, concrete, and masonry materi-
     Scope (mandatory)                                     als
     Referenced Documents                                     D—Miscellaneous materials and products
     Terminology                                              E—Miscellaneous subjects
     Classiﬁcation                                            F—End-use materials and products
     Ordering Information                                     G—Corrosion, deterioration, weathering, durability, and
     Materials and Manufacture                             degradation of materials and products
     Chemical Composition
     Physical Properties
     Mechanical Properties                                      B4.1.2 A sequential number following the
     Performance Requirements                              letter designation (for example, Speciﬁcation
     Other Requirements
     Dimensions, Mass, and Permissible Variations          C150).
     Workmanship, Finish, and Appearance                        B4.2 Year Date: (for example, Speciﬁcation
     Sampling
     Number of Tests and Retests                           C150-01):
     Specimen Preparation                                       B4.2.1 After the designation, a hyphen is
†    Test Methods                                          followed by the last two numbers of the year of
     Inspection
     Rejection and Rehearing                               acceptance or of last revision. If the standard is
     Certiﬁcation                                          revised again during the same year, this is indi-
     Product Marking
     Packaging and Package Marking                         cated by adding an “a” for the second revision,
     Keywords (mandatory)                                  “b” for the third revision, etc.

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    B4.2.2 The parenthetical phrase (“Reap-                            tion, test method, practice, classiﬁcation, guide,
proved 20___”) to designate the year of last                           terminology, etc.) and the designation letter and
reapproval of a standard, if applicable.                               number (for example, Test Method D1310).
    B4.2.3 For editorial changes that do not                               B6.3 Do not include the year date when
change the year designation, a note is inserted                        designating referenced documents unless there is
before the text to indicate the location and date of                   a technical reason for requiring a particular revi-
the change and a superscript epsilon ( ) is added                      sion.
after the year designation. the epsilon designa-                           B6.4 When listing referenced adjuncts, pro-
tions and corresponding notes are numbered                             vide a brief description in this section, and a
chronologically and are deleted upon occasion of                       footnote of the availability. (For more speciﬁc
the next revision or reapproval.                                       information on adjuncts, refer to Section B29).
    B4.3 Designation numbers of standards that
have been discontinued are not reassigned.                             B7. Terminology
    B4.4 SI Standards (see Part H and Section                             B7.1 See Section A7.
G24).
                                                                       B8. Classiﬁcation
B5. Scope (Mandatory)                                                      B8.1 When more than one material, product,
    B5.1 Include in this section information                           or system is speciﬁed, they may be separated ﬁrst
relating to the purpose of the speciﬁcation. Con-                      by types, which are distinguished by Roman
cisely state the materials, products, systems, or                      numerals. This ﬁrst subdivision shall be based
services to which the speciﬁcation applies and                         upon some major property, composition, or appli-
any known limitations. Include, where appli-                           cation of the item. Designate further subdivision
cable, the intended use of the speciﬁcation. Do                        by grades according to some pertinent property
not include references to trademarks.                                  or properties and identify by Arabic numbers. If
    B5.2 Include in this section the system of                         necessary, make additional division into classes,
units to be used in referee decisions.                                 identiﬁed by capital letters.
    B5.3 Include in this section any caveats                               B8.2 The precedence of type, grade, and
required by ASTM policy such as safety hazards                         class, as well as the method of designation, is the
(see F2.1) and ﬁre hazards (see F2.2) if one or                        ASTM preferred style, and it shall be used in the
more test methods are detailed other than by                           absence of any established preference.
reference.                                                                 B8.3 When a type, grade, or class has been
    B5.4 For standards developed for reference                         deleted, do not use this designation again, to
in model (building) codes, include the following                       avoid confusion with earlier speciﬁcations. If
statement:                                                             new designations are used, they shall be of
                                                                       different format and preferably followed (for a
   The text of this standard references notes and footnotes            limited time) by the previous designation in
which provide explanatory material. These notes and foot-              parentheses.
notes (excluding those in tables and ﬁgures) shall not be con-
sidered as requirements of the standard.
                                                                       B9. Ordering Information (See also Section
B6. Referenced Documents                                               B25)
    B6.1 List in alphanumeric sequence the                                 B9.1 When the speciﬁcation covers options
designation and complete title all documents                           for purchase, such as various types, grades,
referenced within the standard. Refer to Section                       classes, alloys, sizes, and mass, the purchase
A6 for further information.                                            order or inquiry should state which particular
    B6.2 Provide footnotes to this section to                          types, alloys, sizes are desired.
indicate the sources of these documents. When                              B9.2 A listing of each such optional feature,
ASTM standards are referenced later in the text,                       together with a reference to the applicable section
use only the type of standard (that is, speciﬁca-                      of the speciﬁcation, will be of assistance in the

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wording of orders. After the attention of the                          B11.2 The sequence of items speciﬁed shall
purchaser is directed to all of the options in the                 be consistent within a related group of speciﬁca-
speciﬁcation, his attention might be directed to                   tions.
what would be furnished by the supplier if the                         B11.3 The preferred introduction for this
purchaser fails to specify one or more of the                      section is: “The material shall conform to the
options.                                                           requirements prescribed in Table 1.”
    B9.3 It is recommended that this section be                        B11.4 Limits on Nonspeciﬁed Elements— It
included in all speciﬁcations as a checklist of                    is suggested that the following statement be
items to be included in a purchase order or                        added to tables of chemical requirements as
contract. If this list contains any ASTM designa-                  applicable to replace the requirements and state-
tion (including referenced documents), it is desir-                ments presently being used regarding nonspeci-
able to specify “year date(s)” to avoid misunder-                  ﬁed elements: “By agreement between purchaser
standings between contractual parties.                             and supplier, analysis may be required and limits
    B9.4 When citing a combined standard,                          established for elements or compounds not speci-
indicate the system of units to be applied. For                    ﬁed in the table of chemical composition” (see
example:                                                           also Section B24).

  X.X This material/product shall conform to the require-
ments stated in SI units of Speciﬁcation A36/A36M.                 B12. Other Requirements
B10. Materials and Manufacture                                          B12.1 When necessary, detailed require-
    B10.1 General requirements regarding the                       ments should be given as to characteristics to
materials and method of manufacture to be used                     which the material, product, or system shall
may be included when deemed helpful to the user                    conform. Frequently these are presented in tabu-
of the standard, such as the open-hearth, electric-                lar form. It is most important that the following
furnace, or basic-oxygen bessemer processes                        information be clearly indicated: (1) name of
generally speciﬁed for steel products. When the                    each property or requirements, (2) whether the
material, product, or system speciﬁed is made                      requirement is a maximum, minimum, or range,
from two or more materials or products, this                       (3) whether an allowance for measurement error
section should state brieﬂy the general require-                   is incorporated in these limits, (4) the units
ments of the materials or products to be used and                  applicable, (5) references to notes or footnotes
the process to be followed in manufacture,                         when necessary for further clariﬁcation, and (6)
including items such as the nature and character                   appropriate test methodology.
of any alloys, ﬁllers, saturants, antioxidants, coat-                   B12.2 Physical Properties— Present the
ings, and plasticizers.                                            requirements for electrical, thermal, optical, and
                                                                   similar properties in this section, usually in tabu-
B11. Chemical Composition                                          lar form.
     B11.1 When necessary, detailed require-                            B12.3 Mechanical Properties— Present the
ments shall be given as to chemical composition                    requirements for tensile strength, yield strength,
and other chemical characteristics for the mate-                   elongation, and similar properties in this section.
rial, product, or system. Frequently these are                          B12.4 Performance Requirements— Include
presented in tabular form. It is most important                    functional, environmental, and similar require-
that the following information be clearly indi-                    ments in this section when necessary.
cated: (1) name of each constituent speciﬁed, (2)                       B12.5 Other Requirements— Include addi-
whether the requirement is a maximum, mini-                        tional requirements as needed.
mum, or range, (3) whether an allowance for                             B12.6 In preparing a speciﬁcation it is
measurement error is incorporated in these limits,                 essential to make sure that there is a test proce-
(4) the units applicable, (5) references to notes or               dure for determining conformance for each
footnotes when necessary for further clariﬁcation,                 requirement. These shall be listed in the speciﬁ-
and (6) appropriate analytical methodology.                        cation (see Section B18).

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    B12.7 When it is not feasible to tabular the                    B15.2 If a speciﬁcation pertains to indi-
requirements, separate text division may be used                vidual units of a lot and sampling inspection is
to specify the various requirements. These shall                likely to be the normal procedure, it is desirable
be given appropriate headings consistent with the               for the speciﬁcation to reference or include in a
subject matter included.                                        supplementary section a sampling procedure for
                                                                determining acceptability of the lot (see Section
B13. Dimensions, Mass, and Permissible                          B25).
Variations
    B13.1 Details as to the standard shapes,                       NOTE B2—In a single sampling plan by attributes the
mass, and size ranges usually are presented best                acceptability of a lot will be determined by the number of
                                                                units of product in the sample that do not conform to the
in tabular form with brief reference in the text.               speciﬁcations. The acceptable quality level (AQL) and limit-
Separate sections may be necessary with indi-                   ing quality level (LQL) of an acceptance sampling plan,
vidual tables. The tables shall clearly indicate                expressed as percentages of the units nonconforming, are
                                                                characteristics of the sampling plan and are not to be viewed
where the various size ranges are divided; for                  as product speciﬁcations.
example, ranges from 0 to 250 mm, 250 to 500
mm, 500 to 750 mm shall be more properly stated                     B15.3 If a speciﬁcation pertains to the mean
as 250 mm and under, over 250 to 500 mm,                        of a lot, in particular to the mean of a lot of bulk
inclusive; over 500 to 750 mm, inclusive, etc.                  material such as cement or pig iron, the procedure
    B13.2 The permissible variations in dimen-                  for sampling the lot or the formation of sample
sions, mass, etc., may be included in the same                  test units, or both, shall be described or refer-
tables with the nominal sizes. It shall be made                 enced. The criterion for determining conformance
clear whether the tolerances speciﬁed are both                  of the lot shall be speciﬁcally stated.
plus and minus or apply in only one direction.                      B15.4 If a speciﬁcation applies to a lot of
                                                                bulk material, state the number of increments
B14. Workmanship, Finish, and Appearance                        required to create a sample test unit and the
    B14.1 Requirements covering the workman-                    number of test units to be taken to determine
ship and ﬁnish include such general requirements                conformance of the lot.
as the type of ﬁnish and general appearance or                      B15.5 The minimum amount of material
color, uniform quality and tempers (for metals),                required to carry out conveniently all the tests in
and whether the item is clean, sound, free of scale             the speciﬁcation should be indicated for the
and injurious defects. To avoid misunderstanding,               convenience of the user of the speciﬁcation.
these should be spelled out clearly. Provisions for
removal or repair of minor surface imperfections                B16. Number of Tests and Retests
that are not considered cause for rejection should                   B16.1 State the number of test units and the
be stated.                                                      number of test specimens or subunits that are
    B14.2 For products such as pipe and tile it is              required to determine conformance of the mate-
usually customary to specify absence of defects                 rial or product to the speciﬁcations. In the sam-
such as fractures, large or deep cracks, checks,                pling of a lot of bulk material, state the size of the
blisters, laminations, and surface roughness. The               sample in terms of the number of primary (ﬁrst
ﬁnish and shape of the ends also should be                      stage) sampling units that is required to determine
speciﬁed.                                                       conformance to the speciﬁcations.

B15. Sampling                                                      NOTE B3—When a speciﬁcation pertains to several differ-
    B15.1 If a speciﬁcation applies to a unit of                ent properties of a material to be determined by a variety of
                                                                test methods, a test unit is deﬁned as a unit or portion of the
product or material such as a piece of cloth, a coil            material that is sufficient to obtain a single, adequate set of
of wire, a section of plastic pipe, or a heat of steel,         test results for all properties to be measured.
from which specimens are to be taken for testing,
the procedure for obtaining these specimens shall                   B16.2 If a speciﬁcation allows retesting in
be described.                                                   cases where the material or product fails to pass

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the speciﬁcation, state the rules for the retesting         B19. Inspection
and the conditions under which the retesting                    B19.1 The following statement has been
would be permitted.                                         adopted by the Board of Directors to be used
                                                            when there is a substantial disagreement between
                                                            producers and users within a particular commit-
B17. Specimen Preparation                                   tee, resulting in a blockage of progress in the
     B17.1 Where special preparation is required,           acceptance of new speciﬁcations or revisions to
as for example in speciﬁcations for molding                 speciﬁcations:
materials, this section shall be included.
     B17.2 Refer to a standard test method if                 Inspection of the material shall be agreed upon between the
possible.                                                   purchaser and the supplier as part of the purchase order or
                                                            contract.
     B17.3 If no standard test method exists,
include sufficient detail in the speciﬁcation to                B19.2 Place any technical requirements on
assure acceptable reproducibility of test results.          inspection such as sampling plan and physical or
     B17.4 State that specimens are to be pre-              mechanical properties in other appropriate parts
pared in accordance with the recommendations of             of the speciﬁcation.
the manufacturer only if neither B17.2 nor B17.3
is feasible.                                                B20. Rejection and Rehearing
                                                                B20.1 The following statement serves as a
                                                            guide to ASTM committees when there is need
B18. Test Methods                                           for a section on rejection and rehearing:
    B18.1 List standard test methods for mea-
surement of all requirements of a speciﬁcation.                Material that fails to conform to the requirements of this
                                                            speciﬁcation may be rejected. Rejection should be reported to
Refer to the ASTM test methods used in testing              the producer or supplier promptly and in writing. In case of
the material to determine conformance with the              dissatisfaction with the results of the test, the producer or
speciﬁcation. This includes sampling, chemical              supplier may make claim for a rehearing.
analysis, mechanical, electrical, thermal, optical,         B21. Certiﬁcation
and other testing procedures. When alternative                  B21.1 A certiﬁcation section may be
procedures are given in test methods, it is impor-          included in the standard when in the judgment of
tant to state which particular procedure shall be           the committee, technical considerations make this
used as the basis for the speciﬁcation require-             advisable. If a certiﬁcation section is included,
ment.                                                       the certiﬁcation shall include reference to the
    B18.2 When there is no ASTM test method                 standard designation and year date.
speciﬁed for a particular quality or property of a              B21.2 The following are suggested state-
speciﬁed material, describe the test procedure to           ments:
be followed in detail in the speciﬁcation, follow-
ing the Form of ASTM Test Methods (Part A of                   When speciﬁed in the purchase order or contract, the pur-
this publication). Include all mandatory informa-           chaser shall be furnished certiﬁcation stating samples repre-
tion listed in A1.1 (title, scope, signiﬁcance and          senting each lot have been tested and inspected as indicated
                                                            in this speciﬁcation and the requirements have been met.
use, hazards, procedure, precision and bias).               When speciﬁed in the purchase order or contract, a report of
    B18.3 Where a method of some other orga-                the test results shall be furnished. Test reports may be trans-
nization is being used and the committee has not            mitted to the purchaser by electronic services. The content of
                                                            the electronically transmitted document shall conform to any
approved the test as an ASTM test method, then it           existing agreement between the purchaser and the seller.
is preferable to describe the test in detail in the
speciﬁcation and to include a footnote reference                B21.3 Upon the request of the purchaser in
to the original source. Appropriate copyright               the purchase order or contract, the certiﬁcation of
releases shall be obtained.                                 an independent third party indicating confor-
    B18.4 State all procedures in the imperative            mance to the requirements of this speciﬁcation
mood.                                                       may be considered.

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B22. Product Marking                                          ﬁrst paragraph of the Supplementary Require-
    B22.1 It is customary to specify the infor-               ments section. The following is a suggested
mation to be marked on the material or included               statement relating to special requirements:
on the package, or on a label or tag attached
thereto. Such information typically may include                 The following supplementary requirements shall apply only
                                                              when speciﬁed by the purchaser in the purchase order or
the name, brand, or trademark of the manufac-                 contract.
turer, quantity, size, weight, ASTM designation,
or any other information that may be desired for a
                                                                  B25.2 Supplementary requirements shall
speciﬁc material. If an ASTM standard is speci-
                                                              appear separately in a Supplementary Require-
ﬁed, indicate “ASTM” and the designation num-
                                                              ments section.
ber (for example, ASTM F2063) on the marking,
                                                                  B25.3 Quality Assurance— This require-
when possible.
                                                              ment, if included, shall be qualiﬁed by the state-
                                                              ment: “When speciﬁed in the purchase order or
                                                              contract.” Reference to a suitable document, such
B23. Packaging and Package Marking
                                                              as ASTM International, ANSI, MIL, etc., may be
    B23.1 When it is customary and desirable to
                                                              made by agreement between the supplier and the
package, box, crate, wrap, or otherwise protect
                                                              purchaser.
the item during shipment and storage in accor-
dance with a standard practice, it is customary to                B25.4 Qualiﬁcation:
state the requirements.                                           B25.4.1 Qualiﬁcation to nongovernment
                                                              standards shall be based on the same justiﬁcation
                                                              and operated under the same rules as qualiﬁcation
B24. Keywords (Mandatory)                                     to military or federal speciﬁcations. The justiﬁca-
    B24.1 In this section, identify the words,                tion and rules are covered in the DoD 4120.3-M
terms, or phrases that best represent the technical           manual, Chapter 4. Brieﬂy, qualiﬁcation is justi-
information presented in the standard. Select the             ﬁed when one or more of the following apply: (1)
keywords from the title and body of the document              The time to conduct one of the tests exceeds 30
and include general, vernacular, and trade terms.             days, (2) conformance inspection will require
These keywords will be used in the preparation of             special equipment, (3) speciﬁcation covers life
the ASTM Subject Index.                                       survival or emergency life-saving equipment. The
    B24.2 Select three or more keywords that                  committee preparing the speciﬁcation that calls
describe the names of tests, procedures, special              for qualiﬁcation will be asked to show that: (1)
materials, or the speciﬁc application(s) that will            there is no other practical way of obtaining
facilitate the identiﬁcation and retrieval of the             evidence of the availability of products to meet
standard.                                                     the speciﬁcation in a reasonable time independent
    B24.3 All selected keywords shall be stand-               of that acquisition and (2) two or more sources
alone terms; the type of standard, incomplete                 are available and willing to submit their products
phrases, unattached adjectives, etc., shall not be            for qualiﬁcation.
used.                                                             B25.4.2 When qualiﬁcation is determined to
                                                              be feasible and necessary, it shall be included in
                                                              the Supplementary Requirements section with
B25. Supplementary Requirements                               wording similar to:
    B25.1 For some standards supplementary
                                                                 Items furnished under this speciﬁcation shall be products
requirements may be speciﬁed. These should not                that are qualiﬁed for listing on the applicable qualiﬁed prod-
include statements that would allow the lowering              ucts list at the time set for opening of bids.
of minimum requirements of the standard (see
B1.2). Usually these apply only when speciﬁed                 Qualiﬁcation testing (as distinct from acceptance
by the purchaser in the purchase order or con-                testing) shall be speciﬁcally identiﬁed with
tract. A statement to this effect shall appear in the         accept/reject criteria. A statement shall be made

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concerning retention of qualiﬁcation. This may                         B27. References
either be a manufacturer’s periodic self-                                  B27.1 Include only references to publica-
certiﬁcation, a periodic submission of test results,                   tions supporting or providing needed supplemen-
or a complete retest of the product. A statement                       tary information. Historical and acknowledgment
similar to the following shall be included:                            references are not recommended. If there are ﬁve
                                                                       or more references, list them in an unnumbered
   With respect to products requiring qualiﬁcation, awards             section at the end of the speciﬁcation in the order
will be made only for products that are, at the time set for
opening of bids, qualiﬁed for inclusion in Qualiﬁed Parts List         in which they appear in the text. If there are fewer
(QPL No.) whether or not such products have actually been              than ﬁve literature references, use footnotes (see
so listed by that date. The attention of the contractors is            Section G21).
called to these requirements, and manufacturers are urged to
arrange to have the products that they propose to offer tested
for qualiﬁcation in order that they may be eligible to be
awarded contracts or purchase orders for the products covered
                                                                       B28. Footnotes
by this speciﬁcation. The activity responsible for the Quali-              B28.1 General— Footnotes referenced in
ﬁed Parts List is (insert name and address of qualifying orga-         the text are intended only for reference and shall
nization(s)) and information pertaining to qualiﬁcations of            never include any information or instructions
parts may be obtained from that activity.
                                                                       necessary for the proper application of the speci-
                                                                       ﬁcation. Table footnotes are a part of the table.
B26. Annexes and Appendixes                                            Use consecutive superior numerals for reference
                                                                       to footnotes except in connection with tables, in
    B26.1 Additional information may be                                which case use italic capital letters.
included in one or more annexes or appendixes to                           B28.2 Committee Jurisdiction and His-
the speciﬁcation.                                                      tory— Footnote 1 shall include in the ﬁrst para-
                                                                       graph the committee having jurisdiction and,
     B26.2 The words “Mandatory Information”
                                                                       where the committee so requests, the subcommit-
shall be included directly under the title of
                                                                       tee. The second paragraph shall include history
annexes and the words “Nonmandatory Informa-
                                                                       information as follows: (1) approval date of latest
tion” shall be included directly under the title of
                                                                       revision, (2) month and year of publication, (3)
appendixes.
                                                                       designation and year of original issue, (4) desig-
     B26.3 Annexes— Include in annexes any
                                                                       nation and year of previous issue, and (5) infor-
detailed information such as that on apparatus or
                                                                       mation as to the other standards that may have
materials that is a mandatory part of the speciﬁ-
                                                                       been replaced by the standard, year of redesigna-
cation but too lengthy for inclusion in the main
                                                                       tion, etc.
text. Annexes shall precede appendixes.
                                                                           B28.3 Literature References— Use foot-
     B26.4 Appendixes— There are times when
                                                                       notes for references if there are fewer than ﬁve.
it is desirable to include in a speciﬁcation addi-
                                                                       For ﬁve or more see Section B27, observing the
tional information for general use and guidance,
                                                                       limitations noted therein. Also see Section G21.
but which does not constitute a mandatory part of
                                                                           B28.4 Sources of Apparatus— Where appa-
the speciﬁcation. It is appropriate to include such
                                                                       ratus may be special or not readily available from
informational material in appendixes. Examples
                                                                       more than one source, the source may be refer-
of material that has been included in such appen-
                                                                       enced. (However, see Section F4 for detailed
dixes are tables showing approximate relation-
                                                                       rules.)
ship between tensile strength and hardness, list of
                                                                           B28.5 Research Reports— Reference in a
preferred thickness of plate, sheet, and strip
                                                                       footnote the availability of research reports (see
reproduced from other documents, tables of stan-
                                                                       Section B31).
dard mass and standard sizes, information on
typical applications of the material covered, and
information on typical physical properties whose                       B29. Notes
deﬁnite values are not prescribed in the speciﬁca-                        B29.1 Notes in the text shall not include
tion.                                                                  mandatory requirements. Notes are intended to

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set explanatory material apart from the text itself,              B29.5 General Statement of ASTM Policy—
either for emphasis or for offering informative               This note, quoted in F2.3 and not numbered, is
suggestions not properly part of the standard.                generally placed at the end of the standard after
Clariﬁcation of the description of required appa-             the note on Patent Disclaimer of Liability.
ratus or procedure and modiﬁcations required or
permitted in certain cases belong in the text itself.         B30. Adjuncts
If inclusion of the contents yields a different                    B30.1 Occasionally it is not practicable to
result, then that information is considered manda-            publish as an integral part of the standard,
tory for the performance of the standard and shall            because of its nature, material that may be
be located in the text. Notes may be preferable for           required for use of the standard. Such material is
detailed description of auxiliary procedures (for             published as an adjunct.
example, correction of barometric pressure in a                    B30.2 Include a description of the adjunct in
test method not primarily concerned with pres-                the text of the standard. If appropriate, include a
sure). Table notes are a part of the table and are            ﬁgure (illustration) of the adjunct.
mandatory provisions.                                              B30.3 When adjunct material is indicated, it
                                                              shall be made available at the time of publication
     B29.2 Notes appearing in a given standard                of the standard.
shall be numbered in sequence and should appear                    B30.4 Include all referenced adjuncts in the
at the end of the paragraph to which they pertain.            Referenced Documents section (see Section A6).
If it is necessary to refer to a text note in                      B30.5 Examples of adjuncts are as follows:
connection with a speciﬁc word or phrase in the                    B30.5.1 Comparison standards such as the
text, that word or phrase should be followed by a             copper strip corrosion standards for Test Method
reference to the note, “NOTE 1”), etc.                        D130 (lithograph aluminum strips),
     B29.3 Notes in the text are preferred for the                 B30.5.2 Charts such as the viscosity-
following:                                                    temperature charts for liquid petroleum for D341,
                                                                   B30.5.3 Reference radiographs such as
     B29.3.1 To refer to editorial changes made
                                                              E155 or reference photographs, such as E125,
in the text.
                                                                   B30.5.4 Technical data such as the twelve
     B29.3.2 To refer to similar or companion                 volumes of D1250, Petroleum Measurement
ASTM standards.                                               Tables, and
     B29.3.3 Description, if included under                        B30.5.5 Drawings such as detailed drawings
“Scope,” of experimental means for recognizing                for the construction of the smoke chamber in Test
cases where the method is not applicable to the               Method D2843.
material under test.
     B29.3.4 Description of additional (not alter-            B31. Research Reports
native) apparatus, materials, procedures, or calcu-               B31.1 Research reports, which include his-
lations that are not actually required; or descrip-           torical or round-robin information, or other data,
tion of merely recommended forms of                           shall be sent to Headquarters, where they are
construction of required apparatus.                           given a ﬁle number and may be obtained upon
     B29.3.5 Explanation, if needed, of the rea-              request. Such reports may be referenced in a
sons for a certain requirement or direction. If               footnote (see B28.5). If the speciﬁcation contains
brief, include in the text rather than as a note.             a detailed test method, the requirements in Sec-
     B29.4 Patent Disclaimer of Liability— See                tion A29 apply.
Section 15 of the Regulations Governing ASTM
Technical Committees. This note, quoted in F3.2               B32. Rationale (Commentary)
and not numbered, is generally placed at the end                  B32.1 The inclusion of a rationale (com-
of the standard. Questions regarding the applica-             mentary) section in ASTM standards is encour-
bility of this section should be referred to the              aged to ensure that brief and concise documenta-
Staff Manager of your committee.                              tion is available to the user of the standard and to

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provide traceability and clariﬁcation of past                          from another (from both an engineering and
actions. This documentation might include: (1) a                       stocking viewpoint). Each product so covered
brief history of the development of a new stan-                        shall be assigned a part number that:
dard or revision to an existing standard including
when and why the effort was initiated, (2) reasons                     • Is uniquely identifying.
and justiﬁcation for requirements, (3) documen-                        • Includes the document (standard) number.
tation of factors considered, and (4) listing of                       • Does not exceed 15 characters including
technical sources and literature.                                        dashes, slashes, spaces, etc.
     B32.2 If included, this information shall                         • Does not include the letters “I,” “O,” “Q,” “S,”
appear in an appendix of the standard.                                   “X,” and “Z.”
     B32.3 Examples of standards that include                          • Does not change when the document is
sections on rationale:                                                   changed in a manner that does not affect
                                                                         interchangeability.
   E84, Test Method for Surface Burning Characteristics of             • Does not change when the product is modiﬁed
Building Materials
   F746, Test Method for Pitting or Crevice Corrosion of
                                                                         so as to not be interchangeable. (In such
Metallic Surgical Implant Materials                                      instances, appropriate usage guidance will be
   F763, Practice for Short-Term Screening of Implant Materi-            provided if appropriate.)
als
                                                                           B33.3.2 All standards that include part num-
B33. Part Numbering                                                    bers shall contain a ﬁve-digit numerical manufac-
    B33.1 General— Part-numbering systems                              turers’ code as assigned by the U.S. Government
may be included in an ASTM speciﬁcation. The                           under the Federal Cataloging Program. (See Fig.
part-numbering system shall be placed in the                           B1.)
appendix, shall be called out “when speciﬁed” as                           B33.3.3 An example of a part-numbering
a supplementary requirement, and shall be refer-                       system appears in ASTM Speciﬁcation F1667,
enced to appropriately under either “product                           for Driven Fasteners: Nails, Spikes, and Staples.
marking,” “packaging and package marking,” or
both places.
    B33.2 When Used for DOD Procurement:                               B34. Summary of Changes
    B33.2.1 The inclusion of a part-numbering                              B34.1 If the committee chooses to provide a
system should be considered by technical com-                          Summary of Changes, place this unnumbered
mittees when preparing speciﬁcations. Although                         section at the end of the standard and begin with
it is a committee decision whether or not to                           the following introductory paragraph:
include part numbering, ASTM International
                                                                          Committee XXX has identiﬁed the location of selected
encourages such inclusion in speciﬁcations to                          changes to this standard since the last issue (insert designa-
make them more readily usable directly in pro-                         tion and year date) that may impact the use of this standard.
curement and supply applications.
    B33.2.2 Part numbers shall be kept short and                           B34.2 An asterisk will appear after the
shall not exceed 15 characters. Part numbering                         Scope (Scope*) with the following wording at the
shall be uniform for all parts covered by the same                     bottom of the ﬁrst page:
speciﬁcations; uniformity is also preferred for all
part numbers within the same group of closely                          *A Summary of Changes section appears at
related items.                                                         the end of this standard.
    B33.3 Criteria for Inclusion of Part Num-
bers:                                                                      B34.3 Next list, by section or subsection,
    B33.3.1 In development of standards that                           changes made since the last issue that may impact
embrace end products, every attempt should be                          the use of the standard. For standards that have
made to deﬁne all product variables so as to                           undergone multiple revisions in a short period of
enable one product to be positively distinguished                      time, keep the Summary of Changes in the

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standard for 18 months. This will ensure that all
changes from one publication of the Annual Book
of ASTM Standards to the next are recorded.
Brief descriptions of the changes and reasons for
the changes may be included. If desired, a more
extensive description of reasons for the changes
should be placed in the appendix.
    B34.4 An example of the list of changes is:

(1) Deleted Section 5 and renumbered subse-
    quent sections.
(2) Updated precision statement in Section 10 to
    reﬂect the results of a recent interlaboratory
    study.
(3) Revised hardness requirements in Table 2.
(4) Revised Section 14 on Product Marking.




  FIG. B1 Part Numbering System Covering
  Standard Items Used by U.S. Government




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                                               PART C

              FORM OF OTHER TYPES OF ASTM STANDARDS

                                         INTRODUCTION

    In addition to test methods and speciﬁcations, ASTM standards take other forms, including the
following:

Classiﬁcations                                           Reference Radiographs
Practices                                                Reference Photographs
Guides                                                   Tables
Terminology or Deﬁnitions (see Part E)                   Charts

     As a committee attempts to develop a standard, the question of differentiation between a practice and
a guide may arise. In general, a practice underscores a general usage principle whereas a guide suggests
an approach. A standard practice connotes accepted procedures for the performance of a given task.
Refer to deﬁnitions given on p. vii. A guide may propose a series of options or instructions that offer
direction without recommending a deﬁnite course of action. The purpose of this type of standard is to
offer guidance based on a consensus of viewpoints but not to establish a standard practice to follow in all
cases. A guide is intended to increase the awareness of the user concerning available techniques in a
given subject area, while providing information from which subsequent testing programs can be derived.
     Regarding reference radiographs, reference photographs, tables, and charts, there are relatively few
subject headings, and the form of the standard is left to the jurisdiction of the sponsoring committee. The
ﬁrst two types listed in the introduction to Part C, however, are most common and are given greater
treatment below.
     Special instructions with respect to the legal aspects are included in Part F and shall be followed in
writing any standard. These include such matters as contractual items, caveat statements, patents, and ﬁre
standards. Assistance on development of ﬁre standards is available from Committee E05. The policies
contained in Part F are approved by and are under the jurisdiction of the ASTM Board of Directors.
     When a standard is being developed, the costs associated with its development and subsequent use
generally should be considered. The prime objective should be the optimum use of resources to achieve
satisfactory deﬁnition of the product or service. However, it should be noted that when the standard
relates to the safety of persons, cost considerations are likely to become much less important than when
attributes of materials or products are involved. Some standards, such as a deﬁnition, impose no cost on
the user; others that include numerous and extensive requirements can entail signiﬁcant expense to users
of the standard. The requirements to be included should, therefore, be those that are technically relevant
and yield beneﬁts commensurate with the cost of their determination.
     Cost effectiveness statements or rationale may be included within a standard if appropriate, usually
in an appendix.

                                        CLASSIFICATIONS

C1. Description                                          systems, or services into groups based on similar
                                                         characteristics such as origin, composition, prop-
    C1.1 “A classiﬁcation is a systematic                erties, or use.”1
arrangement or division of materials, products,          1
                                                         From Regulations Governing ASTM Technical Committees.

                                                   C-1
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    C1.2 Classiﬁcations provide a time- and                tify the nature of the basis for classiﬁcation, for
space-saving shorthand for specifying the above            speciﬁc materials, systems, services, and prod-
description.                                               ucts.
    C1.3 Classiﬁcations may be deﬁned by each
committee differently because of the unique
nature of that committee. A collection or group-           C4. Designation (Mandatory)
ing of deﬁnitions to one committee may be                       C4.1 The ASTM designation is assigned by
termed a classiﬁcation while still another com-            Headquarters on submittal for approval. Refer to
mittee may group objects or properties in a                Sections A3 or B4 for sequential parts of number-
classiﬁcation.                                             ing.


C2. Subject Headings of Text                               C5. Scope (Mandatory)
    C2.1 The following is the sequence for the                 C5.1 Include in this section information
text of ASTM classiﬁcations. Headings are those            relating to the purpose of the classiﬁcation. Con-
most generally used but may not be all-inclusive.          cisely state what characteristics have been classi-
It may be necessary to include other headings for          ﬁed and the materials, products, systems, or
specialized subjects. The headings identiﬁed as            services to which the classiﬁcation applies.
“mandatory” are required. Other headings shall             Where applicable state any limitations to the use
be included when the subject matter is pertinent           of the classiﬁcation.
to the document under development; in which                    C5.2 Include in this section the system of
case, all instructions and guidance for that par-          units to be used in referee decisions.
ticular section shall be followed. For example, if             C5.3 Include, where applicable, compari-
the standard does not contain reference to any             sons of the classiﬁcation to other similar classiﬁ-
standard documents within the text, it is not              cations.
required to include a section on Referenced
Documents. If, however, speciﬁc hazards are
cited throughout the text, then the section on             C6. Referenced Documents
Hazards (see Section A13) shall be followed. Not               C6.1 List here in alphanumeric sequence the
all of these headings may be required for a                designation number and complete title of all
particular standard. The use of footnotes and              documents referenced within the classiﬁcation.
notes shall follow Sections A26 and A27 respec-            Refer to Section A6 for further information.
tively. Additional headings that are included to
cover specialized subjects should appear in the
most appropriate place and sequence depending              C7. Terminology
on their relation to the sections below.                      C7.1 See Section A7.

  Title (mandatory)
  Designation (mandatory)                                  C8. Signiﬁcance and Use (Mandatory)
  Scope (mandatory)                                            C8.1 Include in this section information
  Referenced Documents
  Terminology
                                                           relating to the relevance of the classiﬁcation.
  Signiﬁcance and Use (mandatory)                          State how the classiﬁcation is used and who
  Basis of Classiﬁcation (mandatory)                       would typically use it.
  Test Methods and Retest
  Keywords (mandatory)
  Annexes and Appendixes
  Summary of Changes                                       C9. Basis of Classiﬁcation (Mandatory)
                                                              C9.1 The basis of classiﬁcation is in fact the
C3. Title (Mandatory)                                      most important portion of the document. This
   C3.1 The title of a classiﬁcation standard              heading sets up categories in which groupings are
should be concise, but complete enough to iden-            made. For example, ASTM Classiﬁcation D388,

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of Coals by Rank (Vol 05.06) deﬁnes classiﬁca-              C12. Annexes and Appendixes
tion of higher rank coals according to ﬁxed                     C12.1 Supplementary information is pro-
carbon on a dry basis while lower rank coals are            vided herein to aid in understanding and using the
classed according to caloric value on the moist             standard.
basis.                                                          C12.2 Annexes (see A24.3).
                                                                C12.3 Appendixes (see A24.4).
C10. Test Methods and Retest
     C10.1 Properties enumerated in a classiﬁca-            C13. Examples
tion may be determined in accordance with spe-                 C13.1 Examples of classiﬁcations are:
ciﬁc test methods. These methods should be
referenced in this portion of the document.                   D388 Classiﬁcation of Coals by Rank
                                                              D3475 Classiﬁcation of Child-Resistant Packages
     C10.2 Because of variability resulting from
sampling and a lack of satisfactory reproducibil-           C14. Summary of Changes
ity, and in instances when the ﬁrst test results do             C14.1 If the committee chooses to provide a
not conform to the requirements prescribed in this          Summary of Changes, place this unnumbered
classiﬁcation, then a retest option may be pro-             section at the end of the standard and begin with
vided.                                                      the following introductory paragraph:

                                                               Committee XXX has identiﬁed the location of selected
C11. Keywords (Mandatory)                                   changes to this standard since the last issue (insert designa-
    C11.1 In this section, identify the words,              tion and year date ) that may impact the use of this standard.
terms, or phrases that best represent the technical
information presented in the standard. Select the               C14.2 Next list, by section or subsection,
keywords from the title and body of the document            changes made since the last issue that may impact
and include general, vernacular, and trade terms.           the use of the standard. Brief descriptions of the
These keywords will be used in the preparation of           changes and reasons for the changes may be
the ASTM Subject Index.                                     included.
    C11.2 Select three or more keywords that                    C14.3 An example of the list of changes is:
describe the names of tests, procedures, special
materials, or the speciﬁc application(s) that will          (1) Deleted Section 5 and renumbered subse-
facilitate the identiﬁcation and retrieval of the               quent sections.
standard.                                                   (2) Updated precision statement in Section 10 to
    C11.3 All selected keywords shall be stand-                 reﬂect the results of a recent interlaboratory
alone terms; the type of standard, incomplete                   study.
phrases, unattached adjectives, etc., shall not be          (3) Revised hardness requirements in Table 2.
used.                                                       (4) Revised Section 14 on Product Marking.

                                   PRACTICES AND GUIDES

C15. Description                                            posal, installation, maintenance, and operation of
                                                            testing apparatus.
    C15.1 A standard practice is an accepted
procedure for the performance of one or more                    C15.2 A standard guide is a compendium of
operations or functions. In certain cases practices         information or series of options that does not
may include one or more test methods necessary              recommend a speciﬁc course of action. Guides
for full use of the practice. Examples of practices         are intended to increase the awareness of infor-
include selection, preparation, application,                mation and approaches in a given subject area.
inspection, necessary precautions for use or dis-           Guides may propose a series of options or

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instructions that offer direction without recom-                    It should identify the subject of application and
mending a deﬁnite course of action. The purpose                     should be distinguishable from similar titles (see
of this type of standard is to offer guidance based                 A2.1 as it applies to titles of test methods).
on a consensus of viewpoints but not to establish
a standard practice to follow in all cases.
                                                                    C18. Designation (Mandatory)
C16. Subject Headings of Text                                           C18.1 The ASTM designation is assigned by
    C16.1 The following is the sequence for the                     Headquarters on submittal for approval. Refer to
text of ASTM practices and guides. Headings are                     Sections A3 and B4 for sequential parts of num-
those most generally used but may not be all-                       bering.
inclusive. It may be necessary to include other
headings for specialized subjects. The headings
identiﬁed as “mandatory” are required. Other                        C19. Scope (Mandatory)
headings shall be included when the subject                             C19.1 Include in this section information
matter is pertinent to the document under devel-                    relating to the purpose of the practice or guide
opment; in which case, all instructions and guid-                   and to what it applies. Clearly state any limita-
ance for that particular section shall be followed.                 tions of the practice or guide.
For example, if the standard does not contain                           C19.2 Include in this section the system of
reference to any standard documents within the                      units to be used in referee decisions.
text, it is not required to include a section on                        C19.3 Include in this section any caveats
Referenced Documents. If, however, speciﬁc haz-                     required by ASTM policy such as safety hazards
ards are cited throughout the text, then the section                (see F2.1) and ﬁre hazards (see F2.2).
on Hazards (see Section A13) shall be followed.                         C19.4 For standards developed for reference
The use of footnotes and notes shall follow                         in model (building) codes, include the following
Sections A26 and A27 respectively.                                  statement:

       Title (mandatory)                                               The text of this standard references notes and footnotes
       Designation (mandatory)                                      which provide explanatory material. These notes and foot-
       Scope (mandatory)                                            notes (excluding those in tables and ﬁgures) shall not be con-
       Referenced Documents                                         sidered as requirements of the standard.
       Terminology
       Summary of Practice
       Signiﬁcance and Use (mandatory)                              C20. Referenced Documents
       Reagents
       Procedure
                                                                        C20.1 List here in alphanumeric sequence
†      Test Methods                                                 the designation number and complete title of all
       Report                                                       documents referenced within the practice (or
       Keywords (mandatory)
       Annexes and Appendixes                                       guide). Refer to Section A6 for further informa-
       Summary of Changes                                           tion.
†Test Methods included shall contain the mandatory headings
included in Section A1, except for title and designation.
                                                                    C21. Terminology
    C16.2 Not all of these headings may be                             C21.1 See Section A7 and Part E.
required for a particular standard. Additional
headings that are included to cover specialized
subjects should appear in the most appropriate                      C22. Summary of Practice
place and sequence depending on their relation to                       C22.1 Include here a brief outline of the
the sections listed in C16.1.                                       practice, describing its essential features without
                                                                    the details that are a necessary part of the com-
C17. Title (Mandatory)                                              plete statement of procedure and sequence. If
    C17.1 The title should be concise but com-                      desired, a brief statement of the principle of the
plete enough to identify the nature of the practice.                practice may be given.

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C23. Signiﬁcance and Use (Mandatory)                                D4169 Practice for Performance Testing of Shipping
                                                                    Containers
    C23.1 Include in this section information                       E679 Practice for Determination of Odor and Taste
that explains the relevance and meaning of the                      Thresholds by a Forced-Choice Ascending Concentra-
practice (or guide). State the practical uses for the               tion Series Method of Limits
                                                                    E795 Practices for Mounting Test Specimens During
practice and how it is typically employed. Avoid                    Sound Absorption Tests
repetition of information included in the Scope
(see Section C19).                                                C26.2 When there is no ASTM test method
    C23.2 Include separately any appropriate                  speciﬁed for a particular quality or property of a
comments on limitations of the practice. Indicate             speciﬁed material, describe the test procedure to
any means of recognizing cases where the prac-                be followed in detail in the practice (or guide),
tice may not be applicable.                                   following the Form of ASTM Test Methods (Part
    C23.3 Include, where applicable, compari-                 A of this publication). Include all mandatory
sons of the practice (or guide) to other similar              information listed in A1.1 (title, scope, signiﬁ-
procedures.                                                   cance and use, hazards, procedure, precision and
                                                              bias).
                                                                  C26.3 Where a method of some other orga-
C24. Reagents                                                 nization is being used and the committee has not
   C24.1 See Section A12.                                     approved the test as an ASTM test method, then it
                                                              is preferable to describe the test in detail in the
                                                              practice or guide and to include a footnote refer-
C25. Procedure                                                ence to the original source. Obtain appropriate
    C25.1 Include in the procedure detailed                   copyright releases.
directions for performing the task outlined in the                C26.4 State all procedures in the imperative
practice.                                                     mood.
    C25.2 In some cases, to aid in clarity, a
diagrammatic, photographic, or schematic may                  C27. Report
be of value to the user of the practice. These shall              C27.1 Include detailed information as to
be supplied to the ASTM editorial staff as origi-             calculating, interpreting, and reporting results in
nals. An excellent example of this type of                    this section.
approach is illustrated in ASTM Practice D2855,                   C27.2 Depending upon the nature of the
for Making Solvent-Cemented Joints with Poly-                 practice, an entire section may, by necessity, be
(Vinyl Chloride) (PVC) Pipe and Fittings.                     devoted to calculation or interpretation of results,
                                                              or both.
                                                                  C27.3 When a practice permits variance in
C26. Test Methods                                             conditions under which the standard practice has
     C26.1 List standard test methods for mea-                been performed, these conditions should become
surement of all requirements of practices or                  part of the report.
guides. Refer to the ASTM test methods used in
testing the material to determine conformance                 C28. Keywords (Mandatory)
with the practice or guide. This includes sam-                    C28.1 In this section, identify the words,
pling, chemical analysis, mechanical, electrical,             terms, or phrases that best represent the technical
thermal, optical, and other testing procedures.               information presented in the standard. Select the
When alternative procedures are given in test                 keywords from the title and body of the document
methods, it is important to state which particular            and include general, vernacular, and trade terms.
procedure shall be used as the basis for the                  These keywords will be used in the preparation of
practice or guide requirement.                                the ASTM Subject Index.
     C26.1.1 Examples of standard practices that                  C28.2 Select three or more keywords that
include multiple test methods:                                describe the names of tests, procedures, special

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materials, or the speciﬁc application(s) that will                   C31. Summary of Changes
facilitate the identiﬁcation and retrieval of the                        C31.1 If the committee chooses to provide a
standard.                                                            Summary of Changes, place this unnumbered
    C28.3 All selected keywords shall be stand-                      section at the end of the standard and begin with
alone terms; the type of standard, incomplete                        the following introductory paragraph:
phrases, unattached adjectives, etc., shall not be
used.                                                                   Committee XXX has identiﬁed the location of selected
                                                                     changes to this standard since the last issue (insert designa-
                                                                     tion and year date) that may impact the use of this standard.
C29. Annexes and Appendixes
    C29.1 Supplementary information is pro-
                                                                         C31.2 An asterisk will appear after the
vided herein to aid in understanding and utilizing
                                                                     Scope (Scope*) with the following wording at the
the standard.
                                                                     bottom of the ﬁrst page:
    C29.2 Annexes (see A24.3).
    C29.3 Appendixes (see A24.4).
                                                                     *A Summary of Changes section appears at
                                                                     the end of this standard.
C30. Rationale
     C30.1 The inclusion of a rationale (com-
                                                                         C31.3 Next list, by section or subsection,
mentary) section in ASTM standards is encour-
                                                                     changes made since the last issue that may impact
aged to ensure that brief and concise documenta-
                                                                     the use of the standard. For standards that have
tion is available to the user of the standard and to
                                                                     undergone multiple revisions in a short period of
provide traceability and clariﬁcation of past
                                                                     time, keep the Summary of Changes in the
actions. This documentation might include: (1) a
                                                                     standard for 18 months. This will ensure that all
brief history of the development of a new stan-
                                                                     changes from one publication of the Annual Book
dard or revision to an existing standard including
                                                                     of ASTM Standards to the next are recorded.
when and why the effort was initiated, (2) reasons
                                                                     Brief descriptions of the changes and reasons for
and justiﬁcation for requirements, (3) documen-
                                                                     the changes may be included. If desired, a more
tation of factors considered, and (4) listing of
                                                                     extensive description of reasons for the changes
technical sources and literature.
                                                                     should be placed in the appendix.
     C30.2 If included, this information shall
appear in an appendix of the standard.                                   C31.4 An example of the list of changes is:
     C30.3 Examples of standards that include
sections on rationale:                                               (1) Deleted Section 5 and renumbered subse-
                                                                         quent sections.
   E84 Test Method for Surface Burning Characteristics of            (2) Updated precision statement in Section 10 to
Building Materials                                                       reﬂect the results of a recent interlaboratory
   F746 Test Method for Pitting or Crevice Corrosion of                  study.
Metallic Surgical Implant Materials
   F763 Practice for Short-Term Screening of Implant Materi-         (3) Revised hardness requirements in Table 2.
als                                                                  (4) Revised Section 14 on Product Marking.




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                                               PART D

       USE OF THE MODIFIED DECIMAL NUMBERING SYSTEM

                                          INTRODUCTION

     In recent years, “point” systems for numbering sections of a document have come into extensive use.
Many national organizations, associations, societies, industrial concerns, and government agencies are
using a Modiﬁed Decimal Numbering (MDN) System. MDN is also used by standardization
organizations.
     In 1963, ASTM International adopted the MDN System for ASTM standards. This guide has been
prepared for the use of members who are drafting or revising standards. The object of the MDN System
is to assign to each division in a text a unique number that shows the relationship of the speciﬁc section
to all previous sections and gives a complete designation which does not require reference to previous
sections or pages.

D1. Scope                                                   D3. Assignment of Numbers
    D1.1 The Modiﬁed Decimal Numbering                          D3.1 Number the primary sections of a
(MDN) System is designed primarily for number-              standard serially, beginning with 1 or “Scope,”
ing the text division in standards.                         using as many numbers as required by the num-
                                                            ber of sections.
    D1.2 The MDN System is also referred to as                  D3.2 Assign to the successive secondary
the “Point” System.                                         sections of any primary section a two-part num-
                                                            ber consisting of the number used for the primary
                                                            section followed by a decimal point and a con-
D2. Parts of a Standard                                     secutive number, beginning with 1, using as
                                                            many numbers as required by the number of
     D2.1 All documents are considered to con-              secondary sections. For example, if there are
sist of several primary divisions called primary            eleven secondary sections in the ﬁfth section of a
sections. A primary section may include one or              standard, designate these secondary sections 5.1,
more secondary sections. A secondary section                5.2, 5.3 ... 5.9, 5.10, and 5.11.
may include one or more ternary sections which
                                                                D3.3 Assign to the successive ternary sec-
in turn may include one or more quaternary
                                                            tions in a secondary section a three-part number
sections.
                                                            consisting of the two-part number assigned to the
    D2.2 The terms “primary section,” “second-              secondary section followed by a decimal point
ary section,” “ternary section,” and “quaternary            and a consecutive number, beginning with 1,
section” shall not be used in headings or refer-            using as many numbers as required by the num-
ences.                                                      ber of ternary sections. For example, if there are
                                                            four ternary sections in secondary section 8.4,
    D2.3 References shall be made by referring              designate the ternary sections, 8.4.1, 8.4.2, 8.4.3,
to only the number when referring to secondary,             and 8.4.4.
ternary, and quaternary sections. Refer to primary
sections as “Section 4” or “Sections 5 to 9.”                   D3.4 Assign to each of the successive qua-
                                                            ternary sections in a ternary section a four-part
    D2.4 Either of the generic words “section”              number consisting of the three-part number
or “division” may be used in correspondence or              assigned to the ternary section followed by a
other communication, but shall not be used in               decimal point and a consecutive number, begin-
references, other than primary, as directed in D2.2         ning with 1, using as many numbers as required
and D2.3.                                                   by the number of quaternary sections. For

                                                      D-1
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 example, if there are three quaternary sections in                    A2, A3, etc.) Precede the title of each appendix
 the second ternary section of secondary section                       by the letter “X” followed by a number in
 8.4, designate them 8.4.2.1, 8.4.2.2, and 8.4.2.3.                    consecutive order, beginning with 1 for the ﬁrst
     D3.5 There shall be no further subdivision                        appendix (X1, X2, X3, etc.)
 beyond that allowed by the four-part number. The                          D6.2.1 There shall be no decimal point
 judicious use of unnumbered center headings                           between the “A” or “X” and the number.
 may help in the adherence to this rule.                                   D6.3 Designate primary, secondary, and ter-
                                                                       nary sections of each annex or appendix as shown
                                                                       in D3.2, D3.3, and D3.4, respectively (NOTE D1)
 D4. Supplementary Requirements                                        (for example, A1.1, A1.1.1, and A1.1.1.1).
     D4.1 Designate each supplementary require-                            D6.4 No individual annex or appendix shall
 ment by the letter “S” followed by a consecutive                      be subdivided into more than three levels in
 number, beginning with 1 for the ﬁrst supplemen-                      accordance with D3.5.
 tary requirement.
     D4.1.1 There shall be no decimal point
                                                                       D7. Equations
 between the “S” and the number.
                                                                           D7.1 Equations should be numbered when
     D4.1.2 Do not renumber supplementary
                                                                       two or more are included in the main text of the
 requirement designations once deleted.
                                                                       standard (see G16.6). Designate equations with
     D4.2 Designate primary, secondary, and ter-
                                                                       consecutive arabic numbers beginning with 1.
 nary sections of each supplementary requirement
                                                                       Number each equation in the order that it appears
 as shown in D3.2, D3.3, and D3.4, respectively.
                                                                       in the standard, regardless of the section number
   NOTE D1—Primary sections of a supplementary require-
                                                                       in which it is referenced.
 ment, an annex, or an appendix are numbered the same as a                 D7.2 Designate equations in annexes and
 secondary section of the main standard (with two-part num-            appendixes by the designation of the annex or
 bers); secondary and ternary sections of a supplementary              appendix followed by consecutive numbers
 requirement, an annex, or an appendix are, therefore, num-
 bered the same as ternary and quaternary sections (with three         beginning with 1 (for example, Eq A1.1, A2.4,
 and four-part numbers), respectively, of the standard.                X3.2).

     D4.3 No individual supplementary require-                         D8. Tables
 ment shall be subdivided into more than three                             D8.1 Assign consecutive arabic numbers to
 levels in accordance with D3.5.                                       successive tables throughout the main text of the
                                                                       standard without regard to the number assigned to
                                                                       the section in which the table is referenced.
 D5. Literature References
                                                                           D8.2 Designate tables in annexes and
     D5.1 Where a document includes ﬁve or
                                                                       appendixes by the designation of the annex or
 more literature references, list them in a separate
                                                                       appendix followed by consecutive numbers
 unnumbered section at the end of the document,
                                                                       beginning with 1 (for example, Table A1.1, A2.4,
 preceding annexes and appendixes. Assign a
                                                                       X3.2). Tables shall follow directly the appropriate
 one-part number of each individual reference.
                                                                       annex or appendix.
 See Section G21 of this publication.

                                                                       D9. Figures
 D6. Annexes and Appendixes                                                D9.1 Assign consecutive arabic numbers to
      D6.1 Separate annexes and appendixes from                        successive ﬁgures throughout the main text of the
 the main text with the centered headings                              standard without regard to the number assigned to
 ANNEX(ES) and APPENDIX(ES).                                           the section in which the ﬁgure is referenced.
      D6.2 Precede the title of each annex by the                          D9.2 Designate ﬁgures in annexes and
 letter “A” followed by a number in consecutive                        appendixes by the designation of the annex or
 order, beginning with 1 for the ﬁrst annex (A1,                       appendix followed by consecutive numbers

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 beginning with 1 (for example, Fig. A1.1, A2.4,                            D13.2 Do not assign numbers to centered
 X3.2). Figures shall follow directly any tables of                      headings when used.
 the appropriate annex or appendix.

 D10. Text Notes                                                         D14. Introductory Sections
      D10.1 Assign consecutive numbers to suc-
                                                                             D14.1 Where a standard has a preliminary
 cessive notes throughout the main text of the
                                                                         section with a heading such as “Introduction” or
 standard without regard to the number assigned to
                                                                         “Foreword,” do not assign this section a number
 the section to which the note may refer. Notes
                                                                         so that “Scope” shall always be designated with
 shall be indicated by the word “NOTE” followed
                                                                         the one-part number “1” in accordance with D3.1.
 by the number.
      D10.2 Designate notes in annexes by the
 letter “A” and in appendixes by the letter “X,”
                                                                         D15. General Application
 followed by consecutive numbers, beginning
 with 1.                                                                     D15.1 Exercise care to distinguish between
      D10.3 Designate notes pertaining to ﬁgures                         successive, parallel, and alternative sections and
 by consecutive numbers, beginning with 1 for the                        supplementary sections such as secondary, ter-
 ﬁrst note to each individual ﬁgure.                                     nary, and quaternary sections. Only the latter
                                                                         three require the addition of another decimal
 D11. Footnotes                                                          point and number. Note also the manner of
     D11.1 Assign consecutive numbers to suc-                            handling alternative clauses within a section. For
 cessive footnotes throughout the standard, includ-                      example:
 ing supplementary requirements, annexes, and
 appendixes, without regard to the number                                  10. Procedure
                                                                           10.1 Dry the specimen by either (1) heating at 105EC
 assigned to the section in which the footnotes                          (221EF) for 2 h, or (2) holding the specimen in a conditioned
 appears.                                                                atmosphere until dry to the touch.

   NOTE D2—Since Footnote 1 is required for sponsoring                   Note that the above example is a single sentence
 committee and year date of a standard, the ﬁrst footnote refer-         and no further numbering breakdown is required.
 enced in the body of the text is Footnote 2.
                                                                           10. Procedure
     D11.2 Designate footnotes to tables by con-                           10.1 Make all tests on conditioned specimens using the
 secutive letters, beginning with “A” for the ﬁrst                       procedure given in 10.3 and 10.4.
 footnote to each individual table.                                        10.2 Calibrate the tension testing machine and see that the
                                                                         oven is at the speciﬁed temperature.
     D11.3 Footnotes shall be referenced by                                10.3 Variable Frequency Procedure:
 superscript numbers, or, in the case of tables, by                        10.3.1 Adjust the ...
 superscript italic capital letters.                                       10.3.2 Insert the ...
                                                                           10.4 Variable Tension Procedure:
                                                                           10.4.1 Start the ...
 D12. Combination of Systems                                               10.4.2 Clamp the ...
     D12.1 Do not use a combination of the
 MDN System and other systems for designating                            Note that in the above example, 10.3 and 10.4 are
 secondary, ternary, and quaternary sections. For                        successive subdivisions of 10, not subdivisions of
 example, do not divide 8.4 into 8.4 (a), 8.4 (b),                       10.1 or 10.2.
 and 8.4 (c), rather than the 8.4.1, 8.4.2, and 8.4.3
 as directed in D3.3.
                                                                         D16. Problems
 D13. Omission of Numbers                                                    D16.1 Any problems in the implementation
    D13.1 Do not assign MDN numbers to                                   of the MDN System in ASTM standards should
 examples that are numbered serially throughout a                        be referred to the ASTM Director of Standards
 document.                                                               Publications for resolution.

                                                                   D-3
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                                               PART E

                      TERMINOLOGY IN ASTM STANDARDS

                                          INTRODUCTION

    ASTM standard terminology is written to promote three objectives: (1) precise understanding and
interpretation of ASTM standards, (2) standardization of terminology in standards, reports, and other
technical writings, and (3) explanation of the meanings of technical terms for the beneﬁt of those not
conversant with them.
    For terminology to be effective, it should be used consistently. It is, therefore, the responsibility of
each technical committee to manage terminology usage in all standards for which it has jurisdiction to
ensure that usage is consistent both within the committee and the Society. Part E provides guidance to
technical committees and to those who review the work of technical committees regarding the principles
of terminology.

E1. Terminology Management                                 E2. Deﬁnitions of Terms and Deﬁnitions of
                                                           Terms Speciﬁc to a Standard
    E1.1 In ASTM International, technical com-
mittees are responsible for deﬁning terminology                E2.1 The distinction between deﬁnitions of
within technical standards and for developing              terms and deﬁnitions of terms speciﬁc to a stan-
terminology as a type of standard. Terminology             dard is related to the degree of application. If a
ensures precise interpretation of ASTM standards           term has a meaning more specialized than its
and explains technical terms for the beneﬁt of             commonly used language, is used by two or more
users who are not conversant with the language of          subcommittees within a committee, or appears in
the standard. Use terminology that is clear,               several standards, it is labeled as a deﬁnition of a
explicit, and not liable to misinterpretation when         term. When the term is limited in application to
referred to in technical operations, commercial            the standard in which it needs to be deﬁned, it is
contracts, or legal proceedings.                           labeled as a deﬁnition of a term speciﬁc to a
                                                           standard. Deﬁnitions of Terms and Deﬁnitions of
    E1.2 Terminology in a technical standard               Terms Speciﬁc to a Standard appear in separate
may include deﬁnitions of terms and deﬁnitions of          subsections within the Terminology section of a
terms speciﬁc to a standard and explanations of            technical standard. Since deﬁnitions of terms
symbols, abbreviations, and acronyms that are              speciﬁc to a standard have limited application,
necessary for the reader to understand that par-           they do not generally appear in a technical
ticular standard.                                          committee’s general terminology standard.
    E1.3 All technical standards should contain                E2.1.1 An example of a deﬁnition is:
a Terminology section that includes deﬁnitions of
                                                              X.x dolly, n—a low platform or structure mounted on
terms or deﬁnitions of terms speciﬁc to a stan-            wheels or casters, designed primarily for moving bulky loads
dard, or both. Reference to a related terminology          for short distances. (Compare pallet)
standard(s) can be sufficient for this section.                                                                    D996

    E1.4 All technical committees should                       E2.1.2 An example of a deﬁnition speciﬁc to
develop and maintain a general terminology stan-           a standard is:
dard. Terminology, as a type of standard, is
comprised of deﬁnitions of terms and explana-                X.x standard, n—as used in ASTM International, a docu-
tions of symbols, abbreviations, and acronyms              ment that has been developed and established within the con-
                                                           sensus principles of the Society and that meets the approval
pertaining to the scope of a technical committee           requirements of ASTM procedures and regulations.
or a specialized ﬁeld within the committee.                                       Form and Style for ASTM Standards

                                                     E-1
                                                 JA239
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E3. Guidelines for Writing Deﬁnitions of                       E4.2 Describe the essential characteristics of
Terms and Deﬁnitions of Terms Speciﬁc to a                 the term. Keep it simple. Do not include irrel-
Standard                                                   evant details such as how things are made, used,
    E3.1 Use these guidelines when writing both            or measured.
deﬁnition of terms and deﬁnitions of terms spe-                E4.3 State the deﬁnition without repeating
ciﬁc to a standard.                                        the term deﬁned. Use language that is under-
                                                           standable to non-experts.
    E3.2 Prepare a deﬁnition when:                             E4.4 Complete the deﬁnition in one sen-
    E3.2.1 Any term used in a standard is                  tence. If two or more phrases are needed to state
essential to the interpretation and application of         the meaning, connect them with semicolons.
the standard;                                              Include any necessary supplementary information
    E3.2.2 A term used in a standard is not                as a Discussion.
adequately deﬁned in common language;                          E4.5 The term and its elements should
    E3.2.3 Using qualitative adjectives and                appear in the following order: term; abbreviation;
nouns that could be taken to denote or connote an          symbol; dimensions of quantities, measurement
absolute, unqualiﬁed, or unconditional property            units; part of speech; delimiting phrase; statement
or capability; for example: waterproof, stainless,         of meaning, including speciﬁcation limits where
unbreakable, vapor barrier, gas-free, ﬂat, safe,           applicable; cross-references to synonyms or
rigid, pure. Such qualitative adjectives and nouns         related terms; attribution.
shall not be used unless actually used and deﬁned
in their absolute sense;                                   E5. Elements of a Term
    E3.2.4 Describing a quantitative determin-                 E5.1 Abbreviations— For terms usually rep-
able property or capability that might cause               resented by an abbreviation, place a comma and
misinterpretation or confusion; for example:               the preferred abbreviation following the term,
strong, high, accurate, clean.                             and then the part of speech, for example:
     E3.3 Do not develop a deﬁnition when:
     E3.3.1 A term is adequately deﬁned in                   average, avg, n—
reference source material (print or electronic
version), unless a deﬁnition is required for clar-             E5.2 Symbols— For terms usually repre-
ity;                                                       sented by a letter symbol, place a comma and the
     E3.3.2 A term has a well-recognized                   preferred symbol following the term, and then the
authoritative meaning such as terms deﬁned in              part of speech, for example:
the International System of Units (SI);
     E3.3.3 A term is deﬁned acceptably for the              ampere, A, n—
committee’s purposes in the ASTM Online Dic-
tionary of Engineering Science and Technology                  E5.3 Dimensions of Physical Quantities— If
or the committee’s terminology standard;                   the term represents a physical quantity, state its
     E3.3.4 A term that meets the committee’s              analytical dimension in italics in square brackets
needs has been deﬁned in a technical standard of           immediately following the letter symbol, or if
another committee or subcommittee.                         there is none, following the term itself, for
                                                           example:

                                                             critical height, Hc[L],n—in earth grading, the maximum
E4. Form of a Deﬁnition                                    height at which a vertical or sloped bank of soil will stand
                                                           unsupported under a speciﬁc set of conditions.
    E4.1 Write deﬁnitions of terms and deﬁni-                                                                         D653
tions speciﬁc to a standard in the dictionary-
deﬁnition form. Include term, part of speech,                  E5.4 Parts of Speech— Including the part of
deﬁnition, and, when applicable, a delimiting              speech enables the user to distinguish between
phrase (see E5.5).                                         closely allied terms; for example:

                                                     E-2
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  ﬂame resistance, n—the ability to withstand ﬂame                       3.1.1 Discussion—The examples or samples of construc-
impingement or give protection from it.                               tion material, permit examination of quality level.
                                                        E176                                                                E631
  ﬂame resistant, adj—having ﬂame resistance
                                                        E176
                                                                          E5.9 Attributions— If an existing deﬁnition
                                                                      is adopted from another reference source material
    E5.5 Delimiting Phrases— If a term has
                                                                      (for example, technical standard, manual, or dic-
different meanings in other technical ﬁelds or
                                                                      tionary), copy it exactly and identify the original
contexts, include an italicized phrase that delimits
                                                                      source in a boldface notation at the right margin
the deﬁnition to its ﬁeld of application. This
                                                                      following the deﬁnition.
phrase should follow the dash and be separated
from the basic statement of meaning by a comma,                           E5.9.1 Notify Headquarters that permission
for example:                                                          to publish shall be obtained from the organization
                                                                      holding copyright. The deﬁnition shall not be
   beam, n—in a balance, the horizontal pan support.                  published without permission.
   beam, n—in a building, a horizontal load-carrying struc-
tural member of the building frame.
   beam, n—in optics, a concentrated unidirectional ﬂow of
radiant energy.                                                       E6. Use of Symbols, Acronyms, and
                                                        E284          Abbreviations as Terminology
    E5.6 Speciﬁcation Limits— If a deﬁnition                              E6.1 In standards containing numerous sym-
involves speciﬁcation limits applicable only to a                     bols, acronyms, or abbreviations, these items may
speciﬁc standard (for example, in deﬁning plate                       be listed under the appropriate subheading as a
by specifying a thickness range), make the term                       convenience to the user of the standard.
speciﬁc to that standard. If, however, it is                              E6.1.1 Symbols— Alphabetically list the
intended that this deﬁnition be broadly accepted                      symbols. Do not assign a number or capitalize the
within a speciﬁc technical committee or within                        explanation, for example:
ASTM International, delimit its scope, for
example:                                                                X x Symbols:
                                                                        A = cross-sectional area of specimen
                                                                        B = normal induction
  plate, n—aluminum products, a rolled ﬂat product of thick-
ness 6.4 mm (0.25 in.) or greater.
                                                                           E6.1.2 Acronym— An acronym is a short-
    E5.7 Cross-references— Cross-references                           ened form of a compound term that uses the
bring together related terms and narrower terms                       initial letters of the term to make a pronounceable
of a given genus. A cross-reference may take the                      word. Alphabetically list, and capitalize the acro-
place of a deﬁnition, or it may be appended to a                      nyms. In a few cases acronyms are written in
deﬁnition to draw attention to related deﬁnition,                     lower case, such as laser and sonar. Do not
for example:                                                          capitalize the explanation unless it is a proper
                                                                      noun, for example:
  ﬂat-bed—see truck.
                                                                        X x Acronyms:
    E5.8 Discussions— To ﬁll in more detail of                          X x.1 PERT, n—program evaluation and review technique
the concept being deﬁned, supplementary infor-                          X x.2 radar,n—radio detecting and ranging
mation may be added as a separate discussion
immediately following the deﬁnition, for                                  E6.1.3 Abbreviations— An abbreviation is a
example:                                                              shortened form of a compound word or phrase.
                                                                      List the abbreviations alphabetically. Do not
                                                                      include abbreviations appearing in Section G3.
   3.1 builder’s model, n—a reference standard of quality for
speciﬁc building components, denoting, by example, the level          Do not capitalize the explanation unless it is a
of quality adopted by a builder.                                      proper noun, for example:

                                                                E-3
                                                           JA241
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  X.x Abbreviations:
  X.x.1 assn—association
  X.x.2 avg—average


                            FORM OF A TERMINOLOGY STANDARD

E7. Subject Headings of Text                                    E11.1.1 Provide footnotes to this section to
    E7.1 The following list shows in sequence               indicate the sources of these documents.
the subjects usually covered in a terminology
                                                                E11.1.2 Do not include the year date when
standard:
                                                            designating referenced documents unless there is
  Title (mandatory)                                         a technical reason for specifying a particular year
  Designation (mandatory)                                   date.
  Scope (mandatory)
  Signiﬁcance and Use                                           E11.1.3 When listing reference adjuncts,
  Terminology: Terms and Deﬁnitions (mandatory)             provide a brief description, in this section, and a
  Symbols, Abbreviations, Acronyms
  Keywords (mandatory)
                                                            footnote of their availability.
  Annexes and Appendixes
  Bibliography or References
  Summary of Changes
                                                            E12. Signiﬁcance and Use
E8. Title (Mandatory)
    E8.1 The title should be as concise as                      E12.1 When use restrictions exist, include a
possible but complete enough to identify the                signiﬁcance and use statement. Give a warning of
subject covered by the terminology. The title of a          them such as: “This terminology is not intended
terminology standard preferably is Terminology              to …”
of ..., although Terminology Relating to ... is
acceptable.
                                                            E13. Terminology (Mandatory)
E9. Designation (Mandatory)
                                                                E13.1 Terms and Their Deﬁnitions (Manda-
    E9.1 The designation will be assigned by
                                                            tory)— Compose a deﬁnition in the dictionary-
ASTM International Headquarters upon submittal
                                                            deﬁnition form (see E4.5) and include the term,
of the standard for Society approval.
                                                            part of speech, deﬁnition, and when applicable, a
                                                            delimiting phrase. Boldface the term and italicize
E10. Scope (Mandatory)
                                                            the part of speech and delimiting phrase. Do not
    E10.1 Provide information about the ﬁeld of
                                                            capitalize the term or any other components of
application of the terminology. Include informa-
                                                            the deﬁnition except for proper nouns, acronyms,
tion on how, when, and by whom the terminology
                                                            or any other words capitalized in normal usage.
will be used. Indicate here whether the terminol-
                                                            List the terms unnumbered and in alphabetical
ogy standard is general or relates to a specialized
                                                            sequence.
ﬁeld. Where the content of a terminology stan-
dard is limited or restricted, as in a specialized               E13.1.1 Although the preferred style of
terminology standard, the scope statement should            listing terms and their deﬁnitions is in alphabeti-
so indicate.                                                cal sequence, in some cases it may be desirable to
                                                            show the relationships in a logical family of
E11. Referenced Documents                                   concepts by grouping deﬁnitions according to a
    E11.1 Include in this section only ASTM                 classiﬁcation system. Place narrower or subordi-
standards, adjuncts, and standards or codes of              nate terms and their deﬁnitions in alphabetical
other organizations. All referenced documents               order under the deﬁnition of the broader term, as
shall be cited.                                             the main entry, for example:

                                                      E-4
                                                  JA242
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   soil structure, n—an arrangement and state of aggregation                  E15.3 All keywords shall be stand-alone
of soil particles in a soil mass.
   ﬂocculent structure, n—an arrangement composed of ﬂocs
                                                                          terms; incomplete phrases and unattached adjec-
of soil particles instead of individual soil particles.                   tives shall not be used.
   honeycomb structure, n—an arrangement of soil particles
having a comparatively loose, stable structure resembling a               E16. Annexes and Appendixes
honeycomb.                                                                     E16.1 To aid in understanding and using the
   single-grained structure, n—an arrangement composed of
individual soil particles, characteristic structure of coarse-            terminology, supplementary information such as
grained soils.                                                            illustrations, commentaries, or rationale may be
                                                             D653         included in annexes (mandatory information), or
                                                                          appendixes (nonmandatory information).
    E13.1.2 Cross-references— See E5.7 for
rules governing cross-references.                                         E17. Bibliography or References
    E13.1.3 Discussions— See E5.8 for rules                                    E17.1 Supplementary publications, useful
governing discussions.                                                    for consultation by users who wish to have more
    E13.1.4 Attributions— See E5.9 for rules                              detailed information on the particular terminol-
governing attributions.                                                   ogy, may be provided. If the publications are
                                                                          cited in the text, they should be listed in a
                                                                          References section at the end of the standard (see
E14. Symbols, Acronyms, and Abbreviations                                 Section A25); otherwise, the section should be
    E14.1 Any of these subsections can be used                            titled Bibliography.
for the convenience of the user of the standard.
Follow the guidelines detailed in Section E6.                             E18. Summary of Changes
                                                                              E18.1 This unnumbered section shall be
                                                                          placed at the end of the standard and begin with
E15. Keywords                                                             the following introductory paragraph:
    E15.1 In this section, identify the words,
terms, or phrases that best represent the technical                          Committee XXX has identiﬁed the location of selected
                                                                          changes to this standard since the last issue (insert designa-
information presented in the standard. Select the                         tion and year date) that may impact the use of this standard.
keywords from the title and body of the document
and include general, vernacular, and trade terms.                             E18.2 Next list, by section or subsection,
These keywords will be used in the preparation of                         changes since the last issue that may impact the
the ASTM Subject Index.                                                   use of the standard. Brief descriptions of the
    E15.2 Select three or more keywords that                              changes and reasons for the changes may be
describe the names of tests, procedures, special                          included.
materials, or the speciﬁc application(s) that will                            E18.3 An example of the list of changes is:
facilitate the identiﬁcation and retrieval of the
standard. Keywords for terminology standards                              (1) Added the term bioconcentration.
should include the words deﬁnitions and termi-                            (2) Revised scope.
nology.                                                                   (3) Modiﬁed the deﬁnition for sediment.




                                                                    E-5
                                                              JA243
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                                                PART F

                   CAVEATS AND OTHER LEGAL ASPECTS IN
                    STANDARDS—SPECIAL INSTRUCTIONS

                                          INTRODUCTION

    This section contains special instructions for the use of commercial-contractual statements, caveats,
patents, trademarks, speciﬁc sources of supply, references to other organization, etc., in standards. When
a standard contains any one of these statements or references, the committee shall obtain the necessary
guidance from ASTM International Headquarters for the inclusion in the standard.

F1. Commercial-Contractual Items in                             This standard does not purport to address all of the safety
                                                             concerns, if any, associated with its use. It is the responsibil-
Standards                                                    ity of the user of this standard to establish appropriate safety
     F1.1 Certain requirements, such as those                and health practices and determine the applicability of regula-
listed below, shall not be included in ASTM                  tory limitations prior to use.
standards. If a committee feels it is important that
this type of information be given, the committee                 F2.1.1 When the standard does not involve
may request an exemption from the Committee                  the use of hazardous materials, operations, or
on Standards for the inclusion of such require-              equipment, a request for an exception to the
ments in an ASTM standard.                                   inclusion of the generic caveat shall be presented
                                                             to the ASTM Standing Committee on Standards.
• Adjustment, settlement, and investigation of                   F2.1.2 Speciﬁc warning statements shall be
  claims                                                     included in the standard (see Section A13 for the
• Costs of testing, retesting statements                     use of warning statements). These statements
• Effective Dates                                            shall not prescribe speciﬁc remedial measures
• Open-end agreements (see B1.2)                             and actions. However, reference may be made to
• Prices                                                     authoritative sources where reliable information
• Purchasing                                                 concerning remedial measures can be obtained.
                                                                 F2.1.3 Where there exists in a standard a
    F1.2 The matter of who shall pay for ser-                speciﬁc warning statement(s), reference to the
vices should be stated in the agreement or pur-              appropriate section(s) shall be made following
chase order and not in the standard. Statements              the generic safety hazards caveat in the scope.
covering inspection (follow Section B19), rejec-
tion and rehearing (follow Section B20), testing                  F2.2 Fire Standards:
and retesting (follow B16.2), marking (follow                     F2.2.1 Every ﬁre standard shall state its
Section B22), and certiﬁcation (follow Section               purpose, specify the known limitations of the
B21) are suitable when they do not contain                   standard, and specify the signiﬁcance of the data
mandatory requirements covering the costs                    that are generated (including relevance to human
involved.                                                    life and property, where appropriate). Use precise
                                                             terminology (see Part E, Terminology in ASTM
F2. Caveat Statements and Policies in                        Standards), and include the appropriate caveat as
Standards                                                    listed below. Standards should include, when
    F2.1 The generic caveat on safety hazards                practical, sufficient background or explanatory
speciﬁed below shall appear in the Scope section             material to guide users in properly applying
of (1) test methods; (2) speciﬁcations where test            ASTM ﬁre standards.
methods are detailed other than by reference; and                 F2.2.2 ASTM ﬁre standards include ﬁre-
(3) practices and guides that involve the use of             test-response standards, ﬁre hazard assessment
material, operations, or equipment.                          standards, and ﬁre risk assessment standards.

                                                       F-1
                                                  JA244
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 Other types of ﬁre standards shall also be permit-                      tive output (where quantitative outputs include a
 ted, including terminologies, guides, speciﬁca-                         binary pass/fail option or a classiﬁcation into
 tions, and practices. The following criteria shall                      categories). Such ASTM ﬁre standards shall con-
 be followed by ﬁre standards:                                           tain the following statement:
     F2.2.2.1 Fire-test-response standards pro-
 vide a means for measuring the response of
 materials, products, or assemblies to heat and                            This ﬁre standard cannot be used to provide quantitative
                                                                         measures.
 ﬂame under controlled conditions of test. ASTM
 ﬁre-test-response standards shall contain the fol-                          F2.2.2.5 The following generic caveat is
 lowing caveat:                                                          appropriate for ﬁre standards that do not describe
                                                                         a ﬁre test but do produce quantitative results that
    This standard is used to measure and describe the response
 of materials, products, or assemblies to heat and ﬂame under            are calculated measures of ﬁre-test-response
 controlled conditions, but does not by itself incorporate all           characteristics and not by themselves measures of
 factors required for ﬁre hazard or ﬁre risk assessment of the           ﬁre hazard or ﬁre risk.
 materials, products, or assemblies under actual ﬁre conditions.

     F2.2.2.2 Fire-hazard assessment standards                              This standard is used to determine certain ﬁre-test
 provide a method for assessing the potential for                        responses of materials, products, or assemblies to heat and
 harm for materials, products, or assemblies that                        ﬂame under controlled conditions by using results obtained
                                                                         from ﬁre-test-response standards. The results obtained from
 could be anticipated under speciﬁed ﬁre condi-                          using this standard do not by themselves constitute measures
 tions. ASTM ﬁre-hazard assessment standards                             of ﬁre hazard or ﬁre risk.
 shall contain the following statement:
                                                                             F2.2.2.6 The following caveat is required
    This standard is used to predict or provide a quantitative           for ﬁre test methods:
 measure of the ﬁre hazard from a speciﬁed set of ﬁre condi-
 tions involving speciﬁc materials, products, or assemblies.
 This assessment does not necessarily predict the hazard of
                                                                            Fire testing is inherently hazardous. Adequate safeguards
 actual ﬁres which involve conditions other than those
                                                                         for personnel and property shall be employed in conducting
 assumed in the analysis.
                                                                         these tests.

     F2.2.2.3 Fire-risk assessment standards pro-                             F2.2.3 Titles and Criteria for Fire-Hazard
 vide a method for assessing the probability of loss                     and Fire-Risk Assessment Standards— All stan-
 resulting from a given ﬁre situation involving                          dards developed, approved, or reapproved for the
 interaction between the material, product, or                           analysis and control of ﬁre hazard or ﬁre risk
 assembly with its environment. ASTM ﬁre-risk                            shall contain the words “FIRE-HAZARD
 assessment standards shall contain the following                        ASSESSMENT” or “FIRE-RISK ASSESS-
 statement:                                                              MENT” in the title. The results of all such
                                                                         assessments shall be expressed in terms that
    This standard is used to establish a means of combining the
 potential for harm in ﬁre scenarios with the probabilities of           relate the item in question to the anticipated ﬁre
 occurrence of those scenarios. Assessment of ﬁre risk using             environment. When appropriate, the standard
 this standard depends upon many factors, including the man-             may also contain acceptance or classiﬁcation
 ner in which the user selects scenarios and uses them to rep-
 resent all scenarios relevant to the application. This standard
                                                                         criteria and a statistical sampling plan as a guide
 cannot be used to assess ﬁre risk if any speciﬁcations are dif-         to its use.
 ferent from those contained in the standard.
                                                                             F2.2.4 ASTM Committee E05 on Fire Stan-
     F2.2.2.4 ASTM develops ﬁre standards                                dards is available to provide review of ﬁre stan-
 other than ﬁre-test-response standards, ﬁre-                            dards developed by other ASTM committees.
 hazard assessment standards, or ﬁre-risk assess-                            F2.3 General Policy Caveat— The Board of
 ment standards, which provide information on                            Directors approved the inclusion of a General
 ﬁre issues that is not associated with a quantita-                      Statement of ASTM Policy in all standards:

                                                                   F-2
                                                                 JA245
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    This standard is subject to revision at any time by the                  Standard Guide—This guide offers an organized collection
 responsible technical committee and must be reviewed every              of information or a series of options and does not recommend
 ﬁve years and if not revised, either reapproved or withdrawn.           a speciﬁc course of action. This document cannot replace
 Your comments are invited either for revision of this standard          education or experience and should be used in conjunction
 or for additional standards and should be addressed to ASTM             with professional judgment. Not all aspects of this guide may
 International Headquarters. Your comments will receive care-            be applicable in all circumstances. This ASTM standard is not
 ful consideration at a meeting of the responsible technical             intended to represent or replace the standard of care by which
 committee, which you may attend. If you feel that your com-             the adequacy of a given professional service must be judged,
 ments have not received a fair hearing, you should make your            nor should this document be applied without consideration of
 views known to the ASTM Committee on Standards, 100                     a project’s many unique aspects. The word “Standard” in the
 Barr Harbor Drive, West Conshohocken, PA 19428.                         title of this document means only that the document has been
                                                                         approved through the ASTM consensus process.
                                                                             Standard Practice—This practice offers a set of instructions
 This statement shall appear in a note at the end of                     for performing one or more speciﬁc operations. This docu-
 the standard, following the note on ASTM Dis-                           ment cannot replace education or experience and should be
 claimer of Liability as to Patented Inventions (see                     used in conjunction with professional judgment. Not all
 Section F3 on Patents in ASTM Standards).                               aspects of this practice may be applicable in all circum-
                                                                         stances. This ASTM standard is not intended to represent or
                                                                         replace the standard of care by which the adequacy of a given
     F2.4 Working Document Caveat— The                                   professional service must be judged, nor should this docu-
 Board of Directors approved the use of the                              ment be applied without consideration of a project’s many
 “Working Document” statement to be stated on                            unique aspects. The word “Standard” in the title means only
                                                                         that the document has been approved through the ASTM con-
 the front page of every draft document or manu-                         sensus process.
 script from a committee. The following statement
 shall be typed or stamped on the document:                                  F2.6 Mercury Caveat— When a standard
                                                                         includes reference to the element of mercury or
                                                                         products containing mercury, the following
    This document is not an ASTM standard; it is under con-
 sideration within an ASTM technical committee but has not
                                                                         caveat shall appear in the Scope section.
 received all approvals required to become an ASTM standard.
 You agree not to reproduce or circulate or quote, in whole or              Warning—Mercury has been designated by many regula-
 in part, this document outside of ASTM Committee/Society                tory agencies as a hazardous substance that can cause seri-
 activities, or submit it to any other organization or standards         ous medical issues. Mercury, or its vapor, has been demon-
 bodies (whether national, international, or other) except with          strated to be hazardous to health and corrosive to materials.
 the approval of the Chairman of the Committee having juris-             Caution should be taken when handling mercury and mercury
 diction and the written authorization of the President of the           containing products. See the applicable product Safety Data
 Society. If you do not agree with these conditions, please              Sheet (SDS) for additional information. Users should be
 immediately destroy all copies of the document. Copyright               aware that selling mercury and/or mercury containing prod-
 ASTM International, 100 Barr Harbor Drive, West Consho-                 ucts into your state or country may be prohibited by law.
 hocken, PA 19428. All Rights Reserved.

 Anyone requesting an ASTM committee draft                               F3. Patents in ASTM Standards
 document is entitled to receive a copy. However,
 after receipt of this document, they shall adhere                           F3.1 When a committee has determined an
 to the caveat.                                                          item covered by a patent or a pending patent may
                                                                         be necessary in a proposed standard, the commit-
     F2.5    Professional Judgment Caveat—                               tee shall include a statement in the balloting
 When a Technical Committee is developing a                              process and a footnote in the draft standard,
 Standard Guide or Practice that may involve                             indicating a willingness to consider alternative(s).
 professional judgment, the following caveats may                        ASTM standards submitted to ANSI for approval
 be used:                                                                as American National Standards shall conform to
                                                                         the ANSI patent policy. The ANSI patent policy
                                                                         may be obtained on the ANSI website (www.an-
                                                                         si.org).
                                                                             F3.1.1 Statement in Balloting Process—
                                                                         The statement with the ballot shall include a
                                                                         request for an alternative(s) as follows:

                                                                   F-3
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    The (name of material, product, process, apparatus) is cov-           or services other than in relation to an ASTM
 ered by a patent. If you are aware of an alternative(s) to the
 patented item, please attach to your ballot return a description
                                                                          Certiﬁcation Program.
 of the alternatives. All suggestions will be considered by the               F4.1.3 ASTM International does not permit
 committee. If alternatives are identiﬁed, the committee shall            the use of third-party trade- or service marks in
 reconsider whether the patented item is necessary. The com-              ASTM standards in a manner that could suggest
 mittee, in making its decision, shall follow Regulation 15.
                                                                          ASTM International’s endorsement, approval,
     F3.1.2 Statement in Footnote of Standard—                            sponsorship, or certiﬁcation of the trademarked
 A footnote shall be included in the standard as                          item or service.
 follows:                                                                     F4.1.4 Requiring participation in or that a
                                                                          product meet an ASTM Certiﬁcation Program to
    The (name of material, product, process, apparatus and                comply with an ASTM standard is prohibited.
 may include the patent number for reference) is covered by a
 patent. Interested parties are invited to submit information
                                                                              F4.2 Trademarks:
 regarding the identiﬁcation of an alternative(s) to this pat-                F4.2.1 Trademarks shall not be used in
 ented item to the ASTM International Headquarters. Your                  ASTM standards, unless the trademark is used to
 comments will receive careful consideration at a meeting of              refer to a speciﬁc source of supply and such use
 the responsible technical committee, which you may attend.
                                                                          conforms to the requirements of F4.3.
 The footnote shall be cited in the speciﬁc section                           F4.2.2 Trademarks in ASTM standards shall
 of the standard where the patented item is ﬁrst                          not be used in a manner that: is false or mislead-
 mentioned. Information describing the patented                           ing; violates the rights of the Mark’s owner;
 item will be set forth once in the standard, in this                     violates any law, regulation or other public
 footnote.                                                                policy; or mischaracterizes the relationship
                                                                          between the Society and the material, product,
     F3.2 Disclaimer of Liability as to Patented                          system or service represented by the Mark,
 Inventions— Neither ASTM International nor an                            including but not limited to any use of a Mark
 ASTM committee shall be responsible for identi-                          that might reasonably be construed as an endorse-
 fying all patents under which a license is required                      ment, approval, sponsorship, or certiﬁcation by
 in using an ASTM document or for conducting                              the Society of the material, product, system or
 inquiries into the legal validity of those patents                       service, or that might be reasonably construed as
 which are brought to the Society’s attention.                            support or encouragement to purchase or utilize
 Where applicable, an ASTM document shall                                 the material, product, system or service repre-
 include a note worded as follows:                                        sented by the Mark. Judgment is at the sole
                                                                          discretion of the Committee on Standards.
    “ASTM International takes no position respecting the                      F4.2.3 If ASTM International staff decides
 validity of any patent rights asserted in connection with any            permission should be obtained to use a trade-
 item mentioned in this standard. Users of this standard are
 expressly advised that determination of the validity of any              mark, such permission shall be obtained by
 such patent rights, and the risk of infringement of such rights,         ASTM International Headquarters from the
 are entirely their own responsibility.”                                  holder of the Mark.
                                                                              F4.2.4 The ﬁrst reference to the trademark in
 F4. Use of Trademarks and Speciﬁc Sources
                                                                          the standard shall include a footnote containing
 of Supply for Apparatus, Reagents, and
                                                                          the name of the trademark holder. Trademark
 Materials in ASTM Standards
                                                                          symbols shall not be included. “Trademark” shall
     F4.1 ASTM International is authorized to
                                                                          be used as an adjective.
 certify products, equipment or services.
     F4.1.1 ASTM International has a registered                              F4.3 Sources of Supply:
 certiﬁcation mark, along with other registered                              F4.3.1 To allow the widest possible use of
 marks.                                                                   ASTM standards, it is the responsibility of the
     F4.1.2 ASTM International does not permit                            sponsoring committee to ensure that sources of
 its trademarks to be used in a manner that                               supply exist for unique or difficult-to-obtain
 suggests it has approved any product, equipment                          apparatus, reagents, and materials.

                                                                    F-4
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      F4.3.2 Reference to speciﬁc commercial                               All available apparatus may not be suitable for this applica-
                                                                        tion. Apparatus considered for use in this application shall be
 sources of supply are permitted only when there                        checked for suitability in accordance with the requirements of
 is a sole source of supply.                                            (insert reference to appropriate evaluation document).
      F4.3.2.1 Information on the sole source of
 supply shall be included in a footnote. Include                        F5. Reference to Standards of Other
 wording such as:                                                       Organizations
                                                                            F5.1 When referencing standards of other
                                                                        organizations, include the designation and title
    The sole source of supply of the apparatus known to the
 committee at this time is (name and address of the supplier).
                                                                        for the document in the Referenced Documents
 If you are aware of alternative suppliers, please provide this         sections.
 information to ASTM International Headquarters. Your com-                  F5.1.1 In all cases, information on the title,
 ments will receive careful consideration at a meeting of the           designation, and source availability of the refer-
 responsible technical committee, which you may attend.
                                                                        ence standards shall be included. Do not include
                                                                        the year date of reference documents unless there
     F4.3.3 If the apparatus is not widely avail-                       is a technical reason for requiring a particular
 able, but more than one source of supply is                            revision.
 known, or if apparatus that is widely available                            F5.2 When it is necessary to quote portions
 needs to be checked for suitability in the applica-                    of a non-ASTM standard, permission to republish
 tion speciﬁed, the committee can reference crite-                      shall be obtained from the organization holding
 ria for evaluating the apparatus. This reference                       copyright by ASTM International Headquarters.
 can be to a section of the standard, to a separate                         F5.3 Joint logos shall not be printed on
 existing standard or other published document, or                      ASTM standards, except with the authorization
 can be in the form of an annex or appendix to the                      of the Board of Directors. When a standard has
 standard, or ﬁled as an ASTM research report or                        been developed in cooperation with another orga-
 adjunct.                                                               nization(s), a note may appear in the standard,
     F4.3.3.1 Text referencing the availability of                      crediting the other organization’s participation.
 such criteria, and any requirement on the use of                           F5.3.1 In cases of disagreement on imple-
 such criteria, should be included in the appropri-                     mentation of this policy, the matter shall be
 ate section of the standard. Include wording such                      referred to the Committee on Standards for deci-
 as:                                                                    sion.




                                                                  F-5
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                                                               PART G

                                       STANDARDS STYLE MANUAL

G1. Styling                                                                G2. Electronic Standard Preparation
                                                                               G2.1 Rationale for Ballot— A rationale
    G1.1 Check the draft standard against the
                                                                           explaining the reason for the ballot is mandatory
rules given in this style manual. Many technical
                                                                           for all ballots.
committees have editorial subcommittees that
                                                                               G2.2 New Standard— For help in writing
review draft standards before submittal to Head-
                                                                           new standards, go to www.astm.org and use the
quarters. The ASTM editorial staff does the ﬁnal
                                                                           online draft standard templates.
styling and is available to assist members. There
                                                                               G2.3 Extensive Revision— When doing an
are a number of forms of assistance available to
                                                                           extensive revision, process in manuscript form.
the ASTM standards-writer, such as the follow-
                                                                           Submit entire document for ballot and do not use
ing: on-line templates to write standards and
                                                                           track changes as shown in G2.4 if the revisions
access to the latest Form and Style for ASTM
                                                                           would make the ballot too cumbersome to follow.
Standards, the ASTM Online Dictionary of Engi-
                                                                           In this case, the ballot rationale shall be used to
neering      Science      and      Technology (see
                                                                           state the extent of the changes and that the
www.astm.org), Committee White Papers
                                                                           document should be reviewed in its entirety.
(supplements to this manual), and editorial work-
shops. Also, see the Introduction to this manual.                              G2.4 Minimum to Moderate Revisions
                                                                               G2.4.1 Clearly indicate what has changed by
    G1.2 Of the instructions that follow, some                             using the “track changes” tool. Follow these
are included because they are deviations from the                          instructions to properly use the track changes
standard references, some because they are used                            tool:
frequently and are therefore listed here for conve-                            G2.4.1.1 Only submit for ballot those sec-
nience. Sections on various points of ASTM style                           tions that are being revised.
appear in the following alphabetical order:                                    G2.4.1.2 Open the document and excerpt
                                                                           into a separate ﬁle only those sections to be
                                                          Section          revised.
 Abbreviations and Unit Symbols                           G3
 Alloy Designations                                       G4                   G2.4.1.3 Select “Tools” from the pull-down
 And/Or                                                   G5               menu.
 Capitalization
 Chemical Formulas
                                                          G6
                                                          G7
                                                                               G2.4.1.4 Select “Track Changes.” This will
 Contractual Parties                                      G8               automatically default to underlining added text
 Crystal Planes and Directions                            G9               and striking through deleted text.
 Dictionaries and Other Reference Publications on Style   G10
 Dilution Ratio                                           G11                  G2.4.1.5 Ensure that all changes (insertions,
 Figures                                                  G12              deletions, etc.) have been properly marked with
 Footnotes                                                G13
 Hyphens                                                  G14
                                                                           the revision bar in the margins.
 Italics                                                  G15
 Mathematical Material                                    G16
 Numbering                                                G17
 Numerals                                                 G18              G3. Abbreviations and Unit Symbols
 Percent versus Percentage Points                         G19
 Polymers                                                 G20
                                                                               G3.1 In the text, use unit symbols after
 References, Other Documents                              G21              numbers denoting a deﬁnite quantity. Example:
 References, Standards                                    G22              “The length is 25 mm [1.0 in].”
 Sample versus Specimen                                   G23
 SI Units                                                 G24                  G3.2 Use unit symbols in tables and ﬁgures,
 Spelling
 Symbols
                                                          G25
                                                          G26
                                                                           and in lists deﬁning symbols used in equations.
 Tables                                                   G27                  G3.3 Use unit symbols and abbreviations in
 Tension/Compression/Flexure Tests
 Thermal Conductivity
                                                          G28
                                                          G29
                                                                           the singular only. Thus “ﬁfty kilograms” shall be
 Thermometers                                             G30              designated “50 kg,” not “50 kgs.” Exceptions:
 Trademarks                                               G31              Figs., Nos., Eqs., Refs, Vols.

                                                                     G-1
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    G3.4 When a long word or phrase for which                     cubic decimetre                   dm3
there is no standard abbreviations is used fre-                   curie                             Ci
                                                                  cycles per minute                 cpm
quently, it may be replaced by an abbreviation                    cycles per second                 (use Hz, hertz)
that is explained when it ﬁrst occurs. Examples:                  day                               spell out
                                                                  decibel                           dB
below top dead center (btdc), relative centrifugal                degree (angle)
force (rcf).                                                      degree Celsius                     C
                                                                  degree Fahrenheit                  F
    G3.5 Commonly accepted abbreviations for                      degree Rankine                     R
names of societies, associations, government                      degrees of freedom                df
                                                                  Department                        Dept. B
agencies, etc., may be used, provided the name is                 diameter                          dia (in ﬁgures and tables)
spelled out the ﬁrst time it is used. Use no periods              differential                      d
and run together. Examples: ASTM International,                   direct current                    dc
                                                                  Division                          Div. B
TAPPI, NASA, ARPA.                                                dollar                            $
    G3.6 The standard unit symbols and abbre-                     effective horsepower              ehp
                                                                  electromotive force               emf
viations for use in Society publications in the list              electronvolt                      eV
below are so common that they may be used                         Engineers                         Engrs. A
                                                                  equation(s)                       Eq(s)
without explanation. For proper form and style                    farad                             F
for SI units follow IEEE/ASTM SI-10 American                      ﬁgure(s)                          Fig(s). D
National Standard for Metric Practice, the SI                     foot
                                                                  footcandle
                                                                                                    ft
                                                                                                    fc
Quick Reference Guide (Annex A) and Part G                        foot pound-force                  ft•lbf (use for work, energy)
and Part H. If a discrepancy exists between these                                                   (see lbf•ft)
                                                                  gallon                            gal
documents, follow Part G and Part H of the Form                   gauss                             G
and Style Manual.                                                 gilbert                           Gb
                                                                  grain                             spell out
                                                                  gram                              g
 absolute                   abs                                   gravity (acceleration)            g
 academic degrees           use periods and run together          gray                              Gy
                            (M.S., Ph.D., etc.)                   half hard                         SH
 alternating current        ac                                    henry                             H
 American                   Am. A                                 hertz                             Hz
 American wire gauge        AWG                                   horsepower                        hp
 ampere                     A                                     horsepower hour                   hp•h
 ampere hour                Ah                                    hour                              h
 angstrom                   A                                     Hurter and Driffield scale (ﬁlm   H&D
 ante meridian              a.m.                                    density)
 Association                Assn. B                               hydrogen ion concentration,       pH
 atmosphere                 atm                                     negative logarithm of
 average                    avg                                   inch                              in.
 barrel                     bbl                                   inch of mercury                   in.Hg
 becquerel                  Bq                                    inch of water                     in.H2O
 billion electronvolts      (use GeV, gigaelectronvolts)          inch pound-force                  in.•lbf (use for work, energy)
 Birmingham wire gauge      BWG                                                                     (see lbf•in.)
 brake horsepower           bhp                                   inclusive                         incl (in ﬁgures and tables only)
 brake-horsepower hour      bhp•h                                 Incorporated                      Inc. B
 Brinell hardness number    HB (see ASTM E10)                     indicated horsepower              ihp
 British thermal unit       Btu                                   inside diameter                   ID (in ﬁgures and tables only)
 Brown and Sharpe (gauge)   B&S                                   Institute                         Inst. B
 bushel                     Bu                                    integrated neutron ﬂux            nvt, n/cm2
 calorie                    cal                                   Iron pipe size                    IPS
 candela                    cd                                    joule                             J
 centimetre                 cm                                    K alpha radiation                 Ka
 centipoise                 cP                                    kelvin                            K
 centistokes                cSt                                   kilocalorie                       kcal
 circular mil               cmil                                  kilocycle per second              (see note on cycles per second)
 coefficient                spell out                             kilogram                          kg
 Company                    Co. B                                 kilogram-calorie                  kg•cal
 Corporation                Corp. B                               kilogram-force                    kgf
 coulomb                    C                                     kilogram metre                    kg•m
 cubic                      use exponential form C                kilometre                         km
 cubic centimetre           cm3


                                                            G-2
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 kilovolt                         kV                                      month (When followed by a date       spell out
 kilovolt ampere                  kVA                                       use Jan., Feb., March, April,
 kiloelectronvolt                 keV                                       May, June, July, Aug., Sept.,
 kilovoltpeak                     kVp                                       Oct., Nov., Dec. When there is
 kilowatt                         kW                                        no date, spell out. Examples:
 kilowatthour                     kWh                                       Jan. 15, 1995; January 1995)
 kip (1000 lbf)                   spell out                               nanometre (formerly millimi-         nm
 kip (1000 lbf) per square inch   ksi                                       cron)
 Knoop hardness number            HK (see ASTM E384)                      National                             Nat. A
 lambert                          L                                       newton                               N
 linear                           spell out                               normal                               N
 litre                            L                                       number(s) (This abbreviation can     No(s). D
 logarithm (common)               log                                       often be omitted entirely. It is
 logarithm (natural)              ln                                        usually understood (as in STP
 lumen                            lm                                        325, Specimen 8, Test 14,
 lux                              lx                                        etc.))
 magnetomotive force              mmf                                     oersted                              Oe
 mass-to-charge ratio             m/e                                     ohm                                  O
 maximum                          max (in ﬁgures and tables               ortho                                o
                                  only)                                   ounce                                oz
 maxwell                          Mx                                      outside diameter                     OD (in ﬁgures and tables only)
 median effective concentration   EC50                                    page                                 p.
 median effective dose            ED50                                    pages                                pp.
 median lethal concentration      LC50                                    para                                 p
 median lethal dose               LD50                                    parts per billion                    ppb
 megacycles per second            (see note on cycles per second)         parts per million                    ppm
 megagram                         Mg                                      pascal                               Pa
 megawatt                         MW                                      per                                  use the diagonal line in expres-
 meta                             m                                                                            sions with unit symbolsE
 metre                            m                                       percent                              %
 microampere                      µA                                      pico (preﬁx)                         p
 microcurie                       µCi                                     picofarad                            pF
 microfarad                       µF                                      pint                                 Pt
 microgram                        µg                                      poise                                P
 microhenry                       µH                                      Poisson’s ratio                      µ (v is preferred in applied
 microinch                        µin.                                                                         mechanics)
 microlitre                       µL                                      post meridian                        p.m.
 micro-micro (preﬁx, use pico)    p                                       pound                                lb
 micrometre (formerly micron)     µm                                      pound-force                          lbf
 microroentgen                    µR                                      pound-force foot                     lbf•ft (use for torque) (see
 microsecond                      µs                                                                           ft•lbf)
 microvolt                        µV                                      pound-force inch                     lbf•in. (use for torque) (see
 microwatt                        µW                                                                           in•lbf)
 mil                              spell out                               pound-force per square foot          lbf/ft2
 mile                             spell out                               pound-force per square inch          psi or lbf/in.2
 miles per hour                   mph                                     pound-force per square inch          psia
 milliampere                      mA                                        absolute
 milli-angstrom                   mA                                      pound-force per square inch          psig
 millicurie                       mCi                                       gauge
 milliequivalent                  meq                                     quart                                qt
 milligram                        mg                                      rad (dose unit)                      rd
 millihenry                       mH                                      radian                               rad
 millilitre                       mL                                      radio frequency,n                    rf
 millimetre                       mm                                      radio frequency,adj                  r-f
 millimetre of mercury            mmHg                                    radius                               R (in ﬁgures and tables only)
 million electronvolts            MeV                                     Railway                              Ry. B
 milliroentgen                    mR                                      Railroad                             R.R. B
 millisecond                      ms                                      reference(s)                         Ref(s)
 millivolt                        mV                                      relative humidity                    RH (in ﬁgures and tables only)
 milliwatt                        mW                                      revolution per minute                r/min
 minimum                          min (in ﬁgures and tables only)         revolution per second                r/s
 minute                           min (spell out when used with           Rockwell hardness, C scale           HRC (see ASTM E18)
                                  minimum)                                roentgen                             R
 molal                            spellout                                root mean square                     rms
 molar                            M                                       Saybolt Furol seconds                SFS
 mole                             mol                                     Saybold Universal seconds            SUS
                                                                          second                               s



                                                                    G-3
                                                                JA251
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 secondary                           sec                                   B, and/or C” is truly the case, write “A, B, or C,
 siemens                             S                                     or combinations thereof.”
 Society                             Soc. B
 socket joint (tables and drawings   Sj
   only)
 speciﬁc gravity                     sp gr
 square                              use exponential form (excep-
                                                                           G6. Capitalization
                                     tion: psi, ksi) C                          G6.1 Use capitals sparingly.
 standard taper (tables and draw-    TS                                         G6.2 In headings and titles, capitalize all
                                                                           nouns, pronouns, verbs, adjectives, adverbs, and
   ings only)
 steradian                           sr
 stokes                              St                                    all other words of ﬁve or more letters. Do not use
 tensile strength                    spell out
 tertiary                            tert
                                                                           initial caps on abbreviations (except see G6.6), or
 tesla                               T                                     the phrase “et al.” or in the word “to” in the
 thousand electronvolts              KeV                                   inﬁnitive form of a verb.
 thousand pounds                     kip
 thousand pounds-force per           ksi                                        G6.3 Use initial cap for “committee” where
   square inch                                                             used in a title, as “Committee A01,” “Committee
 ton                                 spell out
 torr                                spell out
                                                                           on Publications.” Everywhere else use lowercase,
 United States, n                    spell out                             as “The committee recommends ...” This rule also
 United States, adj                  U.S.                                  applies to use of “symposium,” etc.
 United States Pharmacopeia          USP
 versus                              spell out                                  G6.4 Use initial cap on Society, Staff, and
 Vickers hardness number             HV (see ASTM E384)                    Headquarters when referring to ASTM Interna-
 volt                                V
 volume (of a publication)           Vol D
                                                                           tional, its Staff, and its Headquarters.
 watt                                W                                          G6.5 Capitalize trademarks. The initial cap
 watt hour                           W•h                                   becomes lowercase after the word is accepted
 weber                               Wb
 week                                spell out                             into the language as generic. When in doubt,
 yard                                yd                                    capitalize. The following are now lowercase:
 year                                spell out
 Young’s modulus                     E
                                                                           babbitt, bunsen, cellophane, diesel, kraft, neo-
                                                                           prene, nylon, portland cement, saran.
A
  In footnotes and references only.                                             G6.6 Use initial cap in referring to volumes,
B
  At end of name only.
C
  With unit symbols only.
                                                                           ﬁgures, tables, etc., as Vol 2, Fig. 2, Table 2. Use
D
  Only when followed by a number.                                          lowercase in less direct references such as: “This
E
  Exceptions: cpm, mph, psi.                                               volume contains ...,” “In the same ﬁgure is shown
                                                                           ...”
G4. Alloy Designations
                                                                                G6.7 Use initial caps in such expressions as:
    G4.1 Use the following for alloy designa-
                                                                           Test 1, Specimen A, Cement B, Type 1, Class C,
tions:
                                                                           Grade B, etc.
  3135 steel
                                                                                G6.8 It is permissible to use all caps in
  2024-T4 aluminum                                                         directions such as: “Turn the machine to OFF
  Ti-4Al–3V-Mo                                                             position” or “Turn the dial to TITRATE.”
  Ti-6Al–4V
  0.5Ti molybdenum alloy or molybdenum with 0.5 % tita-
nium or
  0.5Ti alloy (where molybdenum is understood)                             G7. Chemical Formulas
                                                                               G7.1 Chemical formulas should be used
    G4.2 ASTM and SAE have jointly devel-                                  freely in tables and ﬁgures. In text in which
oped a uniﬁed numbering system (UNS) for alloy                             chemical formulas are mentioned infrequently,
identiﬁcation (Practice E527).                                             spell out the names. Where they are mentioned
                                                                           frequently, spell out the name in the ﬁrst refer-
G5. And/Or                                                                 ence to it, followed by the formula in parentheses.
    G5.1 Do not use this expression. For                                   The formula alone may be used subsequently. Do
example, when “A and/or B” is truly the case,                              not use chemical formulas for organic or complex
write “A or B, or both.” For example, when “A,                             inorganic compounds. Always spell out the word

                                                                     G-4
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“water” and the name of the elements (use lead,               G12.2 Please include ﬁgure(s) with your
not Pb). Isotopes may be written as carbon-14 or          ballot submission to ensure timely publication of
as14C.                                                    your standards.
                                                              G12.2.1 Size each ﬁgure up to 30 picas in
                                                          width (approximately 125 mm or 5 in.) This is the
G8. Contractual Parties                                   maximum.
    G8.1 Terms describing contractual parties
shall be limited to the following:                             G12.3 How do I create and save non-
    G8.1.1 Party of First Part, producer, sup-            photographic images (for example, graphs, draw-
plier, seller, or manufacturer.                           ings, schematics) or digital photographs from a
    G8.1.2 Party of Second Part, purchaser or             hard copy original or from computer-generated
user.                                                     artwork?
                                                               G12.3.1 Keep in mind that the larger the
                                                          original, the greater potential for a better repro-
G9. Crystal Planes and Directions                         duction.
    G9.1 Use the following symbols for crystal-                G12.3.2 Size each ﬁgure to 30 picas in width
lographic planes and directions:                          (approximately 5 in.). For full-page/landscape
plane (111)                                               ﬁgures, size to 42 picas in width (approximately 7
family of planes {111}                                    in.). These are the maximum allowable widths.
direction [111]                                                G12.3.3 When taking digital photographs,
family of directions <111>                                use the highest resolution possible on the camera.
                                                          Absolute minimum resolution is 1200 × 960
G10. Dictionaries and Other Reference                     pixels. 1936 × 1296 pixels is better, and 2896 ×
Publications on Style                                     1944 pixels is even better.
    G10.1 For spelling, punctuation, capitaliza-               G12.3.4 Check the image quality and the
tion, and foreign words, use a reference source           brightness and contrast levels.
material, such as Merriam-Webster’s Collegiate                 G12.3.5 Submit artwork in its original ﬁle
Dictionary or Webster’s Third New International           source/extension. ASTM graphic designers can
Dictionary (print or electronic versions). For            work with most ﬁle formats, including CAD.
other information on style use Manual of Style,           (SVG, EPS, or AI ﬁles are preferred for technical
The University of Chicago Press (print or elec-           drawings. TIFF or JPG preferred for photographs
tronic version).                                          or halftones. GIF is discouraged as a generally
                                                          low-resolution ﬁle type.)
                                                               G12.3.6 If you need to scan hard copy,
G11. Dilution Ratio                                       adjust the resolution on your scanner as follows:
    G11.1 Use the form “9+1” rather than “9:1”                 G12.3.6.1 Technical drawing or other infor-
for dilution ratios. This means that the 1 part           mation visual FTP—Please scan the line art at
solute is to be mixed with the 9 parts solvent.           1200 dpi (dots per inch).
Specify whether volumes or weights are being                   G12.3.6.2 Photograph FTP—Please scan at
used, for example, volume/volume, weight/                 600 DPI. If the image is to be enlarged, increase
volume, etc.                                              the percentage of the scanned image.
                                                               G12.3.6.3 ASTM can also scan for you (see
                                                          G12.5).
G12. Creating and Submitting Figures for                       G12.3.7 Furnish short titles or captions for
Ballot                                                    each ﬁgure.
    G12.1 Deﬁnition— A ﬁgure can be a techni-
cal drawing (vector line art), information visual                G12.4 How do I submit the ﬁle?
(chart/graph/schematic), or a photograph, or a                   G12.4.1 E-mail your staff manager or edi-
combination of these.                                     tor.

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    G12.4.2 FTP—Please contact the ASTM                         G14.3 Spelled-out fractions used as nouns
Help Desk for assistance at 1-800-262-1373.                 are not hyphenated (one third of the load); used as
    G12.4.3 DVD/CD-ROM                                      adjectives, they are hyphenated (a one-third
    G12.4.4 Hard copy can be mailed to ASTM                 share).
Headquarters, in case ASTM cannot use the
electronic ﬁle. See the following instructions.
    G12.5 How do I submit hard copy?                        G15. Italics
    G12.5.1 Provide camera-ready ﬁgures of                       G15.1 Italicize:
professional quality, because the printer will scan              G15.1.1 All symbols for physical quantities
what is submitted, and it will appear in the                that can have a numerical value (quantity sym-
standard exactly as you have supplied it. To this           bols).
end:                                                             G15.1.2 Letters in parentheses used to iden-
    G12.5.1.1 Use a laser or other high-quality             tify listings in text or subdivisions of illustrations,
printer.                                                    “Fig. 1(a).”
    G12.5.1.2 Do not handwrite on the ﬁgure.                     G15.1.3       Chemistry— N (normal), M
    G12.5.1.3 Do not use a faxed or photo-                  (molar), c (concentration). Do not italicize sym-
copied ﬁgure.                                               bols for the elements (Fe, N, Na, etc.) Exception:
    G12.5.1.4 Furnish short titles or captions for          italicize N for nitrogen when it is used to denote
each ﬁgure.                                                 position, as in N-methylaniline. Italicize o, m, and
                                                            p as ortho, meta, and para; for example, p-cresol.
                                                            Italicize and abbreviate secondary and tertiary as
G13. Footnotes
                                                            sec and tert; for example, tert-butyl alcohol.
     G13.1 For footnotes in tables, use superior
                                                            Italicize iso when used in isooctane.
italic capital letters, beginning anew for each
                                                                 G15.1.4 Titles— of books, including ASTM
table. Type the footnotes below the table.
                                                            books, such as Annual Book of ASTM Standards
     G13.2 For all other footnotes, use superior
                                                            and ASTM STP 379.
numbers.
                                                                 G15.1.5 Foreign Words— Use a reference
     G13.3 Do not use footnotes in ﬁgure cap-
                                                            source material, such as Merriam-Webster’s Col-
tions. Either cite a previous footnote or reference
                                                            legiate Dictionary or Webster’s Third New Inter-
(for example, “see Footnote 3,” or “taken from
                                                            national Dictionary (print or electronic version)
Ref (4)”), or write out the reference in the
                                                            as a guide to foreign words.
caption. For style of publication footnotes, see
                                                                 G15.1.6 Transistor Type— Use n-p-n, p-n-p,
Sections G21 and G22.
                                                            n-type, etc.
                                                                 G15.2 Do not italicize:
G14. Hyphens                                                     G15.2.1 Letters used to subdivide a cat-
    G14.1 In ASTM standards, hyphenate com-                 egorical classiﬁcation, such as Method A, Cement
pound adjectives, such as: “low-alloy steel,”               B, Class C, Grade D, Type E, Sample F.
“cold-drawn wire.” Compound adjectives involv-                   G15.2.2 Metallurgy— A1 point, Ar1, etc.
ing SI units should use a space, such as: “50 mm                 G15.2.3 Abbreviations— pH, sin, cos, tan,
gauge.” Write expressions such as the following             log, d (for derivative).
with the hyphen after the ﬁrst word: “high- and
low-temperature tests.” For the sake of appear-
ance, omit hyphens in such expressions as “3 %              G16. Mathematical Material
nickel alloy” or “3EC rise in temperature.” Also                G16.1 Mathematical material can appear in
do not hyphenate chemical compounds and the                 the standard text or as equations. In all cases,
words “stainless steel” and “cast iron.”                    submit clear copy, without ambiguities arising
    G14.2 Do not hyphenate an adverb-                       from carelessly placed subscripts or superscripts,
adjective combination when the adverb ends with             confusion between Greek and Roman letters,
“ly.”                                                       incomplete fraction lines, and so on. When there

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is a possibility of confusion (for example capital                                         1/4
letter O and zero), include an editorial note
nearby to clarify with more description. For                    Use the built-up fraction (with a horizontal line)
example:                                                        in an equation. If you use a built-up fraction on
                                                                one side of an equation, use it on the other side:
                                     1 5 1 310^3 µm
                                                                                                    a   c2d
Editorial Note: Lowercase “L” equals number                                                         b
                                                                                                      5
                                                                                                        e 2 f2
                                                                                                               312

one times 10 superscript 3 Greek mu
                                                                Use parentheses liberally to clearly show the
    G16.2 Greek Symbols— If unclear, type out                   complete numerator or denominator. For
the name of the Greek symbol in an editorial                    example, does log a/b mean log (a/b) or (log
note.                                                           a)/b? Use the parentheses to clarify. If you write
    G16.3      Superscripts (superior symbols)                  a/b + c but mean a/(b + c), use parentheses.
should be marked with a caret or type “super-
script” in an editorial note. Subscripts (inferior                   G16.8 Statistical Data— For data that are
symbols) should be marked with an inverted caret                treated statistically, follow the recommendations
or type “subscript” in an editorial note.                       in the ASTM Manual on Presentation of Data and
    G16.4 Indicate what symbol is preferred to                  Control Chart Analysis (MNL7). Committee
show multiplication (for example, times symbol,                 E11 on Quality and Statistics, which is respon-
middle dot, or asterisk).                                       sible for N , s repared o ooperate ith
    G16.5 Equations— Type on a separate line                    other technical committees in helping them pres-
in a larger font. Equations are numbered through-               ent data most effectively. In particular:
out the text. The format for a numbered equation                     G16.8.1 To present the essential information
is:                                                             contained in a set of observations from one
                                                                population, give the average, the standard devia-
                                                   Mc           tion or coefficient of variation, and the number of
                                              S5                observations.
                                                     I
                                                                     G16.8.2 Whenever you give an average,
  where:                                                        give also the number of observations on which
  S= stress, psi or Pa,                                         the average is based.
  M= bending moment, lbf•in. or N•m,                                 G16.8.3 Use the following symbols, where
  c= distance from neutral axis to outermost                    needed:
  ﬁber, in., or m, and
  I= second moment of area, in.4 or m4.                           x = average (arithmetic mean)
                                                                  s = root-mean square deviation
                                                                  n= number of observations
    G16.6 Exp versus e— If the exponent is                        s= standard deviation
relatively short and on one line, without super-                  v= coefficient of variation
scripts or subscripts, use e:
                                                                G17. Numbering
                     e   (a-b)cx                                   G17.1 See Part D.

If it is relatively long or has superscripts or                 G18. Numerals
subscripts, use exp:                                                G18.1 Use arabic numerals in designating
                                                                ﬁgures and tables, thus: “Fig. 3,” “Table 6.”
               exp[x2 /2- 1n(x/a)]                                  G18.2 Spell out all numbers from one
                                                                through twelve, with the following exceptions:
    G16.7 Fractions— Use the solidus (diago-                        G18.2.1 Use numerals when the quantity is
nal line) in the text:                                          partly fractional, as: 1.15, 1½.

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                                                         JA255
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    G18.2.2 Use numerals when followed by an                 percentage points. Use the forms “mass percent,”
expression having a standard unit symbol, as: 25             “volume percent,” “atom percent,” etc.
mm, 45 kg, 9 %.
    G18.2.3 If for any reason the standard
abbreviation or unit symbol of the expression                G20. Polymers
following the number is not used, or if the                      G20.1 Where the name of the monomer is
expression does not admit of abbreviation (as                one word, the preﬁx “poly” is simply run in, as:
year, ton, etc.), the use of numerals is optional,           polystyrene, polyisobutylene, etc. Where the
unless covered in the following paragraphs:                  name of the monomer is two words, they are
    G18.2.4 In statements containing two or                  enclosed in parentheses and the preﬁx “poly”
more numbers, one of which is greater than                   added, as in the following words: poly(vinyl
twelve, express all numbers as numerals, such as             chloride), poly(methyl methacrylate).
“2 tests and 16 weighings.”
    G18.2.5 In a series of connected numerical
statements implying precision, use numerals, as              G21. References, Other Documents
“5 months, 3 days.”                                               G21.1 If there are fewer than ﬁve references
    G18.2.6 Use numerals after abbreviations,                cited in the standard, use footnotes. If ﬁve or
as: Vol 26, Fig. 2.                                          more references are cited, type them in a separate
    G18.3 Use numerals for all numbers exceed-               list of references at the end of the manuscript,
ing twelve, with the following exceptions:                   following annexes and appendixes, if any. Assign
    G18.3.1 Do not begin a sentence with a                   a consecutive arabic number to each reference.
numeral. When the numeral is spelled out, also               Indicate the reference in the text by enclosing the
spell out the unit following, as “One gram is                number in parentheses and using boldface. Show
usually sufficient.”                                         a footnote reference after the ﬁrst boldface refer-
    G18.3.2 Spell out round numbers used in an               ence number, stating in the footnote: “The bold-
indeﬁnite sense, such as, “a hundred metres or               face numbers in parentheses refer to the list of
so.”                                                         references at the end of this standard.” If it is
    G18.3.3 Spell out numbers when used in the               necessary to use the word “reference,” use the
following manner: “ﬁfteen 25 mm ods” or 5                    style: “According to Ref (3) ...” It is preferable,
twenty-ﬁve millimetre ods).                                  however, to use the author’s name, as “According
    G18.3.4 In decimal numbers having no                     to Jones (3) ...” If there are two authors, use both
units, place a zero before the decimal point, as:            names, as: “According to Jones and Smith (3)...”
“0.65 mm,” not “.65 mm.”                                     If there are three or more authors, use “et al,” as:
    G18.4 In pointing off numbers of more than               According to Jones et al (3) ...”
four ﬁgures, use spaces instead of commas in the
text, illustrations, and tabular matter (1 234 567).              G21.2 Do not list ASTM standards as refer-
Do not point off numbers of four ﬁgures (1234)               ences; list them in the section on Referenced
except in tables when they occur in a column                 Documents (see also Section A6). Do not list as
containing numbers of more than four ﬁgures.                 references documents that are not readily acces-
    G18.5 In expressing ratios (except dilution              sible to the reader, such as unpublished theses and
ratios) use 1 to 10 or 1:10, not 1-10.                       private correspondence.
    G18.6 In expressing grades of, for example,                   G21.3 Type references (and publication
emery paper, use 3/0, not 000.                               footnotes) as follows:
                                                                  G21.3.1 Books— Type author’s name or
                                                             names (initials last), complete title of book (italic,
G19. Percent versus Percentage Points                        no quotation marks), name of publisher (no
    G19.1 When a quantity is reduced from 40                 abbreviations), address of publisher (city and
to 30, it is reduced by 25 %. When a quantity                state), year of publication, and page number, if
decreases from 40 % to 30 %, it decreases by 10              reference is to a page number. Example:

                                                       G-8
                                                  JA256
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  Jones, J. J., Plasticity and Creep, John Wiley & Sons, Inc.,              G21.3.8 ASTM Special Technical Publica-
New York, NY, 1958, p. 250.
                                                                        tion:
                                                                            G21.3.8.1 Whole Book:
    G21.3.2 Magazines, Journals (including
Standardization News)— Type author’s name or                              Symposium on Synthetic Bioabsorbable Polymers for
names (initials last), title of paper (in quotation                     Implants. ASTM STP 1396, ASTM International, 2000.
marks), complete title of journal (italic, no quota-
tion marks), volume number, issue number (this                              G21.3.8.2 Single Paper:
may be omitted if the journal page numbers are
continuous throughout the volume), date of pub-                            Gorna, K., and Gogolewski, S., “Novel Biodegradable
                                                                        Polyurethanes for Medical Applications,”Symposium on Syn-
lication, and page numbers. Example:                                    thetic Bioabsorbable Polymers for Implants, ASTM STP
                                                                        1396,ASTM International, 2000, p. 39.
  Jones, J. J., and Smith, R. R., “Correlation of Brinell Hard-
ness and Tensile Strength,” Materials in Design Engineering,                G21.3.8.3 Journal Reference to Website:
Vol 10, No. 2, February 1958, pp. 52-67.
                                                                           Name of Author(s), “Name of Paper,” Title of Journal, Vol-
   G21.3.3        Proceedings,       Transactions,                      ume, Number, Issue Number, Paper Identiﬁcation Number,
                                                                        Online, Available: URL, Access Date.
Reports, Bulletins, etc.— Type author’s name or                            Example:
names (initials last), complete title of paper (in                         Aydilek, A. H. and Edil, T. B., “Evaluation of Woven Geo-
quotation marks), name of publication (italic, no                       textile Pore Structure Parameters Using Image Analysis,”
                                                                        Geotechnical Testing Journal, Vol. 27, No.1, ID GTJ111070,
quotation marks), name of publisher, volume                             Online, Available: www.astm.org, 12 January 2004.
number, if any, date of publication, and page
numbers. Examples:
                                                                        G22. References, Standards
   Jones, J. J., “Lubrication Problems in Space Vehicles,”                  G22.1 Refer to ASTM standards ﬁrst in the
Transactions, American Society of Mechanical Engineers.,                section on Referenced Documents. Follow the
Vol 52, 1948, pp. 135-140.                                              designation (without year) with the full title, and
   Jones, J. J., “Classiﬁcation of Bitumens,” Journal of the
Institute of Petroleum, Vol 38, 1952, p. 121.                           use a footnote to refer to the appropriate publica-
   Jones, J. J., “Fatigue of Aircraft Structures,” NASA TR-108,         tion. The footnote should read: For referenced
National Aeronautics and Space Administration, 1959.                    ASTM standards, visit the ASTM website,
   Jones, J. J., “Effect of Carbon Content on Notch Properties
of Aircraft Steels,” Bulletin 642, Engineering Experiment Sta-
                                                                        www.astm.org or contact ASTM Customer Ser-
tion, University of Illinois, 1957.                                     vice at Service@astm.org. For the Annual Book
                                                                        of ASTM standards volume information, refer the
    G21.3.4 Symposium Volumes or Other                                  standard’s Document Summary page on the
Books Comprising Collections of Papers— Fol-                            ASTM website. Thereafter use simply the abbre-
low style for books in G21.3.1 and add title of                         viated designation (Test Method D1708, Practice
paper, in quotes, after author’s name.                                  E691, Speciﬁcation A250/A250M, etc.) Do not
    G21.3.5 Patents— Type patent number and                             include the word “Standard.” Do not use quotes
date. Example: U.S. Patent No. 2 232 185, Feb.                          on titles of standards, whether those of ASTM
18, 1941.                                                               International or other organizations.
    G21.3.6 Annual Book of ASTM Standards—                                  G22.2 Any reference to a combined stan-
Cite referenced ASTM standards in section on                            dard shall include the entire designation, for
Referenced Documents, not in references (see                            example, Speciﬁcation A36/A36M. When only
Section G22).                                                           one system of units is applicable, this may be
    G21.3.7 ASTM Proceedings— McVetty,                                  indicated where the reference is cited; for
P.G., “The Interpretation of Creep Tests,” Pro-                         example:
ceedings, ASTM International, Vol 34, Part II,
1934, p. 105. (Volume 38 was the last to be issued                         This material shall conform to the general requirements
in two parts.)                                                          stated in SI units of Speciﬁcation A36/A36M.

                                                                  G-9
                                                             JA257
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    G22.3 Do not refer to a speciﬁc paragraph,               B
section, table, or ﬁgure of another standard unless          babbitt metal (lc)
necessary to avoid confusion. For example, say,              Brinell (cap)
“the section on Impregnation Time of Methods
D202.”                                                       C

                                                             catalog (not catalogue)
                                                             CODEN
G23. Sample versus Specimen
    G23.1 In general, the word “sample” should
                                                             D
be used only to describe a piece or quantity of
bulk material that has been selected by some                 Disk
sampling process. Pieces or quantities taken from            disc (CD)
the sample for testing are called “specimens.”               Diskette (Floppy)
                                                             drier (comp. of dry)
Quantities of liquid or bulk aggregate are usually           dryer (apparatus)
called “samples,” because a sampling procedure
is usually used to obtain them.                              E
    G23.2 To describe the piece on which a test
is made, use “specimen” or “test specimen,” not              ensure (meaning be sure)
                                                             et al.
“piece” or “sample.”                                         eutectic (noun)
                                                             eutectoid (adj.)

G24. SI Units                                                F
    G24.1 SI units shall be included in all
                                                             ﬁreclay (adj.)
ASTM standards in accordance with IEEE/
ASTM SI-10, the SI Quick Reference Guide
(Annex A) and Part G and Part H. If a discrep-               G
ancy exists between these documents, follow Part             gastight
G and Part H of the Form and Style Manual.                   gauge (measurement, instrument)
    G24.2 Combined Standards—Both units of                   Geiger-Muehller tube
                                                             gray (not grey)
measure are included, and either system is to be
regarded separately as the standard. The com-
                                                             H
bined designation format: A36/A36M. (See also
A3.4.)                                                       heat treat (verb)
                                                             heat-treated (adj.)
                                                             Hooke’s law (lc “l”)
G25. Spelling
    G25.1 Included in the following list are                 I
those spellings of words commonly found in                   indexes (pl)
ASTM standards. For words that do not appear in              in situ (roman)
this list, use a reference source material. See              insofar
                                                             isooctane (all other “iso’s” roman)
Section G10 on Dictionaries and Other Reference
Publications on Style. Use international spelling
for SI units; that is, litre and metre.                      K

                                                             kerosine/kerosene
A

airborne                                                     L
alignment
appendixes (pl)                                              litre (not liter)

                                                      G-10
                                                 JA258
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M                                                                   G27. Tables
magnetic particle inspection (not Magnaﬂux)
                                                                        G27.1 Number each table with an arabic
metre (not meter)                                                   numeral and give it a title that is complete and
microscopic (meaning very small)                                    descriptive.
microscopical (meaning pertaining to use of a microscope)               G27.2 In column headings, ﬁrst include the
                                                                    quantity being tabulated, then a comma, then the
N
                                                                    units, for example:
neoprene (lc)
nital (lc)                                                            “Tensile Strength, min, psi.”
nitrile rubber (butadiene) (lc)
Normal Law integral (cap N and L)
                                                                         G27.3 Powers of 10— Do not use powers of
P                                                                   10 in the column heading, since it is not clear
                                                                    whether the numbers in the table have been or are
pipet (not pipette)                                                 to be multiplied by the power of ten. Instead,
plaster of paris (not plaster of Paris)
                                                                    indicate the multiplication (for example, 1.45 ×
R
                                                                    106) in the ﬁrst entry in the table; or use an
                                                                    expression such as “Young’s Modulus, millions
Rockwell (cap)                                                      of psi” in the column heading.
                                                                         G27.4 Footnotes— See G13.1.
S                                                                        G27.5 Use horizontal rules under column
sigma phase (spell out sigma)                                       headings. Use vertical rules only when the com-
siliceous                                                           plexity of the table demands them for clarity. Use
SR-4 strain gage                                                    leaders (three periods) in any space that repre-
Stokes’ law (lc “l”)
                                                                    sents a blank entry.
U                                                                        G27.6 Notes— Additional information can
                                                                    be included in a note that appears below the title.
Usage                                                                    G27.7 When two (or more) separate systems
                                                                    of units are both listed in one table (for example,
V
                                                                    SI and inch-pound units), separate the units by
V-Notch (noun and adj.)                                             using separate columns, or parentheses, or brack-
                                                                    ets.
X                                                                        G27.7.1 When the size of a table and limi-
X ray (noun)
                                                                    tations of space (on the printed page) make it
X-ray (adj and verb)                                                impractical to expand the table to include SI unit
                                                                    equivalents, duplicate the table.
                                                                         G27.7.2 When following the instructions
G26. Symbols
                                                                    given in G27.7 or G27.7.1 is impractical, because
     G26.1 In general, avoid the use of symbols                     of the size and the number of tables, include the
in text except in accordance with Sections G3 and                   pertinent conversion factors as footnotes under
G7. When stating dimensions, use “by” not ×, for                    each table instead of attempting to include the
example, “10 by 5 in. (254 by 127 mm).” Show                        actual converted numbers themselves.
tolerances, for example, as 10 by 5 ± 2 in. (254 by
127 ± 6 mm).” Do not use a hyphen or a dash for
the word “to” except in tables where needed to                      G28. Tension/Compression/Flexure Tests
conserve space. Do not use (’) or (") for feet and                      G28.1 The words “tension,” “compression,”
inches in text, tables, or ﬁgures.                                  and “ﬂexure” are used adjectivally to modify
     G26.2 In combination with words not hav-                       “specimen,” “test,” or “testing.” Examples: ten-
ing symbols, spell out entirely, for example,                       sion test, compression testing, ﬂexure specimen.
“bubbles per minute.”                                               To modify other nouns, the adjectives “tensile,”

                                                             G-11
                                                            JA259
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“compressive,” and “ﬂexural” are used.                                trademark indicated by footnote.
Examples: tensile strength, compressive force,
ﬂexural data.                                                         Aloxite (trademark, use aluminum oxide)
    G28.2 In some areas (notably the textile                          Alundum (trademark)
industry) there is a difference between a “tension                    Bakelite (trademark)
test” and a “tensile test,” and in these cases the                    Carborundum (trademark)
appropriate terminology shall be used.                                Celite (trademark)
                                                                      Chromel-Alumel (trademark)
                                                                      Haydite (trademark)
G29. Thermal Conductivity
                                                                      Inconel (trademark)
    G29.1 The form to be used for the unit for
                                                                      Invar (trademark)
thermal conductivity k is: Btu•in./h•ft2• F[SI
                                                                      Kel-F (trademark, use polychlorotriﬂuoroethyl-
units: W/(m•K)].
                                                                        ene)
                                                                      Lucite (trademark, use poly(methyl methacry-
G30. Thermometers                                                       late) (PMMA))
   G30.1 Whenever possible, refer to ther-                            Magne-Gage (trademark)
mometers described in ASTM Speciﬁcation E1 or                         Masonite (trademark)
E2251, for ASTM Thermometers. Reference to                            Monel metal (trademark)
an ASTM thermometer of the desired range                              Muntz metal (trademark)
should be as follows:                                                 Mylar (trademark, use polyester ﬁlm)
                                                                      Nichrome (trademark)
   Thermometer—ASTM (name) Thermometer having a                       Nujol (trademark, use light mineral oil)
range from ___ to ___ (°C or °F, whichever applies) and con-          Plexiglas (trademark, use poly(methyl methacry-
forming to the requirements for Thermometer (give thermom-
eter number; for example, 16F) as prescribed in Speciﬁcation            late) (PMMA))
(E1 or E2251, whichever applies).                                     Pyrex (trademark, use borosilicate)
                                                                      Scotch tape (trademark, use pressure-sensitive
    G30.2 Do not specify both temperature                               tape)
scales unless there is a deﬁnite need for them.                       Teﬂon (trademark, use TFE-ﬂuorocarbon or
                                                                        polytetraﬂuoroethylene (PTFE))
                                                                      Thiokol (trademark, use as an adjective, as
G31. Trademarks
                                                                        “Thiokol polysulﬁde rubber”)
    G31.1 Avoid the use of trademarks when-
                                                                      Transite (trademark)
ever possible. For example, use aluminum oxide
                                                                      Tygon (trademark, use vinyl)
instead of Aloxite, petroleum jelly instead of
                                                                      Vaseline (trademark, use petroleum jelly)
Vaseline. When trademarks are used, they should,
                                                                      Vycor (trademark, use high-silica)
of course, be initial cap and the owner of the




                                                               G-12
                                                          JA260
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                                                       PART H

                        USE OF SI UNITS IN ASTM STANDARDS

H1. Scope                                                           and Technology, including certain other units
    H1.1 This part is intended to guide technical                   accepted for use with these units.
committees in the use of the standard formats for                       DISCUSSION—Inch-pound, also known as
denoting the use of the International System of                     U.S. Customary Units, are one type of non-SI
Units (SI), non-SI units (usually inch-pound), or                   units. Another example of non-SI units is the
both in ASTM standards.                                             centimetre gram second (cgs) system.
    H1.2 SI units of measurement shall be                               H2.3 rationalization, n, in ASTM stan-
included in all ASTM standards.                                     dards— (formerly hard conversion) the planned
    H1.2.1 Each technical committee shall have                      simpliﬁcation of a converted value achieved by
the option of using rationalized SI units, or                       modifying the value to reﬂect dimensions or
rationalized inch-pound units, or both, as the                      physical characteristics of existing real measure-
standard units of measure.                                          ments or conﬁgurations; as a result of this change
    DISCUSSION—Given ASTM’s mission to                              the object or quantity may not be interchangeable
be the foremost developer and provider of volun-                    with the original.
tary consensus standards with global recognition                        H2.4 SI standard, n, in ASTM standards— a
and use, ASTM technical committees are urged to                     standard that contains rationalized SI units of
give diligent consideration to the use of rational-                 measurement.
ized SI (metric) units in their standards                               DISCUSSION—There are two formats of SI
    H1.2.2 Follow the procedures given in                           standards: solely SI, combined standard.
IEEE/ASTM SI-10, the SI Quick Reference                                 H2.4.1 Solely SI standard, n— an ASTM
Guide and Part G and Part H. If a discrepancy                       standard in which only rationalized SI units are
exists between these documents, follow Part G                       cited; inch-pound units are not provided in the
and Part H. IEEE/ASTM SI-10 appears in the                          standard.
Annual Book of ASTM Standards, and is also                              H2.4.2 combined standard, n— an ASTM
available as a separate publication.                                standard in which rationalized SI units and inch-
    H1.2.2.1 For committees that have special                       pound units are included in the same standard,
considerations with the use of SI units in ASTM                     with each system of units to be regarded sepa-
Standards, it is permissible to develop committee                   rately as standard. (For example, Speciﬁcation
speciﬁc technical guidance for clariﬁcation.                        A36/A36M).
Examples of such documents are as follows:

      ASTM Committee B05 on Copper and Copper Alloys
      Outline of Form of Speciﬁcations
                                                                    H3. Format Requirements for Standards in
      (www.astm.org/COMMIT/B05_outline.pdf)                         SI Units
      A994 Guide for Editorial Procedures and Form of
      Product Speciﬁcations for Steel, Stainless Steel, and              H3.1 For a standard citing SI units of
      Related Alloys                                                measurement as the standard units of measure-
                                                                    ment, select the type of SI standard to be written
H2. Terminology                                                     and follow the appropriate format requirement
    H2.1 SI unit, n, in ASTM standards— unit of                     listed below:
the International System of Units (SI) and other                         H3.1.1 Solely SI Standards:
units speciﬁcally approved in IEEE/ASTM SI-10                            H3.1.1.1 Scope— Include the following in
as a unit for use with SI.                                          the scope as a numbered paragraph:
    H2.2 inch-pound unit, n, in ASTM stan-
dards— unit based on the inch and the pound,
                                                                       1.X Units—The values stated in SI units are to be regarded
commonly used in the United States of America                       as standard. No other units of measurement are included in
and deﬁned by the National Institute of Standards                   this standard.

                                                              H-1
                                                          JA261
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    H3.1.1.2 Units— Within the text, show only                        1.X Units—The values stated in inch-pound units are to be
rationalized SI units.                                             regarded as standard. The values given in parentheses are
                                                                   mathematical conversions to SI units that are provided for
    H3.1.2 Combined Standards:                                     information only and are not considered standard.
    H3.1.2.1 Scope— Include the following in
the scope as a numbered paragraph:                                     H4.2 Units— Within the text, inch-pound
                                                                   units shall appear ﬁrst followed by non-
   1.X Units—The values stated in either SI units or inch-         rationalized SI units in parentheses.
pound units are to be regarded separately as standard. The
values stated in each system may not be exact equivalents;
therefore, each system shall be used independently of the          H5. Special Format Considerations
other. Combining values from the two systems may result in              H5.1 Repetitive Equivalents— For standards
non-conformance with the standard.
                                                                   in which inch-pound units are regarded as stan-
    H3.1.2.2 Units— Within the text, it is rec-                    dard, insert a speciﬁc repetitive SI equivalent
ommended that SI units appear ﬁrst followed by                     only the ﬁrst time in occurs in each paragraph of
the inch-pound units in brackets. However, a                       a standard.
technical committee can opt to reverse the order                        H5.2 Expressing General Units— When a
in which the units appear (i.e., inch-pound units                  standard speciﬁes units for reporting results, the
shown ﬁrst, followed by SI units in brackets) if                   preferred unit in each system should be stated,
the following additional conditions are met: all                   especially in the case of compound units. For
units appear in a consistent order throughout the                  example, “Report twist of yarn in twists per inch
text of the standard; all combined standards under                 (twists per metre)”; not “... in twists per inch
the technical committee’s jurisdiction apply the                   (25.4 mm).”
same convention.                                                        H5.3 Using Percentages for Tolerance Lim-
    H3.1.2.3 Specifying Selected Units in Com-                     its— When appropriate, eliminate the need for
bined Standard— When citing a combined stan-                       equivalents in the case of tolerances by express-
dard and applying only one system of units,                        ing the limits in percentages.
indicate the system of units to be applied (see                         H5.4 Sieve Sizing— When a standard cites
B9.4).                                                             sieve sizes, use the standard sieve sizes given in
                                                                   Table 1 of ASTM Speciﬁcation E11, Wire Cloth
                                                                   and Sieves for Testing Purposes.
                                                                        H5.5 Where it has been long-standing prac-
H4. Format Requirements for Standards in                           tice to use SI units alone (such as stating tempera-
Inch-Pound Units                                                   tures only in degrees Celsius), equivalents may
    H4.1 For a standard citing inch-pound units                    be omitted.
of measurement as the standard units of measure-
ment, follow the format requirement below:                         H6. Tables
    H4.1.1 Scope— Include the following in the                         H6.1 For instructions on including SI units
scope as a numbered paragraph:                                     in tables, see Section G27.




                                                             H-2
                                                         JA262
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                                 ANNEX A

                     SI QUICK REFERENCE GUIDE




                                   Annex A-1
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      SI QUICK REFERENCE GUIDE:
           International System of Units (SI)
            The Modern Metric System•


            UNITS

           The lnternaticnal System of Units (SI) is based on seven base un~s:


                                                                                 Base Units

           Quantity                              NtJm&

           lengih                                metre                                 m
           mass                                  l<.ilogram                             kg
           time                                  seoond                                 s
           electric OJrrent                      ampere                                 A
           thermodynamic temperature             kelvin                                K
           amount of substarce                   mole                                   mol
           lumir1oos intensity                   candela                                cd


           and a m.111ber of OOrived units which are combinations ot base un'ts and which may have special names a.nd symbols:

                                                                       Examples of Derived Units

           Ousnlity                              Expression                             Nsme                                 Symbol

           acceleration
            angular                              rad's2
            linear                               mis•
           aoola
            plane                                dimensi:>nless                         radian                               rad
            $Olid                                dimon-Gio-nto,,                        s-tor~d~n                            •r
           a,ea                                  m•
           Cel~us temperature                    K                                      degree Celsius                      ·c
           denstty
            heat Hux                             W/m2
            mass                                 kwm•
                                                   2
            current                              A/m
           ooo,gy, onthalpy
            wO<I<, heal                          N,m                                    joule
             specmc                              J/kg
           en!ropy
             heat capaciiy                       JIK
             specific                            J/(kg,K)
           flow, mass                            k~
           flow, volume                          m3te
           force                                 kg<n/s2                                newton                               N
           frequency
            periodic                             1/s                                    hertz                                Hz
            rotating                             rev/s
           Inductance                            V>/b/A                                 henry                                H
           magnetic flux                         v .•                                   W'CbC f                              Wb
           ~$$flow                               klY$
           moment of a iorce                     N,m
           po1enua1, eiearic                     W/A                                    VOii                                 V
           power. rac:hant flux                  J/s                                    watt                                 w
           pressure, stress                      Nim"                                   pascal                               Pa
           resiManoe. etectric                   V/A                                    ohm                                 {!
           thermal conductivity                  W/(m·KI
           velocity
            angular                              rad's
            linear                               mis
           viscosity
            dynamic (absolute) (µI               Pa,s
            kinematic (v)                        m21s
           volume                                m~
           volume, epe cific                     m3i'kg

           " For compete /ntormaton see IEEEIASTM S/·10.




                                                                          JA~xA-2
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       SYMBOLS


       Symbol                           Narr'e                        Ouan~ty                                   Formula
       A                                ampere                        etectric current                          base uriit
       Bq                               becquerel                     activity (of a raoo nuclide)              1/s
       C                                coulomb                       ef,a.ctric chruga                         A-s
       'C                               degree Celsius                temperature interval                      ' C= K
       cd                               candela                       luminous lrtensty                         base unit
       F                                farad                         e~ec,tric capacitance                     CN
       Gy                               gray                          absorbed dose                             J/kg
       g                                gram                          mass                                      kg/1000
       H                                henry                         iriductance                               Wb/A
       Hz                               hert.i                        h'eqvenoy                                 1/s
       ha                               hectare'                      aiea                                      10000 m•
       J                                IOUl8                         energy, wolk, neat                        N -m
       K                                ketvin                        temperature                               base unit
       kg                               kilogram                      mass                                      base unit
       L                                litre                         vofum~                                    m•11000
       Im                               lumen                         luminous Hux                              c~·sr
       Ix                               lux                           ilh.nnin:tnce                             hnAn2
       m                                metre                         length                                    base unit
       mo1                              mole                          amount ot substance                       oase unit
       N                                newton                        force                                     kg-mls2
       n                                ohm                           e'.ectric resistance                      VIA
       p~                               p~~,                          pt<!ssure, streS-t:                       N lrri'
       rad                              radian                        plane angle                               mlm (dimensionless)
       s                                tiemens                       erectric corductance                      IV\/
       Sv                               slevet1                       dose equivalent                           J/kg
       s                                second                        time                                      base unit
       sr                               steradian                     solid angle                               m'lm2 (dimensiooless)
       T                                testa                         magnetic fl-ux density                    Wb/m2
       t                                tonne, metric too             mass                                      1000 kg: Mg
       V                                volt                          electric potenttal                        W/A
       w                                wall                          power, radiant flux                       J/s
       Wb                               weber                         magnetic ftux                             V-s
                                        • allowed with SI


       Use of Symbols                                                   Examples: 115 W, not 11.5W; 0.75 L, 11()/ 0.7.5L
                                                                                  88 °C, not 88•c or 88° C
       The correct use of symbols is important because an inco1TecL
     symbol may change the meaning of a quanti ty. Some SI              Exception: No space is left between the numerical value aml
     sy mbols are listed in the Symbol table.                         symbol for degree of p lane angle.
       ST has no abbreviation,5-only symbols. Therefore. no peri-
     ods follow a symbol except at tile end of a sentence.              Examples: 73•. n.at 73 °

       Examples: A, 1101 amp; s not sec; SJ, not S.L                    Note: Symbol for coulomb is C; for degree Celsius it is °C

       Symbols appear in lower case unless the uuit name has been       Do not mix symbols and names in the same expression.
     taken from a proper name. Jo this case the first letter of the
     symbol is capital ized.                                            Exarup/c:s: radians per second or rad/s,
                                                                                      1101 radians/second: nor radi ans/s
       Extunples: m, 1netre; Pa, pascal; W, watt                                    mis or metres per second ,
                                                                                               not metres/second: 1101 metres/s
       Exception: L, litre                                                                  J/kg or j oules per ki logram,
                                                                                               1101 joules/kilogram: not j oules/kg
       Symbols imd prefixes are printed in upright (roman) type
     regardless of the type style in surrounding text.                  Symbol for product-use the raised dot O

       Example: . .. a dis1ance of 73 km between .. .                   Examples: N-m; mPa-s; W/(m2 ·K)

       U nit symbols are the same whether singular or plural.           Symbol for quotient- use one of the following forms:

       Examples: 1 mm. LOO mm; I kg, 65 kg                              Examples: mis or "V.: or use the negative exponent

       Leave a space between the ,-al ue and the symbol.                Note: Use only o~e solidus (I) per expression and parenthe-
                                                                      ses to avoid any ambiguity.




                                                                JA~xA-3
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       PREFIXES                                                                         MJ/kg 1101 kJ/g

       Most prefixes indicate orders of magnitude in steps or IOOO         Compound prefixes formed by a combination of two or
     and provide a convenient way to express large and small              more preli.xes are not used. Use only one prefi>(.
     numbers and to eliminate nonsign ificanr digits and leading
     zeroes in tk<.:irnal fractions.                                        Examples: 2 nm 1101 2 mµm ;
                                                                                      6 m 3no1 6 kL;
       Examples: 64 000 watts is the same as 64 kilowatts*                              6 111Pa no, 6 kkPA
                 0.057 metre is the same as 57 millimetres
                 J 6 000 metres is the same as 16 kilorneu-es•              Exponential Powers. An exponent attached to a symbol
             *except for intended uccurncy                                containing a prefix ind icates that the multiple (of 1he unit with
                                                                          it~ prefix) is raised to the power of lO expressed by the
              Prefix             Symbd                 Represents         exponem.
              yotta             y                      10'"
              zetta              z                     10''                 Examples: I nun 3 = (IO-' m)3 = 10-9 m3
              exa
              pota
                                E
                                p
                                                       1018
                                                       101s
                                                                                         I ns· ' = (10-9   sr'
                                                                                                             = 1()9 f 1
                                T                      101i                                                          o·
                                                                                         I. mni21s = (I 0-3 m)2/s = 1 6 m 2/s
              '""'
              giga              G                      H>"
              mega              M                      10"                  NUMBERS
              kilo              k                      1o'
              hecto             h.                     10"
              deka              da·                    101                   International prnctice separates the digits of large numbers
              deci              d.                     10·1
              centi             c•                     10·2               into groups of three. counti ng from the decimal to the left and
              milll              m                     HY3                to the right, an.d inserts a space 10 separate the groups. In
              micro              µ                     10-•               numbers of four digiLs. the space is not necessary except for the
              nano              n                      10""
              pico              p                      10· 17.            unifonn ity in tables.
              femto             f                      10· 15
              atto              a                      10·~6
                                                       10·21
                                                                            Examples: 6.358 568; 85 365; SJ 845 953; 88 000;
              zopto
              yocio             y                      10-2•                          0.246 113 562; 7 258
                                 • auoweo
                                wih SI                                     Small Numbers. \Vhen writing a number between o ne and
                                                                          minus one, pu1 a zero before the decimal mark.er.
       To realize the full benefit of the prefixes when expressing a
    quantity by numerical value, choose a prefix so thai the number         Note: This applies to large numbers which have an exponent:
    lies between 0.1 and lOOO. For simplicity, give preference to         as -0 .1 x 10"6. This rule is g iven colloquially as ''never usc a
     prefixes representing JOOO raised to an integral power (i .e.,       naked decimal point."
     mm. µm . km).
                                                                            Decimal Marker. The recommended decimal marker is a
       *E.tceptions: 1n expressi ng are<1 and volume, the prefixes        dot on the line (period). (In some wuntries, a wmma is used
                     hecto, deka, deci, and oenti may be 1-eqllired;      as the decimal marker.)
                     for example. cubic deci metre (L). square
                     hectometre (hectare), cubic centimetre.                Because billion means a mi lJ ion million in most countrie~
                                                                          but a 1housand million in the United Stales, avoid using billjon
       Tables of values of the same quamily.                              in technical writing.

       Comparison of values.                                                DO'S AND DON'TS

      For certain quantities in pa rtic ular applications. For              The units in the international sysrem of units are called SI
    examp le, the millimetre is used for linear dimensions in             units-not Metric Units and 1101 SI Metric Units.
     architectural and engineering drawings even when the value.,
     lie far outside t.he range of 0. 1 mm to I 000 mm; t.he centimetre    Non-SJ units include inch- pound units, old metric units and
     is usuall y used for anatomi cal measurements and clothing           many other unit~. Inch=pound unit~ (lP) refers to sets of units
     sizes.                                                               which contain inches and pounds. These include so-called
                                                                          customary units, US customary units, conventional un its,
      Compound Units. A compound un it ts a derived unit                  imperial units. and English units.
    expressed with two or more units. The prefix is attached to a
    unit in the numerator.                                                  Treat all spe.lled out names a5 nouns. Therefore, do not
                                                                          capit:ilize the first letter of :i unit except ut the beginning of a
       Examples: V/rn 1101 mV/mm                                          sentence or in capitalized material such as a title.




                                                                    JA~xA-4
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                                                                                                   Example: kiloampere
        Examples: watt; pascal; ampere; volt; newton; ke lvin                                      Exceptions: hectare; ki lohm; megobm
        Exception: Always capitalize the first letter of Celsius.
                                                                                                    When a derived unit name is formed by multiplication, leave
       Do not begin a sentence with a unit symbol--eitber rear-                                  a space between units that are mu ltiplied.
     range the unil names or write the unit name in foll
                                                                                                   Examples: newton metre. 1101 newton-metre;
        Use plurals for spelled out unit names when req uired by the                                         volt ampere, not volt-ampere
     rules of grammar.
                                                                                                   Use Lhe modrner squared or c ubed afler the w1it name.
        Exmnples: metre-metres; henry-be nries;
                      kilogram-kilograms; kelvin- kelvins                                          Example: metre per second squared
        Irregular: hertz-hertz: lux- lux; siemens-siemens                                          Exception: For area or volume the modifier may be
                                                                                                               placed before the units.
       Do not put a space or hyphen between the p refix and uni.t                                  Example: sq uare mi llimetre; cubic metre
     name.
                                                                                                   When derived units are formed by division, use the word
        Examples: ki lometre 1101 kilo metre or kilo-metre;                                      per, not a solidus (/).
                      milliwatt not mi.lli watt or milli-watt
                                                                                                   Examples: metre per second. not metre/second: wall
       Whe n a prefix ends wi th a vowel and the unit name begins                                            per square metre. not watt/square meter
     with a vowel , retain and pronounce both vowels .



                                                              SELECTED CONVERSION FACTORS

     CAUTION: These conversion values are rounded to three or four significant fiQ.Jres, which is sufficiently accurate for mosl applications. When making conversioos.
     remember that a converted val.le is no more precise than the onginal value. Round off !he linal value lo the same number ot signilicant figures as those ir, lhe
     original value. See ANSI SI 10 for additional conversions 'Nith more significant figures.


                     Multiply                                                              By                                            ToObteln
                     acre                                                                  0.4047                                        ha
                     a tmosphef8, atandard                                                 · 101.325                                     kPa
                     bar                                                                   ·1 00                                         kPa
                     barrEI (42 US gal. petroleum)                                         159                                           L
                     Btu, (lnternallmat Table)                                             1.055                                         kJ
                     Btul lb,•F (specific heat, CP)                                        4.184                                         kJl(kg,K)
                     bushel                                                                0.03524                                       m3
                     calorie, kibgram (kilocalorie)                                        4.187                                         kJ
                     candle, candlepower                                                   ·1 .0                                        od
                     centipoise, dynamic viscosity, µ                                      ' 1.00                                        mPa·s
                     centistok.es, kioemauc viscoS:ty, v                                   ·1.00                                         mmi>ts
                     It                                                                    '0.3048                                       m
                     It                                                                    '304.8                                        mm
                     ltlmin. fpm                                                           '0 .00508                                     mis
                     Ills, "s                                                              ·o.3048                                       mis
                     ft ot water                                                           2.99                                          kl'a
                     If'                                                                   0.09290                                       m•
                     112 ,s. 1<inemaoc vlsoosity, v                                        92 900                                        mm2 /s
                     tt•                                                                   28.32                                         L
                     tt•                                                                   0.02832                                       m•
                     tt3/h,cth                                                             7.866                                         mus
                     fr'lmin, cfm                                                          0.4719                                        Us
                     lt3/s, cfs                                                            28.32                                         L/s
                     lootcandle                                                            10.76                                         Ix
                     lt·lb, (torque or moment)                                             1.36                                          N·m
                     lt-lb1 (wor.1<)                                                       1.36                                         J
                     lt·lbiib (specific energy)                                            2.99                                         J/Kg
                     ft,lb/min (power}                                                     0.0226                                        w
                     gallon, US (·231 ln3 )                                                3.785                                         L
                     gph                                                                   1.05                                          01Us
                     gpm                                                                   0.0631                                        Us
                     9prn111.ll/                                                           0.6791                                        U(S•lll.ll/)
                     gr/gal                                                                17.1                                         gim•
                     horsepower (550 ft·lb/ s)                                             0.746                                        kW
                     Inch                                                                  "25.4                                         mm
                     rr of merQJry (so·F)                                                  3.377                                         kPa
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                      Muffiply                                                                 By                                                  To Obtain
                      in of water (60' F)                                                      248.8                                               Pa
                      in ,fb, (torQ.Je or mornenU                                              113                                                 mN·m
                      in~                                                                      645                                                 mm2
                      in 3 (\IOlu me)                                                          16.4                                                ml
                      in 3 (section modulus)                                                   16 400                                              mm3
                      In" (sec1lon moment)                                                     416 200                                             mm'
                      km/h                                                                     0.278                                               mis
                      kWh                                                                      '3.60                                               MJ
                      kip/in2 (ksi)                                                            6.89,                                               MPa
                      litre                                                                    '0.001                                              m•
                      micron (µ m) of mercury (60!1~                                           133                                                 mPo
                      mll (0.001 in.)                                                          '25.4                                               mm
                      mile                                                                     1.61                                                km
                      mile, nautical                                                           1.85                                                km
                      mph                                                                      1.6 1                                               km'h
                      mph                                                                      0.447                                               mis
                      millibar                                                                 '0.1 00                                             kPa
                      mm of moccury (60'F)                                                     0.133                                               kPa
                      mm of water (60'F)                                                       9.80                                                Pa
                      ounce (mass. avQirdupO'S)                                                28.35                                               g
                      ounce (foice of thrust)                                                  0.278                                               N
                      ounce (liquid, US)                                                       29.6                                                ml
                      ounce (avoirdupois) per gallon                                           7.49                                                kQlm'
                      pint (liquid, US)                                                        473                                                 ml
                      pou nd
                        lb..,(mass)                                                            0.4536                                              kg
                        lbm(mass)                                                              453.6                                               9
                        lb1 Qorce or thrust!                                                   4.45                                                N
                        lb..,lft (uniform load)                                                1.49                                                ~
                        lb. ,l(ft-h) (dynamic viscosity. 11)                                   0.41 3                                              mPa.s
                        lb,,,1\ft·S) (dynamic viscosity, µ)                                    1490                                                mPa·s
                        l!Ji·~2 (dynamic viacoaity, ..)                                        47 8BO                                              mPa·s
                       tb.,lmin                                                                0.00756                                             kg,'s
                       lt>o,'h                                                                 0. 126                                              gls
                       lb,tlf'                                                                 47.9                                                Pa
                       lb..,At2                                                                4.88                                                kg,m2
                       lb..,nt3 (densil)I. o)                                                  16.0                                                kg,m3
                       lb.,lgallon                                                             120                                                 kg,m•
                      ppm (by maool                                                            ·1.00                                               m9'kg
                      psi                                                                      6.895                                               kPa
                      quao (10" Btu)                                                           1.06                                                EJ
                      qua~ (liquid, US)                                                        0.946                                               l
                      rpm                                                                      0.105                                               rad/s
                      tables.pooo {apptox.)                                                    15                                                  ml
                      teaspoon (approx,)                                                       5                                                   ml
                      them, (100,000 Btu)                                                      105.6                                               MJ
                      ton, shM (20CO lb)                                                       0.907                                               Mg; t (tonne)
                      yd                                                                       ·o.9144                                             m
                      I'd'                                                                     0.836                                               m•
                      yd3                                                                      0.7646                                              m>

     ~ Con vetSion factor is e:tact.


     Note: In thJs list the kelvin (K) e,cpresses terrperature intervals.   n,e degn~e Celsius syll'bot (C) may be used for this pu1pose as well




                                                                                       JA ~             xA-6
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                                        Summary of Changes

The following changes were made since the            The following changes were made since the
March 2014 edition and published in this edition.    October 2010 edition and published in this edi-
(1) Revised Sections G3.6, G24.1, and H1.2.2 to      tion.
    reference IEEE SI 10, the SI Quick Refer-        (1) Clariﬁed language in Section F1.
    ence Guide, and Part G and Part H. The           (2) Revised Ordering Information, B9.3, to
    ASTM Form and Style is the default docu-             focus on the importance of referenced docu-
    ment for formatting so that the spelling of          ments within a speciﬁcation, and to encour-
    litre and metre can be maintained.                   age the use of year dates.
(2) Revised G14.1 and G18.3.3 to reﬂect using        (3) Editorially changed A27.4 and A29.4 to
    space rather than hyphen for compound                correct a reference in the Regulations Gov-
    adjectives using SI units.                           erning ASTM Technical Committees.
(3) Added the SI Quick Reference Guide to the        (4) Editorially updated the title of IEEE/ASTM
    Form and Style Manual as Annex A.                    SI-10 in G3.6.
(4) General revisions were made to reﬂect cur-
    rent practices.                                  The following changes were made since the
                                                     March 2010 edition and published in this edition.
The following changes were made since the            (1) Editorially removed reference to ANSI
October 2013 edition and published in this edi-          Y10.3M in A19.1 since it was withdrawn
tion.                                                    without replacement.
(1) Added F2.6, Mercury Caveat.                      (2) Revised D4 with the addition of D4.1.2 to
                                                         modify language on the current editorial
The following changes were made since the                practice for Supplementary Requirements.
March 2013 edition and published in this edition.    (3) Editorially changed E3.3.3 to update the
(1) Revised Section F1 on Commercial-                    referenced title to ASTM Online Dictionary
    Contractual Items in Standards.                      of Engineering Science and Technology.
(2) Editorially revised Section G12 on Creating      (4) Revised F4.1 to include ASTM Certiﬁcation
    and Submitting Figures for Ballot                    Programs.

The following changes were made since the            The following changes were made since the
October 2012 edition and published in this edi-      September 2009 edition and published in this
tion.                                                edition.
(1) Editorially revised B22.1 on Product Mark-       (1) Added “kerosene” as an acceptable spelling
    ing.                                                  in G25.1.

The following changes were made since the            The following changes were made since the
March 2012 edition and published in this edition.    March 2009 edition and published in this edition.
(1) Revised Section A21 on Precision and Bias.       (1) Revisions of A27.1 and B29.1 for better
                                                         clarity.
The following changes were made since the            (2) Replaced G12 with a new procedure for
October 2011 edition and published in this edi-          creating and submitting ﬁgures for ballot.
tion.                                                (3) Editorial changes were made to C2, C16,
(1) Clariﬁed use of the term “dictionary” to             A26.4, and B28.4.
    mean print or electronic reference materials
    in A7.1.1, E2.1, E3.3.1, E5.9, G10.1,            The following changes were made since the
    G15.1.5, and G25.1.                              March 2008 edition and published in this edition.
(2) Editorially updated ASTM standards refer-        (1) Insertion of new sections F2.2.2.5 and
    ences in A17.1, A19.2, and the table in G3.6        F2.2.2.6 dealing with Fire Standards Safety
    (Vickers Hardness number)                           Caveats.

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The following changes were made since the                 were revised to make clearer the instructions
October 2007 edition and published in this edi-           on how the research report is to be referenced
tion.                                                     in a standard.
(1) Revisions were made to Part G dealing with        (3) Revision to F2.4, Working Document
    Styling, Electronic Manuscript Preparation,           Caveat, in order to remain consistent with
    Abbreviations, Figures, Mathematical Mate-            ASTM policy.
    rial, and Thermometers.                           (4) Revisions were made to Sections F4 and
                                                          F4.2 dealing with Use of Trademarks.
The following changes were made since the
October 2006 edition and published in this edi-       The following changes were made since the
tion.                                                 March 2005 edition and published in this edition.
(1) Removal of the ‘separated by a space’             (1) Revision to Working Draft Caveat, F2.4, in
    requirement in standard designation numbers           order to remain consistent with ASTM
    found in A3.1.2 and B4.1.2.                           policy.
(2) Insertion of new section G16.6.1 and an           (2) Section G25.1, added (measurement, instru-
    example for clarifying how to place a multi-          ment) to “gauge” and deleted spelling
    plication symbol in an equation.                      “gage.”
(3) Revision of G27.7 for better clarity.
(4) Revision of H1.2.1 for better clarity, as well    The following changes were made since the
    as to include aDiscussionon the use of SI         September 2004 edition and published in this
    units in standards.                               edition.
(5) Reversal of the order of appearance of            (1) Section A18.3 was deleted. Including this
    Sections H3 and H4.                                    section was redundant and could lead to
                                                           confusion.
The following changes were made since the             (2) New Section H1.2.2.1 was added pertaining
March 2006 edition and published in this edition.          to rounding of SI Units.
(1) Insertion of a new section F4.1 to clarify
    ASTM’s policy on certiﬁcation and accredi-        The following changes were made since the April
    tation.                                           2004 edition and published in this edition.
(2) Reversal of the order of appearance of            (1) New Section A21.4.5 pertaining to precision
    theTrademarkssection with theSources of               and bias was added.
    Supplysection for a more logical ﬂow.             (2) A revision was made in B1.2 for clariﬁca-
(3) Removal of the wordreferencewhere used as             tion.
    an adjective in the termreference materialsto
    expand this section to cover all materials –      The following changes were made since the
    not justreference materials.                      September 2003 edition and published in this
(4) Insertion of new language as F4.2.2 to make       edition.
    trademark      language    consistent   with      (1) Revisions to A1.4 clarify how to identify
    Regulations Governing ASTM Technical                   different test methods within a standard.
    Committees and Board Policy.                      (2) New Section A22 on Measurement Uncer-
                                                           tainty was added.
The following changes were made since the             (3) Revision to F1 was made and new Section
October 2005 edition and published in this edi-            F1.4 was added concerning effective dates.
tion.                                                 (4) Revisions were made to F3.1, F3.1.1, and
(1) Revisions were made to A21.4.1, A21.4.2,               F3.1.2 dealing with patents.
    and A21.5.4 to clarify the intent of the
    language.                                         The following changes were made since the
(2) Sections A29 and B31 on Research Reports          March 2003 edition and published in this edition.

                                               Changes-2
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(1) The following sentence was added in B25.1.       The following changes were made since the
    “These should not include statements that        March 2001 edition and published in the October
    would allow the lowering of minimum              2001 edition.
    requirements of the standard (seeB1.2).”         (1) Deletion of A3.1.3 and A5.4 regarding com-
(2) Megagram (Mg) was added to G3.6.                     panion standards. The same changes were
                                                         made to B4.1.3 and B4.4.1
The following changes were made since the            (2) Mandatory for Standards Producing Numeri-
September 2002 edition and published in this             cal Results was added to the heading of
March 2003 edition.                                      Section A29 on Research Reports.
(1) New deﬁnitions for “publication date” and        (3) New section F2.2.2.4 dealing with a ﬁre risk
    “approval date” were added to p. viii on             assessment statement.
    Deﬁnitions                                       (4) Deletion of G24.2 dealing with companion
(2) Sections A31.3, B34.3, and C31.3 on Sum-             standards.
    mary of Change Sections were revised to
    permit standards that have undergone mul-        The following changes were made since the
    tiple revisions in a short period of time to     February 2000 edition and are published in the
    retain changes for 18 months.                    March 2001 edition.
(3) The statement in A21.5.3 was revised to          (1) Revisions to Section B21 on Certiﬁcation.
    correct ambiguity in the requirement for pre-
    cision and bias.                                 The following changes were made since the
                                                     December 1998 edition and are published in the
The following changes were made editorially          February 2000 edition.
since the March 2002 edition and are published in    (1) Revision to Section A13 to revised A13.1.1
the September 2002 edition.                              on Warning Statement, delete A13.1.2 on
(1) Replaced the verbiage “year of issue” and            Precautionary Statement, and delete A13.2 on
    “date of issue” with “year date” throughout.         Technical Hazards. Revise F2.1.2 and F2.1.3
(2) Standardized the terms “purchase order or            to eliminate wording dealing with precau-
    contract” in Part B.                                 tionary statements.
(3) An additional sentence was included in F3.1
    regarding the ANSI patent policy.                The following changes were made since the
                                                     January 1996 edition and published in the
The sections shown below have been editorially       December 1998 edition.
changed since the October 2001 edition and are       (1) Revision to Part H dealing with the use of SI
published in the March 2002 edition.                     units in ASTM standards. Revision to G38.
(1) Section G2 on Electronic Manuscript Prepa-           These were the results from Circular Letter
    rations was replaced.                                #713.
(2) Additional sentences were included in the        (2) Added new F2.5 Professional Judgment
    suggested statement in B21.2.                        Caveat.




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                    EXHIBIT 6




                                    JA277
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                                                                                                                                                     An American National Standard




                    Standard Test Method for
                    Distillation of Petroleum Products at Atmospheric Pressure1
                    This staodard is issued under the fised designation D 86; the oumbcr immediately following the designation indicates the year of original
                    adoption or. in the case of revision. the year of J,1st revision. A number in parend1eses indicates die year of last reapproval. A superscript
                    epsilon ( ~) iodicafes an editorial change since the last revision or re approval.
                    11,;,\~.standard lu,s been ap11row:'d for wi'e by agencies of the Dept111me111 of Defense.



1. Scope*                                                                                           D 97 Test Method for Pour Point of Petroleum Products
   1.1 This test method covers lhe atmospheric distillation of                                      D 323 Test Method for Vapor Pressure of Petroleum Prod-
petroleum produces using a laboratory batch distillation unit to                                      ucts (Reid Method)
detennine quantitatively the boiling range characteristics of                                       D 2892 Test Method for Distillation of Crude Petroleum
such produces as light and middle distillates, automotive                                             (15-Theoretical Plate Column)
spark-ignition engine fuels, aviation gasolines, aviation turbine                                   D 4057 Practice for Manual Sampling of Petroleum and
fuels, 1-D a nd 2-D regu lar and low sulfur diesel fuels, special                                     Petroleum Products
petroleum spirits, naphthas. white spirits, kerosines, and                                          D 4177 Practice for Amomatic Sampling of Petroleum and
Grades 1 and 2 burner fuels.                                                                          Petroleum Products
   1.2 The test method is designed for the analysis of distillate                                   D 4953 Test Me thod for Vapor Pressure of Gasoline and
fuels; it is not applicable to products containing appreciable                                        Gasoline-Oxygenate Blends (Dry Method)
quantities of residual material.                                                                    D 5190 Test Method for Vapor Pressure of Petroleum Prod-
   1.3 This test method covers both manual and automated                                              ucts (Automatic Method)
instruments.                                                                                        D 519 1 Test Method for Vapor Pressure of Petroleum Prod-
   1.4 Unless otherwise noted, the values stated in SI units are                                      uces (Mini Method)
to be regarded as the standard. The values given in parentheses                                     D 5842 Practice for Sampling and Handling of Fuels for
are provided for infonnation only.                                                                    Volatility Measurement
   L.5 This standtml does not pw71ort to address all rf the                                         D 5949 Test Method for Pour Point of Petroleum Products
safety concerns, il any, associated with its use. It is the                                           (Automatic Pressure Pulsing Method)
responsibiliry <d' 1he user <~f' this standard to establish appm-                                   D 5950 Test Method for Pour Point of Petroleum Products
priate safety and health practices and detennine the applica-                                         (Amomatic Tilt Method)
        <~r
bility regulatory limitations prior to use.                                                         D 5985 Test Method for Pour Point of Petroleum Products
                                                                                                      (Rotational Method)
2. Rderenced Documents                                                                              E l Specification for ASTM Liquid-in-Glass Thermometers
  2. 1 All standards are subject to revmon, and parties to                                          E 77 Test Method for Inspection and Verification of Ther-
agreement on this test method are to apply the most recent                                            mometers
edition of the standards indicated below, unless otherwise                                          E 1272 Specification for Laboratory Glass Graduated Cyl-
specified, such as in contracmal agreemems or regulatory rules                                        inders
where earlier versions of the method(s) identi fied may be                                          E 1405 Specification for Laboratory Glass Distillation
required.                                                                                             Flasks
  2.2 ASTM Standards: 2                                                                             2.3 Energy Institute Standards:3
                                                                                                    IP 69 Determination of Vapour Pressure-Reid Method
                                                                                                    IP 123 Petroleum Products-Determination of Distillation
   ' This 1est method is under the j urisdic1ion of ASTM Commiuee D02 oo                               Characteristics
Petroleum Products and Lubricants and is the direct responsibility of Subcommiuee                   IP 394 Determination of Air Samrated Vapour Pressure
D02.0~.0A oo Distillation.
   In the IP. 01e equiv.llenl test method is published under the designation IP 123.                IP Standard Me thods for Analysis and Testing of Petroleum
It is under the j urisdiction of the Standardizat-ion Committee.                                       and Related Products 1996-Appendix A
   Current edition app.-oved Jan. 15, 2007. Published February 2007. Originally
approved iu 1921. Last previous edifiCll approved io 2005 as D R6- 05.
   ' For rcfereoced ASTM standa.rds. visil the ASTM websile, www.astm.org. or
contact ASTM Customer Service al service@;istm.org. For Amuw/ Bnok of ASTM
S1a11dairL, volume informaLion, refer to 1he standm'd's Documelll Summary page 0t1                ' Available from Energy lnstilute, 61 New Ca vendish St.. London, WIG 7AR.
the ASTM website.                                                                               U.K.. http:/lwww.energyinst.org.llk.




                                                  *A Summary o f Changes section appears at the end of this standard.
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                                                                                           JA278                                                                     ASTM001188
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                                                           ,0 D86-07
                                                 TABLE 1 Preparation of Apparatus
                                                    Group 1                 Group 2               Group 3                 Group 4
       Flask, mL                                     125                      125                    125                   125
       ASTM distillation thermometer                7C(7F)                  7G (7F)                7G (7F)                SC (SF)
       IP distillation thermometer range             low                      low                    low                   high
       Flask suppor1 board                            B                        B                      C                     C
         diameter of hole. mm                         38                      38                      50                    50
       Temperature at star1 of test
         Flask                      ·c               13-18                   13-18                  13-18                not above
                                     •F              55~5                    55-il5                 55- 65                ambient
         Flask support and shield                  not above               not above              not above
                                                    ambient                 ambient                ambient
          Receiving cylinder and 100 ml
          charge
                                    ·c              13- 18                   13-18                 13- 18"              13-arnbient"
                                    'F              55- 65                   55--65                55--65..             55-ambientA
 A Se e 10.3 .1.1 for exceptions.




3. Terminology                                                             3.l.7 end point (EP) or.final boiling point (FBP), 11-the
   3.1 Definitions:                                                     maximum corrected thermometer reading obtained during the
   3. 1. l charge volume, n-the volume of the specimen, 100             test.
mL, charged co the distillation flask at the temperature speci-            3.1.7.1 Discussion-This usuaJly occurs after the evapora-
fied in Table l.                                                        tion of all liquid from the bottom of the flask. The term
   3. 1.2 deco111positio11, u--of a hydrocarbon, the pyrolysis or       maximum temperature is a frequently used synonym.
cracking of a molecule yielding smaller molecules with lower               3. l .8 front end loss, 11-loss due to evaporation during
boiling points than the original molecule.                              transfer from receiving cylinder to distillation flask, vapor Joss
   3.1.2. l Discussion-Characteristic iudicatious of thermal            during the discillacion, and uncondensed vapor in the flask al
decompositio n are evolution of fumes and erratic temperature           the end of the distillation.
readings that usually decrease after any anempt is made to                 3.1.9 initial boiling point (IBP), 11- the corrected thermom-
adj ust the heat.                                                       eter reading that is observed at the instant the first drop of
   3. 1.3 decomposition point, n- the corrected thermometer             condensate falls from the lower end of the condenser tube.
reading that coincides with the first indications of them1al               3.1. l O percent evaporated, 11-the sum of the percent re-
decomposition of the liquid in the flask.                               covered and the percent loss.
   3.1.3. l Discussion- The decomposition point, as deter-                 3 . l.ll percent loss (or observed loss), n-one hundred
mined under the conditions of this test method, does not                minus the percent total recovery.
necessarily correspond to the decomposition temperanire in                 3.1. l l. l corrected loss, n- percent loss corrected for baro-
other applications.                                                     metric pressure.
   3. 1.4 dry point, n-the corrected thermometer reading that              3. 1.l 2 perce11t recovered, 11-the volume of condensate
is observed at the instant the lase drop of liquid (exclusive of        observed in the recei ving cylinder, expressed as a percentage of
any drops or film of liquid on the side of the flask or on the          the charge volume, associated with a simultaneous temperantre
temperature sensor), evaporales from th e lowesl point in the           read ing.
distillation flask.                                                        3.l. 13 percent recovery, n-the maximum percent recov-
   3. 1.4. l Discussion-The end point (final boiling point),            ered, as observed in accordance with 10.18.
rather than the dry point, is intended for general use. The dry            3.l.13.l corrected percent recove1y, 11-the percent recov-
point can be reported in connection with special purpose                ery, adj usted for the difference between the observed loss and
naphthas, such as those used in the paim industry. Also, it is          the corrected loss, as described in Eq 8.
substituted for the end point (final boiling point) whenever the           3.1. 13.2 percent total recovery, n-the combined percent
sample is of such a nature that the precision of the end point          recovery and residue in the flask, as determined in accordance
(final boiling point) cannot consistently meet the requirements         with 11. L
given in the precision section.                                            3.1.14 percent residue, n-the volume of residue in the
   3. 1.5 dynamic holdup, 11-the amount of material present in          flask, measured in accordance with 10.1 9, aod expressed as a
lhe neck of lhe flask, in che sidearm of the flask, and in the          percentage of the charge volume.
condenser tube during the distillation.                                    3. 1.15 rate of change (or slope), 11-the change ia tempera-
   3.1.6 emergent stem e.frect, 11- the offset in temperature           ture reading per percent evaporated or recovered, as described
reading caused by the use of total immersion mercury-in-glass           in 13.2.
thermometers in the partial immersion mode.                                3.1.l 6 temperature lag, 11- the offset between the tempera-
   3. l.6. l Discussion-In the partial immersion mode. a por-           ture reading obtained by a temperature sensing device and the
tion of the mercw·y thread, that is, the emergent po1t ion, is at       tnte temperature at that time.
a lower temperantre than the immersed portion, resulting in a              3. l .17 temperature measurement device, 11-a thermometer,
shrinkage of the mercury thread and a lower temperature                 as described in 6.3. 1, or a temperanire sensor, as described in
reading.                                                                6.3.2.

                                                                    2




                                                                    JA279                                                    ASTM001189
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   3. 1.18 temperature reading, 11-the temperature obtained by
a temperature measuring device or system that is equal to the
thermometer reading described in 3. l.19.                                                          l~   hermometer
   3. 1.18.l corrected temperature reading, n-the temperature
reading, as described in 3. l.18, corrected for barometric                                                         Bath Cove r
pressure.
   3.1.19 thermmneter reading (or thermmneter result), n- the                     Heat
temperanue of the saturated vapor measured in the neck of the              Resistant
flask below the vapor tube, as determined by the prescribed                     Boards
ther mometer under the conditions of the test.
   3.1.19 .l corrected thermometer reading, n- the thermom-
eter reading, as described in 3. l.19, corrected for barometric
pressure.                                                                       Burner

4. Summary of Test Method
   4.1 Based on its composition, vapor pressure, expected IBP
or expected EP, or combination thereof, the sample is placed in
one of four groups. Apparatus arrangement, condenser tem-
perarure, and other operational variables are defined by the
group in which the sample falls.
   4.2 A 100-mL specimen of the sample is distilled under
prescribed conditions for the group in which the sample falls.
The distillation is perfom1ed in a laboratory batch distillation
unit at ambient pressure under conditions that are designed to                      FIG. 1 Apparatus Assembly Using Gas Burner
provide approximately one theoretical plate fractionation. Sys-
tematic observations of temperature readings and volumes of
condensate are made, depending on the needs of the user of the            temperanue or at high altirude, or bod1. The presence of high
data. The volume of the residue and the losses are also                   boiling point components in these and other fuels can signifi-
recorded.                                                                 cantly affect the degree of formation of solid combustion
   4.3 At the conclusion of the distillatiou, the observed vapor          deposits.
temperanues can be corrected for barometric pressure and the                5.4 Volatility, as it affects rate of evaporation, is an impor-
data are examined for conformance to procedural require-                  tant factor in the application of many solvents, particularly
ments, such as distillation rates. The test is repeated if any
                                                                          those used in paints.
specified condition has not been met.                                       5.5 Distillation limits are often included in petroleum prod-
   4.4 Test results are commonly expressed as percent evapo-
                                                                          uct specifications, in commercial contract agreements, process
rated or percent recovered versus corresponding temperarure,              refiuery/control applications, and for compliance to regulatory
either in a table or graphically, as a plot of the distiJlation
                                                                          rnles.
curve.

5. Significance and Use                                                   6. Apparatus
   5.1 The basic test method of determining the boiling range               6.1 Basic Components qf the Apparatus:
of a petroleum product by performing a simple batch distilla-               6. l.l The basic components of the distillation unit are the
tion has been in use as long as the petroleum industry has                distillation flask, the condenser and associated cooling bath, a
existed. It is one of the oldest test methods under l:he j urisdic-       metal shield or enclosure for the distillation flask, the heat
tion of ASTM Committee D02, dating from the time when it                  source, the flask support, the temperature meas1uing device,
was still referred to as the Engler distillation. Since the test          and the receiving cylinder to collect the distillate.
method has been in use for such an extended period, a                       6.1.2 Figs. I and 2 are examples of manual distillation units.
tremendous number of historical data bases exist for estimating             6. 1.3 In addition to the basic components described in 6.1.1,
end-use sensitivity on products and processes.                            automated units also are equipped with a system to measure
   5.2 The distillation (volatility) characteristics of hydrocar-         and automatically record the temperature and the associated
bous have au important effect ou their safety aud perfom1ance,            recovered volume in the receiving cylinder.
especially in the case of fuels and solvents. The boiling range             6.2 A detailed description of the apparatus is given in Annex
gives information on the composition, the properties, and the             A1.
behavior of the fuel dcuing storage and use. Volatility is the              6.3 Temperature Measuring Device:
major determinant of the tendency of a hydrocarbon mixmre to                6.3.l Mercury-in-glass thermometers, if used, shall be tilled
produce potentially e xplosive vapors.                                    with an inert gas, graduated on the stem and e namel backed.
   5.3 The distillation characteristics are critically important          They shall conform co Specification E l or IP Standard
for both automotive and aviation gasolines, affecting starting,           Methods for Anal ysis and Testing of Petroleum and Related
warm-up, and tendency to vapor lock at high operating                     Products 1996-Appendix A, or both, for them10meters ASTM

                                                                      3



                                                                      JA280                                                   ASTM001190
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                                                                          0 086-07
                                        Top View

                              Approx. 300




                     ~, /
                         /    .......   --- ...' ',',
                   I I             c:::==::l \ \
      13mln.       '1 O                             ''
               I   •~                                       I

               '-,::, -------- ,. ,,--...
                                                        l




                             Aeprox. 200
                                          I 200°10 20s
                                                                                                                                   Length of part
                                                                                                                                   In bath
                                                                                                                               6   approx. 390




                               Front View                                                       Side View



                                            1- condense1 balh                                   11-DisliBalion flask
                                            2-Bath cover                                        12- Temperature sensor
                                            3- Bath temperature sensor                          13- Flask support board
                                            4-·Bath overflow                                    14-Flask suppor1 plat.form
                                            5-Bath drain                                        15-G round con nection
                                            6-Condenser tube                                    16-Electric heater
                                            7- Shleld                                           17- Knob for adjusting level
                                            6-Viewing window                                        of support platfom,
                                            9a-Vollage regulator                                18- Power source cord
                                            9b-Vollmeter or ammeter                             19-Receiver cylinder
                                            9c-Power swttch                                     20- Receiver cooling bath
                                            9d- Power light indicator                           2 t-Receiver cover
                                            10-vent

                                                            FIG. 2 Apparatus Assembly Using Electric H eater




                                                                                   4




                                                                                  JA281                                                             ASTM001191
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                                                                 ,0 D86-07
                                                                                            Drilled out to fit
                                  Knurted knob                                                 Pt 100 Probe


                                                                                 Compression Nut
                                                                                                (PTFE) ~



                       2·0.1 . .
                            - 0 -nng 6 x 1.8
                    26
             i------t~3-~                  Dimensions in mm
      FIG. 3 PTFE Centering Device for Ground Glass Joint                         Cone-shaped for /
                                                                                  perfect centering               .----
                                                                                          in neck of
7C/IP SC and ASTM 7F for the low range thermometers, and                           distillation flask
ASTM 8CJIP 6C and ASTM 8F for the high range thennom-
eters.
   6.3.l. l Thermometers that have been exposed for an ex-
tended period above an observed temperarure of 370°C shall                                Single 0-ring /
not be reused without a verification of the ice point or checked                               Viton or
as prescribed in Specification E 1 and Test Method E 77.                         pertluoro elastomer
   Nor£ l - At an observed thermometer reading of 370°C. 1he 1empera-              FIG. 4 Example of Centering Device Designs for Straight-Bore
1ure of the bulb L~ approaching a critical range in che glass and che                                      Neck Flasks
chermometer may lose i1s calibr:itioo.
   6.3.2 Temperarure measurement systems other than those
described ill 6.3. l are satisfactory for this test method, pro-
vided that they exhibit the same temperamre Jag, emergent
stem effect, and accuracy as the equivalent mercury-in-glass
thermometer.
   6.3.2. 1 The electronic circuitry or the algorithms, or both,
used shall include the capability to simulate the temperature lag
of a mercury-in-glass thenuometer.
   6.3.2.2 Alternatively, the sensor can also be placed in a
casing with the tip of the sensor covered so that the assembly,
because of its adjusted thermal mass and conductivity, has a
temperarure lag time similar to that of a mercury-in-glass
thermometer.
                                                                                         FIG. 5 Position of Thermometer in Distillation Flask
  NOTE 2- In a region where the temperature is changing rapidly during
the dis1illation, che tempera1ure lag of a thennomecer can be as much as 3
seconds.
                                                                                 a low IBP may have one or more r~adings obscured by the centering
   6.3.3 In case of dispute, the referee test method shall be                    device. See also I0.14.3.1.
carried out with the specified mercury-in-glass thermometer.                       6.5 Automated equipment manufactured ill 1999 and later
   6.4 Temperature Sensor Centering Device:                                      shall be equipped with a device to automatically shut down
   6.4.1 The temperature sensor shall be mounted through a                       power to the unit and to spray an inert gas or vapor in the
snug-fitting device designed for mechanically centering the                      chamber where the distillation flask is mounted in the event of
sensor in the neck of the flask without vapor Leakage. Examples                  fire.
of acceptable centering devices are shown in Figs. 3 and 4.
(Warning- The use of a plain stopper with a hole drilled                           Nore 5- Some causes of fires are breakage of die distillation flask.
through the center is not acceptable for the purpose described                   electrical shons, and foaming a nd spilling of liquid sample through the top
                                                                                 opening of the flask.
in 6.4. 1.)
                                                                                   6.6 Barometer-A pressure measuring device capable of
  NOTE 3- 0cher cencering devices am also acceptable, as long as they
posi1ion and hold che cemperature sensing device in che proper posirion in
                                                                                 measuring local station pressure with an accuracy of 0. 1 kPa
the neck of the di$cilla1ion column. as shown in Fig. 5 and described in         (1 mm Hg) or better, at the same elevation relative to sea level
10.5.                                                                            as the apparatus in the laboratory. (Warning- Do not take
  Nore 4- When running the tesl by the manual method, products wirl1             readings from ordinary aneroid barometers, such as those used




                                                                             5



                                                                             JA282                                                            ASTM001192
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                     TABLE 2 Group Characteristics                              l 0°C, the sample may also be stored ,u a temperature below 20°C,
                           Group 1    Group 2     G roup 3     Group 4          provided the operator en.~w-es that the sample conrainer is tighrly closed
                                                                                and leak-free.
  Sample
  characteristics                                                                  7 .3.4 Groups 3 and 4-Store the sample at ambient or lower
  Distillate type
  Vapor pressure at
                                                                                temperarure.
    31.a•c. kPa            2:65.5     <65.5       <65.5       <65.5                7.4 Sample Conditioning Prior to Analysis:
    100°F, psi             ..9.5      <9.5        <9.5        <9.5                 7.4.l Samples shall be conditioned to the temperature
  (Test Methods
  D323. D 4953,
                                                                                shown in Table 3 before opening the sample container.
  D 5190. D5191,                                                                   7.4. 1.1 Groups 1 and 2-Samples shall be conditioned to a
  D 5462, IP69 or                                                               temperan!fe of less than 10°C (50°F) before opening the
  IP394)
  Distillation, IBP •c                            :s.100      >100
                                                                                sample container.
                 •F                               s 212       >212                 7.4. 1.2 Groups 3 and 4- lf the sample is not fluid at
             EP °C         s 250      s 250       >250        >250              ambient temperamre, it is tO be heated to a temperature of 9 tO
                 •F        :,462      :,482       >482        >482
                                                                                2 1°C above its pour point (Test Method D 97, D 5949, or
                                                                                D 5985) prior to analysis. If the sample has partially or
                                                                                completely solidified during storage, it shall be vigorously
at weather stations and airports, since these are precorrected to               shaken after melting prior to opening the sample container to
give sea level readings.)                                                       ensure homogeneity.
                                                                                   7.4.1.3 If the sample is not fluid at room temperature, the
7. Sampling, Storage, and Sample C-0nditioning                                  temperantre ranges shown in Table 3 for the flask and for the
   7.1 Determine the Group characteristics that correspond to                   sample do not apply.
the sample to be tested (see Table 2). Where the procedure is                      7 .5 Wet Samples:
dependent upon the group, the section headings will be so                          7.5. l Samples of materials that visibly contain water are not
marked.                                                                         suitable for testing. If the sample is not dry, obtain another
   7.2 Sampling:                                                                sample that is free from suspended water.
   7.2.l Sampling shall be done in accordance with Practice                        7.5.2 Groups 1 and 2- If such a sample cannot be obtained,
D 4057 or D 4177 and as described in Table 3.                                   the suspended water can be removed by maintaining the
   7 .2.1.1 Group }-Condition the sample container to below                     sample at Oto 10°C, adding approximately 10 g of anhydrous
l0°C, preferably by filling the bottle with the cold liquid                     sodium sulfate per 100 mL of sample, shaking the mixture for
sample and discarding the first sample. If this is not possible                 approximately 2 min, and then allowing the mixture to senle
because, for instance, the product to be sampled is at ambient                  for approximately 15 min. Once the sample shows no visible
temperature, the sample shall be drawn into a bottle prechilled                 signs of water, use a decanted ponion of the sample, main-
to below l0°C, in such a manner that agitation is kept at a                     tained between l and 10°C, for the analysis. :--rote in the report
minimum. Close the boule immediately with a tight-fiuing                        that the sample has been dried by the addition of a desiccant.
closure. (Warning-Do not completely fill and tightly seal a                        Nore 8- Suspended wa1er in hazy samples in Groups l and 2 can be
cold bottle of sample because of the likelihood of breakage on                  removed by the addi1ioo of anhydrou s sodium su lfate and separating the
warming.)                                                                       liquid sample from tbe d1ying agent by decanti ng without statis1ically
   7.2.1.2 Groups 2, 3, and 4-Collect the sample at ambient                     affecting the results of the test.4
temperature. After sampling, dose the sample bottle immedi-                       7.5.3 Groups 3 and 4-ln cases in which a water-free
ately with a tight-fining closure.                                              sample is not practical, the suspended water can be removed by
   7.2.1.3 If the sample received by the testing laboratory has                 shaking the sample with anhydrous sodium sulfate or other
been sampled by others and it is not known whether sampling                     suitable drying agent and separating it from the drying agent by
has been performed as described in 7.2, the sample shaJJ be                     decanting. Note in the repon that the sample has been dried by
assumed to have been so sampled.                                                the addition of a desiccant.
   7 .3 Sample Storage:
   7.3.l If testing is not to stan inunediately after collection,               8. Preparation of Apparatus
score the samples as indicated in 7.3.2, 7.3.3, and Table 3. All                   8.1 Refer to Table I and prepare the appararus by choosing
samples shall be stored away from direct sunlight or sources of                 the appropriate distillation flask, temperature measuring de-
direct heat.                                                                    vice, and flask support board, as directed for the indicated
   7.3.2 Group I-Store the sample at a temperature below                        group. Bring the temperature of the receiving cylinder, the
100c.                                                                           flask, and the condenser bath to the indicated temperature.
  Ncm, 6- If there arc no, or inadequate, facilities for storage below             8.2 Make any necessary provisions so that the temperature
l0°C, the sample may also be stored at a temperature below 20°C.                of the condenser bath and the receiving cylinder will be
provided the operator eosures that tbe sample container L~ lightly closed       maintained at the required temperarures. The receiving cylin-
and leak-free.                                                                  der shall be in a bath such that either the liquid level is at least
  7.3.3 Group 2-Store the sample at a temperature below
100c.
                                                                                   • Supporting dara have been filed al AS TM lntematiooal Headqua.rrers aud may
  NoTE 7- If there are no. or inadequate, facilities for storage below          be obtained by rcqucsliug Rescm-ch Report RR: D02 -1455.


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                                                                            JA283                                                               ASTM001193
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                                                                             ,0 D86-07
                                                    TABLE 3 Sampling, Storage, and Sample Conditioning
                                                                              Croup 1                     Croup 2                  Croup 3                 Croup 4
  Temperature of sample bottle                          ·c                      <10
                                                        •F                      <50
  Temperature of stored sample                          ·c                      <10A                        <10                   ambient                ambient
                                                        ·F                      <50A                        <50                   ambient                ambient
  Temperature of sample after                           'C                      <10                         <10                  Ambient or            Ambient or
  conditioning prior to analysis                                                                                                   9 to 2 1°C above pour pointD
                                                        •F                      <50                         <50                  Ambient or            Ambient or
                                                                                                                                   48 to 70°F above pour point8
  If sample is wet                                                            resample                resample                     dry in accordance with 7.5.3
  If resample is still wetc                                                      dry in accordance with 7.5.2
  A Under certain circumstances, samples can also be stored at temperatures below 2D°C (68. F). See also 7 .3.2 and 7.3.3.
  8   If sample is (semi)-so!id at ambient temperature, see also 10.3.1.1.
  c If sample is known to be wet, resampling may be omitted. Dry sample in accordance wilh 7 .5.2 and 7 .5.3.


as high as the 100-mL mark or the entire receiving cylinder is                          cal Reagents of the American Chemical Society,6 shall be used.
surrounded by an air circulation chamber.                                               However, other grades may also be used, provided it is first
   8.2.1 Groups I, 2, a11d 3-Suitable media for low tempera-                            ascertained that the reagent is of sufficient puri ty to permit ics
ture baths include, but are not limited to, chopped ice and                             use without lessening the accuracy of the determination.
water, refrigerated brine, and refrigerated ethylene glycol.                               NoTE 10-At 101.3 kPa, toluene is shown in reference manuals as
   8.2.2 Group 4-Suitable media for ambient and higher bath                             boiling a1 110.6°C when measured using a pa11ial immersion thermometer.
temperanues include, but are not limited to, cold water, hot                            Because chis cesr merhod uses lhennornerers calibraced for cocat immer-
water, and heated ethylene glycol.                                                      sion. !he results iypically will be lower and, depending on che thermometer
   8.3 Re move any residual liquid in the condenser tube by                             and the sicuacion. may be dilferent for each 1.hennometer. At JO 1.3 kPa.
swabbing with a piece of soft, lint-free cloth attached to a cord                       hcxadecanc is shown in reference manuals as boiling at 287.0°C when
or wire.                                                                                measured using a parcial immersion c.hennomecer. Because this test
                                                                                        method uses chermometers calibrated for rocal immersion. die resuli:s
                                                                                        typically will be lower, and. depending on 1he thetmome1er and the
9. Calibration and Standardization                                                      siruation, may be dift-erenr for each 1berrnomete1:
   9.1 Temperature Measurement System-Temperature mea-                                    9. l.3 A procedure to determine the magnimde of the tem-
surement systems using other than the specified mercury-in-                             perarure Jag is described in Annex A3.
glass thermometers shall exhibit the same temperature lag,                                9. l.4 A procedure to emulate the emergent stem effect is
emergent stem effect, and accuracy as the equivalent mercury-                           described in Appendix X4.
in-glass thermometer. Confirmation of the calibration of these                            9 .1.5 To verify the calibration of the temperature measure-
temperanue measuring systems shall be made at intervals of                              ment system at elevated temperatures, use hexadecane. The
not more than six months, and after the system has been                                 temperantre measurement system shall indicate, at 50% recov-
replaced or repaired.                                                                   ered, a temperature comparable to that shown in Table 4 for the
   9.1.l The accuracy and the calibration of the electronic                             respective appararns under Group 4 distillation conditions.
circuitry or computer algorithms, or both, shall be verified by
the use of a standard precision resistance bench. When per-                               Nore It- Because of the high melting point of bexadecane. Group 4
fom1ing this verification, no algorithms shall be used to correct                       verification distilla1ions will have to be carried out with condenser
                                                                                        cempcratu.res >20°C.
the temperan1re for lag and the emergent stem effect (see
manufacrnrer's instmctions ).                                                              9.2 Automated Method:
   9. 1.2 Verification of the calibration of temperature measur-                           9.2.l Level Follower-For an automated distillation appa-
ing devices shall be conducted by distilling toluene in accor-                          rarus, the level follower/recording mechanism of the apparatus
dance with Group l of this test method and comparing the                                shall have a resolution of 0.1 mL or better with a maximum
50 % recovered temperature with that shown in Table 4. 5                                error of 0.3 mL between the 5 and 100 mL poincs. The
   9.1.2. l If the temperature reading is not within the values                         calibration of the assembly shall be verified in accordance with
shown in Table 4 for the respective apparatus being used (see                           manufacturer's instructions at intervals of not more than three
Note 10 and Table 4), the temperature measurement system                                months and after the system has been replaced or repaired.
shall be considered defective and shall not be used for the test                          Nore 12- Tlle typical calibration procedure involves verifying th.e
  NO'TI! 9- Toluene is used as a verification fluid for calibracion; it will            output with the receiver containing 5 and I 00 mL of material respecrively.
yield almost no information on how well an electronic measuremem                          9.2.2 Barometric Pressure- At intervals of not more than
system s imulates the temperature lag of a liquid-in-glass thermometer.                 six months, and after the system has been replaced or repaired,
  9.l.2.2 Reagent grade tolue ne a nd hexadecane (cetane),
conforming co the specifications of the Conunictee on Aaalyti-                             fo   Reo1:ent Chemic(d., , Ame,'ica11 Clremical Socie~)' Spec//ications. American
                                                                                        Chemical Society~ Washington. DC. For suggeiaions on the testing of reagents not
                                                                                        listed by the American Chemical Society, see Analar Srmulunls for Lal,orarory
                                                                                        Chemicai.t, BDH Ltd., Poole, Dorset, U.K.• and the Unitetl Srmes Plwrmacopeict
   ·' Suppor1iog darn h,we beeu filed a1ASTM (n1erna1ional Heactqua11ers and may        <md Natio,wt Fon nulan1 U.S. Pharmacopeial Couveu1ion. (uc. (USPC). Rockville,
be ob1aiucd by requesting Research Report RR: D02-1 580.                                MD.


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                                                                                   JA284                                                                    ASTM0011 94
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                                                                       ,0 D86-07
                                     TABLE 4 True and Min and Max D 86 50 % Recovered Bolling Points (°C)A
                                                                                 Manual                                                Automated
                                                                  Distillation              Distillation               Distillation                  Distillation
                                                                conditions min              conditions               conditions min                oonditions max
                                                                  08650%                    max 086                    086 50%                       08650%
                                                                 boiling point             50% boiling                bolling point                 boiling point
                                                                                              point
                                   ASTMIIP true                Group 1, 2, and              Group 1. 2,             Group 1, 2 . and                Group 1, 2,
         TOiuene                   boiOng point                       3                       and 3                          3                        and 3
                                       110.6                        105.9                      111.8                        108.5                      109.7

                                   ASTM/IP true                    Group 4                   Gro up 4                     Group 4                     Group 4
       Hexadecane                  boiung point
                                       287.0                        272.2                     283.1                        277.0                       280.0
  A The manual and automated temperatures show in this table are the values for the 95 % tolerance interval tor the 99   o/o population coverage. The proposed tolerance
is approximately 3 x sigma . Information on the values in this table can be found in RR:002-1580.


the barometric reading of the instrument shall be verified                                10.5 Fit the temperature sensor through a snug-fitting de-
against a barometer, as described in 6.6.                                              vice, as described in 6.4, to mechanically center the sensor in
                                                                                       the neck of the flask. In the case of a thennometer, the bulb is
10. Procedure
                                                                                       centered in the neck and the lower end of the capillary is level
   10.1 Record the prevailing barometric pressure.                                     with the highest point on tl1e bottom of the inner wall of tl1e
   10.2 Groups 1 and 2- Fit a low range thermometer pro-                               vapor n1be (see Fig. 5). In the case of a thermocouple or
vided with a snug-fitting cork or stopper of silicone rubber. or                       resistance thermometer, follow the manufacntrer' s instructions
equivalent polymeric material, tightly into the neck of the                            as to placement (see Fig. 6).
sample container and bring the temperantre of the sample to the
temperature indicated in Table 3.                                                        NoTE 15- If vacuum grease is used on the mating surface of the
   10.3 Groups 1, 2, 3, and 4-Check that the temperature of                            cenrering device. use the minimum amount of grease that is practical.
the sample is as shown in Table 3. Pour the specimen precisely                            10.6 Fit the flask vapor tube, provided with a snug-fitting
to the 100-mL mark of the receiving cylinder, a nd transfer the                        cork or rubber stopper of silicone, or equivalent polymeric
contenrs of the receiving cylinder as completely as practical                          material, tightly into the condenser tube. Adjust the flask in a
into the distillation flask, ensuring that none of the liquid flows
                                                                                       vertical position so that the vapor tube extends into the
into the vapor mbe.
                                                                                       condenser tube for a distance from 25 to 50 mm. Raise and
  NO'J'E l 3-lt is importam that the difference becween the temperature of             adjust the flask support board to fit it snugly against the bottom
the specimen and 1he temperature of the bath around the receiving cylinder             of the flask.
is as small as practically possible. A difference of 5°C can make a
difference of 0.7 mL.                                                                     10.7 Place the receiving cylinder that was used to measure
                                                                                       the specimen, wirhout drying rhe inside of the cylinder, into irs
   10.3.1 Groups 3 and 4-lf the sample is not fluid at ambient                         temperamre-controlled bath under the lower end of the con-
temperantre, it is to be heated to a temperature between 9 and
                                                                                       denser tube. The end of the condenser tube shall be centered in
2 1°C above its pour point (Test Me thods D 97, D 5949,
                                                                                       the receiving cylinder and shall extend therein for a distance of
D 5950, or D 5985) prior to analysis. If the sample has partially
                                                                                       at least 25 m m, but not below the 100-mL mark.
or completely solidified in the intervening period, it shall be
vigorously shaken a fter melting, and prior to sampling, to                               10.8 Initial Boiling Poinl:
ensure homogeneity.                                                                       10.8.1 Manual Method- To reduce evaporation loss of the
   10.3.l.l If the sample is not fluid at ambient temperatures,                        discillace, cover the receiving cylinder with a piece of blotting
disregard the temperantre range shown in Table l for the                               paper, or similar material, that has been cut to fit the condenser
receiving cylinder and sample. Prior to analysis, heat the                             tube snugly. If a receiver deflector is being used, start the
receiving cylinder to approximately the same temperature as                            distillation with the tip of the deflector just touching the wall of
the sample. Pour the heated specimen precisely to the 100-mL                           the receiving cylinder. If a receiver deflector is not used, keep
mark of the receiving cylinder, and transfer the contents of the                       the drip tip of the condenser away from the wall of the
receiving cylinder as completely as practical into the distilla-                       receiving cylinder. Note the start time. Observe and record the
tion flask, ensuring that none of the liquid flows into the vapor                      IBP co the nearest 0.5°C (1.0°F). If a receiver deflector is not
tube.                                                                                  being used, immediately move the receiving cylinder so that
   Nore 14- Any material that evaporates during the transfer will con-                 the tip of the condenser touches its itmer wall.
rribme ro rhe loss; any marerial char remains in rhe receiving cylinder will              10.8.2 Automated Method- To reduce evaporation loss of
contribute to the observed recovery volume at the time of the IBP.                     the d istillate, use the device provided by the instrument
   10.4 If the sample can be expected to demonstrate irregular                         manufacturer for this purpose. Apply heat to the distillation
boiling behavior, that is, bumping, add a few boiling chips to                         flask and contents with the tip of tl1e receiver deflector just
the specimen. The addition of a few boiling chips is acceptable                        touching the wall of the receiving cylinder. Note the start time.
for any distillation.                                                                  Record the IBP to the nearest 0.1 °C (0.2"F).

                                                                                   8



                                                                                  JA285                                                                 ASTM001195
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                                                                       ,0 D86-07

                                                        !
                                                                                                                     A: Align inside
                                                      1:                                                               lower
                                                      1,•:                                                             portion of flask
                                                      1:
                                                      ;t

                                                      I:
                                         [Al- J :-
                                                      1:
                                                      if


                                                      i:i· i
                                                      I• i
                                                      I: ii
                                                                                                        J_.-
                                                      !,
                                                     !: i
                                                             i
                                                             i                                                                 @
                                                             i
                                                             i
                                              '              i          '
                                              '·- - ·-·-·f-·-·- ---~·-
                                              ·.         i          ,•
                                               '         i         '
                                                         i      ,
                                                  ' ,,__ _J_,. .. -'
                                           FIG. 6 Exam ple of Recommended Placement of Pt-100 Probe
                                             Relative to Distillation Flask Sidearm for Automated D 86
                                                                Distillation Instrument


   l0.9 Regulate the heating so that the time interval between                    specification involved, or as previously established for the
the first application of heat and the IBP is as specified in Table                sample under test. These observed data can include tempera-
5.                                                                                ture readings at prescribed percentages recovered or percent-
   lO. lO Regulate the heating so that the time from IBP to 5 or                  ages recovered at prescribed temperature readings, or both.
 lO % recovered is as indicated in Table 5.                                          10.14.1 Manual Method-Record all volumes in the gradu-
   LO. LI Continue to regulate the heating so that the uniform                    ated cylinder to the nearest 0.5 mL, and all temperature
average rate of condensation from 5 or 10 % recovered to 5 mL                     readings to the nearest 0.5°C (l.0°F).
residue in the flask is 4 co 5 mL per min. (Warning-Due co                           10.14.2 Automated Method-Record all volumes in the
the configuration of the boiling flask and the conditions of the                  receiving cylinder to the nearest 0. 1 mL, and all temperanire
test, the vapor and liquid around the temperanire sensor are not                  readings to the nearest 0.1 °C (0.2°F).
in thermodynamic equilibrium. The distillation rate will con-                        10. 14.3 Group 1, 2, 3, and 4-In cases in which no specific
sequently have an effect on the measured vapor temperature.
                                                                                  data requirements have been indicated, record the IBP and the
The distillation rate shall, cherefore, be kept as constam as                     EP (FBP) or the dry point, or both, and temperature readings at
possible throughout the test.)                                                    5, 15, 85, and 95 % recovered, and at each lO % multiple of
  Nore 16- When tescing gasoline samples, it is not. uncommon to see              volume recovered from 10 to 90, inclusive.
the condensate suddenly fonn non-miscible liqu id phases and bead up on              l0. 14.3. l Group 4- \Vhen a high range them1ometer is
the temperature measuring. device and in the neck of the boiling flask at a
                                                                                  used in resting aviation turbine fuels and similar products,
vapor temperature of arou nd l60°C. This may be accompanied by a sharp
(about 3•c) dlp in the vapor 1emperarure and a drop in the reco very rare.
                                                                                  pertinent thermometer readings can be obscured by the center-
The phenomenon, which may be due to the presence of trace water in the            ing device. If these readings are required, perform a second
sample, may lase for 10 10 30 s before che cemperacure recovers and the           distillation in accordance with Group 3. In such cases, reading
condensate starts flowing smoothly again. Th is point is sometimes                from a low range thermometer can be reported in place of the
colloquially referred to as the Hesita tion Point.                                obscured high range thermometer readings, and the test report
   10.12 Repeat any distillation that did not meet the require-                   shall so indicate. If, by agreement, the obscured readings are
ments described in l0.9, l0.10, and l0.1 1.                                       waived, the test report shall so indicate.
   10.13 If a decomposition point, as described in 3. 1.3, is                        10.14.4 When it is required to report the temperan1re
observed, discontinue the heating and proceed as directed in                      reading at a prescribed percent evaporated or recovered for a
10. 17.                                                                           sample that has a rapidly changing slope of the distillation
   LO. 14 In the interval between the IBP and the end of the                      curve in the region of the prescribed percent evaporated or
distillation, observe and record data necessary for the calcula-                  recovered reading, record temperature readings at every l %
tion and reporting of the results of the test as required by the                  recovered. The slope is considered rapidly changing if the

                                                                              9




                                                                              JA286                                                 ASTM001196
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                                                                              ,0 D86-07
                                                           TABLE 5 Condit ions During Test Procedure
                                                                    Group 1                        Group 2                      Group 3                      Group 4
  Temperature of cooling bath ..        ·c                             0-1                           0-5                          0-5                          o~o
                                        •F                            32-34                         32- 40                       32-40                        32- 140
  Temperature of bath around            ·c                            13-1 8                        13-18                        13-18                          Z3
    receiving cylinder                  •F                            55-65                         55~5                         55- 65                         Z5
                                                                                                                                                             of c harge
                                                                                                                                                           temperature
  11me from first application of Mat to
    initial boiling point, min                                        5-10                           5-10                         5-1 0                        5-15
  Time from initial boiling point
    to 5 % recovered, s                                              60-100                         60- 100
    to 10 % recovered, min
  Uniform average rate of condensat ion
    from 5 % recovered to 5 ml
    in fla,;1<. ml/min                                                 4-:;                          4-6
  Time recorded from 5 m l residue to
    end point. min                                                    Smax                          Smax                         5 max                         5 max
  A the proper condenser bath temperature will depend upon the wax content of the sample and of its distillati on fractions. The test is generally performed using one single
condenser temperature. Wax formation in the condenser can be deduced from (a) the presence of wax particles in the distillate coming off the drip tip, (b) a hi gher distillation
loss than what would be expected based on the inrtial boiling point of the specimen, (c) an erratic recovery rate and (cf) the presence of wax particles during the removal
of residual liquid by swabbing wi th a lint-free cloth (see 8.3). The m inimum temperature that permits satisfactory operatio n shall be used. In general, a bath temperalure
in the Oto 4°C range is suttable for kerosine, Grade No. 1 fuel oil and G rade No. 1-0 diesel fuel oil. In some cases involving Grade No. 2 fuel oil. Grade No. 2-0 diesel
fuel oil, gas oils and similar distillates. it may be necessary 10 hOld the condenser bath temperature in the 38 to oo•c range.



change in slope (C) of the data poinIS described in 10.14.2 in                                correspond with an amoum. o f 93.5 mL in the receiving cylinder. This
that particular area is greater than 0.6 (change of slope (F) is                              amount has to be adjusted for the estimated amount of front end loss.
greater than 1.0) as calculated by Eq l (Eq 2).                                                  10.15. l If the acnial front end loss differs more than 2 mL
    Change of Slope (CJ =                                                                     from the estimated value, the test shall be ren m.
                        (C2 - c ,)t(V2 -         v,J - (C3 - C2)f(V3 - V2)                       10.16 Observe and record the EP (FBP) or the dry point, or
                                                                                  ( 1)        both, as required, and discontinue the heating.
                                                                                                 10.17 Allow the distillate to drain into the receiving cylin-
     Cha nge of Slope (F) =                                                                   der, after heating has been discontinued.
                             (F2 - F 1)/(V2 - V1) - (F3 - F 2)/(V3 - V2)
                                                                                  (2)
                                                                                                 10.17. l Manual Method-While the condenser tube contin-
                                                                                              ues to drain into the graduated cylinder, observe and note the
 where:                                                                                       volume of condensate to the nearest 0.5 mL at 2 min intervals
 C1 = temperature at the volume % recorded one reading                                        until two successive observations agree. Measure the volume
         prior to the volume % in question, ¢C,                                               in the receiving cylinder accurately, and record it to the nearest
 C2 = temperature at the volume % recorded in question,                                       0.5 mL.
         "C,                                                                                     10.17.2 Automated Merhod-The apparatus shall continu-
 C3 = temperature at the volume % recorded following the                                      ally monitor the recovered volume until this volume changes
         volume % in question, °C,                                                            by no more than 0.1 mL in 2 min. Record the volume in the
 F 1 = temperature at the volume % recorded one reading                                       receiving cylinder accurately to the nearest 0.1 mL.
         prior to the volume % in question, °F,                                                  10.18 Record the volume in the receiving cylinder as
 F2 = temperature at the volume % recorded in question, 0 F.                                  percent recovery. If the distillation was previously discontin-
 F3 = temperature at the volume % recorded following the
                                                                                              ued under the conditions of a decomposition point, deduce the
         volume % in question, °F,
                                                                                              percent recovered from l 00, report this difference as the sum of
  V1 = volume % recorded one reading prior to the volume %
                                                                                              percent residue and percent loss, and omit the procedure given
         in question,
  V2 = volume % recorded at the volume % in question, and                                     in 10. 19.
 V:; = volume % recorded following the volume % in                                               10.19 After the flask has cooled and no more vapor is
         question.                                                                            observed, disconnect the flask from the condenser, pour its
   10.15 When the residual liquid in the fl ask is approximately                              contents into a 5-mL graduated cylinder, and with the flask
5 mL, make a final adjustment of the heat. The time from the                                  suspended over the cylinder, allow the flask to drain until no
5 mL of liquid residue in the flask to the EP (FBP) shall be                                  appreciable increase in the volume of liquid in the cylinder is
within the limits prescribed in Table 5. If this condition is not                             observed. Measure the volume in the graduated cylinder to the
satisfied, repeat the test with appropriate modification of the                               nearest 0.1 mL, and record as percent residue.
final heat adjustment.                                                                           10.19. l If the 5-mL graduated cylinder does not have
                                                                                              graduations below 1 mL and the volume of liquid is less than
  Nore 17- Since it is difficult co determine when there is 5 mL of                            I mL, prefill the cylinder with l mL of a heavy oil to allow a
boiling, liquid left in the flask, this cime is determined by observing, d1e
amount of liquid recovered iu the receiving cyl inder. The dynamic holdup
                                                                                              better estimate of the volume of the material recovered.
has been dctcnniucd to be approximately l.5 mL at this point. U there arc                        10.19.J.l If a residue greater than expected is obtained, and
no front end losses, the amount o f 5 rnL in the flask can be assumed to                      the distillation was not purposely terminated before the EP,

                                                                                         10



                                                                                         JA287                                                                  ASTM001197
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check whether adequate heat was applied towards the end of                                TABLE 6 Approximate Thermometer Reading Correction
the distillation and whether conditions during the test con-                               Temperalure Range
                                                                                                                          CorrectionA per 1.3 kPa (1 O mm Hg}
fonned to those specified u1 Table 5. If not, repeat test.                                                                       Difference in Pressure
                                                                                           •c              •F                 •c                    •F
  Nore 18- The discillacion residues of chis tesc mechod for gasoline.
kerosine. and distillate diesel arc rypically 0.9- 1.3, 0.9- 1.3, and 1.0-1.4            10-30           50-86               0.35                   0.63
                                                                                         30-50           86-122              0.38                   0.68
volume%. respectively.
                                                                                         50-70          122- 158             0.40                   0.72
  Nore J 9- The cesc metllod is not designed for che analysis of discilJace              70-90          158-1 94             0.42                   0.76
fuels containing appreciab le quamities of residual material (see I.:!).                 90- 110        194-230              0 .45                  0.81
                                                                                        110- 130        230- 266             0.47                   0.85
   10.19.2 Groups I, 2, 3, and 4-Record the volume in the                               130-150         266-302              0 .50                  0.89
5-mL graduaced cylinder, w the nearest O. l mL, as percem                               150-170         302- 338             0.52                   0.94
                                                                                        170-190         338- 374             0.54                   0.98
residue.                                                                                190-21 0        374-410              0 .57                  1.02
   10.20 If the intent of the distillation is to determine the                          21 0-230        410-446              0.59                   1.07
percent evaporated or percent recovered at a predetermined                              230-250         446-482              0.62                   1.11
                                                                                        250-270         482-518              0 .64                  1.15
corrected temperature reading, modify the procedure to con-                             270-290         518-554              0.66                   1.20
fom1 to the instructions described in Annex A4.                                         290-310         554-590              0.69                   1.24
   10.21 Examine the condenser tube and the side arm of the                             310- 330        590-626              0.71                   1.28
                                                                                        330-350         62!H>62              0.74                   1.33
flask for waxy or solid deposits. If found, repeat the test after                       350-370         662-698              0.76                   1.37
making adjustments described in Footnote A of Table 5.                                  370-390         698-734              0 .78                  1.41
                                                                                        390-410         734- 770             0 .81                  1.46

11. Calculations                                                                      "Values to be added when barometric pressure is below 101.3 kPa (760 mm
                                                                                     Hg) and to be subtracted when barometric pressure is above 101 .3 kPa.
   l l .1 The percent total recovery is the sum of the percent
recovery (see 10.18) and the percent residue (see 10.19).
Deduct the percent total recovery from 100 to obtain the                             apparatus being used, use the corrected temperature readings in
percent loss.                                                                        all further calculations and reporting.
   11.2 Do not correct the barometric pressure for meniscus                            NorE 2 1-Temperacure readings are 001 correc1ed to IOJ J kPa (760
depression, and do not adjust the pressure to what it would be                       mm Hg) when produce. definitions, specifications. or agreements between
at sea level.                                                                        the parties U1vol ved i.ndicat.e, specifically, that such con-ection is 001
                                                                                     required or that correction shall be made to some other base pressure.
  NarE 20-The observed barometric reading does not have co be
corrected to a standard temperature and to standard gravity. El'en without              l l.4 Correct the actual loss to 10 l.3 kPa (760 mm Hg)
perfonning these con-ections. the corrected tempera,ure readings for !he             pressure when temperamre readings are corrected to 101.3 kPa
same sample between laboratories at two different locations in the world             pressure. The corrected loss, L,,, is calculated from Eq 6 or Eq
will, in general. differ less than 0.1 °Cat J00°C. Almost. all data obtained         7, as appropriate, or can be read from the cables presented as
earlier have been reported at baromecric pressures that have not been
                                                                                     Fig. X3. l or Fig. X3.2.
corrected to standard temperature and to standard graviry.
                                                                                                   L,. = 0.5 + (L - 0.5l/{1 + (101.3 - ? 1)18.00}               (6)
   11.3 Correct temperature readings to IOJ.3 kPa (760 nun
Hg) pressure. Obtain the correction to be applied co each
                                                                                                    L,. = 0.5 + (L - 0.5)/{ I + (7(1.l - P)/60.0}               (7)
temperature reading by means of the Sydney Young equation
as given in Eq 3, Eq 4, or Eq 5, as appropriate, or by the use
of Table 6. For Celsius temperatures:                                                 where:
                    Cc = 0.0009 (101.3 - Pk) (273 + 1, )                 (3)          L = observed loss,
                                                                                      L,. = corrected loss,
                    C, = 0.00(H2 (760 - P) (273 + t,}                    (4 )
                                                                                      P, = pressure, kPa, and
                                                                                      P      pressure, mm Hg.

   For Fahrenheit temperatures:                                                        NoTt: 22- Eq 6 and 7 abol'e hal'e been derived from che data in Table
                                                                                     7 and Eqs 5 and 6 in Test Method D 86 - 95 and earlier versions. Jc is
                    C = 0.00012 (760 - P) (460 + t}                      (SJ         probable that Eq 6 and 7 shown were the original empirical equations from
                     1
                                                                                     which I.he cable and equations in the Test Method D 86 - 95 and earlier
                                                                                     versions were derived.
 where:
              = the observed temperamre reading in °C,                                  ll.4. l Calculate the corresponding corrected percent recov-
              = the observed temperamre reading in °F,                               ery in accordance with the following equation:
              = corrections to be added algebraically to the                                                       R,. = R + (L - LC)                           (8)
                 observed temperamre readings,
              = barometric pressure, prevailing at the time and
                 location of the test, kPa, and                                      where:
 p            = barometric pressure, prevailing at the time and                      L = percent loss or observed Joss,
                 location of the test, mm Hg.                                        Le = corrected loss,
   After applyi ng the corrections and rounding each result to                       R = percent recovery, and
                                                                                     Re = corrected percent recovery.
the nearest 0.5°C (l .0°F) or O. l °C (0.2°F), as appropriate to the

                                                                                11



                                                                                JA288                                                               ASTM001198
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                                                            ,0 D86-07
                                            TABLE 7 Data Points for Determining Slope, Sc or S F
    Slope at%          IBP        5        10     20        30          40        50       60       70      60       90      95          EP

TL at%                  0         0         0     10        20          30        40       50       60      70       80      90          95
Tuai %                  5        10        20     30        40          50        60       70       60      90       90      95         v<"'
Vv Ve                   5        10        20     20        20          20        20       20       20      20       10       5       Ve:.., -05




   11.5 To obtaiu the percent evaporated at a prescribed                        11.6.3 In most automated iusrrumeuts, temperature-volume
temperarure reading, add the percent loss to each of the                     data are collected at 0.1 volume % intervals or less and stored
observed percent recovered at the prescribed temperature                     in memory. To report a temperature reading at a prescribed
readings, and report these results as the respective percent                 percent evaporated, neither of the procedures described in
evaporated, that is:                                                         11.6.1 and 11.6.2 have to be used. Obtain the desired tempera-
                             P0 = P, + L                          (9)        ture directly from the database as the temperature closest to and
                                                                             within O. l volume % of the prescribed percent evaporated.

 where:                                                                      12. Report
 L = observed loss,                                                             12.l Report the following information (see Appeudix XS for
 Pe = percent evaporated, and                                                examples of reports):
 P, = percent recovered.                                                        12.2 Report the barometric pressure to the nearest 0. 1 kPa ( l
   11.6 To obtain temperamre readings at prescribed percent                  nun Hg).
evaporated, and if no recorde d temperamre data is available                    12.3 Report all volumetric readings in percentages.
wirhin 0.1 volume % of the prescribed percent evaporated, use                   12.3.1 Manual Method-Report volumetric readings to rhe
either of the two following procedures, aod indicate on the                  nearest 0.5, and all temperature readings to the nearest 0.5°C
report whether the arithmetical procedure or the graphical                   (1.0°F).
procedure has been used.                                                        12.3.2 Automated Method-Report volumetric readings to
   11.6.l Arithmetical Pmcedure-Deduct the observed Joss                     the nearest 0.1, and all temperature readings to rhe nearest
from each prescribed percent evaporated to obtain the corre-                 0.1°C (0.2°F) or less.
spondi ng percent recovered. Calculate each required tempera-                   12.4 After barometric corrections of rhe temperamre read-
ture reading as follows:                                                     ings have been made, rhe following data require no further
                T = TL + (TR - TL) (R - RL)/(RR - Ri}            (10)        calculation prior to reporting: IBP, dry point, EP (FBP),
                                                                             decomposition poiut, and all pairs of corresponding values
                                                                             involving percem recovered and temperature readings.
 where:                                                                         12.4.1 The report shall state if the temperature readings
R     = percent recovered corresponding co the prescribed                    have not been corrected for barometric pressure.
          percent evaporated,                                                   12.5 When the temperature readings have not been cor-
R11 = percent recovered adjacent to, and higher than R,                      rected to 101.3 kPa (760 mm Hg) pressure, report the percent
R1, = percent recovered adjacent to, and lower than R,
                                                                             residue and percent loss as observed in accordance with 10.19
T = temperature reading at the prescribed percent evapo-
                                                                             and 11.l , respectively.
          rated,
 TH = temperature read:ing recorded at RH, and                                  12.6 Do not use the corrected loss in the calculation of
 T,. = temperatnre reading recorded at Rr..                                  percent evaporated.
                                                                                12.7 It is advisable to base the report on relationships
  Values obtained by the arithmetical procedure are affected by
                                                                             between temperature readings and percent evaporated when rhe
the extent to which the distillation graphs are nonlinear.
                                                                             sample is a gasoline, or any other product classified under
Intervals between successive data points can, at any stage of
                                                                             Group l, or in which the percent loss is greater thau 2.0.
the test, be no wider than the intervals indicated in 10.18. In no
                                                                             Otherwise, the report can be based on relationships between
case shall a calculation be made that involves extrapolation.
                                                                             temperature readings and percent evaporated or percent recov-
   11.6.2 Graphical Procedure-Using graph paper with uni-                    ered. Every report must indicate clearly which basis has been
fonn subdivisions, plot each temperature reading corrected for
                                                                             used.
barometric pressure, if required (see l l.3), against its corre-                12.7. l In tlte manual method, if results are given in percent
sponding percent recovered. Plot the IBP at O% recovered.                    evaporated versus temperature readings, report if the arithmeti-
Draw a smooth curve connecting the points. For each pre-
                                                                             cal or the graphical procedure was used (see 11.6).
scribed percent evaporated, deduct the distillation loss to                     12.8 Report if a drying agent, as described in 7.5.2 or 7.5.3,
obtain the corresponding percent recovered a11d take from the                was used.
graph the temperanire reading th at this percent recovered
                                                                                12.9 F ig. XL I is an example of a tabular report. It shows the
indicates. Values obtained by graphical interpolation proce-
                                                                             percent recovered versus the corresponding temperature read-
dures are affected by the care with which the plot is made.                  ing and versus the corrected temperature reading. It also shows
  Nern, 23- Sec Appendix X I for numerical examples illustraLing the         the percent loss, the corrected loss, and the percent evaporated
arithmetical procedure.                                                      versus the corrected temperature reading.

                                                                        12




                                                                        JA289                                                     ASTM001199
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                                                                          ,0 D86-07
                                                    TABLE 8 Repeatability and Reproduclblllty for Group 1
                                Manual                               Manual                                  Automated                        Automated
   Evaporated                 Repeatability"                      Reproducibility"                          Repeatability"                  Reproducibility"
    Poinl. %
                         •c                    'F              'C                    'F               •c                     'F        •c                  'F
IBP                     3.3                   6                 5.6              10                    3.9                 7            7.2                 13
5                   1.9+0.86Sc          3 .4+-0.86S,       3.1+1.74Sc        5.6+1.74SF           2.1+0.67Sc          3.8+0.67S,    4.4+2.0Sc          7.9+2.0S,.
10                  1.2+0.86Sc          2.2+0.86S,,        2.0+1 .74Sc       3.6+1 .74SF          1.7+0.67Sc          3.0+0.67SF    3.3+2.0Sc          6.0+2.0S,
20                  1.2+0.86Sc          2.2+0.86S,         2.0+1.74Sc        3.6+1.74$~           1.1+0 .67Sc         2.0+0.67Sr    3.3+2.0Sc          6.0+2.os.
30-70               1.2+0.86Sc          2 .2+0.86SF        2.0+1 .74Sc       3.6+1 .74SF          1.1+0.67Sc          2.o+0.67SF    2 .6+2.0Sc         4 .7+2 .0SF
80                  1.2+0.86Sc          2.2+0.86S,         2.0+1.74Sc        3.6+1 .74SF          1.1+0.67S0          2.0+0.67S,    1.7+2.0Sc          3.0+2.0SF
90                  1.2+0.86Sc          2.2+086$,          0.8+1.74Sc        1.4+1 .74SF          1.1+0.67Sc          2.0+0.67S,    0.7+2.0Sc          1.2+2 .0Sp
95                  1.2+0.86Sc          2 .2+0.86S,        1.1 +1 .74Sc      1.9+1 .74SF          2 .5+0.67Sc         4 .5+0.67SF   2 .6+2.0Sc         4.7+2.0S~
FBP                     3.9                   7                 7 .2             13                   4.4                  8            8.9                 16
 "'Sc ors. is the average slope (or rate of change) calculated in accordance with 13.2.



13. Precision and Bias                                                                                                                                           (12)
  13.1 Precision:                                                                           where:
    13.1.l The precisio n of this test method has been deter-                               TF.P or THR is the temperamre , in °C or °F al the percent
mined by the statistical examination of interlaboratory test                              volume recovered indicated by the subscript,
resu lcs obtained by 26 labor atories on 14 gasolines, by 4
                                                                                            VE!, or VHR .is the volume % recovered.
laboratories on 8 samples of kerosine by the manua l procedure,
3 laboratories on 6 samples of kerosine by the automated                                    13.2.4.l The subscripts in Eq 12 refer to:
procedure, and 5 laboratories on 10 samples of diesel fuel by
both the manual and automated procedures. Table A l. l lists                              EP = end point
which tables and figures are to be used for the different fuel                            HR = highest reading, either 80 % of 90 %, prior to the end
groups, distillation methods, and temperature scales.                                              point.
    13. l.2 The following terms are used in this section: (1) r =
                                                                                            13.2.5 For points between lO to 85 % recovered which are
repeatability and (2) R = reproducibility. The value of any of
                                                                                          not shown in Table 7, the slope is calculated as follows:
these terms will depend upon whether the calculations were
carried out in °C or 0 F.                                                                                                                                        ( 13)
    13.2 Slope or Rate<~{ Change <~f Temperature:                                            13.2.6 For samples in Group l, the precision data reported
    13.2.l To determine the precision of a result, it is generally                        are based on slope values calculated from percent evaporated
necessary to determine the slope or rate of change of the                                 data.
temperamre at that particular point. This variable , denoted as
                                                                                             13.2.7 For samples in Group 2 , 3 , and 4, the precision data
Sc: or SF, is equal to the change in temperature, either in °C or
                                                                                          reported (Table 8) are based on slope values calculated from
in °F, respectively, per percent recovered or evaporated.
                                                                                          percent recovered data.
    13.2.2 For Group l in the manual mechod and for all groups
in the automated method, the precision of the IBP and EP does                                13.2.8 When results are reported as volume % recovered,
not require any slope calculation.                                                        slope values for the calculation of precision are to be deter-
    13.2.3 With the exception stated in 13.2.2 and in 13.2.4, the                         mined from percent recovered data; whe n results are reported
s lope at any point duriug the distillation is calculated from the                        as volume % evaporated slope values are to be determined
following equations. using the values shown in Table 7:                                   from % evaporated data.
                                                                                             13.3 Manual Method:
                                                                           (11)
                                                                                             13.3. l Repeatability:
 where:                                                                                      13.3. l.l GROUP I-The difference between successive
 Sc      = is the slope, °C/volume %,                                                     resultS obtained by the same operator with the same apparatus
 SF      = is the slope, 0 f/volu me %,                                                   under constant operating cond itions on identical test material
 Tu        is the upper temperarure, °C (or 0 F),
                                                                                          would, in the long mn, in the nom1al and correct operation of
 Ti      = is the lower temperarure, °C (or 0 f),                                         this test method, exceed the values calculated from Table 9 in
 Vu = is the volume % recovered or evaporated corre-
                                                                                          only one case in twenty.
           sponding to Tu,
 v,_ = is the volume % recovered or evaporated corre-                                        13.3. l.2 GROUPS 2, 3, and 4-The difference between
           spondiug to Tv aud                                                             successive results obtained by the same operator with the same
 Vi:P = is che volume % recovered or evaporated corre-                                    apparatus under constant operating conditions on identical test
           spouding to the end point.                                                     material would, in the long run, in the nonnal and correct
   13 .2.4 ln the event that the distillation end point occurs prior                      operation of this test method, exceed the values calculated
to the 95 % point, the slope at the end point is c alculated as                           from the values in Table 9 in only one case in twenty.
follows:                                                                                     13.3.2 Reproducibility:




                                                                                     13



                                                                                  JA290                                                               ASTM001200
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                                                                       ,0 D86-07
                                    TABLE 9 Repeata bility and Reproducibility f or Groups 2 , 3 and 4 (Ma nual Method)
                                                                   Repea1abilityA                                               ReproducibilrtyA
                                                        ·c                                                            ·c                               •F
        IBP                                         1.0+0.35Sc                       1.9+0.35S0                   2.8+0.93S(;                      5.0+0.93S,
        5-95%                                       1.0+0 .4 1Sc                     1.8+0.41S,                   1.8+1.33Sc                       3.3+1.33S,
        FBP                                         0.7+0 .36Sc                      1.3+0.36S,                   3.1+0.42S<;                      5.7+0.42S,

        % volume at                                0.7+0.92/Sc                       0.7+1 .66/S,                1.5+1 .78/Sc                      1.53+3.20/SF
        temperature reading
  A Cal culate Sc or   S,, from 13.2 .

   13.3.2.l GROUP 1- The difference between two single and                                  13.4.2.1 GROUP ]- The difference between two single and
independent results obtained by different operators working in                           independent results obtained by different operators working in
different laboratories on identical test material would, in the                          different laboratories on identical test material would, in the
normal and correct operation of this method, exceed the values                           normal and correct operation of this test method, exceed the
calculated from Table 9 in only one case in tweoty.7                                     values calculated from Table 8 iu only one case in tweaty.7
   13.3.2.2 GROUPS 2, 3, and 4-The difference between two                                   13.4.2.2 GROUPS 2, 3, and 4-The difference between two
single and independent results obtained by different operators                           single and independent results obtained by different operators
working in different laboratories on identical test material                             working in different laboratories on identical test material
would, in the normal and correct operation of this test method,                          would, in the normal and correct operation of this test method,
exceed the values calculated from the data in Table 9 in onl y                           exceed the values calculated from Table 10 in only one case in
one case in twenty.8                                                                     twenty.
   13.4 Automated Method:                                                                   13.5 Bias:
   13 .4. 1 Repeatability:                                                                  13.5.1 Bias- Due to the use of total immersion thermom-
   13.4.1.l GROUP I-The difference between successive                                    eters, or temperature sensing systems designed to emulate
results obtained by the same operator with the same apparams                             them, the distillation temperatures in this test method are
under constant operating conditions on identical test material                           somewhat lower than the true temperatures. The amount of
would, in the long run, in the normal and correct operation of                           bias depends on the product being distilled and the thermom-
this test method, exceed the values calculated from Table 8 in                           eter used.
only one case in twenty.                                                                    13.5.2 Relative Bias-There exists a bias between the
   13.4.1.2 GROUPS 2, 3, and 4-The difference between                                    empirical results of distillation properties obtained by this test
successive results obtained by the same operator with the same                           method and the true boiling point distillation curve obtained by
apparatus under constant operating condi tions on identical test                         Test Method D 2892. The magnitude of this bias, and how it
material would, in the long nm, in the normal and correct                                relates to test precision, has not been rigorously studied.
operation of this test method, exceed the values calculated                                 13.5.3 Relative Bias-An interlaboratory study5 conducted
from Table lO in only one case in twenty.                                                in 2003 using manual and automated apparatus has concluded
   13.4.2 Reproducibility:                                                               that there is no statistical evidence to suggest that there is a bias
                                                                                         between manual and automated results.
   ' Precision da1a ob1ained from RR srndy on bOlh manual and autommed D 86              14. Keywords
uni1s by Nor1h American Hnd IP L abomtories.
   'Table 9 has been derived from the nomograpb.s in Figs. 6 and 7 in AST!vl                14. 1 batch distillation; distillates; distillation; laboratory
D 86- 97.                                                                                distillation; petroleum products




                                                                                    14



                                                                                    JA291                                                               ASTM001 201
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                                     TABLE 1O Repeatability and Re producibility for Groups 2, 3 and 4 (Automated)
                                                              Repeatabilily"                                                     ReproducibilityA
       Collecteo, %
                                                    ·c                                 •F                           ·c                                   "F
       IBP                                   3.5                                 6.3                          8.5                               15.3
       2%                                    3.5                                 6.3                          2.6 + 1.92Sc                      4.7 + 1.92S,,
       S 'o/o                                1.1 + 1.08Se:                       2.0 + 1.oss.                 2.0 + 2.53Sc;                     3.6+2.53S,,
       10%                                   1.2 + 1.42Sc                        2.2 + 1.42Sr                 3.o +2.64Sc                       5.4 +2.645,.
       20-70%                                1.2+ 1.42Sc                         2.2,. 1.42Sr-                2.9 + 3.97Sc                      5.2+3.97S,
       80%                                   1.2 + 1.42Sc                        22 + 1.42Sr-                 3.0 +2.64Sc                       5.4 + 2.64SF
       90- 95%                               1.1 + 1.08Sc                        2.0 + 1.08SF                 2.0 + 2.53Sc                      3.6+2.53SF
       FBP                                   3.5                                 6.3                          10.5                              18.9
 A Sc or S,     is the average slope (or rate of change} calculated in accordance with 13.5.




                                                                               ANNEXES

                                                                     (Mandatory Information)

                                        Al. REPEATABILITY AND REPRODUCIBILITY DEFINITION AIDS

  A l.l Table Al.l is an aid for determining which repeat-
ability and reproducibility table or section, is to be used.




                                    TABLE A1.1 Summary of Aids for Definition of Repeatability and Reproducibility
                                                                                                                              Table or Section to Use
           Group                              Method                        Temperature Scale
                                                                                                                Repeatability                       Reproducibility
                                        Manual                              •c                                     Table 8                             Table 8
                                                                            •F                                     Table e                             Table 8
                                        Automated                           ·c                                     Table 8                             Table 8
                                                                            •F                                     Table 8                             Table 8
       2.3.4                            Manual                              ·c                                     Table 9                             Table 9
                                                                            •F                                     Table 9                             Table 9
       2,3,4                            Automated                           •c                                    Table 10                            Table 10
                                                                            •F                                    Table 10                            Table 10




                                                     AZ. DETAILED DESCRIPTION OF' APPARATUS

   A2.l Distillation Flasks-Flasks shall be of heat resist.ant                                 A2.2.2 The condenser s hall be set so that 393 ::!: 3 mm of the
glass, constructed to the dimeasioas and tolerances showa in                                tube is in contact with the cooling medium, with 50 ::!:: 3 mm
Fig. A2. l and shall otherwise comply with the requirements of                              outside the cooling bath at the upper end, aud with 114 ± 3 mm
Specification E 1405. Flask A (100 ml) may also be con-                                     outside at the lower end. The portion of the tube projecting at
structed with a ground glass joiut, iu which case the diameter                              the upper end shall be set at an angle of 75 ± 3° with the
of the neck s hall be the same as the 125-mL flask.                                         vertical. T he portion of the mbe inside the condenser bath shalJ
                                                                                            be either straight or bent in any suitable continuous smooth
  NoTE A2.l - For tests specifying dry point. spec ially selected flasks
with bottoms and walls of uniform thickness arc desirable.
                                                                                            curve. The average gradienL shall be 15 ± I O with respect co
                                                                                            the horizontal, with no 10-cm section having a gradient outside
  A2.2 Condenser and Condenser Batiz- Typical types of                                      of the 15 ± 3° range. The projecting lower portion of the
condenser and condenser baths are illustrated in Figs. I and 2.                             condenser tube shall be curved downward for a leugth of 76
                                                                                            mm and the lower end shall be cut off at an acute angle.
   A2.2. l The condenser shall be made of seamless noncorro-                                Provisions shall be made to enable the flow of the d istillate co
sive metal tubing, 560 ± 5 mm in length, with an omside                                     ru n down the side of the receiving cylinder. This can be
diameter of 14 mm and a wall thickness of 0.8 to 0.9 mm.                                    accomplished by using a drip-deflector, which is attached to the
 NorE A2.2- Brass or sraiuless steel has been found to be a suirable                        outlet of the tube. Alternatively, the lower portion of the
material for this purpose.                                                                  condenser tube can be curved slightly backward to ensure

                                                                                      15



                                                                                      JA292                                                                   ASTM001202
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contact with the wall of the receiving cylinder at a point 25 to                A2.6 Flask Support Board-The flask support board shall
32 mm below the top of the receivi ng cylinder. Fig. A2.3 is a               be constructed of ceramic or other heat-resistant material, 3 to
drawing of an acceptable configuration of the lower end of the               6 mm in thickness. Rask support boards are classified as A, B,
condenser tube.                                                              or C, based on the size of the centraIJy located opening, the
   A2.2.3 The volume and the desig n of the bath will depend                 dimension of which is shown in Table l. The flask support
on the cooling medium employed. The cooling capacity of the                  board shall be of sufficiem dimension co ensure that thennal
bath shall be adequate to maintain the requ ired temperamre for              heat to the flask only comes from the central opening and that
the desired condenser performance. A single condenser bath                   extraneous heat to the flask other than through the central
may be used for several condenser mbes.                                      opening is minimized. (Warning- Asbestos-containing mate-
                                                                             rials shall not be used in the construction of the flask support
  A2.3 Metal Shield or Enclosure for Flask. (Manual units
                                                                             board.)
only).
    A2.3. l Shield .for Gas Burner (see Fig. ))- The purpose of                 A2.7 The flask support board can be moved slightly in
this shield is to provide protection for the operator and yet                different directions on the horizontal plane to position the
a llow easy access to the burner and to the distillation flask               distillation flask so that direct heat is applied to the flask only
during operation. A typical shield would be 480-mm high,                     through the opening in this board. Usually, the position of the
280-mm long and 200-mm wide, made of sheet metal of                          flask is set by adjusting the length of the s ide-ann inserted into
0.8-mm thickness (22 gauge). The shield shall be provided                    the condenser.
with at least one window to observe the dry point at the end of
the distillation.                                                               A2.8 Provision shall be made for moving the flask support
    A2.3.2 Shield .fr)r Electric Heater (see Fig. 2)-A typica l              assembly vertically so that the flask support board is in direct
shield would be 440-mm high, 200-mm long, and 200-nun                        contact with the bottom of the distillation flask during the
wide, made of sheet metal of approximately 0.8-mm thickness                  distillation. The assembly is moved down to allow for easy
(22 gauge) and with a window in the front side. The shield shall             mounting and removal of the distillation flask from the unit.
be provided with at least one window to observe the dry point
at the end of the distillation.                                                 A2.9 Receiving Cylinders-The receiving cylinder shall
   A2.4 Heat Source:                                                         have a capacity to measure and collect 100 mL. The shape of
                                                                             the base shall be such that the recei ver does not topple when
   A2.4.l Gas Burner (see Fig. 1), capable of bringing over
                                                                             placed empty on a surface inclined at an angle of 13° from the
the fi rst drop from a cold start within the time specified and of
                                                                             horizontal.
continuing the distillation at the specified rate. A sensitive
manual control valve and gas pressure regulator to give                         A2.9.l Manrwl Method-The cylinder shall be graduated at
complete control of heating shall be provided.                               intervals of 1 mL and have a graduation at the 100-mL mark.
   A2.4.2 Electric Heater (see Fig. 2), of low heat retention.               Construction details and tolerances for the graduated cylinder
                                                                             are shown in Fig. A2.4.
  NoTE A2.3- Hearers, adjusrable from O co 1000 W. have been found 10
be suitable for this purpose.                                                   A2.9.2 Aucomated Meilwd-The cylinder shall conform to
                                                                             the physical specifications described in Fig. A2.4, except that
  A2.5 Flask Support:                                                        graduations below the 100-mL mark are permitted, as Jong as
   A2.5.l Type J-Use a Type l flask support with a gas                       they do not interfere with the operation of the level follower.
burner (see Fig. 1). This support consists of either a ring                  Receiving cylinders for use in automated units may also have
support of the ordinary laboratory type, 100 mm or larger in                 a metal base.
diameter, supported on a stand inside the shie ld, or a platform                A2.9.3 If required, the receiving cylinder shall be immersed
adjustable from the outside of the shield. On this ring or                   during the distillation to above the 100-mL graduatio n line in
platform is mounted a hard board made of ceramic or o ther                   a cooling liquid contained in a cooling bath, such as a tall-fonn
heat-resistant material, 3 to 6 mm in thickness, with a central              beaker of clear glass or transparent plastic. Alternatively, the
opening 76 to 100 mm in diameter, ru1d outside line dimensions               receiving cylinder may be placed in a thennostated bath air
slightly smaller than the inside boundaries of the shield.                   circulation chamber.
   A2.5.2 Type 2-Use a Type 2 flask support assembly with
electric heating (see Fig. 2 as one example). The assembly                     A2.l O Residue Cylinder-The graduated cylinder shall
consists of an adjus table system onto which the electric heater             have a capacit-y of 5 or 10 mL, with grad uations into 0.1 mL
is mounted with provision for placement of a flask support                   subdivisions, beginning at 0.1 mL. The top of the cylinder may
board (see A2.6) above the electric heater. The whole assembly               be flared, the other properties shall conform to Specification
is adjustable from the outside of the shield.                                E 1272.




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                                                                        JA293                                                     ASTM001203
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                                                                ,0 D86-07
                   /   RaNFORCINO BEAD                                           / REINFORCtNO IIEAD

     .---- - -.,.:....~                               ~ - -- -~ -~
                            17.6 :t 1.3 mm 1.0                                            17.6 t 1.3 mm I.D.
                            2.1 ±0,7 mm WALL                                               1.1 ! 0.7 mm WALL
                                                                                                                                                 17.6 :!:. 1,3 1.0 .
2 t5 t3 mm                                        215 1 3mm                                                        2 15 t 3mm
                                                                                                                                                  2.1 t 0.7 mm WALL




                             1.t 0.5fflffl 0.0.                                              1 , o.s ..... 0 .0.                                        J t. 0.5 mm 0 .0.
                           1.0 t 4. t5""" WALL                                             1 .0 t4.11mm WAil.                                       1.0 .t 0.15 IMI WALL
                                                         137tJfflft\




             +-as t 1 """ 0.0.-                                        +- U t. 1 ,._ 0 ..0. _...                                ..,69.1 1 mm OD._.,.
              t.S .t O..SnvnWAU                                          1.S t 0.$ m,n WALL                                       t.$ .t O.S m,a WALL



             Flask A, 100 ml                                           Flask B, 125 mil                                         Flask B, 125 ml
                    FIG. A2.1 Flask A, 100 ml, Flask B, 125 ml, and Flask B with Ground Glass Joint, 125 ml




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                                                                               JA294                                                                        ASTM001204
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                                     ,0 D86-07
                  16.9 .± 0.3 mm ID




                        ~          <-    17.6 + 1.3 mm
                     N---+-,ftwo..... 2 .1 + 0. 7 mm




       -.....
       -..I
       H-
       ......




                            FIG. A2.2 Detail of Upper Neck Section




                                              18



                                             JA295                   ASTM001205
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                                           0 086-07
                   dimensions In mm




                                       Approx.2

                                       Approx.so



                              Lower End of CondenserTube
                            FIG. A2.3 Lower End of Condenser Tube


                             Dimension$ in mm
                                                        Fire PClllshed




                                                         1.75±0.25
                                                         Wall Thickness
                                                   ml




                                '°+I
                                ~




                     NOTE--! to 100 mL in l mL graduaLions; tolerance :± 1.0 ml..
                              FIG. A2.4 100 ml Graduated Cylinder




                                                   19



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         A3. DETERJ.\,ONATION OF THE DIFFERENCE IN LAG TIME BETWEEN AN ELECTRONIC TEMPERATURE
                         MEASUREIVIENT SYSTEM AND A MERCURY-IN-GLASS THERMOMETER

   A3.l The response time of an electronic temperarure                              A3 .2.2 Best results are obtained with a sample that is typical
measuring device is inherently more rapid than that of a                         of the sample load of the laboratory. Alternatively, use a
mercury-in-glass thermometer. The temperatur e measuring                         full-range mixtme with a 5 to 95 % boiling range of at least
device assembly in general use, consisting of the sensor and its                 100°c .
casing, or an electronic system and its associated software, or                     A3.3 Replace the electronic temperature measuring device
both, is so designed that the temperature measuri ng system will                 with a low range or a high range mercury-in-glass thermom-
simulate the temperature lag of the mercury-in-glass thennom-                    eter, depending on the boiling range of the sample.
eter.
                                                                                   A3 .4 Repeat the distillation with this thermometer, and
   A3.2 To determine the d ifference in lag time between such                    manually record the temperamre at the various percent recov-
a temperature measuring system and a mercury-in-glass ther-                      ered as described in 10.14.
mometer, analyze a sample such as gasoline, kerosin e, jet fuel,                   A3.5 CaJculate the values for the repeatability for the
or light diesel fuel with the electronic temperature measure-                    observed slope (fl.TIA V) for the different readings in the test.
ment system i n place and in accordance with the procedures
described in th is test method. In most cases this is the standard                  A3 .6 Compare the test data obtained using these two
                                                                                 temperature measuring devices. The difference at any point
distillation step performed with an automated unit
                                                                                 shall be equal to, or less than, the repeatability of the method
  A3.2. I Do not use a single pure compound, a very narrow                       at that point. If this difference is larger, replace the electronic
boiling range product, or a synthetic blend of less than six                     temperau1re measuring device or adjust the electronics in-
compounds for this test.                                                         volved, or both.


     A4. PROCEDURE TO DETERMINE THE PERCENT EVAPORATED OR PERCENT RECOVERED AT A PRESCRIBED
                                      TEMPERATURE READING

   A4. l M any specifications require specific percentages                       while taking into account A4.5 and A4.6.
evaporated or recovered at prescribed temperature readings,
either as maxima, minima, or ranges. The procedures to                              A4.5 Manual Distillation:
detennine these values are frequently designated by the tenns                       A4.5.1 In the region between about l0°C below a nd 10°C
Exxx or Rxxx, where xxx is the desired temperature.                              above the desired expected temperature read ing determined in
  Nore A4. I-Regula1ory standards on the certificarion of reformulated           A4.3 record the temperature reading in intervals of l volume
gasolu1e under 1he complex model procedure rtxtuire the determi nation of        %.
E 200 and E 300, defined as the percem evapora1ed fuel at 93.3°C (200°F)            A4.S.2 If the intent of the distillation is to solely determine
and l48.9°C (300°F), respectively. E 158, the percent evaporated at a            the value of Exxx or Rxxx, discontinue the distillation after at
distillmion cemperamre of 70°C ( l58°F). is also u,;ed in describing fuel
                                                                                 least another 2 mL of distillate have been collected. Otherwise,
vola1ility characteriStics. Ocher 1ypical 1emperamres are R 200 for kero-
                                                                                 coutinue the di stillation, as described in Section l 0, and
sines and R 250 and R 350 for ga~ oils, where R 200, R 250, and R 350
are the percent recovered fuel at 200°C, 250CC, and 350°C, respectively.         determine the observed loss, as described in ll.l.
                                                                                    A4.5.2.1 If the intent of the distillation is to determine the
  A4.2 Detem1ine the barometric pressure, and calculate the                      value of Exxx and the distillation was terminated after about 2
correction to the desired temperature reading using Eq 3, Eq 4,                  ml of distillate was collected beyond the desired temperature,
or Eq 5 for l = xxx° C (or Ir= xxxQF).                                           allow the distillate to drain into the receiving graduate. Allow
  A4.2. l Manual Method- Determine this correction to                            the contents of cbe flask to cool to below approximately 40°C
0.5°C (l °F).                                                                    and then drain its contents into the receiving graduate. Note the
  A4.2.2 Au1omated Method-Determine this correction to                           volume of product in the receiving graduate to the nearest 0.5
0. 1°C (0.2°F).                                                                  mL at 2 min intervals until two successive observations agree.
                                                                                    A4.5.2.2 The amount recovered in the receiv ing graduate is
   A4.3 Detennine the expected temperature reading co yield                      the percent recovery. Determi ne the amount of observed loss
xxx°C (or xxx°F) after the barometric correction. To obtain the                  by subtraccing the percent recovery from 100.0.
expected value, add the absolute value of the calculated
correctio n to the desired temperatttre if the barometric press1u-e                A4.6 Awomated Dis1il/ation:
is above 101.3 kPa. If the barometric pressure is below 101.3
                                                                                   A4.6. l In the region between about l0°C below and l0°C
kPa, subtract the absolute value of the calculated correction
                                                                                 above the desired expected temperature reading determined in
from the desired temperature.
                                                                                 A4.3, collect temperature-volume data at 0. 1 volume % inter-
  A4.4 Perform the distillation, as described in Section 10,                     vals or less.

                                                                            20



                                                                            JA297                                                     ASTM001207
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                                                              ,0 D86-07
  A4.6.2 Continue the distillation, as described in Section 10,                 A4.8.2 Calculate the slope or rate of change in temperature
and determine the percent loss, as described in 11. l.                       reading, Sc(or SF), as described in 13.2 and Eq 11 and using
                                                                             cemperamre values bracketing the desired temperature.
   A4.7 Calculations:
                                                                                A4.8 .3 Calculate the repeatability, r, or the reproducibility,
   A4.7.l Manual Method-If a volume % recovered reading                      R, from the slope, Sc (or SF), and the data in Table 8, Table 9,
is not available at the exact temperature calculated in A4.3,
                                                                             or Table 10.
detennine the percent recovered by interpolation between the
two adjacent readings. Either the linear, as described in 11.6.1,               A4.8 .4 Determine the repeatability or reproducibil ity, or
or the graphical procedure, as described in 11.6.2, is permitted.            both, of the volume % evaporated or recovered at a prescribed
The percent recovered is equal co Rxxx.                                      temperature from the following formulas:
   A4.7.2 Automated Method-Report the observed volume to                                             'volume o/o = r/Sc(Sp)                (A4.l)
0.1 volume % corresponding co the temperamre closest to the
expected temperature reading. This is the percent recovered, or                                                                            (A4.2)
Rxxx.
   A4.7.3 Manual and Automated Methods-To determine the
value of Exxx, add the observed loss to the percent recovered,               where:
Rxxx, as determined in A4.7 .1 or A4.7 .2 and as described in Eq             ,.volume %     = repeatability of the volume % evaporated or
9.                                                                                              recovered,
   A4.7.3. l As prescribed in 12.6, do not use the corrected                  Rvolume % = reproducibility of the volume % evaporated
loss.                                                                                           or recovered,
                                                                              r                 repeatability of the temperamre at the pre-
   A4.8 Precision:                                                                              scribed temperature at the observed percent
   A4.8. l The statistical determination of the precision of the                                distilled,
volume % evaporated or recovered at a prescribed temperature                  R             = reproducibility of the temperarure at the
has not been directly measured in an interlaboratory program.                                   prescribed tem peramre at the observed per-
It can be shown that the precision of the volume % evaporated                                   cent distilled, and
or recovered at a prescribed temperatme is equivalent to the                  Sc(SF)        = rate of change in temperanrre reading in °C
precision of the temperature measurement at that point divided                                  (°F) per the volume % evaporated or recov-
by the rate of change of temperamre versus volume %                                             ered.
evaporated or recovered. The estimation of precision becomes                    A4.8.5 Examples on how to calculate the repeatability and
less precise at high slope values.                                           the reproducibility are shown in Appendix X2.



                                                              APPENDIXES

                                                        (Nonmandatory Information)

                         XI. EXAMPLES ILLUSTRATING CALCULATIONS FOR REPORTING OF DATA

  X l.l The observed d istillation data used for the calculation               Xl.2.1 Temperantre reading at 10 % evaporated (4.7 %
of the examples below are shown in the first three columns of                observed loss= 5.3 % recovered ) (see 11.6. 1) are as follows:
Fig. Xl.l.                                                                                    Twd°C) = 33 7 + 1(40.3 - 33.7)               (Xl.5)
 Xl.l.l Temperature readings corrected to 101.3 kPa (760                                         (5.3 - SJ/(10 - Si) = 34. 1°C
mm Hg) pressure (see 11.3) are as follows:
                                                                                              Twe (°F) = 92.7 + 1(104.5 - 92.7)            (Xl.6)
         correction (°C) = 0.0009 (101.3 - 98.6) (273 + i,)   (Xl.l)                             (5.3 - 5)/(10 - 5)] = 93. J°F
          correction (°F) = 0.00012 (760 - 740) (460 + 11)    (Xl.2)
                                                                               Xl.2.2 Temperarure reading at 50 % evaporated (45.3 %
  Xl. l.2 Loss correction to 101.3 kPa (see 11.4) are as                     recovered) (see 11.6. l ) are as follows:
follows. The data for the examples are taken from Fig. X l. l.
                                                                                              T511c(°C) = 93.9 + 1(108.9 - 93.9)           (Xl.7)
                corrected loss = (0.5 + (4.7 - 0.5)/          (X l.3J
                                                                                              (45.3 - 40Jt(50 - 40)) = 101.9°c
                   (1 + (101.3 - 98.6)/8.0} = 3.6
                                                                                               Tso/! (°F) = 201 + ((228 - 201)             (Xl.8)
  Xl.1.3 Recovery correction to 101.3 kPa (see 11.4.l) are as                                 (45.3 - 40)/(50 - 40)) = 215 3°F
follows:
                                                                               Xl.2.3 Temperature reading at 90 % evaporated (85.3 %
           corrected recovery = 94.2 + (4.7 - 3.6) = 95.3     (Xl.4)
                                                                             recovered ) (see 11.6.1) are as follows:
  X l.2 Temperature Readings at Prescribed Percent Evapo-                                   T91111 ("C)   = 181.6 + 1(201.6 - 18 l.6)      (Xl.9J
rated:                                                                                        (85.3 - 85 )/(90 - 85) l = 182 8°C


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                                                                        JA298                                                           ASTM001208
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                                                                 0 086-07
                 Tcx1E(°F) = 358.9 + [(394.8 - 358.9)            (Xl.LO)                s...,1., 10,
                                                                                        Date enel yzed:                        8-aronetri(; pressure:   98. 6 It.Pa
                   (85.3 - 85)/(90 - 85) ) = 361.0°F                                    EquipNnt No:                           Analyst :
                                                                                        Ronerks:
   Xl.2.4 Temperamre reading at 90 % evaporated (85.3 %                                              hroretric pres-sure
                                                                                                  observed       corrected                      procedure
recovered) not corrected to 101.3 kPa pressure (see 11.6 . l ) are                                98.6 kPa       101.3 l<.Pa             aritlMMtlcal / ~
as foUows:                                                                           X
                                                                                  recovered
                                                                                                  740 OIi Ht
                                                                                                 •c        •F
                                                                                                                 760 • Hg
                                                                                                                  •c         •F
                                                                                                                                       X
                                                                                                                                     evaporated •c
                                                                                                                                                  t .....  .,
                 T9ue(°C) = 180..5 + [(200.4 - 180.5)            (XL.LL )               18P      2'5 . 5    78   26.2       79.2       s      26. 7      80.0
                                                                                          5      33.0       91   33.7       92.7       10     34. 1      93 . 4
                   (85.3 - 85)/(90 - 85)) = L8L.7°C                                      10      39.5      103   40. 3     104 . S     15     40.7      105.2
                                                                                         15      46.0      115    46.8     116. 2      zo     47. 3     117. 1
                    T9<Je (°F) = 357 + [(392 - 357)              (Xl.12)                 zo      54.S      130    5S.l     131.S       30     65.7      150 .2
                                                                                         30      74.0      165    74.8     166.7       40     84 .9     184.9
                   (85.3 - 85)/(90 - 85)) = 3.591°F                                      40      9l.O      199    93.9     201 . 0     50     101.9     215.l
                                                                                         50     1oa.o      226   108.9     228 .0      60     116.9     242.4
                                                                                         60     123. 0     253   124.0     255 . 1     70     134. 1    273.3
  NoTE XLL- Resuhs calculated from °C daca may not correspond                            70     142.0      288   143. 0    289.4       80     156.0     312.8
                                                                                         BO     166.5      332   167. 6    333.6       85     168.4     335.1
exactly to results calculated from °F data because of errors in rounding.                8S     180.5      357   181.6     358.9       90     182.8     361.0
                                                                                         90     200.4      393   201.6     394.8       95     ZOZ.4     396.3
                                                                                         EP     21S . O    419   216.2     421.1
                                                                                 recovered, X    94.2             95 . 3
                                                                                 r6idue , X       1. 1             1. 1
                                                                                 loss, X.         4.7              l .6
                                                                                                  FIG. X1 .1 Example of Test Report




                                                                            22



                                                                            JA299                                                             ASTM001209
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                                                          ,0 D86-07
  X2. EXAMPLES OF CALCULATION OF REPEATABILITY AND REPRODUCIBILITY OF VOLUME % (RECOVERED OR
                       EVAPORATED) AT A PRESCRIBED TEMPERATURE READING

  X2.l Some specifications require the reporting of the                                                          = 9.8
volume % evaporated or recovered ac a prescribed temperature.                X2.2.3 From the calculated value of R, determine the value
Table X2. l shows the distillation data of a Group 1 sample as             of volume, as described in A4.8.4.
obtained by an automated unit.
                                                                                                      R volume % = R!(Sc)                        (X2.3)
  X2.2 £-rample Calculation:                                                                                = 5.5/ U
   X2.2. l For a Group 1 sample exhibiting distillation charac-                                                  = 5.0
teristics as per Table X2. l , as detennined by an automated unit,                                    R volume % = Rl(Sp)
the reproducibility of the volume evaporated,Rvolume %, at
93.3°C (200°F) is determined as follows:                                                                    = 9.8/l.9
   X2.2. l.l Oetennine first the slope at the desired tempera-                                               = 51
mre:
                     Sc%= 0.1 (T 1201 - T ,,oi)             (X2 .1)        TABLE X2.1 Distillation Data from a Group 1 Sample Automated
                                                                                                     Distillation
                          = 0 .1 (94 - 83)
                                                                                                                                      Volume (ml)
                                                                           Distillation Point
                               = 1. 1                                                           Temperature• C      Temperature °F   Recovered at
                                                                           Recovered, ml
                                                                                                                                     93.3•C (200°F)
                     s, % = 0.] (T   (20) -   T ( IOJ)
                                                                                                                                          18.0
                         = 0. 1 (201 - 182)                                       10                  84                 183
                                                                                  20                  94                 202
                               = l.9                                              30                 103                 217
  X2.2.2 From Table 9, determine the value of R, the repro-                       40                 112                 233
ducibility at the observed percentage distilled. In this case. the         Distillation Point
                                                                                                                                      Volume (mlO
                                                                                                Temperature• C      Temperature• F   Evaporated at
observed percentage distilled is 18 % and                                  Evaporated, ml
                                                                                                                                     93.3°c c200· F>
                          R = 3.3 + 2.0 (Sc)                (X2.2)                                                                        18.4
                         = 3.3 + 2.0 X l.l                                        10                  83                 182
                                                                                  20                  94                 201
                               = 5.5                                              30                 103                 2 17
                                                                                  40                 111                 232
                        R = 6.0 + 2.0 (Sp)
                         = 6.0 + 2.0 X 1.9


               X3. TABLES OF CORRECTED LOSS FROM MEASURED LOSS AND BAROMETRIC PRESSURE

  X3 .1 The table presented as Fig. X3 .1 can be used co                     X3.2 The table presented as Fig. X3.2 can be used to
determine the corrected loss from the measured loss and the                determine the corrected loss from the measured loss and the
barometric pressure in kPa.                                                barometric pressure in mm Hg.




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                                                                      JA300                                                            ASTM001210
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                                                                                                        ,0 D 86-07
8aromffie PreMUe, kPa

          t om          76.1     80.9    84,5      87.3     89.6    Q1.5     ~3.1     94.1      95.5    86.4     97.2     97.9      98.4     98.9    99.5      100.0 100.4 100.8          101.2 101.5 102.0 102.4 102.8                   100.2
     ltv<><lgh          80.8     84.4    87.2      89.5     91,4    93.0     94.0     95.4      86.3    97.1     97.8     98.3      98.8     99.4    99.9      100.~ 100.7 101.1          101.4 101.9 102.3 102.7 103.1                   100.5

  Obse,lled
    Loss             I- - Cotrected Lo.. - - - - - >
    Urits
              6        0 .37     0.35    0 .33     0.3 1    0.29    0.27     0.25     0.23      o.zo     0 .18 0 .16      0.14      0.13     0. 11   0.09      0.06     0 .04     0.02    -o.oo - 0.02 -0.06 - o.09 -0.13 -0.17
                 l     0 .63     0.65    0.67      0.69     0 .71   0.73     0 .75    0.78      0.80     0.82 0 .8 4      0.86      0.87     0.89    0.92      0.94     0.96      0.98     1.00     1.03     1.06      1.09      1.13      1.17
             2         0.89      0.95    1.01      1.08     1. 14   1.20     1.26     1.33      1.40     1.46  1.52       1.57      1.62     1.68    1.75      1,81     1.87      1.94     2.00     2.oe      2. )7    2.27      2.38      2.51
             3         1.15      1.25    1.36      1.4(5    1.57    1.67     1.77     1.88      1.99     2.09 2.19        2.28      2,37     2.47     2.:se    2.69     2.79      2.90     3.00     3.13     3 .29     3.45      3.83      3.84
             4         1.41      1.56    1.70      1.84     1.99    2.14     2.28     2.43      2.59     2.73 2.87        3.00      3.12     3.26     3.41     3.56     3 .70     3.85     4.00     4.18      4.40     4.63      4,89      5.18
             5         1.68      1.86    2.04      2.23     2.42    2.61     2.79     2.98      3.19     3.37 3.55        3.71      3.87     4.05     4.25     4,44     4.62      4.81     5.00     5.23      5.51     5.81      6.14      6.52
             6         1.94      2.16    2.39      2.61     2.84    3.08     3 .JO    3.53      3.78     4.01  4.23       4.42      4.62     4.84     5.08     5.31     5.53      5.77     6.00     6.28     6 .63     6.99      7 .40     7.86
             7         2.20      2.46    2.73      3.00     3.27    3.55  3.80        4.08      4.38     4.65 4.90        5. 14     5.37     5.83     5.91     6.18     6.44      6.73     7.00     7.33      7.74     8.17      8.65      9.20
             8         2.46      2.76    3.07      3.38     3.70    4.02  4.31        4.63      4.98     5.28 5.58        5.85      6. 12    6.41     6.74     7.06     7.36      7.69     8 .00    8.38     8 .86     9.35      9.90     10.53
             9         2.72      3 .07   3.4!      3 .76    4.12    4.49  4.82        5.18      5 .57    5.92 6.26        6.56      6.87     1.20     7.57     7!¥J      827      8.65     9.00     9 .43    9 .97    10.53     11.16     11.87
            10         2.98      3 .37   3.76      4.15     4.55    4.96  5 .33       5.73      6 .17    6.56 6.94        7.28      7.62     7.99     8.41     8.81      9 .19    9.60    10.00    10.48    11.08     11.71     12.41     13.2 1
            11         3.24      3.67    4.10      4.53     4.97    5.43  5.84        6.28      6.77     7.20 7.61        7.99      8.37     8.78     9 .24     9 .68   10.10    10.56    11.00    11.53    12.20     12.89     13.6 7    14.55
            12         3.50      3.97    4.44      4.92     5.40    5.90  6.35        6 .83     7.36     7.84 8 .29       8.71      9.12     9.57    10.07     10.56    11.02    11.52    12.00    12.59    13.31     14.07     14.92     15.89
            13         3.76      4.27    4.78      5 .30    5.83    6.36  6.86        7.39      7.96     8.47 8.97        9.42      9.85    10 .36   10.90     11.43    11.93    12.48    13.00    13.64    14.43     15.25     16.17     17.22
            14         4.03      4.58    5.13      5.69     6.25    6.83  7.36        7.94      8.56     9.11  9 .64     10.13     10.61    11.15    11.74     12.31    12.85    13.44    14.00    14.69    15.54     16.43     17.43     18.56
            15         4.29      4.88    5.47      6.07     6.68    7.30  7.87        8.49      9.15     9.75 10 .32     10.85     11.38    11.93    12.57     13.18    13.76    14.40    15.00    15.74    16.66     17.61     !8.68     19.90
            16         4. 55     5. 18   5.81      6.45     7.10    1.n 8.38          9.04      9.75    10.39 11.00      11.56     12.11    12.72    13.40     14.06    14.68    15.38    16.00    16.79    17.77     18.79     !9.94     21 .24
            17         4.81      5.48    6.16      6.84     7.53    8 .24 8.89        9.59     10.35    11.03 11 .68     12.27     12.86    13.51    14.23     14.93    15.59    16.31    17.00    17.84    18.88     19.97     21.19     22.58
            18         5.07      5.78    6.50      7.22     7.96    8.71  9.40       10.14     10.94    11.66 12.35      12.99     13.61    14.30    15.07     15.80    16.50    17.27    18.00    18.89    20.00     21.15     22.44     23.91
            19         5.33      6.08    6.84      7.61     8.38    9.18  9.91       10.69     11.54    12.30 13.03      13.70     14.36    15.09    15.90     16.68    17.42    18.23    19.00    19.94    2 1.\ 1   22.33     23.70     25.25
            20         5.59      6.39    7.18      7.99     8.81    9.65 10 .41      11.24     12.14    12.94 13.7 1     14.41     15.11    15.88    16.73     17.55    18.3 3   19.19    20.00    20.99    22.23     23.51     24.95     26.59
T•nlhs
           o.o o.oo              0.00    0 .00     0.00     0 .00   0.00     0.00    0 .00     0.00     0.00     0 .00    0.00     0 .00    0.00     o.oo      0 .00    0 .00    0 .00     o.oo     o.oo     0.00     0.00       0.00      0 .00
           0 .1        0.03      0.03    0 .03     0 .04    0 .04   0.05     0.05    0.06      0.06     0.06     0.07     0.0 7    0.07     0 .08    0 .08     0 .09    0 .09    0.10      0. 10    0 .11    0.11     0 .12      0.13      0.13
         . 0.2         0.05      0 .06   0 .07     0 .08    0.09    0 .09    0 .10   0.11      0 .12    0 .13    0 .14    0 .14    0 .15    0 .16    0.17      0.17     0 .18    0 .19     0.20     0 .21    0.22     0 .24      0 .25     0 .27
           0.3         0.08      0.09    0. 10     0.12     0 .13   0.14     0.15    0.17      0.18     0 .19    0 .20    0 .21    0 .22    0.24     0 .25     0 .26    0.27     0.29      MO       0.32     0 .33    0 .35      0.38      0 .40
           0.4         0.10      0 .12   0 . 14    0 .15    0 .17   0.19     0 .20   0.22      0.24     0.26     0 .27    0.29     0.30     0.32     0.33      0.35     0 .37    0.38      0.40     0 .42    0 .45    0 .47      0 .50     0 .54
           0.5         0 .13     0.15    0 .17     0 .19    021     0.23     0 .25   0 .28     0.30     0.32     0 .34    0.36     0 .37    0.39     0 .42     0.44     0 .46    0.48      0.50     0 .53    0.56     0 .59      0 .63     0 .67
           0.6         0.16      0 .18   0.21      0.23     0 .26   0 .28    0 .31   0.33      0.36     0 .38    0 .41    0.43     0.45     0.47     0 .50     0.52     0.55     0.58      0.60     0 .63    0 .67    0.71       0.75      0.80
           0.7         0.18      0 .21   0.24      0 .27    0 ,30   0.33     0.36    0.39      0.42     0 .45    0 .47    0.50     0,52     0 .55    0 .58     0.61     0.64     0.67      0.70     0.74     0.78     0.83       0 .88     0 .94
           0.8         0 .21     0.24    0.27      0.31     0.34    0.38     0.41    0.44      0 .48    0 .51    0.54     0.5 7    0.60     0.63     0 .67     0.70     0.73     0.77      0.80     0.84     0.89     0 .94      1.00      1.07
           0.9         0 .24     0 .27   0.3t      0.35     0 ,38   0.42     0 .45   0.50      0 .54    0 .57    0 .61    0.64     0 .67    0 .71    0 .75     0.79     0 .82    0.86      0.90     0.95     1.00     1.06       1.13      120
                                                      FIG. X3.1 Corrected Loss from Observed Loss and Barometric Pressure kPa

Boromet-lc Pre...,e, mm Hg.
         ~om             571      607      634      655      672     686      6 98     706       716      723      729     734       738      742      746       750      753      756      759      762       765      768       771       774
    ll'rough             606      633      654      671      685     697      705      715       722      728      733     737       741      745      749       752      755      758      761      764       767      770       773       776

 Observed
    Loos             / -- Corrected LO.ss   ----->
   Units
             0          0 .37    0.35     0 .33    0.31     0.29     0 .270 .25 023             0.20     0.18     0.15     0.14     0.13     0 .11    0.09 0.o7 0.05              0.02 -0.00 - 0.03 - 0 .06 - 0.09              - 0 .13   - 0.17
             1          0.63     0.65     0.67     0.69     0.71     0 .730 .75 0.77            0 .80    0.82     0.84     0.86     0.87     0 .89    0 .91  0.93 0.95            0.98   1.00 1.03 1.06       1.09                1.13      1.1 7
             2          0.89     0.95     1.01     1.07     1.14     1.20 1.26   1.32            1.39    1.45     1.51     1.57     1.62     1.68     1.74   1.80  1.86           1.93   2.00 2.08 2.17 2.27                      2.38      2.50
             3          1.15     1.25     1.36     1.45     1.56     1.67 1.77   1.87           1.99     2.09     2.19     2.28     2.36     2.46     2.5 7 2.67   2.77           2.88 3.00    3 .13  3.28 3 .44                  3.63      3.83
             4          1.41     1.55     1.70     1.84     1.99     2.14 2.27 2.42             2.58     2.72     2.85     2.99     3.11     3.25     3.40   3 .54 3.68           3.83 4.00 4.19 4.39 4.62                        4.88      5.17
             5          1.67     1.86     2.04     2.22     2.41     2.61 2.78 2.97             3.18     3.36     3.54     3.70     3.86     4.03     4.23 4.41 4.59              4.79 5 .00 5.24 5.50 5.80                       6.13      6.50
             6          1.93     2.16     2.38     2.61     2.84     3.07 3.29 3 .52            3 .77    3.99     4.21     4.4 1    4.60     4.82     5.05 5.28 5.50              5.74 6 .00 6.29 6 .61 6.97                      7.38      7.84
             7          2.19     2.46     2.72     2.99     3.26     3.54 3 .79  4.07           4.36     4.63     4.88     5.12     S.35     5 .60    5 .88 6. 15  6.41           6.69 7 .00 7 .34 7 .72 8 .15                    8.63      9.17
             8          2.46     2.76     3 .0 7   3.37     3.69     4.01 4,30   4.62           4.96     5.27     5.56     5.83     6.09     6.38     6.71   7.<n 7.32            7.64 8 .00 8.40 8 .84 9 .33                     9.88     10.50
             9          2.72     3.06     3.41     3.75     4, 11   4,48  4.81 5 .17            5.55     5.90     6.23     6.54     6.84     7.17     7.54 7.89 8 .23             8.60 9.00 9 .45     9.95 10 .50               11 .13     11.84
           10           2.98     3.36     3.75     4.14     4.54    4,94  5.31 5.7 1            6.15     6.54     6.91     7.25     7.58     7.95     8.37 8.76 9.14              9.55 10.00 10.50 11.06 11.68                  12.38      13.17
           11           3 .24    3 .66    4.09     4.52     4.96    S.41  S.82 6 .26            6 .74    7.17     7.58     7 .96    8 .33    8.74     9.19   9.83 10.05          10.50 11.00 11 .56 12.17 12.86                 13.63     14.51
           12           3 .50    3.96     4.43     4.91     5.39    5.88  6.33 6.8 \            7 .34    7.81     8.26     8 .67    9 .07    9.52    10 .<n 10.50 10.96          11.46 12.00 12.61 13.28 14.00                  14.88      15.84
           13           3 .76    4.27     4.78     5.29     5 .81   6.35 6.83    7.36           7,93     8.44     8.93     9 .38    9.82    10.31    10.85 11.37 11.87           12.4 1 13,00 13.56 14.39 15.21                 16.13     17.17
           14           4.02     4.57     5. 12    5.6 7    6.24    6.82 7.34    7.91           8 .53    9.08     9.61    10.09    10.57    11.09    11 .68 12.24 12.78          13.36 14.00 14.71 15.51 16.39                  17.38     18 .51
           15           4.28     4.87     5.46     6 .06    6.66    7.28 7.85    8 .46          9 .12    9.71    10.28    10.80    11.31    11.88    12.51 13.11 13.68           14.31 15 .00 15.77 16 .62 17.57                18.63      19.84
           16           4.54     5.17     5.80     6.44     7.09    7.75  8.35 9.01             9 .72   10.35    10.95    11 .51   12.06    12.66    13 .33 13.98 14.59          15.27 16.00 16.82 17.73 18 .74                 19.88     2 1.1 8
           17           4.80     5 .47    6.1 4    6 ,82    7.51    8.22 8 .86 9.56            10.31    10.98    11.63    12.22    12.80    13.45    14,16 14.8S 15.50           16.22 17.00 17.87 18.84 19 .92                 21.13     22.51
           18           5 .06    5 .77    6.49     7.21     7.94    8. 69 9 .37 10.1 1         10.9 1   11.62    12.30    12.93    13.~     14.23    14.99 15.72 16.41           17.17 18.00 18.9'3 19.95 21 .10                22.38     23.84
           19           5.32     6.07    6.83      7.59     8.36    9.15  9 .88 10 .65         11.50    12.25    12.98    13.64    14.29    15.02    15.82 16.59 17.32           18.12 19.01 19.98 21.06 22.27                  23.64     25.18
           20           5.58     6 .37   7.17      7.97     8.79    9.62 10.38 11.20           12.09    12.89    13.6S    14.35    15.04    15.80    16.64 17.46 18.23           19.08 20.01 21.03 22.17 23.45                  24.89     26.5 1
Tenths
           0.0          0.00     0.00    0.00      0 .0 0   0.00    0.00     0 .00    0 .0 0    o.oo     0.00    0.00     o.oo      0 .00    0.00     o.oo o.oo          o.oo     o.oo     0.00     0 .00     0.00     0 .0 0    0.00      0.00
           0.1          0 .03    0.03    0 .03     0.04     0.04    0.05     0 .05    0 .05     0 .06    0 .06   0.07     0,07      0.07     0 .08    0 .08     0 .09    0.09     0 .10    0.10     0.11      0.11     0 .12     0 .13     0 .13
           0.2          0.05     0 .06   0.07      0 .08    0.08    0.09     0.10     0.11      0 .12    0.13    0 .13    0.14      0.15     0 .16    0.17      0 .17    0.18     0.19     0.20     0.21      022      0 .24     0 .25     0.27
           0 .3         0 .06    0 .09   0 .10     0 . 11   0 .13   0 .14    0.15     0. 16     0 .18    0 .19   0 .20    0.21      0.22     0 .24    025       0 .26    0.27     0.29     0.30     0 .32     0.33     0 .35     0 .38     0.40
           0.4          0 .10    0.12    0 .14     0 .15    0. 17   0.19     0.20     0.22      0.24     0.25    0.27     0.28      0.30     0.31     0 .3 3    0 .35    0.36     0.38     0.40     0.42      0.44     0 .47     0 .50     0.53
           0 .5         0. 13    0 .15   0 .17     0 .1 9   0.21    0.23     0 .25    0.27      0 .30    0 .32   0.34     0.35      0.37     0.39     0 .4 1    0.43     0.45     0.48     0.50     0.53      0 .56    0 .59     0 .63     0.67
           0.6          0. 16    0 .18   0 .21     0.23     0.25    0.28     0 .30    0.33      o.:ie    0 .38   0 .40    0.43      0.45     0.47     0.50      0 .52    0.55     0.57     0.60     0.63      0.67     0.71      0 .7 5    0.80
           0.1          0. 18    0.21    0..24     0 .2 7   0.30    0.33     0.35     0.38      0.42     0 .44   0.4 7    0 .50     0.52     0.55     0 .58     0 .61    0.64     0.67     0.10     0.74      0.78     0 .82     0.88      0.93
           0.8          0 .2 1   0.24    027       0 .3 1   0.34    0.37     0.41     0 .44     0.4a     0 .51   0.54     0.57      0.60     0.63     0.66      0 .70    0.73     0.76     0.60     0.84      0,89     0 .9 4    1.00      1.07
           0.9          0 .23    0 .27   0.31      0 .34    0 .38   0.42     0.46     0 .49     0.54     0 .57   0.61     0.64      0.67     0.71     0 .75     0 .78    0.82     0.86     0.90     0.95      1.00     1.06      1.1 3     1.20
                                                   FIG. X3.2 Corrected Loss from Observed Loss and Barometric Pressure mm Hg




                                                                                                                     24



                                                                                                                     J A301                                                                                               AST M00121 1
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                                                        ,0 D86-07
                           X4. PROCEDURE TO EMULATE THE EMERGENT STEM ERROR OF A
                                       MERCURY-IN-GLASS THERMOMETER

   X4. l When an electronic or other sensor without an                            ASTM 7C Td, = T, - 0.000162 X (T, - 20°C) 2     (X4.L)
emergent stem error is used, the output of this sensor or the
associated data system should emulate the output of a mercury-
in-glass thermometer. Based on information supplied by four                X4.3 When a high range thermometer would have been
manufacturers of automated Test Method D 86 equipment, the              used, no stem correction is to be applied below 35°C. Above
averaged equations shown in X4.2 and X4.3 have been                     this temperarure the correction is calculated using the follow-
reported to be in use.                                                  ing fonnula:
   X4.l.l The equations shown in X4.2 have limited applica-                       ASTM SC Te,., = T, - 0.000131 X (T, - 35°C) 2   (X4.2)
bility and are shown for infomrntion purposes only. In addition
to the correction for the emergent stem, the electronic sensor
and associated data system will also have to emulate the lag in         where:
response time observed for mercury-in-glass thermometers.               Te1,   = emulated temperature in °C for low range thermom-
                                                                                 eters,
   X4.2 When a low range thermometer would have been                    T~1,,. = emulated temperarure in °C for high range ther-
used, no stem correction is to be applied below 20°C. Above                      mometers, and
this temperarnre, the correction is calculated using the follow-        T1       true temperature in °C.
ing formula:


                                             XS. EXPLANATORY REPORT FORMS

  X5.l Fig. X5. l and Fig. X5.2 show report forms.




                                                                   25



                                                                   JA302                                                     ASTM001212
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                                                                                                                    ,0 D86-07
 "Percent Recovered" Report Form                                                                                                                                           Ambient terrc:ieralure at t he start of the
                                                                                                                                                                           test
Date:                                                                                                                                                                      Ambient baromel:Iic p1esSt., e at the start of


                                                                                                                   ~
Time                                                                                                                                                                           the test
Operator:
                                                                                                                                                                           vou me o f condensate obssrved in the
                                                                                                                                                                           recer,ing cylinder at .any p oint in the


                                                                                                              /
                                                                                                                  ///
                                                                                                                    /          ./""
                                                                                                                                                                           dlst1lat1or1, expressed as a percent aoe of the
                                                                                                                                                                           charge voluma, in com'l2ction with
                                                                                                                                                                           sin-,,,,ltaneous tan~erature reading
                                                     /'       ~
A,..
   m_b_,i-e~
           n1_1
              _e_m_,r
                    , ~e
                       - ra_1_u_re
Atmospheric pre,;sure (kP al     __'"~C=):'-t--------1/".,.,./ ~                                                                                                     -- ~Twlich
                                                                                                                                                                          -s_m
                                                                                                                                                                             _p_er_a
                                                                                                                                                                                   _t_u-c:orrected
                                                                                                                                                                                 are     re_meas
                                                                                                                                                                                             __·u-rlrto
                                                                                                                                                                                                   _1_o_101,
                                                                                                                                                                                                         d_e_v1-3ce-kPa
                                                                                                                                                                                                                     readl
                                                                                                                                                                                                                      - ·_ n_lJ_$__
-:C•l ndenser temoe rature (°C)                                                                                                                                            barometric: press,..-e
Temperatu re of the llath                                                                 _,/                        _.
arou nd receil'in{l c• 1inder ("C}                                            .,.,-/                              ---                                /                     Group 1, 2 & 3:                5 to 10 rrnnules
                                                                    ,.-/                               __,___.----                                .//                      Group 4:                        5 to 15 minutes
_ _ _ _ _ _ _P_e_rc_e_n_t__,-,::.:_C_o_r_re_ci
                                            _e_d_ _ =._T
                                                       _ i_m_
                                                            e _o_r_ __,                                                                     /'         -----1Group 1 & 2:                             60 to 100 seconds                                I
           Recovered        Ternperl!ttire                ml / mi11         _ , , / _____-                                                                                 ·                                                                            -
-----,.-----------1-....:.R::.::e:.:a:.:d:.:.ln  qf~O~ I - - - - - -~.- ~
                                              :.:.'.u                                   ~                                                                                  4 to 5 ml / min uniform avra\;le rat e from 5%
        1f----'-5      _--1-
           - ---'IB""'F- _ _-_-_           -_         ___
                                                 - --1-  -_-- _-  __  _../"'
                                                                    -..,.. _____                                                                                           reoJvered to 5 ml in flask

                                           10                                                                                                                    /         voume of condensate obssrved in the
                                           15                                                                                                           ./                 rec:er1ing cylinder when the 5ml c:cn:litJons
                                           20                                                                                                         ,./                  .t·e re.1c:had


                                           25
                                           30                                                                                      /                             /         Volime of condensate observed in the
                                           35
                                           40
                            ~====5=<1~:====:=============~=========~
                                                                      v  ·
                                                                   = ./::=:.,v
                                                                              .,.                                                                     //


                                                                                                                                                             /
                                                                                                                                                                           recer,ing cylinder w hen the final boiltng point
                                                                                                                                                                           is observed
                                                                                                                                                                           lr,
                                                                                                                                                                           '--1a-l(_lm_u_m
                                                                                                                                                                                         _ p_e_
                                                                                                                                                                                              rc_en
                                                                                                                                                                                                  _ t -re,:,:i
                                                                                                                                                                                                         -_-.,-Yer
                                                                                                                                                                                                                - e-d- - - - - - - - ' I
                                 55                          ./                                                                                   /
                                 60                       ./       .,                                                                       /           . / / Vol~me of residue in the Aask eJ(pressed as a
                            f----6""5"----+-------+--/--."---/--,""-l                                                                  ,/         /                        oercentaoe of the charoe voh.me
                            -___;7=0---+------,,-+r"---.,.-_.,,,..,,.,,..~v /
                                           75                                                 / /                         _.,,/.,--                                        Cornbined Perce11t Recovery and Perce11t
                                                                                                                                                                           ~si,:lue in the ffal1<
                                          80                                      /                /                 /                          ,.-/"
                                           ~~                   ./ . /                /       ./        / r -·~ r /          ~-_,,                          - -1Time from 5 ml in flask to FBP • < 5 minutes                                           I
5 m l residue
                                          95
                                                                /         /               /     / /      _,,.,. __,,,,   ~ _ _ . , . . , , - - - ~ ~ ~ 1100                        rninus the Tc,ta Recovery                                           I
FEiP                                                                          /            ./ '        -·"'         ===------
                                                                                                                       .---- __.----                                       Percer,t Recovery com;.cted for barometric
=--:---=-------.....<'-
                    / 7"'"-
                        / -,;;7'""'.,,
                                    _.--,                                                                                                                                  pre5$~l re
 Perc ent Re.cover\/                                       /~                   _,...-·                                                                                    ~ - - - - - - - - - - - - - ----'
"=p,.;;e::;rc::.;e;::n.:.:.1-=R~e::.:s.::a
                                      ·id~u::.;e~- - --,la.:::.,.,;.._"°"'"
                                                                       -"'...::::.......  -_..,-
                                                                                             - :,I-~----                                                     --- 1;:;~Pe=r=c=e=nt::-7"Lo::s=s-=c=o=rrec:=:t=e-::;d:.fo=r:;b.:-a::r=orns=-:-:tr:;:ic:----,
                                                                                                                                                                       1                             7

-=p=-'ecc.rc:ce:c.n.:.:.1-=r,.;o:.:ts:.:,l=:R..:ce..c_o_~'E-! r-y- ~ ~ -__.-
                                                                        --=-",:;__....--1_.                                                                                                   ,= _____________.
                                                                                                                                                                           ...._,.,_,.n.,.,.,,......
~P:..ie:!;rc~e::!n.!.!.1..!:La!:o~s:?.s_ _,,,...._ _...,1.,-.----a::::::...___..._...,,.._ _1_...,.:,C~o:!;n~
                                                                                                            ·e:!::c~
                                                                                                                  1e~d!..;L
                                                                                                                         :!o:!..:s~s:,..._ - - - -- - - -                  COmb111ed Perce11t Recovery .3nd Percent
 Co rrec1ed Percent Recoverv                                                      Correcled Total Recovet"li                                                               Res,du e in the flask corre::ted for baromet11c
                                                                                                                                                                           pressu re
Comm ents:

                                                                                                   FIG. XS.1 Percent Recovered Report Form




                                                                                                                              26



                                                                                                                              JA303                                                                                                  ASTM001213
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                                                                                           ,0 D86-07
 "Percent Evaporated· Report Form                                                               Laboratory:                                          An'ltierit t81'1l)eratue at the start of the
                                                                                                                                                     test
 Date:                                                                                                                                               Arltuit ba-ornetric i:ressu-e at the start of
                                                                                                                                                     the test
 Time
 Operator:      I                                                  I                                                                                Vd.me of cordensate observed in the
                                                                                                                                                    rece!mg ci,lincler at any porit in the
                                                                                                                                                    distlation, e)(l)'essed as .i percentaoe of the
                                                                                                                                                    c~ge voune, i1 correction with
                                                                                                                                                    sinutaneoos temperature rea:fn;J
                                                                                                                                                    TelTl)el'ature measurrg devl:e readings
 Ambient temperature (°Cl                                                                                                                           with are corrected to 101,3 kPa
 Atmosoheric oressure lkPal                                                                                                                         barometrie J;Jessue
 Condenser temperature (·CJ
                                                                                                                         ~ Sun of the perca,t reco-.ered end the
 Tel'Ol)erature of the bath
 arOUlld receivina cylinder ("C)                   /                                                                        ercent loss
                                                                                                                                            /        Tell'Cl8l'ature rreasum;i deviee readinQS at
                                   ./
                                                                                                                                                     specified percentages eval)Cl'ate:l c~ated
                                                                                                                         Temperature
                                                                                                                                                     With a'ittmetic~ er gra~cal a:rocedures
                                    Corrected                                                                             Readings at
                     Percent                                                Time o,               Percent                                  ,_. Group 0:               2 to s mnutes
                                                                                                                     ~
                                   Temperature
                    Recove,ed                                               ml / min            Evaporated
                                   Reading ("C)                                                                               t                     Group 1, 2 & 3: 5 to 10 minutes

                       IBP
                        5
                        10
                                                                                                     ----
                                                                                                     IBP
                                                                                                      5
                                                                                                      10
                                                                                                                     evaoorated ra                  Group 4:
                                                                                                                                                    Group 1& 2:
                                                                                                                                                                       5 to 15 mrotes
                                                                                                                                                                   60 to 100 seconds
                                                                                                                                                    GrwpO: tine frooi first applicatlal of heat ro
                                                                                                                                                    10% recovere:l = 3 to 4 rrinutes
                        15                                                                            15                                            Group 0, 1, 2, 3 & 4: 4 to 5 ml I min
                       20                                                                                20                                         ulifom avrage rate from 5% recowed to 5
                       25                                                                                25                                         ml i1 ftasl<
                       30                                                                                30                                         Volme of condansate observed in the
                       36                                                                                36                           /
                                                                                                                                           V        recei\ling cylin:ler when the 5ml ccnc:ltioos
                       40                                                                                ~                       ./                 are r~
                       45                                                                                45        ./
                       50                                                                                50 _,,,,-
                                                                                                                      _.,,,/
                                                                                                                                           v- receimg
                                                                                                                                              Vcbne of cm:lensate observed in the
                                                                                                                                                      ci,llrder when tre final boiling
                       55                                                                                5e-"'"                                     pont is observed
                       60                                                                       /ED                        /'
                       65                                                              /                 65     ~/
                                                                                                                                                    Maxrrun percent recovered
                       70                                                      /                     J.fY"                         _v
                       75                                              /                        /        75                 ~                       Vol.me of reslclie i1 the ftasl< 9J1Pressed as
                       00                                  /                           ~                 00          /           ~                  a l)E!fCentaoe of the charge vok.rne
                                                                           __.,,,.,-                                     .----
                                                                                                                          --
                       65                      /                                                     ~



 5 ml residue
                       9J

                       95
                                   /

                                   _.,,,/
                                                   ./
                                                                  _/




                                                                       /'
                                                                                   ~

                                                                                       ~
                                                                                           ,/

                                                                                                ,.,.--
                                                                                                         9"I __,/'
                                                                                                                                      --   i..---   Coniined Percent Recovery and Percent
                                                                                                                                                    Resi:1"8 tl the flask
                                                                                                                                                    Trne from 5 ml n Rask to FBP • < 5 rri'lutes
 FBP                                                   _,..,,--        .,.,,--             _, .-- FBP
                                                                                                         QI; - -


                                    .,,,,---
 Percent Recoverv                   __,.,,-             ----_..,                                                                                    100 rm.is the Total Recmerv
 Percent Residue
 Percent Total Recoverv
 Percent Loss
 Corrected Percent Recoverv

 Comments:
                                          ----
                                       ------                                             Corrected Loss
                                                                                 Corrected Total Recovervr---
                                                                                                                                                    Percent Recovery corrected for ba-ometric
                                                                                                                                                    i:ressure
                                                                                                                                                    I:::!~Loss carected for b¥ometrlc
                                                                                                                                                    Coniined Percent Recovery and Percent
                                                                                                                                                    Resi:lue i'l the f,aij( cooected fol barometri:
                                                                                                                                                    r,e.~SlJ'9


                                                                       FI G. XS.2 Percent Evaporat ed Re port Form




                                                                                                          27



                                                                                                          JA304                                                                              ASTM001 214
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                                                                       ,0 D86-07
                                                               SUMMARY OF CHANGES

            Subconunittee D02.08 has identified the location of selected chauges to this standard siuce the last issue
          (D 86-05) that may impact the use of this standard. (Approved Jan. 15, 2007.)

(J) Deleted "natural gasolines" from l. l.                                             (3) Added Fig. 6.
(2) Deleted "Group O" from the entire standard.

            Subcommittee D02.08 has identified the location of selected changes to this standard since the last issue,
          (D 86-04b), that may impact the use of this standard. (Approved July 1, 2005.)

(J) Replaced Table 4 with new values.                                                  (4) Added Appendix X5, and cross-reference in Section 12.1.
(2) Revised 9.1.2-9.1.2.2, 9.1.5, and Notes 9- 11.
(3) Added 13.5.3 and footnote reference to the research
report.

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               if not revised, either reap proved or withdrawn. Your comments are invited either for revision of this standard or for additional standards
               and should be addressed to ASTM lntemational Headquarters. Your comments will receive careful consideration at a meeting of the
               responsible technical committee. which you may artend. If you feel that your comments have not received a fair hearing you should
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               (www.astm.org).




                                                                                  28



                                                                                  JA305                                                                      ASTM001215
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                    EXHIBIT 7




                                    JA306
                 NQ:tl;I: ItJl0;~cl0i1tl1ll5 ellOCbe~~•dJ.~~plaeit~dtYlcjl~JQ~iof?ag,eitl~ 267
                   Contacf"AgjlJI
      USCA Case #17-7039          International
                               Document         (www.astm.org) for the
                                             #1715850                  fatest01/31/2018
                                                                    Filed:    information                                                             Page 335 of 581

~ Designation: D 975 - 07                                                                                                                          An American National Standard


    ,u11 7
INTERNATIONAL



                    Standard Specification for
                    Diesel Fuel Oils 1
                    Th.is st:mdard is issued under the fixed designation D 975; the number immediately following the dcsig11ation indicates the year of
                    original adoption or. in the case of revision. the year of last revision. A number in parentheses indicate.~ the year of last reapproval. A
                    superscript epsilon (~I indicates au editorial change since the last revision or reapproval.

                    11,;,\~.standard lu,s been ap11row:'d for wi'e by agencies of the Dept111m,m1 of Defense.

1. Scope*                                                                                       N OTE 1-A more detailed description of the grades of diesel fuel oils is
                                                                                              given in Xl.2.
   I. l This specification covers seven grades of diesel fnel oils                              NOTE 2- Tbe S"xx designation has been adop1ed to distinguish grades
suitable for various types of diesel engines. These grades are                                by sulfur rather d1an using words sucb as ''Low Sulfur'' as previously
described as follows:                                                                         because the number of sulfur grades is growing and the word descriptions
   1.1.1 Grade No. 1-D SJ5-A special-purpose, light middle                                    were thought to be not precise. S5000 grades correspond 10 the so-called
distillate fuel for use in diesel engine applications requiring a                             "regular'' sulfur grades, che previous No. 1-D and No. 2-D. S500 grades
fuel with 15 ppm sulfur (maximum) and higher volatility than                                  correspond 10 the previous ..Low Sul.fur" grades. S 15 grades were not in
                                                                                              the previous grade system and are commonly referred 10 as "Ultra-Low
that provided by Grade No. 2-D S 15 fuel.2
                                                                                              Sulfur" grades or ULSD.
   1.1.2 Grade No. 1-D S500-A special-purpose, light middle
distillate fuel for use in diesel engine applications requiring a                                1.2 This specification, unless otherwise provided by agree-
fuel with 500 ppm sulfur (maximum) and higher volatility than                                 ment between the purchaser and the supplier, prescribes the
that provided by Grade No. 2-D S500 fue l. 2                                                  required properties of diesel fuels at the time and place of
   1.1 .3 Grade No. 1-D S5000-A special-purpose, light                                        delivery.
middle distillate fuel for use in diesel engine applications                                     1.2.1 Nothing in this specification shall preclude observance
requiring a fuel with 5000 ppm sulfur (maximum) and higher                                    of federal, state, or local regulations which may be more
volatility than that provided by Grade No. 2-D S5000 fuels.                                   restrictive.
   l.l.4 Grade No. 2-D SJ5-A general purpose, middle                                             Nore 3- The generacion and dissipation of scacic eleccriciry can create
distillate fuel for use in diesel engine applications requiring a                             problems in the handling of distillate diesel fuel oils. For more informa-
fuel with 15 ppm sulfur (maximum). It is especially suitable for                              tion on cJte subjecc, see Guide D 4865.
use in applications with conditions of varying speed and load.2                                  1.3 The values stated in SJ units are to be regarded as the
   1.1.5 Grade No. 2 -D S500-A general-purpose, middle                                        standard. The values given in parentheses are for information
distillate fuel for use in diesel engine applications requiring a                             only.
fuel with 500 ppm sulfur (maximum). It is especially suitable
for use in applications with conditions of varying speed and                                  2. Referenced Documents
Joad. 2                                                                                          2.1 ASTM Standards: 3
   1.1.6 Grade No. 2-D S5000-A general-purpose, middle                                           D 56 Test Method for Flash Point by Tag Closed Cup Tester
distillate fuel for use in diesel engine applications requiring a                                D 86 Test Method for Distillation of Petroleum Products at
fuel with 5000 ppm sulfur (maximum), especially in conditions                                      Atmospheric Pressure
of varying speed and load_                                                                       D 93 Test Methods for Flash Point by Pensky-Martens
   1.1.7 Grade No. 4-D--A heavy distillate fuel, or a blend of                                     Closed Cup Tester
distillate and residual oil, for use in low- and medium-speed                                    D 129 Test Method for Sulfur in Petroleum Products (Gen-
diesel engines in applications involvi ng predominantly con-                                       eral Bomb Method)
stant speed and load.                                                                            D 130 Test Method for Corrosiveness to Copper from
                                                                                                   Petroleum Products by Copper Strip Test
                                                                                                 D 445 Test Method for Kinematic Viscosity of Transparent
   1
     This specificalioo is under the jurisdiction of ASTM Committee 002 oo                         and Opaque Liquids (and Calculation of Dynamic Viscos-
Petroleum Products and Lubricants and is the direct responsibility of Subcommittee                 ity)
D02.EO.O~ on Diesel Fuel Oils.                                                                   D 482 Test Method for Ash from Petroleum Products
   Current edifion approved Feb. I. 2007 . Published March 2007. Originall)'
approved in 1948. I..as1 previous editi0t1 approved in 2006 as D 975-06b.
   " This fuel complies with 40 CFR Part SO-Control o f Air Pollulion from New
Motor Vehicles: He-.n•i•-Duty Engines and Vehicle Stand:irds and Highway Diesel
Fuel Sulfur Control Requirements : Final Rule. Regulation of Fuels aod Fuel                      'For referenced ASTM standards, visit the ASTM website, www.astm.org, or
Additives: Fuel Quality Regul:11ions for Highway Diesel Fuel Sold in 1993 and                 comact ASTM Customer Service at service@astm.org. For Amuwl Book ,if ASTM
Later Calendar Years.                                                                         Swndards volume info,m ation. refer to the standard 's Document Summary page on
                                                                                              the ASTM website.



                                                 *A Summary o f Changes section appears at the end of this standard.
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                                                                                         JA307                                                                    ASTM001216
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                                                  z4fil}f D 975 - 07
D 524 Test Method for Ramsbottom Carbon Residue of                  D 6078 Test Method for Evaluating Lubricity of Diesel
 Petroleum Products                                                  Fuels by the Scuffing Load Ball-on-Cylinder Lubricity
D 613 Test Method for Cetane Number of Diesel Fuel Oil               Evaluator (SLBOCLE)
D 1266 Test Method for Sulfur in Petroleum Products                 D 6079 Test Method for Evaluating Lubricity of Diesel
 (Lamp Method)                                                       Fuels by the High-Frequency Reciprocating Rig (HFRR)
D 1319 Test Method for Hydrocarbon Types in Liquid                  D 62 17 Test Method for Particulate Contamination in
 Petroleum Products by Fluorescent Indicator Adsorption              Middle Distillate Fuels by Laboratory Filtration
D 1552 Test Method for Sulfur in Petroleum Products                 D 6371 Test Method for Cold Filter Plugging Point of
 (High-Temperatore Method)                                           Diesel and Heating Fuels
                                                                    D 6468 Test Method for High Temperature Stability of
D 1796 Test Method for Water and Sediment i11 Fuel Oils by           Distillate Fuels
 the Centrifuge Method (Laboratory Procedme)
                                                                   D 6469 Guide for Microbial Contamination in Fuels and
D 2274 Test Method for Oxidation Stability of Distillate             Fuel Systems
 Fuel Oil (Accelerated Method)                                     D 6890 Test Method for Determination of Ignition Delay
D 2500 Test Method for Cloud Point of Petroleum Products             and Derived Cetane Number (DCN) of Diesel Fuel Oils by
D 2622 Test Method for Sulfur in Petroleum Products by               Combustion in a Constant Volume Chamber
 Wavelength Dispersive X-ray Fluorescence Spectrometry             D 6898 Test Method for Evaluating Diesel Fuel Lubricity
D 2709 Test Method for Water and Sediment in Middle                  by an Injection Pump Rig
 Distillate Fuels by Centrifuge                                    2.2 Other Documents:
D 2880 Specification for Gas Turbine Fuel Oils                     26 CFR Part 48 Manufacturers and Realtors Excise Taxes4
D 2887 Test Method for Boiling Range Distribution of               40 CFR Part 80 Regulation of Fuels and Fuel Addicives·1
 Petroleum Fractions by Gas Chromatography
                                                                 3. Terminology
D 3117 Test Method for Wax Appearance Point of Distillate
 Fuels                                                              3.1 Definitions ,~f Terms Specific to This Standard:
D 3120 Test Method for Trace Quantities of Sulfur in Light          3.1. l S(numerical spec(fication maximum)- indicates the
 Liquid Petroleum Hydrocarbons by Oxidative Microcou-            maximum sulfur content, in weight ppm (µgig), allowed by this
 lometry                                                         specification in a diesel fuel grade.
                                                                    3.1. l.l Discussion-Of the seven diesel fuel grades speci-
D 3828 Test Methods for Flash Point by Small Scale Closed
 Cup Tester                                                      fied in this standard, six have important distinguishing maxi-
                                                                 mum sulfur regulatory requirements. These are Grades No. 1-D
D 4057 Practice for Manual Sampling of Petroleum and
                                                                 SIS, No. 1-D SSOO, No. I-D SSOOO, No. 2-D S lS, No. 2-D
 Petroleum Products
                                                                 S500 and No. 2-D S5000. The seventh grade, No. 4-D, is
D 4 177 Practice for Automatic Sampling of Petroleum and         distinguished from these other grades by many major proper-
 Petroleum Products                                              ties in addition to sulfur (unregulated maximum), and therefore
D 4294 Test Method for Sulfur in Petroleum and Petroleum         is not included in this designation system. Thus, Grade No. 4-D
 Products by Energy-Dispersive X-ray Fluorescence Spec-          does not have the designation S20000 as part of its grade name.
 trometry
D 4306 Practice for Aviation Fuel Sample Containers for          4. Sampling, Containers, and Sample Handling
 Tests Affected by Trace Contamination                             4. l Jc is strongly advised to review all test methods prior to
D 4539 Test Method for Filterability of Diesel Fuels by          sampling to understand the importance and effects of sampling
 Low-Temperature Flow Test (LTFT)                                technique, proper containers, and special handling required for
D 4737 Test Method for Calculated Cetane Index by Four           each test method.
 Variable Equation                                                 4.2 Correct sampling procedures are critical to obtaining a
D 4865 Guide for Generation and Dissipation of Static            representative sample of the diesel fuel oil to be tested. Refer
 Electricity iu Petroleum Fuel Systems                           to Appendix X2 for recommendations. The recommended
D 5453 Test Method for Determination of Tomi Sulfur in           procedures or practices provide techniques useful iu the proper
 Light Hydrocarbons, Spark Ignition Engine Fuel, Diesel          sampling or handling of diesel fuels.
 Engine Fuel, and Engine Oil by Ultraviolet Fluorescence
                                                                 5. Test Methods
D 5771 Test Method for Cloud Point of Petroleum Products
 (Optical Detection Stepped Cooling Method)                        5.1 The requirements enumerated in this specification shall
D 5772 Test Method for Cloud Point of Petroleum Products         be determined in accordance with the following methods:
 (Linear Cooling Rate Method)                                      5.1.l Flash Point-Test Methods D 93, except where other
                                                                 methods are prescribed by law. For all grades, Test Method
D 5773 Test Method for Cloud Point of Petroleum Products
                                                                 D 3828 may be used as an alternate with the same limits. For
 (Constant Cooling Rate Method)
                                                                 Grades No. 1-D SIS, No. 1-D SSOO, No. 1-D SSOOO, No. 2-D
D 5842 Practice for Sampling and Handling of Fuels for
 Volatility Measurement
D 5854 Practice for Mixing and Handling of Liquid                  • Available from Superintendent of Documems, U.S. Government Printing
 Samples of Petroleum and Petroleum Products                     Office, Washington, OC 20402.



                                                             2




                                                             JA308                                                        ASTM001217
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                                                                          z4fil}f D 975 - 07
S IS, No. 2-D SSOO, and No. 2-D SSOOO, Test Method D 56                                      D 5773 can be used as alternates with the same limits. Test
may be used as an alternate with the same limits, provided the                               Method D 3117 can also be used since it is closely related to
flash point is below 93°C and the viscosity is below 5.5 mm2!s                               Test Method D 2500. In case of dispute, Test Method D 2500
at 40°C. This test method will give s lightly lower values. In                               shall be the referee method.
cases of dispute, Test Methods D 93 shall be used as the referee                               5. l .3 l,\,itte r and Sediment-Test Method D 2709 is used for
method. Test Method D 56 can not be used as the alternate                                    fuel Grades No. 1-D SIS, No. 1-D SSOO, No. 1-D SSOOO, No.
method for Grade No. 4-D because its minimum viscosity limit                                 2-D S l 5, No. 2-D S500, and No. 2-D S5000. Test Method
is 5.5 mm2/s at 40°C.                                                                        D 1796 is used for Grade No. 4-D.
   5.1.2 Cloud Point-Test Method D 2500. For all fuel grades                                   5.1.4 Carbon Residue-Test Method D 524 is used for fuel
in Table 1, the automatic Test Methods D 577 l , D 5772, or                                  Grades No. 1-0 S 15, No. 1-D SSOO, No. 1-D SSOOO, No. 2-0

                                                     TABLE 1 Detailed Req uirements for Diesel Fuel OilsA

                                                                       ASTM                                                   Grade
                            Property                                    Test         No. 1-D      No. 1-D      No. 1- D     No. 2- D    No. 2-D        No. 2-D
                                                                      Method"                                                                                       No. 4- D 0
                                                                                      S15         S500c        S5000°        S15        S5oo 0•"      S5ooo0 •
  Flash Point, °C, min.                                                 D93             38           38          38          52"           52"          52"             55
  Water and Sediment, % vol, max                                       D 2709          0 .05        0 .05       0 .05        0 .05         0.05         0.05
                                                                       D 1796                                                                                          0.50
  Distillation: o ne of the following requirements shall be met:
  1. Physical 0 ,stillation                                             D 86
  Oistillatron Temperature, •c    90 % , % vol recovered
     min                                                                                                                     262£         282£          282F.
     max                                                                               288          288          286          336         338            338
  2. Simulated Distillation                                            D 2887
  Distillation Temperature. •c 90 %. % vol recovered
     min                                                                                                                                  3001!         3001!
     max                                                                                            304          304                       356          3 56
  Kinematic Vi scosity, m m" IS at 40'C                                0445
     min                                                                                1.3          1.3         1.3         1.9 °         1.9"         1.9 E           5.5
     max                                                                                2.4          2.4         2.4          4. 1          4.1          4.1           24.0
  Ash % mass, max                                                      0 482           0 .0 1       0 .01       0 .0 1       0 .01         0.01         0.01           0.10
  Sulfur. ppm (µgig)" max                                              D 5453           15                                    15
    °lo mass I max                                                    D2622('                       0.05                                   0.05
    %mass. max                                                         0 129                                    0.50                                    0 .50          2.00
  Copper strip corrosion rating max 3 h                                0 130          No. 3        No . 3       No. 3        No. 3        No.3          No. 3
     at 50°C
  Cetane number. min"                                                  0613            40'           40 1        401          40'          40'           40 1           30'
  One of the following propenies must
     be met:
     (1) Cet ane index, min.                                         D 976-80°          40           40                        40          40
     (2) Aromaticity, % vol, max                                      D 1319°           35           35                        35          35
  Operability Requirements
  Cloud point, CC, max                                                 D 2500                         J                        .J           .,            J

     or
  LTFT/CFPP, ' C, max                                                 D 4539/
                                                                      D 6371
  Ramsbottom carbon residue on 10 %                                    D 524           0 .15        0 .15       0 .15        0.35          0.35         0 .35
    di stillation residue. % mass. max
  Lubricity, HFRR @ 60°C, micron, max                                  D 6079          520          520          520          520          520           520
  A To meei special operating condttions. mo<Jlf!catlons of Individual llml!lng re<,ulrements   may be agreed upon betw<,ien purdiaser. sellE1r. and manufacturer.
   e The test methods indicated are the approved referee methods. Other acceptable methods are indicated in 5. 1.
   c Under United States regulations, if Grades No. 1-0 S500 or No. 2- D S500 are sol d for tax exempt purposes then. at or beyond terminal storage tanks, they are
required by 26 CFR Part 48 to contain the dye Solvent Red 164 at a concentration spectrally equi valent to 3 .9 lb per thousand barrels of the solid dye standard Solvent
Red 26, or the tax must be collected.
   " Under United States regulations. Grades No.1- D S5000, No. 2- D S5000. and No. 4-D are required by 40 CFR Part 80 to contain a sufficient amount of the dye Solvent
Red 164 so its presence is visually apparent. At or beyond terminal sto rage tanks, they are required by 26 CFR Pan 48 to contain the dye Solvent Red 164 at a
corx:entration spectrally equivalent to 3 .9 lb per thousand barrels of the solid dye standard Soivent Red 26.
   " When a cioud point less than - 12'C is spectttect. as can occur during cold months, r. Is permttted and normal blending pra<'Aice to combine (',rectes No . 1 and No. 2
to rne"'t the !ow tempero.tur"' rnqulrements. In tM t ~~- the minimum flash point shall be 38' C. tha minimum vlscootty aJ 40' C s hill! bo 1.7 mm2/s, and the minimum 90 %
recovered temperature shall be wai ved.
   ,..Other sulfur limits can apply in selected areas in the Untted States and in other countries.
   c These lest methods are specified in 40 CFR Part 80.
   H Where cetane number by Test Method D 613 is not available, Test Method D 4737 can be used as an approximation.
   1
     Low ambient temperatures as well as engine operation at high altitudes may require the use of fuels with higher cetane ratings.
    1
  · It is unrealistic to specify low temperature propenies that w ill ensure satisfactory operati on at all ambient conditions. In general, cloud point (or wax appearance point)
Low Temperature Ftow Test, and Cold Fitter Plugging Point Test may be used as an estim ate of operating temperature limits for Grades No. 1-D S500; No. 2-D S500;
and No. 1- D S5000 and No. 2- D S5000 diesel fuel oils . However, satisfactory operation below lhe cloud point (or wax appearance point) may be achieved depending
on equipment dtlsign, operating condiliona, and the U$8 o! flow-improver additives as desc,11.>ed In XS. 1.2. Appropriale low temperature operability properties should be
agreed upon belween the fuel supplier and purcnaser for the intended use and expected ambient temperatures. Test Methods D 4539 and O 637 1 may be especially useful
to A,;timatP. vehicle low t emperature opembiltty limits wh,;,n flow lmprovers are used. Due to tuet d91!\le1y system. engine dP.sign. and IP.St methOd d ifferences, low
temperature operability tests may not provide the same degree of protection in various vehicle operating classes. Tenth percentile m inimum air temperatures for U .S.
locati ons are provided in Appendi x XS as a m eans of estimating expected regional temperatures. The tenth percentile m inimum air temperatures may be used to estimate
expected regional target tem peratures for use with Test Methods D 2500, D 4539, and D 637 1. Refer to X5.1.3 for further general guidance on test application.



                                                                                       3



                                                                                      JA309                                                                      ASTM001 218
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                                                                    z4fil}f D 975 - 07
S15, No. 2-D S500 and No. 2-D S5000. Grade No. 4-D does                                5.1.9 Copper Corrosion-Test Method D 130, 3 h test at
not have a limit for carbon residue.                                                 50°C. This test method is used for fuel Grades No. 1-D S15,
   5. 1.5 Ash-Test Method D482 is used for all grades in                             No. 1-0 SSOO, No. 1-0 SSOOO, No. 2-0 SIS, No. 2-0 SSOO and
Table 1.                                                                             No. 2-0 SSOOO. Grade No. 4-0 does not have a copper
   5.1.6 Distillation-Test Method D 86 is used for Grades                            corrosion requirement.
No. 1-D S 15, No. 1-0 SSOO, No. 1-0 S5000, No. 2-0 S 15, No.                            5.l.10 Cetane Number-Test Method 0613 is used for all
2-0 SSOO and No. 2-D SSOOO. For all grades, Test Method                              fuel grades in Table 1. Test Method D 6890 is used for all No.
                                                                                     1-D and No. 2-D grades w ith the DCN result being compared
D 2887 can be used as an alternate with the limits listed in
Table J. Ia case of dispute, Test Method O 86 shall be the                           to the cetane number specification requirement of 40. Test
                                                                                     Method D 613 shall be the referee method.
referee method. Grade No. 4-0 does not have distillation
requirements.                                                                           5. l.11 Cetane Index- Test Methods D 976-80 is used for
                                                                                     fuel Grades No. 1-0 S15, No. 1-0 SSOO, No. 2-D S15 and No.
   5. 1.7 Viscosity-Test Method 0445 is used for all fuel                            2-0 SSOO. Grades No. 1-0 SSOOO, No. 2-D SSOOO and No. 4-0
grades in Table l.                                                                   do not have an aromatics content requirement, so do not use
   5. 1.8 Su{fur-The following list shows the referee test                           this test method as a surrogate for aromatics content.
methods and alternate test methods for sulfur, the range over                           5.l.12 Aromaticity- Test Method O 1319. This test method
which each test method applies and the corresponding fuel                            provides an indication of the aromatics content of fuels. For
grades.                                                                              fuels with a maximum final boiling point of 3 l5°C, this method
     Sulfur
                         Range                           Grades
                                                                                     is a measurement of the aromatic content of the fuel. This test
 Test Method
D 129        >0.1 mass%                      No. 1-0 SSOOO. No. 2-0 SSOOO.
                                                                                     method is used for fuel Grades No. 1-0 SIS, No. 1-0 SSOO,
(referee)                                    No. 4·0                                 No. 2-0 S15 and No. 2-D SSOO. Grades No. 1-0 SSOOO, No.
01266        0.0005 to 0 .4 mass%            No. 1-0 ssoo. No. 2- 0 ssoo             2-D S5000 and No. 4-D do not have an aromatics content
             5 to 4000 mg/kg (wt ppm}
01552        >0.06 mass%                     No. 1- 0 S5000, No. 2·0 S5000,
                                                                                     requirement.
                                             No. 4-0                                    5 . l.13 lubricity-Test Method O 6079.
D 2622       0.0003 to 5.3 mass %            All Grades
(referee for 3 to 53 000 mg.lkg (wt ppm)                                             6. Workmanship
S500 Grades)
D 3120       3.0 to 100 mg/kg (wt ppm)       No. 1·0 S15, No. 2·0 S15                  6.1 The diesel fuel shall be visually free of undissolved
                                             No. 1-0 SSOO, No. 2· 0 S500             water, sediment, and suspended matter.
                                             (SSOO grades must be diluted
                                             before testing)                         7. Requirements
D 4294          0.0150 to 5.00 mass%         No. 1- 0 S5000, No. 2-0 S5000,
                150 to 50 000 mg/kg (wt ppm) No. 4-0
                                                                                        7 . l The grades of diesel fuel oils herein specified shall be
D 5453          0.0001 to 0.8 mass%          All Grades                              hydrocarbon oils conforming to the detailed requ irements
(refe ree for   1.0 to 8000 mg/kg (wt ppm)                                           shown in Table 1.
S15 grades)
                                                                                        7.2 Grades No. 2-D SJ5, No. 2-D S500 and No. 2- D
  NoTE 4- The units used to repon results in the above test methods are:             S5000-Wh en a cloud point less than - l 2°C is specified, as
                0 129                               mass%                            can occur during cold months, it is permitted and normal
                D 1266                              mass%                            blending practice to combine Grades No. l and No. 2 to meet
                O 1552                              mass %
                02622                               mass%
                                                                                     the low temperature requirements. lo that case, the minimum
                D 3120                              ppm (µg/g)                       flash point shall be 38°C, the min imum viscosity at 40°C shall
                04294                               mass%                            be 1. 7 mni2/s, and the minimum 90 % recovered temperarure
                0 5453                              ppm (µg/g)
                                                                                     shall be waived.
   Resuhs reported in mg/kg and in ppm (µgig) are oumerically the same.
l11e units used in Table l for the sulfur requirements are the units in wh ich       8. Keywords
resuhs for the referee test are report.ed.                                             8.1 diesel; fuel oil; petroleum and petroleum products




                                                                                 4




                                                                                 JA310                                                   ASTM001219
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                                                            APPENDIXES

                                                      (Nonmandatory Information)

                            Xl . SIGNIFICANCE OF ASTM SPECIFICATION FOR DIESEL FUEL OILS

Xl.1 Introduction                                                         low sulfur fuels, (2) applications necessitating relatively high
   X 1.1 . I The properties of commercial foe I oils depend on the        loads and uniform speeds, or (3) diesel engines not requiring
refining practices employed and the narure of the crude oils              fuels having higher volatility or other properties specified for
from which tlley are produced. Distillate fuel oils, for example,         Grade No. 1-D SSOO.
may be produced within the boiling range of 150 and 400°C                    Xl.2.7 Grade No. 2-D S5000---Grade No. 2-D SSOOO
having many possible combinations of various properties, such             includes the class of middle distillate gas oils of lower
as volatility, ignition quality, viscosity, and other characteris-        volatili ty than Grade No. 1-D S5000. These fuels are appli-
tics.                                                                     cable for use in ( 1) high-speed diesel engines in applications
                                                                          necessitating relatively high loads and uniform speeds, or (2) in
Xl.2 Grades                                                               diesel engines not requiring fu els having higher volatility or
                                                                          other properties specified for Grade No. 1-D S5000.
   Xl.2.1 This specification is intended as a statement of
permissible limits of significant fuel properties used for speci-            Xl.2.8 Grade No. 4-D-Grade No. 4-D comprises the class
fying the wide variety of commercially available diesel fuel              of more viscous middle distillates and blends of these middle
oils. Limiting values of significant properties are prescribed for        distillates with residual fuel oils. Fuels within this grade are
seven grades of diesel fuel oils. These grades and their general          applicable for use in low- and medium-speed diesel eugines in
applicability for use in diesel engines are broadly indicated as          applications necessitating sustained loads at substantially con-
follows:                                                                  stant speed.
   X l .2.2 Grade No. 1-D SJ 5-Grade No. 1-D S 15 comprises
the class of very low sulfur, volatile fuel oils from kerosine to         Xl.3 Selection of Particular Grade
the intem1ediate middle distillates. Fuels within this grade are             X 1.3. l The selection of a particular diesel fuel oil from one
applicable for use in ( 1) high-speed diesel engines and diesel           of these seven ASTM grades for use in a given engine requires
engine applications that require ultra-low sulfur fuels, (2)              consideration of the following factors:
applications necessitating frequent and relatively wide varia-               Xl.3.1.l Fuel price and availability,
tions in loads and speeds, and (3) applications where abnor-                 Xl.3.1.2 Maintenance considerations,
mally low operating temperauires are encountered.
                                                                             Xl.3.1.3 Engine size and design,
   X l.2.3 Grade No. 1-D S500-Grade No. 1-D SSOO com-
prises the class of low-sulfur, volatile fuel oils from kerosine to          Xl.3.1.4 Emission control systems,
the intermediate middle distillates. Fuels within this grade are             Xl.3.1.5 Speed and load ranges,
applicable for use in (1) high-speed diesel engines that require             X 1.3. 1.6 Frequency of speed and load changes, and
low sulfur fuels, (2) in applications necessitating frequent and             X 1.3 .1 .7 Atmospheric conditions. Some of these factors can
relatively wide variations in loads and speeds, and (3) in                influence the required fuel properties outlined as follows:
applications where abnormally low operating temperatures are
encountered.                                                              Xl.4 Cetane Number
   X l.2.4 Grade No. 1-D S5000---Grade No. 1-D SSOOO
comprises the class of volatile fuel oils from kerosine co the              Xl.4. l Cetane number is a measure of the ignition quality of
intermediate middle distillates. Fuels within chis grade are              the fuel and influences combustion roughness. The cetane
applicable for use in high-speed diesel engines applications              number requirements depend on engine design, size, nature of
necessitating frequent and relatively wide variations in loads            speed and load variations, and on starting and atmospheric
and speeds, and also for use in cases where abuonnally low                conditions. Increase in cetane number over values actually
operating temperauires are encountered.                                   required does not materially improve engine performance.
                                                                          Accordingly, the cetane number specified should be as low as
   X l.2.5 Grade No. 2-D S15-Grade No. 2-D S IS includes
                                                                          possible to assure maxim um fuel availability.
the class of very low sulfur, middle disciUate gas oils of lower
volatility rhan Grade No. 1-D SIS. These fuels are applicable
for use in (1) high speed diesel engines and diesel engine                Xl.5 Distillation
applications that require ultra-low sulfur fuels, (2) applications          Xl.5.l The fuel volatility requirements depend on engine
necessitating relatively high loads and uniform speeds, or (3)            design, size, nature of speed and load variations, and starting
diesel engines not requiring fuels having higher volatility or            and atmospheric conditions. For engines in services involving
other properties specified in Grade No. 1-D S IS.                         rapidly fluctuating loads and speeds as in bus and truck
   X l.2.6 Grade No. 2-D S500-Grade No. 2-D S500 includes                 operation, the more volatile fuels may provide best perfor-
the class of low-sulfur, middle distillate gas oils of lower              mance, particularly with respect to smoke and odor. However,
volatility than Grade No. 1-D S500. These foels are applicable            best fuel economy is generally obtained from the heavier cypes
for use in (1) high-speed diesel engine applications that require         of fuels because of their higher heat content.

                                                                      5



                                                                      JA311                                                    ASTM001220
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Xl.6 Viscosity                                                          in the oil under prescribed test conditions which generally
  Xl.6. 1 For some engines it is advantageous to specify a              relates to the temperanire at which wax crystals begin to
minimum viscosity because of power loss due LO injection                precipitate from the oil in use.
pump and injector leakage. Maximum viscosity, on the other
                                                                        Xl.11 Ash
hand, is limited by considerations involved in engine design
and size, and the characteristics of the injection system.                 X l.11.l Ash-forming materials may be present in fuel oil in
                                                                        two forms: (1) abrasive solids, and (2) soluble metallic soaps.
Xl.7 Carbon Residue                                                     Abrasive solids contribute to injector, fuel pump, piston and
  Xl.7.1 Carbon residue gives a measure of the carbon                   ring wear, and also to engine deposits. Soluble metallic soaps
depositing tendencies of a fuel oil when heated in a bulb under         have little effect on wear but may contribute to engine deposits.
prescribed conditions. While not directly correlating with
                                                                        Xl.12 Copper Strip Corrosion
engine deposits, this property is considered an approximation.
                                                                          X l.12.l This test serves as a measure of possible difficulties
Xl.8 Sulfur                                                             with copper and brass or bronze parts of the fuel system.
  Xl.8.1 The effect of sulfur content on engine wear and
deposits appears to vary considerably in importance and                 Xl.13 Aromaticity
depends largely on operating conditions. Fuel sulfur can a1fect            X l.13.l This cesc is used as an indication of the aromatics
emission control systems perfom1ance. To assure maximum                 content of diesel fuel. Aromatics content is specified to prevent
availability of fuels, the permissible sulfur content should be         an increase in the average aromatics contelll in Grades No. l -D
specified as high as is practicable, consistent with maintenance        Sl5, No. 1-D S500, No. 2-D S15 and No. 2-D S500 fuels and
considerations.                                                         is required by 40 CFR Part 80. Increases in aromatics content
                                                                        of fuels over current levels may have a negative impact on
Xl.9 Flash Point                                                        emissions.
   Xl.9.1 The flash point as specified is not directly related to
engine perfom1ance. It is, however. of importance in connec-            XI.14 Cetane Index
tion with legal requirements and safety precautions involved in           Xl.14.l Cetane Index is specified as a limitation on the
fuel handling and storage, and is normally specified to meet            amount of high aromatic components in Grades No. 1-D S15,
insurance and fire regulations.                                         No. 1-D S500, No. 2-D Sl5 and No. 2-D S500.

Xl.10 Cloud Point                                                       Xl.15 Other
  Xl.10.l Cloud point is of importance in that it defines the             Xl.15.l Micmbial Contamination- Refer to Guide D 6469
temperamre at which a cloud or haze of wax crystals appears             for a discussion of this form of contamination.


                                   X2. SAMPLCNG, CONTAINERS ANO SAMPLE HANDLING

X2.1 Introduction                                                       tion for tests sensitive to trace contamination may be useful.
   X2. l.l This appendix provides guidance on methods and               Practice D 5854 for procedures on container selection and
techniques for the proper sampling of diesel fuel oils. As diesel       sample mixing and handling is recommended. For cctanc
fuel oil specifications become more stringent and contaminants          number determination protection from light is important.
and impurities become more tightly controlled, even greater             Collection and storage of diesel fuel oil samples in an opaque
care needs to be taken in collecting and storing samples for            container, such as a dark brown glass bottle, metal can, or a
quality assessment.                                                     minin1ally reactive plastic container to minimize exposure co
                                                                        UV emissions from sources such as sunlight or fluorescent
X2.2 Sampling, Containers and Sample Handling                           lamps. is recommended. According to Paragraph 8.2 of Test
       Recommendations                                                  Method D 6079, "Because of sensitivity of lubricity measure-
   X2.2. l Appropriate manual method sampling procedures                ments to trace materials, sample containers shall be only fully
can be found in Practice D 4057 and automatic method                    epoxy-Lined metal, amber borosilicate glass, or polytetrafluo-
sampling is covered in Practice D 4 177.                                roethylene as specified in Practice D 4306.''
   X2.2.2 The correct sample volume and appropriate con-                   X2.2.3 For volatility determination of a sample, Practice
tainer selection arc also important decisions that can impact           D 5842 for special precamions recommended for represe nta-
test results. Practice D 4306 for aviation fuel container selec-        tive sampling and handling techniques may be appropriate.




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                                                                    JA312                                                   ASTM001221
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                                X3. STORAGE AND THERMAL STABILITY OF DIESEL FUELS

X3.1 Scope                                                             X3.3 Fuel Selection
   X3.l.l This appendix provides guidance for consumers of               X3 .3. J Certain distilled refinery products are generally
diesel fuels who may wish to store quantities of fuels for             more suitable for long-term storage and severe service than
extended periods or use the fuel in severe service or high             others. The stability properties of middle distillates are highly
temperature applications. Fuels containing residual compo-             dependent on the crude oil sources, severity of processing, use
nents are excluded. Consistently successful long-term fuel             of additives and whether additional refinery treatment has been
storage or use in severe applications requires anention to fuel        carried out.
selection, storage conditions, handling and monitoring of                X3.3.2 The composition and stability properties of middle
properties during storage and prior to use.                            distillate fuels produced at specific refineries may be different.
   X3.l.2 Normally produced fuels have adequate stability              Any special requirements of the user, such as long-term storage
properties to withstand nonnal storage and use without the             or severe service, s hould be discussed with the suppl ier.
formation of troublesome amounts of insoluble degradation                X3.3.3 Blends of fuels from various sources may interact to
products. Fuels that are to be stored for prolonged periods or         give stability properties worse than expected based on the
used in severe applications should be selected to avoid forma-         characteristics of the individual fuels.
tion of sediments or gums, which can overload filters or plug
injectors. Selection of these fuels should result from supplier-       X3.4 Fuel Additives
user discussions.                                                        X3.4.l Available fuel additives can improve the suitability
   X3.l.3 These suggested practices are general in namre and           of marginal fuels for long-term storage and thermal stabi lity,
should not be considered substitutes for any requirements              but may be unsuccessful for fuels with markedly poor stability
imposed by the warranty of the distillate fuel equipment               properties. Most additives should be added at the refinery or
manufacnirer or by federal, state, or local govemmem regula-           during the early weeks of storage to obtain maximum benefits.
tions. Although they cannot replace a knowledge of local                 X3.4.2 Biocides or biostats destroy or inhibit the growth of
conditions or good engineering and scientific judgment, these          fungi and bacteria, which can grow at fuel-water interfaces to
suggested practices do provide guidance in developing an               give high particulate concentrations in the fuel. Available
individual fuel management system for the middle distillate            biocides are soluble in both the fuel and water or in the water
fuel user. They include suggestions in the operation and               phase only.
maintenance of existing fuel storage and handling facilities and
for identifying where, when, and how fuel quality should be            X3.S Tests for Fuel Quality
monitored or selected for storage or severe use.                         X3.S.1 At the time of manufacture, the storage stability of
                                                                       fuel may be assessed using Test Method D 2274 or D 5304.
X3.2 Definitions                                                       However, these accelerated stability tests may not correlate
   X3.2.1 bulk fuel- fuel in the storage facility.                     well with field storage stability due to varying fie ld conditions
   X3.2.2 fuel contaminants-foreign materials that make fuel           and to fuel composition.
less suitable or unsuitable for the intended use.                        X3.S.2 Performance criteria for accelerated stability tests
   X3 .2.2. l Discussion-Fuel contaminants include materials           that assure satisfactory long-term storage of fuels have not
introduced subsequent to the manufacture of fuel and fuel              beeu established.
degradation products.                                                    X3.5.3 Test Method D 6468, provides an indication of
   X3.2.3 fuel-degradation products- those materials that are          thermal oxidative stability of middle distillate fuels when
formed in fuel during extended storage or exposure to high             heated to temperanires near I50°C.
temperatures.
   X3.2.3. J Discussio11-Insolublc degradation products may            X3.6 Fuel Monitoring
combine with other fuel coutaminauts to reinforce deleterious             X3.6.1 A plan for monitoring the quality of bulk fuel during
effects. Soluble degradation products (soluble gums) are less          prolonged storage is an integral part of a successful program. A
volatile than fuel and may carbonize to form deposits due co           plan to replace aged fuel with fresh product at established
complex interactions and oxidation of small amounts of                 intervals is also desirable.
olefinic or sulfur-, oxygen- or nitrogen-containi ng compounds            X3.6.2 Stored fuel should be periodically sampled and its
present in fuels. The fonnation of degradation products may be         quality assessed. Practice D 4057 provides guidance for sam-
catalyzed by dissolved metals, especially copper salts. When           pling. Fuel contaminants and degradation products will usually
dissolved copper is present it can be deactivated with metal           settle to the bottom of a quiescent tank. A ''Bottom" or
deactivator additives.                                                 "Clearance" sample, as defined in Practice D 4057, should be
   X3.2.4 long-term storage-storage of fuel for longer than            included in the evaluation along with an "All Level" sample.
12 months after it is received by the user.                               X3.6.3 TI1e quamicy of insoluble fuel contaminants preseut
   X3.2.5 severe m e-use of the fuel in applications which             in fuel can be determined using Test Method D 6217.
may result in engines operating under high load conditions that           X3.6.4 Test Method D 6468, cau be used for investigation
may cause the fuel to be exposed to excessive heat.                    of operational problems that might be related to fue l thennal

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                                                                   JA313                                                    ASTM001222
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stability. Testing samples from the fuel tank or from bulk              the fuel system requirements. Filters and other cleanup equip-
storage may give an indication as to the cause of filter                ment can require special attention and increased maintenance.
plugging. It is more difficult to monitor the quality of fuels in       Burner nozzle or injector fouling can occur more rapidly.
vehicle tanks since operation may be on fuels from multiple                X3.9.2 Fuels containing very large quantities of fuel degra-
sources.                                                                dation products and other contaminants or with nmaway
   X3.6.5 Some additives exhibit effects oa fuels tested ia             microbiological growth require special attention. Consultation
accordance with Test Method D 6468 that may or may not be               with experts in this area is desirable. It can be possible to drain
observed in the field. Data have not been developed that                the sediment or draw off most of the fuel above the sediment
correlate results from the test method for various engine types         layer and use it with the precautions described in X3.9.l .
and levels of operating severity.                                       However, very high soluble gum levels or corrosion products
X3.7 Fuel Storage Conditions                                            from microbiological contamination can cause severe opera-
                                                                        tional problems.
   X3.7. l Contamination levels in fuel can be reduced by
storage in tanks kept free of water, and tankage should have            X3.10 Thermal Stability Guidelines
provisions for water draining on a scheduled basis. Water
promotes corrosion, and microbiological growth may occur at               X3.l0. l Results from trnck fleet experience suggests that
a foel-water interface. Underground storage is preferred to             Test Method D 6468 can be used to qualitatively indicate
avoid temperature extremes; above-ground storage tanks                  whether diesel fuels have satisfactory themlal stability perfor-
should be sheltered or painted with reflective paint. High              mance properties.5· 6
storage temperan1res accelerate fuel degradation. Fixed roof              X3. l 0.2 Performance in engines has not been sufficiently
tanks should be kept full to limit oxygen supply and tank               correlated with results from Test Method D 6468 to provide
breathing.                                                              definitive specification requirements. However. the following
   X3.7.2 Copper and copper-containing alloys should be                 guidelines are suggested.
avoided. Copper can promote fuel degradation and may pro-                 X3.10.2.l Fuels giving a Test Method D 6468 reflectance
duce mercaptide gels. Zinc coatings can react with water or             value of 70 % or more in a 90 minute test at the time of
organic acids in the fuel to form gels that rapidly plug filters.       manufacture should give satisfactory performance in normal
   X3.7.3 Appendix X2 of Specification D 2880 discusses fuel            use.
contaminants as a general topic.
                                                                          X3 .10.2.2 Fuels giving a Test Method D 6468 reflectance
X3.8 Fuel Use Conditions                                                value of 80 % or more in a 180 minute test at the time of
                                                                        manufacture should give satisfactory performance in severe
   X3.8. l Many diesel engines are designed so that the diesel
                                                                        use.
fuel is used for heat transfer. In modern heavy-duty diesel
engines, for example, only a portion of the fuel that is                  X3.10.3 Thermal stability as determined by Test Method
circulated to the fuel injectors is actually delivered to the           D 6468 is known to degrade during storage.7 The guidance
combustion chamber. The remainder of the fuel is circulated             above is for fuels used within six months of manufacture.
back to the fue l tank, carrying heat with it. Thus adequate high
temperamre stability can be a necessary requirement in some
severe applications or types of service.                                   'Bacha, John D., and Lesnini. David G. , '"Diesel Fuel Thermal S1abil i1y al
   X3.8.2 Inadequate high temperature stability may result in           3ooc·p:• Proceeding,,,, <ff tlte 6th lmenwtio,w l Cm!ference on Swbility and Htmdling
the formation of insoluble degradation products.                        of liquid Fuels, Vancouver. B.C., Oclober 1997.
                                                                           " Schw.1b, Scott D.. Henly. Timo1hy J .. Mox ley. Joel F.• .1nd MiUer. Kei1h.
X3.9 Use of Degraded Fuels                                              ··The,mal Stabilily of Diesel Pue)," Pmteedings tithe 7th lntematimu,1 Co11fe re11c ,•
                                                                        on SW/Jility and Handling ,if Liquid Fuels . Grdz. Austri~ Seplembcr 2000.
  X3.9.1 Fuels that have undergone mild-to-moderate degra-                 1
                                                                             Henry, C. P., ..The DuPont P21 J49•c (JOO•F) Acceleraled Stability Test,"
dation can often be consumed in a uormal way, depending on              Distillate Ful"I Stability and C/e((Tt/i11ess, ASTM STP 7SJ. 1981. pp. 22·33.




                                                  X4. DIESEL FUEL LUBRlCITY

X4.1 Introduction                                                       X4.2 Fuel Characteristics Affecting Equipment Wear
   X4. l.l Diesel fuel functions as a lubricant in most compo-             X4.2. l Currently, two fuel characteristics affect equipment
nents of fuel injection equipment such as pumps and injectors.          wear. These are low viscosity and lack of sufficient quantities
In limited cases, fuel with specific properties will have insuf-        of trace components that have an affinity for surfaces. If fuel
ficient lubricating properties which will lead to a reduction in        viscosity meets the requirements of a particular engine. a fuel
the normal service life and functional performance of diesel            film is maintained between the moving surfaces of the fuel
fuel injection systems.                                                 system components. This prevents excessive metal-to-metal




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                                                                    JA314                                                                    ASTM001223
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contact and avoids premature failure due to wear. Similarly,            perfect, 2) Both me thods in their current form do not apply to
certain surface active molecules in the fuel adhere to, or              all fuel-additive combinations, and 3) The reproducibility
combine with, surfaces to produce a protective film which also          values for both test methods are large. In order to protect diesel
can protect surfaces against excessive wear.                            fuel injection equipment, an HF RR Wear Scar Diameter
                                                                        (WSD) of 520 microns has been placed in Specification
X4.3 Fuel Lubricity                                                     0975.8
   X4.3.l The concern about fuel lubricity is limited to s in1a-           X4.3.3 Most experts agree that fuels having a SLBOCLE
tions in which fuels with lower viscosities than those specified        lubricity value below 2000 g might not prevent excessive wear
for a particular engine are used or in which fuels that have been       in injection equipment9 while fuels with values above 3JOO g
processed in a manner that results in severe reduction of the           should provide sufficient lubrici ty in all cases. ti) Experts also
trace levels of the surface active species that ace as surface          agree that if HFFR test at 60°C is used, fuels with values above
protecting agents. Presently the only fuels of the latter type          600 microns might not prevent excessive wear, 11 while fuels
shown to have lubricity problems resulted from sufficiently             with values below 450 microns should provide sufficient
severe processing to reduce aromatics or sulfur.                        lubricity in all cases.JO More accurately, an industry-accepted
   X4.3.2 Work in the area of d iesel fuel lubricity is o ngoing        long-term durability pump test, such as Test Method D 6898,
by several organizations, such as the International Organization        can be used to evaluate the lubricity of a diesel fuel. A poor
for Standardization (ISO), the ASTM Diesel Fuel Lubricity               result in such a test indicates that the fuel has low lubricity and
Task Force, and the Coordinating Research Council (CRC)                 may not be able to provide sufficient protection.
Diesel Performance Group. These groups include representa-
                                                                          N OTE X4. l- Some injection equip ment can be fiued with special
tives from the fuel injection equipment manufaccurers, fuel             components chat. can tolerare low lubricity fuels.
producers, and additive suppliers. The c harge o f the ASTM
task force has been the recommendation of test methods and
fuel lubricity requirements for Specification D 975. Two test
                                                                           • Milcbell . K., "Diesel Fuel Lubricily- Base Fuel Effects." SAE Technical P..iper
methods were proposed and approved. These are Test Method               2001..()) - 1928. 200].
D 6078, a scuffing load ball-on-cylinder lubricity evaluator               9
                                                                             Westbrook. S. R., "Survey of Low Sulfur Diesel Fuels and Aviation Kerosenes
method, SLBOCLE, and Test Method D 6079, a high fre-                    from U.S. Military lnstallalions,.. SAE Technical Paper 952369. 1995.
                                                                           "' Nikanj am. M .. " ISO Diesel Fuel Lubricity Round Robin Program:· SAE
quency reciprocating rig (HFRR) method. Use of these tests
                                                                        Technical Paper 952372. 1995.
raises three issues: 1) The correlation of the data among the              11
                                                                              Nikanjam. M., "Diesel Fuel Lubricity: On the Path 10 Specifications." SAE
two test methods and the fuel injection equipment is not                Technical Paper 1999.01 - 1479, 1999.



             XS. TENTH PERCENTILE MINIMUM AMBIENT AIR TEMPERATURES FOR THE UNITED STATES
                                           (EXCEPT HAWAIO

XS.1 Introduction                                                       low temperature operability limit of fue ls without cold flow
                                                                        additives in most vehicles.
   X5. l.l The tenth percentile minimum ambient air tem-
peratures shown on the following maps (Figs. X5. l -X5.12) and             X5.l .2. l Long term weather patterns (Average wincer low
                                                                        temperatures will be exceeded on occasion).
in Table X5. l were derived from an analysis of historical
hourly temperature readings recorded over a period of 15 to 2 1            X5.l.2.2 Short term local weather conditions (Unusual cold
                                                                        periods do occur).
years from 345 weather stations in the United Scates. This
study was conducted by the U.S. Army Mobility Equipment                    X5 .l.2 .3 Elevation (High locations are usually colder than
Research and Development Center (USAMERDC), Coating                     surrounding lower areas).
and Chemical Laboratory, Aberdeen Proving Ground, MD                       X5 .l .2.4 Specific engine design.
21005. The tenth percentile minimum ambient air temperature                X5.l.2.5 Fuel system design (Recycle rate, filter location,
is defined as the lowest ambient air temperamre which will not          filter capacity, filter porosity, and so forth.)
go lower on average more than lO % of the time. In other                   X5 .l.2 .6 Fuel viscosity at low temperatures
words, the daily minimum ambient air temperature would on                  X5 .l.2.7 Equipment add-ons (Engine heaters, rad iator cov-
average not be expected to go below the monthly tenth                   ers, fuel line and fuel filter heaters and so forth.)
percentile mini.mum ambient airtemperamre more than 3 days                 X5 .l.2.8 Types of operation (Extensi ve idling, engine shut-
for a 30-day month. See Table X5.l.                                     down, or unusual operation).
   X5. l.2 These data may be used to estimate low temperature              X5.l.2 .9 Low temperantre flow improver additives in fuel.
operability requirements. In establishing low temperature op-              XS.l .2.10 Geographic area for fuel use and movement
erability requirements, consideration should be given to the            between geographical areas.
following. These factors, or any combination, may make low                 XS . l.2. ll General housekeeping (Dirt and/or water in fuel
temperature operability more or less severe than nom1al. As             or fuel supply system).
X5. l.2. l through XS. l.2.12 indicate, field work suggests that           X5. l.2. l 2 Impact failttre for engine to start or run (Critical
cloud point (or wax appearance point) is a fair indication of the       vs. non-critical application).

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                                                                    JA315                                                                   ASTM001224
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                                                                      NO
                                                                      -4C




                                                                      so                                                                                           -2C
                                                                      -4C
                                                 WY
                                                 -4C

                                                                         NE
                                                                         -3C
                                                co          -2C
                                                -SC                         KS
                                                                            -2C
                                                  105' Long.
                                                      NM
                                                      -2C


                                                  4C               TX
                                                                   3C




                                               FI G. XS.1 October-10th Percentile Minimum Temperatures


   X.5.1.3 Historical Background-Three test methods have                                 where similar vehicle designs are used. The Low Temperan1re
been widely used to estimate or correlate witl1 low temperature                          Flow Test (LTFT), Test Metllod D 4539, was designed to
vehicle operability. Cloud point, Test Method D 2500, is the                             correlate with the most severe and one of the most common
oldest of the three and most conseIVati ve of the tests. The cloud                       fuel delivery systems used in Nonh American Heavy Duty
point test indicates the earliest appearance of wax precipitation                        trucks. Under prescribed slow cool conditions ( 1°C/h), similar
that might result in plugging of fuel filters or fuel lines under                        to typical field conditions, several 200 cc fuel specimens in
prescribed cooling conditions. Although not l 00 % failsafe, it                          glass containers fitted with 17 µm screen assemblies are
is the most appropriate test for applications that can not tolerate                      cooled. At 1°C intervals one specimen is drawn through the
much risk TI1e Cold Filter Plugging Point (CFPPJ test, Test                              screen under a 20 kPa vacuum. Approximately 90 % of the fuel
Method D 6371, was introduced in Europe in I 965. The CFPP                               must come over in 60 s or less for the result to be a pass. This
was designed to correlate with the majority of European                                  process is continued at lower temperatures ( 1°C increments)
vehicles. Under rapid cooling conditions, 20 cc fuel is drawn                            until the fuel fails to come over in tlie allotted 60 s. The lowest
through a 45 micron screen then allowed to flow back through                             passing temperan1re is defined as the LTFT for that fuel. In
the screen for further cooling. This process is continued every                          198 1, a CRC program was conducted to evaluate the efficacy
I c umil either the 20 cc fuel fails to be drawn through the
 0
                                                                                         of cloud point, CFPP, pour point, and LTFT for protecting the
screen in 60 s or it fails to return through the screen in 60 s. It                      diesel vehicle population in North America and to determine
was field tested many times in Europe 12 before being widely                             what benefit flow-improvers could provide. The field test
accepted as a European specification. Field tests have also                              consisted of 3 non-flow improved diesel fuels, 5 flow improved
shown CFPP results more tlian 10°C below the cloud point                                 diesel fuels, 4 light-duty passenger cars, and 3 heavy-duty
should be viewed with caution because those results did not                              tn1cks. The field trial resulted in two documents 1~ ' ' 5 that
necessarily reflect the true vehicle low temJ:ierature operability                       provide insight into correlating laboratory tests to North
limits. ; 3 CFPP has been applied to many areas of the world


    12
        ·'Low Temperature Operability of Diesels. A Report by CEC Jm•estigation             '" CRC Repo1t No. 537. "The Relaiionship Between Vehicle Fuel Temperature
Group JGF-3." CEC P-171-82.                                                              and Ambiellt Temperarure, 1981 CRC Kapuska.sing Field Test," December 1983.
    ,., ··sFPP-A New Laboratory Test for Asses.smeoc of Low Temperarure Operabil-           '·' CRC Report No. 528, "'1 981 CRC Diesel Fuel Low-Temperature Operability
ity of Modern Diesel Fuels," CEC/93/EF 15, 5- 7, May !993.                               Field Test." Septe mber 1983.


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                                                                                    JA316                                                              ASTM001225
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                                   MT                        ND
                                   -18C                      -20C



                                                              SD
                                                              -1 4C
                                       WY
                                       -15C

                                                                  NE
                                                                  -13C

                                      co             -12C
                                      -16C
                                                                   KS
                                                                   -11C
                                          105° Long .

                                          NM
                                          -11C
                                   34' Lat.

                                                            TX
                                                            -6C

                                                 31' l




                              FIG. XS.2 November-10th Percentile Minimum Ambient Air Temperatures



American vehicle performance in the field. The general con-                       Since the 198 1 field test, non-independent studies' " using
clusions of the study were:                                                    newer vehicles verified the suitability of the LTFT for North
    ( 1) Ia overnight cool down, 30 % of the vehicles tested had               American heavy-duty trucks. Users are advised to review these
a final fuel tank temperature within 2°C of the overnight                      and any more recent publications when establishing low
minimum ambient cemperamre.                                                    temperature operability requirements and deciding upon test
                                                                               methods.
    (2) The use of flow-improved diesel fuel permits some
                                                                                  X5.l .3. l Currellt Practices-It is recognized that fuel dis-
vehicles to operate well below the fuel cloud point.
                                                                               tributors, producers, and end users in the United States use
    ( 3) Significant differences exist in the severity of diesel               cloud point, wax appearance point, CFPP, and L1FT co
vehicles in terms of low temperature operation.                                estimate vehicle low temperature operability limits for diesel
    (4) No single laboratory test was found that adequately                    fuel. No independent data has been published in recent years co
predicts the performance of all fuels in all vehicles.                         determine test applicability for today's fuels and vehicles.
    (5) CFPP was a better predictor than pour poioc, but both
mei:hods over-predicced, minimum operating temperamres in                      XS.2 Maps
many vehicles. For this reason, these tests were judged                          X5.2. l The maps in the following figures were derived from
inadequate predictors of low-temperature perfonnance and                       CCL Report No. 316, "A Predictive Study for Defining
dismissed from further consideration.                                          Limiting Temperatures and Their Application in Petroleum
    (6) Cloud point and LTFT showed varying degrees of                         Product Specifications," by John P. Doner. This report was
predictive capability, and offered distinctively different advan-              published by the U.S. Army Mobility Equipment Research and
tages. Both predicted the perfom,ance of the base fuels well,                  Development Center (USAMERDC), Coating and Chemical
but LTFT more accurately predicted the performance of the                      Laboratory, and it is available from the National Technical
flow-improved titels. On the other hand, cloud poiut came
closest co a fail-safe predictor of vehicle perfonnance for all
vehicles.                                                                        "' SAE 962197, SAE 982576. SAE 2000-01 -2883.




                                                                          11



                                                                          JA317                                                   ASTM001226
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                                                      -27C




                                                       SD
                                                       -24C
                                      W'(
                                      -18C

                                                           NE
                                                           -18C

                                     co       -14C
                                     -25C
                                                             KS
                                                             -15C
                                      105• Long.
                                       NM
                                       -14C



                                      -BC            TX
                                                     -9C




                             FIG. XS.3 December-10th Percentile Minimum Ambient Ai r Temperatures


Information Service, Springfield, VA 22 151, by requesting                 California, South Coast-Orange, San Diego, San Luis
Publicacion No. AD756-420.                                               Obispo, Santa Barbara, Venrura, Los Angeles (except that
  X5.2.2 Where states are divided the divisions are noted on             portion north of the San Gabriel Mountain range and east of the
the maps and table with the exception of California, which is            Los Angeles County Aqueduct).
divided by counties as follows:                                            California, Southeast- Imperial, Riverside, San Bernardino,
  Californ ia, North Coast-Alameda, Contra Costa, Del                    Los Angeles (that portion north of the San Gabriel Mountain
Norte, Humbolt, Lake, Marin, Mendocino, Monterey, Napa,                  range and east of the Los Angeles Counry Aqueduct), Mono,
San Benito, Sao Francisco, Sao Mateo, Sama Clara, Santa
                                                                         Inyo, Kern (that portion lying east of the Los Angeles County
Cruz, Solano, Sonoma, Trinity.
                                                                         Aqueduct).
  California, Interior-Lassen, Modoc, Plumas, Sierra,
Siskiyou, Alpine, Amador, Butte, Calaveras, Colusa, El Do-                 X5.2.3 The temperatures in CCL Report No. 3 16 were in
rado, Fresno, Glenn, Kem (except that portion lying east of the          degrees Fahrenheit. The degree Celsius temperatures in Ap-
Los Angeles County Aqueduct), Kings. Madera, Mariposa,                   pendix X5 were obtained by converting the original degree
Merced, Placer, Sacramento, San Joaquin, Shasta, Stanislaus,             Fahrenheit temperatures.
Sutter, Tehama, Tulare, Tuolumne, Yolo, Yuba, Nevada.




                                                                    12




                                                                    JA318                                                  ASTM001227
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                                       z4fil}f D 975 - 07


                                      ND
                                      -31C



                                      SD                                                 -18C
                                      -27C



                                        NE
                                        -22C

                               -19C
                                           KS
                                           -19C
                       105' Long.

                        NM
                        ·17C




                FIG. XS.4 January-10th Percentile Minimum Ambient Air Temperatures




                                                  13



                                                  JA319                              ASTM001228
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                                                    <~          D975-07




                   MT                           ND
                   -24C                         -29C



                                                 SD
                                                                                         -17C
                                                 -24C
                        WY
                        -19C

                                                     NE
                                                     -19C

                     co                 -15C
                     -24C
                                                         KS
                                                         -14C
                          105' Long.
                                NM
                                -1 4C



                          -7C                  TX
                                               -9C




                                                          -1C




               FIG. X5.5 February-10th Percentile Minimum Ambient Air Temperatures




                                                                14



                                                                JA320                ASTM001229
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                                            z4fil}f D 975 - 07


                   MT                       ND
                   -21C                    -22C



                                            SD
                                            -18C
                       WY
                       -16C

                                                NE
                                                -13C

                      co           -12C
                      ·16C
                                                 KS
                                                 -13C
                          105• Long.

                            NM
                            -11C



                                          TX
                                          -7C




                FIG. XS.6 March-10th Percentile Minimum Ambient Air Temperatures




                FIG. XS.7 October- 10th Percentile Minimum Ambient Air Temperatures




                                                        15



                                                        JA321                         ASTM001230
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               FIG. XS.8 November- 10th Percentile Minimum Ambient Ai r Temperatures




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               FIG. X5.9 December- 10th Percentile Minimum Ambient Air Temperatures




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                                                                                               JA322                                                                                             ASTM001231
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                                              z4fil}f D 975 - 07
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               FIG. XS.10 January- 10th Percentile Minimum Ambient Air Temperatures




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               FIG. XS.11 February-1 0th Percentile Minimum Ambient Air Temperatures




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                                                     JA323                             ASTM001232
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                   FIG. X5.12 March-10th Percentile Minimum Ambient Air Temperatures




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                                                                                            JA324                                                                                        ASTM001233
              Case 1:13-cv-01215-TSC Document 118-7 Filed 11/19/15 Page 154 of 267
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                                                        z4fil}f D 975 - 07
                TABLE XS.1 Tenth Percentile Minimum Ambient Air Temperatures for the United States (except Hawaii)

                                                                                  10th Percentile Temperature• c , min
                       State
                                                       Oct.           Nov.              Dec.              Jan.           Feb.       Mareh
Alabama                                                    •f            -3                -6                -7             ·<i        -2
Alaska                         Northern                 - 25           - 37               - 45             -19            -47        -4:)
                               Southern                 - 11           - 13               - 18             - 32           - 32       - 29
                               South F..ast              -4            - 11               - 16             - 19           - 13        - 12
Arizona                        North 34·> latitude       -4            - 12               - 14             -1 7           - 16       - 12
                               South 34° lat itude        7               0                 -2               -4             -1         -1
Arkansas                                                   2             -4                -7               - !'I          -7          -3
Calffomi;,                     North Coast                 3              0                -2                -2             - ·1       - ·1

                                                                                                             ..- 7,
                               interior                    2             -3                -4                              -6          -6
                               South Coast                 6                2                 0                              0          2
                                                                                            ...a
Colorado
                               Southeast
                               East 105° long
                                                           1
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                                                         ...l)
                                                                          ..5
                                                                       - 12
                                                                       .. 10
                                                                                          - 14
                                                                                          ..2'.;
                                                                                                           ..11
                                                                                                           - 19
                                                                                                            .-3()
                                                                                                                            ·"
                                                                                                                          - 15
                                                                                                                          ...24
                                                                                                                                       -·5
                                                                                                                                     - 12
                                                                                                                                      ..,e
                               WeSl. 105'' IO!l<J
Conn&Clicut                                              -1              -7               -16              - 17           -16          -9
Delaware                                                  2              -3               - 10              - 11          - 10         -6
Florida                        Nor1h 29• laiilude         7                                -2                -3             -1          2
                               South 29° latitude        14                 7                 3                3              5          7
Georgia                                                   3              -2                -6                -7             -6         -2
Idaho                                                    -4            - 13               -1 8             - 21           - 18       - 13
Illinois                       North 40• laiitucle       -1              -9               - 19             - 21           -18        - 11
                               South 40° latitude          1             -7               - 16             - 17           - H>         -8
Indiana                                                  -1              -7               - 16             - 18           - 16         -9
Iowa                                                     ..2           .. 13              ..zJ             ·-26           - 22        .. ,6
Kansas                                                   ···2          ·• 11              .... 15          ••19           ... 14      •.13
Kentucky                                                                 ··6              - 13             ·-14           - 11         -6
Louisiana                                                  5             -1                -3                -4             -2
Maine                                                    - ~l          - 10               - 23             - 26           - 26       - 18
Maryland                                                   2             -3               - 10             - 12           - 10         -4
Mass acl1usetls                                          -2             -7                - 16             - 18           - 17       - 10
Michigan                                                 -2            - 11               - 20             - 23           - 23       - 18
Minnesota                                                -4            - 18               - 30             - 34           - 31       -24
Mississippi                                                3             -3                -6                --0           -4          - I
Missouri                                                    1           -7                - 14             - 16           - 13          -8
Montana                                                  -7            -·18               -24              -30            -24        -2 1
Neb,aska                                                 .•.3          . . 13             .. 18             ··22          ...19      . .13
Nevada                         North 33' latitu~         .. 7          .. ,4              .. ,e            ·-22           - 18       ··13
                               Soutri 313'' latitude       8                0               .-3              ..4            ..2          1
New Hany.;shire                                          -:i             -8               - 18             -21            - 21        - 12
New Jeruey                                                 2             - :3             - 11             - 12           - 11         -6
New Mexico                     North 34• latitude        -2            - 11               -14              -17            - 14        -1 1
                               South 34° latitude          4            -4                 -a              - 11             -7         -3
New York                       Nortl1 42• laiitude       -3             -8                - 21             - ?.4          -24        - 16
                               South 42" latttude        -1              -5               - 14             - 16           - 15         -9
Nonh Carolina                                            -1              -7               .. 10            -·11             -9         -5
North Dakota                                             -4            - 20               ...27            -3 1           - 29        - 22
Ohio                                                     -1              -7               - 16             - 17           ·-15          -9
OklahOma                                                    1            ..a              - 12              -13            ..a         -7
Oregon                         East 122° k>ng            ·-·6          --11               -·14             ··19           ... 14       •.9
                               West 122• long              0             ..4               -5                ...7            .-4       -3
Penn$ylvania                   North 41' lr,mude         - '3            -8               - 19             - 20           - 21        - 15
                               S0ut11 4 1° latllllde       0             -6               - 13             -14            - 1'1         -6
Rhode Island                                               1             -:3              .. 12            - 13           -1:3         -7
South Carolina                                             s             -1                ..._<;            -5             -3          -2
&luth Dakota                                             -4            - 14               - 24             - 27           - 24        - 18
TAn~<;e;,                                                  f             ..._'j             -9             - 11             -9         -4
Texas                          North 3 1 ' lall!ude        3             -6                 -9             - 13             -9         -7
                               South 3 1" latitude         9             2                 -2                -3             -1           2
Utah                                                     ··2           -1'!               - 14             - 18           - 14         -8
                                                                                                                                      - 15
Verrnonl
Virginia
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                                                                                                           - 23
                                                                                                           ·- 11
                                                                                                                          ·-24
                                                                                                                           ..9         -4
Waehington                     EaS1 122• long             ·2             ..a              ·-1 1            ·-18            ·-11        ·O
                               west 122• long              (I            -3                -3                -7              ~1        -3
West Virginia                                            -1             -8                - 15             - 16           - 14         -9
Wisconsin                                                -~i           -14                -24              -28            -24        -18
Wyoming                                                  -4            - 15               - 18             - 26           - 19       - 16




                                                                 19



                                                                 JA325                                                             ASTM001234
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                                                                    z4fil}f D 975 - 07
                                                             SUMMARY OF CHANGES

          Subconunittee D02.E0.02 has identified the location of selected changes to this standard since the last issue
        (D 975--06b) that may impact the use of this standard. (Approved Feb. I, 2007.)

(J) Added standards to the Referenced Documents.                                     (3) Added X2.2.2.
(2) Added Section 4.

          Subcommittee D02.E0.02 has identified the location of selected changes to this standard since the last issue
        (D 975--06a) that may impact the use of this standard. (Approved Nov. l, 2006.)

(J) Revised Appendix X4.

          Subcommittee D02.E0.02 has identified the location of selected changes to this standard since the last issue
        (D 975--06) that may impact the use of this standard. (Approved Oct. I, 2006.)

(J) Added Test Method D 6890.                                                        (2) Revised 5.1.10.

          Subcommittee D02.E0.02 has identified the location of selected changes to this standard since the last issue
        (D 975--05) that may impact the use of this standard. (Approved May 15, 2006.)

(1) Deleted Test Method D 6920 from this standard.

          Subcommittee D02.E0.02 has identified the location of selected changes to this standard since the last issue
        (D 975--04c~l) that may impact the use of this standard. (Approved June 1, 2005.)

(1) Removed footnote J from Grade No. 4-0 in Table 1.

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             of infringement of such rights. are entirely their own responsibility.

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             if not re•tised. eitherreapproved or withdrawn. Your comments are invited either for revis ion of this standard or for additional standards
             and should be addressed to ASTM International Headquarters. Your comments will receive careful consideration at a meeting of the
             responsible technical committee, which you may attend. If you feel that your comments have not received a fair hearing you should
             make your views known to the ASTM Committee on Standards, at the address shown below.

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             (www.astm.org).




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                                                                                JA326                                                                      ASTM001235
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                    EXHIBIT 8




                                    JA327
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                 #17-7039     Document #1715850            Filed: 01/31/2018                   .
                                                                                  Page 356 of 581
.11IT~ Designation: D 396 - 98                                                                                                                   An American National Standard
It D11'                                                           AMERICAN SOCIETY FOR TESTING AND MATERIALS
                                                                    100 Barr Harbor Or., West Conshohocken. PA 19428
                                                           Reprint<><! from lhE> Annual Book of ASTM Slandards. Copyrig ht ASTM


                  Standard Specification for
                  Fuel Oils 1
                  This standard is issued under the fixed designation D 396; the number immedia1ely following lhe designation indicates die yea!' of
                  o riginal adoption or, in the case of rev ision. the year of last revision. A number in parentheses indicates !he year of last reapproval. A
                  superscript epsilo n (E) indicates an cdilorial change since lhc last revision o r rcapproval.

                   Jhis standard has been approved for use by agencies of the Uepar1111e11t of Ueiense.


1. Scope                                                                                       D 93 Test Methods for Flash Point by Pensky-Marte ns
   l.l This specification (Note I) covers grades of fuel oil                                    Closed Cup Tester
intended fo r use in various types of fuel-oil-burning equipment                               D 95 Test Metl1od for Water in Petroleum P roducts and
under various climatic a nd operating conditions. These grades                                  Bituminous Materials by D istillation2
are described as follows :                                                                     D 97 Test Method for Pour Point of Petroleum Oils2
   1. 1.1 Grades I and 2 are distillate fuels for use in domestic                              D 129 Test Method for Sulfur in Petroleum Products (Gen-
and small industrial burners. Grade 1 is particularly adapted to                                eral Bomb Method)2
v aporizing type burners or where storage conditions require                                   D 130 Test Method for Detection of Copper Corrosion from
low pour point fuel.                                                                            Petroleum Products by tl1e Copper Strip Tamish Test2
   1.1.2 Grades 4 (Light) and 4 are heavy distillate fuels or                                  D 445 Test Method for Kinematic Viscosity of Transparent
distillate/residual fuel blends used in conu11ercial/industrial                                 and Opaque Liquids (and the Calculation of Dynamic
burners equipped for this viscosity range.                                                      Viscosity )2
   1.1.3 Grades 5 (Light), 5 (Heavy), and 6 are residual fuels of                              D 473 Test Method for Sediment in Crude Oils and Fuel
increasing v iscosity and boiling range, used in industrial                                     Oils by the Ex1raction Method2
burners. Preheating is usually required for handling and p roper                               D 482 Test Method for Ash from Petroleum Products2
atomization.                                                                                   D 524 Test Method for Ramsbottom Carbon Residue of
                                                                                                Petroleum Products2
  Nore I - For information on the significance of the terminology and                          D 1266 Test Metl1od for Sulfur in Petroleum Products
test methods used in this specification, see Appendi x XL.
                                                                                                (Lamp Method)2
  Nore 2- A more detailed description of the grades of fuel oils is given
in X l.3.                                                                                      D 1298 Practice for Density, Relative Density (Specific
                                                                                                Gravity), o r API Gravity of Crude Petrolemn and L iquid
   1.2 This specification is for the use of purchasing agencies
                                                                                                Petroleum Products by Hydrometer Method2
in fommlat ing specifications to be included in contracts for
                                                                                               D 1552 Test Method for Sulfur in Petroleum Products
purchases of fuel oils and for the guidance of consumers of fuel
                                                                                                (High-Temperamre Metbod)2
oils in the selection of the grades most suitable for their needs.                             D 2622 Test Method for Sulfur in Petroleum Products by
   1.3 Nothing in this specification shall preclude observance                                  X -R ay Spectrometry3
of federal, state, or local regulations which can be more                                      D 2709 Test Method for Water and Sediment in Distillate
restrictive.                                                                                    Fuels by Centrifuge3
   1.4 All values are stated in SI units and are regarded as
                                                                                               D 3245 Test Method for Pumpabilit:y of Industrial Fuel
standard.
                                                                                                Oils3
   Non 3- The generation and dissipation ~)f static electricity can create                     D 3828 Test Methods for Flash Point by Small Scale Closed
problems in the handling of distillate burner fuel oils. For more informa-                      Tester3
tion on the subject, see Guide D 4865.                                                         D 4052 Test Method for Density and Relative Density of
                                                                                                Liquids by Digital Densi ty Meter3
2. Referenced Documents
                                                                                               D 4057 Practice for Manual Sampling of Petrolewn and
  2. 1 ASTM Standards:                                                                          Petroleum Products 3
   D 56 Test Method for Flash Point by Tag Closed Tester                                       D 4294 Test Method for Sulfur in Petroleum Products by
   D 86 Test Method for Distillation of Petroleum Products2                                     Energy-Dispersive X-Ray Fluorescence Spectrometry 3
                                                                                               D 4865 Guide for Generation and Dissipation of Static
   1
                                                                                                Electricity in Petroleum Fuel Systems 4
     This s peciiication is under the juri.sdictioo of ASTM Committee D-2 on
                                                                                               D 5949 Test Method for Pour Point of Petroleum Products
Petroleum Products an d Lubricants and is the direct responsibility of Subcommittee
D02.E on Burner, Diesel, Non-aviation Gas Turbine, and J•"[arine Fuels .
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                                                                                           JA328                                                                  ASTM000996
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    (Automatic Pressure Pulsing Method)4                                                    limiting requirements shown in Table l. A representative
   D 5950 Test Method for Pour Point of Petrolewn Products                                  sample shall be taken for testing in accordance with Practice
    (Automatic Tilt Method)4                                                                D 4057.
   D 5985 Test Method for Pour Point of Pet roleum Products                                    4.2 Modifications of limiting requirements to meet special
    (Rotational Method)4                                                                    opernting conditions agreed upon between the purchaser, the
   2.2 Other Documents:5                                                                    seller. and the supplier shall fall within li mits specified for each
   26 CFR Part 48 Diesel Fuel Excise Tax; Dye Color and                                     grade, except as stated in supplementary footnotes for Table l.
     Concentration
   40 Part 80 Regulation of Fuel and Fuel Additives                                         5. Test .Methods
                                                                                               5.1 The requirements enumerated in this specification shall
3. General Requirements                                                                     be detem1ined in accordance with the following ASTM test
   3.1 The grades of fuel oil specified herein shall be homo-                               methods, 6 except as may be required under 5.1.1.
geneous hydrocarbon oils, free from inorganic acid, and free                                   5.1.l Flash Point- Test Method D 93, except where other
from excessive amounts of solid or fibrous foreign matter.                                  methods are prescribed by law. For all grades, Test M ethod
   3.2 A ll grades containing residual components shall remain                              D 3828 may be used as an alternate witll the same limits. For
unifonn in nonnal storage and not separate by gravity into light                            Grades No. l and No. 2. Test Method D 56 may be used as an
and heavy oil components outside the viscosity limits for the                               alternate with the same limits. provided the flash point is below
grade.
4. Detailed Requirements                                                                       • For information on the precision of the ASTM test methods for fuel oils refer
   4.1 The various grades of fuel oil shall confonn to t he                                 to " An Evaluation of Methods for Determination of Sulfur i n Fuel Oils" b y A. R.
                                                                                            Crawford, Esso ]Vlathematics & Systems Inc. and G. \I. D)Toft~ Esso Research and
   5
       Av,il abl e from Superintendent of Documents, U. S. Gov enunent Printing             Engineering Co ., 1969. T his document is availabl e from the Publications Secti on,
                                                                                            AP! Libra.-y American Petrol eum Institute, 1220 L St., N.W., Wasb.ington, DC
Office, Washington, DC 20402.
                                                                                            20005.

                                                          TABLE 1 Detailed Requirements for Fuel OilsA
                                             ASTM Test                                          Grade No. 4                        No. 5                  No.5
                  Property                                    No. 1 C          No. 2c                             No. 4                                                   No. 6
                                             Method 8                                           (Light)C                           (Light)               (Heavy)

Flash Point · c . min                        D93          38                   38               38                55               55               55               60
Water and sediment, % vol, max               D 2709       0.05                 0 .05
                                                                                                         0                 0               0                  0
                                             0 95 + 0 473 ...                                   (0.50)            (0.50)           (1.00)           (1 .00)          (2.00) 0
Distillali:m temperature · c                 D86
  10 % volume recovered, max                              215
  90 % volume recovered, min                                                   282
  max                                                         288              338
Kinematic v iscosity at 40°C, mm2/s          D 445
  min                                                         1.3              1 .9             1.9               >5.5
  max                                                         2.1              3 .4             5.5               24.0E
Kinematic v iscosity at 100°C, mm2/s          0445
  min                                                                                                                              5.0              9.0               15.0
  max                                                                                                                              8 .9E            14.9E            50.0E
Ramsbottom carbon residue on 10 %             0524            0 .1 5           0 .35
  distillation residue % mass, max
Ash. 0/o mas,s , max                         D 482                                              0.05              0 .1 0           0.15             0.1 5
SuUur, % mass max"                           0129             0 .50            0.50
Copper strip corroslon rating. max .         D 130            No. 3            No. 3
  3 h at 5o•c
Density at 15·c. kgtm3                        D 1298
  min                                                                                            >876°
  max                                                         850              876
Pour Point •c, maxH                           D 97            -18              -6               -6                -6

   '"It is the inte nt of these classifications that failure to meet a ny requi rement of a given grade does not automatic ally place an oil in the next lower grade unless in fact
it meets all requirements of the rower grade . However, to meet spec ial o perating conditions modifications of individual limiting requirements may be agreed upon among
the purchaser, ,;eller and manufacturer.
    9The test methods indicated are the approved referee methods. Other acceptable methods are i ndicated in Section 2 and 5.1 .
    qinder United States reguk~tions, G rades No. 1, No. 2. and No.4 (Light) are required by 40 CFR Part 80 t o contain a sufficient amount of the dye Solvent Red 164 so
its presence is visually apparent. At or beyond terminal slorage tanks, they are required by 26 CFR Part 48 to contain the dye Solvent Red 164 at a concentration specirally
equivalent to 3.9 lbs per thousand barrels of the solid dye standard SolventRed 26.
   °The a mount of water by distillation by Test Method O 95 plus the sediment by extraction by Test Melhod D 473 shall not e~ceed the value shown i n the table. For Grade
No. 6 fuel oil, the amount of sediment b y extraction shall not exceed 0 .50 mass %, and a deduction in quantity shall be made for all wal er and sediment in excess of 1.0
mass %.
    E\Jvnere low sulfur fuel oil is required, fuel oil killing in the v iscosity range of a lower numbered gmde down to a nd including No. 4 can be supplied by agreement between
the purchaser and supplier. The viscosity range of t he i nitial shipment shall be identified and advance notice shall be required w hen changing from one viscosity ran ge
to another. This notice shall be in sufficient time to permit the user to make !he necessary adjustments.
   F0ther sulf ur limits m ay apply in selected areas i n the United States and in other countries.
   °This limlt assures a m inimum heating value and also prevents misrepresentation and misapplication of t his product as G rade No. 2.
   'tower or higher pour poi nts can be specified whenever required by conditions of storage or use. When a pour point less lhan - 18°C is specified. t he minimum viscosity
at 40°C for grade No. 2 shall be 1.7 mm2Js and the minimum 90 % recovered temperatu re shall be waived.
   'vVhere low sulfur f uel oil is required. Grade No. 6 fuel oil will be classified as Low Pour ( + 1s·c max) or High Pour (no max). Low Pour fuel oil should be used unless
tanks and lines are heated.

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                                                                                            JA329                                                                     ASTM000997
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93°C and the viscosity is below 5.5 nun2/s at 40°C. Tb.is test             oils shall be detennined in accordance with Test Method D 86.
method will give slightly lower values. In cases of dispute, Test             5. 1.7 Vi"scosiry- Viscosity shall be detennincd in accor-
Method D 93 shall be used as the referee method.                           dance with Test Method D 445.
  5.1.2 Pour Point- Test Method D 97. For all grades, the                     5.1.8 DensiO'- Practice D 1298. Test Method D 4052 can
automatic Test Methods D 5949, D 5950, and D 5985 can be                   be used as an alternate with the same limits. In case of dispute,
used as alternates with the same limits. In case of dispute, Test          Practice D 1298 shall be used as the referee method.
Method 97 shall be used as the referee method. Alternative test               5. 1.9 Corrosiof}- Test Metl1od D 130, 3 h test at 50°C.
metltods that indicate flow point properties can be used for low
                                                                              5.1.10 Sulfur- Test Method D 129. Test Methods D 1552,
sulfur residual fuels by agreement between purchaser and
                                                                           D 2622, and D 4294 can also be used for all grades. In
supplier.
                                                                           addition, Test Method D 1266 can be used for Grade 1, but
  5.1.3 Water and Sediment-The water and sediment in
                                                                           only with samples having sulfur contents of 0.4 mass per cent
Grade Nos. l and 2 shall be detennined in accordance with Test
                                                                           and less (down to 0.01 %). In case of dispute, Test Method
Method D 2709 and in Grade Nos. 4, 5, and 6 by Test Method
D 95 and Test Method D 473. A density of l.O kg/L shall be                 D 129 is tlte referee test metllod for this specification.
used for the Test Method D 95 water.
  5.1.4 Carbon Residue-Test Method D 524.                                  6. Keywords
  5.l.5 A~h-Test Metl1od D 482.                                              6.1 burner fuels; fuel oils; furnace oils; petroleum and
  5.l.6 Distillation-Distillation of Grade No. l and No. 2                 petroleum products; specifications



                                                               APPENDIX

                                                      (Nonmanda tory Information)

                                 Xl. SIGNIFICANCE OF ASTM SPRCIFICATION FOR FUEL OILS

Xl.1 Scope                                                                    Xl.3.3 Grade No. 4 {Light) is a heavy distillate fuel or
  X 1.1.1 This specification divides fuel oils into grades based           distillate/residua l fuel blend meeting the specification viscosity
upon tl1e types of burners for which they are suitable. It places          range. It is intended for use both in pressure-atomizing
limiting values on several of tile properties of tl1e oils in each         commercial-industrial burners no t requiring higher cost distil-
grade. The properties selected for limitation are those that are           lates and in burners equipped to atomize oils of higher
believed to be of the greatest significance in detennining the             viscosity. Its pennissible viscosity range allows it to be
perfonnance characteristics of the oils in the types of burners            pumped and atomized at relatively low-storage temperatures.
in which they are most commonly used                                          Xl.3.4 Grade No. 4 is usually a heavy distillate/residual
                                                                           fuel blend but can be a heavy distillate fuel meeting the
Xl.2 Classes                                                               specification viscosity range. It is intended for use in bumers
   X 1.2.1 Because of the metllods employed in their produc-               equipped with devices that ato1nize oils of higher viscosity than
tion, fuel oils fall into two broad classifications: distillates and       domestic burners can handle. Its pennissible viscosity range
residuals. The distillates consist of overhead or distilled fotc-          allows it to be pumped and atomized at relatively low storage
tions. The residuals are bottoms remaining from the distilla-              temperatures. Thus, in all but extremely cold weather it
tion, or blends of these bottoms with distillates. In this                 requires no preheating for ha ndling.
specification, Grades No. 1 and No. 2 are distillates and the                 X I .3.5 Grade No. 5 {Light) is residual fuel of intermediate
grades from No. 4 to No. 6 are usually residual, although some             viscosity for burners capable of handling fuel more viscous
heavy distillates can be sold as Grade No. 4.                              than grade No. 4 without preheating. Preheating may be
                                                                           necessary in some types of equipment for burning and in colder
Xl.3 Grades                                                                climates for handling.
 Xl.3.1 Grade No. 1 is a light distillate intended for use in                 XI .3.6 Grade No. 5 (Heavy) is a residual fuel more viscous
burners of the vaporizing type in which tile oil is converted to           than Grade No. 5 (Light) and is intended for use in similar
a vapor by contact with a heated surface or by radiatio n. High            se,vice. Preheating may be necessa1y in some types of equip-
volatility is necessa1y to ensure that evaporation proceeds witll          ment for burning and in colder climates for handling.
a minimum of residue.                                                         Xl.3 .7 Grade No. 6, sometimes referred to as Bunker C, is
    XI .3.2 Grade No. 2 is a heavier distillate than grade No. I.          a high-viscosity oil used mostly in commercial and industrial
It is intended for use in atomizing type burners which spray the           heating. It requires preheating in the swrage tank to penuit
oil into a combustion chan1ber where the tiny droplets burn                pumping, and additional preheating at the burner to pennit
while in suspension. T his grade of oil is used in most domestic           ato1nizing. The extra equipment and maintenance required to
burners and in many medium capacity conunercial-industtial                 handle this fuel us ually preclude its use in small installations.
burners where its ease of handling and ready availability                     Xl.3.8 Residual fuel oil supplied to meet regulations requir-
sometimes justify its higher cost over the residual fuels.                 ing low sulfur content can differ from the grade previously
                                                                       3




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supplied. It may be lower in viscosity (and fall into a different             tility of a fuel and the ease with which it can be vaporized. The
grade number). If it must be fluid at a given temperature, Test               test is of greater significance for oils that are to be burned in
Method D 97 need not accurately reflect the pour point which                  vaporizing type burners than for the atomizing type. For
can be expected after a period of storage. It is suggested that               example, the maximum 10 % and 90 % distilled temperatures
the purchaser and supplier discuss the proper handling and                    are specified for grade No. 1 fuel. The limiting 10 % value
operating techniques for a given low-sulfm residual fuel oil in               assures easy starti ng in vaporizing type burners and the 90 %
the installation where it is to be used.                                      limit excludes heav ier fractions that would be difficult to
                                                                              vaporize.
Xl.4 Significance of Test Methods
                                                                                 X l.4.1.6.1 The limits specified for grade No. 2 heating oil
   Xl.4.1 The signjficance of the properties of fuel oil on                   define a product that is acceptable for burners of the atomizing
which limitations are placed by the specification is as follows:              type in household heating installations. Distillation limits are
   X 1.4.1.1 Flash Point- The flash point of a fuel oil is an                 not specified for fuel oils of grades Nos. 4, 5, and 6.
indication of the maximum temperat:u re at which it can be
stored and handled without serious fire hazard. The minimum                      X l.4.1.7 14scosity Limits for Grades Nos. 1 and 2- The
penn.issible flash point is usually regulated by federal, state, or           viscosity of an oil is a measure of its resistance to flow. In fuel
municipal laws and is based on accepted practice in handling                  oil it is highly significant since it indicates both the relative
and use.                                                                      ease with which the oil will flow or can be pumped, and the
   Xl.4.1.2 Pour Point- The pour point is an indication of the                ease of atomization.
lowest temperature at which a fuel oil can be stored and still be                X L.4. l.7. 1 V1Scosity limits for No. l and No. 2 grades are
capable of flowing under very low forces. The pour point is                   specified to help maintain un.ifonn fuel flow in appliances with
prescribed in accordance with the conditions of storage and                   gravity flow, and to provide satisfactory atomization and
use. Higher pour point f-uels are permissible where heated                    constant flow rate through the small nozzles of household
storage and adequate piping facilities are provided An increase               burners. For the heavier grades of industrial and bunker fuel
in pour point can occur when residual fuel oils are subjected to              oils, viscosity is of major importance, so that adequate pre-
cyclic temperature variations that can occur in the course of                 heating facilities can be provided to permit them to be pumped
storage or when the fuel is preheated and returned to storage                 to the burner and to provide good atomization. However. it is
tanks. To predict these properties, Test Method D 3245 may be                 equally important that the maximum viscosity under the
required.                                                                     existing conditions be such that the oil can be pumped
   Xl.4.1.3 Water and Sediment-Appreciable amounts of                         satisfactorily from the storage tank to the preheater.
water and sediment in a fuel oil tend to cause fouling of                        X l.4.1.8 Density-Density alone is of little significance as
facilities for handling it, and to give trouble in burner mecha-              an indication of tl1e burning characteristics of fuel oil. How-
nis ms. Sedime nt may accumulate in storage tanks and on filter               ever, when used in co~junction with other properties, it is of
screens or burrer parts, resulting in obstruction to flow of oil              value in mass-volume relationships and in calculating the
from the tank to the burner. Water in distillate fuels can cause              specific energy (heating value) of an oil.
corrosion of tanks and equipment and it can cause emulsions in
                                                                                 Xl.4.1.9 Co1msion--The corrosion test serves to indicate
residual fue.Js.
                                                                              the presence or absence of materials that could corrode copper,
   X l.4.1.4 Carbon Residu~ The caroon residue of a fuel is a
                                                                              brass, and broll7..e components of the fuel system. This property
measure of the carbonaceous material left after all the volatile
                                                                              is specified only for Nos. l and 2 distillate fuel oils.
components are vaporized in the absence of air. It is a ro ugh
approximation of the tendency of a fuel to form deposits in                      Xl.4.l.10 Limited sulfur content of fuel oil can be required
vaporizing burners, such as pot-type and sleeve-type burners,                 for special uses in co,mection with heat treatment, nonferrous
where the fuel is vaporized in an air-deficient atmosphere.                   metal, glass, aud ceramic furnaces or to meet federal, state, or
   Xl.4. l.4.1 To obtain measurable values of carbon residue in               local legislation or regulations.
the lighter distillate fuel oils, it is necessary to distill the oil to          X l.4.1.11 Nilmgen-Nitrogen oxide emission regulatio ns
remove 90 % of ii in accordance with Section 9 of Test Method                 have been imposed on certain combustion facilities as a
D 524, and then detern1ine the carbon residue concentrated in                 function of fuel nitrogen content. For purposes of these
the remaining 10 % bottoms.                                                   regulations, distillate fuels, low nitrogen residual fuels, and
   X l .4. 1.5 Ash-The amount of ash is the quantity of non-                  high nitrogen residual fuels have been defined by tl1eir nitrogen
combustible material in aJ1 oil. Excessive amounts can indicate               content. Installations are required to meet different emission
the presence of materials that cause high wear of burner pumps                standards according to the classification of the fuel being used.
and valves, and conuibute to deposits on boiler heating                       When regulations require such a distinctio n to be made, fuel
surfaces.                                                                     nitrogen specifications can be needed in the contractual agree-
   Xl.4.1.6 Distillation-The distillation test shows the vola-                ment between the purchaser and the supplier.




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                    EXHIBIT 9




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~~l~ Designation: D 1217 -93 (Reapproved 1998)                                                                                                      An American NatjonaJStandard




                   Standard Test Method for
                   Density and Relative Density (Specific Gravity) of Liquids by
                   Bingham Pycnometer1
                   Tbis standard is issued under the ftxed designation D 1217; the number immediately fol lo1vino the designation indicates the year of
                   original ~dopti~o or, in_ the case of rev_isi~n. the year of last revision. A number in parentheses l:idicates the year of last reapproval. A
                   superscnpt epsi lon (c) md1cates an echtonal change smce the last revision or reapproval
                   This s1a11dard has been approved for use by agencies of zhe Depar1me11t of Defense.

1. Scope                                                                                    from this weight and the previously determined weight of
   1.1 lllis test method covers the measurement of the density                              water that is required to fiU the pycuometer at the same
of pure hydrocarbons or petroleum distillates boiling between                               temperatw-e, botJ1 weights being corrected for the buoyancy of
90 and 110°C that can be handled in a no1mal fashion as a                                   air.
liquid at the specified test temperatures of 20 and 25°C.
                                                                                            S. Significance and Use
   1.2 This test method provides a calculation procedure for
conversion of density to relative densi ty (specific gravity).                                5. 1 Density is a fundamental physical property which can be
   1.3 The values stated in SI uni ts are to be regarded as the                             used in conjuncrion with other properties ro characterize pure
standard.                                                                                   hydrocarbons and their mixtures.
   1.4 This standard does 1101 purport to address all of the                                  5.2 This test method was originally developed for the
safety concerns. if any. associated with its use. It is the                                 determination of the density of the ASTM Knock Test Refer-
responsibility of the user of this standard to establish appro-                             ence Fuels n-heptane and isooctane, wi th an acctu·acy of
priate safety a11d health practices and determine the applica-                              0.00003 g/nlL. Although it is no longer employed extensively
bility of regulatory limitations prior 10 use. Specific precau-                             for tllis purpose, this test method is useful whenever accurate
tionary statements are given in Note 1, Note 2, and Note 3.                                 densities of pure hydrocarbons or petroleum fractions witl1
                                                                                            boiling points between 90 and 110°C are required.
2. Referenced Documents
                                                                                            6. Apparatus
   2.1 ASTM Standards:
   E 1 Specification for ASTM Them1ometers 2                                                   6.1 Pycnome1er, Bingbam-type, 3 conforming ro the dimen-
                                                                                            sions given in Fig. I, constructed of borosilicate glass and
3. Terminology                                                                              having a total weight not exceeding 30 g.
   3.1 Definitions:                                                                            6.2 Constant-Temperature Ba1h, provided with suitable py-
  3.1.l density -the weight in vacuo, (that is, the mass) of a                              cnometer holders or clips and means for maintaining tempera-
uni t volume of the mate1ial at any given temperature.                                      tures constant to :!:0.01 °C in the desired range.
   3. 1.2 relative density (specific gravity)- the ratio of the                                6.3 Bath Thermometer, graduated in 0.1°C subdivisions and
mass (weight in vacuo) of a given volume of ma terial at a                                  standardized for the ice point and the range of use to the nearest
temperature, 11, to the mass of an equal \'Olume of water at a                              0.01°C. ASTM Saybolt Viscosity Thennometer 17C as pre-
reference temperature, 12 ; or it is the ratio of the density of the                        scribed in Specification E I, designed for tests at 21.1 °C and
material at I 1 to the density of water at 12 . When the reference                          25°C, is recommended. A standardized platinum resistance
temperature is 4.00°C, the temperature at which the relative                                thermometer may also be used, and offers the best means for
density of water is unity, relative density (specific gravity) and                          observing minute temperature changes in the bath. Whichever
density are numerically equal.                                                              means are available, it must be realized that for most hvdro-
                                                                                            carbons the density coefficient is about 0.0008 units/°C: and
4. Summary of Test Method                                                                   therefore an error of :!:0.013°C would cause au erro1· of
  4. 1 The liquid sample is introduced into a pycnometer,                                   :!:0.00001 in densi ty.
equilibrated to the desired temperature, and weighed. The                                      6.4 Hypodermic Syringe, 30-mL capacity, of chemically
relative density (specific gravity) or density is then calculated                           resistant glass, equipped with a 152-nun (6-in.) needle made of
                                                                                            stainless steel tubing as shown in Fig. 2 .
   1
                                                                                               6.5 Draw-Ojf Needle, made of stainless steel tubing as
     This test method is WJder the juiisdictiou of ASTM Commiuee [).2 on
Petroleum Products and Lub1ica11tsand is the direct responsibility of S ubcommittee         shown in Fig. 2 .
D02.04on Hydrocarbon Analysis.
  Current edition approved Feb. 15, 199'3. Published May 1993 . Originally
                                                                                               3
published as D 1217 - 52 T. Last J>revious edition D 1217 - 91.                                    Pycoometer available from Reliance Glass Co.. 220 Gateway Rd.. Bensetl\'ille.
  2 Annual Book ofASTM StandarcJs. Vol 14.03.                                               IL 60 I06-0825, has been fow1d satisfactory.



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                                                                                            JA334                                                                   ASTM000601
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                                                                             7.3 Chromic Acid ( Powssium Dichromate!Conc. Sulfuric
                                                                            Acid)-(Warning - See Note 3).
                                                                              Nun; 3 - W arning: Causes severe bums. A recognized carcinogen. Do
                                                                            not get in eyes, or on skin or clothing.

                                                                            8. Preparation of Apparatus
                                                                               8.1 T horoughly clea n the pycnometer with hot chromic acid
                                                                            cleaning solution by means of the assembly shown in Fig. 4
                               6 m     ID Tubi ng

                             ---Very Fi ne Line Cut
                                                                            (Warning- See Note 3). Chromic acid solution is the most
                                                                            effective cleaning agent. However, surfactant cleani ng fluids
                                                                            have also been used successfully. Mount the apparatus firmly
                                                                            and connect the u·ap to the vacuum. Wann the necessary
                             .;---With a Diamond Pencil                     amount of cleaning acid in the beaker, place the pycnometer on
                              7-8 m O D                                     the ground joint, and evacuate by opening the stopcock to
                                                                            vacmun. Fill the pycnometer with acid by turning the stopcock,
                              Capilla ry:
                                                                            repeat several times or remo ve the filled pycnometer, and allow
                                l.0- l. l   1111                            it to stand for several hours at 50 to 60°C. Remove the acid
                                                                            from the pycnometer by evacuation, empty the acid from the
                                                                            trap, and flush the pycnometer wi th water. Cleaning should be
                                                                            made in this manner whenever the pycnometer is to be
                                                                            calibrated or whenever liquid fails to drain cleanly from the
                        22
                                                                            walls of the pycnometer or its capillary. Ordinarily, the
                                                                            pycuometer may be cleaned between detemunations by wash-
                                                                            ing with a suitable solvent, rinsing with pure, dry ace tone,
                                                                            followed by isopentane, and vacuum drying.
                                                                               8.2 Transfer the pyc11ome ter to the cleaner assembly shown
                                                                            in Fig. 3, wi th vacuum line and trap attached to the side tube
                                                                            as indicated. Place the pycnometer on the cleaner with the
                                                                            upper hypodennic needle extending upward into the pycnom-
             FIG. 1 Bingham-Type Pycnometer, 25 mL                          eter, and press the edge of the ground joint on the rnbber
                                                                            stopper until the vacuum holds it in place. Draw out all the
   6.6 Solvent-Cleani11g Assembly, as shown in Fig. 3.                      liquid or sample. Inunerse the lower end of the hypodeml ic
   6.7 Chromic Acid Cleaning App0!·a1us, similar to tha t                   tube in a suitable sol vent and draw 20 to 25 mL through the
shown in Fig. 4.                                                            pycnometer. Leaving the pycnometer in place, draw air through
   6.8 Balance , capable of reproducing weighings within 0.1                it until it is dry. Clean the hypodennic syringe with the same
mg. Mechanical balances should have sensitivity which causes                apparatus.
the pointer to be deflected 2 or 3 scale divisions per 1 mg when
carrying a load of 30 g or less on each pan. The balance should             9. CaHbration of Pycnometer
be located io a room shielded from drafts and fumes and in                      9.1 Proceeding as directed in Section 10, detennine the
which the temperature changes between related weighings                     weight of freshly-boiled and cooled distilled wa ter (distilled
(empty and filled pycnome ter) do not cause a significant                   from alkaline penuanganate through a tin condenser) held by
change in the ratio of the balance ain1s. O therwise weighings              the pycnometer when equilibrated to vol ume at the bath
shall be made by the method of substitution, in which the                   temperature to be used in the determination. Repeat until at
calibra ted weights and pycnometer are al ternately weighed on              Je.ast three values agree to :!::0.2 mg.
the same balance pan. The same balance shall be used for all
related weighings.                                                          10. Procedure
   6.9 Weights, whose relative values are known to the nearest                JO. I Usi ng ano ther 25-mL pycnometer as a tare (Note 4),
0.05 mg or better. The same set of weights shall be used for the            weigh the clean, dry pycnometer to 0.1 mg and record the
calibration of the pycnometer and the determination of densi-               weight.
ties.
                                                                               NoTE 4-lt is convenient to use the lightest of a set of pycnometers as
7. Reagents and Materials                                                   a tare. For best results the treatment and environment of both pycnometer
                                                                            and tare should be identical for some time prior to weighing.
  7. l Ace1one - (Warning- See Note 1).
                                                                               10.2 Cool the sample to 5 to l0°C below the test tempera-
  NOrE 1- '\Vaming: Extremely flammable. Use adeq uate ventilation.
                                                                            ture, and fill the clean 30-mL hypodennic syringe. Transfer the
  7.2 Jsopentane - ( Warning- See Note 2).                                  sample to the pycnometer through the filling needle; avoid
   NOrE '.! - ·w arning: Extremely flammable. Avoid buildup of vapors       trapping air bubbles (Note 2) in the bulb or capillary of the
and remo,•e all sources of igllition, especially non-explosion proof        pycnometer. If any are present, draw them into the syiinge
electrical apparatus.                                                       where possible. AJso remove with the syringe or draw-off

                                                                        2



                                                                            JA335                                                         ASTM000602
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                                                                               6.4 mn (l/ 4 Jn.) OD X No. 20 Stubs
                                                                               ga (0 . 9    l!lll    (0 . 035 in.)) saawlesg
                                                                               soft drawn coppe~ tubing


                                                                                   No. 26 g« (0 .46          mm (0.01a tn.) OD)
                                                                                   Stoin l ess atee l
                                                                                   hyp<>dcr~i c t ubing




                              Hn>0d•rmk Pt tdle                       Draw-Orr Netdlt
                              Hub l l gz ustd
                              with L u•r-typ,,
                              syringe                 :~;. 1 ~ ~ ..~! ~~;!/'" (0.035 in . ) 00)
                                                      hypodermic t\U"l l ng




                                     ,___   _ _ _ _ 170 ..., -        -------l
                                                    Fllllnr Ne.die
                                  T o be use d with a 30 ml Val e B-0 Lok-Syringe
                                  Becton-Dickinson and Co . . Rutherford. N. J .
                                               FIG. 2 Accessories for Bingham-Type Pycnometer




                                                                                                    ~~... i~fe~ f~.;!i.,.(0 . 035 in. OD)
                          6 .4 ~m (1/ 4 in.) 00 X No.         20
                                                             Stubs
                          g a (0 . 9 mn (0 . 03S in . )) &eamiess
                                                                                                    h ypodermic t\lb! n9
                          s oft draw'n copper tubing                                    6
                                                                                        E
                                                                                      8

                                                                                                         No. JI Rubber'
                                                                                                         $lo pper




                                                                                                    3.2 IDD (l/8 in . ) Of> X No. 20 St. Ub$
                                                                                        E           ga (0.9 wn (0.035 in.)) s eam~eAs
                                                             Imme rse this            E             soft drawn copper tub!ng
                                                             tr.d In solvtnt          ...
                                                                                      0


                                                                                    _J
                                            FIG. 3 Cleaner Assembly for Bingham-Type Pycnometer


needle any liquid above the calibration mark in the capillary or                    at the desired temperan,re. Periodically, or before the liquid
overflow reservoir. Dry the remainder with a cotton fiber pipe                      expands into the overflow chamber, remove tl1e stopper, raise
cleaner or cotton swab which has been dampened slightly witl1                       tl1e pycnometer sufficiently to expose tl1e calibration mark to
acetone.                                                                            view, and readjust the liquid level to the mark by withdrawing
   Non; 5- For work of highest accuracy on pure compounds, dissolved                liquid tlu ough the steel draw-off needle until expansion has
air may be removed from the sample by repeated freezi ng and remelting              stopped, indicating that the liquid has reached the temperature
of the sample under vacuum in the pycnometer.                                       of the thermostat. Do not allow the liquid to expand more than
  10.3 Close the pycnometer with the glass stopper and                              10 mm abm'e the calibration mark at any time, to minimize
immerse it to a point above the calibration mark in the                             errors caused by faulty drainage. Allow the contents to equili-
constant-temperature bath adjusted to a constancy of ::!:0.01 "C                    brate au additional 10 min and draw the level down exactly to

                                                                               3



                                                                                    JA336                                                      ASTM000603
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                                                                                                          a dd o~ ••t• r




                                                                                     Schme.Ue Dl&l'ta ro ot
                                                                                      Cl•aocr Aaacmbly


                                                                       All di 111cn s ions in u

                   FIG. 4 All-Glass Pycnometer Cleaner Assembly for Use with Hot Chromic Acid Cleaning Solution


                                                                                                                TABLE 1 Density of Water'
the calibration line, avoiding parallax and using a magnifier, if
                                                                                       Temper-         Density.           Temper·     Density,    Temper-     Density.
necessary, to obtain good visibility. Remove any liquid adher-                         ature,• C         g/ml             ature, •c               ature, •c    g/mL
                                                                                                                                       glmL
ing to the walls above the calibration mark, with the draw-off
                                                                                          0            0.999840               21      0.997991       40       0.9922 12
needle or pipe cleaner, depending upon the volatility of the                              3            0.999964               22      0.997769       45       0.990208
sample. Portions in the overflow bulb may be removed wi th a                              4            0.999972               23      0.997537       50       0.988-030
cotton s wab moistened with acetone.                                                      5            0.999964               24      0.997295       55       0.985688
                                                                                         10            0.999699               25      0.997043       60       0.98319 1
   10.4 Replace the glass stopper, remove the pycnometer                                 15            0.999099               26      0.996782       65       0.980546
from the bath, wash the outside surface with acetone, and dry                            15.56         0.99901 2              27      0.996511       70       0.977759
thoroughly with a chemically clean, lint-free, slightly damp                             16            0.998943               28      0.996231       75       0.974837
                                                                                         17            0.998774               29      0.995943       80       0.97 1785
cloth. Place the pycnometer in or near the balance case for 20                           18            0.998595               30      0.995645       85       0.968606
min and weigh to the nearest 0.1 mg. In atmospheres of low                               19            0.998404               35      0.994029       90       0.965305
hwuidity (60 % or lower), drying the pycnometer by iubbi.ng                              20            0.998203               37.78   0.993042      100       0.958345

with a dry cotton cloth will induce static charges equivalent to                      ADensllles conforming to the International Temperature Scale 1990 (ITS 90)
                                                                                     were extracted from Appendix G. Standard Methods for Analysis of Petroleum and
a loss of about 1 mg in the weight of the pycnometer. This                           Related Produels 199t, Institute of Petroleum, London.
charge need not be completely dissipated in Jess than 30 miu.
The use of about 0.1 -mg radium bromide- or poloniwn-coated
foil in the balance case, or maintaining the relative humidity a t                      11.2 The equation assumes tl1at the weighings of the pyc-
60 % or higher, aids in reducing weighing difficulties due to                        nometer empty and filled are made in such a sho1t time interval
static charges.                                                                      that the air densi ty has not changed. If significant change
   10.5 Record temperature of the balance, barometric pres-                          should occur, the calculated apparent weight of the sample, Ws,
sure, and relative humidity.                                                         in this equation, must be corrected for the difference in air
                                                                                     buoyancy exerted on the pycnometer as follows :
11. Calculation
                                                                                                        Ws = W\s - W'p( I + (d'/ 2.2)
  11.1 Calculate the tn1e density of the sample as follows:                                                - (d' :fd wt))I( i + (d. 2/2.2) - (d, 2/dw,))             (3)
    Density, glmL at °C = W,( I + (dj d,)
                      - (d.fd..-,))dJWv( I + (d/ d,.J - (d / d...,))
                                                                                       where:
                                                                           (I)         wzPS        = weight of pycnometer and contained sample under
                                                                                                      second or final air density,
where:                                                                                W'p          = weight of pycnometer in air of first density,
ws = weight in air of sample contained in the pycnometer                              d'           = density of air when weighing empty pycnometer,
        at the test temperature, g,                                                   d1
                                                                                       a       = density of air when weighing filled pycnometer,
WW      weight in air of the water conta ined in the pycoom-                                      and
        eter at the calibration temperature, g,                                         dw, and 2.2 = density of weights and borosilicate glass,
        density of water at d1e calibration temperature, as                          respectively.
        obtained from Table 1,                                                          Likewise, if the pycnometer, empty and filled wi th water for
      = density of air in balance case at the time of                                calibration, is weighed llllder different air densities a similar
        weighing, as calculated from 10.3,                                           correction for different air buoyancies shall be applied.
      = density of weights used in weighing the sample and                              11.3 Calculate the relative density (specific gravity) of the
        water (brass= 10.4 gimL, stainless steel= 7.75                               sample by dividing the density as obtained in 11. l by the
        g/mL), and                                                                   relative density of water a t the reference tempera ture obtained
      = approximate density of sample or                                             from Table 1.
                                                                                        11.4 Calculate the density of air in the balance room as
                                                                           (2)       follows:

                                                                                 4




                                                                                     JA337                                                                    ASTM000604
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     Air density (d.). g/mL                                                             ing relative densi ty (specific gravity), give both the test
                              = [(B - 0.3783 Hp)(0.000465))1(273 + l)                   temperature and the reference temperamre, but no units (for
                                                                              (4)       example, relative density (specific gravity), 20/4°C = x.xxxxx).
where:                                                                                  CaJTy all calculations to one digit beyond the last significant
B = barometric pressure, mm Hg, corrected to 0°C,                                       figure, but report the final result to the fifth decimal place
H      relative humidity, decimal fraction,                                             (0.00001).
p      vapor pressure of water at temperature t, mm Hg, and
       room temperature, 0 C.                                                           13. Precision and Bias
   NO'l'E 6 - lf this test method is to be used frequently, a considerable                 13. 1 Precision- Results, using the 25-mL Bingham-type
amount of calculation can be avoided by use of a gas density balance to                 pycnometer, should not differ from the mean by more than the
detennine the air density. Weigh a sealed 250-mL glass bulb at several                  following amounts:
different ai r densities and plot the weight against the air density. To                           Repeatability                             Reproducibility
detennine the air density at some later time, weigh the bulb and read the                         One Operator and                          Different Operators
air density from the point on the curve corresponding to the weight                                    Apparatus                               and Apparatus

  11 .5 To calculate the density or relative density (specific                                          0.00002                                   0.00003
gravity) at any test temperatw-e, t, other than the calibration                           Non, 7 - T he precision for this method was not obtained in accordance
temperature, t c(to correct for the cubical coefficient of thennal                      with RR:D02-l007.
expansion of borosilicate glass), divide the value obtained in
                                                                                          13.2 Bias- The difference of resul rs from the established
10. 1 or 10.2 by the following expression:
                                                                                        values when compared to pure reference mate1ials is not
                                                                              (5)       expected to be more than ::!:0.00003 gi mL. Specific bias has not
                                                                                        been established by cooperative testing.
12. Report
  12.1 In reporting density, give the test temperature and the                          14. Keywords
Wlits (for example, density, 20°C = x.xxxxx g/mL). In report-                             14.1 Density; pycnometer; relative density; specific gravity

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                  EXHIBIT 17




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                  EXHIBIT 18




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Standard Consumer Safety Specification for Infant Walkers¹
This standard is issued under the fixed designation F977; the number immediately following the designation indicates the year of original
adoption or, in the case of revision, the year of last revision. A number in parentheses indicates the year of last reapproval. A superscript epsilon
(ɛ) indicates an editorial change since the last revision or reapproval.

    ¹ This consumer safety specification is under the jurisdiction of ASTM Committee F15 on Consumer Products and is the direct
    responsibility of Subcommittee F15.17 on Carriages, Strollers, Walkers and Stationary Activity Centers.

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INTRODUCTION
This consumer safety specification addresses walker incidents that were identified by the U.S. Consumer Product Safety Commission (CPSC).

Based on data collected by the CPSC, the majority of incidents involved children falling down stairs or steps in walkers. Other incidents involved
children tipping over in walkers or accessing hot surfaces or liquids. The injuries associated with these incidents ranged from cuts and bruises
to burns, skull fractures, and deaths. Most of the children injured were under 15 months old.

In response to the incident data provided by the CPSC, this consumer safety specification attempts to minimize the risk of injury or death
associated with children in walkers falling down stairs or between levels, or tipping over. It also contains provisions to address the risk of injury
associated with walker seating systems and folding mechanisms.


1. Scope

1.1 This consumer safety specification covers performance requirements, test methods, and marking requirements to promote safe use of the
infant walker (see 3.1).

1.2 This consumer safety specification is intended to minimize accidents to children resulting from normal use and reasonably foreseeable
misuse or abuse of walkers.

1.3 No walker produced after the approval date of this consumer safety specification shall, either by label or other means, indicate compliance
with this specification unless it conforms to all requirements contained herein.

1.4 This consumer safety specification is not intended to address accidents and injuries resulting from the interaction of other persons with the
child in the walker or the accidents resulting from abuse and misuse by children able to walk.

1.5 The values stated in inch-pound units are to be regarded as the standard. The SI units given in parentheses are for information only.

1.6 The following precautionary caveat pertains only to the test method portion, Section 7, of this consumer safety specification: This standard
does not purport to address all of the safety concerns, if any, associated with its use. It is the responsibility of the user of this standard to
establish appropriate safety and health practices and determine the applicability of regulatory limitations prior to use.


2. Referenced Documents
2.1 ASTM Standards:²
      • D3359 Test Methods for Measuring Adhesion by Tape Test

      • F963 Consumer Safety Specification for Toy Safety

    ² For referenced ASTM standards, visit the ASTM website, www.astm.org, or contact ASTM Customer Service at service@astm.org. For
    Annual Book of ASTM Standards volume information, refer to the standard’s Document Summary page on the ASTM website.

2.2 Federal Regulations: ³
      • 16 CFR 1303 Ban of Lead-Containing Paint and Certain Consumer Products Bearing Lead-Containing Paint

      • 16 CFR 1500 Hazardous Substances Act Regulations Including Sections:
               ◦ 1500.48 Technical Requirements for Determining a Sharp Point in Toys or Other Articles Intended for Use by Children Under
                 Eight Years of Age

               ◦ 1500.49 Technical Requirements for Determining a Sharp Metal or Glass Edge in Toys or Other Articles Intended for Use by
                 Children Under Eight Years of Age

               ◦ 1500.50-.52 Test Methods for Simulating Use and Abuse of Toys and Other Articles Intended for Use by Children

      • 16 CFR 1501 Method for Identifying Toys and Other Articles Intended for Use by Children Under Three Years of Age Which Present
        Choking, Aspiration, or Ingestion Hazards Because of Small Parts

    ³ Available from U.S. Government Printing Office, N. Capital and H Streets, NW, Washington, DC 20401.


3. Terminology
3.1 Definitions of Terms Specific to This Standard:

3.1.1 conspicuous, adj— a label that is visible, when the unit is in a manufacturer’s recommended use position, to a person standing near the
unit at any one position around the unit but not necessarily visible from all positions.



                                                                     JA346
https://law.resource.org/pub/us/cfr/ibr/003/astm.f977.2012.html                                                                       11/16/2015
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3.1.2 dynamic load, I r applicat ion of impulsive force through free fall of a weight.

3.1.3 manufacturer's recommended use position. I r any position t hat is presented as a normal, allowable, or acceptable configuration
for the use of the product by the manufact urer in any descript ive or inst ruct ional lit erature. This specifically excludes positions t hat the
manufacturer shows in a like manner in its literature t o be unacceptable, unsafe, or not recommended.

3.1.4 non-paper label, I r any label material (such as plast ic or met al) which eit her will not tear w it hout t he aid of t ools or tears leaving a
sha rply defined edge.

3.1.5 occupant. I r t hat individual who is in a product t hat is set up in one of the manufacturer's recommended use positions.

3.1.6 paper label, I r any label material which tears w it hout the aid of t ools and leaves a fibrous edge.

3.1.7 static load, I r a vertically dow nward force applied by a calibrated force gauge or by dead weights.

3.1.8 walker, I r a mobile unit that enables a child t o move on a horizontal surface when propelled by the child sitting or standing within the
wa lker, and t hat is in the manufacturer's recommended use position. Examples of different style walkers can be seen in .Ei9..l




                                              X-Frame                                          Circular




                                                                    Open Back




                                         Adjustable Height                                Bouncer-Walker
                                                  FIG. 1 Illustrations of Five Types of Baby Walkers


4. Calibration and Standardization
4 .1 All test ing shall be conducted on a concrete floor t hat may be covered with~ in. (3 mm) t hick vinyl floor cover, unless test instructs
different ly.

4 .2 The wa lker shall be completely assembled, unless ot herwise noted, in accordance w ith t he manufact urer's inst ruct ions.

4 .3 No testing shall be conduct ed within 48 h of manufact uring.

4 .4 The product t o be tested shall be in a room with ambient temperat ure of 73 ± 9°F (23 ± 5°C) for at least 1 h prior to testing. Testing then
shall be conduct ed within this temperature range.

4 .5 All testing required by this specificat ion shall be conduct ed on the same unit.

4 .6 The following guidelines shall apply to force gauges used for testing:




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https://law.resource.org/pub/us/cfr/ibr/003/astm.f977.2012.html                                                                            11/16/201 5
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4.6.1 Equipment— Force gauge with a range of 0 to 25 lbf (111 N) and a tolerance of 60.25 lbf (1.1 N). A calibration interval shall be
maintained for the force gauge which will ensure that the accuracy does not drift beyond the stated tolerance.

4.6.2 Equipment— Force gauge with a range 0 to 100 lbf (445 N) and a tolerance of 61 lbf (4.4 N). A calibration interval shall be maintained
for the force gauge which will ensure that the accuracy does not drift beyond the stated tolerance.


5. General Requirements

5.1 The walker shall conform to the regulations specified in Section 2 of this specification before and after all testing.

5.2 Prior to testing, any exposed wood parts shall be smooth and free from splinters.

5.3 Latching or Locking Mechanisms— Any unit that folds shall have a latching or locking device or other provision in the design that will
prevent the unit from unintentionally folding when properly placed in the manufacturer’s recommended use position. The unit shall remain in its
manufacturer’s recommended use position during and upon completion of the test, in accordance with 7.2. If a unit is designed with a latching
or locking device, that device shall remain engaged and operative after testing.

5.4 Openings— Holes or slots that extend entirely through a wall section of any rigid material less than 0.375 in. (9.53 mm) thick and admit a
0.210 in. (5.33 mm) diameter rod shall also admit a 0.375 in. (9.53 mm) diameter rod. Holes or slots that are between 0.210 in. (5.33 mm) and
0.375 in. (9.53 mm) and have a wall thickness less than 0.375 in. (9.53 mm), but are limited in depth to 0.375 in. (9.53 mm) maximum by
another rigid surface shall be permissible (see Fig. 2). The product shall be evaluated in all manufacturer’s recommended use positions.



                                                                               < 0.375 (9.53 mm)
                                0.375
                              (9.53 mm)
                                 Max.




                                                             FIG. 2 Opening Examples

5.5 Scissoring, Shearing, Pinching— A product, when in a manufacturer’s recommended use position, shall be designed and constructed
so as to prevent injury to the occupant from any scissoring, shearing, or pinching when members or components rotate about a common axis or
fastening point, slide, pivot, fold or otherwise move relative to one another. Scissoring, shearing, or pinching that may cause injury shall not be




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permissible when the edges of any rigid parts admit a probe greater than 0.210 in. (5.33 mm) and less than 0.375 in. (9.53 mm) diameter at any
accessible point throughout t he range of mot ion of such parts.

5.6 Exposed Coil Springs- Any exposed coil spring which is accessible to t he occupant, having or capable of generating a space between
coils of 0.210 in. (5.33 mm) or greater during stat ic load testing in accordance w it h 7.1 .2 shall be covered o r otherwise designed to prevent
injury from entrapment.


5.7 Labeling

5.7 .1 Warning labels, whether paper or non-paper, shall be permanent when tested per 1.il-1.il.

5.7 .2 Warning stat ements applied directly onto t he surface of the product by hot st amping, heat t ransfer, print ing, wood burning, et c . shall be
permanent when t ested per 7.4.4.

5.7 .3 Non-paper labels shall not liberate small parts when t ested in accordance w ith 7.4.5.

5.8 Protective Components- If a child can g rasp components between the thumb and forefinger, o r teeth (such as caps, sleeves, or plugs
used for prot ection from sharp edges, point s, or ent rapment of fingers or toes), or if t here is at least 0.040 in. (1.00 mm) gap between the
component and its adjacent parent component, such component shall not be removed when t ested in accordance w ith 7.5.

5.9 Toys- Toy accessories attached to, removable from, or sold with an infant walker, as well as their means of attachment, must meet
applicable requirement s of Consumer Safety Specification F963.


6. Performance Requirements
     NOTE 7 -     The forces that are to be applied to the sample in the tests described in Section 7 of this specificat ion are readily applied by
    means of a calibrated force gauge, or in the case of stat ic load and dynamic load t ests, by fixed masses.


6.1 Stability

6.1.l Tipping Resistance Against an Immovable Object- A m inimum stability index of 18 shall be required to tip over a walker either
forwards or backwards when test ed in accordance with L;i.

6.1.2 Occupant Leaning Over Edg~ A walker shall remain upright (not t ip over) when forces are applied forward, and s ideward, in
accordance with ~      -

6.2 Structural Integrit~ All t ests that cover stat ic and dynamic loading, and support of the occupant, are t o be performed on the same
product, sequentially and without refurbishing or repositioning of adjust ment, if any. At test conclusion, t here shall be no fa ilure of seams,
breakage of materials, or changes in adjust ments that could cause the unit not to fully support the child or c reat e a hazardous condition as
defined in Sect ion 5 . Maximum s lippage of adjustable feat ures, if any, is 1 in. (25 mm).

6.2.1 Dynamic Load- The occupant support member (seat) shall support a dynamic load when test ed in accordance with Ll.J..

6.2 .2 Static Load- The walker shall not creat e a hazardous condition as defined in 5.4 when tested in accordance w it h 7.1 .2 .

6.2.3 Leg Openings- The seat of t he walker shall be designed so that t he leg openings will not permit passage of the test probe (see .EiJ;l...3.)
when t ested in accordance with 7.1.3.



                                               \
                                           2.15 in. (54.6 mm)
                                              Rad. Typical
                                                                                           1
                                                     \                                 4 .3 in .
                                                                                     (109 mm)




                                                                                           J
                                       -            5.7 in. (145 mm)
                                                                          -
                              t
                                                                       JA349
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                                                          L. 10 111. \ o<I.O 111111)
                                                              Ra       ypical

                           5.2 in.
                         (132 mm)
                                                                   4
                              j
                                               l
                                     Base o f Probe

                                                       ~-"'""'
     NOTE -      Dimensions are based on a 5th percentile 6-mont h-old child. Gauge may be modified to facilit ate t esting to allow for pulling of
    the gauge.

                                                            FIG. 3 Small Head Test Probe

6.3 Prevention ofFalls Down Step{s}- The walker shall maint ain contact with and be supported only by t he test platform at the conclusion
of the t ests in ~ -

6.4 Parking Device (apphcable to walkers equipped with parking brakes}- The walker shall have a maximum displacement of 1.97
in. (50 mm) for each test in each direct ion (forwa rd, rearward, and sideward) when t ested in accordance with J.:l..


7. Test Methods
     NOTE 2 -     Except for the structural integrity test s (see ll). that shall be performed first, the tests can be performed in any sequence.


7.1 Structural Integrity (see §.1)
    NOTE 3 -    All wood blocks are fabricat ed from 1 in. nominal thickness lumber having a finish thickness of 34 in. (19 mm) unless
    otherwise stated.


7.1 .1 Dynamicload(see~

7.1.1.1 Posit ion the wa lker in the manufacturer's recommended use position w it h all wheels on the floor. If adjustable, adjust to the highest and
most upright position.

7.1.1.2 Affix to t he walker seat a 6 by 6 in. (1 50 by 150 mm) wood block. If the unit has a hammock type seat, use a st andard 6 in. weld cap, as
identified in Fig. 4. Attach the weld cap to the bottom of t he test weight with t he convex surface down.

7.1.1.3 Drop a t est weight of 33 lb (15.0 kg). with t he weight of t he weld cap included, ont o the seat at least a distance of 1 in. (25 mm) 100
t imes at a rate of 4 ± 1 s per cycle.

7.1.1.4 When test ing a spring supported adjustable bouncer wa lker, test w ith t he unit in the highest adjustment position and support the frame
so t hat t he dropping of the 33 lb (15.0 kg) weight does not cause the frame t o bottom out artificially.




    NOTE -    Caps furnished to ANSI st andards unless otherwise specified. Welding caps are formed from st eel plate and are ellipsoidal in
    shape. The minor axis being equal to one half t he major axis radii "R" and "r" closely approximate the act ual semi-ellipsoidal shape. All
    dimensions in inches and are in accordance with ANSI Bl 6.9.

                                           FIG. 4 Nominal 6 in. Weld Cap Weight (Approximately) 6.4 lb




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7.1 .2 Staticload{see~

7.1.2 .1 Position the walker as in ZJ..J...J..

7.1.2 .2 Center a weight of 90 lb (40.8 kg) for a period of 1 min on a 6 by 6 in. (150 by 150 mm) wood block affixed to the walker seat. If t he unit
has a hammock type seat, use a st andard 6 in. (150 mm) weld cap, convex surface down, as ident ified in Fig. 4 instead of the specified wood
block. Include the weight of t he weld cap in the 90 lb (40.8 kg) weight . If the natural action of a bouncer type walker will not allow t he full
application of 90 lb (40.8 kg) st atic load, then restrict t he bouncer mechanism by any means possible so that the full static load can be applied
t o t he seat or section of the walker occupied by t he child.

7.1.2 .3 Position the walker in the manufacturer's recommended use position with all wheels on the floor. If adjust able, adjust t o the lowest use
position.

7.1.2 .4 Center a weight of 50 lb (22.7 kg) for a period of 1 minute on a 6 by 6 in. (150 by 150 mm) wood block affixed to t he walker seat. If the
unit has a hammock type seat, use a st andard 6 in. (150 mm) weld cap convex surface face down, as identified in Fig. 4 instead of the specified
wood block. Include t he weight of t he weld cap in t he 50 lb (22.7 kg) weight. In t his test DO NOT rest rict the bouncer mechanism from folding or
bottoming out. Observe visually t he action of all suppor1ing, locking, and adjusting components to make sure that t hey do not create a
hazardous condition as defined in ~ -


7.1 .3 Leg Openings Test (see 6.2.3>.

7.1.3 .1 If t he seat is adjust able, adjust t he seat to obt ain t he largest leg opening.

7.1.3 .2 Rotat e the test probe shown in B.9,_;i t o the orientat ion most likely to fail and gradually apply a force of 25 lbf (1 11 N). Apply t he force
perpendicular to the base of the probe within a period of 5 sand maint ain it for an additional 10 s.


7.2 Latching or Locking Mechanisms (see ~

7.2.1 Erect the walker in accordance with the manufacturer's instructions and adjust to the highest and most upright recommended use
position.

7.2.2 Posit ion the walker so that the normal folding motion is not impeded.

7.2.3 Apply a force of 10 lbf (44 N) in the direct ion normally associat ed with folding t he walker in accordance w it h manufact urer's inst ructions.
Apply the force gradually over a 5-s period and maint ain for an additional 10 s before releasing the force.

7.2.4 Perform this procedure for a t ot al of five t imes within a 2 min period.


7.3 Stability Test (see fil)

7.3.1 Tipping Resistance Against An Immovable Object (see §JJ.)- Est ablish a horizonta l t est plane with a piece of~ in. (13 mm) high
by 34 in. (19 mm) wide aluminum angle st op affixed theret o. Its length shall be a minimum of 6 in. (150 mm) w ider than the width of t he walker
being t ested.


7.3.2 Forward Tip Resistance.

7.3.2.1 Place the wa lker on the horizontal test plane and adjust it t o the manufact urers highest recommended use posit ion. If t he walker has a
reclinable seat, place it in its most upright position. Place a six month old CAMI Infant Dummy Mark 114 in the walker and affix it in a posit ion so
t hat it s feet just touch the test plane and its abdomen is positioned firmly against t he forward edge of t he occupant area (see .Eig._5). If t he
Dummy's feet do not touch the test plane when the walker is in its highest use posit ion, lower t he walker until t he Dummy's feet just touch the
t est plane.




                                                                                 OCCUPAN'T AREA




                                                                                                                       •
                                                                                                    Stra.p Attached To Tray And
                                                                                                    Buctled Behind Child.
                                                                                                                                  *   __.FWD.
                                                                                                                                        FACING




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                                    n eoo1ng V¥1ffl I wo-r-1ece
                                    A4ustable Buctle OJ
                                    Other Positive Attachment
                                    Method.

                                                                                        OCCUPANT
                                                                                        AREA



                                                                                                      Str ap Around Chi ld. O'ler Front
                                                                                                      Tube And Tray. Bad Around
                                                                                                      Clasped Behind .

                                                              FIG. 5 Placement of CAMI Infant Dummy

7.3.2.2 Posit ion the wa lker so that it s t wo most forward wheels are touching and perpendicular t o the aluminum stop. For wa lkers that have
offset wheels, place t he wheels in the most disadvantageous posit ion.

7.3.2.3 Pretension by gradually applying 3 lbf (13 N) forward horizont al force at a level just below t he CAMI Dummy's4 armpits in a direct ion
perpendicular to the axis connect ing the two most forward wheels and cent ered halfway between the wheels (see .Eill...§). Then increase t he
horizont al force until the walker t ips over forward.

                                                                                                      TIP RESISTANCE SETUP




                                                                                FORCE




                                                                  ALUM. ST OP




                                                                        FIG. 6 Tip Resistance Setup

7.3.2.4 If during t he applicat ion of the force t he front edge of the walker cont acts the test plane and the wheels contacting the aluminum st op
begin to lift upward, release the force allowing t he walker to rest upon the test plane, remove the st op from the wheels and position a suitable
stop against t he front edge of the walker. Then reapply the force as specified in 7.3.2.3 until the walker t ips over forward .

7.3.2.5 Record t he distance pulled in inches after pret ensioning and t he maximum force exerted in pounds (including pre-t ensioning). The sum
of the dist ance pulled and maximum force exerted shall be considered t he st ability index.


7.3.3 Rear Tip Resistance:

7.3.3.1 Without adjusting the seat height or t he height of t he CAMI Dummy4 relat ive to the horizont al test plane, position the Dummy so that its
back is fi rmly against the rear of the occupant area.

    ' CAMI Infant Dummy (Mark II), Department of Transportat ion, Memorandum Report AAC-119-74-14, Revision II, Drawing No. SA-1101 (see
    fuL..Z).




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    NOTE -      This CAMI Infant Dummy was const ructed in accordance w it h the Department of Transportation Specification dated April 29,
    1975.

                                                         FIG. 7 CAMI Infant Dummy-Mark II

7.3.3.2 Position t he walker so t hat its two most rearward wheels are touching and perpendicular to the aluminum stop. For walkers t hat have
offset wheels, place wheels in t he most disadvantageous posit ion.

7.3.3.3 Pretension by gradually applying a 3 lbf (13 N) horizonta l force in a rearward direct ion perpendicular t o the axis connecting the t wo
most rear wheels and centered between the wheels. Apply the force at a level just below the CAMI Dummy's4 armpits. Then increase t he force
until t he walker t ips over. If the wa lker has a seat pad whose back is higher than t he Dummy's armpits, apply the horizont al force at the same
height as that of t he Dummy's armpits.

7.3.3.4 Record the dist ance pulled in inches after pretensioning and the maximum force exerted in pounds including pre-tensioning. The sum of
t he distance pulled and the maximum force exerted shall be considered the stabilit y index.


7.3.4 Occupant Leaning Outward Over Edge of Walker (see 6. 1.2):

7.3.4.1 Posit ion walker in the manufact urer's recommended use position w it h all wheels on the floor (flat horizontal plane). For walkers that
have offset wheels, place wheels in the most disadvantageous posit ion. If the walker is adjustable, adjust to it s highest use posit ion.

7.3.4.2 Clamp a 1 by 1 in. (25 by 25 mm) rigid aluminum angle to the uppermost front and rear horizont al frame members of t he walker in a
direction perpendicular to the axis of the two most forward wheels and cent ered between the wheels. The length of t he aluminum angle should
be such that it extends forward at least 12 in. (300 mm) beyond t he front edge of t he occupant seat ing area (see .Eig.Jl).
                                                                                             CLAMPS




                                                      • y-




    NOTE-       X inches depends on height of walker, Y= height of walker t ray or uppermost frame member.

                                                               FIG. 8 Leaning Over Setup

7.3.4.3 Locate the point on t he aluminum angle that is 1 in. (25 mm) less than one half t he difference between 32 in. (810 mm), and the height
of the walker at the top edge of the t ray adjacent to the seating area (see .Eill..fil. Over a period of 5 s, gradually apply a vertically downward
force of 17 lb t o this point and maintain it for an additiona l 10 s.

    NOTE 4 -      32 in. is t he maximum height of the user.

7.3.4.4 Repeat the steps in~ ~ and l.llJ. except posit ion the aluminum angle in a sideward direction perpendicular to the axis
connecting t he two most sideward wheels and centered halfway between the wheels. Be sure the aluminum angle extends at least 12 in. (300
mm) beyond the inside edge of the t ray or horizont al frame member. Placement of the 17 lb (7.7 kg) weight t o t he side shall not cause the
wa lker to t ip over.




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7.4 Permanency of Labels and Warnings (see .§.1)

7.4.1 A paper label (excluding labels attached by a seam) shall be considered permanent if, duri ng an attempt to remove it without the aid of
t ools or solvents, it cannot be removed, it tears int o pieces upon removal, or such action damages the surface t o which it is attached.

7.4.2 A nori-paper label (excluding labels attached by a seam) shall be considered permanent if, during an attempt to remove it w ithout the aid
of tools or solvent s, it cannot be removed or such act ion damages the surface to which it is attached.

7.4.3 A warning label attached by a seam shall be considered permanent if it does not detach when subjected to a 15 lb pull force applied in
any direct ion most likely to cause failure using a 34 in. d iameter clamp surface. Apply the force evenly over 5 sand maintain for an additional 10
s.


7.4.4 Adhesion Test for Warnings Applied Directly onto the Surface ofthe Product:

7.4.4.1 Apply the tape t est defined in Test Met hod B-Cross-Cut Tape Test of Test Methods D3359 eliminating parallel cuts.

7.4.4.2 Perform t his test once in each different location where warnings are applied.

7.4.4.3 The warning stat ements will be considered permanent if the printing in t he area tested is still legible and attached after being subjected
t o t his test.

7.4.5 A non-paper label, during an attempt to remove it w ithout the aid of tools or solvent s, shall not be removed or shall not fit entirely within
t he small parts cylinder defined in 16 CFR 1 501 if it can be removed.


7.5 Removal of Components (see 5..8)

7.5.1 Test components in accordance w it h each of t he following methods in t he sequence listed.

7.5.2 Secure t he walker so that it cannot move during the performance of the following test s.

7.5.3 Torque Tes~ A torque of 3 lbf·in. (0.3 N·m) shall be applied evenly w it hin a period of 5 s in a clockwise direction until a rotation of 180°
from the original position has been attained or 3 lbf·in. (0.3 N·m) has been exceeded. The torque or maximum rot ation shall be maintained for
an additional 10 s. The t orque shall then be removed and t he t est component s permitted to ret urn to a relaxed condition. This procedure shall
t hen be repeated in a counter-clockwise direct ion.


7.5.4 Tension Test

7.5.4.1 Attach a force gauge to the cap, sleeve or plug by means of any suitable device. For component s t hat cannot reasonably be expected to
be grasped between t humb and forefinger, o r teet h, on t heir outer diameter but have a gap of at least 0.040 in. (1.00 mm) between t he rear
surface of the component and the structural member of t he walker t o which they are attached, a clamp such as the one shown in Fig. 9 may be
a suitable device.


                                                                15 lbf (67 N)
                                                                Maximum Tension

                                                                         0




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                                                         FIG. 9 Tension Test Adaptor/Clamp

7.5.4 .2 Be sure that the attachment device does not compress or expand the component so t hat it hinders any possible removal.

7.5.4 .3 Gradually apply a 15 lbf (67 N) force in the direction t hat would normally be associat ed with t he removal of the component over a 5 s
period and hold for an additional 10 s.


7.6 Step(s) Tests (see ~       (Refer to Table 1 and Fig. 10)

7.6.1 Walker and Dummy Positioning for Step Tests:

7.6.1.1 Adjust the wa lker seat and tray t o the manufact urer's highest recommended use position. If the wa lker has any consumer controllable
features (that is, manual brakes, toy bars, etc.), place them in the configuration deemed most likely t o cause failure of this t est.

7.6.1.2 The dummy may be secured t o t he t ray to maint ain contact during t he t est. Raise the dummy's legs just enough so its feet do not touch
t he platform during t he performance of the test and posit ion using t he rope specified in Fig. 10. The dummy's head shall remain unrestrained
for all the step tests.
                                                                                THE TEST TABLE SHALL BE OF ADEQUATE
                                                                                LENGTH TO ACCOMMODATE THE MAXIMUM
                                                                                CALCULATED LAUNCHING DISTANCE d


                                                                                       .- w-.
                                       -        20 in. - - d -                         -         osw -
                                              (510mm)
                                                4.0 in. - -
                                              (100mm)          I-
                                                                                           a,
                                                                                           w

                                                                                           ~
                                                                                           a..




                    36.0 in.                                                                                              48 in.
                   (914mm)                                                                                             ( 1200 mm)




                       j
                           FRONT EDGE IS
                           CUT SQUARE (90°)                                    SURFACE - OAK HARDWOOD FLOORING
                                                                               PRE-FINISHED WITH POLYURETHANE
                                                                               VARNISH .


                                                                                                 WOOD GRAIN PATTERN SHALL
                                                                                                 BE PARALLEL TO THE ROPE AND
                                                                USE THE                          PERPENDICULAR TO THE FRONT EDGE.
                                                                MILITARY
                                                                ROPE AS                                      CAMI -HEAD SHALL REMAIN
                                                                SPECIFI ED,,-r:._ __....._......__ _,__..,   UNRESTRAINED FOR ALL STEP
                                                                IN                                           TESTS IN ALL DIRECTIONS
                                                                SECTION
                                                                7 8.3.3FOR -
                                                                LEG        ~ ·                             NOTE: THE PLATFORM MAY
                                                                POSITION ING                                BE CLEANED WITH
                                                                SUPPORT.                                    MILD SOAP AND WAT ER




                                                                                THE TEST TABLE APPARATUS



                                                              - d-
                                                                                SHALL BE R IGID WITH MINIMAL
                                                                                FLEXURE. TH E SPR ING RATE
                                                                                FOR THE PULLEY BRACKET SHALL
                                                                                BE :, 100 lb/in IN THE HORIZONTAL




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                                         \...._ 8 lb. MASS                                AND VERTICAL D RECTIONS.
                                                (3.6 kg)



                                                                    0  FIG. 10 Test Platform
                                                                                                                               n
7.6.2 Establish a vertical Plane A that passes through t he center of the seat ing area and is parallel to t he direction the child faces. Establish a
vertical Plane B that is perpendicular to Plane A and passes through t he center of the seat ing area.


7.6.3 Forward Facing Step Test

7.6.3.1 Cent er the walker on t he t est platform facing forward so that Plane A is perpendicular t o the front edge of t he platform and the wa lker is
distance dfrom t he center of the most forward wheel(s) t o t he edge of the test platform.

             (V/- V.2) *(W cAMJ+ Wwa0ter+ W drop weight)                                                                                                    (1)
     dcAMI = ---~~-,-~~~~~--,-~~-
                          2g(W<1ropweigh1-/J/,NCAM1)


                                                                    TABLE 1 Summary of Step(a) Test a

                  Section Number       Facing Direction o f Waker        Weight of CAMI Dummy, lb       Smuhrted Speed, ft/a   Apply Tipover Test
                      llJ.                      foiward                              17                          4                    yes
                      LilZ                      foiward                           28 (vest)                      4                    yes
                      LU                       sideward                              17                          2                    yes
                      LilZ                     sideward                           28 (vest)                      2                    yes
                      Lil                       reaiward                             17                          4                    no
                      7.6.5.6                   reaiward                          28 (vest)                      4                    no

where:

     Vr= maximum velocity of walker at edge of platform (4 ft/s)

     Vo = initial velocity (0)

     WcAMJ = measured weight of CAMI dummy


     Wwalker = weight of wa lker

     Wdrop weight = drop weight {8 lb)

     µk = dynamic coefficient of friction {0.05)

     NcAMJ = normal force (for CAMI dummy scenario) (weight of CAMI dummy+ walker)

     g = acceleration of gravity (32.2 ft/ s 2 )
Position t he swivel wheels in such a way that the walker moves forward in a straight line parallel to Plane A.

7.6.3.2 Place a CAMI Infant Dummy Mark II in the walker and posit ion it as shown in .Ew..lJ. with t he t orso contacting the front of the occupant
seat ing area and arms placed on t he walker t ray.




                                          Direction of Travel
                                                 ..
                                                              .·-
                                                              '{- -!- - - - - -

                                                       FIG. 11 Dummy Position for Forward Facing Test




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7.6.3.3 While holding the walker stationary, attach an 8-lb (3.6-kg) weight t o the front of the walker base at Plane A by means of a 7-strand
milit ary rope with a 550 lb tensile strength (for example, paracord 550) and a st ainless st eel ball bearing pulley with an outside diameter of 1.25
in. (32 mm) and adjust the pulley so that the force is applied horizont ally (0 ± 0.5° with respect to the table surface).

7.6.3.4 Release the walker. When the walker comes to rest the 8 lb (3.6 kg) weight must still be applied t o the walker.

7.6.3.5 If any part of the walker extends over the edge of t he t est platform, perform the following tipover test. Without repositioning the walker,
remove the CAMI dummy and the 8 lb (3.6 kg) weight. Perform the tipover t est as specified in 7.3.4.2 and 7.3.4.3 except that the aluminum
angle should be positioned in Plane A.

7.6.3.6 Repeat 7.6.3.3-7.6.3.5 two additional times.

7.6.3.7 Repeatl l l l-~          using the CAMI dummy with the weight ed vest (seeEg,.12) and with dist ance computed using the following
equation:

                        (V/ - V.2) * (WCAMI wj ,.,, + Wwalker+ Wdrop weight)                                                                       (2)
     dcAMI w/ vest = ------,---------,---
                                  2g(Wdropweigh1-/JlcNCAMJ w/•er.t)

where:

     Vr= maximum velocity of walker at edge of platform (4 ft/s)

     Vo = initial velocity (0)

     WcAMI w/vest = measured weight of CAMI dummy and weighted vest

     Wwalker = weight of wa lker

     Wdrop weight = drop weight {8 lb)

     µk = dynamic coefficient of friction {0.05)

     NcAMI w/vest = normal force (for CAMI dummy fitted with 11 lb vest scenari o) (weight of CAMI dummy + vest + walker)

     g = acceleration of gravity (32.2 ft/s 2 )




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                                                                       \ _......... J . -·· ·- · ) [ _____ J




                                                                      FIG. 12 Weighted Vest


7.6.4 Sideward Facing Step Test.

7.6.4.1 Center the wa lker on the test platform facing sideways so that Plane B is perpendicular to the front edge of the plat form and the walker
is distance dfrom the center of the most sideward wheel(s) t o the edge of the test plat form.

                 (V/ - V.2) (W
                           *   W                                                                                                                   (3)
     dcAMI =     ----=-------,----
                                 cAMJ+ W,.a11.,+    drop weight)

                          2g(W<1ropweigh1- /J/,NCAMI)

where:

     Vr= maximum velocity of walker at edge of platform (2 ft/s)



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      Vo = initial velocity (0)

      WcAMJ = measured weight of CAMI dummy


      Wwalker = weight of wa lker


      Wdrop weight = drop weight (8 lb)


     µk = dynamic coefficient of friction (0.05)

      NcAMJ = normal force (for CAMI dummy scenario) (weight of CAMI dummy+ walker)


      g = acceleration of gravity (32.2 ft/ s 2 )
Position t he swivel wheels in such a way that the walker moves s ideward in a straight line pa rallel to Plane B.

7.6.4.2 Place a CAMI Infant Dummy Mark II in the walker and position it as shown in Fig. 13 w it h the torso cont acting t he side of the occupant
seat ing area.



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                                                                FIG. 13 Dummy Position for Sideward Test

7.6.4.3 While holding t he walker stat ionary, attach an B lb (3.6 kg) weight t o t he side of the walker base at Plane B by means of a rope (as
specified in 7 .6.3.3) and a pulley (as specified in 7.6.3.3) and adjust t he pulley so t hat t he force is applied horizontally (0 ± 0.5° w it h respect to
t he t able surface) .

7.6.4.4 Release the walker. When the walker comes to rest t he B lb (3.6 kg) weight still must be applied to the walker.

7.6.4.5 If any part of the walker extends over the edge of the test platfo rm, perform the following t ipover test. Without repositioning t he walker,
remove t he CAMI dummy and the B lb (3.6 kg) weight. Perform t he t ipover t est as specified in 7.3.4.2 and 7.3.4.3 except that the aluminum
angle should be positioned in Plane B.

7.6.4.6 Repeat 7.6.4.3-7.6.4.5 two additional t imes.

7.6.4.7 Repeat 7 .6.4.1 -7.6.4.6 using t he CAMI dummy w ith the weighted vest (see Fig. 12) and with distance computed using t he following
equation:

                       (V/ - V_2)* (W__
      dcAMI w/ vest = ...;;..:;_......;......;.. CAMI,...;....
                                                        f,.,,+ Wwalker+ Wdrop weight)
                                                              ______             -'-                                                                       (4)
                                       2g(W dropweight -//kNc AMJ w/•e&t)

where:

      Vr= maximum velocity of walker at edge of platform (2 ft/s)

      Vo = initial velocity (0)

      WcAMI w/ vest = measured weight of CAMI dummy and weighted vest


      Wwalker = weight of wa lker


      Wdrop weight = drop weight (8 lb)


     µk = dynamic coefficient of friction (0.05)




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     NcAMI w/vest = normal force (for CAMI dummy fitted with 11 lb vest scenari o) (weight of CAMI dummy + vest + walker)


     g = acceleration of gravity (32.2 ft/s 2 )

7.6.5 Rearward Facing Step Test

7.6.5.1 Cent er the walker on the test platform facing rearward so that Plane A is perpendicular t o t he front edge of t he platform and the walker
is distance dfrom the center of the most rearward wheel(s) to the edge of t he t est platform.

             (V/- V.2) *(WcAMJ+ Wwallter+ W drop weight)                                                                                             (5)
     dcAMI = ---~~-,-~~~~~--,-~~-
                         2g(W<1ropweigh1-l'l,NCAM1)

where:

     Vr= maximum velocity of walker at edge of platform (4 ft/s)

     Vo = initial velocity {O)

     WcAMt = measured weight of CAMI dummy


     Wwalker = weight of wa lker


     Wdrop weight = drop weight {8 lb)


     µk = dynamic coefficient of friction {0.05)

     NcAMt = normal force (for CAMI dummy scenario) (weight of CAMI dummy+ walker)


     g = acceleration of gravity {32.2 ft/s 2 )
Position t he swivel wheels in such a way that the walker moves rearward in a straight line parallel t o Plane A. If the walker has an open back
base design, attach the ends of a lightweight bar t o t he back of t he walker near the wheels using loops of cord t o allow the bar to float. The
distance between t he attachment points on the bar and those on the walker must be equal t o prevent pulling the wheels inward or outward
during the test. The cord from the 8-lb {3.6-kg) weight is then attached to the bar halfway between the attachment points (see ~            ).




                                                              FIG. 14 Open Back Base

7.6.5.2 Place a CAMI Infant Dummy Mark II in the walker and position it as shown in Fig. 15 w ith the torso contact ing the back of the occupant
seat ing area.




                                                                                      Direction of Travel

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https://law.resource.org/pub/us/cfr/ibr/003/astm.f977.2012.html                                                                        11/16/201 5
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                                                       FIG. 15 Dummy Position for Rear Facing Test

7.6.5.3 While holding the walker stationary, attach an 8 lb (3.6 kg) weight to the rear of the walker base at Plane A by means of a rope (as
specified in 7.6.3.3) and a pulley (as specified in 7.6.3.3) and adjust the pulley so that the force is applied horizontally (0 ± 0.5° with respect to
the table surface).

7.6.5.4 Release the walker. When the walker comes to rest the 8 lb (3.6 kg) weight must still be applied to the walker.

7.6.5.5 Repeat 7.6.5.3 and 7.6.5.4 two additional times.

7.6.5.6 Repeat 7.6.5.1-7.6.5.5 using the CAMI dummy with the weighted vest (see Fig. 12) and with distance computed using the following
equation:

                        (Vf2 −Vo2 )*(WCAMI w/vest +Wwalker +Wdrop weight )                                                                           (6)
     dCAMI w/vest =              2g(Wdrop weight -µk NCAMI w/vest )

where:

     Vf = maximum velocity of walker at edge of platform (4 ft/s)

     Vo = initial velocity (0)

     WCAMI = measured weight of CAMI dummy

     Wwalker = weight of walker

     Wdrop weight = drop weight (8 lb)

     µk = dynamic coefficient of friction (0.05)

     NCAMI = normal force (for CAMI dummy scenario) (weight of CAMI dummy + walker)

     g = acceleration of gravity (32.2 ft/s²)

7.7 Parking Device Test (see 6.4)

7.7.1 Perform the parking device test using a Test Mass that is A rigid cylinder 6.30 ± 0.04 in. (160 ± 1 mm) in diameter, 11.02 ± 0.04 in. (280 ± 1
mm) in height with a mass of 16.9 lb (7.65 kg), with its center of gravity in the center of the cylinder.

7.7.2 Adjust the walker seat to the highest position (if applicable). Place the Test Mass vertically in the walker seat. Set any manual speed
control to the fastest position (if applicable). Establish a vertical plane A that passes through the center of the seating area and is parallel to the
direction the child faces. Establish a vertical plane B that is perpendicular to plane A and passes through the center of the seating area.

7.7.3 Perform the parking device test in the forward, sideward, and rearward directions.


7.7.4 Forward Facing Test of Parking Devices:

7.7.4.1 Position the walker including the Test Mass facing forward so that plane A is perpendicular to the front edge of the platform (see Fig.
10) and passes through the center of the pulley. Engage all parking devices in accordance with the manufacturer’s instructions.

7.7.4.2 Within 1 min of placing the walker with the Test Mass on the platform, attach an 8-lb (3.6-kg) weight gradually within 5 s to the walker
frame base at plane A by means of a rope and a pulley per the test apparatus specifications in the step test procedure, adjusted so that the
force is applied horizontally (rope angle shall be 0 ± 0.5°). Remove the 8-lb (3.6-kg) weight after 1 min. Measure the displacement.


7.7.5 Sideward Facing Test of Parking Devices:

7.7.5.1 Position the walker including the Test Mass facing sideward so that plane B is perpendicular to the front edge of the platform and
passes through the center of the pulley. Engage all parking devices in accordance with the manufacturer’s instructions.

7.7.5.2 Within 1 min of placing the walker with the Test Mass on the platform, attach an 8-lb (3.6-kg) weight gradually within 5 s to the walker
frame base at plane B by means of a rope and a pulley per the test apparatus specifications in the step test procedure, adjusted so that the
force is applied horizontally (rope angle shall be 0 ± 0.5°). Remove the 8-lb (3.6-kg) weight after 1 min. Measure the displacement.




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7.7.5.3 If the walker is equipped with fixed direction rear wheels and the walker is displaced in a curved path, establish the location of the rope
attachment as the reference point and measure the linear displacement of that reference point after performing the procedure as described in
7.7.5.1 and 7.7.5.2.


7.7.6 Rearward Facing Test of Parking Devices:

7.7.6.1 Position the walker including the Test Mass facing rearward so that plane A is perpendicular to the front edge of the platform and
passes through the center of the pulley. Engage all parking devices in accordance with the manufacturers’ instructions.

7.7.6.2 Within 1 min of placing the walker with the Test Mass on the platform, attach an 8-lb (3.6-kg) weight gradually within 5 s to the walker
frame base at plane A by means of a rope and a pulley per the test apparatus specifications in the step test procedure, adjusted so that the
force is applied horizontally (rope angle shall be 0 ± 0.5°). Remove the 8-lb (3.6-kg) weight after 1 min. Measure the displacement.


8. Marking and Labeling

8.1 Each product and its retail package shall be marked or labeled clearly and legibly to indicate the following:

8.1.1 The name of the manufacturer, distributor, or seller and either the place of business (city, state, and mailing address, including zip code) or
telephone number, or both.

8.1.2 A code mark or other means that identifies the date (month and year as a minimum) of manufacture.

8.1.3 The markings on the product shall be permanent.

8.1.4 Any upholstery label required by law shall not be used to meet the requirements of 8.1.

8.2 Each walker shall be labeled with warning statements. The warning statements shall be in contrasting color(s), permanent, conspicuous,
and in sans serif style font.

8.2.1 In warning statements, the word “ WARNING” shall not be less than 0.2 in. (5 mm) high and the remainder of the text shall be in letters not
less than 0.1 in. (2.5 mm) high except as specified.

8.2.2 The warnings shall include the following exactly as stated below:
                                                                 ⚠ WARNING
                                     Never leave child unattended. Always keep child in view while in walker.

8.2.3 Additional warnings shall address the following:

8.2.3.1 Use only on flat surfaces free of objects that could cause the walker to tip over.

8.2.3.2 To avoid burns, keep the child away from hot liquids, ranges, radiators, space heaters, fireplaces, etc.

8.2.3.3 If the walker is equipped with a parking brake, a warning statement shall address the following:
    WARNING: Parking brake use does not totally prevent walker movement. Always keep child in view when in the walker, even when using the
    parking brakes.

8.2.4 Each walker shall be labeled with a separate stairs warning visible to the consumer when placing the child in the walker.

8.2.4.1 In the stairs warning, the safety alert symbol “⚠” and the word “WARNING” shall not be less than 0.2 in. (5 mm) high and shall be black
lettering on orange background surrounded by a black border. The remainder of the text shall be characters whose upper case shall be at least
0.1 in. (2.5 mm) high and shall be black lettering on white background.

8.2.4.2 The stairs warning shall be stated exactly as follows:
                                                         ⚠ WARNING—STAIR HAZARD
                                                          Avoid serious injury or death
                                 Block stairs/steps securely before using walker even when using parking brake

     1. The statement “even when using parking brake” applies only to walkers equipped with a parking brake.

9. Instructional Literature




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9.1 Instructions must be provided with the walker, and shall be easy to read and understand. Assembly, maintenance, cleaning, operating,
folding instructions, and warnings, where applicable, must be included.

9.1.1 The instructions shall include the following:
                                            Read all instructions before assembly and use of the walker.
                                                           Keep instructions for future use.


9.2 Warning Statements with the Instructional Literature:

9.2.1 In warning statements located in the instructional literature, the letters of the word “WARNING” shall not be less than 0.2 in. (5 mm) high
and the remainder of the text shall be in letters not less than 0.1 in. (2.5 mm) high.

9.2.2 If the unit is designed with a restraint, the instructions must advise that the restraint system be used.

9.2.3 The instructions must indicate the manufacturer’s recommended height, weight, or age, or combination thereof, of the child for which the
walker is intended. If the walker is not intended for use by a child who can already walk unassisted, the instructions shall so state this limitation.

9.2.4 The instructions shall contain warning statements which address the following:

     1. Do not use the walker if it is damaged or broken.

     2. Do not use until baby can sit up by itself.

     3. Address the following if the walker uses friction devices to pass the stair test: Clean (friction components) regularly to maintain
        stopping performance.

9.2.5 The instructions must include all warnings in 8.2.


10. Keywords

10.1 infant walker

                                                               APPENDIX
                                                        (Nonmandatory Information)

X1. RATIONALE

X1.1 The 8 lb falling weight is based on the horizontal force generated when ten different children were tested in walkers. The children ranged in
age from 6 ½ to 11 months and in weight from 15 to 23 lb. The children were placed in walkers on several different floor surfaces and the force
they generated to move the walker was measured. The highest measured force out of approximately 125 readings was 7.5 lb.

X1.2 The use of the falling weight simulates a child in a walker approaching a step at approximately 4 ft/s (for the forward and rearward
directions) or 2 ft/s (for the sideward direction). It assumes the walker’s weight is 8 lb, the child’s weight is 17 lb (or 28 lb), and the walker has
normal caster wheels with normal rolling friction. By varying distance d, the desired number of ft/s can be achieved.

X1.3 The 4 ft/s is based on the test results of seven different children in walkers. The maximum speed attained was 4.02 ft/s. It should be
noted that the children were selected because they were judged to be very active in a walker. Additionally, top speeds were sustained for only
very brief moments under ideal conditions, that is, smooth floors with plenty of space to get up speed.

X1.4 The test is performed at both ends of the weight range for children who use walkers. The CAMI Infant Dummy Mark II represents the 50th
percentile weight of 6 to 8 month old children. The 28 lb CAMI Infant Dummy (CAMI with weighted vest) represents the 95th percentile weight of
12 to 15 month old children.

X1.5 The 17 lb weight in the tipover test simulates a child leaning forward or sideways over the edge of the occupant seating area. Seventeen
pounds represents the upper body weight of children in the 12 to 15 month age range (17 lb = ⅗ of 28 lb, the 95th percentile weight of 12 to 15
month old children.)

X1.6 The tipover sequence is not included in the rearward facing tests since the walker seat back prevents a child from leaning backward in a
walker to any significant degree.

X1.7 The use of a 36 in. opening on the test platform is based on a CPSC study of walker stair/step incidents in which approximately 80 % of
the openings the walkers passed through prior to going over steps were 36 in. or less.




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https://law.resource.org/pub/us/cfr/ibr/003/astm.f977.2012.html                                                                          11/16/2015
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X1.8 Sections 6.2.3 and 7.1.3— This test is to address entrapment in the leg openings. Leg openings are evaluated after application of a 25-
lbf force to the small head probe. This is the same force used in evaluating leg openings in passive restraint systems in high chairs, entrapment
in non-full-size crib/play yard attachments, entrapment in shelves in changing tables, and for evaluating mattress support systems in full-size
cribs and non-full-size cribs/play yards. Users of these products are of similar developmental stage to users of infant walkers.

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                                                                    JA363
https://law.resource.org/pub/us/cfr/ibr/003/astm.f977.2012.html                                                                     11/16/2015
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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 AMERICAN SOCIETY FOR TESTING
 AND MATERIALS d/b/a/ ASTM
 INTERNATIONAL;

 NATIONAL FIRE PROTECTION
 ASSOCIATION, INC.; and

 AMERICAN SOCIETY OF HEATING,
                                                  Case No. 1:13-cv-01215-TSC
 REFRIGERATING, AND AIR
 CONDITIONING ENGINEERS,

                       Plaintiffs/
                       Counter-Defendants,

 v.

 PUBLIC.RESOURCE.ORG, INC.,

                       Defendant/
                       Counter-Plaintiff.

                    DECLARATION OF JAMES T. PAULEY
        IN SUPPORT OF PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

        I, James T. Pauley, declare as follows:

        1.      I am the President and Chief Executive Officer of the National Fire Protection

 Association (“NFPA”). I am generally responsible for the management, direction and

 administration of NFPA and its activities including its standards development activities. I have

 held this position since July 1, 2014. The following facts are based upon my own personal

 knowledge, and if called upon to do so, I could and would testify competently thereto.

                                            Background

        2.      I am a native of Kentucky, and I have a degree in electrical engineering from the

 University of Kentucky.




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        3.      Prior to my employment with NFPA, I worked in the electrical industry for nearly

 30 years, beginning in 1985. I began my career as an engineer for Square D, an electrical

 equipment manufacturer, and then worked for Schneider Electric, an electrical distribution and

 management company, after it acquired Square D in 1991. My responsibilities at Schneider

 Electric included product development and marketing, industry standards, and global standards

 strategy. In 2001, I became a vice president of industry standards and government relations at

 Schneider Electric. In 2011, I became senior vice president for external affairs and government

 relations and a member of the company’s U.S. executive management team. I held that position

 until being named NFPA’s president in 2014.

        4.      NFPA is a nonprofit organization, based in Quincy, Massachusetts, devoted to

 eliminating death, injury, and property and economic loss due to fire, electrical, and related

 hazards. NFPA was founded in 1896, and has continuously developed standards since that time.

 The association delivers information and knowledge through more than 300 consensus codes and

 standards, research, training, education, outreach and advocacy. NFPA’s membership totals

 more than 65,000 individuals throughout the world.

        5.      Standards development is NFPA’s principal activity and serves to further NFPA’s

 mission of reducing the risk of loss from fire, electrical, and related hazards. NFPA develops

 standards based on the best available research and input from a wide variety of stakeholders.

 These standards provide guidance, instructions, and best practices to prevent the occurrence of

 disasters, manage their impact, and protect human life and property.

        6.      NFPA has continuously asserted copyright in its standards and made copies of its

 standards available for sale to the public since it first began publishing standards. The revenue




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 NFPA has obtained from the sale of its copyrighted standards has been NFPA’s primary means

 of financial support for many decades.

        7.      NFPA’s flagship standard is NFPA 70, the National Electrical Code (“NEC”).

 The first edition of the NEC was published in 1897. NFPA currently releases a new edition of

 the NEC on a three-year cycle. The current edition of the NEC is the 2014 edition, which is over

 900 pages long. The prior edition was the 2011 edition.

        8.      The NEC addresses the installation of electrical conductors, equipment, and

 raceways; signaling and communications conductors, equipment, and raceways; and optical fiber

 cables and raceways in commercial, residential, and industrial occupancies. The NEC is the

 world’s leading standard for electrical safety and provides the benchmark for safe electrical

 design, installation, and inspection to protect people and property from electrical hazards.

        9.      Additional NFPA standards include NFPA 101, the Life Safety Code. The Life

 Safety Code is the most widely used standard for building construction, protection, and

 occupancy features that minimize the effects of fire and related hazards on human life. The Life

 Safety Code includes provisions for building egress, fire protection features, sprinkler systems,

 alarms, emergency lighting, smoke barriers, and special hazard protection.

        10.     Many NFPA standards are incorporated by reference in federal and state laws and

 regulations. NFPA is aware that its standards are frequently incorporated by reference, but

 NFPA does not develop any standards solely for that purpose.

        11.     NFPA develops new standards based on a determination that developing a

 standard in a particular area would serve NFPA’s mission of reducing the risk of loss from fire

 and related hazards. NFPA does not consider whether the standard will generate revenue when

 deciding whether to develop the standard.



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        12.     All NFPA standards have a range of applications and uses even if they are not

 incorporated by reference in government laws or regulations. For example, the nationwide use

 of the NEC by builders and electrical manufacturers ensures that consumers may travel

 throughout the United States with the expectation that their electrical appliances can be plugged

 in and will operate safely and effectively. Additionally, widespread use of the NEC and the Life

 Safety Code provide benchmark safety guidance that can be relied on by individuals, companies,

 and insurers, among others.

        13.     The primary users of NFPA standards are professionals and tradespeople who use

 these standards in the course of their business, such as electricians, architects, and electrical

 equipment manufacturers. NFPA makes its standards available, both for free viewing and for

 sale, through a variety of channels, including through its website, through a mail-order catalog

 distributed to NFPA members, and through various retail outlets.

                NFPA’s Process of Developing Voluntary Consensus Standards

        14.     Private-sector standards development in the United States is generally coordinated

 and accredited by the American National Standards Institute (“ANSI”). ANSI is a nonprofit

 membership organization that facilitates the development of private sector standards and

 promotes their integrity by accrediting standards development organizations (“SDOs”) whose

 procedures comply with ANSI’s Essential Requirements. I am familiar with ANSI requirements,

 having served as chair of the ANSI Board of Directors from January 2012 through May 2014.

        15.     To achieve ANSI accreditation, an SDO’s standards development committees

 must contain balanced membership, taking into account the views of a variety of groups

 including technical experts on the subject matter of the standard, consumer representatives,

 government representatives, and industry representatives. ANSI accreditation also requires that



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 the SDO maintain open proceedings; provide public notice of standards development activity;

 allow opportunity for public comment; give consideration and response to public comments; and

 provide an opportunity to appeal committee decisions. Standards that are developed in

 accordance with ANSI requirements are known as voluntary consensus standards.

        16.     ANSI periodically audits all its accredited developers to verify that they are

 following their ANSI approved procedures. NFPA is classified as an Audited Designator by

 ANSI because it submits to more in-depth ANSI auditing of its standards process. This allows

 NFPA to designate its standards as “American National Standards” (ANSs) when they complete

 the NFPA process. All NFPA standards carry the ANS designation and are revised frequently to

 remain current with state-of-the-art technology developments.

        17.     I have been familiar with NFPA standards and the NFPA standards development

 process for many years, including before I became President of NFPA. From 2000 to 2013, I

 served on NFPA’s Standards Council, and I served as Chair of the Standards Council from 2008

 to 2013. The Standards Council oversees NFPA’s standards development activities, administers

 the rules and regulations, and acts as an appeals body.

        18.      NFPA’s rigorous and open standards development process requires NFPA to

 expend substantial resources on standards development. In addition to the time contributed by

 the thousands of volunteers who participate in NFPA standards development, NFPA pays for

 salary and benefits for its own administrative, editorial, and expert staff, office space, meeting

 facilities for the more than 250 Technical Committees who participate in NFPA standards

 development processes, outreach and education efforts, information technology, and other costs.

        19.     Each NFPA standard goes through two full rounds of public and committee input,

 comments, review and drafts before being finalized.



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        20.     NFPA is continuously investing in improvements to its standards development

 process. For example, NFPA has recently spent significant sums to build a computerized

 interface that allows for the online development and revision of its standards. NFPA has spent

 more than $2.9 million on this system over the past four years.

        21.     NFPA has also expended resources to increase the participation of

 underrepresented groups on its Technical Committees, including by creating an Enforcer

 Funding Program to raise the percentage of government enforcement officials on the Committees

 by reimbursing these officials for the majority of their travel costs and other costs of Committee

 membership.

        22.     NFPA’s standards are state of the art. NFPA systematically and regularly revises

 and updates its standards. The most used NFPA standards, including the NEC, are revised on a

 three-year cycle in order to keep pace with changes in technology and design, and advances in

 safety research and understanding.

        23.     The standards that emerge from this process are sophisticated and complex

 technical works that provide unique guidance and best practices covering a wide range of topics.

 These works reflect creative input and decisions from all of the many participants in the

 standards development process.

        24.     NFPA’s standards development process incorporates significant creative input

 from three primary groups of participants. These include (i) members of the public who provide

 input and comment; (ii) the members of the Technical Committees who consider and vote on

 proposed changes to the standards; and (iii) the NFPA staff who assist and advise the Technical

 Committees and who draft and finalize the wording of the actual document that, through the

 balloting and voting process, becomes the standard.



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        25.     NFPA publishes its standards with copyright notices that alert the public,

 including the people who participated in the standards development process, that the copyright is

 owned by NFPA.

        26.     NFPA is not aware of any other person who claims to have any copyright interest

 in NFPA standards.

        27.     Members of the public participate in NFPA’s standards development process by

 submitting input, including proposed changes to NFPA standards and comments on proposed

 changes. It is NFPA policy that all persons who submit public input must assign all rights,

 including copyright, in their contributions to NFPA. NFPA does not accept public input without

 a signed copyright assignment, which is printed on the standard forms by which members of the

 public submit input.

        28.     In my experience, members of the public who make contributions to the standards

 development process understand and intend that NFPA will own the copyright in their

 contributions and in the standards. I have never heard any contributor suggest that NFPA did not

 own the copyright in NFPA standards or that the contributors have any rights in NFPA standards.

        29.     Prior to my employment with NFPA, and during the time I was employed in the

 electrical manufacturing industry, I personally submitted proposals and comments on NFPA

 standards. For example, I submitted several proposals and comments for the 2011 NEC, with

 specific suggestions for revisions to the wording of various provisions of the NEC. The

 Technical Committees accepted some of my proposals and comments, and they were

 incorporated into the final standards..

        30.     Like all members of the public who submit input, I submitted these comments and

 proposals on the standard NFPA forms for such submissions. As part of submitting the forms, I



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 expressly agreed that I assigned all and full copyrights in my contributions to NFPA. I

 understood and expressly intended that NFPA would own the copyright both in my contribution

 and in the final standard. True and correct copies of some of the proposals and comments that I

 submitted for the 2011 NEC, including my signed assignment of copyright in my contributions

 to NFPA, are attached hereto as Exhibit A.

        31.     As I have explained above, many other members of the public also have

 submitted proposals and comments for NFPA standards, and they, too, have executed copyright

 assignments relating to their contributions. I have attached hereto as Exhibit B a sampling of

 true and correct copies of proposals and comments submitted by members of the public for the

 2014 NEC, including their signed assignments of copyright in their contributions, are attached

 hereto as Exhibit B.

        32.     The members of NFPA Technical Committees also contribute to NFPA’s

 standards development process. The Technical Committees are the principal consensus bodies

 responsible for the development and revision of NFPA standards.

        33.     The Technical Committees meet to consider proposals submitted by the public,

 and they may also suggest their own revisions to the standards. The Committees discuss and

 reach consensus on which changes should be made. For a large standards such as the NEC, there

 are multiple Technical Committees. There is a Technical Correlating Committee that oversees

 the overall NEC development process, and there are several Technical Committees known as

 Code-Making Panels that are responsible for particular sections of the NEC.

        34.     It is NFPA policy that anyone who wishes to become a Technical Committee

 member submits an application on NFPA’s Committee Application form, including by signing

 an assignment of copyright to NFPA. Attached hereto as Exhibit C is a true and correct copy of



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 the NFPA Technical Committee Application form. The Application contains the following

 language, which has remained unchanged in substance for many years:

              I agree that any material that I author, either individually or with others, in connection
              with work performed as a member of an NFPA Technical Committee shall be
              considered to be works made for hire for the NFPA. To the extent that I retain any
              rights in copyright as to such material, or as to any other material authored by me that
              I submit for the use of an NFPA Technical Committee in the drafting of an NFPA
              code, standard or other NFPA document, I hereby grant and assign all and full rights
              in copyright to the NFPA. I further agree and acknowledge that I acquire no rights in
              any publication of the NFPA and that copyright and all rights in materials produced
              by NFPA Technical Committees are owned by the NFPA and that the NFPA may
              register copyright in its own name.

        35.      Before being employed by NFPA, I served on a number of NFPA Technical

 Committees, including, for example, the Code-Making Panel No. 2 for the 2011 and 2014

 editions of the NEC. Each time I applied to be a member of a Technical Committee, I submitted

 a Committee Application form in which I signed the copyright assignment containing the

 language quoted in paragraph 29 of this Declaration. It has for many years been NFPA’s policy

 and practice that all members of NFPA Technical Committees execute such copyright

 assignments.

        36.      In my work on NFPA Technical Committees, I understood, agreed, and expressed

 the intention that NFPA would own the copyright in the final standards, consistently with the

 Committee Application form I had submitted.

        37.      In my experience participating on the Technical Committees, I understood that all

 members of the Committees shared the understanding and expressed the common intention that

 NFPA would own the copyright in the final standard. I have frequently heard other Technical

 Committee members refer to NFPA’s copyright ownership of NFPA standards. I have never

 heard any member of a NFPA Technical Committee suggest that NFPA does not own the




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 copyright in NFPA standards or that the Technical Committee members retain any rights in their

 contributions to the standards.

        38.     NFPA staff also participate in NFPA’s standards development process in the

 course of their employment. NFPA technical staff assist and advise the Technical Committees,

 and NFPA technical and editorial staff revise and finalize the wording of the actual document

 that becomes the standard.

        39.     There is an NFPA staff liaison assigned to every NFPA Technical Committee.

 Each staff liaison has technical expertise in the appropriate field, and the staff liaisons provide

 information and advice to the Committee during Committee meetings.

        40.     The staff liaisons also record the decisions made at the Committee meetings about

 revisions to NFPA standards. NFPA staff liaisons work together with the Committees to craft

 appropriate wording in the draft of the standard that accurately captures the intent and purpose of

 Committee decisions. The technical staff are also responsible for ensuring that revisions to the

 standard are drafted in a way that maintains technical and editorial consistency across the

 different sections of the standard.

        41.     After Technical Committee meetings, the technical staff work with NFPA

 editorial staff to finalize the language of the draft standard before submitting it for balloting by

 the Technical Committees. Every revision and modification in the text of an NFPA standard

 goes through multiple levels of review and revision by NFPA technical and editorial staff.

        42.     NFPA invests significant resources in the development of each new edition of the

 NEC. For example, the development process of the 2017 NEC is currently ongoing. The

 preparation of the first draft report involved consideration of over 4,000 proposals from the

 public. A total of 485 Technical Committee members on 19 Code-Making Panels, who were



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 supported by at least 45 NFPA staff members, held concurrent, multi-day committee meetings

 for a total of 75 meeting days over a two-week period. The first draft was finalized by a four-day

 meeting of the Technical Correlating Committee, assisted by three NFPA staff members. The

 preparation of the second draft report, which is ongoing now, has so far involved consideration

 of over 1,500 public comments, and a large number of Committee meetings over a two-week

 period, assisted by at least 19 NFPA staff members. There will be two more multi-day Technical

 Correlating Committee meetings prior to the issuance of the NEC. In addition, there have been

 numerous conference calls, online seminars, and other interactions among Committee Members

 and NFPA staff.

        43.     The final versions of the standard also go through a rigorous quality control

 process by NFPA staff, to ensure that the final document is as accurate as possible. This

 painstaking review is costly, but NFPA commits the resources because technical accuracy of

 NFPA standards is essential for NFPA’s mission of promoting public safety.

                         How NFPA Funds Its Standards Development

        44.     NFPA sells its standards at reasonable cost and in a variety of formats. For

 example, the 2014 edition of the NEC, which is 910 pages long, is offered for purchase as a PDF,

 an eBook, or in softcover, looseleaf, or spiralbound versions. The price for the NEC ranges from

 $95 to $105, depending on the format in which it is purchased. NFPA’s other standards are sold

 at prices ranging from $39 to $100, depending on the length of the standard and other factors.

 NFPA also makes several digital subscription services available, so interested purchasers can

 obtain unlimited digital access to a variety of NFPA standards.

        45.     In addition, NFPA is committed to providing the full text of NFPA standards

 available for free viewing on its website. For more than a decade, NFPA has provided such



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 access to its standards, in read-only format, and all NFPA standards can currently be accessed on

 NFPA’s website at www.nfpa.org/codes-and-standards/free-access. This access allows any

 member of the public to review NFPA standards in full and without cost. NFPA also encourages

 jurisdictions that incorporate its standards by reference to link their websites to its free, online

 version of the standards, and provides a widget that easily enables such access.

        46.     NFPA funds its standards development activities primarily with the revenue

 obtained from sales of its copyrighted standards. For example, in 2014 NFPA’s publications

 sales accounted for over 70% of NFPA’s total operating revenues. The overwhelming majority

 of that publications revenue comes from the sale of codes and standards.

        47.     NFPA would not be able to maintain its existing voluntary consensus standards

 development and revision processes at current levels if there were a significant reduction in the

 revenue it obtains from the sale of publications.

        48.     If NFPA were unable to maintain its current level of standards development and

 revision activities, the standards would not keep up with technological advancements to address

 fire, electrical and related hazards nor would they reflect the most current knowledge and

 experience of the experts who participate in the process. This failure would result in a lower

 level of overall public safety.

        49.     In NFPA’s experience, to preserve the revenue from sales of publications, NFPA

 must be able to assert copyright in its standards to prevent unauthorized copying of NFPA

 standards, which threaten to substantially undermine NFPA’s sales.

        50.     NFPA has attempted for years to develop alternative sources of revenue but has

 been unable to identify any such revenue sources that would come close to replacing the revenue

 from sales of NFPA standards.



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        51.      If NFPA were to lose copyright protection of its standards and the related

 revenue, NFPA would have to significantly limit its activities. Such limitations could include

 ceasing to develop standards that, while important, do not necessarily generate sufficient revenue

 to cover their costs including, for example, personal protective equipment standards that help

 keep fire fighter personnel safe.

    Harm to NFPA From Public.Resource.Org’s Unauthorized Appropriation and Use of
                    NFPA’s Copyrighted Codes and Trademarks

        52.      The activity of Public.Resource.Org, in posting unauthorized copies of NFPA

 standards on the internet, threatens NFPA’s ability to generate revenue from these standards and

 its ability to continue to fund the development of new and updated standards.

        53.      In addition, Public.Resource.Org’s posting of unauthorized copies that have not

 gone through NFPA’s quality control process threatens the reputation for careful and quality

 publications that NFPA has built up for over a century and undermines the goodwill associated

 with NFPA’s name.

        54.      I understand that Public.Resource.Org converted NFPA standards to html format

 and posted the html versions on the internet. The conversion process inevitably resulted in

 errors. For example, I am aware that the html version of the 2011 version of the NEC that was

 posted to Public.Resource.Org’s website contains many errors. These include many obvious

 typographical errors, but they also include errors that distort the meaning of the standard. Some

 of those errors are:

              a. Article 310.10(F) of the 2011 NEC addresses conductors used in direct-burial

                 applications, and states: “Cables rated above 2000 volts shall be shielded.” This

                 requirement that high-voltage cables in direct-burial applications be shielded is

                 important to prevent damage to the cables and a resulting risk of electrical shock.


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             This language, however, is completely omitted from the html version that was

             posted on Public.Resource.Org’s website.

          b. Article 424.59 of the 2011 NEC states that “heaters installed within 1.2m (4 ft) of

             the outlet of an air-moving device … may require turning vanes, pressure plates,

             or other devices on the inlet side of the duct heater to ensure an even distribution

             of air over the face of the heater.” In Public.Resource.Org’s html version

             however, the “m”—representing meters—is incorrectly rendered as “in”—which

             represents inches. In other words, the Public.Resource.Org version says that the

             requirement is only triggered if a heater is less than 1.2 inches from an air-moving

             device, rather than the correct and much greater distance of 1.2 meters.

          c. Article 430.35(B) of the 2011 NEC states that “motor overload protection shall

             not be shunted or cut out during the starting period if the motor is automatically

             started.” Inadequate motor overload protection can result in overheating and

             damage. In Public.Resource.Org’s html version, however, this provision

             incorrectly says that motor overload protection shall not be shunted or cut out

             during the “stalling period.”

          d. A similar error occurs in Article 502.134(b)(5), which identifies requirements for

             “starting and control equipment for electric-discharge lamps.” In

             Public.Resource.Org’s html version, this article erroneously refers to “stalling and

             control equipment.”

          e. Article 517.2 of the 2011 NEC defines “X-Ray Installations, Portable” as “X-ray

             equipment designed to be hand-carried.” In Public.Resource.Org’s html version,




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               however, this definition erroneously refers to "X-ray equipment designed to be

               hand-earned."

           f. There are many typographical errors in the cross-l'eferences in

               Public.Resource.Org 's html version. In order to understand a provision of the

               NEC that contains a cross-reference, the user must be able to identify and refer to

               the Article identified in that cross-reference. However, Public.Resource.Org's

               html version contains many erroneous cross-references, including in Articles

               l 10. l 4(B)(l), 310. l O(E), 410.140, 430.75, 504.70, 645. lO(B), 670.3(B), and

               680.25(B).

       I declare under penalty of pe1j ury under the laws of the United States that the foregoing is

true and correct and that this declaration was executed this / tJ day of November 2015 at
                                                                        ...
Quincy, Massachusetts.                                             ..             ,~ ( / _,.. .... ..~

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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


 AMERICAN SOCIETY FOR TESTING AND             Case No. 1:13-cv-01215-TSC-DAR
 MATERIALS d/b/a/ ASTM INTERNATIONAL;

 NATIONAL FIRE PROTECTION
 ASSOCIATION, INC.; and

 AMERICAN SOCIETY OF HEATING,
 REFRIGERATING, AND AIR-CONDITIONING
 ENGINEERS, INC.

                        Plaintiffs,

 v.

 PUBLIC.RESOURCE.ORG, INC.,


                        Defendant.



 PUBLIC.RESOURCE.ORG, INC.,


                        Counterclaimant,

 v.

 AMERICAN SOCIETY FOR TESTING AND
 MATERIALS d/b/a/ ASTM INTERNATIONAL;

 NATIONAL FIRE PROTECTION
 ASSOCIATION, INC.; and

 AMERICAN SOCIETY OF HEATING,
 REFRIGERATING, AND AIR-CONDITIONING
 ENGINEERS, INC.

                        Counterdefendants.




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                           DECLARATION OF STEPHANIE REINICHE

         I, Stephanie Reiniche, declare as follows:

         1.        I am currently employed by the American Society of Heating, Refrigerating, and

 Air Conditioning Engineers (“ASHRAE”) as its Senior Manager of Standards. I have been

 employed by ASHRAE since 2003. Based on the information known to me as a result of the

 duties and responsibilities of my position, as well as information I have gathered from relevant

 ASHRAE personnel and staff, I have personal knowledge of the facts set forth herein and could

 and would testify competently thereto if called as a witness.

         2.        ASHRAE is a non-profit organization that operates with the mission of advancing

 the arts and sciences of heating, ventilating, air conditioning and refrigerating to serve humanity

 and promote a sustainable world. ASHRAE has leveraged its expertise in HVAC systems, as well

 as the expertise of its volunteer members, to develop and maintain over 100 consensus based

 standards. These standards, which are developed based needs in the industry, apply to a variety of

 fields within the building industry, such as energy efficiency, indoor air quality, refrigeration, and

 sustainability.

         3.        The specific ASHRAE standard that I understand to be at issue here, Standard 90.1,

 pertains to energy efficiency in commercial and high-rise residential buildings. The standard has a

 variety of uses, including use by builders as a best-practices guide to achieve greater energy

 efficiency in building projects (even when not required by law) and use as a guide for how to

 achieve LEED certification for new buildings (a private rating system for energy efficiency in new

 buildings administered by the U.S. Green Building Council). Though Standard 90.1 is sometimes

 incorporated into laws and government regulations, such incorporation is not the primary

 motivation for ASHRAE’s continued maintenance and updating of Standard 90.1. In fact,

 ASHRAE’s drafting and maintenance of Standard 90.1 dates back to the 1970s and significantly
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                                                             DECLARATION OF STEPHANIE REINICHE IN SUPPORT
                                                             OF PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

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 predates Standard 90.1’s widespread incorporation into federal laws or regulations—e.g., the most

 significant law referencing Standard 90.1, the Energy Policy Act, was not passed until 1992.

 Additionally, ASHRAE maintains numerous standards that are not incorporated by reference into

 any law or regulation.

         4.      As part of my job responsibilities, I am one of the ASHRAE employees who

 oversees ASHRAE’s standards-development process, including as that process relates to Standard

 90.1. ASHRAE has a prescribed development process that is used to develop new standards and

 maintain existing standards. The process is designed to ensure compliance with American

 National Standards Institute (“ANSI”) requirements and broad participation from a variety of

 materially interested parties.

         5.      Many ASHRAE standards, including 90.1, have existed for years but are considered

 to be in “continuous maintenance,” which means that the standard is updated continuously via

 addenda with supplements being published every 18 months and all addenda being incorporated

 for a new version every three years using the same development and editing process.

         6.      ASHRAE’s Standard 90.1 is developed with input from a project committee, which

 consists of a group of experts in the field that include but not limited to utilities representatives,

 engineers, manufacturers, trade organizations and architects that volunteer their time to work on

 Standard 90.1. The project committee members are selected by the Chair of the project committee

 and approved by ASHRAE’s Standards Committee and subcommittee based on expertise in the

 field and in order to ensure a balanced representation of different interest groups.

         7.      As with ASHRAE’s other standards, the 90.1 project committee is subject to

 procedural oversight from ASHRAE’s Board of Directors, Standards Committee, and Technology

 Council. Members of the public may also participate in creating the standard through submitting

 public comments that will be considered by the project committee.
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                                                              DECLARATION OF STEPHANIE REINICHE IN SUPPORT
                                                              OF PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

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        8.      Substantive drafting and changes to Standard 90.1 happen through a consensus of

 the project committee and involve input form the many participants in the development process.

 The standard is not simply the work of individual members. For each proposed change to a

 standard or any new language that will be added to a standard, the project committee must vote to

 approve the change. Voting on changes to the standard may occur at an in-person meeting

 following discussion on the issue, by letter ballot, or a combination of the two. For a change to be

 approved, a majority of project committee members must vote in the affirmative and a two-thirds

 majority of those actually casting votes on that particular change must vote in the affirmative.

 Whether at an in-person meeting, by letter ballot, or a combination thereof, committee members

 who submit negative votes are given the opportunity to provide written comments explaining their

 decision. If the vote passes with one or more negative votes, the results are held in abeyance until

 the comments are transmitted to all eligible voters and they are given an opportunity to change

 their votes. Similarly, the committee also votes on how to respond to public comments on all

 revisions and new drafts of Standard 90.1. In the event that responses don’t resolve the

 commenters on public review drafts the committee members are given an opportunity again to

 change their vote prior to the changes being published or to decide to revise the change and

 conduct another public review.

        9.      For each ASHRAE standard, ASHRAE assigns one or more staff liaisons to work

 with that standard’s project committee. These staff liaisons report to me. For Standard 90.1, the

 liaison is Steve Ferguson. Mr. Ferguson, who has an engineering degree and is knowledgeable

 concerning HVAC systems, has worked as the staff liaison for Standard 90.1 since February 2005.

        10.     The job responsibilities of an ASHRAE staff liaison include facilitating meetings of

 the project committee, including attending meetings, keeping minutes, processing voting ballots,

 and often recording proposed changes to the Standard that are under discussion. The staff liaisons
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                                                            OF PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

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 also work together with the project committees to craft the appropriate wording of the standards by

 reviewing all proposed changes and drafts of the standards to make sure they are written clearly, in

 the proper format, comply with ANSI and ASHRAE requirements, and are both technically and

 editorially consistent. For instance, when a change is made, the liaison might determine that

 language in another part of the standard also needs to be changed to make the standard internally

 consistent, at which point the liaison would submit an addenda back to the project committee for

 further consideration. For each standard, the staff liaison also provides the project committee with

 the comments and proposals submitted by the public and any materially affected parties and

 subsequently reviews the project committee’s formal responses to public comments and proposals

 to make sure they are clearly worded and in a proper format.

        11.     Every three years, when ASHRAE performs a roll-up of all proposed changes and

 edits to a standard under continuous maintenance, like Standard 90.1, the staff liaison and other

 ASHRAE staff will work with certain members of the project committee to perform a final review

 and edit of the new version of each standard to make sure that all proposed changes have been

 properly incorporated. Additionally, members of ASHRAE’s staff are responsible for reviewing

 and updating certain language in ASHRAE standards that does not relate to the technical

 requirements of the standard, including the initial policy statement and notice of instructions for

 submitting a proposed change.

        12.     In my experience, members of the project committee, other ASHRAE members,

 and members of the public who contribute to ASHRAE standards fully understand and intend that

 ASHRAE will own the copyrights in the completed ASHRAE standards.

        13.     Anyone who contributes to Standard 90.1 as a project committee member, or by

 submitting a change proposal or public comment, is required by ASHRAE to execute an

 Application for Membership on an ASHRAE Committee or a Form for Commenting on a Public
                                                   4
                                                            DECLARATION OF STEPHANIE REINICHE IN SUPPORT
                                                            OF PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

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 Review Draft ASHRAE Standard, both of which contain an acknowledgment stating “I understand

 that I acquire no rights in publication of such documents in which my contributions or other similar

 analogous form are used.” A true and correct copy of a sample Form for Commenting on a Public

 Review Draft ASHRAE Standard is attached hereto as Exhibit 1, and a true and correct copy of a

 sample Application for Membership on an ASHRAE Committee is attached as Exhibit 2. All

 forms signed by commenters or committee membership on the 2004, 2007, and 2010 versions of

 Standard 90.1 would have contained substantially the same language as these forms.

        14.     As a general matter, ASHRAE does not permit alterations to the forms that must be

 signed by public commenters or committee members, and I am not aware of any contribution made

 to ASHRAE Standards 90.1-2004, 90.1-2007, or 90.1-2010, for which the contributor altered a

 standard ASHRAE form or refused to execute the form. To the extent any comment has been

 submitted and considered by the project committee without a properly executed form, it would be

 an exception to the general practices and requirements imposed by ASHRAE.

        15.     ASHRAE has valid copyright registrations for the versions of Standard 90.1 at issue

 in this case (i.e., the 2004, 2007, and 2010 versions). True and correct copies of those registrations

 are attached hereto as Exhibits 3, 4, and 5. Additionally, on each version of ASHRAE 90.1, it is

 ASHRAE’s practice to place a copyright notice prominently on the standard to alert members of

 the public that ASHRAE has copyrighted the standard. Members of the project committee are also

 aware of this practice and are thus aware that ASHRAE copyrights its standards, including each

 successive version of Standard 90.1. ASHRAE is not aware of any member of the 90.1 project

 committee or member of the public who commented on 90.1 who has contested ASHRAE’s

 copyright rights in the standard or claimed an ownership interest in any part of ASHRAE 90.1.

        16.     In addition to its copyrights, ASHRAE also holds several registered trademarks,

 including U.S. Registration Nos. 1,503,000 and 4,262,297, which protect the following logos:
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                                                            DECLARATION OF STEPHANIE REINICHE IN SUPPORT
                                                            OF PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

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 True and correct copies of ASHRAE’s registrations for these two marks are attached as Exhibits 6

 and 7. Additionally, for mark number 1,503,000 , which has been used in commerce since 1959,

 ASHRAE has filed a Section 15 declaration in support of the incontestability of its registration.

 ASHRAE’s use of these marks in connection with its standards and other goods and services has

 been substantially continuous, and these marks, which are routinely affixed to ASHRAE’s

 standards, have become associated with ASHRAE and its standards. ASHRAE considers these

 marks to be valuable assets and has developed substantial goodwill associated with these marks

 over the years.

        17.        Each time new versions of ASHRAE standards are developed, ASHRAE offers

 those standards for sale. Sales of the standards are an important piece of ASHRAE’s yearly

 revenues. The primary purchasers and users of ASHRAE’s standards include builders, architects,

 and heating, air-conditioning, and refrigeration manufacturers who use the standards in their

 businesses.

        18.        ASHRAE’s pricing and access policies are generally tailored to afford broad access

 to the standards. Prices typically range from $25 to $120, with no standard costing more than

 $200. The standards are priced on the basis of ASHRAE’s costs and ASHRAE does not charge

 more for standards that have been incorporated into laws or regulations. ASHRAE also offers

 discounts for libraries, educational uses, government entities, and individuals or entities who

 purchase the standards on a subscription basis.


                                                    6
                                                            DECLARATION OF STEPHANIE REINICHE IN SUPPORT
                                                            OF PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

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                             19.    To further ensure broader access to the standards, ASHRAE also offers online read-

                     only access to many of its standards-particularly those standards that have been incorporated into

                     codes-on the ASHRAE website, available at https://www.ashrae.org/standards-research--
Page 414 of 581




                     technology/standards--guidelines/other-ashrae-standards-referenced-in-code. This portion of the

                     ASHRAE website allows viewers to read ASHRAE standards, including the 2004, 2007, and 2010

                     versions of Standard 90.1. For certain standards, including Standard 90.1, users of the ASHRAE

                     website can even perform keyword searches within the read-only versions of the documents.
Filed: 01/31/2018




                            20.     ASHRAE is unaware of anyone, except the defendant in this matter, who has

                     complained that the various channels of access ASHRAE provides to Standard 90.1 are

                     insufficient. Additionally, ASHRAE is aware that Defendant has recently removed ASHRAE

                     Standards 90.1-2004, 90.1-2007, and 90.1-2010 from its site at the suggestion of the Court in this

                     matter. Since that occurred, I am not aware of any complaints ASHRAE has received regarding a
Document #1715850




                     perceived loss of access to these standards.



                            I declare under penalty of perjury under the laws of the United States that the foregoing is

                     true and correct.

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                             EXHIBIT 3




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                             EXHIBIT 4




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                             EXHIBIT 5




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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBlA

 AMERICAN SOCIETY FOR TESTING
 AND MATERIALS d/b/a/ ASTM
 INTERNATIONAL;

 NATIONAL FIRE PROTECTION
 ASSOCIATION, INC.; and

 AMERICAN SOCIETY OF HEATING,
                                                    Case No. l:13-cv-01215-TSC
 REFRIGERATING, AND AIR
 CONDITIONING ENGINEERS,

                        Plaintiffs/
                        Counter-Defendants,

 v.

 PUBLIC.RESOURCE.ORG, INC.,

                         Defendant/
                        Counter-Plainti ff.

                               DECLARATION OF JAMES THOMAS

 Pursuant to 28 U.S.C. § 1746, I, James Thomas, declare the following statements to be true under

 the penalties of perjury:

         l.      I am over the age of 18 years and am fully competent to testify to the matters

 stated in this Declaration.

         2.     This declaration is based on my personal knowledge. If called to do so, I would

 and could testify to the matters stated herein.

         3.     I am the President of ASTM International ("ASTM"), which is a not-for-profit

 organization headquartered in Pennsylvania. I have worked at ASTM since 1972.

         4.      ASTM was founded in 1898 when a group of railroad expe1ts and engineers got

 together to respond to technical issues that had been identified in the early days of the railroad

 industry. The very first ASTM standard, standard A 1, provided unifonn specifications for




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 carbon steel rails. This made it possible for manufacturers from different parts of the country to

 produce uniform rails that could be used in a national railroad.

         5.      ASTM's activities have expanded over the past one hundred years and ASTM

 now develops standards that are used in a wide range of fields, including consumer products,

 iron and steel products, rnbber, paints, plastics, textiles, medical services and devices,

 electronics, construction, energy, water, and petroleum products.

         6.      The term "standards" refers to a variety of technical works, including works that

 contain product specifications, installation methods, methods for manufacturing or testing

 materials, recommended practices to ensure safety or efficiency, or other guidelines or best

 practices.

         7.      An organization that develops standards is a "standards development

 organization" or "SDO."

         8.      In the United States, standards are typically developed by private organizations

 that have technical expertise in the relevant area.

         9.      Standards are usually highly technical and specialized, and are written for

 audiences that have particular expertise in the relevant fields.

         l 0.    Standards are used by industry actors as a form of self-regulation and as a source

 of best practices.

         11.    ASTM's mission is to be recognized as the premier developer and provider of

 voluntary consensus standards, related technical information and services that promote public

 health and safety, support the protection and sustainability of the environment, and improve the

 overall quality oflife; contribute to the reliability of materials, products, systems and services;

 and facilitate international, regional, and national commerce.




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         12.    ASTM develops voluntary consensus standards and is accredited by the American

 National Standards Institute.

         13.    ASTM standards are developed based on public demands, industry needs, and

 public safety concerns and advancements in technology. They address a technical issue or

 problem identified by a group of people in the relevant sector that can be addressed with a

 standard-based solution.

         14.    ASTM's standards are used by scientists and engineers in their laboratories, by

 architects and designers in their plans, and by industry in their business contracts.

         15.    On occasion, government agencies incorporate ASTM' s standards by reference

 into regulations. Approximately 10 percent of ASTM's standards are incorporated by reference

 into federal regulations.

         16.    ASTM standards are not developed for the purpose of being incorporated into

 regulations.

         17.    When it develops a new standard, ASTM does not know whether the standard will

 be incorporated by reference into government regulations.

         18.    ASTM does not lobby goverrn:nent agencies to reference its standards.

        19.     Membership in ASTM costs $75 per year for an individual member and $400 per

 year for an organizational member. Each member receives one free volume of the Annual Book

 of ASTM Standards as well as other membership benefits.

        20.     ASTM has kept its membership fees at $75 for over fifteen years to permit the

 widest participation possible in the standard development process, so as to prevent its standards

 from being biased toward the interests of only stakeholders who can afford to pay higher

 membership fees. ASTM's membership fees have never exceeded $75.




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        21.       ASTM has over 140 technical committees made up of over 23,000 technical

 members representing producers, users, consumers, government, and academia from more than

 150 countries.

        22.       Each technical committee contains a balanced voting membership, including

 industry representatives, government representatives, consumers, people with particular expertise

 in the subject matter, and others.

        23.       Throughout the standards development process, ASTM and its committees make

 it clear that all participants' contributions to any particular standard will be merged into a unitary

 standard.

        24.       ASTM's standard development process begins with an individual registering a

 "work item," which describes the idea for a new standard that will be published and owned by

 ASTM, or moving to draft a new standard at a subcommittee meeting.

        25.       The chair of the relevant subcommittee then reviews the work item request and

 considers, among other things, whether there is a need for the proposed standard and whether

 there will be sufficient interest from a balanced group necessary to develop the standard. If the

 chair approves the work item or if the subcommittee approves the motion for a new standard, a

 task group will develop a draft of the standard.

        26.       The technical contact is the leader of the task group.

        27.       The draft standard is then edited by an ASTM staff member, who also adds

 certain language and components that are required by the ASTM form and style guide.

        28.       The draft standard is then voted on by first the entire subcommittee, followed by

 the entire main committee and the complete Society, and reviewed by the Committee on

 Standards to ensure that all procedures were folJowed.




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        29.     Technical committees make decisions about the appropriate content of the

 standards, including the relevant measurements, values, descriptions, and other specifications, as

 well as the language with which to express these standards.

        30.     There are other standard developing organizations that create standards that cover

 the same or similar subject matter as the standards developed by ASTM, including, for example,

 the International Organization for Standards, SAE International, and the American Association

 of State Highway and Transportation Officials. The content and language of these SDO's

 standards differs from the content of the corresponding ASTM standards.

        31.     At each level of balloting, voters can suggest edits or provide comments. Each

 negative vote must be addressed to determine if it is persuasive. At least 66. 7% of the voting

 subcommittee members and 90% of the voting main committee members must approve all

 standard actions, with not less than 60% of the voting members returning ballots.

        32.     ASTM has developed over 12,000 standards.

        33.     All ASTM standards are required to be reviewed on a S year schedule and each

 standard is either reapproved, revised or withdrawn. It takes approximately 8- 12 months to

 complete a revision cycle.

        34.     ASTM incurs substantial costs for its standards development infrastructure and

 delivery platforms, including the resources it provides to encourage collaboration among

 members; expenses relating to technical committee meetings and balloting as the standards make

 their way through the development process; and editing, producing, distributing and promoting

 the completed standards.

        35.     In 2014, ASTM spent more than $9 million to cover the cost of technical

 committee operations and $19 million for publication of copyrighted materials.




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        36.     ASTM develops its standards with the understanding that the standards will be

 protected by copyright, which provides ASTM with the exclusive right to sell, reproduce, display

 and create derivative works based on the standards.

        37.     ASTM depends on the revenue it generates from sales of its copyrighted materials

 to conduct its operations and requires that revenue to be in a position to continue to develop its

 standards in the manner in which it currently operates.

        38.     ASTM generates over two-thirds of its revenue from the sale of copyrighted

 materials.

        39.     ASTM has devoted substantial efforts to develop and promote the sale of products

 and services that are related or complementary to ASTM's standards. ASTM does not generate

 substantial income from these goods and services.

        40.     ASTM generated a net loss of $3 million in 2014 for non-standards related

 products and services.

        41.     ASTM's copyrighted materials give ASTM a competitive advantage in selling

 ancillary or complementary products and services. ASTM can include copies of its standards as

 part of a package it provides to customers in training or certification programs.

        42.     ASTM does not consider the likelihood and extent to which a standard will

 generate revenues when deciding whether to develop or maintain a standard.

        43.     Sales of a limited number of standards drive the bulk of ASTM,s revenues.

 Because of their relevance to smaller market audiences, many ASTM standards generate very

 limited revenues, which do not cover the costs of the development process. The sales of the

 best-selling standards effectively subsidize the creation and maintenance of the remaining

 standards.




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        44.     ASTM publishes its standards in hard copy and digital formats, including pdfs,

 html and xml formats, which can be purchased from ASTM or its authorized resellers.

        45.     When purchased individually, the price per ASTM standard is $38-$89.

        46.     The price of each ASTM new individual standard is calculated based on the

 number of pages in the standard.

        47.     ASTM does not seek to obtain higher prices for standards that have been

 incorporated by reference.

        48.     ASTM provides copies of its standards at a reduced cost or at no cost when it is

 informed that the regular cost is a burden to the requester.

        49.     For example, ASTM has a "10 Standards for Students" program through which

 professors can select any 10 ASTM standards and students can purchase a packet containing all

 10 standards for just $10 per student.

        50.     ASTM provides the public with free, read-only access to all ASTM standards that

 ASTM is aware have been incorporated by reference into federal regulations.

        51.     ASTM identifies standards that have been incorporated by reference into federal

 regulations from the database created by the National Institute of Standards and Technology.

        52.     ASTM publicizes the free read-only access provided on its website.

        53.     During the notice and comment period regarding proposed federal regulations,

 upon request by the relevant federal agency, ASTM provides free, read-only access to standards

 that are incorporated by reference in proposed regulations.

        54.     ASTM has not received any complaints about lack of accessibility of its standards

 other than from Defendant.



 Dated: November 18, 2015                               R h ~11a<--
                                                   {T James Thomas
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                                   UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLUMBIA

  AMERICAN SOCIETY FOR TESTING
  AND MATERIALS d/b/a/ ASTM
  INTERNATIONAL;

 NATIONAL FIRE PROTECTION
 ASSOCIATION, INC.; and

  AMERICAN SOCIETY OF HEATING,
                                                    Case No. 1:13-cv-01215-TSC
  REFRIGERATING, AND AIR
  CONDITIONING ENGINEERS,

                           Plaintiffs/
                           Counter-Defendants,

 V.

  PUBLIC.RESOURCE.ORO, INC.,

                           Defendant/
                           Counter-Plaintiff.

                             DECLARATION OF JORDANA S. RUBEL

  Pursuant to 28 U.S.C. § 1746, I, Jordana S. Rubel, declare the following statements to be true

  under the penalties of perjury:

          1.      I am over the age of 18 years and am fully competent to testify to the matters

  stated in this Declaration . .

          2.      This declaration is based on my personal knowledge. If called to do so, I would

  and could testify to the matters stated herein.

          3. .    I am an associate at Morgan Lewis & Bockius LLP, which represents Plaintiff

  American Society for Testing and Materials in this matter.

          4.      Attached as Exhibit 1 is a true and correct copy of the Expert Report of John C.

  Jarosz that was served on June 5, 2015.




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USCA Case #17-7039    Document #1715850     Filed: 01/31/2018  Page 432 of 581


        5.      Attached as Exhibit 2 are true and correct copies of excerpts of the transcript of

 the 30(b)(6) deposition of Public.Resource.Org, Inc.~ which took place on February 26, 2015.

        6.      Attached as Exhibit 3 are true and correct copies of excerpts of the transcript of

 t~e deposition of Carl Malamud, which took place on February 27, 2015.

        7.      Attached as Exhibit 4 are true and correct copies of excerpts of the transcript of

 the 30(b)(6) deposition of Point.B Studio, which took place on November 13, 2014.

        8.      Attached as Exhibit 5 are true and correct copies of excerpts of the transcript of

 the 30(b)(6) deposition of HTC Global, Inc., which took place on November 5, 2014.

        9.      Attached as Exhibit 6 are true and correct copies of excerpts of the transcript of

 the 30(b)(6) deposition of Christian Dubay on behalf of the National Fire Protection Association,

 Inc. , which took place on April 1, 2015.

        10.     Attached as Exhibit 7 are true and correct copies of excerpts of the transcript of

 the 30(b)(6) deposition of Stephanie Reiniche on behalf of the American Society for Heating,

 Refrigerating and Air Conditioning Engineers, which took place on March 30, 2015.

        11.     Attached as Exhibit 8 are true and correct copies of excerpts of the transcript of

 the 30(b)(6) deposition of Steven Comstock on behalf of the Americ~n Society for Heating,

 Refrigerating and Air Conditioning Engineers, which took place on March 5, 2015.

        12.     Public.Resource. Org, Inc. ("Defendant") submitted Freedom of Information Act

 ("FOIA") requests to a number of executive agencies requesting copies of standards that are

 incorporated by reference in federal regulations. Attached as Exhibit 9 are true and correct

 copies ofletters of requests Public.Resource.Org, Inc. submitted to the U.S. Department of

 Housing and Urban Develop and the U.S. Consumer Product Safety Commission that were

 downloaded from Defendant's website.




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          13.     No agency has provided Defendant with copies of the standards it has requested

   through these FOIA requests. Numerous federal agencies have explicitly taken the position in

   communications with Defendant that incorporation by reference of mate1ials into regulations

   does not destroy the copyright in those materials. Attached as Exhibit 10 are true and correct

·· copies·ofletters to Defendant froin the U$. Department oflnterior, the U.S. Department of ·

   Housing and Urban Development and the U.S. Consumer Product Safety Commission that were

   downloaded from Defendant's website.

          14.      Attached as Exhibit 11 are true and correct copies of excerpts from Defendant's

   responses to interrogatories served by American Society for Testing and Materials. Defendant

   did not serve supplemented responses to these interrogatories.

          15.     Copies of 43 of Defendant's versions of ASTM'~ standards at issue, with

   Defendant's cover page, were uploaded by "dharlanuctcom" onto the Scribd platform. See

   https://www.scribd.com/dharlanuctcom. Attached as Exhibit 12 is a true and correct copy of a

   printout of a page showing uploads made by dharlanuctcom to the Scribd platform.

          16.     Even after Mr. Malamud was notified of specific errors in Defendant's versions of

   Plaintiffs' standards that were posted on Defendant's website, Defendant did not correct those

   mistakes and maintained versions of the standards that contained these enors on its website until
           . '
   it removed its copies of Plaintiffs' standards in November 2015 atthe Court's suggestion.

          17.     Attached as Exhibit 13 is a true and correct copy of Exhibit 55 to the 30(b)(6)

   deposition of Public.Resource.Org, Inc.

           18.    Attached as Exhibit 14 is a true and correct copy of Exhibit 33 to the 30(b)(6)

   deposition of Public.Resource.Org, Inc.




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        19.      Attached as Exhibit 15 is a true and correct copy of Exhibit 69 to the deposition of

 Carl Malamud.

        20.      Attached as Exhibit 16 is a true and correct copy of Exhibit 63 to the deposition of

 Carl Malamud.

        21.      Attached as Exhibit 17 is.a tme and correct copy of Exhibit 2 to the 30(b)(6)

 deposition of HTC Global.

        22.      Attached as Exhibit 18 is a tme and correct copy of excerpts from the expert

 deposition of James Fruchterman, which took place on July 31, 2015.

        23.      Attached a~ Exhibit 19 is a tme and correct copy of Exhibit 21 to the 30(b)(6) .

 deposition of Point.B Studio.

        24.      Attached as Exhibit 20 is a true and correct copy of Exhibit 57 to the deposition of

 Carl Malamud.

        25.      Attached as Exhibit 21 is a true and correct copy of Exhibit 62 to the deposition of

 Carl Malamud.

        26.      Attached as Exhibit 22 is a true and correct copy of Exhibit 18 to the 30(b)(6)

 deposition of Point.B Studio.

        27.      Attached as Exhibit 23 are true and correct copies of Exhibits 52 and 53 to the

 30(b)(6) deposition of Public.Resource.Org, Inc.

        28.      Attached as Exhibit 24 is a true and correct copy of Exhibit 75 to the deposition of

 Carl Malamud.

        29.      Attached as Exhibit 25 are true and correct copies of documents Bates stamped

 PR0_00082474, PR0_00082837, and PR0_00083112, which were produced by

 Public.Resource.Org, Inc.




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        30.      Attached as Exhibit 26 is a true and correct copy of a document Bates stamped

 PRO_OOI01955-57, which was produced by Public.Resource.Org, Inc.

        31.      Attached as Exhibit 27 is a true and correct copy of Exhibit 38 to the 30(b)(6)

 deposition of Public.Resource.Org, Inc.

        32.     Attached as Exhibit 28 is a true and correct copy of Exhibit 40 to the 30(b)(6)

 deposition of Public.Resource.Org, Inc.

        33.      Attached as Exhibit 29 is a true and correct copy of Exhibit 64 to the deposition of

 Carl Malamud.

        34. ·    Attached as Exhibit 30 is a true and correct copy of Exhibit 58 to the deposition of

 Carl Malamud.

        35.      Attached as Exhibit 31 is a true and correct copy of Exhibit 59 to the deposition of

 Carl Malamud.

        36.      Attached as Exhibit 32 is a true and correct copy of a document I downloaded

 from the law .resource.org website on November 19, 2015.

        37.      Attached as Exhibit 33 is a true and correct copy of Exhibit 77 to the deposition of

 Carl Malamud.

        38.      Attached as Exhibit 34 is a true and correct copy of Exhibit 65 to the deposition of

 Carl Malamud.

        39.      Attached as Exhibit 35 is a true and correct copy of Exhibit 27 to the 30(b)(6)

 deposition of Point.B Studio.

        40.      Attached as Exhibit 36 is a true and correct copy of Exhibit 73 to the deposition of

 Carl Malamud.




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         41.    Attached as Exhibit 37 is a true and correct copy of Exhibit 49 to the 30(b)(6)

 deposition of Public.Resotirce.Org, Inc.

         42.    Attached as Exhibit 38 is a true and correct copy of Exhibit 43 to the 30(b)(6)

 deposition of Public.Resource.Org, Inc.

         43.    Attached as Exhibit 39 is a true and correct copy of Exhibit 51 to the 30(b)(6)

 deposition qf Public.Resource.Org, Inc.

         44.    Attached as Exhibit 40 is a true and correct copy of Exhibit 44 to the 30(b)(6)

 deposition of Public.Resource.Org, Inc.

         45.    Attached as Exhibit 41 is a true and correct copy of Exhibit 54 to the 30(b)(6)

 ·deposition of Public.Resource.Org, Inc.

         46.     Attached as Exhibit 42 is a true and correct copy of Exhibit 56 to the 30(b)(6)

 deposition of Public.Resource.Org, Inc.

         47.    Attached as Exhibit 43 is a true and corr~ct copy of Exhibit 76 to the deposition of

 Carl Malamud.

         48.     Attached as Exhibit fl4 is a true and correct copy of Exhibit 70 to the deposition of

 Carl Malamud.

         49.     Attached as Exhibit 45 are true and correct copies of excerpts of the transcript of

 the 30(b)(6) deposition of Bruce Mullen on behalf of on the American Society for Heating,

 Refrigerating and Air Conditioning Engineers, which took place on March 31, 2015.




 Dated: November 19, 2015




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             MATERIAL UNDER SEAL DELETED




                               JA409-JA523
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                   EXH IBIT 2




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                            )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

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  .   M [ i e kh Y[ 9                                                                .- 7 / 0 7 - 2 < H

  /             <       D Wc +                                                       .- 7 / 0 7 - 3 < H

  0             L       R^ Wj _i oe kh fe i_ j_ ed Wj Kk Xb _Y M[ ie kh Y[           .- 7 / 0 7 - 5 < H

  1   W j j^ _i j_ c[ 9                                                              .- 7 / 0 7 . - < H

  2             <       D% c j^ [ fh [i _Z [d j Wd Z \e kd Z[ h+                     .- 7 / 0 7 . . < H

  3             L       CW i j^ Wj X[ [d oe kh j_ jb [ [l [h i_ dY [ oe k            .- 7 / 0 7 . 1 < H

  4   \ e k d Z[ Z Kk Xb _Y M[ ie kh Y[ 9                                            .- 7 / 0 7 . 3 < H

  5             <       T[ i+                                                        .- 7 / 0 7 . 5 < H

  6             L       Di j^ Wj W \k bb *j _c [ fe i_ j_ ed 9                       .- 7 / 0 7 / - < H

 .-             <       Dj _i +                                                      .- 7 / 0 7 / 1 < H

 ..             L       ?e oe k Ze Wd o ej ^[ h me ha j^ Wj b[ WZ i je Wd o          .- 7 / 0 7 / 3 < H

 ./   i e h j e\ Ye cf [d iW j_ ed ej ^[ h j^ Wd oe kh me ha \e h Kk Xb _Y           .- 7 / 0 7 0 - < H

 .0   M [ i e kh Y[ Wj j^ _i j_ c[ 9                                                 .- 7 / 0 7 0 / < H

 .1             <       D Ze de j+                                                   .- 7 / 0 7 0 1 < H

 .2             L       <i j^ [ fh [i _Z [d j Wd Z \e kd Z[ h e\ Kk Xb _Y            .- 7 / 0 7 0 4 < H

 .3   M [ i e kh Y[ ) m^ Wj Wh [ oe kh `e X h[ if ed i_ X_ b_ j_ [i 9                .- 7 / 0 7 0 6 < H

 .4                     HM + =M D? B@ N7    JX `[ Yj _e d) lW ]k [ Wd Z              .- 7 / 0 7 1 3 < H

 .5    W c X_ ]k ek i+                                                               .- 7 / 0 7 1 3 < H

 .6                     OC @ RD OI @N N7    D hk d j^ [ Ye hf eh Wj _e d+            .- 7 / 0 7 2 . < H

 /-   = T HM + A@ @7                                                                 .- 7 / 0 7 2 0 < H

 /.             L       Ja Wo +   >W d oe k X[ Wd o ce h[ if [Y _\ _Y j^ Wd          .- 7 / 0 7 2 0 < H

 //   j^ Wj 9                                                                        .- 7 / 0 7 2 6 < H

 /0                     HM + =M D? B@ N7    NW c[ eX `[ Yj _e d+                     .- 7 / 1 7 - - < H

 /1                     OC @ RD OI @N N7    D if [W a+   D fh e] hW c+      D hk d   .- 7 / 1 7 - 0 < H

 /2    Y e cf kj [h i+                                                               .- 7 / 1 7 - 3 < H



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                            )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

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  .   = T HM + A@ @7                                                                 .- 7 / 1 7 - 4 < H

  /          L          R^ Wj _i Kk Xb _Y M[ ie kh Y[ 9                              .- 7 / 1 7 - 6 < H

  0                     HM + =M D? B@ N7     JX `[ Yj _e d) lW ]k [ Wd Z             .- 7 / 1 7 . / < H

  1    W c X_ ]k ek i+                                                               .- 7 / 1 7 . 0 < H

  2                     OC @ RD OI @N N7     < 2- .& Y' &0 ' de df he \_ j           .- 7 / 1 7 . 1 < H

  3    Y e hf eh Wj _e d+                                                            .- 7 / 1 7 . 6 < H

  4   = T HM + A@ @7                                                                 .- 7 / 1 7 / - < H

  5          L          R^ Wj fh eZ kY ji eh i[ hl _Y [i Ze [i Kk Xb _Y              .- 7 / 1 7 / - < H

  6   M [ i e kh Y[ fh el _Z [9                                                      .- 7 / 1 7 / / < H

 .-                     HM + =M D? B@ N7     JX `[ Yj _e d) lW ]k [ Wd Z             .- 7 / 1 7 / 0 < H

 ..    W c X_ ]k ek i) Wh ]k c[ dj Wj _l [+                                          .- 7 / 1 7 / 2 < H

 ./                     OC @ RD OI @N N7     R[ cW a[ ]e l[ hd c[ dj                 .- 7 / 1 7 0 . < H

 .0    _ d \e hc Wj _e d ce h[ Xh eW Zb o Wl W_ bW Xb [ je _d \e hc                  .- 7 / 1 7 0 / < H

 .1    Y _ j_ p[ di +                                                                .- 7 / 1 7 0 2 < H

 .2   = T HM + A@ @7                                                                 .- 7 / 1 7 0 2 < H

 .3          L          Ce m Ze [i Kk Xb _Y M[ ie kh Y[ Ze j^ Wj 9                   .- 7 / 1 7 0 6 < H

 .4          <          D% c ie hh o9                                                .- 7 / 1 7 1 / < H

 .5          L          Ce m Ze [i Kk Xb _Y M[ ie kh Y[ Ze j^ Wj 9                   .- 7 / 1 7 1 0 < H

 .6          <          R[ ki [ j^ [ Dd j[ hd [j +                                   .- 7 / 1 7 1 3 < H

 /-          L          <j j^ _i fe _d j _d j_ c[ ) Ze oe k em d Wd o                .- 7 / 2 7 - 0 < H

 /.   Y e d j he bb _d ] _d j[ h[ ij _d j^ [ Ye hf eh Wj _e d) eh Ze oe k            .- 7 / 2 7 - 4 < H

 //   ^ e b Z Wd o fe i_ j_ ed i \e h Wd o de df he \_ j eh ]W d_ pW j_ ed i         .- 7 / 2 7 - 6 < H

 /0   e j ^ [ h j^ Wd Kk Xb _Y M[ ie kh Y[ 9                                         .- 7 / 2 7 . 0 < H

 /1                     HM + =M D? B@ N7     JX `[ Yj _e d) Ye cf ek dZ +            .- 7 / 2 7 . 2 < H

 /2                     HM + A@ @7      Dj _i Ye cf ek dZ +    D% bb Xh [W a j^ Wj   .- 7 / 2 7 . 4 < H



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                                        JA527
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USCA Case #17-7039          06A<D6=
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                            )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

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  .    Z e md +      G[ j c[ h[ *W ia j^ Wj +                                .- 7 / 2 7 . 6 < H

  /   = T HM + A@ @7                                                         .- 7 / 2 7 / . < H

  0            L       A_ hi j e\ Wb b) Ze oe k em d W Ye dj he bb _d ]      .- 7 / 2 7 / . < H

  1   _ d j [ h[ ij _d Wd o Ye hf eh Wj _e d fk jj _d ] Wi _Z [ m^ Wj oe k   .- 7 / 2 7 / 0 < H

  2   Z e \e h Kk Xb _Y M[ ie kh Y[ 9                                        .- 7 / 2 7 / 4 < H

  3            <       Ie ) D Ze de j+                                       .- 7 / 2 7 / 6 < H

  4            L       ?e oe k ^W l[ W he b[ _d Ye dd [Y j_ ed m_ j^ Wd o    .- 7 / 2 7 0 . < H

  5   d e d f he \_ j eh ]W d_ pW j_ ed ej ^[ h j^ Wd Kk Xb _Y M[ ie kh Y[   .- 7 / 2 7 0 1 < H

  6   W j **                                                                 .- 7 / 2 7 0 5 < H

 .-                    HM + =M D? B@ N7   JX `[ Yj _e d) lW ]k [ Wd Z        .- 7 / 2 7 0 5 < H

 ..    W c X_ ]k ek i+                                                       .- 7 / 2 7 0 6 < H

 ./   = T HM + A@ @7                                                         .- 7 / 2 7 0 6 < H

 .0            L       ** Wj j^ _i j_ c[ 9                                   .- 7 / 2 7 1 - < H

 .1                    HM + =M D? B@ N7   JX `[ Yj _e d) lW ]k [ Wd Z        .- 7 / 2 7 1 - < H

 .2    W c X_ ]k ek i+                                                       .- 7 / 2 7 1 - < H

 .3                    OC @ RD OI @N N7   D% c ed j^ [ Xe Wh Z e\            .- 7 / 2 7 1 . < H

 .4    Z _ h[ Yj eh i e\ >e cc ed >h Wm b) W 2- .& Y' &0 ' de df he \_ j     .- 7 / 2 7 1 / < H

 .5    Y e hf eh Wj _e d+                                                    .- 7 / 2 7 1 3 < H

 .6   = T HM + A@ @7                                                         .- 7 / 2 7 1 5 < H

 /-            L       <d o ej ^[ hi 9                                       .- 7 / 2 7 1 6 < H

 /.            <       Ie ) i_ h+                                            .- 7 / 2 7 2 . < H

 //                    HM + =M D? B@ N7   Ek ij b[ Wl [ c[ j_ c[ je          .- 7 / 2 7 2 / < H

 /0    e X `[ Yj +     D i^ ek bZ ^W l[ eX `[ Yj [Z je j^ Wj ed [+           .- 7 / 2 7 2 / < H

 /1   = T HM + A@ @7                                                         .- 7 / 2 7 2 3 < H

 /2            L       R^ Wj _i >e cc ed >h Wm b9                            .- 7 / 2 7 2 3 < H



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USCA Case #17-7039          06A<D6=
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                             )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

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  .                   OC @ RD OI @N N7   <d Z ** Wd Z cW dW ][ j^ ei [        .- 7 0 . 7 - 0 < H

  /    e X `[ Yj i) o[ i+                                                     .- 7 0 . 7 - 0 < H

  0   = T HM + A@ @7                                                          .- 7 0 . 7 - 1 < H

  1           L       >W d oe k [n fb W_ d je c[ m^ Wj j^ [ XW i_ i _i        .- 7 0 . 7 - 2 < H

  2   \ e h j^ Wj X[ b_ [\ 9                                                  .- 7 0 . 7 - 5 < H

  3           <       R[ bb ) j^ [h [ Wh [ W bW h] [ dk cX [h e\              .- 7 0 . 7 . . < H

  4   Y e b b [Y j_ ed i ed j^ [ Dd j[ hd [j <h Y^ _l [) ik Y^ Wi j^ [        .- 7 0 . 7 . 0 < H

  5   B h W j [\ kb ?[ WZ <h Y^ _l [) \e h [n Wc fb [+                        .- 7 0 . 7 . 3 < H

  6           L       CW i Kk Xb _Y +M [i ek hY [+ Jh ] [l [h fe ij [Z Wd o   .- 7 0 . 7 / - < H

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 ..           <       T[ i+                                                   .- 7 0 . 7 / 3 < H

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 .1           <       Ie +                                                    .- 7 0 . 7 1 . < H

 .2           L       N_ dY [ _j i \e kd Z ** \e kd Z_ d] ) Z_ Z Kk Xb _Y     .- 7 0 . 7 1 0 < H

 .3   M [ i e kh Y[ ^W l[ Wd o [c fb eo [[ i ej ^[ h j^ Wd oe kh i[ b\ 9      .- 7 0 . 7 1 3 < H

 .4           <       T[ i) D ^W Z ed [ [c fb eo [[ +                         .- 7 0 . 7 2 . < H

 .5           L       R^ e _i j^ Wj 9                                         .- 7 0 . 7 2 0 < H

 .6           <       Ee [b CW hZ _) C* <* M* ?* D+                           .- 7 0 . 7 2 1 < H

 /-           L       R^ Wj mW i Ee [b CW hZ _% i he b[ Wj Kk Xb _Y           .- 7 0 / 7 - - < H

 /.   M [ i e kh Y[ m^ _b [ ^[ mW i j^ [h [9                                  .- 7 0 / 7 - 0 < H

 //           <       C[ mW i W io ij [c i WZ c_ d_ ij hW je h Wd Z           .- 7 0 / 7 - 2 < H

 /0   f h e ] hW cc [h +                                                      .- 7 0 / 7 - 6 < H

 /1           L       ?k h_ d] m^ Wj j_ c[ \h Wc [ Z_ Z Hh + CW hZ _ me ha    .- 7 0 / 7 . 0 < H

 /2   W j Kk Xb _Y M[ ie kh Y[ 9                                              .- 7 0 / 7 . 2 < H



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                         )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                                   30
  .           <      Ie ) j^ Wj mW i _j +                                          .. 7 - 4 7 1 . < H

  /                  J^ ) D% c ie hh o+     D ]e j [* cW _b \h ec                  .. 7 - 5 7 . - < H

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  1           L      ?e oe k h[ YW bb j^ [ ik Xi jW dY [ e\ j^ Wj                  .. 7 - 5 7 . 3 < H

  2   [ * c W _b 9                                                                 .. 7 - 5 7 . 5 < H

  3           <      D j^ _d a ^[ b_ a[ Z j^ [ fW Ya W] _d ]+                      .. 7 - 5 7 . 5 < H

  4                  OC @ M@ KJ MO @M 7    Te k iW _Z j^ Wj ^[ %i \h ec            .. 7 - 5 7 / 1 < H

  5    < I ND 9                                                                    .. 7 - 5 7 / 1 < H

  6                  OC @ RD OI @N N7     <* I* N* D) <c [h _Y Wd IW j_ ed Wb      .. 7 - 5 7 / 1 < H

 .-    N j Wd ZW hZ i Dd ij _j kj _e d ** eh Dd ij _j kj [+                        .. 7 - 5 7 0 - < H

 ..   = T HM + A@ @7                                                               .. 7 - 5 7 0 1 < H

 ./           L      R^ [d oe k m[ h[ fk hY ^W i_ d] j^ [ 40 ij Wd ZW hZ i)        .. 7 - 5 7 0 2 < H

 .0   m ^ o Z_ Z oe k Z[ Y_ Z[ je Xk o fW f[ h Ye f_ [i Wi ef fe i[ Z je           .. 7 - 5 7 0 5 < H

 .1   [ b [ Y jh ed _Y Ye f_ [i 9                                                  .. 7 - 5 7 1 . < H

 .2                  HM + =M D? B@ N7     JX `[ Yj _e d) lW ]k [) Wc X_ ]k ek i)   .. 7 - 5 7 1 0 < H

 .3    h [ b[ lW dY [+                                                             .. 7 - 5 7 1 1 < H

 .4                  OC @ RD OI @N N7     Dj %i Xo \W h j^ [ [W i_ [i j mW o       .. 7 - 5 7 1 2 < H

 .5    j e fh eY [i i j^ [c +                                                      .. 7 - 5 7 1 5 < H

 .6   = T HM + A@ @7                                                               .. 7 - 5 7 1 6 < H

 /-           L      >W d oe k [n fb W_ d m^ o _j me kb Z X[ [W i_ [h je           .. 7 - 5 7 2 - < H

 /.   f h e Y [i i fW f[ h Ze Yk c[ dj i j^ Wd je ) \e h [n Wc fb [) fh _d j       .. 7 - 5 7 2 0 < H

 //   [ b [ Y jh ed _Y Ye f_ [i 9                                                  .. 7 - 5 7 2 3 < H

 /0           <      < fW f[ h Ze Yk c[ dj oe k j^ he m _j ed W iY Wd d[ h         .. 7 - 5 7 2 4 < H

 /1   W d Z oe k iY Wd _j +                                                        .. 7 - 6 7 - . < H

 /2           L      Ne oe k jW a[ j^ [ fW f[ h Wd Z cW a[ Wd                      .. 7 - 6 7 - / < H



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                          )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

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  .   [ b [ Y jh ed _Y Ye fo Wi ef fe i[ Z je `k ij ^W l_ d] j^ [                 .. 7 - 6 7 - 2 < H

  /   [ b [ Y jh ed _Y Ye fo 9                                                    .. 7 - 6 7 - 5 < H

  0                  HM + =M D? B@ N7   D% bb eX `[ Yj ** D eX `[ Yj +            .. 7 - 6 7 - 6 < H

  1    < h ]k c[ dj Wj _l [ j[ hc _d eb e] o) lW ]k [ Wd Z Wc X_ ]k ek i+         .. 7 - 6 7 . - < H

  2                  OC @ RD OI @N N7   T[ i) oe k iY Wd _j Wd Z cW a[ Wd         .. 7 - 6 7 . / < H

  3    [ b [Y jh ed _Y Ye fo +                                                    .. 7 - 6 7 . 1 < H

  4   = T HM + A@ @7                                                              .. 7 - 6 7 . 2 < H

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  6   f k h Y ^W i[ [b [Y jh ed _Y Ye f_ [i \h ec j^ [ ij Wd ZW hZ i              .. 7 - 6 7 . 6 < H

 .-   e h ] W d_ pW j_ ed i9                                                      .. 7 - 6 7 / . < H

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 .1   = T HM + A@ @7                                                              .. 7 - 6 7 / 5 < H

 .2          L       <d Z oe kh Z[ Y_ i_ ed je Xk o fW f[ h Ye f_ [i Wi           .. 7 - 6 7 / 5 < H

 .3   e f f e i[ Z je [b [Y jh ed _Y Ye f_ [i mW i de j _d eh Z[ h je             .. 7 - 6 7 0 / < H

 .4   W l e _ Z Wd o j[ hc i e\ ki [ _d Ye dd [Y j_ ed m_ j^ W b_ Y[ di [         .. 7 - 6 7 0 1 < H

 .5   W ] h [ [c [d j e\ Wd [b [Y jh ed _Y Ye fo 9                                .. 7 - 6 7 0 6 < H

 .6                  HM + =M D? B@ N7   JX `[ Yj _e d) bW Ya i \e kd ZW j_ ed )   .. 7 - 6 7 1 . < H

 /-    l W ]k [ Wd Z Wc X_ ]k ek i+                                               .. 7 - 6 7 1 / < H

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 //    m W o W K? A Ze Yk c[ dj Wh [ fW Ya W] [Z cW a[ j^ [c ck Y^                .. 7 - 6 7 1 4 < H

 /0    ^ W hZ [h je me ha m_ j^ +                                                 .. 7 - 6 7 2 0 < H

 /1   = T HM + A@ @7                                                              .. 7 - 6 7 2 1 < H

 /2          L       D\ oe k ^W Z fk hY ^W i[ Z Wd [b [Y jh ed _Y Ye fo e\        .. 7 - 6 7 2 2 < H



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USCA Case #17-7039          06A<D6=
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  .    _ d cW do d[ mi c[ Z_ W h[ fe hj i) \e h [n Wc fb [+                   .. 7 / 6 7 2 2 < H

  /   = T HM + A@ @7                                                          .. 7 / 6 7 2 5 < H

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  1   W Y j k Wb bo ^W Z W fh eX b[ c WY Y[ ii _d ] ed [ e\ j^ [              .. 7 0 - 7 - - < H

  2   f b W _ dj _\ \i % ij Wd ZW hZ i Wd Z ** Wd Z j^ Wj m[ h[ ]e l[ hd [Z   .. 7 0 - 7 - 0 < H

  3   X o j^ ei [ ij Wd ZW hZ i l_ W _d Ye hf eh Wj _e d Xo h[ \[ h[ dY [9    .. 7 0 - 7 - 3 < H

  4                 HM + =M D? B@ N7   <b b j^ [ iW c[ eX `[ Yj _e di Wi D    .. 7 0 - 7 . 0 < H

  5    b W ij iW _Z +                                                         .. 7 0 - 7 . 1 < H

  6                 OC @ RD OI @N N7   T[ i) D Wc +                           .. 7 0 - 7 . 2 < H

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 .0   j ^ [ c ) Xk j YW d ** YW d D **                                        .. 7 0 - 7 . 6 < H

 .1          L      DZ [d j_ \o Wb b j^ Wj oe k YW d j^ _d a e\ i_ jj _d ]    .. 7 0 - 7 / . < H

 .2   ^ [ h [ h_ ]^ j de m+                                                   .. 7 0 - 7 / 0 < H

 .3          <      Ja Wo +   Hh + >W hb R[ _c [h _i j^ [ [n [Y kj _l [       .. 7 0 - 7 / 1 < H

 .4   Z _ h [ Yj eh e\ j^ [ K_ f[ b_ d[ NW \[ jo Oh ki j+                     .. 7 0 - 7 / 6 < H

 .5                 HM + =M D? B@ N7   Te k% l[ X[ [d Wi a[ Z je              .. 7 0 - 7 0 2 < H

 .6    _ Z [d j_ \o j^ [ _d Z_ l_ Zk Wb i+   O^ Wj %i m^ Wj ^[ %i Wi a[ Z     .. 7 0 - 7 0 2 < H

 /-    o e k je Ze +                                                          .. 7 0 - 7 0 6 < H

 /.   = T HM + A@ @7                                                          .. 7 0 - 7 1 . < H

 //          L      R^ e [b i[ +                                              .. 7 0 - 7 1 . < H

 /0          <      O^ [h [ m[ h[ W bW h] [ dk cX [h e\ ik Xc _i i_ ed i      .. 7 0 - 7 1 3 < H

 /1   j e \[ Z[ hW b _d \e hc Wj _e d ]W j^ [h _d ] j^ Wj _d Yb kZ [Z         .. 7 0 - 7 2 / < H

 /2   i k X c _i i_ ed i Xo ]h ek fi j^ Wj Ye cf bW _d [Z WX ek j bW Ya e\    .. 7 0 . 7 - . < H



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                                     JA532
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USCA Case #17-7039          06A<D6=
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  .   W Y Y [ ii +                                                                    .. 7 0 . 7 - 3 < H

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  0                      HM + =M D? B@ N7   NW c[ ** iW c[ eX `[ Yj _e di Wi          .. 7 0 . 7 . - < H

  1    j e co [W hb _[ h ** Wi ** Wi co [W hb _[ h eX `[ Yj _e di +                   .. 7 0 . 7 . / < H

  2                      OC @ RD OI @N N7   <] W_ d) _d j^ [ Ze Ya [j i j^ [h [       .. 7 0 . 7 . 3 < H

  3    m [ h[ W bW h] [ dk cX [h e\ ]h ek fi j^ Wj _Z [d j_ \_ [Z                     .. 7 0 . 7 . 5 < H

  4    W Y Y[ ii fh eX b[ ci +                                                        .. 7 0 . 7 / / < H

  5   = T HM + A@ @7                                                                  .. 7 0 . 7 / / < H

  6           L          =k j j^ [ ed bo _d Z_ l_ Zk Wb j^ Wj oe k% l[                .. 7 0 . 7 / 0 < H

 .-   _ Z [ d j_ \_ [Z _i >W hb R[ _c [h 8 _i j^ Wj h_ ]^ j9                          .. 7 0 . 7 / 2 < H

 ..           <          O^ Wj D **                                                   .. 7 0 . 7 / 4 < H

 ./                      HM + =M D? B@ N7   NW c[ ** iW c[ eX `[ Yj _e di Wi          .. 7 0 . 7 0 - < H

 .0    c o [W hb _[ h ed [i +                                                         .. 7 0 . 7 0 . < H

 .1                      OC @ RD OI @N N7   O^ [ ed bo ed [ _Z [d j_ \_ [Z Xo         .. 7 0 . 7 0 0 < H

 .2    d W c[ ) o[ i+                                                                 .. 7 0 . 7 0 1 < H

 .3   = T HM + A@ @7                                                                  .. 7 0 . 7 0 1 < H

 .4           L          <d Z Hh + R[ _c [h ) Wi oe k iW _Z ) mW i j^ [               .. 7 0 . 7 0 2 < H

 .5   [ n [ Y kj _l [ Z_ h[ Yj eh e\ K_ f[ b_ d[ NW \[ jo Oh ki j8 _i j^ Wj           .. 7 0 . 7 0 2 < H

 .6   h _ ] ^ j9                                                                      .. 7 0 . 7 0 6 < H

 /-           <          T[ i+                                                        .. 7 0 . 7 1 - < H

 /.           L          <d Z m^ Wj Z_ Z ^[ j[ bb oe k WX ek j ^_ i                   .. 7 0 . 7 1 . < H

 //   _ d W X _b _j o je WY Y[ ii ed [ e\ j^ [ fb W_ dj _\ \i %                       .. 7 0 . 7 1 0 < H

 /0   i j W d ZW hZ i9                                                                .. 7 0 . 7 1 2 < H

 /1                      HM + =M D? B@ N7   JX `[ Yj _e d) bW Ya i \e kd ZW j_ ed )   .. 7 0 . 7 1 3 < H

 /2    l W ]k [ Wd Z Wc X_ ]k ek i+                                                   .. 7 0 . 7 1 4 < H



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                                         JA533
                            FFF%06A<D6=59A@BD<?;0@>A6?G%8@> H (&'+
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USCA Case #17-7039          06A<D6=
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                           )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                                    40
  .                  OC @ RD OI @N N7     C[ if ea [ Wj W _d \e hc Wj _e d          .. 7 0 . 7 2 / < H

  /    ] W j^ [h _d ] fh eY [i i Wj KC HN <) K* C* H* N* <) m^ _Y ^ _i W            .. 7 0 . 7 2 1 < H

  0    \ [ Z[ hW b ]e l[ hd c[ dj W] [d Yo +                                        .. 7 0 / 7 - 2 < H

  1                  HM + =M D? B@ N7     D% bb Wi a j^ [ m_ jd [i i je             .. 7 0 / 7 - 4 < H

  2    b _ ij [d je j^ [ gk [i j_ ed Wd Z je Wd im [h j^ [ gk [i j_ ed +            .. 7 0 / 7 - 5 < H

  3                  OC @ RD OI @N N7     Ja Wo +                                   .. 7 0 / 7 . - < H

  4   = T HM + A@ @7                                                                .. 7 0 / 7 . . < H

  5          L       Ne m^ Wj Z_ Z Hh + R[ _c [h iW o WX ek j ^_ i                  .. 7 0 / 7 . 2 < H

  6   _ d W X _b _j o je WY Y[ ii fb W_ dj _\ \i % ij Wd ZW hZ i9                   .. 7 0 / 7 . 5 < H

 .-                  HM + =M D? B@ N7     JX `[ Yj _e d) bW Ya i \e kd ZW j_ ed )   .. 7 0 / 7 / 1 < H

 ..    l W ]k [ Wd Z Wc X_ ]k ek i+                                                 .. 7 0 / 7 / 2 < H

 ./                  OC @ RD OI @N N7     C[ iW _Z j^ Wj bW Ya e\                   .. 7 0 / 7 / 4 < H

 .0    W l W_ bW X_ b_ jo e\ j^ [ ij Wd ZW hZ i mW i W i_ ]d _\ _Y Wd j             .. 7 0 / 7 / 4 < H

 .1    _ i ik [ \e h ^_ c+                                                          .. 7 0 / 7 0 0 < H

 .2                  HM + A@ @7       ?_ Z ^[ _Z [d j_ \o j^ [ bW Ya e\             .. 7 0 / 7 0 1 < H

 .3    W l W_ bW X_ b_ jo e\ ed [ e\ j^ [ fb W_ dj _\ \i % ij Wd ZW hZ i _d         .. 7 0 / 7 0 4 < H

 .4    f W hj _Y kb Wh 9                                                            .. 7 0 / 7 1 . < H

 .5          <       D Ze d% j h[ YW bb +                                           .. 7 0 / 7 1 / < H

 .6          L       ?_ Z ^[ [n fb W_ d je oe k eh je ** j^ _i _i W                 .. 7 0 / 7 1 / < H

 /-   ] h e k f if [[ Y^ ^[ cW Z[ 8 _i j^ Wj m^ Wj oe k iW _Z 9         C[          .. 7 0 / 7 1 1 < H

 /.   c W Z [ W fh [i [d jW j_ ed 9                                                 .. 7 0 / 7 1 3 < H

 //                  HM + =M D? B@ N7     JX `[ Yj _e d) Ye cf ek dZ ) lW ]k [      .. 7 0 / 7 1 4 < H

 /0    W d Z Wc X_ ]k ek i+                                                         .. 7 0 / 7 1 6 < H

 /1                  OC @ RD OI @N N7     Dj mW i j[ ij _c ed o X[ \e h[ W          .. 7 0 / 7 2 - < H

 /2    \ [ Z[ hW b fh eY [[ Z_ d] +                                                 .. 7 0 / 7 2 / < H



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                                        JA534
                           FFF%06A<D6=59A@BD<?;0@>A6?G%8@> H (&'+
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USCA Case #17-7039          06A<D6=
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                                                    01/31/2018 Page 449 of 581
                             )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                                      41
  .   = T HM + A@ @7                                                                  .. 7 0 / 7 2 0 < H

  /           L          ?k h_ d] ^_ i j[ ij _c ed o Z_ Z Hh + R[ _c [h               .. 7 0 / 7 2 1 < H

  0   [ n f b W_ d m^ o ^[ mW i kd WX b[ je WY Y[ ii Wd o ij Wd ZW hZ i               .. 7 0 / 7 2 4 < H

  1   j ^ h e k] ^ h[ WZ _d ] he ec i m^ e m[ h[ fk hY ^W i_ d] Ye f_ [i e\           .. 7 0 0 7 - - < H

  2   j ^ e i [ ij Wd ZW hZ i9                                                        .. 7 0 0 7 - 1 < H

  3                      HM + =M D? B@ N7   JX `[ Yj _e d) bW Ya i \e kd ZW j_ ed )   .. 7 0 0 7 - 2 < H

  4    W h ]k c[ dj Wj _l [) lW ]k [ Wd Z Wc X_ ]k ek i+                              .. 7 0 0 7 - 3 < H

  5                      OC @ RD OI @N N7   D Ze d% j h[ YW bb +                      .. 7 0 0 7 - 5 < H

  6   = T HM + A@ @7                                                                  .. 7 0 0 7 - 5 < H

 .-           L          ?e oe k h[ YW bb Wd o [n fb Wd Wj _e d Wi je m^ o            .. 7 0 0 7 - 5 < H

 ..   H h + R[ _c [h Ye kb Z de j WY Y[ ii Wd o e\ j^ [ fb W_ dj _\ \i %              .. 7 0 0 7 . - < H

 ./   i j W d ZW hZ i9                                                                .. 7 0 0 7 . 0 < H

 .0                      HM + =M D? B@ N7   JX `[ Yj _e d) bW Ya i \e kd ZW j_ ed )   .. 7 0 0 7 . 2 < H

 .1    l W ]k [ Wd Z Wc X_ ]k ek i+                                                   .. 7 0 0 7 . 3 < H

 .2                      OC @ RD OI @N N7   D Ze d% j h[ YW bb +                      .. 7 0 0 7 . 5 < H

 .3   = T HM + A@ @7                                                                  .. 7 0 0 7 . 5 < H

 .4           L          ?e oe k h[ YW bb Wd o j[ ij _c ed o WX ek j m^ o             .. 7 0 0 7 . 6 < H

 .5   H h + R[ _c [h Ye kb Zd %j WY Y[ ii Wd o ij Wd ZW hZ j^ Wj ^W Z                 .. 7 0 0 7 / - < H

 .6   X [ [ d _d Ye hf eh Wj [Z Xo h[ \[ h[ dY [ Xo Wd o ]e l[ hd c[ dj Wb            .. 7 0 0 7 / 0 < H

 /-   W ] [ d Yo 9                                                                    .. 7 0 0 7 / 3 < H

 /.                      HM + =M D? B@ N7   JX `[ Yj _e d) bW Ya i \e kd ZW j_ ed )   .. 7 0 0 7 / 5 < H

 //    l W ]k [ Wd Z Wc X_ ]k ek i+                                                   .. 7 0 0 7 / 5 < H

 /0                      OC @ RD OI @N N7   D h[ c[ cX [h j^ [ ][ d[ hW b je f_ Y     .. 7 0 0 7 0 4 < H

 /1    e \ ^_ i j[ ij _c ed o) Xk j de j j^ [ if [Y _\ _Y i+                          .. 7 0 0 7 0 6 < H

 /2   = T HM + A@ @7                                                                  .. 7 0 0 7 1 . < H



                                        ".,,# **. $ 1243
                                         JA535
                            FFF%06A<D6=59A@BD<?;0@>A6?G%8@> H (&'+
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USCA Case #17-7039          06A<D6=
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                                                    01/31/2018 Page 450 of 581
                            )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                                     42
  .           L         Ne oe k YW d% j h[ YW bb Wd o Y_ hY kc ij Wd Y[ j^ Wj        .. 7 0 0 7 1 / < H

  /   f h [ l [d j[ Z ^_ c \h ec WY Y[ ii _d ] Wd o fW hj _Y kb Wh                   .. 7 0 0 7 1 3 < H

  0   i j W d ZW hZ 9                                                                .. 7 0 0 7 1 6 < H

  1                     HM + =M D? B@ N7   JX `[ Yj _e d) bW Ya i \e kd ZW j_ ed )   .. 7 0 0 7 2 - < H

  2    l W ]k [ Wd Z Wc X_ ]k ek i+                                                  .. 7 0 0 7 2 - < H

  3                     OC @ RD OI @N N7   D ** D Ze d% j h[ YW bb +                 .. 7 0 0 7 2 / < H

  4   = T HM + A@ @7                                                                 .. 7 0 0 7 2 / < H

  5           L         >W d oe k _Z [d j_ \o Wd o Y_ hY kc ij Wd Y[ i _d            .. 7 0 0 7 2 0 < H

  6   m ^ _ Y ^ Wd o ^e c[ Xk _b Z[ h) \e h [n Wc fb [) mW i kd WX b[ je             .. 7 0 0 7 2 2 < H

 .-   W Y Y [ ii ij Wd ZW hZ i j^ Wj m[ h[ _d Ye hf eh Wj [Z Xo h[ \[ h[ dY [        .. 7 0 0 7 2 5 < H

 ..   j ^ W j c_ ]^ j X[ h[ b[ lW dj je ie c[ ed [ Xk _b Z_ d] W ^e c[ 9             .. 7 0 1 7 - - < H

 ./                     HM + =M D? B@ N7   JX `[ Yj _e d) Ye cf [j [d Y[ ) cW o      .. 7 0 1 7 - 1 < H

 .0    Y W bb \e h if [Y kb Wj _e d) lW ]k [ Wd Z Wc X_ ]k ek i) bW Ya i             .. 7 0 1 7 - 4 < H

 .1    \ e kd ZW j_ ed +                                                             .. 7 0 1 7 - 6 < H

 .2                     OC @ RD OI @N N7   Hh + K[ j[ hi ed h[ bW j[ Z ik Y^ W       .. 7 0 1 7 . . < H

 .3    i j eh o+                                                                     .. 7 0 1 7 . 0 < H

 .4   = T HM + A@ @7                                                                 .. 7 0 1 7 . 2 < H

 .5           L         <d o ej ^[ hi 9                                              .. 7 0 1 7 . 4 < H

 .6                     HM + =M D? B@ N7   NW c[ eX `[ Yj _e di +                    .. 7 0 1 7 . 6 < H

 /-                     OC @ RD OI @N N7   D Ze d% j h[ YW bb +                      .. 7 0 1 7 / / < H

 /.   = T HM + A@ @7                                                                 .. 7 0 1 7 / / < H

 //           L         Ne Hh + K[ j[ hi ed _Z [d j_ \_ [Z ed [ _d ij Wd Y[ _d       .. 7 0 1 7 / 0 < H

 /0   m ^ _ Y ^ W ^e c[ Xk _b Z[ h mW i kd WX b[ je WY Y[ ii W ij Wd ZW hZ           .. 7 0 1 7 / 3 < H

 /1   W i _d Ye hf eh Wj [Z Xo h[ \[ h[ dY [9                                        .. 7 0 1 7 / 6 < H

 /2                     HM + =M D? B@ N7   NW c[ eX `[ Yj _e di +                    .. 7 0 1 7 0 / < H



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                                        JA536
                           FFF%06A<D6=59A@BD<?;0@>A6?G%8@> H (&'+
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USCA Case #17-7039          06A<D6=
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                                                    01/31/2018 Page 451 of 581
                          )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                              43
  .                   OC @ RD OI @N N7   Dj %i _d W l_ Z[ e ed ek h           .. 7 0 1 7 0 1 < H

  /    m [ Xi _j [+                                                           .. 7 0 1 7 0 4 < H

  0   = T HM + A@ @7                                                          .. 7 0 1 7 0 4 < H

  1          L        <d Z _j %i ed [ ^e c[ Xk _b Z[ h9                       .. 7 0 1 7 0 6 < H

  2                   HM + =M D? B@ N7   NW c[ eX `[ Yj _e d+                 .. 7 0 1 7 1 1 < H

  3                   OC @ RD OI @N N7   D ** D Ze d% j h[ YW bb +            .. 7 0 1 7 1 2 < H

  4   = T HM + A@ @7                                                          .. 7 0 1 7 1 2 < H

  5          L        ?e oe k h[ YW bb j^ [h [ X[ _d ] ce h[ j^ Wd ed [       .. 7 0 1 7 1 2 < H

  6   ^ e c [ Xk _b Z[ h j^ Wj ^[ h[ \[ h[ dY [Z 9                            .. 7 0 1 7 1 4 < H

 .-          <        D% Z ^W l[ je h[ l_ [m j^ [ jh Wd iY h_ fj je i[ [      .. 7 0 1 7 1 6 < H

 ..   _ \ ^[ mW i if [W a_ d] WX ek j ed [ eh cW do +                         .. 7 0 1 7 2 / < H

 ./                   HM + =M D? B@ N7   O^ [ Wd im [h &i _Y ' _i Ze oe k     .. 7 0 1 7 2 1 < H

 .0    h [ YW bb +                                                            .. 7 0 1 7 2 3 < H

 .1                   OC @ RD OI @N N7   Ie ) D Ze d% j+                      .. 7 0 1 7 2 6 < H

 .2                   HM + =M D? B@ N7   Kb [W i[ **                          .. 7 0 1 7 2 6 < H

 .3   = T HM + A@ @7                                                          .. 7 0 1 7 2 6 < H

 .4          L        <h [ oe k Wm Wh [ e\ Wd o Y_ hY kc ij Wd Y[ i **        .. 7 0 1 7 2 6 < H

 .5                   HM + =M D? B@ N7   D% l[ `k ij ** D% l[ ]e j je         .. 7 0 1 7 2 6 < H

 .6    _ d ij hk Yj j^ [ m_ jd [i i+     Kb [W i[ b_ ij [d YW h[ \k bb o je   .. 7 0 1 7 2 6 < H

 /-    ^ _ i gk [i j_ ed i Wd Z Wd im [h ^_ i gk [i j_ ed +                   .. 7 0 2 7 - - < H

 /.                   OC @ RD OI @N N7   Ja Wo +                              .. 7 0 2 7 - 1 < H

 //

 /0   = T HM + A@ @7                                                          .. 7 0 2 7 - 1 < H

 /1          L        <h [ oe k Wm Wh [ e\ Wd o e\ j^ [ Y_ hY kc ij Wd Y[ i   .. 7 0 2 7 / 0 < H

 /2   j ^ W j b[ Z je j^ _i ^e c[ Xk _b Z[ h% i _d WX _b _j o je WY Y[ ii     .. 7 0 2 7 / 2 < H



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                                      JA537
                         FFF%06A<D6=59A@BD<?;0@>A6?G%8@> H (&'+
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USCA Case #17-7039          06A<D6=
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                                                    01/31/2018 Page 452 of 581
                           )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                                 44
  .   i j W d ZW hZ i j^ Wj ^[ mW i ]e l[ hd [Z Xo l_ W _d Ye hf eh Wj _e d      .. 7 0 2 7 / 6 < H

  /   X o h[ \[ h[ dY [9                                                         .. 7 0 2 7 0 2 < H

  0                 HM + =M D? B@ N7   JX `[ Yj _e d) bW Ya i \e kd ZW j_ ed )   .. 7 0 2 7 0 5 < H

  1    W i ik c[ i \W Yj i de j _d [l _Z [d Y[ ) lW ]k [ Wd Z Wc X_ ]k ek i)     .. 7 0 2 7 0 5 < H

  2    W h ]k c[ dj Wj _l [+                                                     .. 7 0 2 7 0 6 < H

  3                 OC @ RD OI @N N7   Ie +                                      .. 7 0 2 7 1 . < H

  4                 HM + =M D? B@ N7   D% c ie hh o9                             .. 7 0 2 7 1 . < H

  5                 OC @ RD OI @N N7   Ie +                                      .. 7 0 2 7 1 . < H

  6   = T HM + A@ @7                                                             .. 7 0 2 7 1 . < H

 .-          L      <h [ oe k Wm Wh [ e\ Wd o [l _Z [d Y[ j^ Wj j^ Wj            .. 7 0 2 7 1 5 < H

 ..   ^ e c [ mW i WY jk Wb bo de j Xk _b j Zk [ je j^ _i _d WX _b _j o je       .. 7 0 2 7 1 6 < H

 ./   W Y Y [ ii ij Wd ZW hZ i _d Ye hf eh Wj [Z Xo h[ \[ h[ dY [9               .. 7 0 2 7 2 0 < H

 .0                 HM + =M D? B@ N7   JX `[ Yj _e d) Ye cf b[ j[ bo bW Ya i     .. 7 0 2 7 2 4 < H

 .1    \ e kd ZW j_ ed ) lW ]k [ Wd Z Wc X_ ]k ek i) Wh ]k c[ dj Wj _l [+        .. 7 0 2 7 2 5 < H

 .2                 OC @ RD OI @N N7   Ie +                                      .. 7 0 3 7 - . < H

 .3   = T HM + A@ @7                                                             .. 7 0 3 7 - . < H

 .4          L      CW l[ oe k X[ [d be ea _d ] \e h ie c[ Xe Zo m^ e oe k       .. 7 0 3 7 0 3 < H

 .5   Y e k b Z _Z [d j_ \o Wi Wd [n Wc fb [ e\ W f[ hi ed m^ e                  .. 7 0 3 7 0 6 < H

 .6   i k \ \ [h [Z Wi W h[ ik bj e\ _d WX _b _j o je WY Y[ ii W                 .. 7 0 3 7 1 1 < H

 /-   i j W d ZW hZ _d Ye hf eh Wj [Z Xo h[ \[ h[ dY [9                          .. 7 0 3 7 1 4 < H

 /.                 HM + =M D? B@ N7   JX `[ Yj _e d) Wh ]k c[ dj Wj _l [)       .. 7 0 3 7 1 6 < H

 //    b W Ya i \e kd ZW j_ ed ) Wh ]k c[ dj Wj _l [ ** eh j^ Wj %i ** D         .. 7 0 3 7 2 - < H

 /0    ] k [i i D iW _Z j^ Wj ** lW ]k [ Wd Z Wc X_ ]k ek i+                     .. 7 0 3 7 2 1 < H

 /1                 OC @ RD OI @N N7   Ie +                                      .. 7 0 3 7 2 5 < H

 /2   = T HM + A@ @7                                                             .. 7 0 3 7 2 5 < H



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                                     JA538
                        FFF%06A<D6=59A@BD<?;0@>A6?G%8@> H (&'+
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USCA Case #17-7039          06A<D6=
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                         )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

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  .   h [ ] _ ij hW j_ ed \e h Wd o e\ j^ [ fb W_ dj _\ \i % ij Wd ZW hZ i9      .. 7 1 0 7 / 1 < H

  /                 HM + =M D? B@ N7     GW Ya i \e kd ZW j_ ed ) lW ]k [ Wd Z   .. 7 1 0 7 / 5 < H

  0    W c X_ ]k ek i+                                                           .. 7 1 0 7 / 6 < H

  1                 OC @ RD OI @N N7     T[ i+                                   .. 7 1 0 7 0 - < H

  2   = T HM + A@ @7                                                             .. 7 1 0 7 0 - < H

  3          L      CW l[ oe k i[ [d Ye fo h_ ]^ j h[ ]_ ij hW j_ ed i \e h      .. 7 1 0 7 0 . < H

  4   W b b j^ h[ [ e\ j^ [ fb W_ dj _\ \i % me ha i9                            .. 7 1 0 7 0 1 < H

  5                 HM + =M D? B@ N7     NW c[ eX `[ Yj _e di +                  .. 7 1 0 7 0 3 < H

  6                 OC @ RD OI @N N7     D Ze d% j ad em +                       .. 7 1 0 7 0 6 < H

 .-   = T HM + A@ @7                                                             .. 7 1 0 7 0 6 < H

 ..          L      R^ _Y ^ fb W_ dj _\ \i Ze oe k h[ YW bb i[ [_ d]             .. 7 1 0 7 1 - < H

 ./   Y e f o h_ ]^ j h[ ]_ ij hW j_ ed i \e h9                                  .. 7 1 0 7 1 / < H

 .0                 HM + =M D? B@ N7     NW c[ eX `[ Yj _e di +                  .. 7 1 0 7 1 1 < H

 .1                 OC @ RD OI @N N7     D WY jk Wb bo Ze d% j h[ YW bb +        .. 7 1 0 7 1 5 < H

 .2   = T HM + A@ @7                                                             .. 7 1 0 7 2 6 < H

 .3          L      <h [ oe k Wm Wh [ e\ Wd o [l _Z [d Y[ j^ Wj Wd o             .. 7 1 1 7 - 0 < H

 .4   f W h j _Y _f Wd ji _d j^ [ <N OH ij Wd ZW hZ Z[ l[ be fc [d j             .. 7 1 1 7 - 3 < H

 .5   f h e Y [i i Yb W_ c[ Z je X[ j^ [ em d[ h e\ j^ [ Ye fo h_ ]^ ji          .. 7 1 1 7 . - < H

 .6   \ e h Wd o e\ j^ [ ij Wd ZW hZ i j^ Wj <N OH Yb W_ ci je X[                .. 7 1 1 7 . 0 < H

 /-   _ d \ h _d ][ Z _d j^ _i YW i[ 9                                           .. 7 1 1 7 . 4 < H

 /.                 HM + =M D? B@ N7     R[ bb ) eX `[ Yj _e d+   >W bb i \e h   .. 7 1 1 7 . 6 < H

 //    W b[ ]W b Ye dY bk i_ ed ) cW o YW bb \e h Wj je hd [o *Y b_ [d j         .. 7 1 1 7 / - < H

 /0    Y e cc kd _Y Wj _e di ) _d m^ _Y ^ YW i[ D me kb Z _d ij hk Yj ^_ c       .. 7 1 1 7 / 6 < H

 /1    d e j je Wd im [h +                                                       .. 7 1 1 7 0 0 < H

 /2                 OC @ RD OI @N N7     D Ze d% j ad em +   D% c ie hh o+       .. 7 1 1 7 0 2 < H



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                                      JA539
                         FFF%06A<D6=59A@BD<?;0@>A6?G%8@> H (&'+
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USCA Case #17-7039          06A<D6=
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                       )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                                  51
  .                HM + =M D? B@ N7       Kb [W i[ b[ j c[ **                     .. 7 1 1 7 0 3 < H

  /                OC @ RD OI @N N7       D% c ie hh o+                           .. 7 1 1 7 0 5 < H

  0                HM + =M D? B@ N7       ** \_ d_ i^ co eX `[ Yj _e di +         .. 7 1 1 7 0 5 < H

  1    < i ik c[ i \W Yj i de j _d [l _Z [d Y[ Wd Z bW Ya i \e kd ZW j_ ed +      .. 7 1 1 7 1 1 < H

  2   = T HM + A@ @7                                                              .. 7 1 1 7 1 2 < H

  3         L      <h [ oe k Wm Wh [ e\ Wd o [l _Z [d Y[ j^ Wj Wd o               .. 7 1 1 7 1 2 < H

  4   f W h j _Y _f Wd ji _d j^ [ IA K< ij Wd ZW hZ Z[ l[ be fc [d j              .. 7 1 1 7 1 4 < H

  5   f h e Y [i i Yb W_ c je X[ j^ [ em d[ h e\ j^ [ Ye fo h_ ]^ j \e h          .. 7 1 1 7 2 . < H

  6   W d o IA K< ij Wd ZW hZ i9                                                  .. 7 1 1 7 2 2 < H

 .-                HM + =M D? B@ N7       <b b j^ [ iW c[ eX `[ Yj _e di ) Wd Z   .. 7 1 1 7 2 5 < H

 ..    D YW d% j h[ c[ cX [h _\ D _d Yb kZ [Z Wh ]k c[ dj Wj _l [+                .. 7 1 1 7 2 6 < H

 ./                OC @ RD OI @N N7       D Ze d% j ad em +                       .. 7 1 2 7 - / < H

 .0   = T HM + A@ @7                                                              .. 7 1 2 7 - / < H

 .1         L      Te k Ze d% j ad em _\ oe k% h[ Wm Wh [ eh oe k% h[             .. 7 1 2 7 - 0 < H

 .2   d e j Wm Wh [ e\ Wd o9                                                      .. 7 1 2 7 - 1 < H

 .3         <      D ** D% c de j Wm Wh [ e\ Wd o+                                .. 7 1 2 7 - 3 < H

 .4         L      <h [ oe k Wm Wh [ e\ Wd o [l _Z [d Y[ j^ Wj c[ cX [h i         .. 7 1 2 7 - 4 < H

 .5   e h fW hj _Y _f Wd ji _d j^ [ <N CM <@ ij Wd ZW hZ Z[ l[ be fc [d j         .. 7 1 2 7 . . < H

 .6   f h e Y [i i Yb W_ c[ Z je X[ em d[ hi e\ j^ [ Ye fo h_ ]^ ji j^ Wj         .. 7 1 2 7 . 2 < H

 /-   W h [ Wj _i ik [ Wd Z m[ h[ h[ ]_ ij [h [Z Xo <N CM <@ 9                    .. 7 1 2 7 . 6 < H

 /.                HM + =M D? B@ N7       D% c ** D% c ie hh o+    >W d oe k      .. 7 1 2 7 / 3 < H

 //    h [ f[ Wj j^ Wj ) fb [W i[ 9                                               .. 7 1 2 7 / 3 < H

 /0                                &O ^[ h[ fe hj [h h[ WZ j^ [ h[ Ye hZ          .. 7 1 2 7 1 . < H

 /1                                   Wi h[ gk [i j[ Z+ '                          67 /. 7- 1< H

 /2                HM + =M D? B@ N7       Ja Wo +   >W bb i \e h W b[ ]W b        .. 7 1 2 7 1 . < H



                                   ".,,# **. $ 1243
                                    JA540
                       FFF%06A<D6=59A@BD<?;0@>A6?G%8@> H (&'+
     Case 1:13-cv-01215-TSC Document 118-12 Filed 11/19/15 Page 25 of 259
USCA Case #17-7039          06A<D6=
                      Document      59A@BD<?;Filed:
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                                                    01/31/2018 Page 455 of 581
                           )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                                52
  .    Y e dY bk i_ ed ) Wi ik c[ i \W Yj i de j _d [l _Z [d Y[ )               .. 7 1 2 7 1 0 < H

  /    W h ]k c[ dj Wj _l [) bW Ya i \e kd ZW j_ ed ) lW ]k [ Wd Z              .. 7 1 2 7 1 2 < H

  0    W c X_ ]k ek i+                                                          .. 7 1 2 7 1 4 < H

  1                  OC @ RD OI @N N7   D% c de j Wm Wh [ e\ Wd o+              .. 7 1 2 7 1 5 < H

  2                  HM + =M D? B@ N7   <d Z ** Wd Z ed [ ej ^[ h)              .. 7 1 2 7 2 . < H

  3    f b [W i[ ) Wj je hd [o *Y b_ [d j fh _l _b [] [+   D% c Wi a_ d] ^_ c   .. 7 1 2 7 2 . < H

  4    d e j je j[ ij _\ o Wi je ** Wj je hd [o *Y b_ [d j fh _l _b [] [Z       .. 7 1 2 7 2 2 < H

  5    W d Z me ha fh eZ kY j+     <i a_ d] oe k de j je j[ ij _\ o Wi je       .. 7 1 2 7 2 6 < H

  6    W d oj ^_ d] oe k cW o ad em \h ec Ye kd i[ b eh ik X` [Y j je           .. 7 1 3 7 - 1 < H

 .-    Y e cc kd _Y Wj _e d m_ j^ Ye kd i[ b+                                   .. 7 1 3 7 - 3 < H

 ..   = T HM + A@ @7                                                            .. 7 1 3 7 - 5 < H

 ./          L       <h [ oe k Wm Wh [ e\ Wd o [l _Z [d Y[ j^ Wj Wd o           .. 7 1 3 7 - 5 < H

 .0   f W h j _Y _f Wd ji _d j^ [ <N OH ij Wd ZW hZ Z[ l[ be fc [d j            .. 7 1 3 7 . . < H

 .1   f h e Y [i i Yb W_ c[ Z je X[ j^ [ em d[ hi e\ j^ [ Ye fo h_ ]^ ji        .. 7 1 3 7 . 1 < H

 .2   _ d j^ [ ij Wd ZW hZ i j^ Wj j^ [o m[ h[ _d le bl [Z _d 9                 .. 7 1 3 7 . 4 < H

 .3                  HM + =M D? B@ N7   <b b j^ [ iW c[ eX `[ Yj _e di +        .. 7 1 3 7 / / < H

 .4                  OC @ RD OI @N N7   NW c[ Wd im [h 8 D% c de j Wm Wh [+     .. 7 1 3 7 / 1 < H

 .5   = T HM + =M D? B@ N7                                                      .. 7 1 3 7 / 2 < H

 .6          L       Te k% h[ de j Wm Wh [ e\ Wd o [l _Z [d Y[ Wb ed ]          .. 7 1 3 7 / 3 < H

 /-   j ^ e i [ b_ d[ i9                                                        .. 7 1 3 7 / 5 < H

 /.                  HM + =M D? B@ N7   <b b j^ [ iW c[ eX `[ Yj _e di +        .. 7 1 3 7 0 / < H

 //

 /0   = T HM + A@ @7                                                            .. 7 1 3 7 0 0 < H

 /1          L       >e hh [Y j9                                                .. 7 1 3 7 0 1 < H

 /2          <       D ** D Ze d% j mW dj je Z_ iY ki i                         .. 7 1 3 7 0 2 < H



                                       ".,,# **. $ 1243
                                        JA541
                           FFF%06A<D6=59A@BD<?;0@>A6?G%8@> H (&'+
     Case 1:13-cv-01215-TSC Document 118-12 Filed 11/19/15 Page 26 of 259
USCA Case #17-7039          06A<D6=
                      Document      59A@BD<?;Filed:
                               #1715850       0@>A6?G
                                                    01/31/2018 Page 456 of 581
                             )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                                  56
  .          L        ?e oe k Z[ do iW o_ d] j^ Wj 9                              .. 7 1 6 7 1 4 < H

  /          <        D Ze d% j j^ _d a D me kb Z [l [h ki [ j^ [ f^ hW i[ )      .. 7 1 6 7 2 - < H

  0   " i j h ed ] Ye fo h_ ]^ j _d j[ h[ ij i) " i_ h+                           .. 7 1 6 7 2 - < H

  1          L        Ie 9                                                        .. 7 1 6 7 2 0 < H

  2          <        O^ Wj Ze [i d% j ie kd Z b_ a[ c[ +                         .. 7 1 6 7 2 0 < H

  3          L        Ja Wo +    R^ e _i ?[ Xh W Ck dj 9                          .. 7 2 - 7 - 2 < H

  4          <        D ** D Ze d% j h[ YW bb +                                   .. 7 2 - 7 . 5 < H

  5          L        D% c ]e _d ] je ^W dZ oe k m^ Wj %i X[ [d cW ha [Z          .. 7 2 - 7 0 / < H

  6   W i @n ^_ X_ j 00 +       Dj %i W i[ h_ [i e\ [* cW _b i X[ jm [[ d oe k    .. 7 2 - 7 0 1 < H

 .-   W d Z ?[ Xh W Ck dj ) =W j[ i* bW X[ b[ Z KM J .3 33 .3 j^ he k] ^ .5 +     .. 7 2 - 7 0 5 < H

 ..              &@ n^ _X _j 00 cW ha [Z \e h _Z [d j_ \_ YW j_ ed +'             .. 7 2 - 7 2 . < H

 ./                   OC @ RD OI @N N7    T[ W^ ) j^ _i Wf f[ Wh i je X[ Wd       .. 7 2 . 7 / 6 < H

 .0    [ n Y^ Wd ][ X[ jm [[ d c[ Wd Z ** Wd Z Hi + Ck dj +                       .. 7 2 . 7 0 . < H

 .1   = T HM + A@ @7                                                              .. 7 2 . 7 0 / < H

 .2          L        CW l[ oe k ^W Z W Y^ Wd Y[ je h[ WZ j^ _i [* cW _b          .. 7 2 . 7 0 2 < H

 .3   [ d e k ]^ je i[ [ j^ Wj oe k h[ \[ hh [Z je j^ [ ij Wd ZW hZ i             .. 7 2 . 7 0 4 < H

 .4   ^ W l _ d] W ij he d] Ye fo h_ ]^ j _d j[ h[ ij 9                           .. 7 2 . 7 1 - < H

 .5          <        D Ze _d Z[ [Z +                                             .. 7 2 . 7 1 / < H

 .6          L        Ja Wo +    ?e [i j^ Wj h[ \h [i ^ oe kh h[ Ye bb [Y j_ ed   .. 7 2 . 7 1 0 < H

 /-   W X e k j m^ [j ^[ h eh de j oe k% l[ h[ \[ hh [Z je j^ [                   .. 7 2 . 7 1 1 < H

 /.   i j W d ZW hZ i Wi ^W l_ d] ij he d] Ye fo h_ ]^ j _d j[ h[ ij i _d         .. 7 2 . 7 1 4 < H

 //   j ^ [ fW ij 9                                                               .. 7 2 . 7 2 . < H

 /0                   HM + =M D? B@ N7    JX `[ Yj _e d) cW o YW bb \e h W        .. 7 2 . 7 2 / < H

 /1    b [ ]W b Ye dY bk i_ ed Wd Z lW ]k [ Wd Z Wc X_ ]k ek i+                   .. 7 2 . 7 2 1 < H

 /2                   OC @ RD OI @N N7    <d Z D j^ _d a oe k% l[ fk bb [Z        .. 7 2 . 7 2 5 < H



                                     ".,,# **. $ 1243
                                      JA542
                         FFF%06A<D6=59A@BD<?;0@>A6?G%8@> H (&'+
     Case 1:13-cv-01215-TSC Document 118-12 Filed 11/19/15 Page 27 of 259
USCA Case #17-7039          06A<D6=
                      Document      59A@BD<?;Filed:
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                                                    01/31/2018 Page 457 of 581
                             )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                                 66
  .   i j W d ZW hZ i9                                                           ./ 7 - - 7 0 3 K H

  /             <        D Ze d% j h[ YW bb +                                    ./ 7 - - 7 1 1 K H

  0             L        D mW dj je Zh Wm oe kh Wj j[ dj _e d je j^ [ \_ hi j    ./ 7 - - 7 1 4 K H

  1   f W ] [ oe k i[ [ Wj j^ [ je f _j iW oi ** ed HW hY ^ ./ ) /- ./           ./ 7 - - 7 2 - K H

  2   W j ./ 71 . f+ c+ ) N[ Wc ki Fh W\ j mh ej [ ** Wd Z _j iW oi )            ./ 7 - - 7 2 5 K H

  3   " Y W d oe k ]_ l[ c[ W \[ m ce h[ Z[ jW _b i ed m^ Wj _i ]e _d ]          ./ 7 - . 7 - . K H

  4   j e ^W ff [d 9"                                                            ./ 7 - . 7 - 2 K H

  5                      ?e oe k i[ [ j^ Wj 9                                    ./ 7 - . 7 - 3 K H

  6             <        P^ *^ k^ +    T[ i+                                     ./ 7 - . 7 - 3 K H

 .-             L        <d Z j^ [d X[ be m j^ [h [ _i ed [) jm e) j^ h[ [)      ./ 7 - . 7 - 4 K H

 ..   \ e k h ) \_ l[ ** i_ n fW hW ]h Wf ^i Wd Z W dk cX [h [Z b_ ij e\         ./ 7 - . 7 - 6 K H

 ./   j ^ h [ [ _j [c i+         ?e oe k i[ [ j^ Wj 9                            ./ 7 - . 7 . 2 K H

 .0             <        T[ i) D Ze +                                            ./ 7 - . 7 . 5 K H

 .1             L        <d Z j^ [d oe kh dW c[ _i X[ be m j^ Wj ) Ye hh [Y j9   ./ 7 - . 7 . 6 K H

 .2             <        T[ i+                                                   ./ 7 - . 7 / 1 K H

 .3             L        <d Z _i d% j _j Ye hh [Y j j^ Wj oe k mh ej [ j^ ei [   ./ 7 - . 7 / 2 K H

 .4   f W h W ]h Wf ^i j^ Wj b_ ij j^ [ j^ h[ [ _j [c i Wd Z oe kh dW c[         ./ 7 - . 7 / 5 K H

 .5   j ^ [ h [9                                                                 ./ 7 - . 7 0 / K H

 .6             <        T[ i+                                                   ./ 7 - . 7 0 1 K H

 /-             L        D mW dj je jk hd oe kh Wj j[ dj _e d je j^ [            ./ 7 - . 7 0 3 K H

 /.   i [ Y e dZ fW hW ]h Wf ^ ed j^ _i ) j^ [ ed [ j^ Wj ij Wh ji m_ j^         ./ 7 - . 7 0 5 K H

 //   ik h[ +       ?e oe k i[ [ j^ Wj 9                                         ./ 7 - . 7 1 - K H

 /0             <        P^ *^ k^ +    T[ i+                                     ./ 7 - . 7 1 / K H

 /1             L        Ne j^ [ j^ _h Z i[ dj [d Y[ iW oi Wb b e\ j^ [i [       ./ 7 - . 7 1 / K H

 /2   i j W d ZW hZ i Wh [ ^[ Wl _b o Ye fo h_ ]^ j fh ej [Y j[ Z+               ./ 7 - . 7 1 4 K H



                                        ".,,# **. $ 1243
                                         JA543
                            FFF%06A<D6=59A@BD<?;0@>A6?G%8@> H (&'+
     Case 1:13-cv-01215-TSC Document 118-12 Filed 11/19/15 Page 28 of 259
USCA Case #17-7039          06A<D6=
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                                                    01/31/2018 Page 458 of 581
                             )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                                  .- -
  .                      ?e oe k i[ [ j^ Wj 9                                       ./ 7 - . 7 2 - K H

  /                      HM + =M D? B@ N7   JX `[ Yj _e d) c_ ii jW j[ i j^ [       ./ 7 - . 7 2 . K H

  0    Z e Yk c[ dj Wd Z ** o[ W^ ) c_ ii jW j[ i ** c_ iZ [i Yh _X [i j^ [         ./ 7 - . 7 2 / K H

  1    Z e Yk c[ dj +                                                               ./ 7 - . 7 2 5 K H

  2                      OC @ RD OI @N N7   D i[ [ j^ Wj i[ dj [d Y[ _d j^ Wj       ./ 7 - / 7 - - K H

  3    f W hW ]h Wf ^) o[ i+                                                        ./ 7 - / 7 - / K H

  4   = T HM + A@ @7                                                                ./ 7 - / 7 - / K H

  5           L          Ja Wo +   <d Z oe k mh ej [ j^ Wj ) Ye hh [Y j9            ./ 7 - / 7 - 0 K H

  6           <          T[ i) D Z_ Z+                                              ./ 7 - / 7 - 2 K H

 .-           L          <d Z oe k m[ h[ h[ \[ h[ dY _d ] j^ [ 40 ij Wd ZW hZ i)    ./ 7 - / 7 - 3 K H

 ..   Y e h h [Y j9                                                                 ./ 7 - / 7 . 2 K H

 ./           <          T[ i) i_ h+                                                ./ 7 - / 7 . 3 K H

 .0           L          R^ Wj Z_ Z oe k c[ Wd m^ [d oe k iW _Z j^ Wj Wb b          ./ 7 - / 7 . 3 K H

 .1   e \ j^ [ 40 ij Wd ZW hZ i Wh [ ^[ Wl _b o Ye fo h_ ]^ j fh ej [Y j[ Z9        ./ 7 - / 7 . 5 K H

 .2                      HM + =M D? B@ N7   JX `[ Yj _e d je j^ [ [n j[ dj _j       ./ 7 - / 7 / 0 K H

 .3    Y W bb i \e h W b[ ]W b Ye dY bk i_ ed ) lW ]k [ Wd Z Wc X_ ]k ek i+         ./ 7 - / 7 / 1 K H

 .4                      OC @ RD OI @N N7   D c[ Wd j j^ Wj j^ [ ij Wd ZW hZ i      ./ 7 - / 7 / 4 K H

 .5    X e Z_ [i m[ h[ l[ ho W] ]h [i i_ l[ _d Yb W_ c_ d] Ye fo h_ ]^ j            ./ 7 - / 7 / 6 K H

 .6    e d j^ ei [ Ze Yk c[ dj i+                                                   ./ 7 - / 7 0 0 K H

 /-   = T HM + A@ @7                                                                ./ 7 - / 7 0 1 K H

 /.           L          Ne oe k kd Z[ hi je eZ j^ Wj j^ [o m[ h[ Ye fo h_ ]^ j     ./ 7 - / 7 0 1 K H

 //   f h e j [Y j[ Z9                                                              ./ 7 - / 7 0 4 K H

 /0                      HM + =M D? B@ N7   JX `[ Yj _e d+   O^ Wj YW bb i \e h W   ./ 7 - / 7 0 5 K H

 /1    b [ ]W b Ye dY bk i_ ed +                                                    ./ 7 - / 7 1 - K H

 /2                      OC @ RD OI @N N7   O^ Wj %i de j m^ Wj D iW _Z +       D   ./ 7 - / 7 1 / K H



                                        ".,,# **. $ 1243
                                         JA544
                            FFF%06A<D6=59A@BD<?;0@>A6?G%8@> H (&'+
     Case 1:13-cv-01215-TSC Document 118-12 Filed 11/19/15 Page 29 of 259
USCA Case #17-7039          06A<D6=
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                                                    01/31/2018 Page 459 of 581
                            )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                            .- 5
  .          L      Ne _j %i oe kh kd Z[ hi jW dZ _d ] j^ Wj j^ [ IA K<       ./ 7 - 6 7 / 1 K H

  /   m [ X ** IA K< m[ Xi _j [ ^W i [l _Z [d Y[ e\ \[ Z[ hW b                ./ 7 - 6 7 / 4 K H

  0   ] e l [ hd c[ dj [c fb eo [[ i Wj j[ cf j_ d] je Wi i_ ]d m^ Wj [l [h   ./ 7 - 6 7 0 . K H

  1   Y e f o h_ ]^ ji j^ [o ^W l[ je IA K< 9                                 ./ 7 - 6 7 0 1 K H

  2                 HM + =M D? B@ N7     <b b j^ [ iW c[ eX `[ Yj _e di Wi    ./ 7 - 6 7 0 4 K H

  3    j e j^ [ [W hb _[ h b_ d[ e\ gk [i j_ ed i Wd Z iW c[                  ./ 7 - 6 7 0 5 K H

  4    _ d ij hk Yj _e d+                                                     ./ 7 - 6 7 1 0 K H

  5                 OC @ RD OI @N N7     T[ i+                                ./ 7 - 6 7 1 0 K H

  6   = T HM + A@ @7                                                          ./ 7 - 6 7 1 0 K H

 .-          L      ?_ Z oe k i[ [ i_ c_ bW h _d \e hc Wj _e d m_ j^          ./ 7 - 6 7 1 2 K H

 ..   h [ i f [Y j je j^ [ ej ^[ h fb W_ dj _\ \i _d j^ _i YW i[ 9            ./ 7 - 6 7 1 3 K H

 ./                 HM + =M D? B@ N7     <b b j^ [ iW c[ eX `[ Yj _e di )     ./ 7 - 6 7 1 6 K H

 .0    f b ki bW Ya i \e kd ZW j_ ed ) lW ]k [ Wd Z Wc X_ ]k ek i+            ./ 7 - 6 7 2 - K H

 .1                 OC @ RD OI @N N7     D WY jk Wb bo Ze d% j h[ YW bb +     ./ 7 - 6 7 2 0 K H

 .2   = T HM + A@ @7                                                          ./ 7 - 6 7 2 1 K H

 .3          L      <i _Z [ \h ec \[ Z[ hW b ]e l[ hd c[ dj [c fb eo [[ i)    ./ 7 - 6 7 2 4 K H

 .4   W h [ oe k Wm Wh [ e\ Wd o ej ^[ h [l _Z [d Y[ j^ Wj                    ./ 7 - 6 7 2 5 K H

 .5   f W h j _Y _f Wd ji _d j^ [ ij Wd ZW hZ Z[ l[ be fc [d j \e h Wd o e\   ./ 7 . - 7 - / K H

 .6   j ^ [ fb W_ dj _\ \i \W _b [Z je fh ef [h bo jh Wd i\ [h j^ [_ h        ./ 7 . - 7 - 2 K H

 /-   Y e f o h_ ]^ j _d j[ h[ ij i je j^ [ fb W_ dj _\ \i _d j^ _i YW i[ 9   ./ 7 . - 7 - 6 K H

 /.                 HM + =M D? B@ N7     <b b j^ [ iW c[ eX `[ Yj _e di +     ./ 7 . - 7 . . K H

 //                 OC @ RD OI @N N7     O^ Wj %i je jW bb o X[ oe dZ co      ./ 7 . - 7 . 2 K H

 /0    [ n f[ hj _i [+      D ** D YW d% j Wd im [h j^ Wj gk [i j_ ed +       ./ 7 . - 7 . 4 K H

 /1   = T HM + A@ @7                                                          ./ 7 . - 7 . 6 K H

 /2          L      ?e [i Kk Xb _Y M[ ie kh Y[ Yb W_ c je X[ j^ [ em d[ h     ./ 7 . - 7 / 3 K H



                                     ".,,# **. $ 1243
                                      JA545
                         FFF%06A<D6=59A@BD<?;0@>A6?G%8@> H (&'+
     Case 1:13-cv-01215-TSC Document 118-12 Filed 11/19/15 Page 30 of 259
USCA Case #17-7039          06A<D6=
                      Document      59A@BD<?;Filed:
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                                                    01/31/2018 Page 460 of 581
                           )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                              .- 6
  .   e \ Wd o Ye fo h_ ]^ j[ Z _d j[ h[ ij _d Wd o e\ j^ [ ij Wd ZW hZ i       ./ 7 . - 7 / 6 K H

  /   W j _i ik [ _d j^ _i YW i[ 9                                              ./ 7 . - 7 0 / K H

  0                  HM + =M D? B@ N7   JX `[ Yj _e d) YW bb i \e h W b[ ]W b   ./ 7 . - 7 0 1 K H

  1    Y e dY bk i_ ed +                                                        ./ 7 . - 7 0 2 K H

  2                  OC @ RD OI @N N7   Ie +                                    ./ 7 . - 7 0 3 K H

  3   = T HM + A@ @7                                                            ./ 7 . - 7 0 4 K H

  4          L       ?e oe k f[ hi ed Wb bo Yb W_ c je X[ j^ [ em d[ h e\       ./ 7 . - 7 0 4 K H

  5   W d o Ye fo h_ ]^ j _d j[ h[ ij \e h Wd o e\ j^ [ ij Wd ZW hZ i Wj        ./ 7 . - 7 0 6 K H

  6   _ i i k [ _d j^ _i YW i[ 9                                                ./ 7 . - 7 1 0 K H

 .-                  HM + =M D? B@ N7   NW c[ eX `[ Yj _e di +                  ./ 7 . - 7 1 1 K H

 ..                  OC @ RD OI @N N7   Ie +                                    ./ 7 . - 7 1 3 K H

 ./   = T HM + A@ @7                                                            ./ 7 . - 7 1 3 K H

 .0          L       ?e oe k WY ad em b[ Z] [ j^ Wj j^ [ mh _j _d ] e\          ./ 7 . . 7 - 3 K H

 .1   f b W _ dj _\ \i % ij Wd ZW hZ i h[ gk _h [i ie c[ ie hj e\               ./ 7 . . 7 - 6 K H

 .2   Y h [ W j_ l_ jo je WY jk Wb bo fk j me hZ i ed fW f[ h9                  ./ 7 . . 7 . 0 K H

 .3                  HM + =M D? B@ N7   JX `[ Yj _e d je j^ [ [n j[ dj _j       ./ 7 . . 7 . 4 K H

 .4    Y W bb i \e h W b[ ]W b Ye dY bk i_ ed ) Wi ik c[ i cW do \W Yj i        ./ 7 . . 7 . 6 K H

 .5    d e j _d [l _Z [d Y[ ) bW Ya i \e kd ZW j_ ed ) Ye cf [j [d Y[ )         ./ 7 . . 7 / 0 K H

 .6    Y W bb i \e h if [Y kb Wj _e d Wd Z lW ]k [ Wd Z Wc X_ ]k ek i+          ./ 7 . . 7 / 2 K H

 /-                  OC @ RD OI @N N7   D% c de j gk Wb _\ _[ Z je Wd im [h     ./ 7 . . 7 0 2 K H

 /.    j ^ Wj gk [i j_ ed ) i_ h+                                               ./ 7 . . 7 0 3 K H

 //

 /0   = T HM + A@ @7                                                            ./ 7 . . 7 0 3 K H

 /1          L       <h [ oe k Wm Wh [ e\ Wd o [l _Z [d Y[ j^ Wj me kb Z        ./ 7 . . 7 0 3 K H

 /2   i k ] ] [i j j^ Wj Wd o e\ j^ [ ij Wd ZW hZ i Wj _i ik [ _d j^ _i         ./ 7 . . 7 0 5 K H



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                           FFF%06A<D6=59A@BD<?;0@>A6?G%8@> H (&'+
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USCA Case #17-7039          06A<D6=
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                           )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                             .1 .
  .                    OC @ RD OI @N N7     < if [Y _\ _Y _d Ye hf eh Wj _e d Xo   .7 -5 7/ 4K H

  /    h [ \[ h[ dY [ \e h KC HN <) e\ j^ [ K_ f[ b_ d[ Wd Z CW pW hZ ek i         .7 -5 70 -K H

  0    H W j[ h_ Wb i NW \[ jo <Z c_ d_ ij hW j_ ed _i WY jk Wb bo N[ Yj _e d      .7 -5 70 /K H

  1    . 6 /+ 4 e\ j^ Wj i[ Yj _e d e\ j^ [ >A M+                                  .7 -5 70 4K H

  2   = T HM + A@ @7                                                               .7 -5 71 .K H

  3          L         Ja Wo +                                                     .7 -5 71 .K H

  4                    HM + A@ @7     R^ Wj Wh [ m[ ed 9                           .7 -6 7- /K H

  5                    OC @ M@ KJ MO @M 7    Ie m m[ %h [ ed 05 +                  .7 -6 7- 2K H

  6               &@ n^ _X _j 05 cW ha [Z \e h _Z [d j_ \_ YW j_ ed +'             .7 -6 7- 3K H

 .-   = T HM + A@ @7                                                               .7 -6 7- 4K H

 ..          L         D% c ]e _d ] je ^W dZ oe k m^ Wj %i X[ [d cW ha [Z          .7 -6 7- 4K H

 ./   W i @n ^_ X_ j 05 +        Dj %i [d j_ jb [Z ) "K kX b_ Y NW \[ jo           .7 -6 7. -K H

 .0   N j W d ZW hZ i) Pd _j [Z Nj Wj [i A[ Z[ hW b Be l[ hd c[ dj )"              .7 -6 7. /K H

 .1   K M J .3 3. 5/ j^ he k] ^ .3 3/ 24 +                                         .7 -6 7. /K H

 .2                    HM + =M D? B@ N7     ?e oe k ^W l[ Wd o \k hj ^[ h          .7 -6 7/ 6K H

 .3    g k [i j_ ed i ed @n ^_ X_ j 04 eh **                                       .7 -6 70 -K H

 .4                    HM + A@ @7     R[ %h [ ]e _d ] je X[ ]e _d ] XW Ya je       .7 -6 70 4K H

 .5    j ^ Wj +                                                                    .7 -6 71 .K H

 .6   = T HM + A@ @7                                                               .7 -6 71 .K H

 /-          L         Hh + HW bW ck Z) Ze oe k h[ Ye ]d _p [ m^ Wj @n ^_ X_ j     .7 -6 71 .K H

 /.   0 5 _i 9                                                                     .7 -6 71 3K H

 //          <         Dj Wf f[ Wh i je X[ ek h P+ N+ cW d_ \[ ij \e h j^ [        .7 -6 71 4K H

 /0   > e Z [ e\ A[ Z[ hW b M[ ]k bW j_ ed i+                                      .7 -6 72 -K H

 /1          L         >W d oe k _Z [d j_ \o W fb WY [ _d @n ^_ X_ j 05            .7 -6 72 1K H

 /2   m ^ [ h [ oe k _Z [d j_ \o Wd o ij Wd ZW hZ ** eh _Z [d j_ \_ [Z             .7 -6 72 4K H



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USCA Case #17-7039          06A<D6=
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                          )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                               .2 .
  .    e \ j^ [ if [Y _\ _Y ij Wd ZW hZ +          O^ ei [ Wh [ j^ [ jm e            .7 /. 72 -K H

  /    Y h _j [h _W m[ ki [+                                                         .7 /. 72 0K H

  0                   OC @ M@ KJ MO @M 7    1- +                                     .7 // 7. /K H

  1              &@ n^ _X _j 1- cW ha [Z \e h _Z [d j_ \_ YW j_ ed +'               .. 7 0 . 7 / 3 < H

  2   = T HM + A@ @7                                                                 .7 // 7. 0K H

  3          L        D% c ]e _d ] je ^W dZ oe k m^ Wj %i X[ [d cW ha [Z             .7 // 7. 1K H

  4   W i @n ^_ X_ j 1- +       Dj %i W ** [d j_ jb [Z ) "K kX b_ Y NW \[ jo         .7 // 7. 2K H

  5   > e Z [ i Dd Ye hf eh Wj [Z Xo GW m) " KM J .3 3/ 25 j^ he k] ^ */ 34 +        .7 // 7. 5K H

  6                   Hh + HW bW ck Z) _i @n ^_ X_ j 1- [i i[ dj _W bb o j^ [        .7 // 72 0K H

 .-   i j W j [ l[ hi _e d e\ @n ^_ X_ j 05 j^ Wj oe k m[ h[ j[ ij _\ o_ d]          .7 // 72 2K H

 ..   W X e k j [W hb _[ h9                                                          .7 // 72 4K H

 ./                   HM + =M D? B@ N7     JX `[ Yj _e d) lW ]k [ Wd Z               .7 // 72 5K H

 .0    W c X_ ]k ek i+                                                               .7 // 72 6K H

 .1                   OC @ RD OI @N N7     O^ _i Wf f[ Wh i je X[ Wd eb Z[ h         .7 /0 7- 0K H

 .2    l [ hi _e d e\ ek h ** j^ [h [% i de ZW j[ ed j^ _i +                R^ [d    .7 /0 7- 1K H

 .3    m W i j^ _i iY h[ [d Zk cf jW a[ d9                                           .7 /0 7. 0K H

 .4   = T HM + A@ @7                                                                 .7 /0 7. 3K H

 .5          L        Te kh ** oe k fh eZ kY [Z j^ _i Ze Yk c[ dj +           ?e     .7 /0 7. 3K H

 .6   o e k i[ [ j^ [ =W j[ i bW X[ b9                                               .7 /0 7. 4K H

 /-          <        Ja Wo +    T[ W^ ) j^ _i ** j^ _i iW oi ) "K kX b_ Y           .7 /0 7/ -K H

 /.   N W \ [ jo >e Z[ i Dd Ye hf eh Wj [Z Xo GW m" Wd Z Xo Nj Wj [i                 .7 /0 7/ /K H

 //   W d Z ** Wd Z ed [ Y_ jo +                                                     .7 /0 7/ 4K H

 /0          L        ?e oe k X[ b_ [l [ @n ^_ X_ j 1- je X[ Wd eb Z                 .7 /0 7/ 6K H

 /1   l [ h i _e d e\ j^ _i Ze Yk c[ dj 9                                            .7 /0 70 .K H

 /2                   HM + =M D? B@ N7     JX `[ Yj _e d) lW ]k [ Wd Z               .7 /0 70 0K H



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USCA Case #17-7039          06A<D6=
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                           )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                           .2 3
  .   e \ j^ [ ij Wd ZW hZ i j^ Wj m[ h[ fe ij [Z ed Kk Xb _Y                    .7 /4 70 4K H

  /   M [ i e kh Y[ %i m[ Xi _j [ Wi W h[ ik bj e\ Wd _d Ye hf eh Wj _e d        .7 /4 70 6K H

  0   X o h[ \[ h[ dY [ Xo W de d\ [Z [h Wb ]e l[ hd c[ dj [d j_ jo 9            .7 /4 71 /K H

  1           <        D j^ _d a ie +                                            .7 /4 71 6K H

  2                    HM + A@ @7    R[ %l [ X[ [d ]e _d ] WX ek j Wd ^e kh      .7 /5 72 5K H

  3    W ] W_ d+      ?e oe k mW dj je jW a[ W bk dY ^ Xh [W a de m9             .7 /6 7- -K H

  4                    HM + =M D? B@ N7     D\ oe k mW dj +                      .7 /6 7- /K H

  5                    HM + A@ @7    R^ o Ze d% j m[ Ze j^ Wj +                  .7 /6 7- 1K H

  6                    OC @ QD ?@ JB M< KC @M 7   R[ %h [ ]e _d ] e\ \ j^ [      .7 /6 7- 2K H

 .-    h [ Ye hZ +     O^ [ j_ c[ _i .7 /6 f+ c+                                 .7 /6 7- 3K H

 ..                           &G kd Y^ h[ Y[ ii jW a[ d+ '                      .- 7 / 4 7 1 - < H

 ./                    OC @ QD ?@ JB M< KC @M 7   R[ %h [ XW Ya ed j^ [          /7 /2 72 1K H

 .0    h [ Ye hZ +     O^ [ j_ c[ _i /7 /3 f+ c+                                 /7 /2 72 2K H

 .1   = T HM + A@ @7                                                             /7 /2 72 5K H

 .2           L        Hh + HW bW ck Z) X[ \e h[ bk dY ^ m[ if ea [ W            /7 /2 72 6K H

 .3   b _ j j b[ X_ j WX ek j j^ [ fh eY [i i j^ Wj oe k m[ dj j^ he k] ^        /7 /3 7- /K H

 .4   _ d fk hY ^W i_ d] Wd Z cW a_ d] Ye f_ [i e\ j^ [ 40 ij Wd ZW hZ i+        /7 /3 7- 2K H

 .5   D * * D mW dj je jW ba je oe k de m WX ek j j^ [ fh eY [i i oe k           /7 /3 7- 6K H

 .6   k i [ Z je cW a[ [b [Y jh ed _Y Ye f_ [i e\ ie c[ e\ j^ [                  /7 /3 7. /K H

 /-   i j W d ZW hZ i ]e _d ] \e hm Wh Z+                                        /7 /3 7. 3K H

 /.                    >W d oe k Z[ iY h_ X[ Xh _[ \b o m^ Wj fh eY [i i oe k    /7 /3 7. 6K H

 //   ] e j^ he k] ^ je fe ij j^ [ ij Wd ZW hZ i Wj _i ik [ ed oe kh             /7 /3 7/ .K H

 /0   m [ X i _j [9                                                              /7 /3 7/ 3K H

 /1           <        Nj [f ed [ _i je Z[ j[ hc _d [ m^ [j ^[ h W               /7 /3 70 .K H

 /2   i j W d ZW hZ ^W i X[ [d [n fb _Y _j bo _d Ye hf eh Wj [Z Xo               /7 /3 70 0K H



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                             )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                           .2 4
  .   h [ \ [ h[ dY [+     Nj [f jm e _i je ][ j W Ye fo e\ j^ [                 /7 /3 70 5K H

  /   i j W d ZW hZ Wd Z iY Wd _j +         Nj [f j^ h[ [ _i je Wf f[ dZ W       /7 /3 71 0K H

  0   Y e l [ h i^ [[ j+         <d Z j^ [d Nj [f \e kh _i je jh Wd i\ [h _j     /7 /3 72 2K H

  1   e d j e j^ [ ^j Ze Yi i[ ]c [d j e\ ek h m[ X i[ hl [h ) m^ _Y ^ _i        /7 /4 7- .K H

  2   m ^ [ h [ Ze Yk c[ dj i b_ l[ +                                            /7 /4 7- 2K H

  3           L          <d Z ed Y[ j^ [ Ze Yk c[ dj _i ed oe kh ^j Ze Yi        /7 /4 7. .K H

  4   m [ X i[ hl [h ) _i _j ][ d[ hW bb o WY Y[ ii _X b[ je j^ [                /7 /4 7. 1K H

  5   f k X b _Y 9                                                               /7 /4 7/ 2K H

  6           <          T[ i+                                                   /7 /4 7/ 2K H

 .-           L          Ie m) \e h j^ [ ij Wd ZW hZ i j^ Wj Wh [ fe ij [Z ed    /7 /4 7/ 2K H

 ..   o e k h m[ Xi _j [) Z_ Z oe k Wb mW oi fk hY ^W i[ fW f[ h Ye f_ [i        /7 /4 7/ 6K H

 ./   e \ j^ ei [ ij Wd ZW hZ i Wd Z j^ [d iY Wd j^ [c ) eh Z_ Z oe k            /7 /4 70 /K H

 .0   X k o [b [Y jh ed _Y Ye f_ [i Wj j_ c[ i9                                  /7 /4 70 3K H

 .1           <          Ae h j^ [ ij Wd ZW hZ i Wj _i ik [ j^ [o %h [ Wb b      /7 /4 70 6K H

 .2   f W f [ h Ye f_ [i +                                                       /7 /4 71 0K H

 .3           L          ?_ Z oe k fk hY ^W i[ Wd o e\ j^ [ fW f[ h Ye f_ [i     /7 /4 71 2K H

 .4   e \ j^ [ ij Wd ZW hZ i Wj _i ik [ Z_ h[ Yj bo \h ec ed [ e\ j^ [           /7 /4 71 4K H

 .5   f b W _ dj _\ \i 9                                                         /7 /4 72 -K H

 .6                      HM + =M D? B@ N7    JX `[ Yj _e d) Wi a[ Z Wd Z         /7 /4 72 .K H

 /-    W d im [h [Z +                                                            /7 /4 72 .K H

 /.                      OC @ RD OI @N N7    R[ ** m[ Wb h[ WZ o m[ dj el [h     /7 /4 72 /K H

 //    j ^ Wj ) D X[ b_ [l [) ed IA K< Wd Z <N OH \e h **                        /7 /4 72 0K H

 /0   = T HM + A@ @7                                                             /7 /4 72 4K H

 /1           L          <d Z j^ Wj mW i m_ j^ h[ if [Y j je ij Wd ZW hZ i       /7 /4 72 5K H

 /2   j ^ W j Wh [ ed j^ [ Kk Xb _Y M[ ie kh Y[ m[ Xi _j [9          Te k Z_ Z   /7 /5 7- .K H



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USCA Case #17-7039          06A<D6=
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                            )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                              .2 5
  .   f k h Y ^W i[ Z_ h[ Yj bo \h ec IA K< Wd Z <N OH 9                            /7 /5 7- 2K H

  /                     HM + =M D? B@ N7   NW c[ eX `[ Yj _e d+                     /7 /5 7. 0K H

  0                     OC @ RD OI @N N7   T[ i+                                    /7 /5 7. 0K H

  1   = T HM + A@ @7                                                                /7 /5 7. 1K H

  2          L          <d Z) je j^ [ X[ ij e\ oe kh h[ Ye bb [Y j_ ed ) oe k       /7 /5 7. 1K H

  3   d [ l [ h fk hY ^W i[ Z [b [Y jh ed _Y Ye f_ [i e\ Wd o e\ j^ [               /7 /5 7. 3K H

  4   i j W d ZW hZ i Wj _i ik [8 _i j^ Wj h_ ]^ j9                                 /7 /5 7. 6K H

  5          <          O^ Wj _i Ye hh [Y j+                                        /7 /5 7/ 0K H

  6          L          Ie m) ^e m Z_ Z oe k Z[ j[ hc _d [ m^ [j ^[ h eh **         /7 /5 7/ 0K H

 .-   i j h _ a[ j^ Wj +                                                            /7 /5 70 1K H

 ..                     Jd Y[ oe k eX jW _d [Z W fW f[ h Ye fo e\ j^ [              /7 /5 71 .K H

 ./   i j W d ZW hZ ) m^ e iY Wd d[ Z j^ Wj fW f[ h Ye fo 9                         /7 /5 71 1K H

 .0          <          D Z_ Z+                                                     /7 /5 71 5K H

 .1          L          <d Z j^ Wj %i jh k[ \e h Wb b j^ [ ij Wd ZW hZ i Wj         /7 /5 71 6K H

 .2   _ i i k [ _d j^ _i YW i[ 9                                                    /7 /5 72 2K H

 .3          <          T[ i+                                                       /7 /5 72 3K H

 .4          L          Dd m^ Wj \_ b[ \e hc Wj mW i j^ [ ek jf kj \h ec            /7 /5 72 3K H

 .5   o e k h iY Wd 9                                                               /7 /6 7- -K H

 .6                     HM + =M D? B@ N7   JX `[ Yj _e d) lW ]k [) Wc X_ ]k ek i+   /7 /6 7- 0K H

 /-                     OC @ RD OI @N N7   K? A+                                    /7 /6 7- 3K H

 /.   = T HM + A@ @7                                                                /7 /6 7- 4K H

 //          L          ?_ Z oe k fe ij W K? A Ye fo e\ [l [h o e\ j^ [             /7 /6 7. 1K H

 /0   i j W d ZW hZ i Wj _i ik [ _d j^ _i YW i[ ed j^ [ Kk Xb _Y                    /7 /6 7. 5K H

 /1   M [ i e kh Y[ m[ Xi _j [9                                                     /7 /6 7/ .K H

 /2                     HM + =M D? B@ N7   JX `[ Yj _e d) lW ]k [ Wd Z              /7 /6 7/ 0K H



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                         )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                           .2 6
  .    W c X_ ]k ek i+                                                           /7 /6 7/ 1K H

  /                 OC @ RD OI @N N7       @W Y^ e\ j^ [ ij Wd ZW hZ i Wj        /7 /6 7/ 5K H

  0    _ i ik [ m[ h[ fe ij [Z ed ek h m[ Xi _j [+                               /7 /6 7/ 6K H

  1   = T HM + A@ @7                                                             /7 /6 70 /K H

  2          L      Dd K? A \e hc Wj 9                                           /7 /6 70 0K H

  3          <      Dd K? A \e hc Wj +                                           /7 /6 70 1K H

  4          L      Ie m) _i _j jh k[ j^ Wj oe k Wb ie fe ij [Z Wj               /7 /6 70 3K H

  5   b [ W i j W ik Xi [j e\ j^ [ ij Wd ZW hZ i Wj _i ik [ _d W \_ b[           /7 /6 70 6K H

  6   \ e h c Wj ej ^[ h j^ Wd K? A9                                             /7 /6 71 /K H

 .-          <      T[ i+                                                        /7 /6 71 0K H

 ..          L      Ce m Z_ Z oe k ]e WX ek j jW a_ d] j^ [ K? A \_ b[           /7 /6 71 5K H

 ./   \ e h c Wj Wd Z m_ dZ kf m_ j^ ie c[ ej ^[ h \_ b[ \e hc Wj 9              /7 /6 72 /K H

 .0          <      N[ dj _j je ek h Ye dj hW Yj eh ) CO >) m^ _Y ^              /7 /6 72 2K H

 .1   Z e k X b[ *a [o [Z j^ [ ij Wd ZW hZ i _d je CO HG +                       /7 0- 7- .K H

 .2                 OC @ RD OI @N N7       R[ %h [ ]e _d ] je X[ Ze _d ] W       /7 0- 7. .K H

 .3    b e ji e\ WY he do ci ) ie b[ j c[ ad em +                                /7 0- 7. /K H

 .4                 OC @ M@ KJ MO @M 7      Ja Wo +   Nb em _j Ze md +           /7 0- 7. 0K H

 .5   = T HM + A@ @7                                                             /7 0- 7. 3K H

 .6          L      <h [ j^ [h [ Wd o ej ^[ h ij [f i j^ Wj m[ h[                /7 0- 7/ .K H

 /-   _ c f b [c [d j[ Z je jW a[ j^ [ K? A \_ b[ \e hc Wj Wd Z Wh h_ l[         /7 0- 7/ 0K H

 /.   W j ie c[ ej ^[ h \_ b[ \e hc Wj j^ Wj mW i fe ij [Z ed j^ [               /7 0- 7/ 4K H

 //   K k X b _Y M[ ie kh Y[ m[ Xi _j [9                                         /7 0- 7/ 6K H

 /0                 HM + =M D? B@ N7       JX `[ Yj _e d) lW ]k [ Wd Z           /7 0- 70 .K H

 /1    W c X_ ]k ek i+                                                           /7 0- 70 .K H

 /2                 OC @ RD OI @N N7       R[ bb ) j^ [ i[ Ye dZ ij [f e\ j^ [   /7 0- 70 0K H



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                            )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                           .3 -
  .    m e ha \b em _i j^ [ Ze kX b[ *a [o ef [h Wj _e d) kc ) Wd Z              /7 0- 70 2K H

  /    j ^ Wj %i j^ [ Ye dl [h i_ ed _d je Wd CO HG \_ b[ m_ j^ EK B             /7 0- 70 3K H

  0    _ c W] [i ) E ** E* K* B+                                                 /7 0- 70 6K H

  1   = T HM + A@ @7                                                             /7 0- 71 /K H

  2           L         R^ e Z_ Z j^ [ Ye dl [h i_ ed e\ j^ [ CO H ** CO HG      /7 0. 7- -K H

  3   \ _ b [ _d je EK B9                                                        /7 0. 7- 0K H

  4           <         CO > Z_ Z+                                               /7 0. 7- 4K H

  5                     OC @ M@ KJ MO @M 7      CO >9                            /7 0. 7- 6K H

  6                     OC @ RD OI @N N7     CO >+                               /7 0. 7- 6K H

 .-   = T HM + A@ @7                                                             /7 0. 7- 6K H

 ..           L         R^ Wj me kb Z ^W ff [d W\ j[ h j^ [ \_ b[ mW i           /7 0. 7. 3K H

 ./   Y e d l [h j[ Z _d je W EK B \e hc Wj Wd Z X[ \e h[ _j mW i fe ij [Z       /7 0. 7. 6K H

 .0   e d j^ [ Kk Xb _Y M[ ie kh Y[ m[ Xi _j [9                                  /7 0. 7/ /K H

 .1           <         D% c de j ik h[ D kd Z[ hi jW dZ j^ Wj gk [i j_ ed +     /7 0. 7/ 6K H

 .2           L         Ja Wo +   M_ ]^ j+      Di d% j _j j^ [ YW i[ j^ Wj Wj   /7 0. 70 1K H

 .3   b [ W i j m_ j^ ie c[ e\ j^ [ ij Wd ZW hZ i Wj _i ik [ oe k fe ij [Z       /7 0. 70 4K H

 .4   \ _ b [ \e hc Wj i j^ Wj _d Yb kZ [Z NQ B Wd Z, eh HW j^ HG                /7 0. 71 -K H

 .5   [ b [ c [d ji 9                                                            /7 0. 71 0K H

 .6           <         O^ Wj me kb Z X[ j^ [ j^ _h Z ij [f e\ j^ [              /7 0. 71 3K H

 /-   m e h a \b em W\ j[ h j^ [ CO HG EK B ij [f +                              /7 0. 71 5K H

 /.           L         Ja Wo +   O^ Wj %i m^ Wj D mW i jh o_ d] je ][ j Wj +    /7 0. 72 0K H

 //                     R^ e Z_ Z j^ Wj me ha 9                                  /7 0. 72 1K H

 /0           <         Ke _d j+ = Nj kZ _e +                                    /7 0. 72 2K H

 /1           L         <d Z Ke _d j+ = Nj kZ _e _i hk d Xo oe kh m_ \[ )        /7 0/ 7- 0K H

 /2   M [ X [ YY W HW bW ck Z) Ye hh [Y j9                                       /7 0/ 7- 4K H



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                                        JA553
                           FFF%06A<D6=59A@BD<?;0@>A6?G%8@> H (&'+
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USCA Case #17-7039          06A<D6=
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                          )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                                 .3 /
  .    k d Z[ hi jW dZ _d ]) o[ i+                                                     /7 00 70 -K H

  /   = T HM + A@ @7                                                                   /7 00 70 .K H

  0          L        ?e oe k ^W l[ Wd o ce h[ Z[ jW _b [Z ad em b[ Z] [               /7 00 70 /K H

  1   h [ ] W hZ _d ] j^ [ fh eY [i i ki [Z j^ Wj m[ h[ ki [Z Xo oe kh                 /7 00 70 1K H

  2   Y e d j hW Yj eh i ej ^[ h j^ Wd m^ Wj oe k% l[ Wb h[ WZ o Z[ iY h_ X[ Z         /7 00 70 4K H

  3   j e c[ 9                                                                         /7 00 70 6K H

  4                   HM + =M D? B@ N7    JX `[ Yj _e d) Wh ]k c[ dj Wj _l [)          /7 00 71 -K H

  5    l W ]k [ Wd Z Wc X_ ]k ek i+                                                    /7 00 71 -K H

  6                   OC @ RD OI @N N7    T[ W^ ) D ^W l[ W lW ]k [ Wd Z               /7 00 71 /K H

 .-    e l [h Wb b kd Z[ hi jW dZ _d ] e\ j^ [ fh eY [i i j^ [o m[ dj                  /7 00 71 1K H

 ..    j ^ he k] ^+                                                                    /7 00 71 3K H

 ./   = T HM + A@ @7                                                                   /7 00 71 4K H

 .0          L        Ja Wo +    R[ bb ) b[ j% i ij Wh j m_ j^ CO >) j^ [d +           /7 00 71 4K H

 .1   A _ h i j e\ Wb b) D mW dj je cW a[ ik h[ D kd Z[ hi jW dZ +              Te k   /7 00 71 6K H

 .2   Z [ b _ l[ h[ Z je CO > K? Ai e\ j^ [ ij Wd ZW hZ i Wj _i ik [ _d                /7 00 72 0K H

 .3   j ^ _ i YW i[ ) Ye hh [Y j9                                                      /7 00 72 5K H

 .4          <        O^ Wj %i Ye hh [Y j+                                             /7 00 72 6K H

 .5          L        <\ j[ h CO > h[ Y[ _l [Z j^ [ K? A \_ b[ i) m^ Wj _i             /7 01 7- -K H

 .6   o e k h kd Z[ hi jW dZ _d ] Wi je j^ [ d[ nj ij [f j^ Wj mW i Ze d[              /7 01 7- 3K H

 /-   X o CO > Bb eX Wb 9                                                              /7 01 7- 5K H

 /.          <        O^ [ d[ nj **                                                    /7 01 7. -K H

 //                   HM + =M D? B@ N7    JX `[ Yj _e d) lW ]k [ Wd Z                  /7 01 7. /K H

 /0    W c X_ ]k ek i+                                                                 /7 01 7. 0K H

 /1                   Ne hh o+                                                         /7 01 7. 1K H

 /2                   OC @ RD OI @N N7    I[ nj ij [f _i je jW a[ [W Y^ e\             /7 01 7. 2K H



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                         FFF%06A<D6=59A@BD<?;0@>A6?G%8@> H (&'+
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USCA Case #17-7039          06A<D6=
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                         )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                            .3 0
  .    j ^ [ _c W] [i _d i_ Z[ e\ j^ [ Ze Yk c[ dj Wd Z iW l[ j^ [c Wi            /7 01 7. 4K H

  /    W i[ fW hW j[ EK B \_ b[ m_ j^ W l[ ho if [Y _\ _Y                         /7 01 7/ .K H

  0    \ _ b[ *d Wc _d ] Ye dl [d j_ ed m^ _Y ^ D ]W l[ j^ [c +                   /7 01 7/ 2K H

  1   = T HM + A@ @7                                                              /7 01 7/ 4K H

  2           L     R^ Wj ^W ff [d i d[ nj Wj CO >) je j^ [ X[ ij e\              /7 01 7/ 6K H

  3   o e k h ad em b[ Z] [9                                                      /7 01 70 /K H

  4           <     O^ [o j^ [d ]e j^ he k] ^ j^ [ Ze kX b[ *a [o                 /7 01 70 0K H

  5   f h e Y [i i m_ j^ j^ [ j[ nj +                                             /7 01 70 2K H

  6           L     R^ Wj _i j^ [ Ze kX b[ *a [o fh eY [i i9                      /7 01 71 -K H

 .-           <     Dd j^ [ Ze kX b[ *a [o fh eY [i i) jm e _d Z_ l_ Zk Wb i      /7 01 71 .K H

 ..   e h jm e j[ Wc i e\ _d Z_ l_ Zk Wb i _d Z[ f[ dZ [d jb o jo f[ _d           /7 01 71 2K H

 ./   j ^ [ Ze Yk c[ dj Wd Z j^ [d j^ [ jm e l[ hi _e di Wh [ Ye cf Wh [Z         /7 01 72 -K H

 .0   j e \_ dZ Wd o [h he hi +                                                   /7 01 72 2K H

 .1           L     Di _j oe kh kd Z[ hi jW dZ _d ] Wi e\ je ZW o j^ Wj           /7 02 7. 0K H

 .2   C O > Bb eX Wb [d ]W ][ Z _d W Ze kX b[ *a [o fh eY [i i \e h j^ [          /7 02 7. 2K H

 .3   i j W d ZW hZ i Wj _i ik [9                                                 /7 02 7. 6K H

 .4           <     T[ i+                                                         /7 02 7/ 0K H

 .5           L     Te k Ze d% j X[ b_ [l [ j^ Wj CO > mW i ki _d ] J> M          /7 02 71 -K H

 .6   i e \ j mW h[ je Z[ b_ l[ h j^ [ CO HG j^ Wj mW i fh el _Z [Z je            /7 02 71 3K H

 /-   oe k9                                                                       /7 02 72 /K H

 /.                 HM + =M D? B@ N7    JX `[ Yj _e d) bW Ya i \e kd ZW j_ ed )   /7 02 72 /K H

 //    l W ]k [ Wd Z Wc X_ ]k ek i) Wh ]k c[ dj Wj _l [+                          /7 02 72 0K H

 /0                 OC @ RD OI @N N7    D ** D Ze d% j X[ b_ [l [ j^ [o           /7 02 72 3K H

 /1    m [ h[ +                                                                   /7 02 72 4K H

 /2   = T HM + A@ @7                                                              /7 02 72 6K H



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                                     JA555
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USCA Case #17-7039          06A<D6=
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                                                    01/31/2018 Page 470 of 581
                           )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                           .3 2
  .   = T HM + A@ @7                                                             /7 04 7/ 3K H

  /          L       ?_ Z oe k Ye di _Z [h ki _d ] W jh _f b[ *a [o              /7 04 7/ 4K H

  0   f h e Y [i i m_ j^ CO > Bb eX Wb 9                                         /7 04 7/ 6K H

  1                  HM + =M D? B@ N7       JX `[ Yj _e d) lW ]k [ Wd Z          /7 04 70 /K H

  2    W c X_ ]k ek i+                                                           /7 04 70 0K H

  3                  OC @ RD OI @N N7       D Wi a[ Z CO > \e h W gk ej [ \e h   /7 04 70 1K H

  4    j h _f b[ *a [o +                                                         /7 04 70 4K H

  5   = T HM + A@ @7                                                             /7 04 70 5K H

  6          L       ?_ Z CO > fh el _Z [ W gk ej [ \e h jh _f b[ *a [o 9        /7 04 70 6K H

 .-          <       O^ [o Z_ Z+                                                 /7 04 71 1K H

 ..          L       D% c ]e _d ] je ^W dZ oe k ** D% c ]e _d ] je ^W dZ         /7 04 71 4K H

 ./   o e k m^ Wj %i fh [l _e ki bo X[ [d cW ha [Z Wi @n ^_ X_ j /+              /7 04 72 1K H

 .0   D j % i Wd [* cW _b je oe k \h ec C[ cW dj OW bm Wb aW h)                  /7 04 72 5K H

 .1   = W j [ i* bW X[ b KM J 16 31 +                                            /7 05 7- .K H

 .2                  HM + =M D? B@ N7       D% c ie hh o+     >W d oe k h[ WZ    /7 05 7/ 6K H

 .3    X W Ya ^_ i ij Wj [c [d j9                                                /7 05 7/ 6K H

 .4                                 &O ^[ h[ fe hj [h h[ WZ j^ [ h[ Ye hZ        /7 05 70 -K H

 .5                                     Wi h[ gk [i j[ Z+ '                      /7 05 70 -K H

 .6                  HM + =M D? B@ N7       D% c ie hh o+

 /-                  OC @ M@ KJ MO @M 7      Nk h[ +

 /.   = T HM + A@ @7                                                             /7 05 70 .K H

 //          L       A_ hi j e\ Wb b) Ze oe k h[ Ye ]d _p [ @n ^_ X_ j /         /7 05 70 .K H

 /0   W i Wd [* cW _b X[ jm [[ d oe k Wd Z C[ cW dj OW bm Wb aW h9               /7 05 70 /K H

 /1          <       Dj Wf f[ Wh i je X[ W c[ ii W] [ \h ec C[ cW dj je          /7 05 71 -K H

 /2   c[ +                                                                       /7 05 71 /K H



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                                        JA556
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USCA Case #17-7039          06A<D6=
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                            )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                         .3 3
  .           L       Di j^ _i j^ [ fh _Y [ gk ej [ j^ Wj oe k m[ h[           /7 05 71 0K H

  /   h [ \ [ h[ dY _d ]9                                                      /7 05 71 2K H

  0           <       Dj _i ) o[ i+                                            /7 05 71 6K H

  1           L       Dd j^ [ Y^ Wh j j^ Wj ^W i j^ [ fh _Y [ gk ej [) Ze      /7 05 72 -K H

  2   o e k i[ [ j^ Wj j^ [h [% i W Ye bk cd j^ [h [ j^ Wj iW oi )             /7 05 72 0K H

  3   " W Y Y kh WY o" 9                                                       /7 05 72 3K H

  4           <       T[ i+                                                    /7 05 72 6K H

  5           L       <d Z \e h Ze kX b[ *a [o Ye cf Wh [) _j ^W i Wd          /7 06 7- -K H

  6   W Y Y k hW Yo e\ 66 +2 . f[ hY [d j+    ?e oe k i[ [ j^ Wj 9             /7 06 7- 2K H

 .-           <       D Ze +                                                   /7 06 7. .K H

 ..                   HM + =M D? B@ N7   JX `[ Yj _e d+                        /7 06 7. .K H

 ./                   OC @ RD OI @N N7   D% c ie hh o+                         /7 06 7. 0K H

 .0   = T HM + A@ @7                                                           /7 06 7. 3K H

 .1           L       ?e oe k ^W l[ Wd kd Z[ hi jW dZ _d ] Wi je m^ Wj         /7 06 7. 4K H

 .2   j ^ W j c[ Wd i9                                                         /7 06 7. 5K H

 .3                   HM + =M D? B@ N7   JX `[ Yj _e d) bW Ya e\               /7 06 7/ .K H

 .4    Y e cf [j [d Y[ ) cW o YW bb \e h if [Y kb Wj _e d) lW ]k [ Wd Z        /7 06 7/ 1K H

 .5    W c X_ ]k ek i+                                                         /7 06 7/ 3K H

 .6                   OC @ RD OI @N N7   O^ Wj _i j^ [ [h he h je b[ hW dY [   /7 06 7/ 5K H

 /-    \ e h j^ [ Ze kX b[ *a [o l[ hi ki j^ [ jh _f b[ *a [o fh eY [i i+      /7 06 70 -K H

 /.   = T HM + A@ @7                                                           /7 06 70 5K H

 //           L       Di _j oe kh kd Z[ hi jW dZ _d ] j^ Wj j^ [ [* cW _b      /7 06 70 5K H

 /0   \ h e c ** Hh + OW bm Wb aW h) \_ hi j e\ Wb b) ^[ %i \h ec CO >         /7 06 71 0K H

 /1   B b e X Wb ) h_ ]^ j9                                                    /7 06 71 2K H

 /2           <       T[ i+                                                    /7 06 71 4K H



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                                         JA557
                            FFF%06A<D6=59A@BD<?;0@>A6?G%8@> H (&'+
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USCA Case #17-7039          06A<D6=
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                         )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                            .3 4
  .          L       Ja Wo +   Ne Ze [i ^_ i [* cW _b je oe k                     /7 06 71 4K H

  /   _ d Z _ YW j_ d] j^ [ Ze kX b[ *a [o Ye cf Wh [ ^W i Wd WY Yk hW Yo e\      /7 06 72 .K H

  0   6 6 + 2 . f[ hY [d j c[ Wd j^ Wj j^ [h [ Wh [ kf je -+ 16 f[ hY [d j        /7 06 72 1K H

  1   _ d W Y Yk hW j[ h[ ik bj i \h ec Ze kX b[ *a [o _d ]9                      /7 1- 7- /K H

  2                  HM + =M D? B@ N7   JX `[ Yj _e d) bW Ya i \e kd ZW j_ ed )   /7 1- 7- 2K H

  3    W i ik c[ i \W Yj i de j _d [l _Z [d Y[ ) Wh ]k c[ dj Wj _l [) lW ]k [     /7 1- 7- 3K H

  4    W d Z Wc X_ ]k ek i+                                                       /7 1- 7- 6K H

  5                  OC @ RD OI @N N7   Dj %i ** _j %i j^ [ [h he h               /7 1- 7. .K H

  6    j e b[ hW dY [) Wh [ ** j^ [h [ Wh [ de ce h[ j^ Wd j^ Wj cW do            /7 1- 7. 0K H

 .-    [ h he hi +                                                                /7 1- 7. 3K H

 ..   = T HM + A@ @7                                                              /7 1- 7. 4K H

 ./          L       Te k kd Z[ hi je eZ j^ Wj Ze kX b[ *a [o Ye cf Wh [          /7 1- 7. 4K H

 .0   m e k b Z b[ WZ je ie c[ _d WY Yk hW Y_ [i ) h_ ]^ j9                       /7 1- 7/ -K H

 .1                  HM + =M D? B@ N7   JX `[ Yj _e d) bW Ya i \e kd ZW j_ ed +   /7 1- 7/ 1K H

 .2                  OC @ RD OI @N N7   Ie j d[ Y[ ii Wh _b o+   Dj Z[ f[ dZ i    /7 1- 7/ 2K H

 .3    e d j^ [ ik X` [Y j cW jj [h e\ ** e\ j^ [ ie kh Y[ cW j[ h_ Wb +          /7 1- 7/ 4K H

 .4   = T HM + A@ @7                                                              /7 1- 7/ 6K H

 .5          L       ?_ Z oe k ^W l[ Wd o h[ Wi ed je X[ b_ [l [ j^ Wj            /7 1- 70 -K H

 .6   j ^ [ ij Wd ZW hZ i Wj _i ik [ _\ Ze kX b[ *a [o [Z me kb Z b[ WZ je        /7 1- 70 .K H

 /-   . - - f[ hY [d j WY Yk hW Yo 9                                              /7 1- 70 1K H

 /.                  HM + =M D? B@ N7   JX `[ Yj _e d) Wh ]k c[ dj Wj _l [)       /7 1- 70 4K H

 //    b W Ya i \e kd ZW j_ ed ) lW ]k [ Wd Z Wc X_ ]k ek i+                      /7 1- 70 5K H

 /0                  OC @ RD OI @N N7   D ** D X[ b_ [l [ j^ Wj ** j^ Wj          /7 1- 71 2K H

 /1    j ^ [h [ me kb Z X[ W ** W cW n_ ck c [h he h je b[ hW dY [ e\ **          /7 1- 71 2K H

 /2    e \ 66 +2 . c_ dk i .- -+                                                  /7 1- 72 4K H



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                                     JA558
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USCA Case #17-7039          06A<D6=
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                         )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                               .3 5
  .   = T HM + A@ @7                                                                 /7 1. 7- .K H

  /           L     RW i _j oe kh kd Z[ hi jW dZ _d ] j^ Wj j^ _i [h he h            /7 1. 7- /K H

  0   j e b [ hW dY [ ** eh ij h_ a[ j^ Wj ** WY Yk hW Yo ) D i^ ek bZ               /7 1. 7- /K H

  1   i W o ) hW j[ mW i XW i[ Z kf ed W iW cf b_ d] e\ j^ [ cW j[ h_ Wb i           /7 1. 7- 1K H

  2   j ^ W j oe k m[ h[ Wi a_ d] CO > Bb eX Wb je Ze kX b[ *a [o 9                  /7 1. 7- 5K H

  3                 HM + =M D? B@ N7       JX `[ Yj _e d) bW Ya i \e kd ZW j_ ed )   /7 1. 7. 0K H

  4    W i ik c[ i \W Yj i de j _d [l _Z [d Y[ ) Wh ]k c[ dj Wj _l [) lW ]k [        /7 1. 7. 1K H

  5    W d Z Wc X_ ]k ek i+                                                          /7 1. 7/ -K H

  6                 OC @ RD OI @N N7       66 +2 . f[ hY [d j _i ) D X[ b_ [l [)     /7 1. 7/ 0K H

 .-    j ^ [ _d Zk ij ho ij Wd ZW hZ \e h W Ze kX b[ *a [o Ye cf Wh [+               /7 1. 7/ 2K H

 ..   = T HM + A@ @7                                                                 /7 1. 7/ 6K H

 ./           L     <d Z CO > Bb eX Wb Wb ie fh el _Z [Z oe k m_ j^ W **             /7 1. 70 0K H

 .0   W f h _Y [ gk ej [ \e h jh _f b[ *a [o Ye cf Wh [) Ye hh [Y j9                 /7 1. 70 3K H

 .1           <     O^ Wj %i Ye hh [Y j+                                             /7 1. 71 .K H

 .2           L     <d Z j^ [ WY Yk hW Yo hW j[ \e h jh _f b[ *a [o                  /7 1. 71 /K H

 .3   Y e c f Wh [ _i ]h [W j[ h j^ Wd j^ [ Ze kX b[ *a [o Ye cf Wh [)               /7 1. 71 6K H

 .4   h _ ] ^ j9                                                                     /7 1. 72 /K H

 .5                 HM + =M D? B@ N7       JX `[ Yj _e d) ^o fe j^ [j _Y Wb i)       /7 1. 72 0K H

 .6    b W Ya i \e kd ZW j_ ed ) Wi ik c[ i \W Yj i de j _d [l _Z [d Y[ )            /7 1. 72 1K H

 /-    W h ]k c[ dj Wj _l [) lW ]k [ Wd Z Wc X_ ]k ek i+                             /7 1. 72 2K H

 /.                 OC @ RD OI @N N7       O^ [ cW n_ ck c [h he h je b[ hW dY [     /7 1. 72 4K H

 //    _ i b[ ii \e h jh _f b[ *a [o j^ Wd _j _i \e h Ze kX b[ *a [o +               /7 1/ 7- -K H

 /0   = T HM + A@ @7                                                                 /7 1/ 7- 1K H

 /1           L     <d Z jh _f b[ *a [o _d ] _i ce h[ [n f[ di _l [ j^ Wd            /7 1/ 7- 2K H

 /2   Z e k X b[ *a [o _d ]) Ye hh [Y j9                                             /7 1/ 7- 4K H



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USCA Case #17-7039          06A<D6=
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                          )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                            .3 6
  .                  HM + =M D? B@ N7   JX `[ Yj _e d) bW Ya i \e kd ZW j_ ed )   /7 1/ 7- 6K H

  /    l W ]k [ Wd Z Wc X_ ]k ek i+                                               /7 1/ 7- 6K H

  0                  OC @ RD OI @N N7   Jd j^ _i gk ej [ _j _i +                  /7 1/ 7. .K H

  1   = T HM + A@ @7                                                              /7 1/ 7. 2K H

  2          L       <d Z _i _j Ye hh [Y j j^ Wj W\ j[ h h[ Y[ _l _d ]            /7 1/ 7. 3K H

  3   j ^ _ i gk ej [) Kk Xb _Y M[ ie kh Y[ [b [Y j[ Z je ki [                    /7 1/ 7. 6K H

  4   Z e k X b[ *a [o Ye cf Wh [ _d ij [W Z e\ jh _f b[ *a [o Ye cf Wh [9        /7 1/ 7/ 1K H

  5          <       T[ i+                                                        /7 1/ 70 -K H

  6          L       R^ o Z_ Z _j cW a[ j^ Wj Z[ Y_ i_ ed 9                       /7 1/ 70 .K H

 .-          <       <] W_ d) XW i[ Z ed co h[ i[ Wh Y^ ed ij Wd ZW hZ            /7 1/ 70 3K H

 ..   _ d Z k ij ho fh WY j_ Y[ i) Ze kX b[ *a [o _i m^ Wj %i ki [Z _d j^ [       /7 1/ 70 6K H

 ./   b [ ] W b _d Zk ij ho +                                                     /7 1/ 71 /K H

 .0          L       Te k kd Z[ hi je eZ j^ Wj Ze kX b[ *a [o _d ] me kb Z X[     /7 1/ 71 6K H

 .1   b [ i i WY Yk hW j[ j^ Wd jh _f b[ *a [o _d ] _d j^ _i                      /7 1/ 72 .K H

 .2   Y _ h Y kc ij Wd Y[ ) h_ ]^ j9                                              /7 1/ 72 3K H

 .3                  HM + =M D? B@ N7   JX `[ Yj _e d) c_ ii jW j[ i              /7 1/ 72 4K H

 .4    j [ ij _c ed o) bW Ya i \e kd ZW j_ ed ) Wh ]k c[ dj Wj _l [ Wd Z          /7 1/ 72 5K H

 .5    W i ik c[ i \W Yj i de j _d [l _Z [d Y[ +                                  /7 10 7- /K H

 .6                  OC @ RD OI @N N7   <] W_ d) D j^ _d a oe k                   /7 10 7- 2K H

 /-    c _ ii jW j[ Z+    Dj %i j^ [ cW n_ ck c [h he h je b[ hW dY [ _i          /7 10 7- 3K H

 /.    b [ ii ed jh _f b[ *a [o j^ Wd ed Ze kX b[ *a [o +                         /7 10 7. .K H

 //

 /0   = T HM + A@ @7                                                              /7 10 7. 0K H

 /1          L       Di _j jh k[ j^ Wj Kk Xb _Y M[ ie kh Y[ mW i                  /7 10 7. 2K H

 /2   m _ b b _d ] je b_ l[ m_ j^ W ^_ ]^ [h [h he h je b[ hW dY [ _d             /7 10 7. 2K H



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                                      JA560
                         FFF%06A<D6=59A@BD<?;0@>A6?G%8@> H (&'+
     Case 1:13-cv-01215-TSC Document 118-12 Filed 11/19/15 Page 45 of 259
USCA Case #17-7039          06A<D6=
                      Document      59A@BD<?;Filed:
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                                                    01/31/2018 Page 475 of 581
                         )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                            .4 -
  .   e h Z [ h je iW l[ ce d[ o ed CO > Bb eX Wb %i i[ hl _Y [i 9                /7 10 7/ .K H

  /                  HM + =M D? B@ N7   JX `[ Yj _e d) bW Ya i \e kd ZW j_ ed )   /7 10 7/ 1K H

  0    W h ]k c[ dj Wj _l [) lW ]k [ Wd Z Wc X_ ]k ek i+                          /7 10 7/ 2K H

  1                  OC @ RD OI @N N7   ?e kX b[ *a [o i[ [c [Z je X[             /7 10 70 .K H

  2    f [ h\ [Y jb o Wf fh ef h_ Wj [ \e h j^ [ jW ia Wj ^W dZ +                 /7 10 70 0K H

  3   = T HM + A@ @7                                                              /7 10 70 4K H

  4          L       Ne fk Xb _Y M[ ie kh Y[ mW i m_ bb _d ] je WY Y[ fj          /7 10 70 4K H

  5   j ^ [ ^_ ]^ [h [h he h je b[ hW dY [ Wi ie Y_ Wj [Z m_ j^                   /7 10 71 -K H

  6   Z e k X b[ *a [o _d ] **                                                    /7 10 71 0K H

 .-                  HM + =M D? B@ N7   JX `[ Yj _e d **                          /7 10 71 1K H

 ..   = T HM + A@ @7                                                              /7 10 71 1K H

 ./          L       ** h_ ]^ j9                                                  /7 10 71 1K H

 .0                  HM + =M D? B@ N7   JX `[ Yj _e d) c_ ii jW j[ i              /7 10 71 1K H

 .1    j [ ij _c ed o) bW Ya i \e kd ZW j_ ed ) lW ]k [ Wd Z Wc X_ ]k ek i        /7 10 71 2K H

 .2    W d Z Wh ]k c[ dj Wj _l [+                                                 /7 10 71 4K H

 .3                  OC @ RD OI @N N7   Dj %i fe j[ dj _W bb o ^_ ]^ [h           /7 10 71 5K H

 .4    [ h he h je b[ hW dY [ kd Z[ h j^ [ Ze kX b[ *a [o c[ j^ eZ +              /7 10 71 5K H

 .5   = T HM + A@ @7                                                              /7 10 72 /K H

 .6          L       R[ bb ) oe kh ik ff b_ [h je bZ oe k j^ Wj _j mW i           /7 10 72 0K H

 /-   ] e _ d ] je X[ W ^_ ]^ [h [h he h je b[ hW dY [) h_ ]^ j9                  /7 10 72 1K H

 /.                  HM + =M D? B@ N7   JX `[ Yj _e d) bW Ya i \e kd ZW j_ ed )   /7 10 72 4K H

 //    l W ]k [ Wd Z Wc X_ ]k ek i+                                               /7 10 72 5K H

 /0                  OC @ RD OI @N N7   <] W_ d) _j Z[ f[ dZ i ed j^ [            /7 11 7- -K H

 /1    d W jk h[ e\ j^ [ ie kh Y[ cW j[ h_ Wb +     =k j) o[ i) j^ [ **           /7 11 7- .K H

 /2    j ^ [ ** j^ [ [h he h je b[ hW dY [ e\ Ze kX b[ *a [o _i ) _d              /7 11 7- /K H



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                                     JA561
                        FFF%06A<D6=59A@BD<?;0@>A6?G%8@> H (&'+
     Case 1:13-cv-01215-TSC Document 118-12 Filed 11/19/15 Page 46 of 259
USCA Case #17-7039          06A<D6=
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                         )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                               .4 .
  .    \ W Yj ) 66 +2 . f[ hY [d j) m^ _Y ^ _i m^ Wj CO > gk ej [Z +                 /7 11 7- 3K H

  /   = T HM + A@ @7                                                                 /7 11 7. 0K H

  0          L       <j Wd o fe _d j _d j_ c[ Z_ Z oe k ik ]] [i j je                /7 11 70 -K H

  1   W d o f[ hi ed me ha _d ] m_ j^ Kk Xb _Y M[ ie kh Y[ j^ Wj CO > cW o           /7 11 70 2K H

  2   d e j X[ Ze kX b[ *a [o _d ] j^ [ ij Wd ZW hZ i j^ Wj oe k ^W Z                /7 11 70 6K H

  3   f h e l _Z [Z je _j 9                                                          /7 11 71 /K H

  4                  HM + =M D? B@ N7      JX `[ Yj _e d) bW Ya i \e kd ZW j_ ed )   /7 11 71 2K H

  5    l W ]k [ Wd Z Wc X_ ]k ek i+                                                  /7 11 71 4K H

  6                  OC @ RD OI @N N7      D Ze d% j h[ YW bb +                      /7 11 72 -K H

 .-   = T HM + A@ @7                                                                 /7 11 72 /K H

 ..          L       CW l[ oe k [l [h ik ]] [i j[ Z je M[ X[ YY W HW bW ck Z         /7 12 70 2K H

 ./   j ^ W j CO > Bb eX Wb cW o ^W l[ X[ [d Y^ [W j_ d] Wd Z Ze _d ] J> M           /7 12 70 5K H

 .0   _ d Ye dd [Y j_ ed m_ j^ ie c[ e\ j^ [ me ha _j mW i Ze _d ] \e h              /7 12 71 0K H

 .1   K k X b _Y M[ ie kh Y[ 9                                                       /7 12 71 3K H

 .2                  HM + =M D? B@ N7      JX `[ Yj _e d) lW ]k [ Wd Z               /7 12 71 4K H

 .3    W c X_ ]k ek i+                                                               /7 12 71 4K H

 .4                  OC @ RD OI @N N7      Ie ) D Ze d% j h[ YW bb +     D\ oe k     /7 12 71 5K H

 .5    ^ W l[ W if [Y _\ _Y c[ ii W] [) D% Z X[ l[ ho ^W ff o je be ea               /7 12 71 5K H

 .6    W j _j +                                                                      /7 12 72 /K H

 /-   = T HM + A@ @7                                                                 /7 12 72 /K H

 /.          L       D% c ]e _d ] je ^W dZ oe k m^ Wj %i X[ [d cW ha [Z              /7 12 72 0K H

 //   W i @n ^_ X_ j /. +        Dj %i W [* cW _b Y^ W_ d X[ jm [[ d                 /7 12 72 1K H

 /0   H h + HW bW ck Z Wd Z Hh i+ HW bW ck Z) =W j[ i* bW X[ b[ Z                    /7 12 72 5K H

 /1   K M J 1/ /5 6 j^ he k] ^ *6 .+                                                 /7 13 7- /K H

 /2                  OC @ M@ KJ MO @M 7     F[ l_ d) oe k iW _Z j^ Wj mW i           /7 13 7/ .K H



                                     ".,,# **. $ 1243
                                      JA562
                         FFF%06A<D6=59A@BD<?;0@>A6?G%8@> H (&'+
     Case 1:13-cv-01215-TSC Document 118-12 Filed 11/19/15 Page 47 of 259
USCA Case #17-7039          06A<D6=
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                                                    01/31/2018 Page 477 of 581
                              )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                          .4 /
  .    f h [l _e ki bo cW ha [Z ) h_ ]^ j **                                    /7 13 7/ 0K H

  /                   HM + A@ @7      T[ i+                                     /7 13 7/ 2K H

  0                   OC @ M@ KJ MO @M 7       ** Wi /. 9    O^ Wd ai +         /7 13 7/ 3K H

  1                   OC @ RD OI @N N7        O^ _i i[ [c i b_ a[ [* cW _b      /7 13 71 5K H

  2    X [ jm [[ d c[ Wd Z M[ X[ YY W+                                          /7 13 72 -K H

  3   = T HM + A@ @7                                                            /7 13 72 2K H

  4           L       D mW dj je Zh Wm oe kh Wj j[ dj _e d je j^ [              /7 13 72 3K H

  5   \ e k h j^ fW hW ]h Wf ^ e\ j^ _i [* cW _b Y^ W_ d) \e kh j^ \h ec        /7 13 72 4K H

  6   j ^ [ je f e\ j^ [ \_ hi j fW ][ +           A_ hi j e\ Wb b) j^ Wj       /7 14 7- -K H

 .-   f e h j _e d e\ j^ [ [* cW _b _i W [* cW _b mh _j j[ d Xo oe k je         /7 14 7- 1K H

 ..   H i + HW bW ck Z) Ye hh [Y j9                                             /7 14 7- 3K H

 ./           <       O^ Wj %i Ye hh [Y j+                                      /7 14 7. -K H

 .0           L       <d Z Ze oe k i[ [ j^ [ \e kh j^ fW hW ]h Wf ^ _j          /7 14 7. -K H

 .1   i W o i ) "< bb j^ [ Ze Yi oe k i[ [ Wh [ _d j^ [e ho                     /7 14 7. 0K H

 .2   Z e k X b[ *a [o [Z +     J\ Ye kh i[ ) j^ [o cW o Y^ [W j Wd Z Ze J> M   /7 14 7. 2K H

 .3   \ _ h i j Wd Z j^ [d Ze j^ [_ h L< +"                                     /7 14 7/ .K H

 .4                   ?e oe k h[ YW bb ^W l_ d] j^ Wj Ye cc kd _Y Wj _e d       /7 14 7/ 0K H

 .5   m _ j ^ Hi + HW bW ck Z9                                                  /7 14 7/ 3K H

 .6           <       T[ i+      D `k ij je bZ oe k j^ Wj j^ _i Wf f[ Wh i je   /7 14 7/ 5K H

 /-   X [ [* cW _b X[ jm [[ d c[ Wd Z M[ X[ YY W+                               /7 14 70 .K H

 /.           L       ?_ Z oe k ^W l[ h[ Wi ed je X[ b_ [l [ j^ Wj CO >         /7 14 70 1K H

 //   B b e X Wb cW o ^W l[ X[ [d ** cW o ^W l[ X[ [d Y^ [W j_ d] Wd Z          /7 14 70 3K H

 /0   d e j Ze kX b[ *a [o _d ] j^ [ me ha j^ [o m[ h[ Ze _d ] \e h oe k9       /7 14 71 -K H

 /1           <       Ie +                                                      /7 14 71 /K H

 /2           L       R^ o Z_ Z oe k iW o j^ Wj ) j^ [d 9                       /7 14 71 1K H



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                                       JA563
                          FFF%06A<D6=59A@BD<?;0@>A6?G%8@> H (&'+
     Case 1:13-cv-01215-TSC Document 118-12 Filed 11/19/15 Page 48 of 259
USCA Case #17-7039          06A<D6=
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                            )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                                 .5 0
  .           L         Ho cW j^ _i mh ed ]+        Te k YW d ]e W^ [W Z Wd Z          07 -/ 7/ -K H

  /   i W o _j +                                                                       07 -/ 7/ /K H

  0                     Dj %i WX ek j .4 2) -- - a_ be *Y ^W hW Yj [h i9               07 -/ 7/ 0K H

  1           <         #0 2- )- -- **                                                 07 -/ 7/ 4K H

  2                     HM + =M D? B@ N7     O^ [ cW j^ m_ bb if [W a \e h             07 -/ 7/ 5K H

  3    _ j i[ b\ +                                                                     07 -/ 7/ 6K H

  4                     OC @ RD OI @N N7     T[ W^ ) _j %i 4- -) -- -                  07 -/ 70 .K H

  5    a _ be *Y ^W hW Yj [h i) h_ ]^ j9                                               07 -/ 70 1K H

  6   = T HM + A@ @7                                                                   07 -/ 70 2K H

 .-           L         J^ ) oe k% h[ h_ ]^ j+      Dj %i Ze kX b[ +    D% c de j      07 -/ 70 3K H

 ..   Z e _ d ] cW j^ je ZW o+                                                         07 -/ 70 3K H

 ./                     ?e oe k ad em ^e m cW do fW ][ **                              07 -/ 70 6K H

 .0   a _ b e *Y ^W hW Yj [h i j^ [h [ Wh [ ed Wd Wl [h W] [ fW ][ _d W                07 -/ 71 .K H

 .1   i j W d ZW hZ 9                                                                  07 -/ 71 0K H

 .2                     HM + =M D? B@ N7     JX `[ Yj _e d) bW Ya i \e kd ZW j_ ed )   07 -/ 71 4K H

 .3    l W ]k [ Wd Z Wc X_ ]k ek i+                                                    07 -/ 71 4K H

 .4                     OC @ RD OI @N N7     D ad [m j^ Wj Wj ed [ fe _d j+            07 -/ 71 6K H

 .5    D j %i de j ed ** e\ \ j^ [ je f e\ co ^[ WZ +                                  07 -/ 72 -K H

 .6   = T HM + A@ @7                                                                   07 -/ 72 /K H

 /-           L         Ne ) Hh + HW bW ck Z) m[ m[ h[ jW ba _d ] WX ek j j^ [         07 -2 7/ 0K H

 /.   f h e Y [i i Xo m^ _Y ^ oe k je ea fW f[ h l[ hi _e di Wd Z j^ [o                07 -2 7/ 1K H

 //   m e k d Z kf X[ _d ] fe ij [Z ed oe kh m[ Xi _j [+           <d Z m[ %l [        07 -2 7/ 5K H

 /0   d e m jW ba [Z W be j WX ek j j^ [ Ze kX b[ *a [o _d ] j^ Wj mW i                07 -2 70 0K H

 /1   Z e d [ Xo CO > Bb eX Wb +         <\ j[ h oe k h[ Y[ _l [Z j^ [ h[ ik bj i      07 -2 70 3K H

 /2   e h j^ [ [d Z me ha \h ec CO > Bb eX Wb ) m^ Wj ^W ff [d [Z d[ nj                07 -2 71 -K H



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                                        JA564
                           FFF%06A<D6=59A@BD<?;0@>A6?G%8@> H (&'+
     Case 1:13-cv-01215-TSC Document 118-12 Filed 11/19/15 Page 49 of 259
USCA Case #17-7039          06A<D6=
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                                                    01/31/2018 Page 479 of 581
                         )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                            .5 1
  .   _ d j^ [ fh eY [i i Wj Kk Xb _Y M[ ie kh Y[ 9                               07 -2 71 1K H

  /           <      K[ h\ eh c[ Z gk Wb _j o Wi ik hW dY [) lW b_ ZW j[ Z j^ [   07 -2 71 6K H

  0   C O H G ) cW Z[ ik h[ j^ Wj Wb b j^ [ EK B _c W] [i m[ h[ j^ [h [)          07 -2 72 2K H

  1   i e Z_ Z W b_ da lW b_ Z_ jo Y^ [Y a) Wd Z j^ [d fk i^ [Z j^ [c             07 -3 7- -K H

  2   j e ek h m[ X i[ hl [h +                                                    07 -3 7- 6K H

  3           L      <d Z j^ Wj me kb Z Ye cf b[ j[ j^ [ fh eY [i i m_ j^         07 -3 7. 0K H

  4   h [ i f [Y j je ij Wd ZW hZ i j^ Wj Wh [ fe ij [Z _d CO HG \e hc Wj )       07 -3 7. 2K H

  5   h _ ] ^ j9                                                                  07 -3 7. 5K H

  6           <      O^ Wj %i W ]e eZ ^_ ]^ *b [l [b el [h l_ [m e\ j^ [          07 -3 7. 6K H

 .-   m e h a \b em ) o[ i+                                                       07 -3 7/ /K H

 ..           L      Ie m) oe k ^W Z Wb ie c[ dj _e d[ Z j^ Wj j^ [h [            07 -3 7/ 0K H

 ./   m [ h [ ie c[ ij Wd ZW hZ i \e h m^ _Y ^ Ke _d j+ = Nj kZ _e i Z_ Z         07 -3 7/ 2K H

 .0   i e c [ WZ Z_ j_ ed Wb me ha 8 _i j^ Wj h_ ]^ j9                            07 -3 70 .K H

 .1           <      O^ Wj %i Ye hh [Y j+                                         07 -3 70 /K H

 .2           L      Ja Wo +   A_ hi j e\ Wb b) ^e m me kb Z oe k ]e              07 -3 70 /K H

 .3   W X e k j _Z [d j_ \o _d ] m^ _Y ^ ij Wd ZW hZ i oe k me kb Z ^W Z Wi a     07 -3 70 2K H

 .4   K e _ d j+ = Nj kZ _e i je Ze me ha ed 9                                    07 -3 70 5K H

 .5           <      =W i[ Z ed co f[ hi ed Wb `k Z] c[ dj e\ m^ Wj               07 -3 71 /K H

 .6   m [ h [ ** m[ h[ Ye cf [b b_ d] ij Wd ZW hZ i j^ Wj Z[ i[ hl [Z j^ Wj       07 -3 71 1K H

 /-   d [ n j b[ l[ b e\ j^ [ me ha \b em ) ]_ l[ d ek h b_ c_ j[ Z               07 -3 71 4K H

 /.   X k Z ] [j +                                                                07 -3 72 -K H

 //           L      Jd Y[ oe k _Z [d j_ \_ [Z Wd Wf fh ef h_ Wj [                07 -3 72 .K H

 /0   i j W d ZW hZ \e h Ke _d j+ = Nj kZ _e i je me ha kf ed ) m^ Wj             07 -3 72 0K H

 /1   ^ W f f [d [Z d[ nj 9                                                       07 -3 72 4K H

 /2           <      O^ [ `e X mW i l[ ho if [Y _\ _Y 7 jW a[ j^ [ CO HG          07 -3 72 6K H



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                                     JA565
                        FFF%06A<D6=59A@BD<?;0@>A6?G%8@> H (&'+
     Case 1:13-cv-01215-TSC Document 118-12 Filed 11/19/15 Page 50 of 259
USCA Case #17-7039          06A<D6=
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                            )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                               .5 2
  .   \ _ b [ Wd Z j^ [ EK B _c W] [i ) Ye dl [h j j^ [ EK B _c W] [i                07 -4 7- /K H

  /   [ n W Y jb o _d je NQ B ** NQ B) i_ b_ Ye d l[ Yj eh ]h Wf ^_ Yi eh            07 -4 7- 3K H

  0   m ^ W j [l [h j^ Wj _i ** Wd Z HW j^ HG ) m^ _Y ^ _i W bW d] kW ][             07 -4 7- 6K H

  1   \ e h jo f[ i[ jj _d ] cW j^ [c Wj _Y Wb \e hc kb Wi +                         07 -4 7/ -K H

  2           L         Kh _e h je j^ [ \_ hi j j_ c[ oe k h[ jW _d [Z               07 -4 70 0K H

  3   K e _ d j+ = Nj kZ _e i je Ze j^ _i me ha ed Ye dl [h j_ d] EK B               07 -4 70 6K H

  4   _ c W ] [i ) m^ Wj [n f[ h_ [d Y[ eh [n f[ hj _i [ m[ h[ oe k Wm Wh [          07 -4 71 .K H

  5   e \ j^ Wj Ke _d j+ = Nj kZ _e i ^W Z m_ j^ h[ if [Y j je j^ Wj                 07 -4 71 3K H

  6   j o f [ e\ WY j_ l_ jo 9                                                       07 -4 71 6K H

 .-           <         M[ X[ YY W HW bW ck Z _i W [n f[ hj ed NQ B ]h Wf ^_ Y       07 -4 72 3K H

 ..   Z [ i _ ]d ) ki [ e\ ]h Wf ^_ Y fh eY [i i_ d] je eb i+                        07 -5 7- -K H

 ./           L         CW Z ** je j^ [ X[ ij e\ oe kh ad em b[ Z] [) ^W Z           07 -5 7- 2K H

 .0   K e _ d j+ = Nj kZ _e i [l [h Ze d[ W fh e` [Y j i_ c_ bW h je m^ Wj           07 -5 7. /K H

 .1   o e k ^W Z Wi a[ Z Ke _d j+ = Nj kZ _e i je Ze \e h Kk Xb _Y                   07 -5 7. 2K H

 .2   M [ i e kh Y[ 9                                                                07 -5 7. 5K H

 .3                     HM + =M D? B@ N7   JX `[ Yj _e d) Ye cf [j [d Y[ ) lW ]k [   07 -5 7. 6K H

 .4    W d Z Wc X_ ]k ek i+                                                          07 -5 7/ /K H

 .5                     OC @ RD OI @N N7   D ad em j^ [o ^W Z me ha [Z               07 -5 7/ 3K H

 .6    [ n j[ di _l [b o m_ j^ NQ B Wd Z m_ j^ j^ [ ** j^ [ je eb i ki [Z            07 -5 7/ 4K H

 /-    j e fh eY [i i NQ B+                                                          07 -5 70 .K H

 /.   = T HM + A@ @7                                                                 07 -5 70 0K H

 //           L         Re kb Z j^ Wj _d Yb kZ [ jW a_ d] EK B \_ b[ \e hc Wj i      07 -5 70 1K H

 /0   W d Z Ye dl [h j_ d] j^ [c _d je NQ B \_ b[ \e hc Wj i9                        07 -5 70 6K H

 /1                     HM + =M D? B@ N7   NW c[ eX `[ Yj _e di +                    07 -5 71 1K H

 /2                     OC @ RD OI @N N7   D% c de j Wm Wh [ e\ Wd oe d[             07 -5 71 1K H



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                                        JA566
                           FFF%06A<D6=59A@BD<?;0@>A6?G%8@> H (&'+
     Case 1:13-cv-01215-TSC Document 118-12 Filed 11/19/15 Page 51 of 259
USCA Case #17-7039          06A<D6=
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                                                    01/31/2018 Page 481 of 581
                            )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                             .5 5
  .    i f [Y kb Wj _e d+                                                          07 .. 7- 0K H

  /                     OC @ RD OI @N N7   Ie ) D Ze d% j+                         07 .. 7- 1K H

  0   = T HM + A@ @7                                                               07 .. 7- 2K H

  1           L         ?e oe k ad em _\ Y^ _b Zh [d Z_ Z j^ Wj me ha 9            07 .. 7- 2K H

  2                     HM + =M D? B@ N7   JX `[ Yj _e d) Wh ]k c[ dj Wj _l [)     07 .. 7- 5K H

  3    b W Ya i \e kd ZW j_ ed +                                                   07 .. 7- 5K H

  4                     OC @ RD OI @N N7   D ad em M[ X[ YY W hW d W               07 .. 7. /K H

  5    c [ dj eh _d ] fh e] hW c j[ WY ^_ d] f[ ef b[ ]h Wf ^_ Y Z[ i_ ]d          07 .. 7. 0K H

  6    i a _b bi +                                                                 07 .. 7. 4K H

 .-                     HM + =M D? B@ N7   Kb [W i[ Wd im [h ^_ i gk [i j_ ed +    07 .. 7. 5K H

 ..                     OC @ RD OI @N N7   Ja Wo +   D% c ie hh o+   Kb [W i[      07 .. 7/ -K H

 ./    h [ f[ Wj j^ [ gk [i j_ ed +                                                07 .. 7/ .K H

 .0   = T HM + A@ @7                                                               07 .. 7/ /K H

 .1           L         Ho gk [i j_ ed _i _\ oe k m[ h[ Wm Wh [ e\                 07 .. 7/ /K H

 .2   m ^ [ j ^[ h eh de j Y^ _b Zh [d m[ h[ Ze _d ] j^ [ Ye dl [h i_ ed           07 .. 7/ 2K H

 .3   \ h e c EK B je HW j^ HG eh NQ B+                                            07 .. 7/ 5K H

 .4                     HM + =M D? B@ N7   JX `[ Yj _e d) Wh ]k c[ dj Wj _l [)     07 .. 70 /K H

 .5    b W Ya i \e kd ZW j_ ed ) lW ]k [ Wd Z Wc X_ ]k ek i+                       07 .. 70 0K H

 .6                     OC @ RD OI @N N7   >^ _b Zh [d +   D% c ie hh o+   Di **   07 .. 70 2K H

 /-    Z e oe k ^W l[ W fW hj _Y kb Wh W] [ b_ c_ j _d c_ dZ eh **                 07 .. 70 4K H

 /.   = T HM + A@ @7                                                               07 .. 71 .K H

 //           L         R^ o Ze d% j m[ ij Wh j m_ j^ kd Z[ h .5 +                 07 .. 71 .K H

 /0           <         T[ i) D X[ b_ [l [ ie c[ ij kZ [d ji m[ h[                 07 .. 71 3K H

 /1   _ d l e bl [Z +                                                              07 .. 71 5K H

 /2           L         ?e oe k ad em m^ _Y ^ ij kZ [d ji m[ h[ _d le bl [Z 9      07 .. 72 /K H



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                                        JA567
                           FFF%06A<D6=59A@BD<?;0@>A6?G%8@> H (&'+
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USCA Case #17-7039          06A<D6=
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                            )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                            .5 6
  .           <      Ie +                                                         07 .. 72 5K H

  /           L      RW i ** m[ h[ j^ [i [ ij kZ [d ji _d le bl [Z                07 .. 72 5K H

  0   j ^ h e k] ^ ie c[ j^ _d ] YW bb [Z Mk hW b ?[ i_ ]d >e bb [Y j_ ed         07 ./ 7- /K H

  1   & i _ Y '9                                                                  07 ./ 7- 0K H

  2           <      O^ Wj %i Ye hh [Y j+                                         07 ./ 7- 3K H

  3           L      <d Z Wh [ oe k Wm Wh [ e\ m^ [j ^[ h eh de j Mk hW b         07 ./ 7- 4K H

  4   ? [ i _ ]d >e bb [Y j_ l[ iW oi j^ Wj _j i jW h] [j ]h ek f _i              07 ./ 7. .K H

  5   Y ^ _ b Zh [d W] [i 4 je .1 9                                               07 ./ 7. 3K H

  6           <      D\ j^ Wj %i m^ Wj _j iW oi ed j^ [_ h m[ Xi _j [+            07 ./ 7/ -K H

 .-   D * * D `k ij Ze d% j h[ YW bb +                                            07 ./ 7/ 0K H

 ..           L      Re kb Z _j X[ oe kh [n f[ Yj Wj _e d j^ Wj j^ [h [           07 ./ 7/ 4K H

 ./   W h [ Y^ _b Zh [d W] [i 4 je .1 Ze _d ] j^ [ Ye dl [h i_ ed e\              07 ./ 7/ 6K H

 .0   j ^ [ EK B \_ b[ \e hc Wj _c W] [i je HW j^ HG Wd Z NQ B ed **              07 ./ 70 0K H

 .1   \ e h Kk Xb _Y M[ ie kh Y[ 9                                                07 ./ 71 -K H

 .2                  HM + =M D? B@ N7   JX `[ Yj _e d) bW Ya i \e kd ZW j_ ed )   07 ./ 71 1K H

 .3    l W ]k [ Wd Z Wc X_ ]k ek i+                                               07 ./ 71 2K H

 .4                  OC @ RD OI @N N7   D me kb Z X[ if [Y kb Wj _d ]) Xk j       07 ./ 71 3K H

 .5    j ^ Wj ie kd Zi Wm \k bb o WZ lW dY [Z \e h W 4* o[ Wh *e bZ +             07 ./ 71 5K H

 .6   = T HM + A@ @7                                                              07 ./ 72 /K H

 /-           L      ?e oe k ^W l[ Wd o kd Z[ hi jW dZ _d ] Wi je j^ [            07 ./ 72 0K H

 /.   W ] [ hW d] [ e\ j^ [ a_ Zi m^ e Wh [ me ha _d ] ed W                       07 ./ 72 1K H

 //   Y e d l [h i_ ed fh eY [i i \e h Ke _d j+ = Nj kZ _e i% fh e` [Y j \e h     07 ./ 72 5K H

 /0   K k X b _Y M[ ie kh Y[ 9                                                    07 .0 7- /K H

 /1                  HM + =M D? B@ N7   JX `[ Yj _e d) bW Ya i \e kd ZW j_ ed )   07 .0 7- 1K H

 /2    c W o YW bb \e h if [Y kb Wj _e d) lW ]k [ Wd Z Wc X_ ]k ek i)             07 .0 7- 1K H



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                                     JA568
                        FFF%06A<D6=59A@BD<?;0@>A6?G%8@> H (&'+
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                           )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                             .6 -
  .    W h ]k c[ dj Wj _l [+                                                       07 .0 7. .K H

  /                  OC @ RD OI @N N7    Ho ie b[ fe _d j e\ Ye dj WY j mW i       07 .0 7. 0K H

  0    M [ X[ YY W) Wd Z j^ [ `e X mW i l[ ho i_ cf b[ 7 EK B _d ) NQ B            07 .0 7. 1K H

  1    W d Z HW j^ HG XW Ya ek j+       <d Z j^ Wj mW i co Ye dY [h d+             07 .0 7. 6K H

  2   = T HM + A@ @7                                                               07 .0 7/ /K H

  3          L       ?_ Z oe k Wj b[ Wi j kd Z[ hi jW dZ j^ Wj W ]h ek f           07 .0 72 -K H

  4   e \ ij kZ [d ji \h ec M? >) Mk hW b ?[ i_ ]d >e bb [Y j_ l[ ) m[ h[          07 .0 72 /K H

  5   Z e _ d ] j^ [ Ye dl [h j_ d] e\ j^ [ \e hc kb Wi Wd Z ]h Wf ^_ Yi ed        07 .0 72 4K H

  6   j ^ [ ij Wd ZW hZ i j^ Wj oe k Wi a[ Z j^ [c je me ha ed 9                   07 .1 7- -K H

 .-   N j h _ a[ j^ Wj +                                                           07 .1 7- 1K H

 ..                  ?e oe k Wj b[ Wi j kd Z[ hi jW dZ j^ Wj W ]h ek f e\          07 .1 7- 2K H

 ./   i j k Z [d ji \h ec Mk hW b ?[ i_ ]d >e bb [Y j_ l[ m[ h[ Ze _d ] j^ [       07 .1 7- 4K H

 .0   Y e d l [h i_ ed e\ \e hc kb Wi Wd Z ]h Wf ^_ Yi \e h j^ [                   07 .1 7. 0K H

 .1   i j W d ZW hZ i me ha j^ Wj oe k ^W Z Wi a[ Z Ke _d j+ = Nj kZ _e i je       07 .1 7. 3K H

 .2   Z e \e h Kk Xb _Y M[ ie kh Y[ 9                                              07 .1 7/ 0K H

 .3                  HM + =M D? B@ N7    JX `[ Yj _e d) bW Ya i \e kd ZW j_ ed )   07 .1 7/ 2K H

 .4    W h ]k c[ dj Wj _l [) lW ]k [ Wd Z Wc X_ ]k ek i+                           07 .1 7/ 2K H

 .5                  OC @ RD OI @N N7    O^ [o Z_ Z W be j ce h[ j^ Wd             07 .1 7/ 3K H

 .6    i j Wd ZW hZ i) j^ [ >W b_ \e hd _W >e Z[ e\ M[ ]k bW j_ ed i) \e h         07 .1 7/ 4K H

 /-    [ n Wc fb [) j^ [ ]h Wf ^_ Yi _c W] [i _d j^ [h [ m^ _Y ^ Wh [ de j         07 .1 7/ 5K H

 /.    i j Wd ZW hZ i+                                                             07 .1 70 .K H

 //

 /0   = T HM + A@ @7                                                               07 .1 70 /K H

 /1          L       =k j oe k kd Z[ hi je eZ j^ Wj Y^ _b Zh [d Wj Mk hW b         07 .1 70 /K H

 /2   ? [ i _ ]d >e bb [Y j_ l[ m[ h[ me ha _d ] ed j^ [ Ye dl [h i_ ed e\         07 .1 70 1K H



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                                        JA569
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                         )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                            .6 .
  .   j ^ [ ij Wd ZW hZ i j^ Wj oe k fe ij [Z ed oe kh m[ Xi _j [9                07 .1 70 4K H

  /                  HM + =M D? B@ N7   NW c[ eX `[ Yj _e di +                    07 .1 71 .K H

  0                  OC @ RD OI @N N7   D ad em j^ Wj ij kZ [d ji m[ h[           07 .1 71 /K H

  1    m e ha _d ] ed W Ye dl [h i_ ed e\ EK B _c W] [i _d je NQ B Wd Z           07 .1 71 3K H

  2    H W j^ HG +   D Ze d% j ad em m^ _Y ^ if [Y _\ _Y _j [c i Wd oX eZ o       07 .1 72 .K H

  3    m e ha [Z ed +                                                             07 .1 72 2K H

  4   = T HM + A@ @7                                                              07 .1 72 3K H

  5          L       <d Z oe k ad em j^ Wj j^ ei [ a_ Zi m[ h[ me ha _d ]         07 .1 72 3K H

  6   e d j^ Wj ** W Ye dl [h i_ ed \e h me ha j^ Wj mW i h[ gk [i j[ Z           07 .1 72 5K H

 .-   X o Kk Xb _Y M[ ie kh Y[ 9                                                  07 .2 7- -K H

 ..                  HM + =M D? B@ N7   NW c[ eX `[ Yj _e di +                    07 .2 7- 0K H

 ./                  OC @ RD OI @N N7   T[ i+                                     07 .2 7- 4K H

 .0   = T HM + A@ @7                                                              07 .2 7- 5K H

 .1          L       R[ h[ j^ ei [ a_ Zi fW _Z 9                                  07 .2 7. .K H

 .2                  HM + =M D? B@ N7   JX `[ Yj _e d) Ye cf [j [d Y[ ) cW o      07 .2 7. 1K H

 .3    Y W bb \e h if [Y kb Wj _e d+                                              07 .2 7. 3K H

 .4                  OC @ RD OI @N N7   D h[ Wb bo Ze d% j ad em +                07 .2 7. 5K H

 .5   = T HM + A@ @7                                                              07 .2 7/ 4K H

 .6          L       ?_ Z Kk Xb _Y M[ ie kh Y[ fh el _Z [ Wd o \k dZ i je         07 .2 7/ 4K H

 /-   K e _ d j+ = Nj kZ _e i \e h j^ _i ij kZ [d j fh e] hW c9                   07 .2 70 .K H

 /.                  HM + =M D? B@ N7   JX `[ Yj _e d) bW Ya i \e kd ZW j_ ed )   07 .2 70 3K H

 //    W h ]k c[ dj Wj _l [) lW ]k [ Wd Z Wc X_ ]k ek i+                          07 .2 70 4K H

 /0                  OC @ RD OI @N N7   T[ i+   N[ l[ hW b ik cc [h i _d W        07 .2 71 .K H

 /1    h e m D WZ Z[ Z [n jh W ce d[ o je j^ [ ce dj ^b o \[ [ j^ Wj m[           07 .2 71 0K H

 /2    f W _Z je Ke _d j+ = m_ j^ j^ [ kd Z[ hi jW dZ _d ] j^ Wj _j               07 .2 71 3K H



                                    ".,,# **. $ 1243
                                     JA570
                        FFF%06A<D6=59A@BD<?;0@>A6?G%8@> H (&'+
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USCA Case #17-7039          Capital
                      Document      ReportingFiled:
                               #1715850       Company
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                      30(b)(6) Public.Resource.Org 02-26-2015

                                                                              194
  1   optimized for viewing on the web in multiple                     3:18:42PM

  2   platforms, all right, so there's a -- and then the               3:18:47PM

  3   third item is an SVG source directory, which                     3:18:49PM

  4   included the core work files in MathML and the fully             3:18:54PM

  5   editable SVG graphics.                                           3:19:00PM

  6         Q     What would you do with all those files?              3:19:04PM

  7               MR. BRIDGES:     Objection, vague and                3:19:10PM

  8    ambiguous.                                                      3:19:11PM

  9               THE WITNESS:     A series of quality                 3:19:11PM

 10    assurance checks, link validity, HTML validity, a               3:19:12PM

 11    comparison of at least some of the JPGs to the                  3:19:18PM

 12    SVGs, a quality assurance step.                                 3:19:23PM

 13   BY MR. FEE:                                                      3:19:27PM

 14         Q     Did anything else happen after that and              3:19:28PM

 15   before the files were posted to the web?                         3:19:30PM

 16               MR. BRIDGES:     Objection, vague and                3:19:33PM

 17    ambiguous.                                                      3:19:34PM

 18               THE WITNESS:     Once I was satisfied that           3:19:36PM

 19    the work was properly done, then we posted it                   3:19:37PM

 20    online.                                                         3:19:40PM

 21   BY MR. FEE:                                                      3:19:42PM

 22         Q     Now, for all the files that you posted               3:19:43PM

 23   online, where did you post these files?                          3:19:45PM

 24         A     On --                                                3:19:51PM

 25               MR. BRIDGES:     Objection, lacks foundation         3:19:52PM



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                                  JA571
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                             )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                           .6 2
  .    W d Z lW ]k [ Wd Z Wc X_ ]k ek i+                                         07 .6 72 0K H

  /                   OC @ RD OI @N N7     Jd GW m+ M[ ie kh Y[ +J h] +          07 .6 72 3K H

  0   = T HM + A@ @7                                                             07 .6 72 6K H

  1           L       ?_ Z oe k Wb ie fe ij ie c[ l[ hi _e d e\                  07 /- 7- .K H

  2   f b W _ dj _\ \i % ij Wd ZW hZ i ed Dd j[ hd [j <h Y^ _l [ Wj eh           07 /- 7- 3K H

  3   W h e k dZ j^ [ iW c[ j_ c[ Wi oe k fe ij [Z j^ [c ed j^ [                 07 /- 7. -K H

  4   K k X b _Y M[ ie kh Y[ m[ Xi _j [9                                         07 /- 7. /K H

  5                   HM + =M D? B@ N7     JX `[ Yj _e d) Wh ]k c[ dj Wj _l [)   07 /- 7. 2K H

  6    b W Ya i \e kd ZW j_ ed ) lW ]k [ Wd Z Wc X_ ]k ek i+                     07 /- 7. 4K H

 .-                   OC @ RD OI @N N7     <h [ m[ ij _b b jW ba _d ] WX ek j    07 /- 7. 6K H

 ..    N Q B Wd Z CO HG \_ b[ i9                                                 07 /- 7/ -K H

 ./   = T HM + A@ @7                                                             07 /- 7/ 0K H

 .0           L       Ie +     D% c Wi a_ d] W ce h[ ][ d[ hW b gk [i j_ ed      07 /- 7/ 0K H

 .1   de m+       D ** cW oX [ D i^ ek bZ jW a[ W ij [f XW Ya +                  07 /- 7/ 2K H

 .2                   CW l[ oe k Ye cf b[ j[ Z j^ [ ij eh o Wi je ^e m j^ [      07 /- 7/ 4K H

 .3   \ _ b [ i h[ Y[ _l [Z \h ec Ke _d j+ = Nj kZ _e i ]e \h ec Ke _d j+ =      07 /- 70 -K H

 .4   N j k Z _e i je Kk Xb _Y M[ ie kh Y[ je X[ _d ] fe ij [Z \e h j^ [         07 /- 70 0K H

 .5   f k X b _Y je l_ [m ed j^ [ m[ X+                                          07 /- 70 5K H

 .6                   HM + =M D? B@ N7     JX `[ Yj _e d) YW bb _d ] \e h W      07 /- 71 -K H

 /-    d W hh Wj _l [) lW ]k [ Wd Z Wc X_ ]k ek i) Wh ]k c[ dj Wj _l [)          07 /- 71 -K H

 /.    b W Ya i \e kd ZW j_ ed +                                                 07 /- 71 0K H

 //                   OC @ RD OI @N N7     O^ Wj mW i W ^_ ]^ *b [l [b           07 /- 71 1K H

 /0    e l [h l_ [m e\ j^ [ me ha \b em +                                        07 /- 71 2K H

 /1   = T HM + A@ @7                                                             07 /- 71 3K H

 /2           L       Ne Wj eh Wh ek dZ j^ [ j_ c[ j^ Wj Wd o e\ j^ [            07 /- 71 4K H



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                                      JA572
                         FFF%06A<D6=59A@BD<?;0@>A6?G%8@> H (&'+
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                           )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                           .6 3
  .   i j W d ZW hZ i) [_ j^ [h _d K? A \e hc eh CO HG m_ j^ NQ B eh             07 /- 72 /K H

  /   H W j ^ HG ) Wh [ fe ij [Z ed W Kk Xb _Y M[ ie kh Y[ m[ Xi _j [)           07 /- 72 3K H

  0   m e k b Z Kk Xb _Y M[ ie kh Y[ Wb ie fe ij ie c[ l[ hi _e d e\ j^ Wj       07 /- 72 6K H

  1   i j W d ZW hZ ed j^ [ Dd j[ hd [j <h Y^ _l [9                              07 /. 7- 0K H

  2                  HM + =M D? B@ N7   JX `[ Yj _e d) ^o fe j^ [j _Y Wb )       07 /. 7- 3K H

  3    b W Ya i \e kd ZW j_ ed ) lW ]k [ Wd Z Wc X_ ]k ek i+                     07 /. 7- 4K H

  4                  OC @ RD OI @N N7   Ne c[ e\ j^ [ K? A Ze Yk c[ dj i         07 /. 7. -K H

  5    m [ h[ WZ Z[ Z je co Dd j[ hd [j <h Y^ _l [ Ye bb [Y j_ ed +              07 /. 7. 0K H

  6   = T HM + A@ @7                                                             07 /. 7. 6K H

 .-          L       Ce m Ze oe k Z[ Y_ Z[ m^ _Y ^ e\ j^ [ K? A                  07 /. 7/ 1K H

 ..   Z e Y k c[ dj i Ye dj W_ d_ d] ij Wd ZW hZ i m[ h[ ed oe kh Dd j[ hd [j    07 /. 7/ 4K H

 ./   < h Y ^ _l [ Ye bb [Y j_ ed 9                                              07 /. 70 -K H

 .0                  HM + =M D? B@ N7   JX `[ Yj _e d) lW ]k [ Wd Z              07 /. 70 1K H

 .1    W c X_ ]k ek i+                                                           07 /. 70 1K H

 .2                  OC @ RD OI @N N7   D jh _[ Z je ][ j ce ij e\ j^ [          07 /. 70 2K H

 .3    e d [i j^ Wj m[ h[ K? A \_ b[ i j^ Wj m[ h[ ij Wd ZW hZ i                 07 /. 70 4K H

 .4    _ d Ye hf eh Wj [Z Xo h[ \[ h[ dY [ _d je j^ Wj ** j^ Wj                  07 /. 71 -K H

 .5    Y e bb [Y j_ ed +                                                         07 /. 71 /K H

 .6   = T HM + A@ @7                                                             07 /. 71 /K H

 /-          L       R^ o Z_ Z oe k ed bo fe ij K? A l[ hi _e di e\ j^ [         07 /. 71 0K H

 /.   i j W d ZW hZ i je j^ [ Dd j[ hd [j <h Y^ _l [9                            07 /. 71 4K H

 //                  HM + =M D? B@ N7   JX `[ Yj _e d) Wh ]k c[ dj Wj _l [)      07 /. 71 6K H

 /0    b W Ya i \e kd ZW j_ ed +                                                 07 /. 72 -K H

 /1                  OC @ RD OI @N N7   O^ [ Dd j[ hd [j <h Y^ _l [ Ze [i d% j   07 /. 72 .K H

 /2    ^ W l[ Wd CO HG l_ [m _d ] YW fW X_ b_ jo +                               07 /. 72 0K H



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                                        JA573
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                          )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                              /- 1
  .                               &M [Y [i i jW a[ d+ '                         .- 7 / 4 7 1 - < H

  /                   OC @ QD ?@ JB M< KC @M 7   R[ %h [ XW Ya ed j^ [           07 15 7- .K H

  0    h [ Ye hZ +    O^ [ j_ c[ _i 07 15 f+ c+           O^ _i cW ha i j^ [     07 15 7- /K H

  1    X [ ]_ dd _d ] e\ ?_ iY Ie + 0 _d j^ [ Z[ fe i_ j_ ed e\ >W hb            07 15 7- 4K H

  2    H W bW ck Z+                                                              07 15 7- 6K H

  3   = T HM + A@ @7                                                             07 15 7. -K H

  4          L        Hh + HW bW ck Z) X[ \e h[ oe k fe ij [Z Wd o Ye f_ [i      07 15 7. 1K H

  5   e \ j^ [ fb W_ dj _\ \i % ij Wd ZW hZ i Wj _i ik [ ed j^ [ Kk Xb _Y        07 15 7. 6K H

  6   M [ i e kh Y[ m[ Xi _j [) Z_ Z oe k eX jW _d j^ [ Ye di [d j e\ Wd o       07 15 7/ 0K H

 .-   e \ j^ [ fb W_ dj _\ \i 9                                                  07 15 7/ 4K H

 ..                   HM + =M D? B@ N7    JX `[ Yj _e d) Wh ]k c[ dj Wj _l [+    07 15 7/ 5K H

 ./                   OC @ RD OI @N N7    Ie +                                   07 15 70 /K H

 .0   = T HM + A@ @7                                                             07 15 70 /K H

 .1          L        ?_ Z oe k Wj j[ cf j je ][ j j^ [ Ye di [d j e\ Wd o       07 15 70 0K H

 .2   e \ j^ [ fb W_ dj _\ \i 9                                                  07 15 70 3K H

 .3                   HM + =M D? B@ N7    NW c[ eX `[ Yj _e di )                 07 15 70 5K H

 .4    W h ]k c[ dj Wj _l [) lW ]k [ Wd Z Wc X_ ]k ek i+                         07 15 70 5K H

 .5                   OC @ RD OI @N N7    D jW ba [Z je Wj b[ Wi j ed [ e\       07 15 71 -K H

 .6    j ^ [ fb W_ dj _\ \i ) IA K< +                                            07 15 71 0K H

 /-   = T HM + A@ @7                                                             07 15 71 2K H

 /.          L        ?_ Z oe k Wi a \e h IA K< %i f[ hc _i i_ ed je fe ij       07 15 71 2K H

 //   j ^ [ ij Wd ZW hZ i ed j^ [ m[ Xi _j [9                                    07 15 71 5K H

 /0                   HM + =M D? B@ N7    JX `[ Yj _e d) Wh ]k c[ dj Wj _l [+    07 15 72 .K H

 /1                   OC @ RD OI @N N7    R[ Z_ iY ki i[ Z Xh eW Z[ h            07 15 72 /K H

 /2    W l W_ bW X_ b_ jo e\ ij Wd ZW hZ i Wd Z j^ [ _i ik [i j^ Wj m[ h[        07 15 72 1K H



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                                      JA574
                         FFF%06A<D6=59A@BD<?;0@>A6?G%8@> H (&'+
     Case 1:13-cv-01215-TSC Document 118-12 Filed 11/19/15 Page 59 of 259
USCA Case #17-7039          06A<D6=
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                             )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                               /- 2
  .    _ d le bl [Z +                                                                07 15 72 3K H

  /   = T HM + A@ @7                                                                 07 15 72 4K H

  0           L          =k j oe k Ze d% j Ye dj [d Z j^ Wj IA K< Ye di [d j[ Z      07 15 72 4K H

  1   j e oe kh fe ij _d ] e\ j^ [ ij Wd ZW hZ i ed oe kh m[ Xi _j [)                07 15 72 6K H

  2   Y e h h [Y j9                                                                  07 16 7- 1K H

  3                      HM + =M D? B@ N7     JX `[ Yj _e d+   Oe j^ [ [n j[ dj _j   07 16 7- 2K H

  4    Y W bb i \e h W b[ ]W b Ye dY bk i_ ed eh fe i_ j_ ed _d j^ _i                07 16 7- 3K H

  5    b W mi k_ j) j^ Wj %i ]e _d ] je X[ Wj je hd [o ** j^ Wj %i                   07 16 7- 5K H

  6    ] e _d ] je X[ b[ ]W b ef _d _e d Wd Z Wj je hd [o *Y b_ [d j                 07 16 7. -K H

 .-    f h _l _b [] [Z Wd Z Wj je hd [o me ha fh eZ kY j+          D\ oe k mW dj     07 16 7. 2K H

 ..    j e Wi a m^ Wj Kk Xb _Y M[ ie kh Y[ %i fk Xb _Y ij Wj [c [d ji                07 16 7. 5K H

 ./    ^ W l[ X[ [d ek ji _Z [ j^ [ Ye dj [n j e\ j^ _i b_ j_ ]W j_ ed )             07 16 7/ .K H

 .0    \ [ [b \h [[ ) Xk j D% c ]e _d ] je _d ij hk Yj ^_ c de j je                  07 16 7/ 1K H

 .1    j W ba WX ek j m^ Wj j^ [ fe i_ j_ ed i Wh [ jW a[ d Xo j^ [                  07 16 7/ 4K H

 .2    Y e kd i[ b _d j^ [ bW mi k_ j+                                               07 16 70 -K H

 .3   = T HM + A@ @7                                                                 07 16 70 .K H

 .4           L          Te k% h[ _d ij hk Yj _d ] ^_ c de j Wd im [h m^ [j ^[ h     07 16 70 /K H

 .5   e h de j IA K< ]h Wd j[ Z Ye di [d j je j^ [ fe ij _d ] e\ j^ ei [             07 16 70 1K H

 .6   i j W d ZW hZ i ed Hh + HW bW ck Z% i m[ Xi _j [ ed j^ [ ]h ek dZ i e\         07 16 70 4K H

 /-   f h _ l _b [] [9                                                               07 16 71 .K H

 /.                      HM + =M D? B@ N7     D Ze d% j j^ _d a j^ Wj %i m^ Wj       07 16 71 .K H

 //    j ^ [ gk [i j_ ed ** cW oX [ D% c mh ed ]) Xk j Ye kb Z j^ [                  07 16 71 .K H

 /0    Y e kh j h[ fe hj [h fb [W i[ h[ h[ WZ j^ [ gk [i j_ ed 9                     07 16 71 /K H

 /1                      OC @ M@ KJ MO @M 7    Ja Wo +                               07 16 71 2K H

 /2                                    &O ^[ h[ fe hj [h h[ WZ j^ [ h[ Ye hZ         07 16 71 2K H



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                                         JA575
                            FFF%06A<D6=59A@BD<?;0@>A6?G%8@> H (&'+
     Case 1:13-cv-01215-TSC Document 118-12 Filed 11/19/15 Page 60 of 259
USCA Case #17-7039          06A<D6=
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                                )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

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  .                                       Wi h[ gk [i j[ Z+ '                              67 /. 7- 1< H

  /                      HM + =M D? B@ N7     J^ ) ea Wo +        <b b h_ ]^ j+            07 2- 7- 4K H

  0    D j %i ** _j %i Wh ]k c[ dj Wj _l [ Wd Z lW ]k [ Wd Z Wc X_ ]k ek i+                07 2- 7- 4K H

  1                      OC @ RD OI @N N7     Ie +                                         07 2- 7. /K H

  2                      HN + MP =@ G7      10 9                                           07 2. 7/ /K H

  3                      OC @ M@ KJ MO @M 7        10 +                                    07 2. 7/ 0K H

  4                 &@ n^ _X _j 10 cW ha [Z \e h _Z [d j_ \_ YW j_ ed +'                   07 2. 7/ 1K H

  5   = T HM + A@ @7                                                                       07 2. 7/ 3K H

  6             L        Hh + HW bW ck Z) D% c ]e _d ] je ^W dZ oe k m^ Wj %i              07 2. 7/ 3K H

 .-   X [ [ d cW ha [Z Wi @n ^_ X_ j 10 +                 Dj _i W if h[ WZ i^ [[ j+   Jd   07 2. 7/ 6K H

 ..   j ^ [ \_ hi j fW ][ _j ^W i ^[ WZ [h i e\ Ze md be WZ i)                             07 2. 70 3K H

 ./   _ Z [ d j_ \_ [h Wd Z j_ jb [+                                                       07 2. 70 5K H

 .0                      >W d oe k _Z [d j_ \o m^ Wj @n ^_ X_ j 10 _i 9                    07 2/ 7. 2K H

 .1             <        Ie +      R^ Wj _i j^ _i Ze Yk c[ dj 9                            07 2/ 7. 4K H

 .2             L        O^ _i _i W Ze Yk c[ dj j^ Wj mW i fh eZ kY [Z _d **               07 2/ 7. 6K H

 .3   X o oe kh ** oe kh Ye kd i[ b _d Ye dd [Y j_ ed m_ j^ j^ _i                          07 2/ 7. 6K H

 .4   YW i[ +                                                                              07 2/ 7/ /K H

 .5             <        Ja Wo +                                                           07 2/ 7/ /K H

 .6             L        Ne m^ Wj D ** D Ze d% j ad em m^ Wj j^ _i _i )                    07 2/ 7/ 1K H

 /-   e X l _ ek ib o) j^ Wj %i m^ o D% c Wi a_ d] ) Xk j _d j^ [                          07 2/ 70 -K H

 /.   b [ \ j *^ Wd Z Ye bk cd oe k i[ [ W h[ \[ h[ dY [ je Ze md be WZ i+                 07 2/ 70 0K H

 //   < j ie c[ fe _d j _d j_ c[ Z_ Z oe k jh o je Yh [W j[ W                              07 2/ 70 2K H

 /0   i f h [ WZ i^ [[ j j^ Wj _Z [d j_ \_ [Z j^ [ dk cX [h e\ Ze md be WZ i               07 2/ 70 6K H

 /1   e \ lW h_ ek i <N OH ij Wd ZW hZ i \h ec oe kh m[ Xi _j [9                           07 2/ 71 .K H

 /2             <        Te k ad em ) D Ze d% j h[ YW bb j^ _i Ze Yk c[ dj +               07 2/ 71 1K H



                                        ".,,# **. $ 1243
                                         JA576
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     Case 1:13-cv-01215-TSC Document 118-12 Filed 11/19/15 Page 61 of 259
USCA Case #17-7039          06A<D6=
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                                                    01/31/2018 Page 491 of 581
                         )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                           /- 4
  .   ? e oe k ^W l[ W ZW j[ 9                                                   07 2/ 72 5K H

  /          L      O^ _i _i j^ [ Ze Yk c[ dj Wi _j mW i fh eZ kY [Z +           07 20 7- -K H

  0   D j % i W ** _j mW i fh eZ kY [Z Wi Wd @n Y[ b if h[ WZ i^ [[ j            07 20 7- /K H

  1   m _ j ^ `k ij j^ _i ZW jW _d _j ) D X[ b_ [l [+         O^ [ =W j[ i       07 20 7- 3K H

  2   b W X [ b \e h j^ [ h[ Ye hZ _i KM J -- /0 /3 2+                           07 20 7- 5K H

  3          <      Ne m^ [d D i[ [ j^ [ me hZ "_ Z[ dj _\ _[ h) " j^ Wj         07 20 7. 4K H

  4   j [ b b i c[ j^ Wj j^ _i _i ZW jW eX jW _d [Z \h ec j^ [                   07 20 7/ .K H

  5   D d j [ hd [j <h Y^ _l [ i[ Wh Y^ [d ]_ d[ +                               07 20 7/ 0K H

  6          L      ?_ Z oe k Wj ie c[ fe _d j _d j_ c[ Wj j[ cf j je            07 20 7/ 6K H

 .-   Z [ j [ hc _d [ ^e m cW do Ze md be WZ i j^ [h [ m[ h[ \h ec j^ [          07 20 70 .K H

 ..   D d j [ hd [j <h Y^ _l [ m[ Xi _j [ e\ ij Wd ZW hZ i j^ Wj oe k ^W Z       07 20 70 2K H

 ./   f e i j [Z je j^ [ Dd j[ hd [j <h Y^ _l [ m[ Xi _j [9                      07 20 70 6K H

 .0                 HM + =M D? B@ N7    JX `[ Yj _e d) lW ]k [ Wd Z              07 20 71 .K H

 .1    W c X_ ]k ek i+                                                           07 20 71 .K H

 .2                 OC @ RD OI @N N7    T[ i) D Z_ Z+                            07 20 71 0K H

 .3   = T HM + A@ @7                                                             07 20 71 5K H

 .4          L      Di j^ Wj m^ Wj Z[ \[ dZ Wd j% i [n ^_ X_ j ** eh             07 20 71 5K H

 .5   m ^ W j @n ^_ X_ j 10 _i 9                                                 07 20 71 5K H

 .6                 HM + =M D? B@ N7    JX `[ Yj _e d) cW o YW bb \e h           07 20 72 .K H

 /-    i f [Y kb Wj _e d) Ye cf [j [d Y[ +                                       07 20 72 /K H

 /.                 OC @ RD OI @N N7    Dj me kb Z h[ gk _h [ if [Y kb Wj _e d   07 20 72 0K H

 //    e d co fW hj ) j^ Wj %i Y[ hj W_ d+      T[ i+                            07 20 72 2K H

 /0   = T HM + A@ @7                                                             07 20 72 4K H

 /1          L      <h [ oe k WX b[ je _Z [d j_ \o ^e m cW do j_ c[ i            07 21 72 6K H

 /2   W d o fW hj _Y kb Wh <N OH ij Wd ZW hZ j^ Wj oe k fe ij [Z je j^ [         07 22 7- /K H



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                                      JA577
                         FFF%06A<D6=59A@BD<?;0@>A6?G%8@> H (&'+
     Case 1:13-cv-01215-TSC Document 118-12 Filed 11/19/15 Page 62 of 259
USCA Case #17-7039          06A<D6=
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                          )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                              /- 5
  .   D d j [ hd [j <h Y^ _l [ ^W Z X[ [d Ze md be WZ [Z Xo _d Z_ l_ Zk Wb i        07 22 7- 2K H

  /   W j j^ [ Dd j[ hd [j <h Y^ _l [ m[ Xi _j [9                                   07 22 7- 6K H

  0                   HM + =M D? B@ N7   JX `[ Yj _e d) Ye cf [j [d Y[ ) YW bb i    07 22 7. 0K H

  1    \ e h if [Y kb Wj _e d) lW ]k [ Wd Z Wc X_ ]k ek i+                          07 22 7. 1K H

  2                   OC @ RD OI @N N7   D YW d hk d j^ [ WZ lW dY [Z               07 22 7. 5K H

  3    i [ Wh Y^ gk [h o Wd Z Wi a \e h j^ [ Ze md be WZ _Z [d j_ \_ [h             07 22 7. 6K H

  4    W d Z j_ jb [ \_ [b Zi \h ec j^ [ Dd j[ hd [j <h Y^ _l [+                    07 22 7/ /K H

  5   = T HM + A@ @7                                                                07 22 7/ 3K H

  6          L        <d Z oe k ^W Z Ze d[ j^ Wj X[ \e h[ _d Ye dd [Y j_ ed         07 22 7/ 4K H

 .-   m _ j ^ j^ _i cW jj [h 9                                                      07 22 7/ 6K H

 ..          <        T[ i+                                                         07 22 70 .K H

 ./          L        =k j oe k% h[ de j ik h[ _\ @n ^_ X_ j 10 _i j^ [             07 22 70 0K H

 .0   [ d Z h[ ik bj e\ j^ Wj i[ Wh Y^ 9                                            07 22 70 2K H

 .1          <        D ** D ^W l[ de _Z [W _\ j^ _i _i                             07 22 70 4K H

 .2   _ d j [ hc [Z _W j[ me ha fh eZ kY j) m^ Wj j^ [ ZW j[ _i +       D           07 22 70 6K H

 .3   Z e d % j ad em +                                                             07 22 71 /K H

 .4   = T HM + A@ @7                                                                07 22 72 /K H

 .5          L        D% c ]e _d ] je ^W dZ oe k W if h[ WZ i^ [[ j j^ Wj           07 22 72 /K H

 .6   m W i fh eZ kY [Z _d dW j_ l[ \e hc Wj Wi KM J -- 01 22 0- +          Dj %i   07 22 72 2K H

 /-   ] e _ d ] je X[ cW ha [Z Wi @n ^_ X_ j 11 +                                   07 23 7- 0K H

 /.              &@ n^ _X _j 11 cW ha [Z \e h _Z [d j_ \_ YW j_ ed +'               07 23 7- 6K H

 //

 /0   = T HM + A@ @7                                                                07 23 7- 6K H

 /1          L        >W d oe k _Z [d j_ \o @n ^_ X_ j 11 9                         07 23 71 5K H

 /2          <        O^ _i Wf f[ Wh i je X[ Wd _d _j _W b ij Wj i hk d ed          07 23 72 -K H



                                      ".,,# **. $ 1243
                                       JA578
                          FFF%06A<D6=59A@BD<?;0@>A6?G%8@> H (&'+
     Case 1:13-cv-01215-TSC Document 118-12 Filed 11/19/15 Page 63 of 259
USCA Case #17-7039          06A<D6=
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                                                    01/31/2018 Page 493 of 581
                         )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                          // 1
  .   W d CO HG l[ hi _e d j^ Wj mW i fh eZ kY [Z _d Ye d` kd Yj _e d           17 0. 70 3K H

  /   m _ j ^ CO > Wd Z ** Wd Z oe kh i[ b\ 8 _i j^ Wj Ye hh [Y j9              17 0. 71 -K H

  0                 HM + =M D? B@ N7   D\ ^[ %i Wi a_ d] WX ek j j^ [           17 0. 71 3K H

  1    m ^ eb [ Ze Yk c[ dj ) j^ [d cW a[ ik h[ j^ Wj oe k kd Z[ hi jW dZ       17 0. 71 4K H

  2    j ^ [ m^ eb [ Ze Yk c[ dj Wd Z Wd im [h j^ [ gk [i j_ ed +               17 0. 72 -K H

  3                 OC @ RD OI @N N7   P^ *^ k^ +   T[ i+                       17 0. 72 /K H

  4   = T HM + M@ CI 7                                                          17 0. 72 4K H

  5             L   <d Z ** Wd Z m^ [d ** Wd Z j^ [ ej ^[ h b_ da               17 0. 72 6K H

  6   m e k b Z ][ d[ hW bb o X[ W b_ da je W K? A) Wd Z ** Wd Z j^ [           17 0/ 7- .K H

 .-   m W o j^ Wj j^ Wj K? A mW i cW Z[ mW i oe k iY Wd d[ Z j^ [               17 0/ 7- 5K H

 ..   i j W d ZW hZ Wi _j mW i fk hY ^W i[ Z) hW d J> M Wd Z kf be WZ [Z        17 0/ 7. .K H

 ./   j ^ W j m_ j^ oe kh Ye l[ h fW ][ Wj jW Y^ [Z Wi m[ bb 9                  17 0/ 7. 3K H

 .0             <   T[ i+                                                       17 0/ 7. 6K H

 .1             L   <d Z j^ [ Ye l[ h fW ][ ^W i W h[ fh [i [d jW j_ ed         17 0/ 7. 6K H

 .2   j ^ [ i [ ij Wd ZW hZ i ^W l[ X[ [d _d Ye hf eh Wj [Z Xo h[ \[ h[ dY [8   17 0/ 7/ /K H

 .3   _ i j^ Wj h_ ]^ j9                                                        17 0/ 7/ 2K H

 .4             <   T[ i) i_ h+                                                 17 0/ 7/ 6K H

 .5             L   Ie m) m^ [d m[ i[ [ [n Wc fb [i e\ ij Wd ZW hZ i            17 0/ 70 -K H

 .6   m ^ [ h [ j^ [h [% i ed bo ed [ b_ da ) b_ a[ _\ oe k% bb jk hd je        17 0/ 70 1K H

 /-   j ^ [ i[ Ye dZ fW ][ e\ j^ _i Ze Yk c[ dj ) oe k% bb be ea ) \e h         17 0/ 70 4K H

 /.   [ n W c fb [) _d >e dd [Y j_ Yk j Wd Z oe k% bb i[ [ _d j^ [              17 0/ 71 -K H

 //   [ b [ Y jh _Y Wb Ye bk cd j^ [h [% i j^ [ I@ > /- -2 +   ?e oe k i[ [     17 0/ 71 0K H

 /0   j^ Wj 9                                                                   17 0/ 71 6K H

 /1             <   T[ i) D Ze +                                                17 0/ 71 6K H

 /2             L   Dd j^ Wj YW i[ ) Ze oe k ad em m^ _Y ^ ** Ze oe k           17 0/ 72 .K H



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                                      JA579
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     Case 1:13-cv-01215-TSC Document 118-12 Filed 11/19/15 Page 64 of 259
USCA Case #17-7039          06A<D6=
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                            )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                                /2 1
  .           L         Dd Yb kZ _d ] Ze md be WZ _d ] W Ye fo e\ j^ [                27 -1 7/ /K H

  /   i j W d ZW hZ i j^ Wj Wh [ b_ ij [Z ^[ h[ 9                                     27 -1 7/ 0K H

  0                     HM + =M D? B@ N7   JX `[ Yj _e d) bW Ya i \e kd ZW j_ ed )    27 -1 7/ 2K H

  1    W i ik c[ i \W Yj i de j _d [l _Z [d Y[ ) lW ]k [ Wd Z Wc X_ ]k ek i+          27 -1 7/ 3K H

  2                     OC @ RD OI @N N7   Te k YW d l_ [m j^ [ eX `[ Yj Wd Z)        27 -1 7/ 6K H

  3    o [ i) j^ [o Ze ^W l[ W Ze md be WZ Xk jj ed +                                 27 -1 70 0K H

  4   = T HM + M@ CI 7                                                                27 -1 70 3K H

  5           L         Ne oe k Ye kb Z) \e h [n Wc fb [) Ze md be WZ W Ye fo         27 -1 70 3K H

  6   j e oe kh Z[ ia je f ed oe kh Ye cf kj [h Wj ^e c[ 9                            27 -1 70 5K H

 .-                     HM + =M D? B@ N7   JX `[ Yj _e d) ^o fe j^ [j _Y Wb Wd Z      27 -1 71 .K H

 ..    W i ik c[ i \W Yj i de j _d [l _Z [d Y[ +                                      27 -1 71 2K H

 ./                     OC @ RD OI @N N7   T[ i+                                      27 -1 71 4K H

 .0   = T HM + M@ CI 7                                                                27 -1 71 4K H

 .1           L         D\ oe k YW d jW a[ W gk _Y a be ea Wj Wd ej ^[ h              27 -1 71 5K H

 .2   Z e Y k c[ dj +    D j^ _d a j^ _i m_ bb X[ Ie + 2- +       Ne hh o+            27 -1 72 /K H

 .3   R _ Z [ jW Xb [ ^[ h[ +                                                         27 -2 70 6K H

 .4               &@ n^ _X _j 2- cW ha [Z \e h _Z [d j_ \_ YW j_ ed +'               .. 7 0 . 7 / 3 < H

 .5   = T HM + M@ CI 7

 .6           L         <d Z @n ^_ X_ j 2- ^W i W Ye bk cd cW ha [Z                   27 -2 71 3K H

 /-   Z e m d be WZ i) j^ [d W Ye bk cd cW ha [Z _Z [d j_ \_ [h Wd Z W                27 -2 72 -K H

 /.   Y e b k cd cW ha [Z j_ jb [8 _i j^ Wj Ye hh [Y j+                               27 -2 72 0K H

 //                     HM + =M D? B@ N7   Te k% h[ Wi a_ d] WX ek j j^ [             27 -2 72 4K H

 /0    [ n ^_ X_ j fW f[ h _j i[ b\ ) D Wi ik c[ 9       Jj ^[ hm _i [) D% c          27 -2 72 6K H

 /1    e X `[ Yj _d ]+                                                                27 -3 7- 0K H

 /2                     OC @ RD OI @N N7   O^ Wj %i m^ Wj j^ _i f_ [Y [ e\            27 -3 7- 1K H



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                                        JA580
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     Case 1:13-cv-01215-TSC Document 118-12 Filed 11/19/15 Page 65 of 259
USCA Case #17-7039          06A<D6=
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                         )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                        /2 2
  .    f W f[ h iW oi ) o[ i+                                                 27 -3 7- 2K H

  /   = T HM + M@ CI 7                                                        27 -3 7- 3K H

  0          L       <d Z D YW d h[ fh [i [d j je oe k j^ Wj j^ _i _i W       27 -3 7- 4K H

  1   Z e Y k c[ dj j^ Wj Kk Xb _Y M[ ie kh Y[ fh eZ kY [Z je j^ [            27 -3 7- 6K H

  2   f b W _ dj _\ \i _d j^ _i b_ j_ ]W j_ ed +                              27 -3 7. /K H

  3                  HM + =M D? B@ N7     ?e oe k ^W l[ W =W j[ i dk cX [h    27 -3 7. 1K H

  4    e d j^ Wj ) i_ dY [ j^ _i Ze [i d% j9                                  27 -3 7. 2K H

  5                  HM + M@ CI 7    Ce bZ ed +    D [* cW _b [Z _j je        27 -3 7. 5K H

  6    F [ l_ d+   Dj %i j^ [ \_ hi j ed [ [* cW _b [Z je oe k je ZW o+       27 -3 7/ .K H

 .-    D j i^ ek bZ X[ b_ a[ ed [ fW ][ +                                     27 -3 72 0K H

 ..                  HM + A@ @7     KM J -- /0 /3 2/ ) /0 /3 2/ +             27 -4 7- /K H

 ./                  HM + =M D? B@ N7     O^ Wd a oe k+                       27 -4 7. 2K H

 .0   = T HM + M@ CI 7                                                        27 -4 7/ -K H

 .1          L       =k j ^W l[ oe k i[ [d j^ _i Ze Yk c[ dj X[ \e h[ 9       27 -4 7/ -K H

 .2          <       T[ i+                                                    27 -4 7/ 2K H

 .3          L       Te k ^W l[ i[ [d j^ _i Ze Yk c[ dj X[ \e h[ je ZW o9     27 -4 7/ 4K H

 .4          <       D ^W l[ i[ [d j^ [ ZW jW ed j^ _i Ze Yk c[ dj +          27 -4 70 1K H

 .5          L       <d Z m^ Wj %i oe kh kd Z[ hi jW dZ _d ] e\ m^ Wj j^ Wj   27 -4 70 4K H

 .6   Z W j W h[ fh [i [d ji 9                                                27 -4 71 -K H

 /-          <       Dj %i j^ [ h[ ik bj e\ Wd WZ lW dY [Z gk [h o ed         27 -4 71 /K H

 /.   j ^ [ i[ Wh Y^ _d j[ h\ WY [ \e h j^ [ Dd j[ hd [j <h Y^ _l [ m_ j^     27 -4 71 2K H

 //   j ^ h [ [ f_ [Y [i e\ ZW jW h[ jk hd [Z ) j^ [ dk cX [h e\              27 -4 71 5K H

 /0   Z e m d be WZ i) j^ [ _Z [d j_ \_ [h Wd Z j^ [ j_ jb [ e\ **            27 -4 72 -K H

 /1                  OC @ M@ KJ MO @M 7    D% c ie hh o+   O^ [ j^ h[ [       27 -4 72 -K H

 /2    f _ [Y [i e\ ZW jW h[ jk hd [Z ++ +                                    27 -4 72 -K H



                                     ".,,# **. $ 1243
                                      JA581
                         FFF%06A<D6=59A@BD<?;0@>A6?G%8@> H (&'+
     Case 1:13-cv-01215-TSC Document 118-12 Filed 11/19/15 Page 66 of 259
USCA Case #17-7039          06A<D6=
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                                                    01/31/2018 Page 496 of 581
                              )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                              /2 3
  .                   OC @ RD OI @N N7     R^ _Y ^ _d Yb kZ [ j^ [ Ze md be WZ i)   27 -4 72 2K H

  /    j ^ [ _Z [d j_ \_ [h Wd Z j^ [ j_ jb [+                                      27 -4 72 2K H

  0                   OC @ M@ KJ MO @M 7    O^ Wd a oe k+                           27 -4 72 5K H

  1   = T HM + M@ CI 7                                                              27 -4 72 6K H

  2           L       ?_ Z oe k hk d j^ Wj gk [h o9                                 27 -5 7- /K H

  3           <       T[ i+                                                         27 -5 7- 0K H

  4           L       Oe fh eZ kY [ j^ _i ZW jW 9                                   27 -5 7- 1K H

  5           <       T[ i+                                                         27 -5 7- 3K H

  6           L       ?e oe k h[ c[ cX [h m^ [d oe k hW d j^ Wj gk [h o9            27 -5 7- 3K H

 .-           <       Ie +                                                          27 -5 7- 6K H

 ..           L       >e kb Z oe k ]_ l[ c[ W ** mW i _j i_ n ce dj ^i              27 -5 7. -K H

 ./   W ] e ) W o[ Wh W] e9         ?e oe k ^W l[ Wd o he k] ^ XW bb fW ha          27 -5 7. 1K H

 .0   h [ Y e bb [Y j_ ed 9                                                         27 -5 7. 5K H

 .1           <       EW dk Wh o /- .1 _i co he k] ^ h[ Ye bb [Y j_ ed +            27 -5 7/ -K H

 .2           L       Ne W b_ jj b[ el [h W o[ Wh W] e9                             27 -5 7/ 1K H

 .3           <       >e hh [Y j+                                                   27 -5 7/ 3K H

 .4           L       <d Z oe kh kd Z[ hi jW dZ _d ] _i j^ Wj Wi e\ j^ Wj           27 -5 7/ 4K H

 .5   Z W j [ ) j^ _i h[ fh [i [d ji j^ [ dk cX [h e\ j_ c[ i [W Y^ e\              27 -5 7/ 6K H

 .6   j ^ [ i [ ij Wd ZW hZ i ^W l[ X[ [d Ze md be WZ [Z ed j^ [ Dd j[ hd [j        27 -5 70 /K H

 /-   < h Y ^ _l [ m[ Xi _j [9                                                      27 -5 70 1K H

 /.                   HM + =M D? B@ N7     JX `[ Yj _e d) cW o YW bb                27 -5 70 6K H

 //    i f [Y kb Wj _e d) Wi ik c[ i \W Yj i de j _d [l _Z [d Y[ ) bW Ya i          27 -5 71 .K H

 /0    \ e kd ZW j_ ed +                                                            27 -5 71 /K H

 /1                   OC @ RD OI @N N7     ?e md be WZ _i W l[ ho _c fh [Y _i [     27 -5 71 0K H

 /2    j [ hc +    Dj %i ** _j %i m^ Wj j^ [ Dd j[ hd [j <h Y^ _l [ iW oi           27 -5 71 2K H



                                       ".,,# **. $ 1243
                                        JA582
                           FFF%06A<D6=59A@BD<?;0@>A6?G%8@> H (&'+
     Case 1:13-cv-01215-TSC Document 118-12 Filed 11/19/15 Page 67 of 259
USCA Case #17-7039          06A<D6=
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                            )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                            /3 5
  .   ^ e m _j mW i jo f[ Z _d **                                                 27 // 72 /K H

  /                     OC @ M@ KJ MO @M 7    ** _d j^ [ jh Wd iY h_ fj _e d+     27 // 72 /K H

  0                     HM + M@ CI 7   D% bb `k ij h[ f[ Wj j^ [ gk [i j_ ed +    27 // 72 5K H

  1   = T HM + M@ CI 7                                                            27 // 72 6K H

  2          L          =[ jm [[ d ** ed Me mi / j^ he k] ^ /1 _d j^ [            27 // 72 6K H

  3   _ Z [ d j_ \_ [h Ye bk cd ) [W Y^ _Z [d j_ \_ [h X[ ]_ di                   27 /0 7- .K H

  4   ] e l + bW m+ d\ fW Wd Z _i \e bb em [Z Xo j^ [ dk cX [h e\ j^ [            27 /0 7- 1K H

  5   i j W d ZW hZ 8 _i j^ Wj Ye hh [Y j9                                        27 /0 7. /K H

  6                     HM + =M D? B@ N7     Te k% h[ jW ba _d ] WX ek j j^ [     27 /0 7. 0K H

 .-    Z e Yk c[ dj 9     D% bb ** D% bb eX `[ Yj je j^ [ [n j[ dj j^ Wj          27 /0 7. 2K H

 ..    o e k% h[ Wi a_ d] W gk [i j_ ed X[ oe dZ m^ Wj _i ij Wj [Z ed             27 /0 7. 3K H

 ./    j ^ _i Ze Yk c[ dj +                                                       27 /0 7/ -K H

 .0                     OC @ RD OI @N N7     Dj _i Me mi / j^ he k] ^ /2 ) de j   27 /0 7/ 0K H

 .1    M e mi / j^ he k] ^ /1 ) Wd Z ie c[ e\ j^ [ _Z [d j_ \_ [h i ^W l[         27 /0 7/ 3K H

 .2    W dk cX [h Wd Z ie c[ iW o I@ >+                                           27 /0 70 /K H

 .3   = T HM + M@ CI 7                                                            27 /0 70 3K H

 .4          L          M_ ]^ j+   Ne ) \e h [n Wc fb [) _d Me m ./ _j            27 /0 70 4K H

 .5   i W o i ) ]e l+ bW m+ d\ fW +I @> +/ -. .+                                  27 /0 71 -K H

 .6          <          O^ Wj _i ) _d \W Yj ) m^ Wj _j iW oi +                    27 /0 71 4K H

 /-          L          <d Z j^ [d ed Me m /3 ) m^ Wj Ze [i j^ [                  27 /0 72 -K H

 /.   _ Z [ d j_ \_ [h iW o j^ [h [9                                              27 /0 72 /K H

 //                     HM + =M D? B@ N7     =o j^ [ mW o) eX `[ Yj _e d) bW Ya   27 /0 72 6K H

 /0    e \ \e kd ZW j_ ed ) Wi ik c[ i \W Yj i de j _d [l _Z [d Y[ ) lW ]k [      27 /1 7- -K H

 /1    W d Z Wc X_ ]k ek i+                                                       27 /1 7- /K H

 /2                     OC @ RD OI @N N7     Dj iW oi ) IA K< +I @> +/ -. 1+      27 /1 7- 1K H



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                                        JA583
                           FFF%06A<D6=59A@BD<?;0@>A6?G%8@> H (&'+
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USCA Case #17-7039          06A<D6=
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                                                    01/31/2018 Page 498 of 581
                            )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                               /3 6
  .   = T HM + M@ CI 7                                                               27 /1 7- 6K H

  /           L         <d Z _i _j oe kh kd Z[ hi jW dZ _d ] j^ Wj _i j^ [           27 /1 7. -K H

  0   _ Z [ d j_ \_ [h oe k ki [Z m^ [d oe k kf be WZ [Z j^ Wj                       27 /1 7. -K H

  1   f W h j _Y kb Wh Ze Yk c[ dj je j^ [ Dd j[ hd [j <h Y^ _l [ m[ Xi _j [9        27 /1 7. 0K H

  2                     HM + =M D? B@ N7   JX `[ Yj _e d) bW Ya i \e kd ZW j_ ed )   27 /1 7. 3K H

  3    W i ik c[ i \W Yj i de j _d [l _Z [d Y[ Wd Z Wh ]k c[ dj Wj _l [)             27 /1 7. 4K H

  4    l W ]k [ Wd Z Wc X_ ]k ek i+                                                  27 /1 7/ .K H

  5                     OC @ RD OI @N N7   Dj Wf fW h[ dj bo _i +                    27 /1 70 -K H

  6   = T HM + M@ CI 7                                                               27 /1 70 /K H

 .-           L         D% Z _d l_ j[ oe k `k ij je iY he bb j^ he k] ^ j^ _i        27 /1 70 /K H

 ..   Z e Y k c[ dj +    <h [ j^ [h [ Wd o ej ^[ h ij Wd ZW hZ i b_ ij [Z _d         27 /1 70 3K H

 ./   j ^ _ i Ze Yk c[ dj j^ Wj Ze de j X[ ]_ d ]e l+ bW m9                          27 /1 70 5K H

 .0                     HM + =M D? B@ N7   D% c ie hh o+    >W d oe k ** YW d D      27 /2 7- /K H

 .1    ^ W l[ j^ [ Ye kh j h[ fe hj [h h[ f[ Wj j^ [ gk [i j_ ed 9                   27 /2 7- /K H

 .2                                  &O ^[ h[ fe hj [h h[ WZ j^ [ h[ Ye hZ           27 /2 7- /K H

 .3                                   Wi h[ gk [i j[ Z+ '                            67 /. 7- 1< H

 .4                     HM + =M D? B@ N7   JX `[ Yj _e d) c_ ib [W Z_ d] ) bW Ya i   27 /2 7- 0K H

 .5    \ e kd ZW j_ ed ) c_ iY ^W hW Yj [h _p [i j[ ij _c ed o) D j^ _d a+           27 /2 7- 2K H

 .6    < d Z _\ _j fh [i kc [i je X[ XW i[ Z ed [W hb _[ h                           27 /2 7- 6K H

 /-    j [ ij _c ed o) Wh ]k c[ dj Wj _l [ Wd Z lW ]k [ Wd Z Wc X_ ]k ek i+          27 /2 7. 1K H

 /.                     OC @ RD OI @N N7   <b b e\ j^ [ _Z [d j_ \_ [h i _d          27 /2 7. 6K H

 //    > e bk cd <) m_ j^ j^ [ [n Y[ fj _e d e\ Me m /3 ) X[ ]_ d m_ j^              27 /2 7/ .K H

 /0    ] e l+ bW m+                                                                  27 /2 7/ 2K H

 /1   = T HM + M@ CI 7                                                               27 /2 7/ 6K H

 /2           L         Ne Ze oe k ad em m^ o oe k f_ Ya [Z W Z_ \\ [h [d j          27 /2 7/ 6K H



                                       ".,,# **. $ 1243
                                        JA584
                           FFF%06A<D6=59A@BD<?;0@>A6?G%8@> H (&'+
     Case 1:13-cv-01215-TSC Document 118-12 Filed 11/19/15 Page 69 of 259
USCA Case #17-7039          06A<D6=
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                          )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                              /4 .
  .                              &M [Y [i i jW a[ d+ '                          .- 7 / 4 7 1 - < H

  /                   OC @ QD ?@ JB M< KC @M 7   R[ %h [ XW Ya ed j^ [           27 1- 7. 6K H

  0    h [ Ye hZ +    O^ [ j_ c[ _i 27 1. f+ c+          O^ _i cW ha i j^ [      27 1- 7/ 0K H

  1    X [ ]_ dd _d ] e\ ?_ iY Ie + 1 _d j^ [ Z[ fe i_ j_ ed e\ >W hb            27 1- 7/ 4K H

  2    H W bW ck Z+                                                              27 1- 70 -K H

  3   = T HM + M@ CI 7                                                           27 1- 70 .K H

  4           L       >e kb Z D `k ij Wi a oe k je Yb Wh _\ o W] W_ d m^ Wj      27 1- 70 .K H

  5   o e k h kd Z[ hi jW dZ _d ] e\ j^ [ me hZ "W YY [i i" _i ** _i ) Wi        27 1- 70 1K H

  6   m [ % l [ X[ [d Z_ iY ki i_ d] _j 9                                        27 1- 70 5K H

 .-                   HM + =M D? B@ N7   JX `[ Yj _e d je j^ [ [n j[ dj _j %i    27 1- 71 .K H

 ..    d e j _d j^ [ Ye dj [n j e\ W fW hj _Y kb Wh gk [i j_ ed ) lW ]k [        27 1- 71 /K H

 ./    W d Z Wc X_ ]k ek i) bW Ya i \e kd ZW j_ ed +                             27 1- 71 3K H

 .0                   OC @ RD OI @N N7   D YW d j[ bb oe k m^ Wj WY Y[ ii        27 1- 71 5K H

 .1    c [ Wd i _d j^ [ Ye dj [n j e\ j^ [ m[ X i[ hl [h j^ Wj D                 27 1- 72 -K H

 .2    e f [h Wj [+                                                              27 1- 72 /K H

 .3   = T HM + M@ CI 7                                                           27 1- 72 0K H

 .4           L       Nk h[ +                                                    27 1- 72 0K H

 .5           <       <Y Y[ ii _i Wd CO OK B@ O h[ gk [i j \h ec W               27 1- 72 2K H

 .6   Y b _ [ dj ) B* @* O) m^ _Y ^ h[ jk hd i ZW jW ik YY [i i\ kb bo j^ Wj     27 1. 7- .K H

 /-   j ^ [ Yb _[ dj ^W Z Wi a[ Z \e h+                                          27 1. 7- 5K H

 /.           L       Ne _j c[ Wd i j^ Wj ** m^ [d oe k iW o "Y b_ [d j) "       27 1. 7. .K H

 //   o e k c[ Wd ie c[ Xe Zo m^ e _i ki _d ] oe kh m[ Xi _j [)                  27 1. 7. 1K H

 /0   i e c [ Xe Zo m^ e _i ed j^ [ Dd j[ hd [j Wd Z ]e [i je oe kh              27 1. 7. 3K H

 /1   m [ X i _j [9   Di j^ Wj m^ Wj oe k c[ Wd Xo j^ [ me hZ "Y b_ [d j"        27 1. 7. 6K H

 /2   _ d j^ Wj **                                                               27 1. 7/ 0K H



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                                      JA585
                         FFF%06A<D6=59A@BD<?;0@>A6?G%8@> H (&'+
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USCA Case #17-7039          06A<D6=
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                                                    01/31/2018 Page 500 of 581
                               )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                               /4 /
  .                     HM + =M D? B@ N7   JX `[ Yj _e d) bW Ya i \e kd ZW j_ ed +   27 1. 7/ 1K H

  /                     OC @ RD OI @N N7   D c[ Wd Wd ej ^[ h Ye cf kj [h ed         27 1. 7/ 3K H

  0    j ^ [ Dd j[ hd [j j^ Wj Ye dj WY ji j^ [ CO OK i[ hl [h ed co                 27 1. 7/ 4K H

  1    Y e cf kj [h +                                                                27 1. 70 .K H

  2   = T HM + M@ CI 7                                                               27 1. 70 /K H

  3          L          Ne m^ [d j^ Wj ej ^[ h Ye cf kj [h h[ Y[ _l [i               27 1. 70 /K H

  4   _ d \ e hc Wj _e d \h ec oe kh i[ hl [h j^ Wj j^ [o %l [ h[ gk [i j[ Z)        27 1. 70 2K H

  5   j ^ W j %i Wd WY Y[ ii 9                                                       27 1. 70 5K H

  6          <          O^ [ mW o D Ye kd j WY Y[ ii [i _i D be ea \e h W            27 1. 71 /K H

 .-   i j W j ki Ye Z[ /- -) m^ _Y ^ _i W Ye cf b[ j[ jh Wd i\ [h e\ j^ [            27 1. 71 3K H

 ..   h [ g k [i j[ Z \_ b[ ) eh W i[ h_ [i e\ WY Y[ ii Ye Z[ i /- 3)                27 1. 72 .K H

 ./   m ^ _ Y ^ Wh [ fW hj _W b jh Wd i\ [h i Wi ki [Z ed ) \e h [n Wc fb [)         27 1. 72 4K H

 .0   W c e X_ b[ f^ ed [ j^ Wj ][ ji W f_ [Y [ e\ W Ze Yk c[ dj ) j^ [d             27 1/ 7- .K H

 .1   W d e j ^[ h f_ [Y [) j^ [d Wd ej ^[ h f_ [Y [+                                27 1/ 7- 2K H

 .2          L          <d Z m^ [d oe k ^W l[ j^ [ i[ h_ [i e\ jh Wd i\ [h i)        27 1/ 7- 5K H

 .3   o e k ed bo Ye kd j _j Wi Wd WY Y[ ii _\ j^ [o ik c je j^ [                    27 1/ 7. -K H

 .4   [ d j _ h[ Ze Yk c[ dj 9                                                       27 1/ 7. 1K H

 .5          <          Ie +                                                         27 1/ 7. 2K H

 .6                     HM + =M D? B@ N7   JX `[ Yj _e d) c_ iY ^W hW Yj [h _p [i    27 1/ 7. 4K H

 /-    ^ _ i j[ ij _c ed o+                                                          27 1/ 7. 6K H

 /.                     OC @ RD OI @N N7   O^ [ mW o D Ye kd j _j _i l[ ho           27 1/ 7/ -K H

 //    i f [Y _\ _Y +     Dj _i j^ [ dk cX [h e\ /- - eh /- 3 ij Wj ki               27 1/ 7/ 4K H

 /0    Y e Z[ i Xo W kd _g k[ DK WZ Zh [i i je W kd _g k[ Ze Yk c[ dj                27 1/ 70 .K H

 /1    m _ j^ _d W ]_ l[ d ^e kh +                                                   27 1/ 70 2K H

 /2   = T HM + M@ CI 7                                                               27 1/ 71 2K H



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                                        JA586
                           FFF%06A<D6=59A@BD<?;0@>A6?G%8@> H (&'+
     Case 1:13-cv-01215-TSC Document 118-12 Filed 11/19/15 Page 71 of 259
USCA Case #17-7039          06A<D6=
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                          )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                             /4 1
  .                   HM + =M D? B@ N7   JX `[ Yj _e d) bW Ya i \e kd ZW j_ ed )   27 10 71 5K H

  /    l W ]k [ Wd Z Wc X_ ]k ek i+                                                27 10 71 6K H

  0                   OC @ RD OI @N N7   D ad em j^ Wj ie c[ f[ ef b[              27 10 72 -K H

  1    Y e kd j kd _g k[ WY Y[ ii [i el [h W /1 *^ ek h f[ h_ eZ ) de j W          27 10 72 .K H

  2    e d [* ^e kh f[ h_ eZ ) ie D j^ _d a D% c WY jk Wb bo X[ _d ] ce h[         27 10 72 3K H

  3    Y e di [h lW j_ l[ +                                                        27 10 72 5K H

  4   = T HM + M@ CI 7                                                             27 11 7- -K H

  5          L        <d Z Ze oe k ** _i _j oe kh kd Z[ hi jW dZ _d ]              27 11 7- -K H

  6   j ^ W j j^ [ Dd j[ hd [j <h Y^ _l [% i c[ j^ eZ \e h Ye kd j_ d]             27 11 7- .K H

 .-   W Y Y [ ii [i _i i_ c_ bW h je m^ Wj oe k% l[ Z[ iY h_ X[ Z9                 27 11 7- 2K H

 ..                   HM + =M D? B@ N7   JX `[ Yj _e d) Ye cf [j [d Y[ ) bW Ya i   27 11 7- 6K H

 ./    \ e kd ZW j_ ed ) cW o YW bb \e h if [Y kb Wj _e d) lW ]k [ Wd Z            27 11 7- 6K H

 .0    W c X_ ]k ek i+                                                             27 11 7- 6K H

 .1                   OC @ RD OI @N N7   Ho kd Z[ hi jW dZ _d ] _i j^ Wj           27 11 7. 0K H

 .2    j ^ [o Ye kd j el [h W /1 *^ ek h f[ h_ eZ +                                27 11 7. 1K H

 .3   = T HM + M@ CI 7                                                             27 11 7. 3K H

 .4          L        D% c ]e _d ] je ^W dZ oe k m^ Wj m[ %h [ cW ha _d ]          27 11 7. 3K H

 .5   W i @n ^_ X_ j Ie + 2/ +                                                     27 11 7/ 6K H

 .6              &@ n^ _X _j 2/ cW ha [Z \e h _Z [d j_ \_ YW j_ ed +'              27 11 72 6K H

 /-   = T HM + M@ CI 7                                                             27 11 72 6K H

 /.          L        ?e oe k h[ Ye ]d _p [ j^ _i Ze Yk c[ dj 9                    27 11 72 6K H

 //          <        D Y[ hj W_ db o Z_ Z de j fh eZ kY [ _j +                    27 12 7- -K H

 /0          L        ?e oe k h[ Ye ]d _p [ m^ Wj _j _i 9                          27 12 7- 0K H

 /1                   HM + =M D? B@ N7   JX `[ Yj _e d) bW Ya i \e kd ZW j_ ed )   27 12 7- 2K H

 /2    l W ]k [ Wd Z Wc X_ ]k ek i+                                                27 12 7- 2K H



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                                      JA587
                         FFF%06A<D6=59A@BD<?;0@>A6?G%8@> H (&'+
     Case 1:13-cv-01215-TSC Document 118-12 Filed 11/19/15 Page 72 of 259
USCA Case #17-7039          06A<D6=
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                           )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                          /4 2
  .                   OC @ RD OI @N N7    Dj %i fe ii _X b[ _j %i W iY h[ [d    27 12 7- 4K H

  /    Z k cf \h ec j^ [ Dd j[ hd [j <h Y^ _l [+                                27 12 7. -K H

  0   = T HM + M@ CI 7                                                          27 12 7. 0K H

  1           L       R^ Wj Ze oe k c[ Wd Xo "i Yh [[ d Zk cf "9                27 12 7. 0K H

  2           <       Dj be ea i b_ a[ ie c[ Xe Zo WY Y[ ii [Z W ** W PM G      27 12 7. 5K H

  3   W d Z ^_ j j^ [ fh _d j Ye cc Wd Z _d j^ _i YW i[ +                       27 12 7/ /K H

  4           L       Ne Ze [i ** Ze [i j^ _i Wf f[ Wh je X[ j^ [ PM G          27 12 7/ 2K H

  5   m ^ [ h [ j^ [ /- .. IW j_ ed Wb @b [Y jh _Y Wb >e Z[ _i ed j^ [          27 12 7/ 5K H

  6   D d j [ hd [j <h Y^ _l [9                                                 27 12 70 /K H

 .-           <       T[ i+                                                     27 12 70 3K H

 ..           L       <d Z D YW d h[ fh [i [d j je oe k **                      27 12 70 4K H

 ./                   HM + =M D? B@ N7    D% c ie hh o+   D d[ [Z ce h[ j_ c[   27 12 70 6K H

 .0    j e eX `[ Yj +      D Wc ]e _d ] je eX `[ Yj ed j^ [ XW i_ i e\          27 12 70 6K H

 .1    l W ]k [ Wd Z Wc X_ ]k ek i+                                             27 12 71 .K H

 .2   = T HM + M@ CI 7                                                          27 12 71 2K H

 .3           L       R[ bb ) D YW d h[ fh [i [d j je oe k j^ Wj oe k ]e j      27 12 71 3K H

 .4   _ j h_ ]^ j+      O^ _i _i j^ [ Dd j[ hd [j <h Y^ _l [ fW ][ m^ [h [      27 12 71 4K H

 .5   j ^ [ /- .. IW j_ ed Wb @b [Y jh _Y Wb >e Z[ _i Wl W_ bW Xb [+      Dj    27 12 72 .K H

 .6   m W i WY Y[ ii [Z o[ ij [h ZW o Wj .. 70 2 W+ c+      <d Z j^ [h [% i W   27 12 72 1K H

 /-   X e n a_ dZ e\ _d j^ [ Y[ dj [h e\ j^ [ fW ][ ) Wd Z _d j^ Wj             27 13 7- 0K H

 /.   X e n m[ YW d i[ [ W ** W ]h Wf ^_ Y j^ Wj iW oi ) "d ej _Y [ e\          27 13 7- 4K H

 //   _ d Y e hf eh Wj _e d+ "    ?e oe k i[ [ j^ Wj 9                          27 13 7. -K H

 /0           <       T[ i) D Ze +                                              27 13 7. 0K H

 /1           L       <d Z Ze oe k h[ Ye ]d _p [ m^ Wj j^ Wj _i 9               27 13 7. 1K H

 /2           <       Dj be ea i b_ a[ co ij Wd ZW hZ Ye l[ h fW ][ \e h        27 13 7. 6K H



                                      ".,,# **. $ 1243
                                       JA588
                          FFF%06A<D6=59A@BD<?;0@>A6?G%8@> H (&'+
     Case 1:13-cv-01215-TSC Document 118-12 Filed 11/19/15 Page 73 of 259
USCA Case #17-7039          06A<D6=
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                                                    01/31/2018 Page 503 of 581
                         )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                         /4 4
  .                  OC @ RD OI @N N7    O^ [o YW d WY Y[ ii j^ _i             27 14 7/ 6K H

  /    Z e Yk c[ dj _d W lW h_ [j o e\ \e hc Wj i+                             27 14 70 -K H

  0   = T HM + M@ CI 7                                                         27 14 70 0K H

  1          L       <d Z Xo "W YY [i i) " j^ Wj me kb Z [d Ye cf Wi i j^ [    27 14 70 0K H

  2   f e i i _X _b _j o e\ Ze md be WZ _d ] W Ye fo e\ j^ [ ij Wd ZW hZ je    27 14 70 3K H

  3   j ^ [ _ h em d Ye cf kj [h 9                                             27 14 71 -K H

  4                  HM + =M D? B@ N7    JX `[ Yj _e d) Wh ]k c[ dj Wj _l [)   27 14 71 .K H

  5    b W Ya i \e kd ZW j_ ed ) Wi ik c[ i \W Yj i de j _d [l _Z [d Y[ )      27 14 71 /K H

  6    l W ]k [ Wd Z Wc X_ ]k ek i+                                            27 14 71 1K H

 .-                  OC @ RD OI @N N7    "? em db eW Z" _i i_ cf bo de j W     27 14 71 3K H

 ..    j [ hc j^ Wj ** _j %i `k ij de j W l[ ho fh [Y _i [ j[ hc +             27 14 71 6K H

 ./    " < YY [i i" _i j^ [ j[ hc j^ Wj D kd Z[ hi jW dZ Wd Z _j %i            27 14 72 /K H

 .0    m ^ [d W Ye cf kj [h ed j^ [ Dd j[ hd [j WY Y[ ii [i Wd CO OK           27 14 72 1K H

 .1    i [ hl [h ed j^ [ Dd j[ hd [j +                                         27 14 72 4K H

 .2   = T HM + M@ CI 7                                                         27 14 72 6K H

 .3          L       Ja Wo +   Di _j oe kh kd Z[ hi jW dZ _d ] j^ Wj W         27 14 72 6K H

 .4   k i [ h e\ W Ye cf kj [h ed j^ [ Dd j[ hd [j YW d ]e je j^ _i            27 15 7- /K H

 .5   m [ X fW ][ Wd Z eX jW _d W K? A l[ hi _e d e\ j^ _i Ze Yk c[ dj )       27 15 7- 2K H

 .6   i W l [ _j je j^ [_ h Z[ ia je f) \h ec m^ _Y ^ j^ [o YW d j^ [d         27 15 7. -K H

 /-   k i [ _j Wi j^ [o i[ [ \_ j) m_ j^ ek j [l [d X[ _d ] Ye dd [Y j[ Z      27 15 7. 3K H

 /.   j e j^ [ Dd j[ hd [j _d j^ [ \k jk h[ 9                                  27 15 7/ .K H

 //                  HM + =M D? B@ N7    GW Ya i \e kd ZW j_ ed ) Wi ik c[ i   27 15 7/ 0K H

 /0    \ W Yj i de j _d [l _Z [d Y[ ) lW ]k [ Wd Z Wc X_ ]k ek i)              27 15 7/ 1K H

 /1    ^ o fe j^ [j _Y Wb +                                                    27 15 7/ 2K H

 /2                  OC @ RD OI @N N7    <h [ ** Wh [ oe k Wi a_ d]            27 15 70 -K H



                                     ".,,# **. $ 1243
                                      JA589
                         FFF%06A<D6=59A@BD<?;0@>A6?G%8@> H (&'+
     Case 1:13-cv-01215-TSC Document 118-12 Filed 11/19/15 Page 74 of 259
USCA Case #17-7039          06A<D6=
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                         )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                           /4 5
  .    m ^ [j ^[ h j^ Wj YW fW X_ b_ jo _i fe ii _X b[ 9                         27 15 70 .K H

  /   = T HM + M@ CI 7                                                           27 15 70 1K H

  0             L   T[ i) ki _d ] j^ [i [ b_ da i ^[ h[ +                        27 15 70 1K H

  1                 HM + =M D? B@ N7   JX `[ Yj _e d) cW o YW bb \e h            27 15 70 5K H

  2    i f [Y kb Wj _e d) cW o bW Ya ad em b[ Z] [+                              27 15 70 6K H

  3                 OC @ RD OI @N N7   Dj %i j^ [e h[ j_ YW bb o fe ii _X b[ )   27 15 71 /K H

  4    o [ i+                                                                    27 15 71 1K H

  5   = T HM + M@ CI 7                                                           27 15 71 2K H

  6             L   Ne ** ie ** Wd Z j^ Wj iW c[ ki [h ) ^W l_ d]                27 15 71 2K H

 .-   j ^ W j ** W Ye fo e\ j^ Wj Ze Yk c[ dj iW l[ Z ed j^ [_ h                 27 15 71 4K H

 ..   Z [ i a je f) Ye kb Z) iW o) fh _d j W Ye fo e\ j^ Wj Ze Yk c[ dj          27 15 72 -K H

 ./   _ \ j^ [o ^W l[ W fh _d j[ h Wj jW Y^ [Z je j^ [_ h Ye cf kj [h 9          27 15 72 1K H

 .0                 HM + =M D? B@ N7   JX `[ Yj _e d) ^o fe j^ [j _Y Wb )        27 15 72 6K H

 .1    b W Ya i \e kd ZW j_ ed ) Wi ik c[ i \W Yj i de j _d [l _Z [d Y[ )        27 15 72 6K H

 .2    l W ]k [ Wd Z Wc X_ ]k ek i+                                              27 16 7- -K H

 .3                 OC @ RD OI @N N7   Jd ** ed ie c[ Ye cf kj [h i)             27 16 7- 1K H

 .4    o [ i+                                                                    27 16 7- 1K H

 .5   = T HM + M@ CI 7                                                           27 16 7- 3K H

 .6             L   <d Z ed j^ ei [ Ye cf kj [h i \h ec m^ _Y ^ f[ ef b[         27 16 7- 3K H

 /-   Y W d fh _d j K? Ai j^ Wj Wh [ iW l[ Z je j^ [_ h Z[ ia je f) j^ [o        27 16 7- 6K H

 /.   Y W d fh _d j Wi cW do Ye f_ [i Wi j^ [o b_ a[ 9                           27 16 7. 0K H

 //                 HM + =M D? B@ N7   JX `[ Yj _e d) ^o fe j^ [j _Y Wb )        27 16 7. 3K H

 /0    b W Ya i \e kd ZW j_ ed ) lW ]k [ Wd Z Wc X_ ]k ek i)                     27 16 7. 3K H

 /1    W h ]k c[ dj Wj _l [+                                                     27 16 7. 6K H

 /2                 OC @ RD OI @N N7   Dj %i ** _j %i l[ ho                      27 16 7/ /K H



                                     ".,,# **. $ 1243
                                      JA590
                         FFF%06A<D6=59A@BD<?;0@>A6?G%8@> H (&'+
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USCA Case #17-7039          06A<D6=
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                                                    01/31/2018 Page 505 of 581
                         )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                             /4 6
  .    ^ o fe j^ [j _Y Wb +   Dj %i _\ ** _\ oe k ^W l[ W fh _d j[ h ed            27 16 7/ /K H

  /    o e kh Ye cf kj [h ) oe k YW d fh _d j W f_ [Y [ e\ fW f[ h+                27 16 7/ 1K H

  0   = T HM + M@ CI 7                                                             27 16 7/ 4K H

  1          L       <d Z _\ oe k ^W l[ W \_ b[ j^ Wj oe k% l[                     27 16 7/ 5K H

  2   W Y Y [ ii [Z Wd Z iW l[ Z je oe kh Z[ ia je f \h ec j^ [ Dd j[ hd [j        27 16 70 -K H

  3   X k j _i de m iW l[ Z ed oe kh Ye cf kj [h ) oe k YW d fh _d j               27 16 70 1K H

  4   c k b j _f b[ Ye f_ [i e\ j^ Wj \_ b[ 9                                      27 16 70 4K H

  5                  HM + =M D? B@ N7       JX `[ Yj _e d) Wi ik c[ i cW do        27 16 71 -K H

  6    \ W Yj i de j _d [l _Z [d Y[ ) bW Ya i \e kd ZW j_ ed )                     27 16 71 .K H

 .-    ^ o fe j^ [j _Y Wb ) lW ]k [ Wd Z Wc X_ ]k ek i+                            27 16 71 1K H

 ..                  OC @ RD OI @N N7       D X[ b_ [l [ oe k WY Y[ ii [Z W PM G   27 16 71 4K H

 ./    e d j^ [ Dd j[ hd [j Wd Z fh _d j[ Z W \_ b[ ) ie D me kb Z iW o            27 16 72 .K H

 .0    o [ i) oe k Y[ hj W_ db o m[ h[ YW fW Xb [ e\ Ze _d ] j^ Wj +               27 16 72 1K H

 .1                  HM + =M D? B@ N7       G[ j j^ [ h[ Ye hZ h[ \b [Y j j^ Wj    27 16 72 4K H

 .2    j ^ [ Yb _[ dj mW i ^e bZ _d ] @n ^_ X_ j 2/ kf _d j^ [ W_ h _d             27 16 72 4K H

 .3    Y e dj [n j m_ j^ j^ Wj h[ if ed i[ +                                       27 2- 7- 1K H

 .4   = T HM + M@ CI 7                                                             27 2- 7. -K H

 .5          L       D\ m[ Ye kb Z ]e Wd Z be ea Wj j^ [ _d \e hc Wj _e d          27 2- 7. -K H

 .6   k d Z [ hd [W j^ j^ Wj Xe n _d j^ [ Y[ dj [h ) _i j^ Wj                      27 2- 7. 0K H

 /-   _ d \ e hc Wj _e d j^ Wj oe k [d j[ h[ Z m^ [d oe k kf be WZ [Z j^ _i        27 2- 7. 5K H

 /.   Z e Y k c[ dj je j^ [ Dd j[ hd [j <h Y^ _l [ m[ Xi _j [9       Ae h          27 2- 7/ /K H

 //   [ n W c fb [) m^ [h [ _j iW oi "Z [i Yh _f j_ ed " Wd Z j^ [d _j             27 2- 7/ 3K H

 /0   i W o i "b [] Wb bo X_ dZ _d ] Ze Yk c[ dj )" me kb Z j^ Wj X[               27 2- 7/ 5K H

 /1   _ d \ e hc Wj _e d oe k [d j[ h[ Z9                                          27 2- 70 -K H

 /2                  HM + =M D? B@ N7       JX `[ Yj _e d) lW ]k [ Wd Z            27 2- 70 /K H



                                     ".,,# **. $ 1243
                                      JA591
                         FFF%06A<D6=59A@BD<?;0@>A6?G%8@> H (&'+
     Case 1:13-cv-01215-TSC Document 118-12 Filed 11/19/15 Page 76 of 259
USCA Case #17-7039          06A<D6=
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                            )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                           /5 -
  .    W c X_ ]k ek i+      <h [ oe k Wi a_ d] if [Y _\ _Y Wb bo WX ek j j^ [    27 2- 70 0K H

  /    Z [ iY h_ fj _e d9                                                        27 2- 70 4K H

  0                     HM + M@ CI 7   R[ %b b ij Wh j m_ j^ j^ [                27 2- 70 5K H

  1    Z [ iY h_ fj _e d+                                                        27 2- 71 -K H

  2                     OC @ RD OI @N N7   T[ i+                                 27 2- 71 /K H

  3   = T HM + M@ CI 7                                                           27 2- 71 0K H

  4             L       <d Z m[ %b b `k ij ]e j^ he k] ^ _j +       R^ [h [ _j   27 2- 71 6K H

  5   i W o i Wk j^ eh ) IW j_ ed Wb A_ h[ Kh ej [Y j_ ed <i ie Y_ Wj _e d)      27 2- 72 /K H

  6   Z _ Z oe k [d j[ h j^ Wj _d \e hc Wj _e d9                                 27 2- 72 3K H

 .-             <       T[ i+                                                    27 2- 72 6K H

 ..             L       R^ [d oe k ** D X[ b_ [l [ _j ** mW i _j j^ [ <K >       27 2. 7- .K H

 ./   YW bb 9       R^ Wj mW i _j 9                                              27 2. 7- 3K H

 .0             <       <K D) Wf fb _Y Wj _e d fh e] hW cc _d ] _d j[ h\ WY [+   27 2. 7- 4K H

 .1             L       <K D YW bb +   Ne m^ [d oe k ki [ j^ [ <K D) Ze [i       27 2. 7. .K H

 .2   _ j ]_ l[ oe k Wd ef j_ ed je [d j[ h Wd Wk j^ eh 9             Di j^ Wj   27 2. 7. 1K H

 .3   e d [ e\ j^ [ ef j_ ed i j^ Wj Wh [ _Z [d j_ \_ [Z j^ [h [9                27 2. 7. 3K H

 .4             <       Te k YW d if [Y _\ o Wd o f_ [Y [ e\ c[ jW ZW jW Wd Z    27 2. 7/ .K H

 .5   W l W bk [ Wi ie Y_ Wj [Z m_ j^ j^ Wj c[ jW ZW jW +                        27 2. 7/ 2K H

 .6             L       <d Z oe k _Z [d j_ \_ [Z IW j_ ed Wb A_ h[               27 2. 7/ 6K H

 /-   K h e j [Y j_ ed <i ie Y_ Wj _e d Wi j^ [ Wk j^ eh e\ j^ _i                27 2. 70 .K H

 /.   Z e Y k c[ dj 9                                                            27 2. 70 0K H

 //             <       D Z_ Z+                                                  27 2. 70 2K H

 /0             L       Ne ** Wd Z j^ Wj mW i Ye di _i j[ dj m_ j^ oe kh         27 2. 70 4K H

 /1   k d Z [ hi jW dZ _d ] j^ Wj j^ [ IA K< _i j^ [ Wk j^ eh e\ j^ [            27 2. 70 6K H

 /2   / - . . I@ >9                                                              27 2. 71 .K H



                                       ".,,# **. $ 1243
                                        JA592
                           FFF%06A<D6=59A@BD<?;0@>A6?G%8@> H (&'+
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USCA Case #17-7039          06A<D6=
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                            )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                              /5 .
  .                     HM + =M D? B@ N7   JX `[ Yj _e d) YW bb i \e h W b[ ]W b    27 2. 71 1K H

  /    Y e dY bk i_ ed ) bW Ya i ** YW bb i \e h W b[ ]W b ef _d _e d)              27 2. 71 2K H

  0    W i ik c[ i \W Yj i de j _d [l _Z [d Y[ ) bW Ya i \e kd ZW j_ ed )           27 2. 71 5K H

  1    l W ]k [ Wd Z Wc X_ ]k ek i+                                                 27 2. 72 -K H

  2                     OC @ RD OI @N N7   D Ze d% j ad em j^ [ fh [Y _i [          27 2. 72 1K H

  3    c [ Wd _d ] e\ j^ [ j[ hc "W kj ^e h+ "       O^ [o m[ h[ Y[ hj W_ db o      27 2. 72 3K H

  4    j ^ [ ie kh Y[ e\ j^ _i Ze Yk c[ dj +                                        27 2. 72 6K H

  5   = T HM + M@ CI 7                                                              27 2/ 7- 1K H

  6             L       =k j oe k _Z [d j_ \_ [Z j^ [c Wi j^ [ Wk j^ eh             27 2/ 7- 1K H

 .-   ^[ h[ +                                                                       27 2/ 7- 3K H

 ..                     HM + =M D? B@ N7   JX `[ Yj _e d) Wi a[ Z Wd Z              27 2/ 7- 4K H

 ./    W d im [h [Z +                                                               27 2/ 7- 5K H

 .0                     OC @ RD OI @N N7   Ek ij Wi oe k Z_ iY ki i[ Z              27 2/ 7. -K H

 .1    " Z em db eW Zi " Wi W j[ hc +       T[ i) D ** D ki [ j^ [ me hZ            27 2/ 7. /K H

 .2    " W kj ^e h+ "                                                               27 2/ 7. 3K H

 .3   = T HM + M@ CI 7                                                              27 2/ 7. 3K H

 .4             L       Ne _j mW i oe kh kd Z[ hi jW dZ _d ] m^ [d oe k             27 2/ 7. 4K H

 .5   k f b e WZ [Z j^ _i Ze Yk c[ dj j^ Wj j^ [ IA K< mW i j^ [ Wk j^ eh           27 2/ 7. 5K H

 .6   e \ j^ _i Ze Yk c[ dj 9                                                       27 2/ 7/ .K H

 /-                     HM + =M D? B@ N7   JX `[ Yj _e d) Wi a[ Z Wd Z              27 2/ 7/ /K H

 /.    W d im [h [Z Wd Z YW bb i \e h W b[ ]W b Ye dY bk i_ ed ) bW Ya i            27 2/ 7/ 0K H

 //    \ e kd ZW j_ ed ) Wi ik c[ i \W Yj i de j _d [l _Z [d Y[ ) lW ]k [           27 2/ 7/ 4K H

 /0    W d Z Wc X_ ]k ek i+                                                         27 2/ 7/ 6K H

 /1                     OC @ RD OI @N N7   D fk j j^ [ me hZ "W kj ^e h) " W        27 2/ 70 -K H

 /2    Y e be d Wd Z IW j_ ed Wb A_ h[ Kh ej [Y j_ ed <i ie Y_ Wj _e d+        <i   27 2/ 70 /K H



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                                        JA593
                           FFF%06A<D6=59A@BD<?;0@>A6?G%8@> H (&'+
     Case 1:13-cv-01215-TSC Document 118-12 Filed 11/19/15 Page 78 of 259
USCA Case #17-7039          06A<D6=
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                             )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

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  .    j e j^ [ j[ Y^ d_ YW b c[ Wd _d ] e\ j^ [ j[ hc "W kj ^e h) "              27 2/ 70 3K H

  /    j ^ Wj %i ** oe k \e ba i Wh [ bW mo [h i+                                 27 2/ 70 6K H

  0   = T HM + M@ CI 7                                                            27 2/ 71 .K H

  1           L          Nk h[ +   =k j `k ij _d j^ [ mW o oe k kd Z[ hi jW dZ    27 2/ 71 .K H

  2   j ^ [ j[ hc ) j^ Wj %i m^ Wj ** oe k kd Z[ hi je eZ j^ Wj IA K<             27 2/ 71 0K H

  3   m W i j^ [ Wk j^ eh 9                                                       27 2/ 71 1K H

  4                      HM + =M D? B@ N7   JX `[ Yj _e d) c_ ii jW j[ i          27 2/ 71 2K H

  5    j [ ij _c ed o) YW bb i \e h W b[ ]W b Ye dY bk i_ ed ) bW Ya i            27 2/ 71 4K H

  6    \ e kd ZW j_ ed ) lW ]k [ Wd Z Wc X_ ]k ek i+                              27 2/ 72 -K H

 .-                      OC @ RD OI @N N7   D fk j j^ [ me hZ "W kj ^e h) "       27 2/ 72 .K H

 ..    Y e be d Wd Z IW j_ ed Wb A_ h[ Kh ej [Y j_ ed <i ie Y_ Wj _e d+           27 2/ 72 0K H

 ./   = T HM + M@ CI 7                                                            27 20 7- 6K H

 .0           L          <d Z _\ m[ Ye kb Z jk hd je j^ [ d[ nj fW ][ )           27 20 7- 6K H

 .1   o e k % bb i[ [ W i[ Yj _e d j_ jb [Z ) "N [b [Y j[ Z H[ jW ZW jW +"        27 20 7. .K H

 .2           <          T[ i) D i[ [ j^ Wj +                                     27 20 7/ 1K H

 .3           L          <d Z Ze oe k i[ [ W ** W b_ d[ j^ Wj iW oi )             27 20 7/ 1K H

 .4   " Y h [ Z_ ji "9                                                            27 20 7/ 3K H

 .5           <          D Ze +                                                   27 20 70 -K H

 .6           L          <d Z m^ Wj Ze [i j^ Wj iW o9                             27 20 70 /K H

 /-           <          Dj mW i kf be WZ [Z Xo Kk Xb _Y +M [i ek hY [+ Jh ]+     27 20 70 0K H

 /.           L          <d Z Ze oe k Wb mW oi fk j j^ Wj Yh [Z _j i b_ d[ _d     27 20 70 5K H

 //   Z e Y k c[ dj i j^ Wj oe k kf be WZ je j^ [ Dd j[ hd [j <h Y^ _l [9         27 20 71 .K H

 /0                      HM + =M D? B@ N7   JX `[ Yj _e d) Wh ]k c[ dj Wj _l [+   27 20 71 1K H

 /1                      OC @ RD OI @N N7   D Ze d% j ad em _\ D Wb mW oi Ze +    27 20 71 3K H

 /2   = T HM + M@ CI 7                                                            27 20 71 4K H



                                        ".,,# **. $ 1243
                                         JA594
                            FFF%06A<D6=59A@BD<?;0@>A6?G%8@> H (&'+
     Case 1:13-cv-01215-TSC Document 118-12 Filed 11/19/15 Page 79 of 259
USCA Case #17-7039          06A<D6=
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                            )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                                /5 5
  .    Y h [W je h e\ j^ _i eX `[ Yj mW i de j Wi i[ hj _d ] Wd o                     27 25 72 6K H

  /    h _ ]^ ji +                                                                    27 26 7- 0K H

  0   = T HM + M@ CI 7                                                                27 26 7- 1K H

  1           L         R^ Wj Ze oe k c[ Wd Xo "Y h[ Wj eh e\ j^ _i                   27 26 7- 1K H

  2   e X ` [ Yj "9                                                                   27 26 7- 3K H

  3           <         O^ [ f[ hi ed m^ e [n [h Y_ i[ Z j^ [ <K D YW bb j^ Wj        27 26 7- 3K H

  4   h [ i k bj [Z _d j^ [ Yh [W j_ ed e\ j^ _i _Z [d j_ \_ [h 8 c[ _d               27 26 7- 6K H

  5   j ^ _ i YW i[ +                                                                 27 26 7. 3K H

  6           L         D% c ]e _d ] je cW ha @n ^_ X_ j 20 +                         27 26 71 4K H

 .-               &@ n^ _X _j 20 cW ha [Z \e h _Z [d j_ \_ YW j_ ed +'               .. 7 0 . 7 / 3 < H

 ..   = T HM + M@ CI 7                                                               .. 7 0 . 7 / 3 < H

 ./           L         ?e oe k h[ Ye ]d _p [ j^ _i Ze Yk c[ dj 9

 .0           <         Dj Wf f[ Wh i je X[ Wd Dd j[ hd [j <h Y^ _l [                 37 -- 7/ 0K H

 .1   i Y h [ [d Zk cf b_ a[ oe kh fh [l _e ki [n ^_ X_ j+                            37 -- 7/ 4K H

 .2           L         <d Z j^ _i ed [ _i \e h j^ [ /- .1 IW j_ ed Wb                37 -- 70 -K H

 .3   @ b [ Y jh _Y Wb >e Z[ 8 _i j^ Wj h_ ]^ j9                                      37 -- 70 3K H

 .4           <         O^ Wj _i m^ Wj _j Wf f[ Wh i je X[ ) o[ i+                    37 -- 70 6K H

 .5           L         Ie m) j^ _i _i ** be ea i fh [j jo i_ c_ bW h je              37 -- 71 .K H

 .6   @ n ^ _ X_ j 2/ +     Re kb Z oe k W] h[ [ m_ j^ j^ Wj 9                        37 -- 71 2K H

 /-                     HM + =M D? B@ N7   JX `[ Yj _e d) bW Ya i \e kd ZW j_ ed )    37 -- 71 5K H

 /.    l W ]k [ Wd Z Wc X_ ]k ek i+                                                   37 -- 71 6K H

 //                     OC @ RD OI @N N7   O^ [h [ Wh [ ie c[ i_ c_ bW h_ j_ [i +     37 -- 72 2K H

 /0   = T HM + M@ CI 7                                                                37 -- 72 4K H

 /1           L         G_ a[ j^ [h [% i j^ [ Xe n _d j^ [ c_ ZZ b[ Wd Z              37 -- 72 5K H

 /2   j ^ [ d j^ [h [% i ef j_ ed i \e h ^e m je l_ [m j^ [ Xe ea ed j^ [             37 -. 7- -K H



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                            )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                             /5 6
  .   b[ \j 9                                                                      37 -. 7- 0K H

  /             <     T[ i+                                                        37 -. 7- 1K H

  0             L     <d Z j^ [d j^ [h [% i ie c[ _d \e hc Wj _e d X[ be m         37 -. 7- 2K H

  1   j ^ [ Xe n _d j^ [ c_ ZZ b[ ik Y^ Wi Wk j^ eh ) ik X` [Y j Wd Z ie           37 -. 7- 5K H

  2   \ e h j ^9                                                                   37 -. 7. 1K H

  3                   HM + =M D? B@ N7   JX `[ Yj _e d) bW Ya i \e kd ZW j_ ed )   37 -. 7. 1K H

  4    l W ]k [ Wd Z Wc X_ ]k ek i+                                                37 -. 7. 3K H

  5                   OC @ RD OI @N N7   T[ i+                                     37 -. 7/ /K H

  6   = T HM + M@ CI 7                                                             37 -. 7/ 1K H

 .-             L     <d Z oe k fk j j^ Wj _d \e hc Wj _e d _d j^ _i ** _d         37 -. 7/ 3K H

 ..   j ^ _ i Wi m[ bb m^ [d oe k ki [Z j^ [ <K D _d j[ h\ WY [ je                 37 -. 7/ 5K H

 ./   k f b e WZ j^ _i Ze Yk c[ dj 9                                               37 -. 70 4K H

 .0                   HM + =M D? B@ N7   JX `[ Yj _e d) lW ]k [ Wd Z               37 -. 70 5K H

 .1    W c X_ ]k ek i+                                                             37 -. 70 6K H

 .2                   OC @ RD OI @N N7   T[ i+                                     37 -. 71 -K H

 .3   = T HM + M@ CI 7                                                             37 -. 71 /K H

 .4             L     Ne W] W_ d) oe k ^W l[ ** oe k ** oe k Y^ ei [ je            37 -. 71 0K H

 .5   _ Z [ d j_ \o j^ [ Wk j^ eh Wi IW j_ ed Wb A_ h[ Kh ej [Y j_ ed              37 -. 71 1K H

 .6   < i i e Y_ Wj _e d9                                                          37 -. 71 4K H

 /-                   HM + =M D? B@ N7   JX `[ Yj _e d+   Oe j^ [ [n j[ dj         37 -. 72 .K H

 /.    o e k% h[ Wi a_ d] ^_ c W gk [i j_ ed m_ j^ i_ ]d _\ _Y Wd Y[ e\            37 -. 72 /K H

 //    b [ ]W b j[ hc i) D% bb eX `[ Yj ed j^ [ ]h ek dZ j^ Wj _j                  37 -. 72 2K H

 /0    Y W bb i \e h W b[ ]W b ef _d _e d+                                         37 -. 72 4K H

 /1                   OC @ RD OI @N N7   Jd Y[ W] W_ d) D fk j j^ [                37 -/ 7- -K H

 /2    _ Z [d j_ \_ [h Wk j^ eh ) Ye be d) Wd Z IW j_ ed Wb A_ h[                  37 -/ 7- .K H



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                                         JA596
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                            )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                           /6 -
  .    K h ej [Y j_ ed <i ie Y_ Wj _e d _d ** _d j^ [ CO HG +                    37 -/ 7- 0K H

  /   = T HM + M@ CI 7                                                           37 -/ 7- 4K H

  0          L          <d Z mW i ** Wd Z j^ Wj mW i oe kh kd Z[ hi jW dZ _d ]   37 -/ 7- 4K H

  1   W j j^ [ j_ c[ oe k kf be WZ [Z j^ _i Ze Yk c[ dj ) j^ Wj j^ [             37 -/ 7- 6K H

  2   I W j _ ed Wb A_ h[ Kh ej [Y j_ ed <i ie Y_ Wj _e d mW i j^ [ Wk j^ eh     37 -/ 7. .K H

  3   W i oe k me kb Z ki [ j^ Wj me hZ 9                                        37 -/ 7. 1K H

  4                     HM + =M D? B@ N7   JX `[ Yj _e d) lW ]k [ Wd Z           37 -/ 7. 4K H

  5    W c X_ ]k ek i) YW bb i ** cW o YW bb \e h W b[ ]W b                      37 -/ 7. 5K H

  6    Y e dY bk i_ ed ) bW Ya i \e kd ZW j_ ed ) Wi ik c[ i \W Yj i de j _d     37 -/ 7. 6K H

 .-    [ l _Z [d Y[ +                                                            37 -/ 7/ /K H

 ..                     OC @ RD OI @N N7   <] W_ d) D ki [ j^ [ bW X[ b          37 -/ 7/ 1K H

 ./    W k j^ eh Wd Z W Ye be d Wd Z IW j_ ed Wb A_ h[ Kh ej [Y j_ ed            37 -/ 7/ 3K H

 .0    < i ie Y_ Wj _e d+                                                        37 -/ 7/ 5K H

 .1   = T HM + M@ CI 7                                                           37 -/ 70 .K H

 .2          L          <d Z oe k ** oe k Y^ ei [ j^ [ me hZ "W kj ^e h" 9       37 -/ 70 /K H

 .3          <          T[ i+                                                    37 -/ 70 1K H

 .4          L          <d Z j^ [d kd Z[ h ik X` [Y j) j^ [h [% i W \[ m         37 -/ 70 1K H

 .5   j ^ _ d ]i b_ ij [Z ) Wd Z j^ [ \_ hi j ed [ ** m^ Wj _i j^ [              37 -/ 70 5K H

 .6   \ _ h i j ed [ j^ [h [9                                                    37 -/ 71 .K H

 /-                     HM + =M D? B@ N7   JX `[ Yj _e d) lW ]k [ Wd Z           37 -/ 71 0K H

 /.    W c X_ ]k ek i+                                                           37 -/ 71 1K H

 //                     OC @ RD OI @N N7   Nk X` [Y j) Ye be d) h[ gk _h [Z _d   37 -/ 71 3K H

 /0    W b b 2- ij Wj [i ) Kk Xb _Y NW \[ jo >e Z[ ) b[ ]W bb o X_ dZ _d ]       37 -/ 71 5K H

 /1    Z e Yk c[ dj +                                                            37 -/ 72 /K H

 /2   = T HM + M@ CI 7                                                           37 -/ 72 /K H



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                         )&"7#",# 4E7=<8%59C@EB89%3B; &($(,$(&'+

                                                                                              0- 2
  .                  HM + =M D? B@ N7        <d Z oe k d[ [Z je h[ l_ [m j^ [       37 /- 7. 1K H

  /    Z e Yk c[ dj _\ oe k% h[ ]e _d ] je Wd im [h j^ Wj gk [i j_ ed +             37 /- 7. 3K H

  0                  <d Z D% bb eX `[ Yj ed j^ [ ** je j^ [ gk [i j_ ed             37 /- 7/ 0K H

  1          Wi lW ]k [ Wd Z Wc X_ ]k ek i+                                         37 /- 7/ 3K H

  2                  M[ WZ j^ [ m^ eb [ Ze Yk c[ dj ) fb [W i[ +                    37 /- 71 .K H

  3                  OC @ RD OI @N N7        O^ [ ij Wj [c [d ji Xo HW d . Ze )     37 /. 7. 3K H

  4    _ d \W Yj ) h[ fh [i [d j co l_ [m i+                                        37 /. 7. 4K H

  5   = T HM + M@ CI 7                                                              37 /. 7/ -K H

  6          L       <d Z Z_ Z oe k cW a[ j^ [ Z[ Y_ i_ ed j^ Wj j^ _i              37 /. 7/ .K H

 .-   l _ Z [ e i^ ek bZ X[ fe ij [Z ed Kk Xb _Y M[ ie kh Y[ %i m[ Xi _j [9         37 /. 7/ /K H

 ..          <       T[ i+                                                          37 /. 7/ 3K H

 ./          L       <d Z Ze j^ [ ij Wj [c [d ji Xo oe k _d j^ _i                   37 /. 7/ 3K H

 .0   Z e Y k c[ dj h[ fh [i [d j j^ [ l_ [m i e\ Kk Xb _Y M[ ie kh Y[ 9            37 /. 7/ 5K H

 .1          <       T[ i+                                                          37 /. 70 0K H

 .2          L       Ne b[ j% i jW a[ W be ea Wj j^ [ fW ][                         37 /. 70 0K H

 .3   = W j [ i* ij Wc f[ Z .3 42 11 +      <d Z _j %i oe kh l_ [m j^ Wj j^ [       37 /. 71 /K H

 .4   I W j _ ed Wb A_ h[ Kh ej [Y j_ ed <i ie Y_ Wj _e d Ze [i Wc Wp _d ]          37 /. 72 /K H

 .5   m e h a Wd Z iW l[ i b_ l[ i9                                                 37 /. 72 4K H

 .6          <       T[ i) D iW _Z j^ Wj +                                          37 /. 72 5K H

 /-          L       <d Z _j %i oe kh l_ [m j^ Wj j^ [ IW j_ ed Wb A_ h[            37 /. 72 6K H

 /.   K h e j [Y j_ ed <i ie Y_ Wj _e d fh ej [Y ji j^ [ b_ l[ i e\                 37 // 7- .K H

 //   l e b k dj [[ h \_ h[ \_ ]^ j[ hi 9                                           37 // 7- 1K H

 /0                  HM + =M D? B@ N7        JX `[ Yj _e d+   O^ Wj c_ ii jW j[ i   37 // 7. 0K H

 /1    j ^ [ Ze Yk c[ dj +                                                          37 // 7. 1K H

 /2                  OC @ RD OI @N N7        Ie ) j^ Wj %i de j m^ Wj D iW o ed     37 // 7. 2K H



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                                                                                           0- 3
  .    j ^ _i fW ][ +                                                            37 // 7. 4K H

  /   = T HM + M@ CI 7                                                           37 // 7. 4K H

  0           L       Dj %i oe kh l_ [m j^ Wj j^ [ IW j_ ed Wb A_ h[             37 // 7. 5K H

  1   K h e j [Y j_ ed <i ie Y_ Wj _e d% i ij Wd ZW hZ i \e h \_ h[              37 // 7/ -K H

  2   i f h _ da b[ hi ) ij Wd ZW hZ i \e h \_ h[ ^o Zh Wd ji ) ij Wd ZW hZ i    37 // 7/ /K H

  3   \ e h \e Wc ) ij Wd ZW hZ i \e h b_ \[ iW \[ jo fh ej [Y j b_ l[ i e\      37 // 7/ 4K H

  4   e k h le bk dj [[ h \_ h[ \_ ]^ j[ hi +                                    37 // 7/ 5K H

  5           <       J^ +     T[ i+                                             37 // 70 .K H

  6           L       <d Z Ze oe k Wb ie ** me kb Z oe k Wb ie jW a[ j^ [        37 // 70 /K H

 .-   l _ [ m j^ Wj IW j_ ed Wb A_ h[ Kh ej [Y j_ ed _j i[ b\ fh ej [Y ji        37 // 70 0K H

 ..   j ^ [ b_ l[ i e\ le bk dj [[ h \_ h[ \_ ]^ [h i j^ he k] ^ _j i            37 // 70 2K H

 ./   W Y j _ l_ j_ [i 9                                                         37 // 70 6K H

 .0                   HM + =M D? B@ N7   JX `[ Yj _e d) Wh ]k c[ dj Wj _l [)     37 // 71 -K H

 .1    b W Ya i \e kd ZW j_ ed ) lW ]k [ Wd Z Wc X_ ]k ek i+                     37 // 71 .K H

 .2                   OC @ RD OI @N N7   D YW d% j if [W a je j^ Wj +     D **   37 // 71 0K H

 .3    j ^ [ ij Wd ZW hZ i Y[ hj W_ db o Ze +                                    37 // 71 1K H

 .4   = T HM + M@ CI 7                                                           37 // 71 4K H

 .5           L       <d Z _i _j oe kh l_ [m j^ Wj j^ [ ij Wd ZW hZ i            37 // 71 4K H

 .6   f h e j [Y j j^ [ b_ l[ i e\ Y^ _b Zh [d 9                                 37 // 71 6K H

 /-           <       T[ i+                                                      37 // 72 .K H

 /.           L       <d Z _j %i oe kh l_ [m j^ Wj _j %i _c fe hj Wd j           37 // 72 /K H

 //   j ^ W j eh ]W d_ pW j_ ed i b_ a[ j^ [ IW j_ ed Wb A_ h[ Kh ej [Y j_ ed    37 // 72 0K H

 /0   < i i e Y_ Wj _e d Ye dj _d k[ je ik hl _l [9                              37 // 72 2K H

 /1           <       <X ie bk j[ bo +                                           37 // 72 6K H

 /2           L       <d Z me kb Z oe k [n j[ dZ j^ Wj je ej ^[ h                37 // 72 6K H



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  .   i j W d ZW hZ i Z[ l[ be fc [d j eh ]W d_ pW j_ ed i Wi m[ bb ) j^ Wj        37 /0 7- /K H

  /   _ j % i _c fe hj Wd j j^ [o Ye dj _d k[ je ik hl _l [9                       37 /0 7- 1K H

  0                   HM + =M D? B@ N7   JX `[ Yj _e d) bW Ya i \e kd ZW j_ ed +   37 /0 7- 4K H

  1                   OC @ RD OI @N N7   ?e oe k ^W l[ W if [Y _\ _Y               37 /0 7- 5K H

  2    i j Wd ZW hZ i eh ]W d_ pW j_ ed _d c_ dZ 9                                 37 /0 7- 6K H

  3   = T HM + M@ CI 7                                                             37 /0 7. .K H

  4           L       Ce m WX ek j <N OH +                                         37 /0 7. /K H

  5           <       D% c W X_ ] \W d e\ <N OH +                                  37 /0 7. 1K H

  6           L       Ne _j %i _c fe hj Wd j j^ [o Ye dj _d k[ je                  37 /0 7. 4K H

 .-   i k h l _l [9                                                                37 /0 7. 5K H

 ..                   HM + =M D? B@ N7   JX `[ Yj _e d) Wh ]k c[ dj Wj _l [+       37 /0 7. 6K H

 ./                   OC @ RD OI @N N7   D j^ _d a j^ [ ij Wd ZW hZ i j^ Wj        37 /0 7/ .K H

 .0    W h [ ** j^ [ ik X` [Y j Wh [W e\ j^ [ ij Wd ZW hZ i j^ Wj <N OH            37 /0 7/ /K H

 .1    m e ha i _d _i l[ ho _c fe hj Wd j Wd Z m[ d[ [Z je Ye dj _d k[             37 /0 7/ 4K H

 .2    j e ^W l[ ij Wd ZW hZ i _d j^ Wj Wh [W +                                    37 /0 70 -K H

 .3   = T HM + M@ CI 7                                                             37 /0 70 /K H

 .4           L       <d Z Ye dj _d k[ je ^W l[ eh ]W d_ pW j_ ed i j^ Wj          37 /0 70 /K H

 .5   Z [ l [ be f ij Wd ZW hZ i Wd Z a[ [f j^ [c kf *j e* ZW j[ 9                 37 /0 70 1K H

 .6                   HM + =M D? B@ N7   JX `[ Yj _e d) Wh ]k c[ dj Wj _l [)       37 /0 70 3K H

 /-    b W Ya i \e kd ZW j_ ed +                                                   37 /0 70 4K H

 /.                   OC @ RD OI @N N7   T[ i) D X[ b_ [l [ ij Wd ZW hZ i Wh [     37 /0 71 .K H

 //    _ c fe hj Wd j+                                                             37 /0 71 0K H

 /0   = T HM + M@ CI 7                                                             37 /0 71 0K H

 /1           L       <d Z me kb Z oe k iW o j^ [ iW c[ WX ek j j^ [               37 /0 71 0K H

 /2   i j W d ZW hZ i e\ <N CM <@ 9                                                37 /0 71 2K H



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                                                                              308
  1               MR. BRIDGES:     Objection, lacks foundation,        6:23:47PM

  2    vague and ambiguous.                                            6:23:48PM

  3               THE WITNESS:     I think ASHRAE Standard 90.1        6:23:51PM

  4    is an important standard.                                       6:23:53PM

  5   BY MR. REHN:                                                     6:23:59PM

  6         Q     Is it your view that standards development           6:24:01PM

  7   organizations need funding to do the work that they              6:24:04PM

  8   do, including standards development?                             6:24:07PM

  9               MR. BRIDGES:     Objection, may call for a           6:24:09PM

 10    lay opinion, vague and ambiguous, and --                        6:24:11PM

 11               THE WITNESS:     I think --                          6:24:19PM

 12               MR. BRIDGES:     -- and to the extent it             6:24:19PM

 13    calls for a legal opinion, I would object on that               6:24:21PM

 14    basis.                                                          6:24:25PM

 15               THE WITNESS:     I would want to analyze the         6:24:25PM

 16    specific standards body and their funding sources               6:24:26PM

 17    and the work that they do.                                      6:24:28PM

 18   BY MR. REHN:                                                     6:24:31PM

 19         Q     Can you read the first sentence of that              6:24:33PM

 20   paragraph that begins with, Man 1 804, the sentence              6:24:34PM

 21   following Man 1 804?                                             6:24:38PM

 22         A     "Our goal is here to publish a law to                6:24:40PM

 23   establish the principle that the law become                      6:24:43PM

 24   available, but then government should take this over             6:24:46PM

 25   and figure out a way to make the law available and               6:24:49PM



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                   EXHIBIT 4




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  &       L, MNO5 P9D 5O5< DQ5R 7S5 ES<NQ5 A69<5                         >?2&@2)K
  K C<9DEA 8: 69::56789: T87S +D<NU V5Q8C: B9UU5678O5                    >?2&@2)W
  X 35;9<5Y                                                              >?2&@2'>
  W       Z, .S8Q P5N<,                                                  >?2&@2'>
  @       L, MNO5 P9D DQ5R 7S5 ES<NQ5 A69<5 C<9DEAY                      >?2&@2'>
  ?       Z, H5Q,                                                        >?2&@2'F
 )>       L, /[NP, \SN7 R95Q 7SN7 =5N:Y                                  >?2&@2'F
 ))       Z, ]7 4DQ7 ^^ =9Q7 9; 7S5 E59EU5 T9<[8:C                       >?2&@2'W
 )' 7S8Q QD==5< T5<5 7SN7 NC5,                                           >?2&@2FW
 )F       L, /[NP, H9D_<5 69=;9<7N3U5 DQ8:C 7S5                          >?2&@2&>
 )& T9<R A69<5 C<9DEA 8: 69::56789: T87S 7S8Q 3DQ8:5QQ                   >?2&@2&'
 )K 9; P9D<QY H9D< 69D:Q5U 9345675R, M5 R8R:_7 7S8:[                     >?2&@2&&
 )X P9D 69DUR D:R5<Q7N:R A69<5 C<9DE,A ] 4DQ7 TN:7 79                    >?2&@2&W
 )W =N[5 QD<5 P9D D:R5<Q7N:R 7S5 ES<NQ5,                                 >?2&@2&?
 )@       Z, ]_= 4DQ7 DQ8:C 87 NQ N ES<NQ5,                              >?2&@2K&
 )?       L, /[NP, Z:R 4DQ7 75UU =5 TSN7 P9D =5N:7                       >?2&@2KK
 '> 3P A69<5 C<9DE,A ] TN:7 79 =N[5 QD<5 T5_<5 NUU                       >?2&@2K@
 ') 6U5N< S5<5, \SN7 R8R 69<5 C<9DE =5N:Y                                >?2&?2>>
 ''       Z, *9Q7 9; 7S5 =5:755Q 7S8Q P5N< T5<5 8:                       >?2&?2>'
 'F 7SN7 NC5 C<9DE,                                                      >?2&?2>X
 '&       L, /[NP, -9 7S5 69<5 C<9DE NQ 9; '>)& N7                       >?2&?2>@
 'K +D<NU V5Q8C: B9UU5678O5 TNQ 6S8UR<5: NC5Q W 79 )&Y                   >?2&?2)&

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                                                                               &'
  )       *+ ,-.+                                                        /01&01)2
  3       4+ 5678 97. 86- 7:- ;7<:- => 86- ?=;-                          /01&01)@
  ' :;=AB C< 3/)'D                                                       /01&013/
  &       *+ 5-EEF 9- GG ECH- @ 8= 'I+                                   /01&0133
  I       4+ JH7K+ 57. 86-;- =<- 'IGK-7;G=ELD                            /01&01'0
  2       *+ ,-.+                                                        /01&01&3
  @       4+ JH7K+ 56= 97. 86- <-M8 =EL-.8 B-;.=<                        /01&01&3
  N C< 3/)'D                                                             /01&01&I
  0       *+ 3/)'D O;=P7PEK )&+ Q L=<R8 86C<H Q                          /01&01&@
 )/ 67L 6C:6 .?6==E C< 3/)' GG E7.8 K-7;F R)&+                           /01I/1/2
 ))       4+ 56= 97. 86- 'IGK-7;G=EL S-<8-- =>                           /01I/133
 )3 K=A;. 8678 B7;8C?CB78-L C< 86- TA;7E U-.C:<                          /01I/13&
 )' V=EE-?8CW-D                                                          /01I/132
 )&       *+ X678 97. Y7.B-;+                                            /01I/132
 )I       4+ UCL B-;.=<. C< 86- TA;7E U-.C:<                             /01I/1')
 )2 V=EE-?8CW- B;=:;7S 9=;H =< 7<K *ZX[ =; \]O*                          /01I/1&/
 )@ .87<L7;L.D                                                           /01I/1&'
 )N       *+ ,-.+                                                        /01I/1&I
 )0       4+ U= K=A H<=9 96C?6 B-;.=<. C< 86-                            /01I)1/&
 3/ B;=:;7S 9=;H-L =< 86- *ZX[ =; \]O* .87<L7;L.D                        /01I)1/@
 3)       *+ Y7.B-; 7<L ^-WC+                                            /01I)1)/
 33       4+ Z= ^-WCR. 7E.= B7;8 => 86- TA;7E                            /01I)1))
 3' U-.C:< V=EE-?8CW-D                                                   /01I)1)2
 3&       *+ ,-.F PA8 6- 67. :;7LA78-L+ _-R. GG                          /01I)1)2
 3I 6-R. 7 S-<8=;+                                                       /01I)13)

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  ) *+ ,*-. ,*/01 2*//.304                                               56788789
  9       :1 ;<=>01                                                      5678878?
  ?       @1 A* 0>. BC/0<3<BCD0, BCE F*<D0 G                             5678878?
  & CDE0><D= 0* H. <D 0><, B/*=/C-4                                      5678I755
  8       :1 J*1 GK0 L MM N. >CO. ,0<B.DP, HC,.P                         5678I75)
  I *D B./+*/-CD3.1                                                      5678I75Q
  '       @1 F*<D0 G BCE, ,0<B.DP, 0* 0>.                                5678I756
  Q BC/0<3<BCD0,4                                                        5678I7)9
  6       :1 :NC/P,R ,3>*SC/,><B +KDP,1                                  5678I7)?
 )5       @1 A<P CDE BC/0<3<BCD0, <D 0>. ;K/CS                           5678I799
 )) A.,<=D 2*SS.30<O. .C/D CNC/P, */ ,0<B.DP, +*/                        5678I79&
 )9 0>.</ N*/T *D JUF: */ :VWX ,0CDPC/P,4                                5678I79I
 )?       :1 J*1                                                         5678I79Q
 )&       @1 Y>C0 <, C ,0CDPC/P ,B/<D04                                  5678I796
 )8       :1 Y. B<3T CD C/.C *+ BKHS<3 3*D3./D 0>C0                      5678I78&
 )I N. N./. .D0>K,<C,0<3 CH*K0 CDP 3*DO./0 0>.                           5678'75?
 )' =/CB><3, +*/ 0>C0 0*B<31                                             5678'756
 )Q       @1 Z*K MM                                                      5678'7)I
 )6       :1 L0 NC, <D0.DP.P 0* H. -*0<OC0<*DCS1                         5678'7)'
 95 L0 <,1                                                               5678'799
 9)       @1 Y>C0 =/CB><3, C/. E*K 3*DO./0<D= N<0>                       5678'79I
 99 ,0CDPC/P ,B/<D04                                                     5678'7?&
 9?       :1 :0 0>. 0<-. <0 NC, BKHS<3 ,C+.0E                            5678'7?8
 9& /.SC0.P 0* 0>.C0./ C33.,,<H<S<0E1                                    5678'7&5
 98       @1 YC, 0>./. *DSE *D. ,0CDPC/P ,B/<D0                          5678'7&8

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  )                *+,-./010.2 3450601 7.8 )&                            ))9:;9:;
  <                =>?@,A B.? 0A,210B0C>10.28D                           ))9:;9<<
  E FG HI8 J339                                                          ))9:;9<<
  K       L8 H/8 H>M>=NAO PQ= R.02R 1. 5>2A S.N                          ))9:;9<K
  ; 3450601 )&O T50C5 0/ > -?021.N1 .B 15, IN?>M                         ))9:;9<U
  U +,/0R2 V.MM,C10W, X,>AYN>?1,?/ V.A,/ .B 15, Z.?MA                    ))9:;9<&
  ' [W,?W0,T >2A I.>A=>-8 P1Q/ /04 ->R,/8                                ))9:;9E)
  &       \8 [@>S8                                                       ))9:;9EE
  ]       L8 \?, S.N B>=0M0>? T015 3450601 )&^                           ))9:;9E&
 ):       \8 G,/8                                                        ))9:;9E]
 ))       L8 P/ 150/ > ->R, B?.= 15, IN?>M +,/0R2                        ))9:;9K:
 )< V.MM,C10W, T,6/01,^                                                  ))9:;9KU
 )E       \8 G,/8                                                        ))9:;9KU
 )K       L8 +0A S.N >N15.? 150/ ->R,^                                   ))9:;9K'
 );       \8 G,/O P A0A8                                                 ))9:;9K]
 )U       L8 P/ ,W,?S1502R 15>1Q/ 02CMNA,A 02 150/                       ))9:;9;:
 )' ->R, >CCN?>1, 1. 15, 6,/1 .B S.N? @2.TM,AR,^                         ))9:;9;E
 )&       \8 G,/8                                                        ))9:;9;U
 )]       L8 P 5>W, 2. .15,? YN,/10.2/ >6.N1 15>18                       ))9:;9;U
 <:                HI8 _`[a`b9 G.N C>2 -N1 01 >/0A,8                     ))9:U9:U
 <)                `X3 ZP`73__9 [@>S8                                    ))9:U9:&
 << FG HI8 J339                                                          ))9:U9):
 <E       L8 \1 /.=, -.021 02 10=, A. S.N ?,C>MM                         ))9:U9)K
 <K 5>W02R > /,?0,/ .B C.==N20C>10.2/ T015 V>?M                          ))9:U9)U
 <; H>M>=NA ?,R>?A02R T5,15,? .? 2.1 S.N T,?,                            ))9:U9<:

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  &                *+,-./010.2 3450601 7.8 '&                            &'9:(9;'
  '                <=>?,@ A.> 0@,210A0B=10.28C                           &'9:D9::
  E FG HI8 J339                                                          &'9:D9::
  K       L8 H/8 H=M=<N@O PQ< R.02R 1. 5=2@ S.N                          &'9:D9:&
  ; T5=1Q/ 6,,2 <=>?,@ =/ 3450601 '&8 P1 =--,=>/ 1.                      &'9:D9:'
  ( 6, = /,>0,/ .A ,<=0M/8 U5, 1.- .2, 0/ A>.<                           &'9:D9:(
  D H>8 H=M=<N@ 1. S.NO @=1,@ V=2N=>S K15O ':&KO =1                      &'9:D9&:
  W &'9:& -8<8 F=1,/ M=6,M,@ XIYK''WZ[:&8 U=?, S.N>                      &'9:D9&(
  Z 10<, =2@ M..? =1 01O 6N1 .2B, S.NQ\, >,=@ 01O 0A                     &'9:D9E;
 &: S.N B=2 0@,210AS 150/ =/ = /,>0,/ .A ,<=0M/                          &'9:D9EW
 && 6,1T,,2 S.N =2@ H>8 H=M=<N@8                                         &'9:D9K:
 &'       ]8 *X=N/,8C Y?=S8                                              &'9:D9;&
 &E       L8 J0>/1 .A =MMO B=2 S.N >,B.R20^, [[ @.                       &'9:W9E;
 &K S.N >,B.R20^, 150/ =/ = /,>0,/ .A ,<=0M/ 6,1T,,2                     &'9:W9EW
 &; S.N =2@ H>8 H=M=<N@_                                                 &'9:W9K:
 &(       ]8 G,/8                                                        &'9:W9K&
 &D       L8 `5S @.2Q1 T, /1=>1 =1 15, 6,R02202R .A                      &'9:W9K&
 &W 15, ,<=0M B5=02O T50B5 T.NM@ 6, .2 15, M=/1 -=R,8                    &'9:W9K;
 &Z U5,>,Q/ =2 ,<=0M .2 +,B,<6,> E&O ':&EO =1                            &'9:W9KD
 ': E9:' -8<8 A>.< S.N8 a=2 S.N /,,_ P1 /1=>1/ .AA                       &'9:W9;'
 '& /=S02RO b]MM =>1 B.<-M,1,@O 6.15 @0=R>=</ =2@                        &'9:Z9:&
 '' H=15HcO T015 15, ,4B,-10.2 .A 7JX]873a8':&&8 `,                      &'9:Z9:E
 'E 5=\, =6.N1 &' <.>, @0=R>=</ 1. B.<-M,1, .2 15=18                     &'9:Z9:Z
 'K ]2@ T, /5.NM@ 5=\, 15=1 B.<-M,1,@ 6S J>0@=S8b                        &'9:Z9&E
 ';             +. S.N /,, 15=1_                                         &'9:Z9&;

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                                                                              &'(
  &                *+,-,../ 0/12 3454 67 8/90 3454:                      &1/98/9;
  0                <=> ?@A>BC+DE=>+/ F,GH, I7JKI LM-N                    &1/98/9;
  8 7K 6O, H,-7HP4 <O, 6J5, J. 8/90 3454                                 &1/98/&8
  2                *A,37.J6J7K >QOJLJ6 R74 0;                            &1/98/00
  1                5MHN,P S7H JP,K6JSJ-M6J7K4:                           &1/98/00
  (                *TH4 UOJVP. K76 3H,.,K64:                             &1/98/28
  ; WX T+4 Y>>/                                                          &1/98/28
  '       Z4 @G5 I7JKI 67 OMKP [7\ >QOJLJ6 0;]                           &1/98/28
  ^ _OJ-O J. M .JKIV,`3MI, ,5MJV SH75 UMHV 67 [7\]                       &1/98/21
 &9 PM6,P aMK\MH[ &(6O] 09&2] M6 8/2' 3454] MKP WM6,.                    &1/98/18
 && VML,V,P E+B208&;4 UMK [7\ JP,K6JS[ >QOJLJ6 0; M.                     &1/98/1^
 &0 MK ,5MJV SH75 TH4 TMVM5\P 67 [7\b                                    &1/92/&;
 &8       D4 X,.4                                                        &1/92/&^
 &2       Z4 DKP 6O, .\Lc,-6 J. S\KPJKI4 U7HH,-6b                        &1/92/00
 &1       D4 X,.4                                                        &1/92/0(
 &(       Z4 DKP J6 .M[.] [7\GH, S\KP,P M6 6O,                           &1/92/0;
 &; 1d`3,H`57K6O V,e,V S7H M6 V,M.6 .JQ 57K6O. SH75                      &1/92/8&
 &' 34H474] M. V7KI M. [7\ -MK N,,3 3\53JKI 7\6                          &1/92/81
 &^ eJ.JLV, 3H7IH,.. 7K 6O, f?CgTM6OTh SH7K64i                           &1/92/8'
 09       D4 X,.4                                                        &1/92/2(
 0&       Z4 DKP JK 3MH,K6O,.,.] J6 .M[.] iEV\.] 7S                      &1/92/2(
 00 -7\H.,] [7\H P,.JIK O,MV6O] _OJ-O @ K,,P] L\6 _OM6                   &1/92/2^
 08 6O, S\KP,H. MH, I7JKI 67 L, V77NJKI S7H J. _MVNJKI                   &1/92/18
 02 6OH7\IO 6O, .6MKPMHP.4 <O,[GH, S\KPJKI 5[ V,IMV                      &1/92/1(
 01 SJIO6 .7 6OM6G. 6O, 3J,-, 6O,[ -MH, ML7\64i A7                       &1/92/1^

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  & *+, -.. /01/2                                                        &3453456
  7       89 :.-9                                                        &3453456
  ;                <=>9 ?0@AB- C>.-.D/9E                                 &3453456
  6 F: =G9 HII4                                                          &3453456
  3       J9 K+ *+, LD+M M01/ N,DB.>- 0.O-                               &3453456
  P >.N.>>@DQ /+2                                                        &34534&;
  (       89 R B+DO/ LD+M .S1T/A* M0+ /0.* 1>.9                          &34534&;
  '       J9 K+ *+, 01U. 1D* @B.1 M01/ N,DB.>- 0.O-                      &34534&3
  V >.N.>>@DQ /+2                                                        &34534&V
 &5       89 W+9                                                         &34534&V
 &&       J9 K@B *+, .U.> 1-LX YZ0+ 1>. /0.-.                            &345347&
 &7 N,DB.>-2Y                                                            &3453473
 &;       89 R [[ R M1@/ N+> 0@\ /+ -,CCA* /0.                           &345347P
 &6 @DN+>\1/@+D M0.D 0. M1D/- /+9                                        &34534;3
 &3       J9 ]+ *+, D.U.> 1-L.B 0@\ N+>                                  &345346&
 &P @DN+>\1/@+D2                                                         &345346;
 &(                =G9 ]^_`^a4 _bc.T/ /+ /0. N+>\9 R/                    &345346(
 &' \@-T01>1T/.>@d.- 0.> /.-/@\+D*9                                      &3453435
 &V       89 ^0.>. @- N,DB.>-9                                           &345343V
 75 F: =G9 HII4                                                          &345P457
 7&       J9 :+, D.U.> 1-L.B 0@\ M0+ /0.* M.>.2                          &345P457
 77       89 W+9                                                         &345P456
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 76 1D-M.>.B9                                                            &345P45(
 73 F: =G9 HII4                                                          &345P45'

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                   EXHIBIT 6




                                   JA715
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  1                  UNITED STATES DISTRICT COURT
  2                FOR THE DISTRICT OF COLUMBIA
  3
       AMERICAN SOCIETY FOR                          )
  4    TESTING AND MATERIALS,                        )
  5    d/b/a ASTM INTERNATIONAL;                     ) Civil Action No.
  6    NATIONAL FIRE PROTECTION                      ) 1:13-cv-01215-TSC
  7    ASSOCIATION, INC.; and                        )
       AMERICAN SOCIETY OF                           )
  8    HEATING, REFRIGERATION AND                    )
  9    AIR CONDITIONING ENGINEERS,                   )
                         Plaintiffs and              )
10     Counter-Defendants,                           )
11     vs.                                           )
12     PUBLIC.RESOURCE.ORG,INC.,                     )
13                       Defendant and               )
14     Counter-Plaintiff.
15
16      VIDEOTAPED 30(b)(6) DEPOSITION OF NATIONAL
17      FIRE PROTECTION ASSOCIATION, INC., BY
18      CHRISTIAN DUBAY, before Jeanette N. Maracas,
19      Registered Professional Reporter and Notary
20      Public in and for the Commonwealth of
21      Massachusetts, at 42 Chauncy Street, Boston,
22      Massachusetts, on Wednesday, April 1, 2015,
23      commencing at 10:00 a.m.
24
25      PAGES 1 - 250

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                                    JA716
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  1      A.   Primarily around the media interviews.              10:26:12

  2      Q.   Any other ways?                                     10:26:15

  3      A.   The primary, from a public communications           10:26:21

  4           resource outreach aspect, is through media          10:26:32

  5           inquiries, media interviews and media               10:26:37

  6           responses when I'm requested.                       10:26:40

  7      Q.   How many media interviews have you given            10:26:41

  8           in the past year?                                   10:26:48

  9      A.   I don't know.     Approximately ten.                10:26:49

 10      Q.   On what subjects?                                   10:27:02

 11      A.   I don't recall.                                     10:27:06

 12      Q.   You don't recall any of the subjects?               10:27:09

 13      A.   Not off the top of my head, no, I do not.           10:27:19

 14      Q.   You say that NFPA brings together a multitude       10:27:22

 15           of interested parties who participate in a          10:28:09

 16           consensus process to determine the best level       10:28:15

 17           of minimum safety; is that right?                   10:28:18

 18                    MR. REHN:     Object to the form.          10:28:20

 19      A.   NFPA has an open consensus standards                10:28:24

 20           development process that brings together many       10:28:27

 21           differing viewing points of interest,               10:28:32

 22           interest categories as well as the public in        10:28:35

 23           order to develop our codes and standards.           10:28:39

 24      Q.   How does NFPA bring them together?                  10:28:43

 25                    MR. REHN:     Objection as to form.        10:28:51

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  1      A.   One way is through our technical committee          10:28:53

  2           meetings.                                           10:28:55

  3      Q.   How else does NFPA bring them together?             10:29:01

  4      A.   Through our annual meeting.                         10:29:07

  5      Q.   How else?                                           10:29:10

  6      A.   Through special, specially called topical           10:29:17

  7           meetings.                                           10:29:23

  8      Q.   How else?                                           10:29:28

  9      A.   Through technical forums and summits.               10:29:29

 10      Q.   How else?                                           10:29:40

 11      A.   That's all I can think of off the top of my         10:29:41

 12           head.                                               10:29:57

 13      Q.   And what does NFPA do to bring them together?       10:29:57

 14                       MR. REHN:   Object to the form.         10:30:05

 15           Vague.                                              10:30:07

 16      A.   With respect to our technical committee             10:30:10

 17           meetings, we, through the committee, call the       10:30:12

 18           meeting and book the meeting facility and           10:30:16

 19           host the meeting.                                   10:30:20

 20      Q.   Anything else?                                      10:30:30

 21                       MR. REHN:   Same objection.             10:30:32

 22      A.   To clarify, with respect to committee               10:30:35

 23           meetings?                                           10:30:37

 24      Q.   Yes.                                                10:30:38

 25      A.   We publicly promote them, as all of our             10:30:39

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  1           handle all the logistics around that meeting        10:32:09

  2           space and any required hotels.                      10:32:12

  3      Q.   How does NFPA host the meeting?                     10:32:14

  4                      MR. REHN:   Object to the form.          10:32:20

  5      Q.   I should say how does NFPA host the meetings?       10:32:24

  6                      MR. REHN:   Same objection.              10:32:28

  7      A.   I think the best approach is that because           10:32:29

  8           it's an NFPA meeting, so it's -- we're              10:32:31

  9           calling -- when I say we're calling the             10:32:36

 10           meeting, so it's our committee meeting as an        10:32:37

 11           example.                                            10:32:41

 12                      So NFPA staff is there, technical        10:32:41

 13           staff is there facilitating and running the         10:32:46

 14           meeting along with the actual volunteer             10:32:48

 15           technical committee chair.       So I think that    10:32:50

 16           should clarify what I'm implying by                 10:32:54

 17           "hosting."                                          10:32:56

 18      Q.   How does the NFPA staff facilitate and run          10:32:57

 19           the meetings along with the technical               10:33:15

 20           committee chairs?                                   10:33:17

 21      A.   Again, just to clarify, just focusing on            10:33:20

 22           technical committee meetings?                       10:33:23

 23      Q.   Yes.                                                10:33:24

 24      A.   Okay.   We have a technical staff liaison           10:33:25

 25           who's assigned to each of our standards and a       10:33:30

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  1           portion of their job is to attend the               10:33:33

  2           technical committee meetings.                       10:33:36

  3      Q.   What do the liaisons do at those meetings           10:33:39

  4           when they attend them?                              10:33:45

  5                      MR. REHN:   Object to the form.          10:33:45

  6      A.   Their primary responsibility is to capture          10:33:46

  7           all of the technical changes that the               10:33:51

  8           committee is making to the document they're         10:33:54

  9           working on or standard they're working on.          10:33:57

 10      Q.   What do you mean by technical changes in that       10:34:02

 11           context?                                            10:34:24

 12      A.   Our technical committees are responsible for        10:34:27

 13           developing changes to our codes and                 10:34:31

 14           standards.    And one of the primary                10:34:34

 15           responsibilities of the technical staff             10:34:37

 16           liaison is to capture those changes.                10:34:39

 17      Q.   In what respect are those changes technical         10:34:46

 18           changes?                                            10:34:50

 19      A.   Those changes are specific, technical being         10:34:53

 20           scientific or wording changes to our codes          10:34:57

 21           and standards which are technical documents.        10:35:01

 22      Q.   How do you distinguish between scientific           10:35:08

 23           changes and wording changes to the technical        10:35:11

 24           documents?                                          10:35:17

 25                      MR. REHN:   Object to the form.          10:35:18

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  1           committee is trying to accomplish to ensure         10:38:27

  2           that when those changes go out for ballot to        10:38:29

  3           our technical committees, it's accurate.            10:38:32

  4      Q.   That it accurately reflects what the                10:38:35

  5           technical committee intended to produce?            10:38:38

  6      A.   The primary job --                                  10:38:41

  7                    MR. REHN:     Object to the form.          10:38:43

  8      A.   The primary job of the technical staff              10:38:44

  9           liaison is to ensure that any recorded              10:38:46

 10           actions accurately reflect that intent of the       10:38:48

 11           technical committee.                                10:38:51

 12                    MR. REHN:     If I can just remind the     10:38:52

 13           witness to give me a chance to object after         10:38:53

 14           the question is asked.     Helps the court          10:38:56

 15           reporter out if we're not talking over each         10:39:03

 16           other.                                              10:39:06

 17      A.   Sorry.                                              10:39:07

 18      Q.   You mentioned some sort of the editorial            10:39:16

 19           activity in support of the technical                10:39:30

 20           committees; is that correct?                        10:39:35

 21                    MR. REHN:     Object to form.              10:39:35

 22      Q.   You used the word "editorial."         I didn't     10:39:36

 23           quite understand the context.                       10:39:39

 24      A.   There's an extensive amount of support that         10:39:41

 25           NFPA staff provides to our standards                10:39:43

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  1           development process.     A piece of that is, for    10:39:45

  2           example, compliance with our manual of style.       10:39:50

  3      Q.   What form does that support take?                   10:39:57

  4                    MR. REHN:     Object to the form.          10:40:03

  5      A.   It takes several forms.      First and foremost     10:40:07

  6           is to capture the specific text or record the       10:40:10

  7           specific technical changes that occurred at         10:40:14

  8           the meeting.                                        10:40:17

  9      Q.   Anything else?                                      10:40:17

 10      A.   Second is to ensure that the wording is in          10:40:26

 11           compliance with our manual style.                   10:40:32

 12      Q.   Anything else?                                      10:40:39

 13      A.   Also the technical staff is there to ensure         10:40:40

 14           that the new or modified requirements align         10:40:47

 15           with the remainder of the document.                 10:40:51

 16      Q.   Anything else?                                      10:40:58

 17      A.   They also spend time reviewing those                10:41:05

 18           requirements, the technical staff does, to          10:41:10

 19           make sure they don't establish conflicting          10:41:12

 20           requirements with other portions of that            10:41:14

 21           document or other NFPA standards.                   10:41:18

 22      Q.   Anything else?                                      10:41:21

 23      A.   Another responsibility is to come back to           10:41:25

 24           NFPA to their offices and ensure that our           10:41:32

 25           editorial production team has full knowledge        10:41:34

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  1           of those changes as they modify the --              10:41:39

  2           develop the next edition of the standard.           10:41:43

  3      Q.   Anything else?                                      10:41:48

  4      A.   There's an extensive amount of back and forth       10:42:08

  5           between the editorial and production staff          10:42:11

  6           and the technical staff to finalize the             10:42:14

  7           language prior to balloting.                        10:42:18

  8      Q.   Anything else?                                      10:42:27

  9      A.   Once the language is finalized, the technical       10:42:31

 10           staff works with our project administrators         10:42:37

 11           to develop a technical committee ballot which       10:42:41

 12           is then circulated to that technical                10:42:44

 13           committee.                                          10:42:44

 14      Q.   Anything else?                                      10:42:51

 15      A.   Once the ballot is completed and approved,          10:43:16

 16           the technical staff, working with the project       10:43:22

 17           administrators, then circulates the ballot of       10:43:23

 18           the proposed changes to that full technical         10:43:27

 19           committee.                                          10:43:30

 20      Q.   Do they circulate the proposed ballot or            10:43:39

 21           the actual ballot to the full technical             10:43:39

 22           committee?                                          10:43:39

 23      A.   The actual ballot.    The actual ballot is          10:44:03

 24           submitted to the committee for formal voting.       10:44:07

 25      Q.   Anything else?                                      10:44:15

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  1      Q.   Is there anything about the development of             11:16:19

  2           standards that the regulations do not cover?           11:16:21

  3      A.   Our regulations cover the specific accredited          11:16:27

  4           rules and hence, its regulations.            We also   11:16:33

  5           have our committee officers guide which                11:16:35

  6           provides guidance to our technical committee           11:16:37

  7           members as well as our chairs and our manual           11:16:41

  8           style.                                                 11:16:46

  9      Q.   What other documents govern or regulate the            11:16:46

 10           development of standards within NFPA?                  11:17:44

 11      A.   Off the top of my head I can't think of                11:17:56

 12           anything else.                                         11:17:59

 13      Q.   Who participates in -- strike that.                    11:18:09

 14                    Who are the members, generally                11:18:17

 15           speaking, the category of NFPA's technical             11:18:20

 16           committees?                                            11:18:26

 17      A.   Just for clarification, the representation or          11:18:29

 18           are they members of NFPA?       We have                11:18:36

 19           categories -- we have interest categories of           11:18:39

 20           our committee members.                                 11:18:43

 21      Q.   Who -- what persons are entitled to be                 11:18:43

 22           members of NFPA's technical committees?                11:18:48

 23                    MR. REHN:    Objection as to form.            11:18:51

 24      A.   Anyone can apply to be a member of an NFPA             11:18:55

 25           technical committee, and based upon their              11:18:59

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  1           expertise and their background, they're             11:19:01

  2           evaluated through a process that ultimately         11:19:04

  3           involves standards council appointing them          11:19:07

  4           to, or not appointing, depending on their           11:19:10

  5           credentials, to the various technical               11:19:12

  6           committees.                                         11:19:14

  7      Q.   So the standards council determines who gains       11:19:17

  8           admission to membership in the technical            11:19:21

  9           committees?                                         11:19:23

 10      A.   That's correct.                                     11:19:24

 11      Q.   What criteria does the standards council            11:19:27

 12           apply in determining who should gain                11:19:35

 13           membership to the technical committees?             11:19:39

 14                     MR. REHN:   Objection as to form.         11:19:42

 15      A.   It's a multipart criteria.       First is           11:19:46

 16           technical expertise within that subject             11:19:51

 17           matter.   Second is balance; is the committee       11:19:54

 18           an appropriate balance.      And third is the       11:20:01

 19           ability to participate.                             11:20:02

 20      Q.   What do you mean by balance?                        11:20:06

 21      A.   By our regulations, NFPA technical committees       11:20:12

 22           are required to have a balance of interest          11:20:16

 23           categories to ensure that no one party or one       11:20:18

 24           interest category can dominate the process.         11:20:21

 25      Q.   What are the interest categories?                   11:20:24

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  1      A.   There are, I believe, nine interest                    11:20:27

  2           categories, including -- one example is                11:20:31

  3           research and testing is an example.          Another   11:20:37

  4           example is enforcer, which includes                    11:20:40

  5           government officials, both, sometimes federal          11:20:44

  6           but state and local jurisdictions, as well as          11:20:48

  7           special expert, which is consultants as an             11:20:52

  8           example.                                               11:20:56

  9                      Users, installer maintainers which          11:20:56

 10           are those who install the systems, consumers,          11:21:02

 11           and that's all I can think of.         I'm not sure    11:21:13

 12           if I said it, but consumer is another one              11:21:30

 13           that can represent a special -- have a                 11:21:34

 14           specific slot.    Oh, I'm sorry, one other slot        11:21:35

 15           is labor, is another slot.                             11:21:38

 16      Q.   Thank you.    Are all NFPA employees members of        11:21:51

 17           the technical committees?                              11:22:16

 18                      MR. REHN:   Objection as to form.           11:22:20

 19      A.   NFPA employees are not -- cannot be members            11:22:23

 20           of our technical committees.        However, as I      11:22:27

 21           stated previously, it's important -- there's           11:22:30

 22           an important role that NFPA staff plays in             11:22:32

 23           guiding, advising the committee, coordinating          11:22:35

 24           the activities and providing their technical           11:22:37

 25           expertise, especially technical staff liaison          11:22:40

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  1                    How are persons chosen to serve on         11:24:06

  2           the standards council?                              11:24:08

  3                    MR. REHN:     Object to the form.          11:24:12

  4      A.   Because the standards council is the                11:24:15

  5           overarching body over our entire standards          11:24:18

  6           development process, they are appointed             11:24:21

  7           through a process that involves the NFPA            11:24:24

  8           president making recommendations to the NFPA        11:24:27

  9           board of directors.     Ultimately the standards    11:24:29

 10           council members are appointed by our board of       11:24:33

 11           directors.                                          11:24:35

 12      Q.   Are any NFPA employees members of the               11:24:40

 13           standards council?                                  11:24:43

 14                    MR. REHN:     Objection as to form.        11:24:45

 15      A.   Specifically, no.     However, similar to the       11:24:49

 16           technical committees, there is staff assigned       11:24:51

 17           to support the standards council, their             11:24:55

 18           activities and their decisions.                     11:24:58

 19      Q.   I'd like to go back for a moment to the             11:25:11

 20           process after the technical committee has           11:25:19

 21           decided on changes to a standard.                   11:25:26

 22                    And you say that a staff                   11:25:31

 23           representative, NFPA staff representative           11:25:38

 24           will capture those changes from the technical       11:25:41

 25           committee, correct?                                 11:25:44

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  1                    MR. REHN:    Object to the form.           11:25:48

  2      A.   The NFPA technical staff that serves as, the        11:25:50

  3           term we use is a staff liaison to a technical       11:25:54

  4           committee, they do more than just capture the       11:25:56

  5           specific wordings.                                  11:26:00

  6                    What they do is they are each              11:26:01

  7           technical experts in their field and they not       11:26:03

  8           only capture or record those changes, but           11:26:06

  9           they provide their expertise to the                 11:26:09

 10           committee, their field experience, what they        11:26:11

 11           have, the information that they're bringing         11:26:14

 12           in through questions on the standards and           11:26:16

 13           such.                                               11:26:18

 14                    And they provide that technical            11:26:19

 15           expertise to the committee so the committee         11:26:21

 16           can utilize that, a complete combination with       11:26:24

 17           all the public input or comments, to land on        11:26:27

 18           a final set of proposed language.            In     11:26:32

 19           summary, it's more than just recording.             11:26:37

 20           They're not really recording secretaries, per       11:26:39

 21           se.                                                 11:26:43

 22      Q.   But who ultimately determines the language of       11:26:43

 23           the technical committee's proposed changes to       11:26:47

 24           a code or standard?                                 11:26:51

 25                    MR. REHN:    Objection as to form.         11:26:53

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  1           It's ambiguous.                                        11:26:54

  2      A.   The final decision is accomplished through             11:26:56

  3           that ballot of the technical committee, but            11:26:58

  4           the wording itself is that combination of the          11:27:01

  5           technical staff and the committee working to           11:27:05

  6           capture the requirement and get it worded              11:27:07

  7           properly in the right context, in the right            11:27:09

  8           order within a document so that when the               11:27:12

  9           final specific words are balloted, the                 11:27:14

 10           committee has it in context of the whole               11:27:18

 11           standards and they can make that decision,             11:27:20

 12           seeing it within the body of the standard.             11:27:22

 13      Q.   When the text is balloted, is there any                11:27:24

 14           indication to the members of the committee             11:27:27

 15           what variations have occurred as a                     11:27:32

 16           consequence of staff input from the text that          11:27:38

 17           the committee itself was proposing?                    11:27:43

 18                     MR. REHN:   Objection as to form.            11:27:47

 19           Vague.   Lacks foundation.      Assumes facts not      11:27:48

 20           in evidence.                                           11:27:51

 21      A.   There are really two types of changes the              11:27:53

 22           committee is balloted on.       One is the -- a        11:27:57

 23           plain first revision or second revision,               11:28:01

 24           which may have been edited to comply with our          11:28:04

 25           manual style, get the wording right.         That is   11:28:07

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  1           system, so there would not be a first or            11:31:14

  2           second draft report.      There would be a report   11:31:17

  3           on proposals and a report on comments.              11:31:23

  4      Q.   Does either of those reports show what              11:31:26

  5           changes in text may have been contributed by        11:31:30

  6           technical staff, technical committee                11:31:33

  7           liaisons?                                           11:31:38

  8      A.   All of the changes in our old system were           11:31:41

  9           contained within the proposals and action on        11:31:45

 10           proposals and comment and actions on                11:31:48

 11           comments, so, in some cases, they may have          11:31:50

 12           been called out on the report and in some           11:31:53

 13           cases not.                                          11:31:56

 14                       Ultimately, all of them had been        11:31:57

 15           balloted through the technical committees.          11:31:58

 16           Whatever you see in the report on proposals         11:32:01

 17           are comments that had gone through the              11:32:03

 18           committee process.                                  11:32:05

 19      Q.   I'm trying to understand how one can                11:32:05

 20           ascertain what, if any, text in any code or         11:32:08

 21           standard has been contributed by NFPA               11:32:17

 22           technical staff.                                    11:32:21

 23                       MR. REHN:   Objection as to form, and   11:32:26

 24           the compound nature of the question.                11:32:29

 25      Q.   Please tell me how one can ascertain that.          11:32:31

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  1                    MR. REHN:    Same objection.                       11:32:34

  2      A.   What I can say about when you look at the                   11:32:36

  3           wording of a standard, what's been added or                 11:32:39

  4           worked on by technical staff is, any changes,               11:32:42

  5           any text that has been modified in the                      11:32:45

  6           document has been worked on by technical                    11:32:47

  7           staff, has been modified, been adjusted to                  11:32:49

  8           fit the form of our manual style as well as                 11:32:54

  9           to be consistently worded with the technical                11:32:57

 10           body of the standard.                                       11:32:59

 11                    So each and every change has been                  11:33:01

 12           clarified or worked on by technical staff to                11:33:06

 13           get it ready for committee ballot.           So             11:33:09

 14           there's an extensive amount of time.              The NEC   11:33:11

 15           is an excellent example of the NFPA staff get               11:33:15

 16           it worded correctly and in proper format,                   11:33:18

 17           style and technical comments to be balloted                 11:33:23

 18           by the technical committee.                                 11:33:28

 19      Q.   Where can one detect what changes -- you used               11:33:28

 20           the word "worked on," for example.           That's a       11:33:33

 21           little vague in this context.        I would like           11:33:36

 22           to know how one can identify any text                       11:33:38

 23           contributed by technical committee staff                    11:33:42

 24           liaison in any NFPA code or standard.                       11:33:48

 25                    MR. REHN:    Objection as to form.                 11:33:54

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  1           It's ambiguous.   It's compound.                         11:33:55

  2      A.   Because -- how can I explain.        Because             11:34:03

  3           ultimately the final text, the changes are               11:34:06

  4           balloted by the technical committee,                     11:34:10

  5           oftentimes the staff's work on that text is              11:34:12

  6           contained within the same wording that's                 11:34:15

  7           being balloted, the ultimate wording that's              11:34:17

  8           balloted by the committee.                               11:34:20

  9                    So in our old system, that was                  11:34:21

 10           all -- when you see a change in the document,            11:34:22

 11           you can know, and that's why I had my                    11:34:24

 12           previous answer, that staff was involved in              11:34:26

 13           that process.                                            11:34:28

 14                    In the new process that happens with            11:34:30

 15           every revision, every revision staff is                  11:34:31

 16           involved in and worked on and more or less               11:34:35

 17           touched, modified, cleaned up to get it ready            11:34:37

 18           for balloting.                                           11:34:40

 19                    There's also an additional level in             11:34:41

 20           our new process of editorial revisions so                11:34:42

 21           that it's clear to the committee that this is            11:34:47

 22           something that is not directly tied but it is            11:34:48

 23           because of another technical change.           So it's   11:34:52

 24           just slightly different.                                 11:34:54

 25                    But I can say clearly, if you see a             11:34:56

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  1           revision to the document or a change, for           11:34:57

  2           example, to the 2008 NEC, that text has been        11:35:00

  3           worked on by editorial production, technical        11:35:05

  4           expertise of the staff liaisons on that             11:35:07

  5           project.     That's their job.                      11:35:11

  6      Q.   But I'm not asking about what the technical         11:35:14

  7           staff have worked on because they may have          11:35:16

  8           worked on language that may have come from          11:35:20

  9           the 2005 NEC that has survived into the 2008,       11:35:22

 10           2011, 2014.     I'm asking how does one identify    11:35:29

 11           any text contributed by a technical committee       11:35:34

 12           staff liaison in any code or standard of NEC?       11:35:41

 13                      MR. REHN:    Objection as to form.       11:35:45

 14           That's ambiguous.      It's compound.               11:35:48

 15      A.   Again, to further try to clarify this is if         11:35:52

 16           the text was in a previous edition of the           11:35:57

 17           document and moved forward, it would not            11:36:00

 18           show an indication of being modified.         But   11:36:03

 19           wherever there is new text added, deleted           11:36:06

 20           or modified, there's an indication in the           11:36:09

 21           margin or shading, in the case of NEC, that         11:36:11

 22           shows that text has been modified, worked           11:36:15

 23           on, whatever.                                       11:36:18

 24                      And those words can come from lots       11:36:18

 25           of places.     And the technical staff is           11:36:20

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  1           go -- strike that.                                  11:40:50

  2                       If you needed to identify the           11:40:53

  3           language that NFPA employees contributed to         11:40:55

  4           NFPA codes and standards, how would you             11:41:05

  5           determine that language?                            11:41:07

  6                       MR. REHN:   Objection as to form.       11:41:10

  7           It's vague and compound.                            11:41:11

  8      A.   What we could determine is the language the         11:41:15

  9           technical committee at the end of the day           11:41:19

 10           approved.     Into -- each individual word and      11:41:21

 11           such would be difficult, if not impossible,         11:41:25

 12           because of ultimately the technical staff           11:41:30

 13           provides that content to the committee which        11:41:33

 14           then approves those words.                          11:41:35

 15      Q.   You said the technical staff provides the           11:41:37

 16           content to the committee?        The technical      11:41:44

 17           staff doesn't draft the standards, correct?         11:41:47

 18                       MR. REHN:   Objection as to form.       11:41:51

 19           Mischaracterizes.                                   11:41:53

 20      A.   In many cases the technical staff in the room       11:41:59

 21           is drafting the text.                               11:42:02

 22      Q.   Is proposing new text?                              11:42:04

 23      A.   In some cases yes, to accomplish what the           11:42:10

 24           committee is trying to accomplish.            The   11:42:13

 25           technical staff of NFPA are experts in their        11:42:15

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  1           field, and the committee may want to                11:42:20

  2           establish a requirement for X and the               11:42:23

  3           technical staff is there saying, well, we can       11:42:24

  4           word it this way and that way, does this meet       11:42:27

  5           your intent, how about we do this, I can            11:42:29

  6           research some information, get back to you at       11:42:30

  7           the next meeting.                                   11:42:32

  8                       The technical staff provides a vital    11:42:33

  9           role in helping the technical committee             11:42:35

 10           accomplish their mission of developing those        11:42:38

 11           words that become ultimately the final words        11:42:40

 12           of the standard.                                    11:42:43

 13      Q.   Who makes the decision about the words in a         11:42:44

 14           standard?                                           11:42:46

 15                       MR. REHN:   Objection as to form.       11:42:46

 16           Ambiguous.                                          11:42:48

 17      A.   The final decision is -- and to summarize,          11:42:49

 18           it's a two-part decision.        A committee        11:42:54

 19           ballots on it, the ballot's on the final            11:42:55

 20           word, the committee approves it.          At the    11:42:58

 21           end of the day our standards council issues         11:43:00

 22           that document, but the committee ballot             11:43:03

 23           establishes the position of the type of             11:43:03

 24           committee at that time.                             11:43:07

 25      Q.   And how does the text evolve up to the point        11:43:07

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  1           that the text of the technical committee is          11:43:16

  2           balloted?                                            11:43:19

  3                       MR. REHN:    Objection as to form.       11:43:20

  4           Ambiguous.     Compound.                             11:43:22

  5      A.   The text can evolve and by evolve, you mean          11:43:25

  6           created and included?       Is that what you're      11:43:28

  7           saying?                                              11:43:31

  8      Q.   I think so.                                          11:43:32

  9      A.   So in a few ways.       One is it can be submitted   11:43:33

 10           through a proposal form or public input form         11:43:37

 11           or a public comment form.        The language can    11:43:45

 12           come from that.     It can come from the             11:43:49

 13           expertise of the technical committee members         11:43:53

 14           who are sitting on the committee, or it can          11:43:55

 15           come from technical staff providing that to          11:43:58

 16           the committee as their work progresses along.        11:44:01

 17                       Ultimately that evolution is the         11:44:06

 18           staff liaison synthesizes all that with the          11:44:08

 19           direction of the committee to land on the            11:44:13

 20           final technical language that is balloted.           11:44:15

 21      Q.   With the direction of the committee, meaning         11:44:18

 22           with the approval of the committee members?          11:44:29

 23                       MR. REHN:    Objection as to form.       11:44:31

 24           Mischaracterizes the testimony.                      11:44:34

 25      Q.   What do you mean by with the direction of the        11:44:36

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                                       JA736
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  1           committee?                                          11:44:38

  2      A.   So a committee could want to establish a            11:44:40

  3           requirement again for X for something and           11:44:45

  4           they may say, we want the requirement to read       11:44:48

  5           12 and the staff liaison would have to put          11:44:51

  6           text around that to get it to read in context       11:44:55

  7           of the document.      Or they may say we want to    11:44:57

  8           have a draft chapter on something, technical        11:45:00

  9           staff can you do research, pull together            11:45:03

 10           drafting of documents to present to the             11:45:12

 11           committee to consider.                              11:45:14

 12                     In the end the committee will agree       11:45:16

 13           through a meeting vote what text is going to        11:45:19

 14           move forward towards ballot.         Then the       11:45:21

 15           staff's job is to turn that into a ballot and       11:45:24

 16           make sure it fits to our manual style and           11:45:28

 17           ballot with the technical committee on the          11:45:28

 18           final language.                                     11:45:31

 19      Q.   What criteria do technical committees use           11:45:31

 20           to determine what text moves forward to a           11:45:34

 21           ballot?                                             11:45:37

 22                     MR. REHN:     Objection as to form.       11:45:38

 23      A.   It's their expertise.      It's their               11:45:42

 24           professional opinion in a balanced way              11:45:46

 25           through a meeting vote of what they believe         11:45:48

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  1      A.   No.     There's no place on our form to indicate        12:48:27

  2           what category you are applying to.            That's    12:48:46

  3           ultimately the decision of our standards                12:48:50

  4           council.                                                12:48:52

  5      Q.   Do you see on the third page of Exhibit 1231,           12:48:52

  6           the page ending 38520, there's no assigned --           12:48:59

  7           copyright assignment language on this,                  12:49:10

  8           correct?                                                12:49:14

  9                       MR. REHN:   Object to the form.             12:49:15

 10           Mischaracterizes the document.          Calls for a     12:49:17

 11           legal opinion.                                          12:49:19

 12      A.   Each and every committee member participates            12:49:23

 13           in the NFPA process with the full                       12:49:26

 14           understanding that the material that they're            12:49:28

 15           developing is the intellectual property of              12:49:30

 16           NFPA.     And that has been that way for as long        12:49:33

 17           as I've been involved in NFPA and as part of            12:49:36

 18           the application process as well as we have a            12:49:38

 19           policy that we verify each and every public             12:49:42

 20           input public comment proposal that comes in             12:49:44

 21           that that has happened.                                 12:49:47

 22      Q.   Do you understand what a work-made-for-hire             12:49:51

 23           is?                                                     12:49:55

 24                       MR. REHN:   Object to the form.             12:49:55

 25           Calls for a legal opinion.                              12:49:56

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  1      Q.   That's a yes, then?                                 03:00:28

  2      A.   Yes, it does look typical.                          03:00:29

  3      Q.   It appears that this document lacks a               03:00:39

  4           signature.     I gather that NFPA would accept      03:00:42

  5           proposals like this that lacked signatures;         03:00:46

  6           is that correct?                                    03:00:50

  7                    MR. REHN:     Object to the form.          03:00:50

  8      A.   We have a policy in place to not accept any         03:00:52

  9           proposals, comments, public inputs or public        03:00:54

 10           comments in our new process without the             03:00:57

 11           appropriate copyright transfer.          In my      03:00:59

 12           personal opinion, I note that it's an -- it         03:01:02

 13           appears to be a Word file and many times we         03:01:04

 14           would get individuals would submit large            03:01:07

 15           numbers of proposals and comments with a            03:01:10

 16           cover sheet having a signature applying to          03:01:13

 17           all of them.                                        03:01:15

 18                    And this may be that case, but I'm         03:01:18

 19           speculating on that point.        But we have a     03:01:20

 20           strict policy in place to review each policy        03:01:22

 21           for signature.                                      03:01:26

 22      Q.   Because it's important to NFPA to get a             03:01:26

 23           signature to Point 5 on this document; is           03:01:29

 24           that correct?                                       03:01:34

 25                    MR. REHN:     Object to the form.          03:01:34

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  1      A.   We have a policy in place, and the importance       03:01:39

  2           of that policy is to verify each and every          03:01:42

  3           public input, public comment and under the          03:01:45

  4           old system, proposal that a signature was           03:01:48

  5           provided on any and all submissions.                03:01:51

  6      Q.   My question was whether it was important to         03:01:54

  7           get that for Paragraph 5?                           03:01:56

  8                       MR. REHN:   Object to the form.         03:02:00

  9           Asked and answered.                                 03:02:03

 10      A.   Historically, for my team, it was important         03:02:05

 11           because we had a policy in place to the point       03:02:11

 12           that we had full-time staff assigned to that        03:02:13

 13           one task.     And during times of heavy volumes,    03:02:15

 14           we would assign multiple staff to that              03:02:18

 15           specific task.                                      03:02:21

 16                       (Exhibit 1247 marked for                03:03:06

 17           identification.)                                    03:03:41

 18      Q.   I've handed you Exhibit 1247.         Do you        03:03:41

 19           recognize this as a document that NFPA              03:03:53

 20           maintains in the ordinary course of business        03:03:55

 21           as part of the standard development process?        03:04:00

 22      A.   Yes, this form does look typical,                   03:04:08

 23           Exhibit 1247.                                       03:04:11

 24      Q.   This was a non-electrical form, but the             03:04:11

 25           sender indicated it was for the National            03:04:14

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  1           off the record.                                     05:38:17

  2                    VIDEOGRAPHER:     The time is 5:38.        05:38:17

  3           This is the end of Tape No. 3, and we are now       05:38:19

  4           off the record.                                     05:38:22

  5                    (Break taken)                              05:38:25

  6                    VIDEOGRAPHER:     The time is 5:53.        05:53:03

  7           This is the beginning of Tape No. 4, and we         05:53:15

  8           are now back on the record.                         05:53:17

  9           BY MR. BRIDGES:                                     05:53:20

 10      Q.   Mr. Dubay, you mentioned earlier that NFPA's        05:53:20

 11           staff check each of these proposal and              05:53:26

 12           comment forms when they are submitted to look       05:53:34

 13           for signatures on the copyright language and        05:53:42

 14           indications as to whether the material is           05:53:46

 15           original or comes from another source; is           05:53:48

 16           that correct?                                       05:53:52

 17      A.   We have a policy that each and every                05:53:53

 18           proposal, public input or comment is reviewed       05:53:57

 19           for completeness being signature, copyright         05:53:59

 20           release as well as any attached materials for       05:54:03

 21           potential copyright with those as well.             05:54:08

 22      Q.   How many proposals, communications with             05:54:11

 23           public input or comments, falling in the            05:54:20

 24           categories you just mentioned, does NFPA            05:54:26

 25           receive each year?                                  05:54:29

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                   EXHIBIT 7




                                   JA742
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                                                                      Page 1
  1                    UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
  2
        -----------------------------------
  3     AMERICAN SOCIETY FOR TESTING AND    ) Case No.
        MATERIALS d/b/a ASTM INTERNATIONAL;) 1:13-cv-01215-EGS
  4     NATIONAL FIRE PROTECTION            )
        ASSOCIATION, INC.; and              )
  5     AMERICAN SOCIETY OF HEATING,        )
        REFRIGERATING, AND                  )
  6     AIR-CONDITIONING ENGINEERS, INC., )
  7               Plaintiffs,               )
  8          vs.                            )
  9
        PUBLIC.RESOURCE.ORG, INC.,                   )
 10
                  Defendant.               )
 11     -----------------------------------)
 12     AND RELATED COUNTERCLAIMS.         )
        -----------------------------------)
 13
           RULE 30(B)(6) VIDEOTAPED DEPOSITION OF AMERICAN
 14     SOCIETY OF HEATING, REFRIGERATING, AND AIR-CONDITIONING
                            ENGINEERS, INC.
 15
                       BY AND THROUGH ITS DESIGNEE,
 16
                             STEPHANIE REINICHE
 17
 18                        MONDAY, MARCH 30, 2015
                                  9:10 a.m.
 19
 20                      VERITEXT LEGAL SOLUTIONS
                           1075 PEACHTREE STREET
 21                             SUITE 3625
                             ATLANTA, GEORGIA
 22
 23     Reported By:
 24     SHARON A. GABRIELLI, CCR B-2002
 25     Job No. 2035289

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                                    JA743
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                                                                        Page 31
  1          knowledge, it's the -- the requirement is all             09:45

  2          states are supposed to become compliant with              09:48

  3          it or deem to comply by another method every              09:43

  4          so many years to the latest version of                    09:49

  5          90.1.                                                     09:41

  6          Q    (BY MR. BECKER)    When you say that all states      09:45

  7     must become compliant, does that mean that the states          09:47

  8     have to adopt this into their regulations or does it           09:40

  9     mean that these states have to build their buildings to        09:45

 10     comply with the EPAct?                                         09:49

 11               MR. CUNNINGHAM:    Object to form.                   09:41

 12               THE WITNESS:   It means they're supposed             09:43

 13          to adopt a code that is equivalent to the                 09:45

 14          current version of 90.1 within two -- I                   09:48

 15          believe it's within two years of each year,               09:41

 16          or there is some other rules that they have               09:45

 17          to follow if they don't deem to comply.                   09:48

 18               It does not have to be 90.1.              It could   09:42

 19          be another version of a different code.                   09:44

 20          So...                                                     09:47

 21          Q    (BY MR. BECKER)    What other codes would --         09:45

 22     would suffice to -- to satisfy the EPAct?                      09:40

 23               MR. CUNNINGHAM:    Object to form.                   09:44

 24               THE WITNESS:   The IECC.                             09:47

 25          Q    (BY MR. BECKER)    What is the IECC?                 09:40

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                                                                         Page 32
  1          A    International Energy -- I'm not positive.        I    09:44

  2     just speak in acronyms, so I can't remember.        I have to   09:49

  3     look it up, to be honest.    But it's through                   09:42

  4     International Code Council.     It's their energy               09:47

  5     efficiency code.                                                09:42

  6          Q    The International Code Council, are they              09:46

  7     known as ICC?                                                   09:48

  8          A    Yes.                                                  09:40

  9          Q    What's the -- is there any relationship of            09:44

 10     the IECC to ASHRAE's Standard 90.1?                             09:47

 11          A    90.1 is a compliance option to the IECC.              09:43

 12          Q    What does that mean?                                  09:42

 13          A    It means you can choose -- if you adopt that          09:44

 14     as your code and you adopt it in its entirety and               09:49

 15     then -- and 90.1 is a reference as a compliance option          09:43

 16     at the -- whatever level you're -- design your code --          09:49

 17     wherever that code is adopted, if they -- if the                09:43

 18     builder wants to build according to what's in 90.1,             09:46

 19     they have that option or they can build according to            09:49

 20     the IECC, and then that's their choice.                         09:42

 21          Q    Does the IECC say within it that someone can          09:41

 22     comply with ASHRAE Standard 90.1 and that would be              09:47

 23     sufficient?                                                     09:40

 24               MR. CUNNINGHAM:    Object to form.                    09:41

 25               THE WITNESS:   It -- there is a reference             09:43

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                                                                      Page 35
  1     that are assigned to other managers in the department?       09:47

  2          A      We just -- we just split them up because         09:41

  3     of staff loads.     One person can't support them based on   09:44

  4     their meeting schedules; one person can't do all of          09:40

  5     them.    Some of them, it's based on their prior             09:43

  6     expertise.                                                   09:47

  7          Q      And do you know what standards they are that     09:49

  8     are not assigned to Mark Weber that are American             09:41

  9     standards?                                                   09:45

 10          A      Yes.                                             09:45

 11          Q      And which standards are those?                   09:46

 12          A      90.1, 90.2, 90.4, 189.1, 15, 34.                 09:49

 13          Q      And who is Standard 90.1 assigned to?            09:53

 14          A      Steve Ferguson.                                  09:59

 15          Q      And you say that Steve Ferguson reports to       09:50

 16     you as well?                                                 09:53

 17          A      Yes.                                             09:54

 18          Q      And what is Steve Ferguson's position?           09:55

 19          A      Manager of standards for codes.                  09:58

 20          Q      And he's also the staff liaison for 90.1, you    09:56

 21     were saying?                                                 09:51

 22          A      Yes.                                             09:51

 23          Q      Okay.   What does Mr. Ferguson do as staff       09:54

 24     liaison for 90.1?                                            09:57

 25          A      A lot of things.    He'll -- he does -- he'll    09:59

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                                                                           Page 36
  1     do a double review of the membership items reviewed by            09:53

  2     Katrina, works with the project committee chair to help           09:58

  3     come up with a balance committee, looking at terms, you           09:54

  4     know, helping making sure they, you know, get -- rotate           09:59

  5     people in and out per our rules.       He attends all the         09:52

  6     full project committee meetings, some of the                      09:59

  7     subcommittee meetings.                                            09:52

  8                He processes the letter ballots for approval           09:55

  9     of all drafts.   He reviews the drafts to make sure               09:57

 10     they're written consistently.      He points out conflicts        09:52

 11     when they make one change to a section and then they              09:56

 12     haven't made a similar change to another section so               09:58

 13     there's not conflicts.                                            09:53

 14                He reviews all of the public -- final                  09:55

 15     publication drafts in the final roll-ups of the 90.1              09:58

 16     for each new version every three years.             He does the   09:53

 17     minutes.                                                          09:57

 18          Q     Are you aware of any other work that                   09:53

 19     Mr. Ferguson does as the staff liaison for 90.1?                  09:55

 20          A     That's -- that's pretty much the general               09:51

 21     stuff that I can think of.    He has other duties besides         09:54

 22     90.1.                                                             09:57

 23          Q     Does Mr. Ferguson draft any of the text for            09:58

 24     90.1?                                                             09:53

 25          A     He reviews the drafts and points out                   09:54

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                                     JA747
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                                                                         Page 37
  1     conflicts.                                                      09:57

  2          Q    But he doesn't contribute text directly to            09:57

  3     90.1?                                                           09:51

  4          A    No.   He may comment when they're discussing          09:52

  5     proposed text changes to make them aware of something,          09:56

  6     but he does not necessarily, unless they wrote                  09:50

  7     something in the incorrect format.                              09:53

  8          Q    And what would he do if they had written              09:56

  9     something in an incorrect format?                               09:58

 10          A    He would edit it, send it back.           If it's a   09:50

 11     substantive change to fix it, then it would have to go          09:53

 12     back to the committee for a new vote.          If it's          09:56

 13     editorial, then the chair or a subcommittee -- or in            09:59

 14     consultation with a subcommittee chair can say that's           09:54

 15     correct and -- and then move it forward in whatever             09:58

 16     step in the process it's in.                                    09:50

 17          Q    When you say he edits it and sends it back,           09:51

 18     does that mean that he actually changes the text, or            09:54

 19     does this mean that he sends a comment that there is a          09:56

 20     conflict or something like that and leaves it to the            09:50

 21     committee to make the change?                                   09:52

 22          A    If it's -- it depends.       If it's a conflict       09:54

 23     and he understands -- he has an engineering degree, so          09:57

 24     if he understands how to change it, he can propose a --         09:51

 25     he may propose the wording change.        If it's not           09:55

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                                    JA748
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                                                                                Page 38
  1     something he understands and it's a conflict, then                     09:50

  2     he'll comment and ask the committee for direction.                     09:53

  3          Q    And is there any record of the wording                       09:53

  4     changes that Mr. Ferguson has proposed?                                09:56

  5          A    There's probably -- if he sent something                     09:52

  6     back, it -- to the committee, it would have been sent                  09:54

  7     via email.                                                             09:58

  8          Q    If you wanted to go back and find any                        09:51

  9     proposed changes that Mr. Ferguson had made, how would                 09:57

 10     you go about doing that?                                               09:51

 11          A    I'd have to look in his email.                He wouldn't    09:52

 12     have proposed them in the minutes.          That's not                 09:55

 13     something recorded in the minutes, so he would have                    09:57

 14     sent it via email.                                                     09:59

 15          Q    And how would that -- would that change be                   09:52

 16     reflected in the minutes in -- in any way?                             09:54

 17          A    Not -- not unless it was -- if he sent a                     09:58

 18     change back, this assumes that the committee has                       09:54

 19     already approved the proposed change.            And if there was      09:57

 20     an issue and he sent it back, then if -- if a change                   09:59

 21     had to be made that was substantive, there would be                    09:54

 22     another -- there would be a letter ballot.                So then it   09:57

 23     would be reflected in a letter ballot.                If it's          09:51

 24     editorial, the chair would accept it.                                  09:54

 25          Q    Who makes the determination for a substantive                09:59

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                                                                     Page 97
  1          Q    And the -- who drafts the title, purpose and      13:03

  2     scope?                                                      13:07

  3          A    The title, purpose and scope can be -- a new      13:02

  4     one can be submitted by anyone.       I could submit one;   13:05

  5     you could submit one.   The technical committee within      13:07

  6     ASHRAE is usually how it's submitted.                       13:01

  7          Q    And is the technical committee, are they          13:02

  8     volunteers or are they employees of ASHRAE?                 13:07

  9          A    Volunteers.                                       13:00

 10          Q    And the project committee as well is              13:01

 11     volunteers, correct?                                        13:03

 12          A    That's correct.                                   13:04

 13          Q    How are ASHRAE employees involved in the          13:01

 14     creation and maintenance of ASHRAE Standard 90.1?           13:05

 15          A    In the -- are you talking from now or are you     13:01

 16     talking about when it was first started?                    13:04

 17          Q    Let's -- let's go from when it first started      13:07

 18     until now.                                                  13:09

 19          A    So when the title, purpose and scope would        13:01

 20     have been proposed, a staff member would -- would           13:03

 21     review that to make sure it's in the correct format         13:05

 22     and, if there is some questions, would actually send it     13:09

 23     back to whoever had proposed it to make -- to correct       13:01

 24     it or say if they're okay, if we met their intent, and      13:05

 25     then send it forward to -- it probably when -- 19 --        13:09

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                                    JA750
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                                                                        Page 98
  1     90.1 was developed in, I think, 1975.          They probably   13:05

  2     didn't have all the subcommittees that we have now, but        13:01

  3     would have went through the approving bodies up through        13:04

  4     the board that way.                                            13:07

  5          Q    And would there have been a project committee        13:07

  6     as well for -- for the original 90.1?                          13:09

  7          A    Yes.                                                 13:01

  8          Q    And during that process, did staff members           13:09

  9     draft any of the text for 90.1?                                13:15

 10          A    From the beginning?                                  13:10

 11          Q    Yeah.                                                13:12

 12          A    Not unless they were making the edits to --          13:13

 13     because of conformity and -- or conflicts or things            13:16

 14     like that.                                                     13:19

 15          Q    And would staff members have contributed any         13:12

 16     text to subsequent versions of 90.1?                           13:18

 17          A    In the same way, either in the discussions,          13:10

 18     if there's a conflict or stuff doesn't -- or through           13:13

 19     the editing and review of the material.                        13:17

 20          Q    And does ASHRAE have any record of that?             13:12

 21          A    If it was done -- it would have been done via        13:17

 22     email, at the time email started.        90.1 started before   13:10

 23     the Internet, so if the -- if -- if the records still          13:15

 24     existed, it would have been in paper format.                   13:10

 25          Q    What is ASHRAE's purpose in creating these           13:11

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                                                                   Page 124
  1          A    No.                                              14:00

  2          Q    What -- what does it mean, then?                 14:01

  3          A    It means -- because the IECC uses 90.1 as        14:03

  4     a -- as a compliance option, if the state or               14:06

  5     jurisdiction adopted it and left that requirement in       14:01

  6     and did not change it, then that -- that particular        14:04

  7     state or jurisdiction could use 90.1.                      14:09

  8          Q    And on page 6, what's marked ASHRAE0003500       14:13

  9     titled "Challenges to Adoption," it says, "Cost of the     14:13

 10     standard," then subpoint, "Revenue objectives are          14:17

 11     antithetical to widespread adoption."                      14:11

 12               Do you know what that statement was in           14:14

 13     reference to?                                              14:15

 14          A    That people don't want to have to pay for the    14:18

 15     standard, is my guess, or they think the cost of the       14:12

 16     standard is too high.                                      14:14

 17          Q    Has ASHRAE received comments or complaints       14:17

 18     that the cost of the -- the Standard 90.1 is too high?     14:10

 19               MR. CUNNINGHAM:    I'm going to object to        14:14

 20          the scope.                                            14:16

 21               THE WITNESS:   That would have been              14:17

 22          something that Steve Comstock would have              14:18

 23          known.   He's the one that deals with the             14:10

 24          standards and the cost.                               14:14

 25          Q    (BY MR. BECKER)    Are you personally aware of   14:15

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                                    JA752
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                                                                    Page 125
  1     any instances where individuals have complained about       14:17

  2     the cost of -- of the -- the 90.1 standard being too        14:11

  3     high?                                                       14:16

  4               MR. CUNNINGHAM:      Object to the scope          14:16

  5          again.   Ms. Reiniche is not being deposed in          14:17

  6          her personal capacity.                                 14:10

  7               THE WITNESS:   No, I'm not.                       14:13

  8          Q    (BY MR. BECKER)      Two pages after that, on     14:13

  9     ASHRAE003502, it says, "Some recognized risks."       And   14:16

 10     then in the middle of that page, it says, "Code             14:11

 11     proposals that are more stringent than 90.1 viewed as a     14:13

 12     significant risk to our standing in the marketplace.        14:19

 13     Others are not passive."                                    14:12

 14               Do you know what that refers to?                  14:14

 15          A    That means that there's been code proposals       14:10

 16     submitted to -- to the IECC that are more stringent         14:13

 17     than 90.1.                                                  14:18

 18          Q    Do you know how ASHRAE responded to this          14:17

 19     perceived risk that there were code proposals submitted     14:12

 20     that were more stringent than 90.1?                         14:15

 21          A    If a code proposal that was submitted was         14:10

 22     more stringent than 90.1, then ASHRAE would have spoke      14:13

 23     most likely against that proposal, depending on --          14:18

 24     there's a lot of factors that that would have been          14:14

 25     dependent on.   It would have depended on what part,        14:17

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                                                                   Page 203
  1          include ASHRAE.                                       17:44

  2                And sent it to -- purportedly sent it to        17:46

  3          media, Congress, Federal Trade Commission,            17:41

  4          including salaries of the CSOs of those               17:44

  5          organizations, and then indicating that               17:48

  6          they're going to post those online on                 17:40

  7          May 1st.                                              17:44

  8                Appears a member of the board responded         17:46

  9          back to Jeff asking why ASHRAE standards              17:40

 10          aren't included, and Jeff reported back that          17:43

 11          he -- he doesn't know, but right now they're          17:46

 12          happy to let someone else fight the battle            17:49

 13          since we're not included.                             17:42

 14          Q     (BY MR. BECKER)   And this is in March 2012,    17:50

 15     correct?                                                   17:54

 16          A     Correct.                                        17:55

 17          Q     So ASHRAE was at the very least aware of        17:56

 18     Public Resource in March of 2012, correct?                 17:52

 19          A     Correct.                                        17:56

 20          Q     And Mr. Littleton says at the top of the page   17:52

 21     in the middle of the paragraph, "Developing standards,     17:56

 22     particularly those that are adopted into law, takes        17:59

 23     time and resources that someone must underwrite."          17:52

 24                Can you tell me about the time and resources    17:58

 25     that are required to develop standards?                    17:52

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                                     JA754
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                                                                   Page 204
  1          A    For 90.1, I would say it's another full-time     17:56

  2     job for the volunteers that work on that, with the         17:59

  3     amount of hours they spend on subcommittee calls where     17:51

  4     they're drafting the -- where smaller groups are           17:55

  5     drafting it based on the expertise of the different        17:58

  6     chapters within 90.1, in addition to meeting four times    17:50

  7     a -- four times a year face-to-face, full subcommittee,    17:55

  8     full project committee members -- meetings for four        17:59

  9     days straight from 8 in the morning until 10 at night.     17:52

 10     It's a huge time commitment for those volunteers.          17:55

 11          Q    And he says, "particularly those that are        17:53

 12     adopted into law."   Why is it particularly those that     17:57

 13     are adopted into law that take time and resources?         17:52

 14          A    Because usually when it's something that's       17:57

 15     going to be adopted into law and it's going to be a        17:59

 16     major change, it -- it generates a lot of comments, not    17:52

 17     just one or two, talking 50 to a hundred lengthy           17:56

 18     comments, because people in -- in the industry have        17:52

 19     different opinions and the committee has to listen to      17:55

 20     those, look at the -- whatever technical justification     17:58

 21     they submit, determine if -- if what they're submitting    17:51

 22     is cost justified, looking at, you know, what the          17:56

 23     change would do, and if that's truly what's being done     17:50

 24     in the industry.                                           17:53

 25               So what -- the more significant the change,      17:54

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                                    JA755
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                                                                   Page 205
  1     the longer it takes to get something through the           17:56

  2     standards development process.                             17:58

  3          Q     And are there other reasons why the standards   17:52

  4     that are adopted into law would take greater time and      17:55

  5     resources?                                                 17:53

  6          A     I suppose that when you're -- if you define     17:57

  7     laws including the codes, then there's the time it         17:50

  8     takes to present those changes to the code, to the         17:54

  9     testimony.   Again, that's almost another full-time job,   17:57

 10     the amount of time people spend at those code hearings,    17:51

 11     talking about the issues.                                  17:55

 12          Q     And are those code hearings before              17:50

 13     governmental bodies?                                       17:52

 14          A     They're by code bodies.                         17:53

 15          Q     Code bodies.   And what do you mean by "code    17:54

 16     bodies"?                                                   17:56

 17          A     International Code Council, NFPA, IATMO.        17:57

 18          Q     Does that also include time and resources       17:52

 19     spent working with government officials?                   17:58

 20          A     It could, if it's going into federal            17:52

 21     regulations or federal law.                                17:54

 22          Q     Would it also include time and resources when   17:58

 23     it's going into state regulations or state law?            17:51

 24          A     Yes, if -- if people are aware it's -- it's     17:55

 25     happening.                                                 17:58

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                                     JA756
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                 EXHIBIT 10




                                   JA757
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    -""""'•·-=-Case #17-7039
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                        United States Department of the Interior
                                           OFFICE OF THE SOLICITOR
                                              1849 C STREET, NW
                                               WASHINGTON, DC 20240
IN REPLY REFER TO:

     VIA U.S. MAIL

     Mr. Carl Malamud
     President, Public.Resource.Org
                                                                      SEP - 8 2015
     1005 Gravenstein Highway North
     Sebastopol, CA 95472

     Re: Your letter dated July 20, 201 S

     Dear Mr. Malamud,

     I am writing to you on behalf of Solicitor Hilary Tompkins in response to your letter dated July
     20, 2015. As you know, in that letter you identified a number of concerns with respect to the
     treatment of your public comment by the Bureau of Safety and Environmental Enforcement
     (BSEE) in conjunction with BSEE's proposed regulatory update concerning cranes mounted on
     fixed oil and gas platforms on the outer Continental Shelf (OCS). BSEE' s proposed rule would
     incorporate by referenc.e the updated Seventh Edition of American Petroleum Institute (API)
     Specification 2C (Spec. 2C), "Offshore Pedestal-mounted Cranes" (2012), into its regulations in
     place of the Sixth edition of API Spec. 2C currently incorporated by reference in BSEE
     regulations. 1

     Your principal concerns focus on two issues: the initial unavailability of your comment in
     Hypertext Markup Language (HTML), the native file format in which you submitted your
     comment, and BSEE's decision to withhold publishing two comment attachments based on
     BSEE's determination that those attachments contain copyrighted material. Specifically, your
     attachments presented the Sixth edition of API Spec. 2C in two different formats.

     With respect to the first issue, it is my understanding that the administrator of the Federal Docket
     Management System (FDMS) is responsible for maintenance of the public dockets on
     regulations.gov and the manner and format in which public comments are posted on that website.
     In any event, as you requested, FDMS ultimately posted your comment in the HTML format.
     Accordingly, it appears that FDMS has addressed your concern about your comment's file
     format and its accessibility.

     In regard to your second issue concerning copyrighted material, I have confirmed that BSEE's
     incorporation by reference of materials into its regulations does not waive or vitiate any
     applicable copyright protections associated with those materials. The Office of the Federal

     1
       30 C.F.R. § 250.108(c) and (d) currently require compliance with the Sixth edition of API Spec. 2C. The proposed
     rule would require compliance with the Seventh edition of API Spec. 2C. BSEE's current incorporation by
     reference of the Sixth edition of API Spec. 2C is reflected in 30 C .F.R. § 250. 198(h)(69).




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 Register (OFR) recently explained that relevant laws "have not eliminated the availability of
 copyright protection for privately developed codes and standards ... incorporated into federal
 regulations." 79 Fed. Reg. 66267, 66268 (Nov. 7, 2014). Based on API's longstanding position
 and BSEE's review of the standard itself, BSEE reasonably concluded that the Sixth edition of
                                                                                            2
 API Spec. 2C is a privately developed standard protected by copyright maintained by APL As
 OFR noted, an agency's incorporation by reference of a copyrighted standard does not eliminate
 applicable copyright protections. Therefore, BSEE reasonably and properly concluded that
 FDMS should not post on regulations.gov the attachments associated with your comment
 because those attachments contained copyrighted material. BSEE also properly described its
 obligations concerning copyrighted material in the notice of proposed rulemaking: "When a
 copyrighted industry standard is incorporated by reference into our regulations, BSEE is
 obligated to observe and protect that copyright."3 However, consistent with BSEE's
 longstanding practice, and with OFR's regulations on incorporation by reference (1 C.F.R. §
 51.5), BSEE also provided instructions in that notice on how the public may view the
 incorporated API standard on API's public website. 4

 In addition, even though BSEE correctly decided not to post API Spec. 2C in the docket on
 regulations.gov because of the copyright protections, BSEE continues to make this standard
 available, without charge, for public review and inspection at its offices.5 Thus, BSEE has made
 the material it proposes to incorporate by reference reasonably available to interested parties and
 discussed the reasonable availability of this material in accordance with 1 C.F.R. § 51.S(a)(l).




                                                       Dennis Daugherty
                                                       Assistant Solicitor, Offshore Resources
                                                       Division of Mineral Resources
                                                       Office of the Solicitor

 Cc:        Honorable Hilary C. Tompkins
            Solicitor, U.S . Department of the Interior

            Mr. Brian M. Salemo
            Director, Bureau of Safety and Environmental Enforcement




 2
   In fact, it is my understanding that your attachments, which reproduced the Sixth edition of API Spec. 2C, also
 reflected APl's copyright designation and prohibition against reproduction or transmission without prior written
 permission.
 3
     80 Fed. Reg. 34113, 34 114 (June 15, 20 15).
 4
     Id.




                                                       JA759
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                           U.S. DEPARTl\-fENT OF KO USING AND URBAN DEVELOPM E T
                                             WASHfNGTON, OC 20410-3000


OFFICE OF ADMINISTRATION                      AUG - 6 lD15



Mr. Carl Malamud
President and CEO
Public Resource Organization
l 005 Gravenstein Highway North
Sebastopol, CA 95472

                                        RE:    Freedom oflnfonnation Act Request
                                               FOIA Control No.: 15-FI-HQ-01670

Dear Mr. Malamud:

        This letter is in response to your Freedom of lnformation Act (FOJA) request dated
July 2, 2015. Specifically, you requested the Underwriter Laboratories (UL) 737 standard which
applies to homes and manufactured housing.

       When responding to a FOIA request, the Department of Housing and Urban
Development searches for responsive documents existing up to the date that the request is
received in the Department's FOIA Branch. Your request was received on Jul y 2, 2015.

        A search of Headquarters' records by knowledgeable staff failed to locate any documents at
 HUD Headquarters that would be responsive to your request. The standard that you requested is
 copyrighted by UL. You will need to plll'chase a copy of the standard directly from UL.

          I am the official responsible for this determination based on information provided by lhe
 Office of Ho using. You may appeal this determination within 30 days from the date of this
 Jetter. If you decide to appeal, your appeal should include copies of your original request and
 this response, as well as a discussion of the reasons supporting your appeal. The e nvelope
 should be plainly marked to indicate that it contains a FOIA appeal and be addressed to:

                                   U.S. Department of Housing and Urban Development
                                   Attention: FOIA Appeals
                                   OGC, Ethics and Appeals Law Division
                                   45 1 Seventh Street, SW, Suite 213
                                   Washington, DC 20410

                                   Telephone: (202) 708-3815




                                                  JA760
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                                                                           2


         For your information, your FOIA request, including your identity and any infonnation
 made availabJe, is releasable to the public under subsequent FOIA requests. In responding to
 these requests, the Department does not release personal information, such as home address
 telephone number, or Social Security number, all of which are protected from disclosure under
 FOIA Exemption 6.

        lf you need additional information, please contact Ms. Eugenia Harris at
 (202) 402-5074. Thank you for your interest in the Department's programs and policies.


                                             Sincerely,



                                            ~~µ
                                     r       Vicky Lewis
                                             Deputy Director, Office
                                              Of the Executive Correspondence




                                             JA761
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                           U.S. DEPARTl\-fENT OF KO USING AND URBAN DEVELOPM E T
                                             WASHfNGTON, OC 20410-3000


OFFICE OF ADMINISTRATION                      AUG - 6 lD15



Mr. Carl Malamud
President and CEO
Public Resource Organization
l 005 Gravenstein Highway North
Sebastopol, CA 95472

                                        RE:    Freedom oflnfonnation Act Request
                                               FOIA Control No.: 15-FI-HQ-01670

Dear Mr. Malamud:

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July 2, 2015. Specifically, you requested the Underwriter Laboratories (UL) 737 standard which
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Development searches for responsive documents existing up to the date that the request is
received in the Department's FOIA Branch. Your request was received on Jul y 2, 2015.

        A search of Headquarters' records by knowledgeable staff failed to locate any documents at
 HUD Headquarters that would be responsive to your request. The standard that you requested is
 copyrighted by UL. You will need to plll'chase a copy of the standard directly from UL.

          I am the official responsible for this determination based on information provided by lhe
 Office of Housing. You may appeal this determination within 30 days from the date of this
 Jetter. If you decide to appeal, your appeal should include copies of your original request and
 this response, as well as a discussion of the reasons supporting your appeal. The envelope
 should be plainly marked to indicate that it contains a FOIA appeal and be addressed to:

                                   U.S. Department of Housing and Urban Development
                                   Attention: FOIA Appeals
                                   OGC, Ethics and Appeals Law Division
                                   45 1 Seventh Street, SW, Suite 213
                                   Washington, DC 20410

                                   Telephone: (202) 708-3815




                                                  JA762
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                                                                           2


         For your information, your FOIA request, including your identity and any infonnation
 made availabJe, is releasable to the public under subsequent FOIA requests. In responding to
 these requests, the Department does not release personal information, such as home address
 telephone number, or Social Security number, all of which are protected from disclosure under
 FOIA Exemption 6.

        lf you need additional information, please contact Ms. Eugenia Harris at
 (202) 402-5074. Thank you for your interest in the Department's programs and policies.


                                             Sincerely,



                                            ~~µ
                                     r       Vicky Lewis
                                             Deputy Director, Office
                                              Of the Executive Correspondence




                                             JA763
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                                        U.S. CONSUMER PRODUCT SAFETY COMMISSION
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Todd A. Stevenson                                                                                                                     Tel: 301-504-6836
The Secretariat • Office of the Secretary                                                                                            Fax: 301-504-0127
Ofoce of the General Coonsel                                                                                              EmaU: filf!.'L~~!l@i;;psc.gov
                                                                        May 18, 2015

                 CERTIFIED MAIL - RETURN RECEIPT REQUESTED

                 Carl Malamud
                 President & CEO
                 Public Resource.Org
                 1005 Gravenstein Highway North
                 Sebastopol, CA 95472


                 Re: FOIA Request 15-F-00342 seeking the ASTM product standard,ASTM F 1447-94, Standard
                 Specification for Protective Headgear Used in Bicycling 1994 Edition, which is incorporated by
                 reference ikn 16 CFR 1203.53(b) and used in 16 CFR 1203.53(a) FCPSC interaction with the
                 ANSI Z21/CGP Joint Central Furnace working group .

                 Mr. McFarlan:

                           Thank you for your Freedom oflnfonnation Act ("FOIA") request seeking
                 information from the U.S. Consumer Product Safety Commission ("Commission").

                           The records that you seek, ASTM F 1447-94, Standard Specification for Protective
                 Headgear Used in Bicycling 1994 Edition, are the copyright property of ASTM (American
                 Society for Testing and. Materials. The ASTM standard must be purchased from ASTM from
                 their website, www.astm.org/.

                           According to the Commission's FOIA regulations at 16 C.F.R. § 1015.7, you may
                 appeal our decision within thirty (30) days of your receipt of this letter by writing to: FOIA
                 APPEAL, General Counsel, ATTN: Office of the Secretary, U.S. Consumer Product Safety
                 Commission, 4330 East West Highway, Bethesda, Maryland 20814-4408.

                           Processing this request, performing the file searches and preparing the information,
                 cost the Commission $50.00. In this instance, we have decided to waive all of the charges.

                                                                             Sincerely,

                                                                         t   Todd A. Stevenson

                 Enclosures


                                            CPSC Hotline: 1-800-638-CPSC (2772) tr CPSC's Web Site: http://www.cpsc.gov
                                                                           JA764
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                                        U.S. CONSUMER PRODUCT SAFETY COMMISSION
                                                          4330 EAST WEST H IG HWA Y
                                                       BETHESDA, MARYLAND 20814 - 4408
Todd A. Stevenson                                                                                                                      Tel: 301-504-6836
The Secretariat • Office of the Secretary                                                                                             Fax: 301-504-0127
Offce of the General Counsel                                                                                                Emai: tstevenson@cpsc.gov
                                                                         May 18, 2015

                 CERTIFIED MAIL - RETURN RECEIPT REQUESTED

                 Carl Malamud
                 President & CEO
                 Public Resource.Org
                 1005 Gravenstein Highway North
                 Sebastopol, CA 95472


                 Re: FOIA Request 15-F-00342 seeking the ASTM product standard, ASTM F 1447-94, Standard
                 Specification for Protective Headgear Used in Bicycling 1994 Edition, which is incorporated by
                 reference in 16 CFR I203.53(b) and used in 16 CFR I203.53(a) (Corrected Response)

                 Mr. Malamud:

                           Thank you for your Freedom of Information Act ("FOIA") request seeking
                 information from the U.S. Consumer Product Safety Commission ("Commission").

                           The records that you seek, ASTM F 1447-94, Standard Specification for Protective
                 Headgear Used in Bicycling 1994 Edition, are the copyright property of ASTM (American
                 Society for Testing and Materials. The ASTM standard must be purchased from ASTM from
                 their website, www.astm.org/.

                           According to the Commission's FOIA regulations at 16 C.F.R. § 1015.7, you may
                 appeal our decision within thirty (30) days of your receipt of this letter by writing to: FOIA
                 APPEAL, General Counsel, ATTN: Office of the Secretary, U.S. Consumer Product Safety
                 Commission, 4330 East West Highway, Bethesda, Maryland 20814-4408.

                           Processing this request, performing the file searches and preparing the information,
                 cost the Commission $50.00. In this instance, we have decided to waive all of the charges.

                                                                             Sincerely,




                                            CPSC Hotline: 1-800-638-CPSC (2772) 'i:1 CPSC's Web Site: http://www.cpsc.gov
                                                                            JA765
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                 EXHIBIT 12




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